Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 1
                                   of 396




                            EXHIBIT K
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 2
                                   of 396



                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 22-cv-2680-NYW-SKC


   ROCKY MOUNTAIN GUN OWNERS,
   NATIONAL ASSOCIATION FOR GUN RIGHTS,
   CHARLES BRADLEY WALKER,
   BRYAN LAFONTE,
   GORDON MADONNA,
   JAMES MICHAEL JONES, and
   MARTIN CARTER KEHOE,

          Plaintiffs,

   V.

   THE TOWN OF SUPERIOR,
   CITY OF LOUISVILLE, COLORADO,
   CITY OF BOULDER, COLORADO, and
   BOARD OF COUNTY COMMISSIONERS OF BOULDER COUNTY,


          Defendants.


                                 Declaration of LOUIS KLAREVAS


          I, Louis Klarevas, declare as follows:

          I.     I am over the age of 18 years of age and competent to testify to the matters stated
   below and do so based on my personal knowledge.

           2.       I have attached a copy of a revised expert report I have prepared as Exhibit 1 to
   this declaration, which includes a copy of my curriculum vitae (attached as an exhibit to my
   revised report). The opinions expressed in this report are based on my knowledge, skill,
   experience, training, and education, and I hold these opinions to a reasonable degree of
   professional certainty. I hereby adopt and incorporate my revised report in this declaration as if
   set forth in full.
           3.      Earlier, I had submitted an expert report dated May 5, 2023, which is attached
   (minus exhibits) to this declaration as Exhibit 2. In the May 5 report, I discussed certain
   numerical figures published by the National Shooting Sports Foundation ("NSSF") claiming to
   capture the number of modem sporting rifles (AR- and AK-platform rifles) and ammunition
   magazines in civilian circulation in the United States. Subsequent to the submission of my
   expert report, it was reported that NSSF's estimates were calculated using questionable
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 3
                                   of 396



  methods. 1 Furthermore, in sworn testimony that was also given subsequent to the submission of
  my expert report, the creator ofthe NSSF charts in question acknowledged that the NSSF's
  numbers included firearms not in the possession ofprivate citizens.2 To account for these over­
  estimates, Paragraphs 14, 27, and 28 of my report (including footnotes), which address the NSSF
  figures in question, have been revised.

           4.      In the five months that have passed since my original expert report was submitted,
   I have submitted declarations in additional cases. Paragraph 6 ofmy revised expert report­
   which contains a list ofall the cases, since January 1, 2019, in which I have testified through
   deposition, trial, or declaration-has also been updated.

           5.      Other than the changes described above, my revised report is the same as my
   May 5 report. Additionally, there are no changes to any ofthe exhibits submitted with the May 5
   report. A redline document showing all ofchanges between my May 5 report and my revised
   report is attached to this declaration as Exhibit 3.

         I declare under penalty ofperjury that the foregoing is true and correct to the best ofmy
   knowledge.

         Executed on this 20th day ofOctober, 2023
         at Nassau County,     NY




          1 Will Van Sant, "The Gun Industry's Trade Group Is Using Flimsy Da
                                                                                ta in Big Court
   Cases," The Trace, October 5, 2023, available at https://www.thetrace.org/2023/l 0/nssf-high­
   capacity-magazine-arnmo-data (last accessed October 17, 2023).
          2 Deposition ofJames Curcuruto, Wiese v. Bonta, 2:17-cv-00903-WBS- KJN (E.D. Cal.)
                                                                                                 ,
   August 3, 2023, 126:9-127:22,_ 128:6-129:9, 131:18-133:3, 152:2-6, available via Declaration
   ofAndrew Hughes, Ex. 1, Sullzvan v. Ferguson, 3:22-c v-05403-DGE (W.D. Was.), ECF 119-1.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 4
                                   of 396




                               Exhibit 1
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 5
                                   of 396




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   Civil Action No. 22-cv- 2680


   ROCKY MOUNTAIN GUN OWNERS,
   NATIONAL ASSOCIATION FOR GUN RIGHTS,
   CHARLES BRADLEY WALKER,
   BRYAN LAFONTE,
   CRAIG WRIGHT,
   GORDON MADONNA,
   JAMES MICHAEL JONES, and
   MARTIN CARTER KEHOE,

          Plaintiffs,

   v.

   THE TOWN OF SUPERIOR,
   CITY OF LOUISVILLE, COLORADO, CITY
   OF BOULDER, COLORADO, and
   BOARD OF COUNTY COMMISSIONERS OF BOULDER COUNTY,



          Defendants.



                           Revised Expert Report of Louis Klarevas




                                             1
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 6
                                   of 396




                      REVISED EXPERT REPORT OF LOUIS KLAREVAS

  I, Louis Klarevas, declare:
         1.       I have been asked by the Defendants to prepare an Expert Report addressing

  recent trends in mass shootings in the United States, the use of assault weapons and large-

  capacity magazines (LCMs) in mass shootings and the impact on fatalities and harm caused, and

  how restrictions on assault weapons and LCMs have affected mass shooting violence. This

  Report is based on my own personal knowledge and experience, and, if I am called as a witness,

  I could and would testify competently to the truth of the matters discussed in this Report

  (“Report” hereinafter).

                                PROFESSIONAL QUALIFICATIONS
         2.       I am a security policy analyst and, currently, Research Professor at Teachers

  College, Columbia University, in New York. I am also the author of the book Rampage Nation,

  one of the most comprehensive studies on gun massacres in the United States.1

         3.       I am a political scientist by training, with a B.A. from the University of

  Pennsylvania and a Ph.D. from American University. During the course of my nearly 25-year

  career as an academic, I have served on the faculties of George Washington University, the City

  University of New York, New York University, and the University of Massachusetts. I have also

  served as Defense Analysis Research Fellow at the London School of Economics and Political

  Science and as United States Senior Fulbright Scholar in Security Studies at the University of

  Macedonia.

         4.       My current research examines the nexus between American public safety and gun

  violence, including serving as an investigator in a study funded by the National Institutes of

  Health that focuses on reducing intentional shootings at elementary and secondary schools.

         5.       In addition to having made over 100 media and public-speaking appearances, I

  am the author or co-author of more than 20 scholarly articles and over 70 commentary pieces. In


         1
             Louis Klarevas, Rampage Nation: Securing America from Mass Shootings (2016).
                                                    2
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 7
                                   of 396




  2019, my peer-reviewed article on the effectiveness of restrictions on LCMs in reducing high-

  fatality mass shootings that result in six or more victims killed was published in the American

  Journal of Public Health.2 This study found that jurisdictions with LCM bans experienced

  substantially lower gun massacre incidence and fatality rates when compared to jurisdictions not

  subject to similar bans. Despite being over 3 years old now, this study continues to be one of the

  highest impact studies in academia. It was recently referred to as “the perfect gun policy study,”

  in part due to the study’s “robustness and quality.”3

         6.      Since January 1, 2019, I have been deposed, testified in court, or testified by

  declaration in the following cases (all in federal court), listed alphabetically by state:

   California – Central District
   Rupp v. Bonta                                                              8:17-cv-00746-JLS-JDE
   California – Eastern District
   Wiese v. Bonta                                                           2:17-cv-00903-WBS-KJN
   California – Southern District
   Duncan v. Bonta                                                              17-cv-1017-BEN-JLB
   Jones v. Bonta                                                                19-cv-01226-L-AHG
   Miller v. Bonta                                                            3:19-cv-1537-BEN-JBS
   Nguyen v. Bonta                                                        3:20-cv-02470-WQH-MDD
   Colorado
   Gates v. Polis                                                          1:22-cv-01866-NYW-SKC
   Connecticut
   National Association for Gun Rights v. Lamont                                   3:22-cv-01118-JBA
   Grant v. Lamont                                                                 3:22-cv-01223-JBA


         2
            Louis Klarevas, et al., “The Effect of Large-Capacity Magazine Bans on High-Fatality
  Mass Shootings,” 109 American Journal of Public Health 1754 (2019), available at
  https://ajph.aphapublications.org/doi/full/10.2105/AJPH.2019.305311 (last accessed February
  11, 2023).
         3
            Lori Ann Post and Maryann Mason, “The Perfect Gun Policy Study in a Not So Perfect
  Storm,” 112 American Journal of Public Health 1707 (2022), available at
  https://ajph.aphapublications.org/doi/full/10.2105/AJPH.2022.307120 (last accessed February
  11, 2023). According to Post and Mason, “Klarevas et al. employed a sophisticated modeling
  and research design that was more rigorous than designs used in observational studies. Also,
  they illustrated the analytic steps they took to rule out alternative interpretations and triangulate
  their findings, for example examining both state bans and federal bans. They helped build the
  foundation for future studies while overcoming the limitations of previous research.” Ibid.
                                                     3
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 8
                                   of 396




   Hawaii
   National Association for Gun Rights v. Lopez                             1:22-cv-404-DKW-RT
   Illinois – Northern District
   Viramontes v. Cook County                                                         1:21-cv-04595
   National Association for Gun Rights v. Highland Park                                22-cv-04774
   Herrera v. Raoul                                                                  1:23-cv-00532
   Illinois – Southern District
   Harrel v. Raoul*                                                                23-cv-141-SPM
   Langley v. Kelly*                                                               23-cv-192-SPM
   Barnett v. Raoul*                                                               23-cv-209-SPM
   Federal Firearms Licensees of Illinois v. Pritzker*                             23-cv-215-SPM
   Kenneally v. Raoul                                                               3:23-cv-50039
   Massachusetts
   National Association for Gun Rights v. Campbell                             1:22-cv-11431-FDS
   Oregon
   Oregon Firearms Federation v. Kotek†                                          2:22-cv-01815-IM
   Fitz v. Rosenblum†                                                            3:22-cv-01859-IM
   Eyre v. Rosenblum†                                                            3:22-cv-01862-IM
   Azzopardi v. Rosenblum†                                                       3:22-cv-01869-IM
   Washington – Eastern District
   Brumback v. Ferguson                                                       1:22-cv-03093-MKD
   Banta v. Ferguson                                                          2:23-cv-00112-MKD
   Washington – Western District
   Sullivan v. Ferguson                                                        3:22-cv-05403-DGE
   Hartford v. Ferguson                                                         3:23-cv-05364-RJB
           *
              Non-Consolidated Cases on the Same Briefing Schedule / †Consolidated Cases
         7.       In 2021, I was retained by the Government of Canada in the following cases

  which involved challenges to Canada’s regulation of certain categories of firearms: Parker and

  K.K.S. Tactical Supplies Ltd. v. Attorney General of Canada, Federal Court, Court File No.: T-

  569-20; Canadian Coalition for Firearm Rights, et al. v. Attorney General of Canada, Federal

  Court, Court File No.: T-577-20; Hipwell v. Attorney General of Canada, Federal Court, Court

  File No.: T-581-20; Doherty, et al. v. Attorney General of Canada, Federal Court, Court File

  No.: T-677-20; Generoux, et al. v. Attorney General of Canada, Federal Court, Court File No.:

  T-735-20; and Eichenberg, et al. v. Attorney General of Canada, Federal Court, Court File No.:

  T-905-20. I testified under oath in a consolidated court proceeding involving all six cases in the

  Federal Court of Canada.


                                                   4
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 9
                                   of 396




         8.      I have also submitted declarations in the following state court cases: People of

  Colorado v. Sgaggio, District Court, El Paso County, Colorado, 2022M005894 (Criminal); and

  Guardian Arms v. Inslee, Superior Court, Grant County, Washington, 23-2-00377-13 (Civil).

         9.      A true and correct copy of my current curriculum vitae is attached as Exhibit A to

  this Report.

         10.     I am being compensated at a rate of $480/hour for my work on this Report,

  $600/hour for any testimony in connection with this matter, and $120/hour for travel required to

  provide testimony.

                                               OPINIONS
         11.     It is my professional opinion, based upon my extensive review and analysis of the

  data, that (1) in terms of individual acts of intentional criminal violence, mass shootings

  presently pose the deadliest threat to the safety of American society in the post-9/11 era, and the

  problem is growing nationwide; (2) high-fatality mass shootings involving assault weapons

  and/or LCMs, on average, have resulted in a substantially larger loss of life than similar incidents

  that did not involve assault weapons and/or LCMs; (3) mass shootings resulting in double-digit

  fatalities are relatively modern phenomena in American history, largely related to the use of

  assault weapons and LCMs; (4) assault weapons are used by private citizens with a far greater

  frequency to perpetrate mass shootings than to stop mass shootings; (5) handguns, as opposed to
  rifles (let alone rifles that qualify as assault weapons), are the most commonly owned firearms in

  the United States; and (6) states that restrict both assault weapons and LCMs experience fewer

  high-fatality mass shooting incidents and fatalities, per capita, than states that do not restrict

  assault weapons and LCMs. Based on these findings, it is my opinion that restrictions on assault

  weapons and LCMs have the potential to save lives by reducing the frequency and lethality of

  gun massacres.4

         4
          For purposes of this Report, mass shootings are defined in a manner consistent with my
  book Rampage Nation, supra note 1 (see Excerpt Attached as Exhibit B). “Mass shootings” are
  shootings resulting in four or more victims being shot (fatally or non-fatally), regardless of
                                                  5
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 10
                                    of 396




   I.       MASS SHOOTINGS ARE A GROWING THREAT TO PUBLIC SAFETY

            12.      Examining mass-casualty acts of violence in the United States since 1991 points

   to two disturbing patterns.5 First, as demonstrated in Table 1, the deadliest individual acts of

   intentional criminal violence in the United States since the terrorist attack of September 11,

   2001, have all been mass shootings. Second, as displayed in Figures 1-2, the problem of high-

   fatality mass shooting violence is on the rise. To put the increase over the last three decades into

   perspective, between the 1990s and the 2010s, the average population of the United States

   increased approximately 20%. However, when the number of people killed in high-fatality mass

   shootings in the 1990s is compared to the number killed in such incidents in the 2010s, it reflects

   an increase of 260%. In other words, the rise in gun massacre violence has far outpaced the rise

   in national population—by a factor of 13. The obvious takeaway from these patterns and trends

   is that mass shootings pose a significant—and growing—threat to American public safety.


   Table 1. The Deadliest Acts of Intentional Criminal Violence in the U.S. since 9/11

            Deaths             Date                       Location                Type of Violence
        1     60          October 1, 2017              Las Vegas, NV               Mass Shooting
        2     49           June 12, 2016                Orlando, FL                Mass Shooting
        3     32           April 16, 2007             Blacksburg, VA               Mass Shooting
        4     27         December 14, 2012             Newtown, CT                 Mass Shooting
        5     25         November 5, 2017          Sutherland Springs, TX          Mass Shooting
        6     23          August 3, 2019                El Paso, TX                Mass Shooting
        7     21           May 24, 2022                 Uvalde, TX                 Mass Shooting




   location or underlying motive. As a subset of mass shootings, “high-fatality mass shootings”
   (also referred to as “gun massacres”) are defined as shootings resulting in 6 or more victims
   being shot to death, regardless of location or underlying motive. The data on high-fatality mass
   shootings is from a data set that I maintain and continuously update. This data set is reproduced
   in Exhibit C. Unless stated otherwise, all of the data used to perform original analyses and to
   construct tables and figures in Sections I, II, and VI of this Report are drawn from Exhibit C.
            5
             Because the analysis in Section VI of this Report necessarily uses data from 1991
   through 2022, for purposes of consistency (and to avoid any confusion), the analyses in Sections
   I and II also use data from 1991 through 2022.
                                                     6
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 11
                                    of 396




   Figure 1. Annual Trends in High-Fatality Mass Shooting Incidents, 1991-2022

                  7

                  6

                  5

                  4

                  3

                  2

                  1

                  0




   Note: The dotted line is a linear trendline. A linear trendline is a straight line that captures the
   overall pattern of the individual data points. When there is a positive relationship between the x-
   axis and y-axis variables, the trendline moves upwards from left to right. When there is a
   negative relationship between the x-axis and y-axis variables, the trendline moves downwards
   from left to right.


   Figure 2. Annual Trends in High-Fatality Mass Shooting Fatalities, 1991-2022

                      100


                       80


                       60


                       40


                       20


                        0




   Note: The dotted line is a linear trendline. A linear trendline is a straight line that captures the
   overall pattern of the individual data points. When there is a positive relationship between the x-
   axis and y-axis variables, the trendline moves upwards from left to right. When there is a
   negative relationship between the x-axis and y-axis variables, the trendline moves downwards
   from left to right.

                                                    7
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 12
                                    of 396




   II.    THE USE OF ASSAULT WEAPONS AND LCMS ARE MAJOR FACTORS IN THE RISE OF
          MASS SHOOTING VIOLENCE

          13.     In addition to showing that the frequency and lethality of high-fatality mass

   shootings are on the rise nationally, the data point to another striking pattern: both assault

   weapons and LCMs are being used with increased frequency to perpetrate gun massacres.6 As

   shown in Figures 3-4, based on high-fatality mass shootings where details allow a determination

   on the use of assault weapons and LCMs are available, over half of all incidents in the last four

   years involved assault weapons and all incidents in the last four years involved LCMs having a

   capacity greater than 10 bullets. As shown in Figures 5-6, a similar pattern emerges when
   examining deaths in high-fatality mass shootings in the last four years, with 62% of deaths

   resulting from incidents involving assault weapons and 100% of deaths resulting from incidents

   involving LCMs having a capacity greater than 10 bullets. These trends demonstrate that, among

   perpetrators of gun massacres, there is a growing preference for using assault weapons and

   LCMs to carry out their attacks.7

          6
             Assault weapons are generally semiautomatic firearms that fall into one of the following
   three categories: assault pistols, assault rifles, and assault shotguns. For purposes of this Report,
   unless otherwise stated, assault weapons are defined and coded in a manner consistent with
   Exhibit C. Per the 1994 federal ban definition, LCMs are generally ammunition-feeding devices
   with a capacity greater than 10 bullets. The ammunition threshold of the 1994 federal definition
   (greater than 10 bullets) is identical to that of the definition of LCMs in the ordinances of all four
   jurisdictions that are parties in the present case. For purposes of this Report, unless otherwise
   stated, LCMs will be defined in a manner consistent with the 1994 federal ban on LCMs, which
   defined them as ammunition-feeding devices with a capacity greater than 10 bullets. While the
   term “assault weapons” as referenced in the present case is defined by law, the modern-day roots
   of the term can be traced back to the 1980s, when gun manufacturers branded military-style
   firearms with the label in an effort to make them more marketable to civilians. See, Violence
   Policy Center, Assault Weapons and Accessories in America (1988) (Attached as Exhibit D);
   Violence Policy Center, Bullet Hoses: Semiautomatic Assault Weapons—What Are They?
   What’s So Bad about Them? (2003) (Attached as Exhibit E); Phillip Peterson, Gun Digest
   Buyer’s Guide to Assault Weapons (2008) (Relevant Excerpt Attached as Exhibit F); and Erica
   Goode, “Even Defining ‘Assault Rifles’ Is Complicated,” New York Times, January 16, 2013,
   available at https://www.nytimes.com/2013/01/17/us/even-defining-assault-weapons-is-
   complicated.html (last accessed January 24, 2023).
          7
            Out of all 93 high-fatality mass shootings in the United States between 1991 and 2022,
   it cannot be determined whether LCMs were used in 14 of those incidents. Furthermore, for two
                                                    8
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 13
                                    of 396




   Figure 3. Share of High-Fatality Mass Shooting Incidents Involving Assault Weapons,
   1991-2022



         Last 4 Years                                     53%



         Last 8 Years                                    50%



        Last 16 Years                          38%



        Last 32 Years                       34%


                        0%      20%          40%           60%         80%           100%


   Note: The calculations in Figure 3 exclude incidents in which the firearms used are unknown.


   Figure 4. Share of High-Fatality Mass Shooting Incidents Involving LCMs (Ammunition
   Capacity Greater Than 10 Rounds), 1991-2022



         Last 4 Years                                                                   100%



         Last 8 Years                                                                 97%



        Last 16 Years                                                          85%



        Last 32 Years                                                    77%


                        0%      20%          40%           60%         80%           100%


   Note: The calculations in Figure 4 exclude incidents in which it is unknown if LCMs were used.


   of these 14 incidents, it is also not possible to determine whether they involved assault weapons.
   Therefore, the tables, figures, and percentages discussed in this section of the Report are based
   on calculations that only use data points from the incidents in which the involvement of assault
   weapons and/or LCMs could be determined.
                                                     9
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 14
                                    of 396




   Figure 5. Share of High-Fatality Mass Shooting Deaths Resulting from Incidents Involving
   Assault Weapons, 1991-2022



         Last 4 Years                                           62%




         Last 8 Years                                                 68%




        Last 16 Years                                    53%




        Last 32 Years                              46%


                        0%     20%          40%           60%               80%           100%


   Note: The calculations in Figure 5 exclude incidents in which the firearms used are unknown.


   Figure 6. Share of High-Fatality Mass Shooting Deaths Resulting from Incidents Involving
   LCMs (Ammunition Capacity Greater Than 10 Rounds), 1991-2022



         Last 4 Years                                                                          100%




         Last 8 Years                                                                         97%




        Last 16 Years                                                                   90%




        Last 32 Years                                                             84%


                        0%     20%          40%           60%               80%           100%


   Note: The calculations in Figure 6 exclude incidents in which it is unknown if LCMs were used.



                                                  10
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 15
                                    of 396




          14.     The growing use of assault weapons to carry out high-fatality mass shootings is

   an obvious theme reflected in the data. The disproportionate resort to assault weapons by

   perpetrators of high-fatality mass shootings is another clear theme. Based on information

   contained in National Sport Shooting Foundation (NSSF) materials, “modern sporting rifles”—

   which is a firearm industry term for AR-15-platform and AK-47-platform firearms—make up

   less than 5.3% of all firearms in circulation in American society.8 As seen in Figure 3 above, the

   rate at which perpetrators of high-fatality mass shootings use assault weapons is not comparable

          8
             The 5.3% ownership rate for modern sporting rifles was calculated using NSSF and
   Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF) numbers. The NSSF claims that
   there are approximately 24.4 million modern sporting rifles in civilian hands in the United States
   as of the end of 2020. NSSF, “Commonly Owned: NSSF Announces over 24 Million MSRs in
   Circulation,” July 20, 2022, available at https://www.nssf.org/articles/commonly-owned-nssf-
   announces-over-24-million-msrs-in-circulation (last accessed January 3, 2023). The NSSF’s
   figure of 24.4 million modern sporting rifles in the hands of private citizens is actually an over-
   estimation because it includes firearms belonging to law enforcement and security agencies,
   firearms wholesalers and retailers, prohibited owners (such as criminals and domestic abusers),
   as well as firearms that have been illegally trafficked to other countries. The NSSF also fails to
   account for firearm attrition, which is the number of firearms that are lost, decommissioned
   (including due to deterioration), and destroyed. See Deposition of James Curcuruto, Wiese v.
   Bonta, 2:17-cv-00903-WBS-KJN (E.D. Cal.), August 3, 2023, 126:9–127:22, 128:6–129:9,
   131:18–133:3, 152:2-6, available via Declaration of Andrew Hughes, Ex. 1, Sullivan v.
   Ferguson, 3:22-cv-05403-DGE (W.D. Was.), ECF 119-1. In a 2020 report that purported to
   record figures through the end of 2018, the NSSF estimated that, including imported firearms,
   there were 433.9 million total firearms manufactured for domestic distribution in the United
   States. NSSF, Firearm Production in the United States with Firearm Import and Export Data,
   Industry Intelligence Report, 2020, at 18, available at https://www.nssf.org/wp-
   content/uploads/2020/11/IIR-2020-Firearms-Production-v14.pdf (last accessed January 3, 2023).
   According to ATF data, in 2019 and 2020, an additional 28.0 million firearms entered the
   nationwide stock. ATF, National Firearms Commerce and Trafficking Assessment: Firearms in
   Commerce (2022), at 181, 188, 193, available at
   https://www.atf.gov/firearms/docs/report/national-firearms-commerce-and-trafficking-
   assessment-firearms-commerce-volume/download (last accessed January 3, 2023). Assuming
   these figures reported by the NSSF and ATF are accurate, this brings the estimated number of
   firearms in the United States (not including those in the control of the U.S. military) through the
   end of 2020 to approximately 461.9 million. The ownership rate is calculated as follows: the
   NSSF’s claim of 24.4 million modern sporting rifles divided by 461.9 million total firearms
   equals approximately 5.3%. However, given that the NSSF numbers are inflated because they
   include modern sporting rifles that are not in the possession of private citizens, the ownership
   rate for modern sporting rifles is necessarily less than 5.3%.
                                                   11
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 16
                                    of 396




   to the rate at which modern sporting rifles circulate in American society. Indeed, even using the

   over-estimate of a 5.3% private citizen ownership rate for modern sporting rifles, the current

   difference is approximately ten-fold, with the rate at which assault weapons are now used to

   commit gun massacres far outpacing the rate at which modern sporting rifles circulate amongst

   private citizens in the United States.9

           15.    Another pattern that stands out when examining the relationship between assault

   weapons use and gun massacre violence reflects the disproportionately greater lethality

   associated with the use of assault weapons and LCMs. For instance, returning to the

   aforementioned list of the seven deadliest individual acts of intentional criminal violence in the

   United States since the coordinated terrorist attack of September 11, 2001, besides all seven of

   the incidents being mass shootings, six of the seven incidents (86%) involved assault weapons

   and LCMs, as shown in Table 2. When examining all high-fatality mass shootings since 1991,

   the relationship between assault weapons use, LCM use, and higher death tolls is striking. In the

   past 32 years, assault weapons and LCMs with an ammunition capacity greater than 10 rounds

   have been used, respectively, in 34% and 77% of all high-fatality mass shootings. However, as

   the fatality thresholds of such incidents increase, so too do the shares of incidents involving

   assault weapons and LCMs. For instance, assault weapons and LCMs were used, respectively, in

   75% and 100% of all mass shootings resulting in more than 20 deaths (Figures 7-8). As the data
   show, there is an association between mass shooting lethality and the use of assault weapons and

   LCMs.




           9
           Due to the lack of accurate data on the number of LCMs in civilian circulation, there is
   no way to perform a similar comparison using LCMs instead of modern sporting rifles.
                                                    12
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 17
                                    of 396




   Table 2. The Use of Assault Weapons and LCMs in the Deadliest Acts of Intentional
   Criminal Violence in the U.S. since 9/11

                                                             Involved               Involved
                                                              Assault                LCMs
    Deaths         Date                   Location           Weapons            ( > 10 Rounds )
      60        10/1/2017              Las Vegas, NV         ✓ (AR-15)                 ✓
      49        612/2016                Orlando, FL          ✓ (AR-15)                 ✓
      32        4/16/2007             Blacksburg, VA                                   ✓
      27       12/14/2012              Newtown, CT           ✓ (AR-15)                 ✓
      25        11/5/2017          Sutherland Springs, TX    ✓ (AR-15)                 ✓
      23         8/3/2019               El Paso, TX          ✓ (AK-47)                 ✓
      21        5/24/2022               Uvalde, TX           ✓ (AR-15)                 ✓


   Figure 7. Percentage of High-Fatality Mass Shootings Involving Assault Weapons by
   Fatality Threshold, 1991-2022



        More Than 40 Deaths                                                          100%



        More Than 20 Deaths                                             75%



        More Than 10 Deaths                                       61%



         More Than 5 Deaths                       34%


                              0%       20%        40%       60%         80%       100%


   Note: The calculations in Figure 7 exclude incidents in which the firearms used are unknown.




                                                    13
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 18
                                    of 396




   Figure 8. Percentage of High-Fatality Mass Shootings Involving LCMs (Ammunition
   Capacity Greater Than 10 Rounds) by Fatality Threshold, 1991-2022



        More Than 40 Deaths                                                                 100%



        More Than 20 Deaths                                                                 100%



        More Than 10 Deaths                                                             94%



         More Than 5 Deaths                                                  77%


                              0%       20%         40%          60%         80%         100%


   Note: The calculations in Figure 8 exclude incidents in which it is unknown if LCMs were used.

          16.     Of the 91 high-fatality mass shootings since January 1, 1991, in which the type of

   firearm used is known, 31 involved assault weapons, resulting in 425 deaths. The average death

   toll for these 31 incidents is 13.7 fatalities per shooting. By contrast, the average death toll for

   the 60 incidents in which it is known assault weapons were not used (which resulted in 490

   fatalities) is 8.2 fatalities per shooting (Table 3). Furthermore, of the 79 high-fatality mass

   shootings since January 1, 1991, in which LCM use was determined, 61 involved LCMs with an

   ammunition capacity greater than 10 rounds, resulting in 704 deaths. The average death toll for
   these 61 incidents is 11.5 fatalities per shooting. The average death toll for the 18 incidents in

   which it is known LCMs were not used (which resulted in 132 fatalities) is 7.3 fatalities per

   shooting (Table 4). In other words, in the last 32 years, the use of assault weapons and LCMs in

   gun massacres has resulted, correspondingly, in 67% and 58% increases in average fatalities per

   incident (Tables 3-4).

          17.     Table 5 shows the average death tolls per high-fatality mass shooting incident that

   are attributable to assault weapons beyond deaths associated with the use of LCMs. When


                                                     14
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 19
                                    of 396




   LCMs with an ammunition capacity greater than 10 rounds are not used, the average death toll is

   7.3 fatalities. When LCMs are used, but not in conjunction with assault weapons, the average

   death toll is 9.2 fatalities. When LCMs are used with assault weapons, the average death toll is

   14.0 fatalities. The data show that using LCMs without an assault weapon resulted in a 26%

   increase in the average death toll. However, using LCMs with an assault weapon resulted in a

   52% increase in the average death toll associated with incidents that involved LCMs without

   assault weapons and a 92% increase in the average death toll associated with incidents that

   involved neither LCMs nor assault weapons.

          17.     This review of the data suggests that assault weapons and LCMs are force

   multipliers when used in mass shootings.


   Table 3. The Average Death Tolls Associated with the Use of Assault Weapons in High-
   Fatality Mass Shootings in the U.S., 1991-2022


                         Average Death Toll for       Average Death Toll for
                         Incidents That Did Not       Incidents That Did        Percent Increase in Average
                         Involve the Use of Assault   Involve the Use of        Death Toll Associated with
                         Weapons                      Assault Weapons           the Use of Assault Weapons
    1991-2022                    8.2 Deaths                  13.7 Deaths                    67%

   Note: The calculations in Table 3 exclude incidents in which the firearms used are unknown.



   Table 4. The Average Death Tolls Associated with the Use of LCMs (Ammunition
   Capacity Greater Than 10 Rounds) in High-Fatality Mass Shootings in the U.S., 1991-2022


                         Average Death Toll for       Average Death Toll for    Percent Increase in Average
                         Incidents That Did Not       Incidents That Did        Death Toll Associated with
                         Involve the Use of LCMs      Involve the Use of LCMs   the Use of LCMs
    1991-2022                    7.3 Deaths                  11.5 Deaths                    58%

   Note: The calculations in Table 4 exclude incidents in which it is unknown if LCMs were used.




                                                      15
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 20
                                    of 396




   Table 5. The Average Death Tolls Associated with the Use of LCMs (Ammunition
   Capacity Greater Than 10 Rounds) and Assault Weapons in High-Fatality Mass Shootings
   in the U.S., 1991-2022


    Average                                                                  Average
    Death Toll   Average                 Average      Average                Death       Average
    for          Death Toll              Death Toll   Death                  Toll for    Death
    Incidents    for                     for          Toll for               Incidents   Toll for
    Not          Incidents               Incidents    Incidents              Not         Incidents
    Involving    Involving               Involving    Involving              Involving   Involving
    LCMs or      LCMs but     Percent    LCMs but     LCMs        Percent    LCMs or     LCMs        Percent
    AWs          Not AWs      Increase   Not AWs      and AWs     Increase   AWs         and AWs     Increase
        7.3          9.2        26%          9.2         14.0       52%         7.3         14.0       92%


   Note: The calculations in Table 5 exclude incidents in which it is unknown if assault weapons
   and/or LCMs were used.


   III.    DOUBLE-DIGIT-FATALITY MASS SHOOTINGS ARE A POST-WORLD WAR II
           PHENOMENON IN AMERICAN HISTORY AND THEY INCREASINGLY INVOLVE
           ASSAULT WEAPONS


           18.     I have also examined the historical occurrence and distribution of mass shootings

   resulting in 10 or more victims killed since 1776 (Table 6 and Figure 9).10 In terms of the origins

   of this form of extreme gun violence, there is no known occurrence of a mass shooting resulting

   in double-digit fatalities during the 173-year period between the nation’s founding in 1776 and

   1948. The first known mass shooting resulting in 10 or more deaths occurred in 1949. In other

   words, for 70% of its 247-year existence as a nation, the United States did not experience a




           10
             I searched for firearm-related “murders,” using variations of the term, setting a
   minimum fatality threshold of 10 in the Newspaper Archive online newspaper repository,
   available at www.newspaperarchive.com (last accessed October 2, 2022). The Newspaper
   Archive contains local and major metropolitan newspapers dating back to 1607. Incidents of
   large-scale, inter-group violence such as mob violence, rioting, combat or battle skirmishes, and
   attacks initiated by authorities acting in their official capacity were excluded.
                                                      16
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 21
                                    of 396




   single mass shooting resulting in double-digit fatalities. They are relatively modern phenomena

   in American history.11

          19.       After the first such incident in 1949, 17 years passed until a similar mass shooting

   occurred in 1966. The third such mass shooting then occurred nine years later, in 1975. And the

   fourth such incident occurred seven years after, in 1982. Basically, the first few mass shootings

   resulting in 10 or more deaths did not occur until the post-World War II era. Furthermore, these

   first few double-digit-fatality incidents occurred with relative infrequency, although the temporal

   gap between these first four incidents shrank with each event (Table 6 and Figure 10).12




          11
            Using the Constitution’s effective date of 1789 as the starting point would lead to the
   conclusion that, for 68% of its 234-year existence as a nation, the United States did not
   experience a mass shooting resulting in double-digit fatalities.
          12
               Figures 9-10 are reproduced in larger form as Exhibit G of this Report.
                                                     17
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 22
                                    of 396




   Table 6. Mass Shootings Resulting in Double-Digit Fatalities in U.S. History, 1776-2022

                                                                   Involved
                                                                    Assault         Involved
             Date                 Location              Deaths     Weapon(s)        LCM(s)
     1       9/6/1949           Camden, NE                13          N                N
     2       8/1/1966            Austin, TX               14          N                Y
     3      3/30/1975          Hamilton, OH               11          N                N
     4      9/25/1982        Wilkes-Barre, PA             13          Y                Y
     5      2/18/1983           Seattle, WA               13          N                N
     6      4/15/1984          Brooklyn, NY               10          N                N
     7      7/18/1984         San Ysidro, CA              21          Y                Y
     8      8/20/1986           Edmond, OK                14          N                N
     9     10/16/1991           Killeen, TX               23          N                Y
    10      4/20/1999           Littleton, CO             13          Y                Y
    11      4/16/2007         Blacksburg, VA              32          N                Y
    12      3/10/2009       Geneva County, AL             10          Y                Y
    13       4/3/2009         Binghamton, NY              13          N                Y
    14      11/5/2009          Fort Hood, TX              13          N                Y
    15      7/20/2012            Aurora, CO               12          Y                Y
    16     12/14/2012          Newtown, CT                27          Y                Y
    17      9/16/2013         Washington, DC              12          N                N
    18      12/2/2015       San Bernardino, CA            14          Y                Y
    19      6/12/2016           Orlando, FL               49          Y                Y
    20      10/1/2017          Las Vegas, NV              60          Y                Y
    21      11/5/2017      Sutherland Springs, TX         25          Y                Y
    22      2/14/2018           Parkland, FL              17          Y                Y
    23      5/18/2018           Santa Fe, TX              10          N                N
    24     10/27/2018          Pittsburgh, PA             11          Y                Y
    25      11/7/2018       Thousand Oaks, CA             12          N                Y
    26      5/31/2019       Virginia Beach, VA            12          N                Y
    27       8/3/2019           El Paso, TX               23          Y                Y
    28      3/22/2021           Boulder, CO               10          Y                Y
    29      5/14/2022           Buffalo, NY               10          Y                Y
    30      5/24/2022            Uvalde, TX               21          Y                Y

   Note: Death tolls do not include perpetrators. An incident was coded as involving an assault
   weapon if at least one of the firearms discharged was defined as an assault weapon in (1) the
   1994 Federal Assault Weapons Ban or (2) the statutes of the state where the gun massacre
   occurred. An incident was coded as involving an LCM if at least one of the firearms discharged
   had an ammunition-feeding device holding more than 10 bullets.




                                                 18
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 23
                                    of 396




   Figure 9. Mass Shootings Resulting in Double-Digit Fatalities in U.S. History, 1776-2022




   Figure 10. Mass Shootings Resulting in Double-Digit Fatalities in U.S. History, 1949-2022




          20.     The distribution of double-digit-fatality mass shootings changes in the early

   1980s, when five such events took place in a span of just five years (Table 6 and Figure 10).
   This timeframe also reflects the first time that assault weapons were used to perpetrate mass

                                                  19
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 24
                                    of 396




   shootings resulting in 10 or more deaths: the 1982 Wilkes-Barre, PA, massacre (involving an

   AR-15 rifle and resulting in 13 deaths) and the 1984 San Ysidro, CA, massacre (involving an Uzi

   pistol and resulting in 21 deaths). But this cluster of incidents was followed by a 20-year period

   in which only two double-digit-fatality mass shootings occurred (Figure 10). This period of time

   from 1987-2007 correlates with three important federal firearms measures: the 1986 Firearm

   Owners Protection Act, the 1989 C.F.R. “sporting use” importation restrictions, and the 1994

   Federal Assault Weapons Ban.

          21.     It is well-documented in the academic literature that, after the Federal Assault

   Weapons Ban expired in 2004, mass shooting violence increased substantially.13 Mass shootings

   that resulted in 10 or more deaths were no exception, following the same pattern. In the 56 years

   from 1949 through 2004, there were a total of 10 mass shootings resulting in double-digit

   fatalities (a frequency rate of one incident every 5.6 years). In the 18 years since 2004, there

   have been 20 double-digit-fatality mass shootings (a frequency rate of one incident every 0.9

   years). In other words, the frequency rate has increased over six-fold since the Federal Assault

   Weapons Ban expired (Table 6 and Figure 10). (The 1994 Federal Assault Weapons Ban and its

   impact on mass shooting violence is discussed in further detail in Section VI of this Report.)

          22.     Over three-quarters of the mass shootings resulting in 10 or more deaths involved

   assault weapons and/or LCMs (Table 6). As also shown in the analyses of mass shootings in
   Section II, death tolls in double-digit-fatality mass shootings are related to the use of firearm




          13
            See, for example, Louis Klarevas, supra note 1 (Relevant Excerpt Attached as Exhibit
   H); Louis Klarevas, et al., supra note 2 (Attached as Exhibit I); Charles DiMaggio, et al.,
   “Changes in US Mass Shooting Deaths Associated with the 1994-2004 Federal Assault Weapons
   Ban: Analysis of Open-Source Data,” 86 Journal of Trauma and Acute Care Surgery 11 (2019)
   (Attached as Exhibit J); Lori Post, et al., “Impact of Firearm Surveillance on Gun Control
   Policy: Regression Discontinuity Analysis,” 7 JMIR Public Health and Surveillance (2021)
   (Attached as Exhibit K); and Philip J. Cook and John J. Donohue, “Regulating Assault Weapons
   and Large-Capacity Magazines for Ammunition,” 328 JAMA, September 27, 2022 (Attached as
   Exhibit L).
                                                    20
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 25
                                    of 396




   technologies like assault weapons and LCMs that, in terms of mass shootings, serve as force

   multipliers.


   IV.    ASSAULT WEAPONS ARE ALMOST NEVER USED BY PRIVATE CITIZENS IN SELF-
          DEFENSE DURING ACTIVE SHOOTINGS

          23.     An important question that, until now, has gone unanswered is: Are assault

   weapons used as frequently to stop mass shootings as they are to perpetrate them? As shown

   above in Section II, assault weapons have been used to perpetrate approximately one-third of

   high-fatality mass shootings in the past 32 years (Figure 3). And in the past eight years, the
   share of high-fatality mass shootings that have been perpetrated with assault weapons has risen

   to approximately half (Figure 3).

          24.     The Federal Bureau of Investigation (FBI) has been documenting active shooter

   incidents since 2000.14 According to the FBI, active shootings are violent attacks that involve

   “one or more individuals actively engaged in killing or attempting to kill people in a populated

   area.”15 A simple way to conceptualize active shooter incidents is to think of them as attempted

   mass shootings. As part of its analysis of attempted mass shootings, the FBI identifies incidents

   that involved armed civilians using their personal firearms to intervene, regardless of whether the

   interventions were successful in stopping the attacks and/or neutralizing the perpetrator(s).


          14
             All of the information in this section, including definitions and data, are publicly
   available from the FBI. See FBI, “Active Shooter Safety Resources,” available at
   https://www.fbi.gov/how-we-can-help-you/safety-resources/active-shooter-safety-resources (last
   accessed January 2, 2023).
          15
              FBI, Active Shooter Incidents in the United States in 2022, April 2023, at 1, available
   at https://www.fbi.gov/file-repository/active-shooter-incidents-in-the-us-2022-042623.pdf/view
   (last accessed May 4, 2023). The FBI adds, “Implicit in this definition is the shooter’s use of one
   or more firearms. The active aspect of the definition inherently implies the ongoing nature of the
   incidents, and thus the potential for the response to affect the outcome.” Ibid. (emphasis in
   original). In addition to the report on incidents in 2022, the FBI has published seven other
   reports on active shooter incidents covering the following seven time periods: 2000-2013, 2014-
   2015, 2016-2017, 2018, 2019, 2020, and 2021. All of these reports are available at the FBI’s
   “Active Shooter Safety Resources” website, supra note 15.
                                                   21
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 26
                                    of 396




          25.     In the 23 years between January 1, 2000 and December 31, 2022, the FBI has

   identified 456 active shootings occurring in the United States. Out of these 456 active shooter

   incidents, 18 incidents (3.9%) involved defensive gun uses (DGUs) by civilians, excluding law

   enforcement or armed security.16 Of these 18 DGUs, the firearm used by an armed private

   citizen intervening was identifiable in 17 incidents; 14 involved handguns and the remaining

   three involved long guns (one shotgun, one bolt-action rifle, and one assault rifle).17 In other

   words, out of the 17 incidents where an armed civilian intervened and it was possible to identify

   the DGU firearm, only one incident (5.9%) involved an assault weapon.18 Within the broader

   context of all active shooter incidents, only one incident out of 456 in the past 23 years (0.2%) is

   known to have involved an armed civilian intervening with an assault weapon.19

          16
             In 17 of the 18 DGU-involved active shooter incidents, there was an exchange of
   gunfire. For the one incident that did not involve an exchange of gunfire, the gun (a handgun)
   was used to detain the active shooter after the shooting had ceased. FBI, supra notes 15 and 16.
          17
             All 14 DGU incidents that involved handguns also involved armed civilians who held
   valid concealed-carry permits or were legally carrying their handguns. Ibid. In 12 of these 14
   incidents, details about the types of handguns used in self-defense were available in news media
   accounts or in news media photographs of the crime scene. In two of the 14 incidents, the use of
   concealed handguns was inferred based on details about the shooting reported in news media
   accounts. There is no evidence that either of these two DGU incidents involved an assault pistol.
          18
             The FBI also identifies an incident in which an armed individual (a local firefighter)
   subdued and detained a school shooter, but there is no evidence that the armed firefighter drew
   his handgun during the incident. Ibid. Moreover, local authorities have refused to comment on
   whether the firefighter ever drew his handgun. See Carla Field, “Firefighter Was Armed During
   Takedown of Shooting Suspect, Sheriff Says,” WYFF, October 3, 2016, available at
   https://www.wyff4.com/article/firefighter-was-armed-during-takedown-of-shooting-suspect-
   sheriff-says/7147424 (last accessed January 3, 2023). Adding this incident to the 17 DGU-
   involved incidents would mean that 5.6% (as opposed to 5.9%) of the active shooter incidents,
   where an armed civilian intervened, involved an assault weapon.
          19
             FBI, supra notes 15 and 16. The one DGU that involved an assault weapon was the
   2017 church massacre in Sutherland Springs, Texas. In that incident, an armed private citizen
   used an AR-15-style assault rifle to wound the perpetrator as he was attempting to flee the scene.
   While the perpetrator was still able to flee the scene despite being shot, minutes later, he crashed
   his vehicle trying to escape and then took his life with his own firearm before law enforcement
   could apprehend him. See Adam Roberts, “Man Who Shot Texas Gunman Shares His Story,”
   KHBS/KHOG, November 7, 2017, available at https://www.4029tv.com/article/man-who-shot-
   texas-church-gunman-shares-his-story/13437943 (last accessed January 3, 2023).
                                                    22
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 27
                                    of 396




          26.     The bottom line is that assault weapons are used by civilians with a far greater

   frequency to perpetrate mass shootings than to stop mass shootings.20


   V.     OWNERSHIP RATES OF “MODERN SPORTING RIFLES” IN THE U.S.

          27.     As noted above in Para. 14, modern sporting rifles—such as AR- and AK-

   platform firearms—make up less than 5.3% of all firearms in American society, (excluding those

   in the control of the U.S. military). Furthermore, in a recent survey (2022), the NSSF found that

   civilian owners of modern sporting rifles own, on average, 3.8 such rifles, with 24% of these

   owners possessing only one such rifle.21 Based on this data, less than 6.4 million gun owners—
   out of an estimated 81 million Americans who own at least one personal firearm—own modern

   sporting rifles.22 In other words, less than 8% of all civilian gun owners in the United States own

   modern sporting rifles.23 In terms of the total population of the United States, estimated by the

          20
             Given the limitations of the active shooter incident data reported by the FBI, it is not
   possible to discern whether any of the civilian DGUs involved an armed civilian using a firearm
   with an LCM at the time of the intervention. As such, it is not possible to perform a similar
   comparison between mass shootings perpetrated with LCM-equipped firearms and mass
   shootings thwarted with LCM-equipped firearms.
          21
             NSSF, Modern Sporting Rifle: Ownership, Usage and Attitudes Toward AR- and AK-
   Platform Modern Sporting Rifles, Comprehensive Consumer Report, 2022, at 12, available at
   https://www3.nssf.org/share/PDF/pubs/NSSF-MSR-Comprehensive-Consumer-Report.pdf (last
   accessed January 16, 2023).
          22
             The estimate that less than 6.4 million gun owners possess what the NSSF considers to
   be modern sporting rifles is calculated by dividing the 3.8 average number of such rifles that
   each modern sporting rifle owner possesses into the NSSF’s claim that 24.4 million such rifles
   make up the nationwide stock (excluding modern sporting rifles in the control of the U.S
   military). This calculation (24.4 million divided by 3.8) equals 6.4 million. However, given that
   the NSSF numbers are inflated because they include modern sporting rifles that are not in the
   possession of private citizens, the number of gun owners that have modern sporting rifles is
   necessarily less than 6.4 million. Based on survey data, 81 million American adults are
   estimated to own guns. Andy Nguyen, “Proposed Assault Weapons Ban Won’t Turn Gun
   Owners into Felons Overnight,” PolitiFact, The Poynter Institute, August 3, 2022, available at
   https://www.politifact.com/factchecks/2022/aug/03/instagram-posts/proposed-assault-weapons-
   ban-wont-turn-gun-owners- (last accessed January 16, 2023).
          23
             The finding that less than 8% of all gun owners possess modern sporting rifles is
   calculated by dividing the 6.4 million modern sporting rifle owners (which is an over-estimation)
                                                   23
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 28
                                    of 396




   Census Bureau to be approximately 333 million people in 2022, less than 2% of all Americans

   own a modern sporting rifle.24

          28.     According to the ATF, from 1986 through 2020 (which reflects the most

   currently-available data), the civilian stock of firearms in the United States has been made up

   predominantly of handguns.25 As Figure 11 shows, handguns account for 50% of the civilian

   stock of firearms, rifles account for 33%, and shotguns account for 17%.

          29.     According to ATF data, handguns are the most commonly owned firearms; not

   rifles, and most certainly not modern sporting rifles that qualify as assault weapons.26




   by the 81 million American adults estimated to be gun owners. Taking 6.4 million and dividing
   it by 81 million equals 7.9%.
          24
             The Census Bureau’s total population estimate for 2022 is 333,287,557 persons. U.S.
   Census Bureau, “Growth in U.S. Population Shows Early Indication of Recovery Amid COVID-
   19 Pandemic,” December 22, 2022, available at https://www.census.gov/newsroom/press-
   releases/2022/2022-population-
   estimates.html#:~:text=DEC.,components%20of%20change%20released%20today (last
   accessed January 16, 2023). The finding that less than 2% of all Americans possess modern
   sporting rifles is calculated by dividing the 6.4 million modern sporting rifle owners (which is an
   over-estimation) by the 333 million persons in the United States. Taking 6.4 million and
   dividing it by 333 million equals 1.9%.
          25
             For data on the number of firearms manufactured, imported, and exported, by category
   of firearm, from 2000-2020, see ATF, supra note 8. For similar data covering 1986-1999, see
   ATF, Firearms Commerce in the United States: Annual Statistical Update, 2021, available at
   https://www.atf.gov/firearms/docs/report/2021-firearms-commerce-report/download (last
   accessed January 16, 2023).
          26
            Due to the lack of accurate data on the number of LCMs in civilian circulation, there is
   no way to perform a similar analysis of ownership rates using LCMs instead of modern sporting
   rifles.
                                                   24
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 29
                                    of 396




   Figure 11. Share of Firearms in Civilian Circulation in the United States, 1986-2020


                              Shotguns
                                17%




                                                                          Handguns
                                                                            50%


                    Rifles
                    33%




                                               25
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 30
                                    of 396




   VI.      RESTRICTIONS ON ASSAULT WEAPONS AND LCMS REDUCE THE INCIDENCE OF GUN
            MASSACRES, RESULTING IN LIVES SAVED

         VI.A.           THE OPERATIVE MECHANISM OF ASSAULT WEAPONS BANS: SUPPRESSION AND
                         SUBSTITUTION EFFECTS

            30.          As conceptualized in the Trinity of Violence model that I developed in my book

   on mass shootings, every act of violence involves three elements: a perpetrator, a weapon, and a

   target (Figure 12).27 The key to mitigating violence is to “break the trinity” by hindering at least

   one of the three elements. This is accomplished by dissuading the potential offender(s), denying

   the potential instrument(s) of violence, or defending the potential victim(s).28


   Figure 12. The Trinity of Violence




            31.          Bans are law-based concepts that prohibit certain behaviors by criminalizing

   them.29 Bans on assault weapons and LCMs generally make it illegal to manufacture, import,

   transfer, own, or possess certain firearms and certain magazines. Bans work in relation to two of

            27
                 Klarevas, supra note 1, at 27-29, 229-238.
            28
                 Ibid.
            Philip J. Cook, “Research in Criminal Deterrence: Laying the Groundwork for the
            29

   Second Decade,” 2 Crime and Justice 211 (1980) (Attached as Exhibit M); and Daniel S. Nagin,
   “Deterrence in the Twenty-First Century,” 42 Crime and Justice 199 (2013) (Attached as
   Exhibit N).
                                                         26
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 31
                                    of 396




   the three elements of the Trinity of Violence: dissuasion and denial. With regard to perpetrators,

   bans use the threat of criminal penalty to deter potential offenders from engaging in the

   prohibited behavior. In the case of bans on assault weapons and LCMs, they threaten conviction,

   imprisonment, and/or fines should an individual build or otherwise acquire a prohibited assault

   weapon or LCM. The primary mechanism at work here centers around dissuading potential

   shooters from trying to acquire banned firearm technologies. But there is also a secondary

   mechanism at work, focused on the assault weapon or LCM itself: deprive potential instruments

   of violence. Knowing that someone who is willing to commit murder might not be deterred from

   violating another criminal law, like possessing a prohibited item, bans on assault weapons and

   LCMs also threaten punishment against anyone who tries to transfer (through sale, gift, or loan)

   a restricted item to someone who is prohibited from acquiring it. This, in essence, reinforces the

   strategy of dissuading the offender with the strategy of denying the instruments of violence.

          32.     Ideally, someone intent on committing a mass shooting with an assault weapon

   and/or LCM would be dissuaded from going on a rampage by the fact that their means of choice

   are not available. In such a scenario, the attack would be quashed. This suppression effect is

   akin to what economists and psychologists refer to as a positive spillover effect, where one

   desirable outcome produces a second, loosely related desirable outcome.30 A real-world example

   of this is the so-called “Matrix Killings,” where a 19-year-old Virginia man blamed The Matrix
   film for driving him to murder his parents with a shotgun (that did not have an LCM). At the

   time of the crime in 2003, the Federal Assault Weapons Ban was in effect, preventing him from

   obtaining an assault rifle and LCMs. In a 2013 jailhouse interview, he told CNN, “If I had an

   assault weapon, things would have been much worse.” He added that had he had an AR-15


          30
             Paul Dolan and Mateo M. Galizzi, “Like Ripples on a Pond: Behavioral Spillovers and
   Their Implications for Research and Policy,” 47 Journal of Economic Psychology 1 (2015)
   (Attached as Exhibit O); K. Jane Muir and Jessica Keim-Malpass, “Analyzing the Concept of
   Spillover Effects for Expanded Inclusion in Health Economics Research,” 9 Journal of
   Comparative Effectiveness Research 755 (2020) (Attached as Exhibit P).
                                                   27
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 32
                                    of 396




   instead of a shotgun, he is positive that, after killing his parents, he would have gone on a

   rampage and “killed as many people as I possibly could.” As he noted, “because I didn’t have an

   assault weapon, that didn’t happen.”31 In this case, the unavailability of an assault weapon due

   to the federal ban appears to have suppressed the perpetrator’s impulse to commit a mass

   shooting.

           33.     Of course, some potential mass shooters will not be discouraged from going on a

   killing spree just because their means of choice are unavailable. They will instead replace their

   desired instruments of violence with available alternatives. This is commonly referred to as the

   substitution effect, wherein an act of violence is still perpetrated, but with a different, less lethal

   instrument of violence.32 A real-world example of the substitution effect at work is the 2019

   synagogue rampage in Poway, California. In that attack, the gunman appears to have been

   unable to acquire an assault rifle and LCMs due to California’s ban on both. Instead, he acquired

   what is known as a California-compliant semiautomatic rifle (which lacked features such as a

   pistol grip and a forward hand grip) and 10-round magazines. As a result, the gunman quickly

   ran out of bullets, and while pausing to reload—which appears to have been extremely difficult

   given that he did not have assault weapon features on his rifle that facilitated fast reloading—a

   congregant chased him away, preventing him from continuing his attack.33 In this incident,

   which resulted in one death, California’s ban on assault weapons and LCMs worked exactly as


           31
              “Inside the Mind of a Killer,” CNN (Transcripts), August 23, 2013, available at
   https://transcripts.cnn.com/show/pmt/date/2013-08-23/segment/01 (last accessed January 24,
   2023).
           32
             Philip J. Cook, “The Effect of Gun Availability on Violent Crime Patterns,” 455
   Annals of the American Academy of Political and Social Science 63 (1981) (Attached as Exhibit
   Q); Anthony A. Braga, et al., “Firearm Instrumentality: Do Guns Make Violent Situations More
   Lethal?” 4 Annual Review of Criminology 147 (2021) (Attached as Exhibit R).
           33
             Elliot Spagat and Julie Watson, “Synagogue Shooter Struggled with Gun, Fled with 50
   Bullets,” Associated Press, April 30, 2019, available at https://apnews.com/article/shootings-
   north-america-us-news-ap-top-news-ca-state-wire-8417378d6b934a8f94e1ea63fd7c0aea (last
   accessed January 24, 2023).
                                                      28
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 33
                                    of 396




   intended. It deprived the active shooter of the mechanisms that might have allowed him to kill

   enough people to surpass the fatality threshold of a mass shooting. Stated differently, if you

   examine data sets that identify shootings resulting in mass murder, you will not find the Poway

   synagogue attack on their lists.

          34.     It might seem perverse to think that restrictions on certain instruments of violence

   operate on the premise that, if an act of violence cannot be averted, then it will proceed with an

   alternative instrument. Nevertheless, this is exactly how bans on assault weapons and LCMs

   work in theory. They suppress the inclinations of potential mass shooters to go on killing

   rampages in the first place because their means of choice are unavailable. And, should

   deterrence fail, bans force perpetrators to substitute less lethal instruments for more dangerous,

   prohibited ones, reducing the casualty tolls of attacks when they do occur.

      VI.B.       THE OPERATIVE MECHANISM OF LCM BANS: FORCING PAUSES IN ACTIVE
                  SHOOTINGS

          35.     Restrictions on assault weapons and LCMs also address the multiple advantages

   LCMs provide to active shooters. Offensively, LCMs increase kill potential. Basically, the more

   bullets a shooter can fire at a target within a finite amount of time, the more potential wounds

   they can inflict. Furthermore, the more bullets that strike a victim, the higher the odds that that

   person will die. These two factors—sustained-fire capability and multiple-impact capability—

   allow LCMs to increase a shooter’s kill potential.

          36.     When inserted into either a semiautomatic or fully automatic firearm, an LCM

   facilitates the ability of an active shooter to fire a large number of rounds at an extremely quick

   rate without pause. This phenomenon—sustained-fire capability—comes in handy when a target

   is in a gunman’s line of sight for only a few seconds. For example, sustained-fire capability

   allows a reasonably competent shooter to fire three rounds per second with a semiautomatic

   firearm and ten rounds per second with an automatic firearm. That results in numerous chances
   to hit a target in a short window of opportunity, especially when ammunition capacity is large.

                                                    29
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 34
                                    of 396




          37.     LCMs also facilitate the ability of a shooter to strike a human target with more

   than one round. This phenomenon—multiple-impact capability—increases the chances that the

   victim, when struck by multiple rounds, will die. At least two separate studies have found that,

   when compared to the fatality rates of gunshot wound victims who were hit by only a single

   bullet, the fatality rates of those victims hit by more than one bullet were over 60 percent

   higher.34 The implication is straightforward: being able to strike human targets with more than

   one bullet increases a shooter’s chances of killing their victims. In essence, LCMs are force

   multipliers when it comes to kill potential—and the evidence from gun massacres supports this

   conclusion (see Section II).

          38.     In addition to offensive advantages, LCMs also provide the defensive advantage

   of extended cover. During an active shooting, a perpetrator is either firing their gun or not firing

   their gun. While pulling the trigger, it is difficult for those in harm’s way to take successful

   defensive maneuvers. But if the shooter runs out of bullets, there is a lull in the shooting. This

   precious downtime affords those in the line of fire with a chance to flee, hide, or fight back.

          39.     There are several examples of individuals fleeing or taking cover while active

   shooters paused to reload. For instance, in 2012, several first-graders at Sandy Hook Elementary

   School in Newtown, Connecticut, escaped their attacker as he was swapping out magazines,

   allowing them to exit their classroom and dash to safety.35 Other well-known examples include
   the 2007 Virginia Tech and the 2018 Borderline Bar and Grill rampages.36 There is also the

          34
            Daniel W. Webster, et al., “Epidemiologic Changes in Gunshot Wounds in
   Washington, DC, 1983–1990,” 127 Archives of Surgery 694 (June 1992) (Attached as Exhibit
   S); Angela Sauaia, et al., “Fatality and Severity of Firearm Injuries in a Denver Trauma Center,
   2000–2013,” 315 JAMA 2465 (June 14, 2016) (Attached as Exhibit T).
          See Dave Altimari, et al., “Shooter Paused and Six Escaped,” Hartford Courant,
          35

   December 23, 2012 (Attached as Exhibit U).
          36
              Virginia Tech Review Panel, Mass Shootings at Virginia Tech, April 16, 2007: Report
   of the Virginia Tech Review Panel Presented to Governor Kaine, Commonwealth of Virginia,
   Revised with Addendum, November 2009, available at
   https://scholar.lib.vt.edu/prevail/docs/April16ReportRev20091204.pdf (last accessed February 1,
   2023); “California Bar Shooting: Witnesses Describe Escaping as Gunman Reloaded,” CBS
                                                   30
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 35
                                    of 396




   possibility that someone will rush an active shooter and try to tackle them (or at the very least try

   to wrestle their weapon away from them) while they pause to reload.37 In recent history, there

   have been numerous instances of gunmen being physically confronted by unarmed civilians

   while reloading, bringing their gun attacks to an abrupt end. Prominent examples include the

   1993 Long Island Rail Road, the 2011 Tucson shopping center, the 2018 Nashville Waffle

   House, and the 2022 Laguna Woods church shooting rampages.38 When there are pauses in the

   shooting to reload, opportunities arise for those in the line of fire to take life-saving action.

       VI.C.       BANS ON ASSAULT WEAPONS AND LCMS IN PRACTICE

           40.     In light of the growing threat posed by mass shootings, legislatures have enacted

   restrictions on assault weapons and LCMs in an effort to reduce the occurrence and lethality of

   such deadly acts of firearm violence. Prominent among these measures was the 1994 Federal

   Assault Weapons Ban. In September 1994, moved to action by high-profile shooting rampages

   that occurred the previous year at a San Francisco law firm and on a Long Island Rail Road



   News, December 7, 2018, available at https://www.cbsnews.com/news/borderline-bar-shooting-
   thousand-oaks-california-12-dead-witnesses-describe-gunman-storming-in (last accessed
   February 1, 2023).
           37
            The longer a shooter can fire without interruption, the longer they can keep potential
   defenders at bay. The longer potential defenders are kept from physically confronting a shooter,
   the more opportunity there is for the shooter to inflict damage.
           38
              See, Rich Schapiro, “LIRR Massacre 20 Years Ago: ‘I Was Lucky,’ Says Hero Who
   Stopped Murderer,” New York Daily News, December 7, 2013, available at
   http://www.nydailynews.com/new-york/nyc-crime/lirr-massacre-20-years-lucky-hero-stopped-
   murderer-article-1.1540846 (last accessed February 1, 2023); Sam Quinones and Nicole Santa
   Cruz, “Crowd Members Took Gunman Down,” Los Angeles Times, January 9, 2011, available at
   https://www.latimes.com/archives/la-xpm-2011-jan-09-la-na-arizona-shooting-heroes-20110110-
   story.html (last accessed February 1, 2023); Brad Schmitt, “Waffle House Hero: Could You
   Rush Toward a Gunman Who Just Killed People?” The Tennessean, April 24, 2018, available at
   https://www.tennessean.com/story/news/crime/2018/04/24/waffle-house-hero-could-you-rush-
   toward-gunman-who-just-killed-people/543943002 (last accessed February 1, 2023);
   “Parishioners Stop Gunman in Deadly California Church Attack,” NPR, May 16, 2022, available
   at https://www.npr.org/2022/05/16/1099168335/parishioners-stop-gunman-in-california-church-
   shooting (last accessed February 1, 2023).
                                                     31
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 36
                                    of 396




   commuter train, the U.S. Congress enacted a ban on assault weapons and LCMs that applied to

   all 50 states plus the District of Columbia, bringing the entire country under the ban.39

          41.       Like the state bans on assault weapons and LCMs that were implemented before

   it, the federal ban was aimed primarily at reducing mass shooting violence—an objective the ban

   sought to achieve by prohibiting the manufacture, importation, possession, and transfer of assault

   weapons and LCMs not legally owned by civilians prior to the date of the law’s effect

   (September 13, 1994).40 Congress, however, inserted a sunset provision in the law which

   allowed the federal ban to expire in exactly 10 years, if it was not renewed beforehand. As

   Congress ultimately chose not to renew the law, the federal ban expired on September 13, 2004.

   In the aftermath of the federal ban’s expiration, mass shooting violence in the United States

   increased substantially.41

          42.       The legislative intent of the Town of Superior, the City of Boulder, the City of

   Louisville, and Boulder County in enacting the laws being challenged in the present case is

   similar to that of other legislative bodies that have restricted assault weapons and LCMs:

   reducing gun violence, especially the frequency and lethality of mass shootings. Because, on

   average, the use of assault weapons and LCMs results in higher death tolls in mass shootings, the

   rationale for imposing restrictions on assault weapons and LCMs is to reduce the loss of life

   associated with the increased kill potential of such firearm technologies.
          43.       Currently, 32% of the U.S. population is subject to a ban on both assault weapons

   and LCMs. The following is a list of the eleven state-level jurisdictions that presently restrict

   both assault weapons and LCMs: New Jersey (September 1, 1990); Hawaii (July 1, 1992, assault

          39
            Pub. L. No. 103-322, tit. XI, subtit. A, 108 Stat. 1796, 1996-2010 (codified as former
   18 U.S.C. § 922(v), (w)(1) (1994)).
          40
             Christopher Ingraham, “The Real Reason Congress Banned Assault Weapons in
   1994—and Why It Worked,” Washington Post, February 22, 2018, available at
   https://www.washingtonpost.com/news/wonk/wp/2018/02/22/the-real-reason-congress-banned-
   assault-weapons-in-1994-and-why-it-worked (last accessed January 2, 2023).
          41
               See sources cited supra note 14.
                                                     32
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 37
                                    of 396




   pistols only); Maryland (June 1, 1994, initially assault pistols but expanded to long guns October

   1, 2013); Massachusetts (July 23, 1998); California (January 1, 2000); New York (November 1,

   2000); the District of Columbia (March 31, 2009); Connecticut (April 4, 2013); Delaware

   (August 29, 2022); Illinois (January 10, 2023); and Washington (April 25, 2023).42 As a

   reminder, from September 13, 1994 through September 12, 2004, the entire country was also

   subject to a federal ban on both assault weapons and LCMs.

          44.     In the field of epidemiology, a common method for assessing the impact of laws

   and policies is to measure the rate of onset of new cases of an event, comparing the rate when

   and where the laws and policies were in effect against the rate when and where the laws and

   policies were not in effect. This measure, known as the incidence rate, allows public health

   experts to identify discernable differences, while accounting for variations in the population,

   over a set period of time. Relevant to the present case, calculating incidence rates across states,

   in a manner that captures whether or not bans on both assault weapons and LCMs were in effect

   during the period of observation, allows for the assessment of the effectiveness of such bans. In

   addition, fatality rates—the number of deaths, per population, that result from particular events

   across different jurisdictions—also provide insights into the impact bans on assault weapons and

   LCMs have on mass shooting violence.43

          45.     Since September 1, 1990, when New Jersey became the first state to ban both
   assault weapons and LCMs, through December 31, 2022, there have been 93 high-fatality mass

   shootings in the United States (Exhibit C).44 Calculating incidence and fatality rates for this

          42
             The dates in parentheses mark the effective dates on which the listed states became
   subject to bans on both assault weapons and LCMs.
          43
             For purposes of this Report, incidence and fatality rates are calculated using methods
   and principles endorsed by the Centers for Disease Control. See Centers for Disease Control and
   Prevention, Principles of Epidemiology in Public Health Practice: An Introduction to Applied
   Epidemiology and Biostatistics (2012), available at https://stacks.cdc.gov/view/cdc/13178 (last
   accessed January 3, 2023).
          44
           There were no state bans on both assault weapons and LCMs in effect prior to
   September 1, 1990. Therefore, January 1, 1991, is a logical starting point for an analysis of the
                                                33
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 38
                                    of 396




   time period, across jurisdictions with and without bans on both assault weapons and LCMs,

   reveals that states subject to such bans experienced a 56% decrease in high-fatality mass

   shooting incidence rates. They also experienced a 66% decrease in high-fatality mass shooting

   fatality rates, regardless of whether assault weapons or LCMs were used (Table 7).45

           46.    When calculations go a step further and are limited to mass shootings involving

   assault weapons or LCMs, the difference between the two jurisdictional categories is even more

   pronounced. In the time period from January 1, 1991 through December 31, 2022, accounting

   for population, states with bans on both assault weapons and LCMs experienced a 62% decrease

   in the rate of high-fatality mass shootings involving the use of assault weapons or LCMs.

   Similarly, jurisdictions with such bans in effect experienced a 72% decrease in the rate of deaths

   resulting from high-fatality mass shootings perpetrated with assault weapons or LCMs (Table 7).

           47.    All of the above epidemiological calculations lead to the same conclusion: when

   bans on assault weapons and LCMs are in effect, per capita, fewer high-fatality mass shootings

   occur and fewer people die in such shootings—especially incidents involving assault weapons or

   LCMs, where the impact is most striking.

           48.    The main purpose of bans on assault weapons and LCMs is to restrict the

   availability of assault weapons and LCMs. The rationale is that, if there are fewer assault

   weapons and LCMs in circulation, then potential mass shooters will either be dissuaded from
   attacking or they will be forced to use less-lethal firearm technologies, resulting in fewer lives

   lost.



   impact of bans on assault weapons and LCMs. As there were no high-fatality mass shootings in
   the last four months of 1990, extending the analysis back to September 1, 1990, would make no
   difference.
           45
            Between September 13, 1994 and September 12, 2004, the Federal Assault Weapons
   Ban was in effect. During that 10-year period, all 50 states and the District of Columbia were
   under legal conditions that restricted assault weapons and LCMs. As such, the entire country is
   coded as being under a ban on both assault weapons and LCMs during the time frame that the
   Federal Assault Weapons Ban was in effect.
                                                    34
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 39
                                    of 396




          49.     Moreover, forcing active shooters to reload creates critical pauses in an attack.

   These pauses provide opportunities for people in the line of fire to take life-saving measures

   (such as fleeing the area, taking cover out of the shooter’s sight, and fighting back), which in turn

   can help reduce casualties.

          50.     The epidemiological data lend support to the policy choices of the Town of

   Superior, the City of Boulder, the City of Louisville, and Boulder County that seek to enhance

   public safety through restrictions on civilian access to certain firearms and magazines. While

   imposing constraints on assault weapons and LCMs will not prevent every mass shooting, the

   data suggest that legislative efforts to restrict such instruments of violence should result in lives

   being saved.




                                                     35
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 40
                                    of 396




   Table 7. Incidence and Fatality Rates for High-Fatality Mass Shootings, by Whether or
   Not Bans on Assault Weapons and LCMs Were in Effect, 1991-2022

                                                                Annual
                                  Annual                        Incidents              Annual
                                  Average                       per 100                Deaths per
                                  Population    Total           Million       Total    100 Million
                                  (Millions)    Incidents       Population    Deaths   Population
    All High-Fatality Mass
    Shootings
    Non-Ban States                     162.0               68          1.31      720         13.89

    Ban States                         135.8               25          0.58      208          4.79

    Percentage Decrease in Rate
    for Ban States                                                     56%                    66%
    High-Fatality Mass
    Shootings Involving
    Assault Weapons or LCMs
    Non-Ban States                     162.0               47          0.91      575         11.09

    Ban States                         135.8               15          0.35      135          3.11

    Percentage Decrease in Rate
    for Ban States                                                     62%                    72%

   Note: Population data are from U.S. Census Bureau, “Population and Housing Unit Estimates
   Datasets,” available at https://www.census.gov/programs-surveys/popest/data/data-sets.html
   (last accessed January 3, 2023).




            Executed on October 20, 2023, at Nassau County, New York.




                                               /s/

                                                          Louis Klarevas


                                                     36
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 41
                                    of 396




                     EXHIBIT A
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 42
                                    of 396




                                      Louis J. Klarevas
                                 Email: ljk2149@tc.columbia.edu


   Education

   Ph.D. International Relations, 1999
         School of International Service
         American University
         Washington, DC

   B.A.   Political Science, Cum Laude, 1989
          School of Arts and Sciences
          University of Pennsylvania
          Philadelphia, PA


   Author

   Rampage Nation: Securing America from Mass Shootings


   Current Positions

   Research Professor, Teachers College, Columbia University, New York, NY, 2018-Present

   Faculty Affiliate, Media and Social Change Lab (MASCLab), Teachers College, Columbia
   University, New York, NY, 2019-Present


   Professional Experience

   Academic Experience (Presented in Academic Years)

   Associate Lecturer, Department of Global Affairs, University of Massachusetts – Boston,
   Boston, MA, 2015-2020

   Senior Fulbright Scholar (Security Studies), Department of European and International Studies,
   University of Macedonia, Thessaloniki, Greece, 2011-2012

   Founder and Coordinator, Graduate Transnational Security Program, Center for Global Affairs,
   New York University, New York, NY, 2009-2011

   Faculty Affiliate, A. S. Onassis Program in Hellenic Studies, New York University, New York,
   NY, 2007-2011

   Clinical Faculty, Center for Global Affairs, New York University, New York, NY, 2006-2011

                                                  1
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 43
                                    of 396




   Adjunct Professor, Center for Global Affairs, New York University, New York, NY, 2004-2006

   Assistant Professor of Political Science, City University of New York – College of Staten Island,
   Staten Island, NY, 2003-2006

   Associate Fellow, European Institute, London School of Economics and Political Science,
   London, England, UK, 2003-2004

   Defense Analysis Research Fellow, London School of Economics and Political Science, London,
   England, UK, 2002-2004

   Visiting Assistant Professor of Political Science and International Affairs, George Washington
   University, Washington, DC, 1999-2002

   Adjunct Professor of Political Science, George Washington University, Washington, DC, 1998-
   1999

   Adjunct Professor of International Relations, School of International Service, American
   University, Washington, DC, 1994-1995

   Dean’s Scholar, School of International Service, American University, Washington, DC, 1989-
   1992

   Professional Experience (Presented in Calendar Years)

   Consultant, National Joint Terrorism Task Force, Federal Bureau of Investigation, Washington,
   DC, 2015

   Writer, Prometheus Books, Amherst, NY, 2012-2015

   Consultant, United States Institute of Peace, Washington, DC, 2005, 2008-2009

   Research Associate, United States Institute of Peace, Washington, DC, 1992-1998

   Faculty Advisor, National Youth Leadership Forum, Washington, DC, 1992




                                                   2
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 44
                                    of 396




   Courses Taught

    Graduate                                              Undergraduate
    Counter-Terrorism and Homeland Security               American Government and Politics
    International Political Economy                       European-Atlantic Relations
    International Politics in a Post-Cold War Era         International Political Economy
    International Security                                International Relations
    Machinery and Politics of American Foreign Policy     Transnational Terrorism
    Role of the United States in World Affairs            United States Foreign Policy
    Security Policy
    Theories of International Politics
    Transnational Security
    Transnational Terrorism
    United States Foreign Policy


   Scholarship

   “State Firearm Laws, Gun Ownership, and K-12 School Shootings: Implications for School
   Safety,” Journal of School Violence, 2022 (co-authored with Paul M. Reeping, Sonali Rajan, et
   al.)

   “The Effect of Large-Capacity Magazine Bans on High-Fatality Mass Shootings, 1990-2017,”
   American Journal of Public Health, November 2019 (co-authored with Andrew Conner and
   David Hemenway)

   “Changes in U.S. Mass Shooting Deaths Associated with the 1994-2004 Federal Assault
   Weapons Ban,” Journal of Trauma and Acute Care Surgery, May 2019 (correspondence)

   Firearms on College Campuses: Research Evidence and Policy Implications, report prepared by
   the Johns Hopkins University Center for Gun Policy and Research for the Association of
   American Universities, October 2016 (co-authored with Daniel W. Webster, John J. Donohue, et
   al.)

   Rampage Nation: Securing America from Mass Shootings, Prometheus Books, 2016

   “No Relief in Sight: Barring Bivens Suits in Torture Cases,” Presidential Studies Quarterly, June
   2013

   Review of James Edward Miller’s The United States and the Making of Modern Greece: History
   and Power, 1950-1974, Presidential Studies Quarterly, June 2012 (book review)

   “Trends in Terrorism Since 9/11,” Georgetown Journal of International Affairs, Winter/Spring
   2011

   “The Death Penalty Should Be Decided Only Under a Specific Guideline,” in Christine Watkins,
   ed., The Ethics of Capital Punishment (Cengage/Gale Publishers, 2011)


                                                   3
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 45
                                    of 396




   Saving Lives in the ‘Convoy of Joy’: Lessons for Peace-Keeping from UNPROFOR, United
   States Institute of Peace Case Study, 2009

   “Casualties, Polls and the Iraq War,” International Security, Fall 2006 (correspondence)

   “The CIA Leak Case Indicting Vice President Cheney’s Chief of Staff,” Presidential Studies
   Quarterly, June 2006

   “Were the Eagle and the Phoenix Birds of a Feather? The United States and the 1967 Greek
   Coup,” Diplomatic History, June 2006

   “Greeks Bearing Consensus: An Outline for Increasing Greece’s Soft Power in the West,”
   Mediterranean Quarterly, Summer 2005

   “W Version 2.0: Foreign Policy in the Second Bush Term,” The Fletcher Forum of World
   Affairs, Summer 2005

   “Can You Sue the White House? Opening the Door for Separation of Powers Immunity in
   Cheney v. District Court,” Presidential Studies Quarterly, December 2004

   “Political Realism: A Culprit for the 9/11 Attacks,” Harvard International Review, Fall 2004

   Greeks Bearing Consensus: An Outline for Increasing Greece’s Soft Power in the West, Hellenic
   Observatory Discussion Paper 18, London School of Economics, November 2004

   Were the Eagle and the Phoenix Birds of a Feather? The United States and the 1967 Greek
   Coup, Hellenic Observatory Discussion Paper 15, London School of Economics, February 2004

   “Not a Divorce,” Survival, Winter 2003-2004 (correspondence)

   “Media Impact,” in Mark Rozell, ed., The Media and American Politics: An Introduction
   (Lanham, MD: Rowman & Littlefield, 2003)

   “The Surrender of Alleged War Criminals to International Tribunals: Examining the
   Constitutionality of Extradition via Congressional-Executive Agreement,” UCLA Journal of
   International Law and Foreign Affairs, Fall/Winter 2003

   “The Constitutionality of Congressional-Executive Agreements: Insights from Two Recent
   Cases,” Presidential Studies Quarterly, June 2003

   “The ‘Essential Domino’ of Military Operations: American Public Opinion and the Use of
   Force,” International Studies Perspectives, November 2002

   “The Polls–Trends: The United States Peace Operation in Somalia,” Public Opinion Quarterly,
   Winter 2001



                                                   4
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 46
                                    of 396




   American Public Opinion on Peace Operations: The Cases of Somalia, Rwanda, and Haiti,
   University of Michigan Dissertation Services, 1999

   “Turkey’s Right v. Might Dilemma in Cyprus: Reviewing the Implications of Loizidou v.
   Turkey,” Mediterranean Quarterly, Spring 1999

   “An Outline of a Plan Toward a Comprehensive Settlement of the Greek-Turkish Dispute,” in
   Vangelis Calotychos, ed., Cyprus and Its People: Nation, Identity, and Experience in an
   Unimaginable Community, 1955-1997, Boulder, CO: Westview Press, 1998 (co-authored with
   Theodore A. Couloumbis)

   “Prospects for Greek-Turkish Reconciliation in a Changing International Setting,” in Tozun
   Bahcheli, Theodore A. Couloumbis, and Patricia Carley, eds., Greek-Turkish Relations and U.S.
   Foreign Policy: Cyprus, the Aegean, and Regional Stability, Washington, D.C.: U.S. Institute of
   Peace, 1997 (co-authored with Theodore A. Couloumbis) [Reproduced as “Prospects for Greek-
   Turkish Reconciliation in a Changing International Setting,” in Robert L. Pfaltzgraff and
   Dimitris Keridis, eds., Security in Southeastern Europe and the U.S.-Greek–Relationship,
   London: Brassey’s, 1997 (co-authored with Theodore A. Couloumbis)]

   “Structuration Theory in International Relations,” Swords & Ploughshares, Spring 1992


   Commentaries and Correspondence

   “Why Our Response to School Shootings Is All Wrong,” Los Angeles Times, May 25, 2022 (co-
   authored with Sonali Rajan and Charles Branas)

   “COVID-19 Is a Threat to National Security. Let’s Start Treating It as Such,” Just Security,
   August 6, 2020 (co-authored with Colin P. Clarke)

   “If the Assault Weapons Ban ‘Didn’t Work,’ Then Why Does the Evidence Suggest It Saved
   Lives?” Los Angeles Times, March 11, 2018 (correspondence)

   “London and the Mainstreaming of Vehicular Terrorism,” The Atlantic, June 4, 2017 (co-
   authored with Colin P. Clarke)

   “Firearms Have Killed 82 of the 86 Victims of Post-9/11 Domestic Terrorism,” The Trace, June
   30, 2015 [Reproduced as “Almost Every Fatal Terrorist Attack in America since 9/1 Has
   Involved Guns.” Vice, December 4, 2015]

   “International Law and the 2012 Presidential Elections,” Vitoria Institute, March 24, 2012

   “Al Qaeda Without Bin Laden,” CBS News Opinion, May 2, 2011

   “Fuel, But Not the Spark,” Zocalo Public Square, February 16, 2011

   “After Tucson, Emotions Run High,” New York Times, January 12, 2011 (correspondence)


                                                   5
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 47
                                    of 396




   “WikiLeaks, the Web, and the Need to Rethink the Espionage Act,” The Atlantic, November 9,
   2010

   “Deprogramming Jihadis,” New York Times Magazine, November 23, 2008 (correspondence)

   “Food: An Issue of National Security,” Forbes (Forbes.com), October 25, 2008

   “An Invaluable Opportunity for Greece To Increase Its Standing and Influence on the World
   Stage,” Kathimerini (Greece), January 13, 2005

   “How Many War Deaths Can We Take?” Newsday, November 7, 2003

   “Down But Not Out,” London School of Economics Iraq War Website, April 2003

   “Four Half-Truths and a War,” American Reporter, April 6, 2003

   “The Greek Bridge between Old and New Europe,” National Herald, February 15-16, 2003

   “Debunking a Widely-Believed Greek Conspiracy Theory,” National Herald, September 21-22,
   2002

   “Debunking of Elaborate Media Conspiracies an Important Trend,” Kathimerini (Greece),
   September 21, 2002 [Not Related to September 21-22, 2002, National Herald Piece with Similar
   Title]

   “Cold Turkey,” Washington Times, March 16, 1998

   “If This Alliance Is to Survive . . .,” Washington Post, January 2, 1998 [Reproduced as “Make
   Greece and Turkey Behave,” International Herald Tribune, January 3, 1998]

   “Defuse Standoff on Cyprus,” Defense News, January 27-February 2, 1997

   “Ukraine Holds Nuclear Edge,” Defense News, August 2-8, 1993


   Commentaries Written for New York Daily News –
   https://www.nydailynews.com/authors/?author=Louis+Klarevas

   “Careful How You Talk about Suicide, Mr. President,” March 25, 2020 (co-authored with Sonali
   Rajan, Charles Branas, and Katherine Keyes)

   “Only as Strong as Our Weakest Gun Laws: The Latest Mass Shooting Makes a Powerful Case
   for Federal Action,” November 8, 2018

   “What to Worry, and not Worry, About: The Thwarted Pipe-Bomb Attacks Point to Homeland
   Security Successes and Vulnerabilities,” October 25, 2018


                                                  6
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 48
                                    of 396




   “After the Santa Fe Massacre, Bury the ‘Good Guy with a Gun’ Myth: Armed Staffers Won’t
   Deter Shooters or Keep Kids Safe,” May 22, 2018

   “It’s the Guns (and Ammo), Stupid: Dissuading Killers and Hardening Targets Matter Too, But
   Access to Weapons Matters Most,” February 18, 2018

   “The Texas Shooting Again Reveals Inadequate Mental-Health Help in the U.S. Military,”
   November 7, 2017

   “Why Mass Shootings Are Getting Worse: After Vegas, We Urgently Must Fix Our Laws,”
   October 2, 2017

   “N.Y. Can Lead the Nation in Fighting Child Sex Trafficking,” April 21, 2009 (co-authored with
   Ana Burdsall-Morse)

   “Crack Down on Handguns – They’re a Tool of Terror, Too,” October 25, 2007


   Commentaries Written for The Huffington Post – www.huffingtonpost.com/louis-klarevas

   “Improving the Justice System Following the Deaths of Michael Brown and Eric Garner,”
   December 4, 2014

   “American Greengemony: How the U.S. Can Help Ukraine and the E.U. Break Free from
   Russia’s Energy Stranglehold,” March 6, 2014

   “Guns Don’t Kill People, Dogs Kill People,” October 17, 2013

   “Romney the Liberal Internationalist?” October 23, 2012

   “Romney’s Unrealistic Foreign Policy Vision: National Security Funded by Money Growing
   Trees,” October 10, 2012

   “Do the Wrong Thing: Why Penn State Failed as an Institution,” November 14, 2011

   “Holding Egypt’s Military to Its Pledge of Democratic Reform,” February 11, 2011

   “The Coming Twivolutions? Social Media in the Recent Uprisings in Tunisia and Egypt,”
   January 31, 2011

   “Scholarship Slavery: Does St. John’s ‘Dean of Mean’ Represent a New Face of Human
   Trafficking?” October 6, 2010

   “Misunderstanding Terrorism, Misrepresenting Islam,” September 21, 2010

   “Bombing on the Analysis of the Times Square Bomb Plot,” May 5, 2010


                                                 7
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 49
                                    of 396




   “Do the Hutaree Militia Members Pose a Terrorist Threat?” May 4, 2010

   “Addressing Mexico’s Gun Violence One Extradition at a Time,” March 29, 2010

   “Terrorism in Texas: Why the Austin Plane Crash Is an Act of Terror,” February 19, 2010

   “Securing American Primacy by Tackling Climate Change: Toward a National Strategy of
   Greengemony,” December 15, 2009

   “Traffickers Without Borders: A ‘Journey’ into the Life of a Child Victimized by Sex
   Trafficking,” November 17, 2009

   “Beyond a Lingering Doubt: It’s Time for a New Standard on Capital Punishment,” November 9,
   2009

   “It’s the Guns Stupid: Why Handguns Remain One of the Biggest Threats to Homeland
   Security,” November 7, 2009

   “Obama Wins the 2009 Nobel Promise Prize,” October 9, 2009


   Commentaries for Foreign Policy – www.foreignpolicy.com

   “The White House’s Benghazi Problem,” September 20, 2012

   “Greeks Don’t Want a Grexit,” June 14, 2012

   “The Earthquake in Greece,” May 7, 2012

   “The Idiot Jihadist Next Door,” December 1, 2011

   “Locked Up Abroad,” October 4, 2011


   Commentaries for The New Republic – www.tnr.com/users/louis-klarevas

   “What the U.N. Can Do To Stop Getting Attacked by Terrorists,” September 2, 2011

   “Is It Completely Nuts That the British Police Don’t Carry Guns? Maybe Not,” August 13, 2011

   “How Obama Could Have Stayed the Execution of Humberto Leal Garcia,” July 13, 2011

   “After Osama bin Laden: Will His Death Hasten Al Qaeda’s Demise?” May 2, 2011

   “Libya’s Stranger Soldiers: How To Go After Qaddafi’s Mercenaries,” February 28, 2011



                                                  8
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 50
                                    of 396




   “Closing the Gap: How To Reform U.S. Gun Laws To Prevent Another Tucson,” January 13,
   2011

   “Easy Target,” June 13, 2010

   “Death Be Not Proud,” October 27, 2003 (correspondence)


   Legal Analyses Written for Writ – writ.news.findlaw.com/contributors.html#klarevas

   “Human Trafficking and the Child Protection Compact Act of 2009,” Writ (FindLaw.com), July
   15, 2009 (co-authored with Christine Buckley)

   “Can the Justice Department Prosecute Reporters Who Publish Leaked Classified Information?
   Interpreting the Espionage Act,” Writ (FindLaw.com), June 9, 2006

   “Will the Precedent Set by the Indictment in a Pentagon Leak Case Spell Trouble for Those Who
   Leaked Valerie Plame's Identity to the Press?” Writ (FindLaw.com), August 15, 2005

   “Jailing Judith Miller: Why the Media Shouldn’t Be So Quick to Defend Her, and Why a
   Number of These Defenses Are Troubling,” Writ (FindLaw.com), July 8, 2005

   “The Supreme Court Dismisses the Controversial Consular Rights Case: A Blessing in Disguise
   for International Law Advocates?” Writ (FindLaw.com), June 6, 2005 (co-authored with Howard
   S. Schiffman)

   “The Decision Dismissing the Lawsuit against Vice President Dick Cheney,” Writ
   (FindLaw.com), May 17, 2005

   “The Supreme Court Considers the Rights of Foreign Citizens Arrested in the United States,”
   Writ (FindLaw.com), March 21, 2005 (co-authored with Howard S. Schiffman)


   Presentations and Addresses

   In addition to the presentations listed below, I have made close to one hundred media
   appearances, book events, and educational presentations (beyond lectures for my own
   classes)

   “Mass Shootings: What We Know, What We Don’t Know, and Why It All Matters,” keynote
   presentation to be delivered at the Columbia University Center for Injury Science and Prevention
   Annual Symposium, virtual meeting, May 2020

   “K-12 School Environmental Responses to Gun Violence: Gaps in the Evidence,” paper
   presented at Society for Advancement of Violence and Injury Research Annual Meeting, virtual
   meeting, April 2020 (co-authored with Sonali Rajan, Joseph Erardi, Justin Heinze, and Charles
   Branas)


                                                  9
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 51
                                    of 396




   “Active School Shootings,” Post-Performance Talkback following Presentation of 17 Minutes,
   Barrow Theater, New York, January 29, 2020 (co-delivered with Sonali Rajan)

   “Addressing Mass Shootings in Public Health: Lessons from Security Studies,” Teachers
   College, Columbia University, November 25, 2019

   “Rampage Nation: Securing America from Mass Shootings,” Swarthmore College, October 24,
   2019

   “Rampage Nation: Securing America from Mass Shootings,” University of Pennsylvania,
   February 9, 2018

   “Treating Mass Shootings for What They Really Are: Threats to American Security,”
   Framingham State University, October 26, 2017

   “Book Talk: Rampage Nation,” Teachers College, Columbia University, October 17, 2017

   Participant, Roundtable on Assault Weapons and Large-Capacity Magazines, Annual Conference
   on Second Amendment Litigation and Jurisprudence, Law Center to Prevent Gun Violence,
   October 16, 2017

   “Protecting the Homeland: Tracking Patterns and Trends in Domestic Terrorism,” address
   delivered to the annual meeting of the National Joint Terrorism Task Force, June 2015

   “Sovereign Accountability: Creating a Better World by Going after Bad Political Leaders,”
   address delivered to the Daniel H. Inouye Asia-Pacific Center for Security Studies, November
   2013

   “Game Theory and Political Theater,” address delivered at the School of Drama, State Theater of
   Northern Greece, May 2012

   “Holding Heads of State Accountable for Gross Human Rights Abuses and Acts of Aggression,”
   presentation delivered at the Michael and Kitty Dukakis Center for Public and Humanitarian
   Service, American College of Thessaloniki, May 2012

   Chairperson, Cultural Enrichment Seminar, Fulbright Foundation – Southern Europe, April 2012

   Participant, Roundtable on “Did the Intertubes Topple Hosni?” Zócalo Public Square, February
   2011

   Chairperson, Panel on Democracy and Terrorism, annual meeting of the International Security
   Studies Section of the International Studies Association, October 2010

   “Trends in Terrorism Within the American Homeland Since 9/11,” paper to be presented at the
   annual meeting of the International Security Studies Section of the International Studies
   Association, October 2010


                                                 10
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 52
                                    of 396




   Panelist, “In and Of the World,” Panel on Global Affairs in the 21st Century, Center for Global
   Affairs, New York University, March 2010

   Moderator, “Primacy, Perils, and Players: What Does the Future Hold for American Security?”
   Panel of Faculty Symposium on Global Challenges Facing the Obama Administration, Center for
   Global Affairs, New York University, March 2009

   “Europe’s Broken Border: The Problem of Illegal Immigration, Smuggling and Trafficking via
   Greece and the Implications for Western Security,” presentation delivered at the Center for
   Global Affairs, New York University, February 2009

   “The Dangers of Democratization: Implications for Southeast Europe,” address delivered at the
   University of Athens, Athens, Greece, May 2008

   Participant, “U.S. National Intelligence: The Iran National Intelligence Estimate,” Council on
   Foreign Relations, New York, April 2008

   Moderator, First Friday Lunch Series, “Intelligence in the Post-9/11 World: An Off-the-Record
   Conversation with Dr. Joseph Helman (U.S. Senior National Intelligence Service),” Center for
   Global Affairs, New York University, March 2008

   Participant, “U.S. National Intelligence: Progress and Challenges,” Council on Foreign
   Relations, New York, March 2008

   Moderator, First Friday Lunch Series, “Public Diplomacy: The Steel Backbone of America’s
   Soft Power: An Off-the-Record Conversation with Dr. Judith Baroody (U.S. Department of
   State),” Center for Global Affairs, New York University, October 2007

   “The Problems and Challenges of Democratization: Implications for Latin America,”
   presentation delivered at the Argentinean Center for the Study of Strategic and International
   Relations Third Conference on the International Relations of South America (IBERAM III),
   Buenos Aires, Argentina, September 2007

   “The Importance of Higher Education to the Hellenic-American Community,” keynote address
   to the annual Pan-Icarian Youth Convention, New York, May 2007

   Moderator, First Friday Lunch Series, Panel Spotlighting Graduate Theses and Capstone
   Projects, Center for Global Affairs, New York University, April 2007

   Convener, U.S. Department of State Foreign Officials Delegation Working Group on the Kurds
   and Turkey, March 2007

   “Soft Power and International Law in a Globalizing Latin America,” round-table presentation
   delivered at the Argentinean Center for the Study of Strategic and International Relations
   Twelfth Conference of Students and Graduates of International Relations in the Southern Cone
   (CONOSUR XII), Buenos Aires, Argentina, November 2006


                                                  11
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 53
                                    of 396




   Moderator, First Friday Lunch Series, “From Berkeley to Baghdad to the Beltway: An Off-the-
   Record Conversation with Dr. Catherine Dale (U.S. Department of Defense),” Center for Global
   Affairs, New York University, November 2006

   Chairperson, Roundtable on Presidential Privilege and Power Reconsidered in a Post-9/11 Era,
   American Political Science Association Annual Meeting, September 2006

   “Constitutional Controversies,” round-table presentation delivered at City University of New
   York-College of Staten Island, September 2005

   “The Future of the Cyprus Conflict,” address to be delivered at City University of New York
   College of Staten Island, April 2005

   “The 2004 Election and the Future of American Foreign Policy,” address delivered at City
   University of New York College of Staten Island, December 2004

   “One Culprit for the 9/11 Attacks: Political Realism,” address delivered at City University of
   New York-College of Staten Island, September 2004

   “Were the Eagle and the Phoenix Birds of a Feather? The United States and the 1967 Greek
   Coup,” address delivered at London School of Economics, November 2003

   “Beware of Europeans Bearing Gifts? Cypriot Accession to the EU and the Prospects for Peace,”
   address delivered at Conference on Mediterranean Stability, Security, and Cooperation, Austrian
   Defense Ministry, Vienna, Austria, October 2003

   Co-Chair, Panel on Ideational and Strategic Aspects of Greek International Relations, London
   School of Economics Symposium on Modern Greece, London, June 2003

   “Greece between Old and New Europe,” address delivered at London School of Economics, June
   2003

   Co-Chair, Panel on International Regimes and Genocide, International Association of Genocide
   Scholars Annual Meeting, Galway, Ireland, June 2003

   “American Cooperation with International Tribunals,” paper presented at the International
   Association of Genocide Scholars Annual Meeting, Galway, Ireland, June 2003

   “Is the Unipolar Moment Fading?” address delivered at London School of Economics, May 2003

   “Cyprus, Turkey, and the European Union,” address delivered at London School of Economics,
   February 2003

   “Bridging the Greek-Turkish Divide,” address delivered at Northwestern University, May 1998

   “The CNN Effect: Fact or Fiction?” address delivered at Catholic University, April 1998


                                                  12
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 54
                                    of 396




   “The Current Political Situation in Cyprus,” address delivered at AMIDEAST, July 1997

   “Making the Peace Happen in Cyprus,” presentation delivered at the U.S. Institute of Peace in
   July 1997

   “The CNN Effect: The Impact of the Media during Diplomatic Crises and Complex
   Emergencies,” a series of presentations delivered in Cyprus (including at Ledra Palace), May
   1997

   “Are Policy-Makers Misreading the Public? American Public Opinion on the United Nations,”
   paper presented at the International Studies Association Annual Meeting, Toronto, Canada,
   March 1997 (with Shoon Murray)

   “The Political and Diplomatic Consequences of Greece’s Recent National Elections,”
   presentation delivered at the National Foreign Affairs Training Center, Arlington, VA,
   September 1996

   “Prospects for Greek-Turkish Reconciliation,” presentation delivered at the U.S. Institute of
   Peace Conference on Greek-Turkish Relations, Washington, D.C., June, 1996 (with Theodore A.
   Couloumbis)

   “Greek-Turkish Reconciliation,” paper presented at the Karamanlis Foundation and Fletcher
   School of Diplomacy Joint Conference on The Greek-U.S. Relationship and the Future of
   Southeastern Europe, Washington, D.C., May, 1996 (with Theodore A. Couloumbis)

   “The Path toward Peace in the Eastern Mediterranean and the Balkans in the Post-Cold War
   Era,” paper presented at the International Studies Association Annual Meeting, San Diego, CA,
   March, 1996 (with Theodore A. Couloumbis)

   “Peace Operations: The View from the Public,” paper presented at the International Studies
   Association Annual Meeting, San Diego, CA, March, 1996

   Chairperson, Roundtable on Peace Operations, International Security Section of the International
   Studies Association Annual Meeting, Rosslyn, VA, October, 1995

   “Chaos and Complexity in International Politics: Epistemological Implications,” paper presented
   at the International Studies Association Annual Meeting, Washington, D.C., March, 1994

   “At What Cost? American Mass Public Opinion and the Use of Force Abroad,” paper presented
   at the International Studies Association Annual Meeting, Washington, D.C., March, 1994 (with
   Daniel B. O'Connor)

   “American Mass Public Opinion and the Use of Force Abroad,” presentation delivered at the
   United States Institute of Peace, Washington, D.C., February, 1994 (with Daniel B. O'Connor)




                                                  13
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 55
                                    of 396




   “For a Good Cause: American Mass Public Opinion and the Use of Force Abroad,” paper
   presented at the Annual Meeting of the Foreign Policy Analysis/Midwest Section of the
   International Studies Association, Chicago, IL, October, 1993 (with Daniel B. O’Connor)

   “American International Narcotics Control Policy: A Critical Evaluation,” presentation delivered
   at the American University Drug Policy Forum, Washington, D.C., November, 1991

   “American National Security in the Post-Cold War Era: Social Defense, the War on Drugs, and
   the Department of Justice,” paper presented at the Association of Professional Schools of
   International Affairs Conference, Denver, CO, February, 1991


   Referee for Grant Organizations, Peer-Reviewed Journals, and Book Publishers

   National Science Foundation, Division of Social and Economic Sciences

   American Journal of Preventive Medicine

   American Journal of Public Health

   American Political Science Review

   British Medical Journal (BMJ)

   Comparative Political Studies

   Injury Epidemiology

   Journal of Public and International Affairs

   Millennium

   Political Behavior

   Presidential Studies Quarterly

   Victims & Offenders

   Violence and Victims

   Brill Publishers

   Johns Hopkins University Press

   Routledge




                                                 14
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 56
                                    of 396




   Service to University, Profession, and Community

   Participant, Minnesota Chiefs of Police Association, Survey of Measures to Reduce Gun
   Violence, 2023

   Member, Regional Gun Violence Research Consortium, Nelson A. Rockefeller Institute of
   Government, State University of New York, 2022-

   Founding Member, Scientific Union for the Reduction of Gun Violence (SURGE), Columbia
   University, 2019-

   Contributing Lecturer, Johns Hopkins University, Massive Open Online Course on Evidence-
   Based Gun Violence Research, Funded by David and Lucile Packard Foundation, 2019

   Member, Group of Gun Violence Experts, New York Times Upshot Survey, 2017

   Member, Guns on Campus Assessment Group, Johns Hopkins University and Association of
   American Universities, 2016

   Member, Fulbright Selection Committee, Fulbright Foundation, Athens, Greece, 2012

   Faculty Advisor, Global Affairs Graduate Society, New York University, 2009-2011

   Founder and Coordinator, Graduate Transnational Security Studies, Center for Global Affairs,
   New York University, 2009-2011

   Organizer, Annual Faculty Symposium, Center for Global Affairs, New York University, 2009

   Member, Faculty Search Committees, Center for Global Affairs, New York University, 2007-
   2009

   Member, Graduate Program Director Search Committee, Center for Global Affairs, New York
   University, 2008-2009

   Developer, Transnational Security Studies, Center for Global Affairs, New York University,
   2007-2009

   Participant, Council on Foreign Relations Special Series on National Intelligence, New York,
   2008

   Member, Graduate Certificate Curriculum Committee, Center for Global Affairs, New York
   University, 2008

   Member, Faculty Affairs Committee, New York University, 2006-2008

   Member, Curriculum Review Committee, Center for Global Affairs, New York University,
   2006-2008


                                                 15
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 57
                                    of 396




   Member, Overseas Study Committee, Center for Global Affairs, New York University, 2006-
   2007

   Participant, New York Academic Delegation to Israel, Sponsored by American-Israel Friendship
   League, 2006

   Member, Science, Letters, and Society Curriculum Committee, City University of New York-
   College of Staten Island, 2006

   Member, Graduate Studies Committee, City University of New York-College of Staten Island,
   2005-2006

   Member, Summer Research Grant Selection Committee, City University of New York-College
   of Staten Island, 2005

   Director, College of Staten Island Association, 2004-2005

   Member of Investment Committee, College of Staten Island Association, 2004-2005

   Member of Insurance Committee, College of Staten Island Association, 2004-2005

   Member, International Studies Advisory Committee, City University of New York-College of
   Staten Island, 2004-2006

   Faculty Advisor, Pi Sigma Alpha National Political Science Honor Society, City University of
   New York-College of Staten Island, 2004-2006

   Participant, World on Wednesday Seminar Series, City University of New York-College of
   Staten Island, 2004-2005

   Participant, American Democracy Project, City University of New York-College of Staten
   Island, 2004

   Participant, Philosophy Forum, City University of New York-College of Staten Island, 2004

   Commencement Liaison, City University of New York-College of Staten Island, 2004

   Member of Scholarship Committee, Foundation of Pan-Icarian Brotherhood, 2003-2005, 2009

   Scholarship Chairman, Foundation of Pan-Icarian Brotherhood, 2001-2003

   Faculty Advisor to the Kosmos Hellenic Society, George Washington University, 2001-2002

   Member of University of Pennsylvania’s Alumni Application Screening Committee, 2000-2002

   Participant in U.S. Department of State’s International Speakers Program, 1997


                                                 16
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 58
                                    of 396




   Participant in Yale University’s United Nations Project, 1996-1997

   Member of Editorial Advisory Board, Journal of Public and International Affairs, Woodrow
   Wilson School of Public and International Affairs, Princeton University, 1991-1993

   Voting Graduate Student Member, School of International Service Rank and Tenure Committee,
   American University, 1990-1992

   Member of School of International Service Graduate Student Council, American University,
   1990-1992

   Teaching Assistant for the Several Courses (World Politics, Beyond Sovereignty, Between Peace
   and War, Soviet-American Security Relations, and Organizational Theory) at School of
   International Service Graduate Student Council, American University, 1989-1992

   Representative for American University at the Annual Meeting of the Association of
   Professional Schools of International Affairs, Denver, Colorado, 1991


   Expert Witness Service

   Town of Superior, Colorado, 2023-

   City of Boulder, Colorado, 2023-

   City of Louisville, Colorado, 2023-

   County of Boulder, Colorado, 2023-

   State of Connecticut, 2023-

   State of Hawaii, 2023-

   State of Illinois, 2023-

   State of Massachusetts, 2023-

   State of New Jersey, 2023-

   State of Oregon, 2023-

   City of Highland Park, Illinois, 2022-

   County of Cook, Illinois, 2022-

   State of Washington, 2022-

   Government of Canada, 2021-2022




                                                 17
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 59
                                    of 396




   Plaintiffs, Ward et al. v. Academy Sports + Outdoor, District Court Bexar County, Texas, 224th
   Judicial District, Cause Number 2017CI23341, Bexar County, TX, 2019

   State of California, 2017-

   State of Colorado, 2016-2017, 2022-


   Affiliations, Associations, and Organizations (Past and Present)

   Academy of Political Science (APS)

   American Political Science Association (APSA)

   Anderson Society of American University

   Carnegie Council Global Ethics Network

   Columbia University Scientific Union for the Reduction of Gun Violence (SURGE)

   Firearm Safety among Children and Teens (FACTS)

   International Political Science Association (IPSA)

   International Studies Association (ISA)

   New York Screenwriters Collective

   Pan-Icarian Brotherhood

   Pi Sigma Alpha

   Regional Gun Violence Research Consortium

   Society for Advancement of Violence and Injury Research (SAVIR)

   United States Department of State Alumni Network

   United States Institute of Peace Alumni Association

   University of Pennsylvania Alumni Association




                                                  18
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 60
                                    of 396




   Grants, Honors, and Awards

   Co-Investigator, A Nationwide Case-Control Study of Firearm Violence Prevention Tactics and
   Policies in K-12 School, National Institutes of Health, 2021-2024 (Branas and Rajan MPIs)

   Senior Fulbright Fellowship, 2012

   Professional Staff Congress Research Grantee, City University of New York, 2004-2005

   Research Assistance Award (Two Times), City University of New York-College of Staten
   Island, 2004

   Summer Research Fellowship, City University of New York-College of Staten Island, 2004

   European Institute Associate Fellowship, London School of Economics, 2003-2004

   Hellenic Observatory Defense Analysis Research Fellowship, London School of Economics,
   2002-2003

   United States Institute of Peace Certificate of Meritorious Service, 1996

   National Science Foundation Dissertation Research Grant, 1995 (declined)

   Alexander George Award for Best Graduate Student Paper, Runner-Up, Foreign Policy Analysis
   Section, International Studies Association, 1994

   Dean’s Scholar Fellowship, School of International Service, American University, 1989-1992

   Graduate Research and Teaching Assistantship, School of International Service, American
   University, 1989-1992

   American Hellenic Educational Progressive Association (AHEPA) College Scholarship, 1986

   Political Science Student of the Year, Wilkes-Barre Area School District, 1986




                                                   19
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 61
                                    of 396




                     EXHIBIT B
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 62
                                    of 396




                                 LOUIS KLAREVAS

                     RAMPAGE NATION
                        SECURING AMERICA FROM MASS SHOOTINGS




                                 � Prometheus Books
                                        59 John Glenn Drive
                                      Amherst, New York 14228




 I   Rampage Nation.indd 3                                          6/14/16 12:37 PM I
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 63
                                    of 396




                  48      PARTl:PROBLEM

                                    Table 2.1. The Concept of a Mass Shooting.
                                               Definition of a Mass Shooting:

                                 Any violent ottack thot results in four or more individuals incurring gunshot wounds.

                                                Categories of Mass Shooting:

                                                1. Nonfatal
                                                    Moss shootings in which no one dies.

                                                2. Fatal
                                                    Moss shootings in which ot least one victim dies.

                                                3. High-Fatality/ Gun Massacre
                                                    Moss shootings in which six or more victims die.




                  It's easy to dismiss conceptual discussions and debates as exercises
                  in Ivory Tower intellectualism. But how we identify and think about
                  mass shootings impacts which attacks capture national attention and
                  which are disregarded-something which has far-reaching policy
                  consequences. Thus, coming up with the best possible definition
                  and conceptualization is a vital first step toward explaining and pre­
                  venting rampage violence. As the Socratic adage reminds us, "The
                  beginning of wisdom is the definition of terms." 43




 I   Rampage Nation.indd 48                                                                                              6/14/16 12:37 PM I
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 64
                                    of 396




                     EXHIBIT C
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 65
                                    of 396




                                              Exhibit C
                      High-Fatality Mass Shootings in the United States, 1991-2022

           Date                      City                    State   Deaths   Involved AWs   Involved LCMs
    1     1/26/1991                Chimayo                   NM        7           N              N
    2      8/9/1991                Waddell                   AZ        9           N              N
    3    10/16/1991                 Killeen                  TX       23           N              Y
    4     11/7/1992       Morro Bay and Paso Robles          CA        6           N              N
    5      1/8/1993                Palatine                   IL       7           N              N
    6     5/16/1993                 Fresno                   CA        7           Y              Y
    7      7/1/1993              San Francisco               CA        8           Y              Y
    8     12/7/1993               Garden City                NY        6           N              Y
    9     4/20/1999                Littleton                 CO       13           Y              Y
    10    7/12/1999                 Atlanta                  GA        6           N              U
    11    7/29/1999                 Atlanta                  GA        9           N              Y
    12    9/15/1999               Fort Worth                 TX        7           N              Y
    13    11/2/1999                Honolulu                   HI       7           N              Y
    14   12/26/2000               Wakefield                  MA        7           Y              Y
    15   12/28/2000              Philadelphia                 PA       7           N              Y
    16    8/26/2002                Rutledge                  AL        6           N              N
    17    1/15/2003                Edinburg                  TX        6           Y              U
    18     7/8/2003                Meridian                  MS        6           N              N
    19    8/27/2003                Chicago                    IL       6           N              N
    20    3/12/2004                 Fresno                   CA        9           N              N
    21   11/21/2004               Birchwood                   WI       6           Y              Y
    22    3/12/2005               Brookfield                  WI       7           N              Y
    23    3/21/2005                Red Lake                  MN        9           N              Y
    24    1/30/2006                 Goleta                   CA        7           N              Y
    25    3/25/2006                 Seattle                  WA        6           N              N
    26     6/1/2006              Indianapolis                 IN       7           Y              Y
    27   12/16/2006               Kansas City                 KS       6           N              N
    28    4/16/2007               Blacksburg                 VA       32           N              Y
    29    10/7/2007                Crandon                    WI       6           Y              Y
    30    12/5/2007                 Omaha                    NE        8           Y              Y
    31   12/24/2007                Carnation                 WA        6           N              U
    32     2/7/2008               Kirkwood                   MO        6           N              Y
    33     9/2/2008                 Alger                    WA        6           N              U
    34   12/24/2008                 Covina                   CA        8           N              Y
    35    1/27/2009              Los Angeles                 CA        6           N              N
    36    3/10/2009       Kinston, Samson, and Geneva        AL       10           Y              Y
    37    3/29/2009                Carthage                  NC        8           N              N
    38     4/3/2009              Binghamton                  NY       13           N              Y

                                                        C1
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 66
                                    of 396




              Date           City               State   Deaths   Involved AWs   Involved LCMs
    39    11/5/2009       Fort Hood             TX       13           N              Y
    40    1/19/2010      Appomattox             VA        8           Y              Y
    41     8/3/2010      Manchester              CT       8           N              Y
    42     1/8/2011        Tucson               AZ        6           N              Y
    43     7/7/2011     Grand Rapids             MI       7           N              Y
    44     8/7/2011    Copley Township          OH        7           N              N
    45   10/12/2011       Seal Beach            CA        8           N              N
    46   12/25/2011       Grapevine             TX        6           N              N
    47     4/2/2012        Oakland              CA        7           N              N
    48    7/20/2012        Aurora               CO       12           Y              Y
    49     8/5/2012       Oak Creek              WI       6           N              Y
    50    9/27/2012      Minneapolis            MN        6           N              Y
    51   12/14/2012       Newtown                CT      27           Y              Y
    52   7/26//2013        Hialeah               FL       6           N              Y
    53    9/16/2013      Washington             DC       12           N              N
    54     7/9/2014         Spring              TX        6           N              Y
    55    9/18/2014          Bell                FL       7           N              U
    56    2/26/2015        Tyrone               MO        7           N              U
    57    5/17/2015         Waco                TX        9           N              Y
    58    6/17/2015       Charleston             SC       9           N              Y
    59     8/8/2015        Houston              TX        8           N              U
    60    10/1/2015       Roseburg              OR        9           N              Y
    61    12/2/2015     San Bernardino          CA       14           Y              Y
    62    2/21/2016       Kalamazoo              MI       6           N              Y
    63    4/22/2016        Piketon              OH        8           N              U
    64    6/12/2016        Orlando               FL      49           Y              Y
    65    5/27/2017      Brookhaven             MS        8           Y              Y
    66    9/10/2017         Plano               TX        8           Y              Y
    67    10/1/2017       Las Vegas             NV       60           Y              Y
    68    11/5/2017   Sutherland Springs        TX       25           Y              Y
    69    2/14/2018        Parkland              FL      17           Y              Y
    70    5/18/2018        Santa Fe             TX       10           N              N
    71   10/27/2018       Pittsburgh             PA      11           Y              Y
    72    11/7/2018     Thousand Oaks           CA       12           N              Y
    73    5/31/2019     Virginia Beach          VA       12           N              Y
    74     8/3/2019        El Paso              TX       23           Y              Y
    75     8/4/2019        Dayton               OH        9           Y              Y
    76    8/31/2019   Midland and Odessa        TX        7           Y              Y
    77    3/15/2020        Moncure              NC        6           U              U
    78     6/4/2020   Valhermoso Springs        AL        7           Y              Y
    79     9/7/2020        Aguanga              CA        7           U              U

                                           C2
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 67
                                    of 396




                 Date                    City                    State    Deaths    Involved AWs       Involved LCMs
    80       2/2/2021                 Muskogee                    OK         6             N                  U
    81     3/16/2021            Acworth and Atlanta               GA         8             N                  Y
    82     3/22/2021                   Boulder                    CO        10             Y                  Y
    83       4/7/2021                 Rock Hill                   SC         6             Y                  Y
    84     4/15/2021                 Indianapolis                 IN         8             Y                  Y
    85       5/9/2021             Colorado Springs                CO         6             N                  Y
    86     5/26/2021                   San Jose                   CA         9             N                  Y
    87     1/23/2022                 Milwaukee                    WI         6             N                  U
    88       4/3/2022                Sacramento                   CA         6             N                  Y
    89     5/14/2022                   Buffalo                    NY        10             Y                  Y
    90     5/24/2022                   Uvalde                     TX        21             Y                  Y
    91       7/4/2022               Highland Park                  IL        7             Y                  Y
    92    10/27/2022                Broken Arrow                  OK         7             N                  U
    93    11/22/2022                 Chesapeake                   VA         6             N                  U


   Note: High-fatality mass shootings are mass shootings resulting in 6 or more fatalities, not including the
   perpetrator(s), regardless of location or motive. For purposes of this Exhibit, a high-fatality mass shooting was
   coded as involving an assault weapon if at least one of the firearms discharged was defined as an assault weapon in
   (1) the 1994 federal Assault Weapons Ban or (2) the statutes of the state where the shooting occurred. For purposes
   of this Exhibit, a high-fatality mass shooting was coded as involving a large-capacity magazine if at least one of the
   firearms discharged had an ammunition-feeding device with a capacity of more than 10 bullets. Incidents in gray
   shade are those incidents that occurred at a time when and in a state where legal prohibitions on both assault
   weapons and large-capacity magazines were in effect statewide or nationwide.

   Sources: Louis Klarevas, Rampage Nation: Securing America from Mass Shootings (2016); Louis Klarevas, et al.,
   The Effect of Large-Capacity Magazine Bans on High-Fatality Mass Shootings, 109 American Journal of Public
   Health 1754 (2019), available at https://ajph.aphapublications.org/doi/full/10.2105/AJPH.2019.305311 (last
   accessed December 27, 2022); and “Gun Violence Archive,” available at https://www.gunviolencearchive.org (last
   accessed January 3, 2023). The Gun Violence Archive was only consulted for identifying high-fatality mass
   shootings that occurred since January 1, 2018.




                                                            C3
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 68
                                    of 396




                     EXHIBIT D
       Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 69

 1ASSAULT
                                           of 396




: WEAPONS
I AND
1
  ACCESSORIES
  IN
  AMERICA
I
I
I Firearms Policy Project
I ViolenceofPolicy
             the
                   Center


.I
      1834 18th Street, NW
     Washington, D.C. 20009
        (202) 265-1920
 I
 I
 I
 I
        Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 70

I
                                            of 396




I                  Assault Weapons and Accessories in America


I
I                                          Josh Sugarmann
                                        Executive Director
                                      Violence Policy Center




    I




I
I                                          September 1988

                      This study was funded in part by a grant from the
                           Educational Fund to End Handgun Violence.

I                                         Copyright 1988
                                      Violence Policy Center

I

I
    Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 71
                                        of 396



I

I                                   TABLE OF CONTENTS




I         Introduction                                                    p.    1

          Assault Weapons Violence                                        p.    2

          Drug Traffickers, Paramilitary Groups •••                       p.    5

          And Just Plain Folk                                             p.    8

          Assault Weapons Marketing                                       p.    9

          Assault Weapon Look-Alikes:     Airguns and Toy Guns .          p. 10


I
           Publications                                                   p. 1 1
          Accessories                                                     p. 14


I          Paramilitary Training camps and Combat Schools
          The Assault Weapons Debate
                                                                          p. 19
                                                                          p. 21
           Conclusion                                                     p.   26

           Appendix I                                                     p. 30
           Appendix II                                                    p. 32
           Footnotes                                                      p. 34




I
    Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 72

I
                                        of 396



I
I
            INTRODUCTION


                  Across Altlerica, the firepower in the hands of gun owners
            of varying stripes is increasing dramatically. The reason:
            assault weapons. Drug traffickers are finding that assault
            weapons--in addition to 'standard issue' handguns--provide the
            extra firepower necessary to fight police and competing dealers.
            Right-wing paramilitary extremists, in their ongoing battle

I
            against the "Zionist Occupational Government," have made these
            easily purchased fire arms their gun of choice. And rank and
            file gun aficionados--jaded with handguns, shotguns, and hunting
            rifles--are moving up to the television glamour and movie sex

I           appeal of assault weapons. The growing market for these
            weapons--coupled with a general rising interest in the non­
            sporting use of firearms--has generated an industry of

I
            publications, catalogs, accessories, training camps, and combat
            schools dedicated to meeting its needs.

                  Assault weapons are growing in popularity for a variety of
            reasons. For manufacturers, assault weapons are a necessary new
            product line in the wake of the mid-1980s decline in handgun
            sales. Yet, manufacturers didn't create a market, they
            recognized one. For criminals, the weapons look intimidating,
            have increased firepower, and can be purchased under the same
            controls as a hunting rifle or shotgun: that is, virtually none.
            For survivalists who envision themselves fending off a horde of
            desperate neighbors from their bomb shelters, the high
            ammunition capacity and other anti-personnel capabilities of
            assault weapons are exactly what is needed. And for fans of
            Rambo and "Miami Vice," assault weapons offer the look and feel
            of the real thing. Not surprisingly, this shift to increased
            firepower--in both criminal and law-abiding hands--has law
            enforcement worried.
                  The assault weapons threat is exacerbated by the fact that
            the weapons are difficult to define in legal terms. Legislators
            and members of the press have proposed placing increased
            restrictions on all semi-auto firearms, which would include some

I
            hunting rifles. Whether these proposals are merely the result of
            ignorance of the wide variety of firearms that are semi­
            automatic, or misguided efforts in the face of.definitional
            problems, they only lend credence to the gun lobby's argument
            that restrictions on assault weapons are merely the first step
            toward banning all semi-automatic guns.


I
I
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 73
                                    of 396




         Assault firearms are semi-automatic (firing one bullet per
                                                                                   I
   trigger pull) and fully automatic (the weapon will keep on firing
   as long as the trigger is depressed) anti-personnel rifles,
   shotguns, and handguns that are designed primarily for military
                                                                                   I
                                                                                   I
   and law enforcement use. With muzzle velocities that are often
   greater than standard long guns, and high-capacity ammunition
   magazines, assault weapons are built to kill large numbers of
   human beings quickly and efficiently. In tests at their firing
   range, San Jose, California police found that a fully automatic
   UZI could fire its JO-round magazine in slightly less than two
   seconds. A semi-automatic version of the weapon required only
   five seconds for the magazine to be emptied.1 Most assault
   weapons have no legitimate hunting or sporting use. Assault
   rifles and shotguns often have pistol grips and folding stocks,
   and are typically lighter and more concealable than standard long
   guns. Some assault pistols have threaded barrels for the easy
   attachment of silencers. Many assault weapons are merely semi­
   automatic versions of military machine guns, making them easier
   to convert to fully automatic machine guns.
         The number of assault weapons in civilian hands--both
   criminal and law abiding--is estimated to be in the hundreds of
   thousands, perhaps millions.2 No exact figures are available.
   An unknown number of these weapons have been illegally converted
   to full-auto. (For an explanation of the different categories
   and types of firearms, please see Appendix I.)

   ASSAULT WEAPONS VIOLENCE

   o      October 1984. San Jose, California police officer Joe
          Tamarett is shot and wounded with an UZI carbine.3
   o      January 1988. Virginia resident Michael Anthony
          Eberhardt is arrested in Washington, o.c., for allegedly
          purchasing 72 guns in Virginia during an 18-month period
          and then smuggling them into D. c. for sale to drug
          dealers. According to The Washington Post, "Many of the
          weapons were the semi-automatic TEC-9s favored by local
          drug dealers. 11 4
    o     April 1986. Two FBI agents are killed with a Ruger
          Mini-14 in a shootout in Miami, Florida.5
    o     April 1984. Dennis Cresta, dressed in camouflage
          fatigues and carrying a Ruger Mini-14 and Colt AR-15,
          opens fire in Oakland, California, after being questioned
          by a policeman. No one is hit. 6
    o     July 1987. An elderly woman and her three sons kill
          three police officers who come to their motel room in
          Inkster, Michigan, to serve a warrant for a $286. 40 bad
          check. one of the weapons used to slay the officers is a
          Heckler & Koch assault rifle.7


                                        2
    Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 74

I                                       of 396



I
I           0     September 1988. Samuel Eloud holds 11 people hostage in a
                  Richmond, Virginia shopping center with a semi-automatic
                  AK-47 and handgun in order to bring "peace to Lebanon. 11 8

I           0     June 1984. Denver, Colorado radio show personality Alan
                  Berg is gunned down with a silenced MAC-10 by right-wing
                  extremists.9
            o     July 1984. · James Huberty goes "hunting for humans" with
                  an UZI, a handgun, and a shotgun in a San Ysidro,
                  California McDonald's. Twenty-one die; 19 are injured. 10
            0     December 1985. Portland, Connecticut eighth-grader Floyd

I
                  Warmsley kills school janitor David Bengston with his
                  father's TEC-9, then holds a classroom of children
                  hostage.11


I           0      July 1988. Manassas, Virginia, police officer John
                   conner is gunned down with a Colt AR-15 by a man whose
                   wife had recently left him.12
            o      April 1987. William B. Cruse opens fire with a Ruger
                   Mini-14 outside a Palm Bay, Florida shopping center,
                   killing six and injuring 10 .13
            o      March 1988. An arsenal that includes a Chinese-made
                   semi-automatic AK-47, a hand grenade, 14 other semi­
                   automatic guns, 32-round ammunition magazines, and a
                   handgun outfitted with a laser sight is seized from five
                   men in New York City's Port Authority bus termina1.14
            o      February 1988. At a press conference decrying the
                   increase in assault weaponry, Prince Georges county
                   (Maryland} Police Chief Michael J. Flaherty states, "The
                   real issue is the safety of our officers." Holding up a
                   TEC-9, he adds,"It's not used for hunting, and it's not
                   used for sporting events. In m\T_ opinion, they should not
                   be sold in the United States. 11 1:i
I                 These events are not isolated incidents. Although no
            comprehensive, nationwide statistics are available on the misuse

I           of assault weapons specifically, police organizations, police
            departments, government agencies, and handgun restriction
            organizations agree that the sale and misuse of assault weapons
            has escalated dramatically during the 1980s. (Most law
            enforcement reporting systems are set up only to separate
            handguns from long guns. The federal Bureau of Alcohol, Tobacco
            and Firearms (ATF) , the government agency charged with enforcing

I           federal firearms laws, will soon begin breaking out assault
            weapons from standard long guns.16}
                   "There has been an increase in [assault] weapons by all
            walks of life--gang members, drug dealers, your next door
            neighbor, even police officers," states Detective Bohannon of the

I                                               3
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 75
                                    of 396




                                                                                   -I
  Los Angeles Police Department Gun Detail. In Los Angeles,
  assault weapons have turned up increasingly in gang violence and
  drive-by shootings. Says Bohannon, "These are not sporting
  weapons. They're designed for.one purpose and · one purpose only,
  and that's to kill people." (Bohannon stresses that his opinions
  are personal and do not reflect the view of the Los Angeles
  Police Department.) According to Bohannon, essentially the same
                                                                                    I
                                                                                    I
  models of weapons are being �een on the streets by police: "Your
  least expensive weapons are your MACs and TECs. In the middle
  you've got your AK-47s and your UZI. At the top level are going
  to be your AR-15s•••• [ and others) • "17
        During fiscal year 1987, almost a third of the firearms
  seized by agents of the Drug Enforcement Agency (DEA)--the
  leading federal agency charged with enforcing America's federal
  drug laws--from drug traffickers were semi-automatic and fully
  automatic. (These figures include non-assault semi-automatic
  pistols. Figures on solely assault rifles and pistols are not
  available.) Sixteen percent were fully automatic. On a daily
  basis, DEA agents seized automatic weapons that included M-16s,
   AK-47s, MAC-l0s, MAC-lls, and UZis.18

         From January 1 to February 10, 1988, of the 388 guns
   seized by District of Columbia police, the vast majority were
   either semi-automatic or fully-automatic. Only seven such
   weapons were seized during the first six months of 1987, six in
   1986, one in 1985, and two in 1984.19
         In neighboring Prince George's county, Maryland, from July
   1987 through February 1988, police seized 140 semi-automatic or
   automatic weapons, including a TEC-9 and several UZI submachine
   guns, some equipped with silensers.20
         In 1986, ATF seized 2,854 illegal machine guns. These
   weapons were either converted illegally or illegally possessed.
   In 1985, the number of illegal weapons seized was 2,042. In
   1984, 539.21
         The most popular assault weapons are the AK-47, AR-15A2,
   MAC-10, MAC-11, Ruger Mini-14, TEC-9 and UZI. (For a
   description and brief history of each weapon, as well as select
   advertising information, please see Appendix II.) Recognizing
   the strong market for high-capacity, concealable assault weapons
   that are painted black and look threatening, America's firearms
   industry continues to introdu·ce new models. Two of the latest
   are:
           o The Calico MlOOP pistol, manufactured by American
             Industries in Bakersfield, California. With its
             futuristic lines and black finish, this • 22 caliber
             weapon is the Darth Vader of handguns. Composed of a
             lightweight alloy frame, it has a "helical feed" 100-
             round capacity plastic magazine. A so-round
             magazine is also available. The weapon also comes in

                                       4
    Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 76

I                                       of 396



I
I
                       a carbine (a short-barreled, lightweight rifle)
                       version with a folding stock. Under the headline
                       "Durable, Accurate, Light, Versatile," an ad for the
                       gun shows an intimidating MlOOP pistol with an
I                      optional "Klear-Vue" magazine (a see-through magazine
                       that gives the shooter "complete visibility of
                       rounds remaining in the magazine") and laser sight.22

I                      The pistol version of the weapon is 17 inches long
                       with the 100-round magazine, and weighs 3.75 pounds.
                       The carbine version, with its stock retracted and the
I                      100-round magazine, is 29.8 inches long. In November
                       1988, Calico will introduce a 9mm version of the
                       weapon.23

I                  0   The Street Sweeper is a 12-gauge riot shotgun with a
                       revolving cylinder that rotates with each trigger

I
                       pull. Able to fire 12 rounds in less than three
                       seconds, the weapon is manufactured by SWD, Inc.
                       (manufacturers of the MAC-11). An ad for the weapon
                       reads, "It's a Jungle out There! There Is A Disease

I                      And We've Got the cure." It invites the reader to
                       "Make you (sic) streets safe and clean with the help
                       of 'The Street sweeper'!" With its folding stock

I
                       retracted, the weapon has an overall length of 25 5/8
                       inches.2 4 The SWD weapon is modeled on a shotgun
                       used by South African security personnel, the Striker
                       12. Efforts had been made to import the Striker, but
                       the weapon was the first long gun ever to fail the
                       sporting-use test that ATF applies to imported long
                       guns. (Domestically produced firearms do not have to
                       meet any sporting use standard.)

            DRUG TRAFFICKERS« PARAMILITARY GROUPS•••
                   Because of their ease of purchase, effectiveness,
            convertibility, and mystique, assault weapons have become
            increasingly popular among people involved in the drug trade. or
            as one DEA spokesman put it, "There's a machismo to car�ing the
            biggest, ugliest, and most powerful weapon available." 5
                  According to DEA Special Agent Maurice Hill, drug dealers
            in Miami began to switch over from revolvers to higher capacity
            pistols in the early 1970s. By the end of the decade, they had

I           begun using shoulder-carried weapons, and by the early 1980s had
            upgraded to weapons like the UZI. Since then, criminals
            nationwide have expanded into a broad category of assault

I
            weapons. Regarding assault weapons, Special Agent Maurice Hill
            says, "They're all over now. 11 26
                  Noting that drug traffickers "seem to like the AR-lSs, AK-
I           47s, TEC-9s," ATF spokesperson Tom Hill concurs: "We've seen a
            proliferation because of the drug trade; More and more people


I                                               5
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 77

                                                                                   I
                                    of 396




                                                                                   I
                                                                                   I
   want to have increased firepower and the status of having the
   semi-automatic assault type weapon . It looks dangerous . Most
   assault weapons used in criminal acts were initially purchased
   legally . Some are stolen , some come from over the counter
   through straw purchases , some are from people who fil l out the
   forms illegally . n 27                                                          I
                                                                                   I
         In 1987 , ATF traced weapons seized from two members of a
   Jamaican drug gang (known as "posses" ) in Tampa , Florida . The
   trace found that 149 weapons had been purchased over the counter
   from Tampa-area dealers . The maj ority of the weapons were
   TEC-9s , MACs , AR-lSs , and Glock 17 handguns , "all preferred
   weapons of the Jamaican posses . n 2 8 (The Glock 17 , the first
   handgun to incorporate plastic into its structural design , is not
                                                                                   I
   considered an assault weapon . ) As the result of this increased
   criminal firepower , pol ice departments are beginning to abandon
   their six-shot revolvers for higher-capacity semi-automati c
                                                                                   I
   handguns .
         Assault weapons have also become the weapon of choice for
   a different category of criminal : America ' s right-wing
   paramil itary extremists . In his book, Armed and Dangerous : The
   Rise of the Survival ist Right , author James Coates describes the
   scene outside the 2 2 4-acre compound of the paramil itary extremist
   organization , The Covenant , Sword and Arm of the Lord ( CSA} ,
   located in Three Brothers , Arkansas , prior to a raid by law
   enforcement officials in 19 8 5 : 2 9
         " [A] ll visitors were greeted by a group of roughly hal f a
   dozen obviously frightened and surly young men carrying Mini-1 4 s ,
   MAC-10s and other automatic and semi-automatic weapons .· Other
   armed CSA soldiers were clearly visible in a fifty-foot-tal l
   guard tower overlooking the front gate , from which they pointed
   machine guns at reporters . Noble [ a CSA member ] , wearing a Bowie
   knife strapped to one leg and cradl ing a converted AR- 15
   automatic ri fle in his arm , repeatedly came to the gate to spar
   verbally with the nervous news media . 11 3 0
          Until recently , pol ice had bel ieved that the CSA--after
   its members were subj ected to increased government prosecution ,
   its compound deserted , and its l eader , James Ell ison , imprisoned
                                                                                   I
   for crimes that included the manufacture of automatic weapons-­
   had disbanded . But in May of 1988 , CSA member Londel l Wil l i ams
   was charged with conspiring to assassinate presidential candidate
   Jesse Jackson . Pol ice recovered a converted AR-15 from
   Will iams . 3 1
           Other paramilitary organizations that favor assault
   weapons and have been known to convert them to fully automatic
   machine guns include the Posse Comi tatus , Aryan Nations , and The
   Order .
           Although many drug traffickers and members of paramilitary
 . organizations are convicted felons , they are often able to                     I
                                       6
    Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 78
                                        of 396



I
           illegally buy these weapons from reta il sales outlets . I n every
           state , assault rifles and shotguns are sold under the same lax
           restrictions that apply to hunting ri fles and shotguns . Assault
           pistols are sold under the same laws that apply to handguns ,
           which vary from locality to local ity .
                 Some states do require that the purchaser of any firearm
           first receive an owner ' s ID card or permit , wh ile other states
           have a waiting period for all f irearms . Yet most states '
           standards for the sale of long guns are no more severe than the
           federal law , which requires only that the purchaser be 18 years
           old and fill out a federal form 4 4 7 3 . on this form, the
           purchaser swears that he is not a convicted felon , drug addict
           or alcoholic , and that he does not have a history of mental
           illness . Most purchases are cash and carry , and long guns can be
           purchased interstate , with no limit on the number of weapons that
           can be purchased . 3 2

I                The federal standards for handguns are essentially
           identical to that of long guns , except that they cannot be sold
           interstate , the purchaser must be 2 1 years old , and multiple

I          purchases {more than one handgun purchased within five working
           days) must be reported to ATF .-:3 3


I
                   ( In 1 9 8 6 , Congress outlawed the future production of
           machine guns for civilian use . Currently , there is a pool of
           more than 187 , 000 machine guns that citi zens can legally
           purchase . 3 4 To obtain a machine gun , a citizen must be
           f ingerprinted , photographed , submit to a background check , wait
           f ive to six months , and a $ 2 0 0 transfer tax must be paid . These
           same standards must be met to possess silencers , sawed-off rifles

I
           and shotguns , and mil itary weaponry , such as hand grenades , land
           mines , grenade launchers , and other weapons and accessories
           restricted under the National Firearms Act of 19 3 4 . 35 )
                    The most restrictive handgun laws are on the state and
           local level , and assault pistols would be sold under these
           standards . Handgun laws in America range from Morton Grove ,
           I l l inois , which has banned the sale and private possession of
           handguns , to the state of Florida , which operates essentially
           under only the federal standards . 3 6

I                  Because many assault weapons--such as the AR-15A2 , MlOOP
            carbine , Ruger Mini-1 4 , Street Sweeper , and UZI carbine--can be
            purchased as standard long guns by virtually anyone who is

I           will ing to lie on the form, they are a boon to criminals .
            Assault pistols can be purchased easily by criminals in states
            with lax handgun laws such as Texas , Virginia , and Florida . From

I
            there , these weapons can then be sold to criminals in cities and
            states with more restrictive l aws .



I
I                                               7
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 79
                                    of 396




   1JID JUST PLAIN FOLK
         Al though much attention has been focused on drug
   traffickers and paramilitary extremists , many assault weapons are
   purchased by "just plain folk . " These people run the gamut from
   survivalists who want to be ready "j ust in case" to gun owners
   who want the thrill of owning the latest high-tech weapons .
         A 198 6 Defense Monitor on "Militarism in America , "
   published by the Center for Defense Information ( CDI) , in
   Washington , D . C . , notes an increasing "fascination for
   parami litary weapons and training" among the general public . 37
          Television shows such as "The A-Team, " first broadcast on
   ABC i n 19 8 3 , "Miami Vice , " first broadcast on NBC in 198 4 , and
   other action/adventure/police dramas have acted as a showcase for
   new weaponry . In effect , these shows supply free advertising for
   assault weapons manufacturers .
         The Center for Media and Public Affairs , based in
   Washington , o . c . , monitored 6 2 0 te levision programs throughout
   the past 3 0 years, revealing a noticeable shift toward military­
   style assault weapons . 3 8
          According to Daniel Amundson , research director for The
   Center , "There certainly is a greater number of automatic
   weaponry , " and this is "partly reflecting news from the front
   pages and partly reflecting artistic embellishment . " Noting that
   guns have been "ever present" in television, Amundson adds , "The
   presence hasn ' t changed , but which ones are present has . ' Miami
   Vice ' requires very sleek and modern weapons . This shows a
   refl ection of the headlines . If drug lords are using more UZis
   and MAC-lOs , you ' re going to see it in 'Miami Vice ' six to nine
   months 1 ater . 11
         According to Amundson , tel evision has a "tremendous
   potential to act as a marketplace for anything: weapons ,
   violence , soap , attitudes toward blacks and women . Television
   has helped the average person to identify weapons more than we ' d
   ever thought , expanded our knowledge , terminology , of the types
   of guns available . UZI, MAC-10 is no longer jargon for firearms
   specialists ; and that tel ls us a great deal . 11 3 9
          Meanwhile , i n movie theaters , the . 4 4 magnum handgun of
   Clint Eastwood pales in comparison to the weapons of Rambo and
   his ilk. Throughout the 1980s , Sylvester Stallone films such as
   the Rambo series and "Cobra , " Chuck Norris movies such as the
   "Missing in Action" series and " Invasion USA, " and Arnold
   Schwarzenegger movies such as " Terminator , " "Predator , " and
   " Commando" have helped populariz e paramilitary weapons and
   accessories .




                                        8
    Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 80
                                        of 396




I
           ASSAULT WEAPONS MARKETING
                 The marketing of assault weapons throughout this decade is

I
           in large part due to the slump in handgun sales that has
           afflicted the industry since 1982. Handgun production dropped
           from a high of 2 . 7 million that year to less than 1.7 million in
           1984--a decrease of nearly 40 percent. In 1986 , production
           increased to 1 . 9 million, a level still well below that of the
           early 1980s . 40 (Because handgun manufacturers will not release
           sales figures , and are not required to do so by law , production
           figures are the only available gauge of the market . ) With an
           estimated 35 to 40 million handguns in American hands , 41 the
           slump is apparently the result of saturation of the primary
           market--white males--and the increasing resale of used handguns .
                 In their marketing of assault weapons , manufacturers often
           focus on their police or military functions , their ruggedness and
           dependability , and the cache of a lone man and his gun against
           the elements , crime , or the unstated threat of post-nuclear
           survival .
                 Colt Industries has even developed an ad aimed directly at
           survivalists. The 1985 ad features a handsome rancher looking
           across his land . He has leather patches on the elbows of his
           flannel shirt and an AR-15A2 in one hand. The headline reads:
           "Survival means different things to different people. For a
           rancher in the high country of Wyoming , being self-sufficient can
           mean keeping varmints from his sheep . For a rugged individual in
           the wilderness , it means being prepared for any eventuality . For
           both these men , and thousands like them , there's only one gun .
           The Colt AR-15A2 . The reasons are as simple as they are
           plentiful. First , it's the rifle· they're already familiar with .
           The AR-15A2 Sporter II is the civilian version of the battle
           proven and recently improved U . S. military M-l6A1. • • 1142

I                This survivalist sales pitch is echoed in an ad for
           Heckler & Koch's HK 91 semi-automatic assault rifle . The ad's
           headline reads , "When you're determined to survive , you leave
           nothing to chance . In a survival situation , you want the most
           uncompromising weapons that money can buy . The HK 91 Semi­
           Automatic Assault Rifle from Heckler & Koch. " The ad ends with
           the tag line, "In a world of compromise , some men don't.1143
I                An ad for the FIE/Franchi LAW-12 shotgun--which comes in
I          standard hunting and assault configurations--urges the reader to
           "Take the ' LAW' Into Your Own Hands. Whether you patrol the
           birdlands when the sun is rising • . .or patrol the boonies when the
           sun sets • •.the FIE/Franchi LAW-12 is the LAW of the land! All
           the LAW you need ! Situation - The sun has set , it's now
           midnight , you're called to a Code 3 situation ! Your backup is

I
           deployed to another sector. You're all alone , left to handle a
           tough situation.• .What do you do? Take the LAW-12 into your
           hands - A possible 9 rounds of heavy hitting 12 guage [ sic) "OO"


I                                                9
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 81
                                    of 396




   Buck - All 9 rounds can be emptied on target in less than 3
   seconds • • . operation successful • • • 11 4 4

  ASSAULT WEAPON LOOK-ALIJCES : AIRGUNS AND TOY GUNS

         Paramilitary enthusiasm has not been l imited to the
  firearms market . America ' s manufacturers of non-powder firearms
  ( such as BB guns and pellet guns ) and toy guns have been quick to
  realize that assault weaponry is in . These manufacturers ' role
  models are no longer hunting rifles and Western-style six­
  shooters , but machine guns and large-cal iber handguns . This
  shi ft has been accompanied by a keener eye to detail and advances
  in plastic molding . The result : non-powder firearms and toy
  guns that are virtually indistinguishable from their more lethal
  counterparts .
          Daisy Manufacturing was one of the first to recognize this
   potential market . The company introduced its paramil itary l ine
   of imported Softair guns in 19 86 . Softair guns are working
   repl icas , down to the point of expel l ing spent shells and firing
   plastic pellets . They retail for approximately $60 . "So
   accurate in detail you ' l l swear it ' s the real thing ! • • . a 'mus_t
   have ' for paramil itary enthusiasts of all ages , " reads the
   catalog description for a repl ica of the UZI Assault pistol .
   Copy for a repl ica of the KG9-SP (predecessor of the TEC-9 )
   boasts that it ' s "an authentic reproduction of the American­
   made semiautomatic defense weapon used by anticommunist
   guerril las in Angola . " A repl ica of a Heckler & Koch weapon is
   described as being "without a doubt the most exciting
   paramilitary a irgun on the market today ! styled after the
   semiautomatic firearm carried by the German pol ice and made
   famous in the motion picture , 'Rambo : First Bloo d4 Part II , ' the
   Model 15 has the look and feel of the real thing . " 5
         Rival manufacturer Crosman has its own UZI look-al ike
   (which fires metal proj ectiles ) and a reproduction of Colt ' s M-1 6
   machine gun dubbed the A . I . R . 17 . Crosman guarantees that " it
   looks j ust l ike the real thing , " down to a detachable pellet clip
   and flash guard on the muzz le of the gun . 46
             Lare International , located in Longwood , Florida , offers-­
   by mail--the Ml9-A BB submachine gun . " Imagine--a 3 , 000 BB per
   minute cycle rate with an effective range of over so yards-­
   That ' s some AWESOME Fire Power ! ! ! " With a magaz ine capacity o f
   3 , 0 0 0 BBs , the weapon also comes in a pistol version . Each sells
   for $ 3 9 . On the ordering coupon.., the purchaser must promise that
   he or she is 18 years or older . 4 1
         The Para-Ordnance M-85 is a full-auto paint ball "splat
   gun" MAC-11 machine pistol replica that fires 1 , 200 rounds per
   minute at 4 4 0 feet per second . The 2 4 -round maga z ine can be
   emptied in 1 . 2 seconds . It sells for $ 2 9 9 . so . 4"8


                                          10
    Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 82

I                                       of 396




I
                 Far more common than paramil itary non-powder firearms are
           plastic-molded toy assault weapons . In addition to such staples
           as M-16s , AK-47s , UZis , and KG-9 s , Daisy , the self-proclaimed
           leader in the fiel d , offers toy silenced MAC-10 pistols (the Alan

I          Berg murder weapon) and bolt action machine guns . 49
                  The International Association of Chiefs of Pol ice ( IACP) ,
           located in Gaithersburg , Maryland views l ook-al ikes as a unique
           threat to public safety . As criminal misuse of assault weapons
           increases , pol ice are more l ikely to assume that look-al ikes are
           in fact real firearms . People who thoughtlessly display or
I          brandish look-al ikes run the risk of finding themselves in a
           deadly face-off with a pol ice officer who must make a spl it­
           second decision on whether to draw a weapon and fire . According
           to the IACP , incidents involving a irguns , highly detai l ed toy
           guns , and paint " splat guns" are increasing dramatically . S O
                 In May 1 9 8 8 , as an amendment to a bill deal ing with the
           threat posed by non-detectable "pl astic " firearms , Congress voted
           to require that every look-alike sold in America be clearly
           marked with an orange stripe or other color to distinguish it
           from its real counterpart . The bill is awaiting presidential
           signature , which is expected . On the state and local level , laws
           have been introduced and enacted regarding the sale, production ,
           and brandishing of look-al ikes .
                  But even prior to the b ill , various companies , reacting to
           the growing debate over l ook-alikes and the increas ing negative
           publ icity their sales generated , began to shift their product
           l ines and mark their products to help distinguish them from real
           firearms . In late 1 9 8 7 , Da isy stopped the sale of its SoftAir
           guns , which had been imported from Japan . A spokesman for the
           company noted , however , that the decision was " 9 0 percent
           financial . The guns j ust weren ' t sell ing . 11 51
                  Critics of the marking concept point out that the
           markings can be eas ily painted over and will do little good in
           the dark, while criminals can pa int similar markings on real

I
           guns .
                   What makes l ook-al ikes so appealing--that they look just
           like the increas ingly popular assault weapons--is precisely what
I          makes them so dangerous .



I
           PUBLI CATIONS

                 The growing fascination with assault weapons has been

I
           accompanied by a growth in the number of publ ications dedicated
           to the non-sporting use of f i rearms .
                 Firepower , published by Everett Moore out of Cornville ,
           Arizona , is the only magaz ine in America _d edicated to full -auto
           and high-capacity firearms and has a circulat ion of 90-9 5 , 000 .


                                                11
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 83
                                    of 396




   (Prior to the 198 6 machine gun ban , the magazine had been devoted
   exclusively to full-auto . ) Each issue of the magazine is filled
   with weapon , ammunition , and accessory reviews . Virtually all of
   the weapons reviewed are assault weapons .
         According to Moore , "We j okingly ref er to them as black
   and wicked-looking types of guns . They fill a need in the
   consumer market for people • • •who cannot afford the automatic
   version of the same weapon . " Moore acknowledges that violence
   involving these weapons is "a legitimate concern . It ' s reality
   and you can ' t deny that . " He adds , though , that , "it seems like
   any time we go to disarm the criminal , we end up disarming the
   legitimate , honest civilian . 11 � 2
         American survival Guide is "the magazine for safer
   living . " Published by McMullen Publishing in Anaheim ,
   California , articles are listed under headings that include
   "Survival Weapons , " "Survival Gear, " and "Survival How To . 115 3 It
   also contains the "Survivalist Directory , " a post-apocalypse
   personals column that offers a "confidential listing of
   survivalists who wish to become known to others of like mind . "
   Personal ads i n the August issue include :
          o    "Melbourne , Florida . Teenage military organi zation
               that does U . F . O . research would like to recruit
               members . Also would like to set-up_ ( sic]
               information exchange and meet others in this area for
               training. All races and sexes are welcome . Ages 1 2
               and over only . No racists or religious fanatics need
               apply . "
          o    "Northern Arkansas . Young, conservative male seeks · .
               correspondence with other survivalists in area.
               Special interest is nuclear survival . No liberals ,
               atheists , druggies or alcoholics . Females welcome .
               All ages reply . "
          o    "Baltimore , Maryland . Urban group which meets
               biweekly is looking for interested local survivalists
               wishing to exchange information . We are not Rambos ,
               racists , or extremists , but family-oriented and -
               interested i n workable , realistic solutions to short
               and long term survival scenarios . n 5 4
          Published since 1979., Survival Guide has a circulation of
    between 3 0 , 000 and 1 0 , 00 0 . :>S
             In addition to his mainstay , the monthly Combat Handguns ,
    New York-based Stanley Harris also publishes such annuals as Guns
    & survival and Special Weapons . Another Harris publication ,
    Eagle , which had promised its readers "violent combat action , "
    has ceased publication . An October 1 9 8 3 issue of the magazine
    featured an article entitled , "The Amazing Soft Drink Silencer --
     I ' m a Pepper , You ' re a Dead Man . " The article outlined the ease


                                         12
    Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 84

I
                                        of 396



I
I
             with which a two-liter plastic soft-drink container could be used
             as a silencer for a MAC-10. Eagle found it to be "the best
             suppressor found in today ' s supermarkets. It ' s cheap5 effective,
             and mixes well at parties. What more could you want?" 6
I                    The Special Weapons annual offers "The Newest Ideas in
             Guns and Equipment as Well as Combat-Proven Tactics . 11 57

I
             Articles in Special Weapons include: "Colt Delta HBAR--Boasting
             sniper rifle accuracy we compare this new Colt to the combat­
             proven Galil" ; "The Search for Compact Firepower--We compare
             submachine guns to short assault rifles" ; "The Offensive Handgun­
I            -It ' s the tool of the assassin" ; "How to Buy Automatic Weapons-­
             Latest prices and availability of Class III firearms" ; and the
             "Assault Rifle Buyer ' s Guide. n 5 8

I                     "The Offensive Handgun" is a how-to piece on
             assassination . The article advises that "single shots are
             preferred . The head, neck, and spine are the best targets . 11 59
I            Recognizing that sometimes "an unsuppressed pistol may be the
             only one available," the article advises that, "the sound can be
             muffled by shooting through • • • a potato or pillow. If the muzzle

I            is held against the target this also may muffle the sound, but it
             can also cause him to react in unexpected ways, besides
             presenting the possibility of the pistol j amming from bits of
             clothing or flesh caught in the muzzle or chambers. 11 60 The
I            article notes that the speed and capacity of a modern machine
             pistol are "important when shooting a number of people at
             once . 11 61

I                        Soldier of Fortune, published out of Boulder, Colorado,
             describes itself as "The Journal of Professional Adventurers. "
             In a disclaimer on its title page (a trait many of these
             magazines share) , it warns readers that the magazine "does not
             verify validity of every advertisement and/or the legality of
             every product contained herein . Soldier of Fortune magazine does
             not intend for any product or service to be used in any illegal
             manner. 11 62 The magazine has been published since 1975 by
             National Rifle Association board member Robert K. Brown.
                   In addition to various "you are there" articles such as
             "Sandinista Staredown" and "Bum Trip in Bolivia, 11 63 the magazine
             contains weapon reviews and combat tactics. Soldier of Fortune
             had also carried classified ads for mercenaries for hire. This
             practice has since been discontinued as the result of a lawsuit
             filed by the family of a victim whose murderer was hired as the

I            result of an ad placed in the September 1984 issue of the
             magazine. The ad read : "Ex-marines . 67-69 Nam Vets. Ex-DI,
             weapons specialist--j ungle warfare . Pilot. ME. High risk

I
             assignments. US or overseas. "
                    In 1984 Robert Black hired John Wayne Hearn to kill his
             wife . Hearn did so in February 1985 . It had been Hearn ' s third

I            murder in 19 days . As the result of this, the victim' s parents
             and son sued Soldier of Fortune for $21 million, arguing that the


I                                                13
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 85
                                    of 396




 maga zine was aware of the implication contained in the ad . 6 4 In

                                                                                   -1
 March 1 9 88 , a Col orado jury found that the magaz ine shou ld have
 known that the ad was offering the services of a hired killer and
 ordered it to pay $ 9 . 4 mill ion . The decision is currently being
 appealed . 6 5 (Soldier of Fortune re fused to answer any questions
 for this report , includ ing circul ation and initial date of -
 publ ication , on advice of their lega l counsel pending outcome of
 the suit . )
                                                                                    I
         New Breed , "the magazine for mil itary adventure , n 66 is
  publ ished by Harry S . Bel il , out o f Nanuet , New York . Though the
  magazine focuses more on mil itary action , it does contain
  articles on assault weaponry and tactics . The August 1 9 8 8 issue
  also contains a review of the 1 9 8 8 SHOT ( Shooting , Hunting ,
  Outdoor Trade ) show , the annual trade show of the firearms
  industry , held last January . In the piece , the author notes that
  "there were pl enty of assault ri fles at the show . 11 67
         Shotgun News describes itsel f as "The Trading Post for
  anything that shoots . " Published three times a month out o f
  Hast ings , Nebraska , the 2 0 0-page , tablo id-style maga zine h a s a
  circul ation of nearly 19 0 , ooo . 6 8 The maga zine is crammed with
  classi fied and di spl ay ads for firearms and accessories , most o f
  which are geared t o firearms dealers .
           In addition to a cava lcade o f gun ads , Shotgun News
  carries ads for a variety of accessories ( including Na z i
  memorab il ia such as coffee mugs with swastikas 6 9 ) , firearms , and
  publ ications , including The Turner Diaries , the "bible of right­
  wing extremists . " . In the book , "Earl Turner and his fel l ow
  patriots • • . are forced underground when the U . s . government bans
  the private possession of firearms and stages the mass Gun Ra ids
  to round up suspected gun owners . An all -out race war occurs as ·
  the struggle esca lates . Turner and his comrades suffer terribly ,
  but the ir ingenuity and boldness in devis ing and executing new
  methods of guerrilla warfare lead to a victory of cataclysmic .
  intensity and worldwide scope . I f the government had the power
  to ban books , The Turner Diaries would be at the top of their
  l i st . Order your copy today . " The $ 5 . 9 5 book is offered by the
  nee-Naz i National Vanguard l ocated in Arlington , Virginia . 7 0

  ACCESSORIES

          Not only do these publ ications supply information , but
  they also contain advertisements for various catal ogs and
  products . The survival systems book catalog describes itsel f as
  o ffering "the most unusual and controversial books you ' ve ever
  seen in your life . n 7 1 I n a disclaimer , the company notes ,
  "Certa in of the books in this catalog deal with activities and
  items which could be in violation of various laws if actual ly
  performed or constructed . We do not advocate the breaking o f any
  l aw . Our books are sold for entertainment purposes only and only
  to adults ! 11 72



                                         14
    Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 86
                                        of 396




                 With a tol l-free number for credit-card orders , the
           catalog contains books on revenge , fraud , dirty tricks , firearms
           convers ion , home construction of f ireanns and explosives , and
           murder techniques .
I                Books offered by Surviva l Systems include :
                 o    How to Bu i ld S i lencers : An Il lustrated Manual . "A
                      complete manual for the construction of silencers at
                      home with simp_le tool s . Build in less than one
                      hour . $ 5 . 9 5 . ,i7 3
                 0    Improvised Weapons of the American Underground .
                      "This book makes other ' cookbooks ' things for Sunday
                      School picnics . This coll ection of original articles
                      covers : Making of Nitroglycerin ; Plastic Explosives ;
                      Detonators and Primers ; Fuses ; Impact Ignition

I
                      Incendiary Devices ; and Construction of Various Types
                      of Si lencers ; and Compl ete Plans for a Home Made
                      Machine Gun which can be built for less than $ 2 0 . 0 0 .
                      An absolutely incred ible manual . $7 . 50 . " 7 4
I                0    Ful l Auto . "A completely illustrated modi fication
                      manual on selective fire convers ions for the
                      fol lowing weapons : Mini-14 ; AR-15 ; HK-91-9 3 ; MAC 10-
                      11 ; and the Ml Carbine . With this new edition , you
                      can convert all f ive weapons into their full­
                      automatic configurations with ease , as all
                      procedures are thoroughly explained in an easily
                      understood , ful ly i l lustrated , step-by-step manner .·
                      Without a doubt , this is the finest conversion manual
                      on the market . $ 1 2 . oo . n 7 5
                  Robert K. Brown ' s Pa ladin Press offers a 47-page , gl ossy
           catalog that includes sections on sniping , revenge and humor ,
           surv ival , weapons , explos ives and demolitions , guerrilla warfare ,
           silencers , new ID and personal freedom , locksmithing , . and
           terrorism . In an essay entitled "New Age Survival , " readers are
           reassured that "We don ' t want to alarm you into heading for the
           hills today--but will help you become prepared to do so
           tomorrow . ,i7 6

I                Books offered in the catal og include :
                  o   Anarch ist Handbook . "For the modern anarchist , a l l
                      you need to know t o construct an impressive
                      sel ect ion of improv ised weapons , " including "an
                      expedient silencer ; a p ipe hand grenade : plastic
                      explos ive ; and a rocket launcher . For each weapon ,
                      the author suppl ies a l ist of materials easily
                      acquired from drug or hardware stores , hobby shops ,
                      supermarkets or even j unk piles ; step-by-step
                      procedures ; s imple diagrams and how-to-use
                      instruction for certa in weapons . $1 . 00 . 11 77


                                                15
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 87
                                    of 396




            o    The Mini-14 Exotic Weapons System . "Convert your
                 Mini into a full - auto , silenced , SWAT-type weapon
                 that is capable of f ield cl earing firepower . Note
                 that th is convers ion process requires no machin ing or
                 spec ial tool s . Once completed it takes j ust five
                 minutes to drop in the Automatic Connector ( the
                 book ' s secret ! ) or remove it as needed . It ' s that
                 s imple ! $ 15 . 0 0 11 7 8
            o    Improvised Explosives--How to Make Your Own . "Ten
                 s imple but powerful formulas for explosives and
                 incendiaries" that g ives the reader the abil ity "to
                 construct actual bomb s , booby traps and mines .
                 Learn how to obta in or make all the necessary .
                 chemicals or get acceptable substitutes . Various
                 fuses , detonators , and chemical and electrical
                 t ime rs are covered , as are pipe bombs , plastic bott l e
                 bombs , j erry can bombs and tamperproof bombs . With
                 ease , you can construct such devices as a package
                 bomb , booby-trapped door , auto trap , sound­
                 detonated bomb..., or pres sure mine--to name just a
                 few . $10 . 0 0 11 ? ::,
            o    How to Kill (volumes one through six) • 11 [M] akes no
                 mora l judgments , but merely describes what has been
                 known for years by the profess ionals who are part of
                 the shadowy world o f internat ional espionage and
                 intrigue . As the author states in his preface , ' My
                 only premise is that there are times when one must
                 attack with complete ruthlessness and fight with
                 lethal fury . This fury and ruthlessness must be
                 harnessed and directed to the gravest possible
                 damage--to k i l l . ' 11 Priced at $ 8 per volume , the
                 cata log notes that no book in the How to Kill series
                 is ava ilab le in Canada due to legislation by the
                 Canadian sol icitor general . 8 O

             In addition to operat ing a 2 4 -hour-a-day, toll-free order
     l in e and offering a "no questions asked" money-back guarantee ,
     Paladin Press also offers g i ft certificates , which "make
     excell ent gifts for you to send to friends and relatives . 11 8 1
              Firepower ' s Everett Moore a l so runs a mail-order
     publ ications house . Moore ' s Desert Publ ications offers many o f
     the s ame publ ications a s h i s compet itors under headings that
     inc lude : weapons and firearms , speciali zed warfare , pol ice
     s c i ence , survival , sel f-defense , full -auto , suppressors , and
     improv ised mun itions . 8 2 Moore , who sells between 2 , 0 00 and 5 , 0 0 0
     copies o f spec i f ic titles a year , re fers to the publ ications a s
     " b i g boy toys , " adding , " I haven ' t known a man yet who didn ' t
     l ike [ to know how ] to pick a l ock . 11 8 3




                                              16
    Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 88

I
                                        of 396




I               The catalog of Phoenix Systems , Inc . , located in
I         Evergreen , Colorado , offers its buyers "The Right Stuf f , " which
          includes :


I
                 0   U . s . Mil itary Practice Grenades "with ALL the
                     mechanical parts IN THE FUSE ASSEMBLY ! ! ! -- NO
                     EXPLOSIVES . 11 The ad warns that "ACTIVATION OF THESE
                     DEVICES REQUIRES PRIOR BATF APPROVAL. $ 19 . 95
                     each . 11 8 4
                 0   Booby Trap Firing Device ( M- 1 ) , "Standard U . S .

I                    Mil itary PRESSURE RELEASE firing device used to
                     initiate detonation of explos ive charges in BOOBY
                     TRAP appl ications or remote firing of Claymore mines .

I
                     EXCELLENT training device because it is RELOADABLE
                     with new primer caps (when not coupled DIRECTLY TO AN
                     EXPLOSIVE CHARGE) . Hundreds of applications :. _ can
                     be screwed directly into an explosive charge for
                     instantaneous detonat ion or coupled to detonator
                     cord for remote firing . $ 14 . 9 5 each . n 8 5


I
                 0   The Ball istic Knife--The Knife That Shoots .
                     "CONGRESS OUTLAWED THE SPRINGS--BUT YOU CAN STILL BUY
                     THE KNIFE ! " The knife "can be fired up to an
                     ef fective range of 3 0 feet . The typical penetration
                     of this knife is about three times that of a manual
                     stab . Extra blades and fl ight stabil izer ava ilabl e .
                     $79 . 9 5 each . 11 Under the heading "ATTENTION
                     COLLECTORS AND SPORTSMEN , " the ad notes , "Due to
                     recent Federal regulation , the Ballistic Knife may no
                     longer be sold with the proj ection spring . The
                     Bal l istic Knife , IN LEGAL KIT FORM , that we are now
                     able to se ll , is identical to the original kni fe
                     without the spring included . " The ad adds , "WE SELL
                     NO SPRINGS . n 8"6
                 0   "FULL AUTOMATIC FIRE FOR YOUR AR-15 . The drop-in
                     auto sear is the KEY component in converting an AR- 15
                     to M- 16 selective fire capabil ity ( semi or full
                     automatic) and is the ONLY part for this conversion
                     that is now required to be registered if CURRENTLY
                     manufactured . OUR auto sears were manufactured prior
                     to 11/1/81 when it was NOT required to have a serial
                     number stamped on this part . COMPLETELY LEGAL TO
                     PURCHASE . " With the purchase of " five other
                     commonly available M- 16 replacement parts , " the
                     conversion can be made " in SECONDS without tools . "
                     The ad urges readers to "Act now while it is sti l l
                     legal to purchase these auto sears . When exi sting
                     supplies are exhausted , THERE WILL BE NO MORE !. !
                     $175 . oo each • .,9 7




I                                             17
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 89

                                                                                   I
                                    of 396




          The recommended reading l ist o f the catalog includes
                                                                                   I
    books on silencers : on UZI , MAC- 1 0 , and AR-15 conversions : and on
    home munitions . Other products avai l able through ads placed in
    these magaz ines include :
                                                                                   I
          o    The BMF Activator , a hand c rank that can be attached
               to a r i fl e , boasts the " newest crank-operated rapid
               fire capabi lity s ince the gatl ing gun ! ! Legally fire
                                                                                   I
               up to 1200 rounds per minute on your semi-automatic
               . 2 2 rifle . Imagine the sensation of firing a truly
               rapid fire rifle . S ince each turn of the crank
                                                                                   I
                                                                                   I
               handle fires the rifle four times , it is capable of
               pul ling the trigger many t imes faster than you can . "
               The advertising flyer for the activator includes a
               copy of a letter from ATF stating that " a manual ly
               operated device of thi s type i s not subj ect to any o f
               the provisions o f the Gun Control Act of 1968 . 11 8 8'
           0   The Tri Burst Trigger Activator , distributed by
               Orpheus Industries , o f fers " legal firepower . " It
               "allows a 3-round burst from your AR-15 . . . mounts in
               seconds " and fits " a l l makes" o f AR-15 rifles . It
               sells for a " special introductory price" of only
               $34 . 9 5 . 8 9                                                     I
           o   "The Ultimate" trigger act ivator derides its
               competitors as "the rapid f ire plastic gizmo and the
               sheet metal device . " With models available for the
               AR-15 , Mini-14 and J O , M-1 carbine , and AK models ,
               The Ultimate allows the user t o " fire individual
               rounds , 3 shot bursts or 5 0 round bursts at your
               instant discretion . 11 The ad notes that "all federal
               laws ( if any) will apply . The ATF has ruled this
               device i s not regulated by federal law . 11 It reta ils
               for $129 . 95. 9 0
           o   The API Predator Laser Target Des ignator is equipped
               with "hel ium neon lasers" that " proj ect an intense ,
               narrow beam of red l ight" w ith "an effective range"
               of up to 500 meters . Laser s ights give their users
               point-and-shoot assassination capability .
               "Generally, the only vis ib l e element o f the laser
               beam is a spot on a sol i d obj ect that reflects l ight
               back to the operator . The beam itself i s invisible
               in clear air. 1 1 Priced at $4 9 5 , the API laser s ight
               is only one of many laser s i ghts on the market , with
               some costing hundreds o f doll ars les s . 9 1
           o    An ad for Kephart Publ ications offers plans for such
                exotic weapons as : hand , r i fl e , and shotgun
                grenades : L.A. W. , RPG-7 , Bazooka , Pod , Pocket ,
                Shotgun , and T . o . W. rocket s : claymore and land mines :
                flame throwers : and others . The ad guarantees
                "these plans are l egal to own and make according to



                                          18
    Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 90

I
                                        of 396



I
I
                    BATF provisions" and promises that the "bas ic
                    information is complete and a l l WILL work . Al l
                    devices are simpl e to make and very inexpens ive .
                    Only common material and hand tools required . NO

I                   MACHINE SHOP WORK . 11 The ad offers any 10 plans for
                    $ 5 5 . oo . 92


I
                0   The "Deadly Weapons--Firearms & Firepower" video tape
                    advertisement features an assassination kit of a
                    silenced MAC-10 in a briefcase . The ad asks , " Do you
                    know which bul lets will penetrate a car door? A
                    windshield? Just how quiet is a real silencer? How
                    e ffective i s full auto fire? " Purchasers of the tape
                    can "SEE & Learn the Answers to these �estions and

I               0
                    much more ! " The tape sells for $49 . 9 s . 93
                    The "Ninety Rounder" is a circular "assault magaz ine"
                    that can hold 90 rounds of ammunition " for people who
                    want real firepower ! " Offered by the MWG company it
                    promi ses " LMG [ l ight machine gun ] Type Firepower
                    From a Semi Auto Rifle . " It reta ils for 49 . 95 . 94
                o   For the leisure hours , "Rock N ' Roll # 3 --Sexy Girls
                    and Sexy Guns , The Video" offers 11 14 outrageous ,
                    southern Cal ifornia beauties . . . firing some of the
                    sexiest machine guns ever produced . And you ' re
                    probably wondering about the girl s . What can I tell
                    you? They ' re hot . 14 different girls in string
                    bikinis and high heels blasting UZis , MAC-10s , M-1 6 s ,
                    MP-5 s , AK-47s , M- 14s and more . It ' s something you
                    j ust have to see . 11 9 5

         PARAMILITARY TRAINING CAMPS AND COMBAT SCHOOLS


I               Those interested in assault weapons and combat techniques
         do not need to rely solely on book knowledge . Around the United
         States , tra ining centers-- from the paramilitary training camps of
         right-wing extremists to commercial combat schools--off er
         training in the use of weapons , explosives , and combat skills .


I
               According to testimony o ffered before the Subcommittee on
         Security and Terrorism in September 19 8 5 , paramil itary/mercenary
         training camps can be broken down into three categories :


I               o   Franchises or commercial establ ishments that offer
                    training to law enforcement or security firms
                    worldwide ;
                0    Paramil itary and survival ist organi zations that offer
                     training in the use o f small arms , map reading , and
                     survival under extreme circumstances (those operated
                     by the Covanent , Sword and Arm of the Lord , for
                     examp l e ) . According to the Anti-Defamation League of


I                                            19
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 91
                                    of 396




                 B ' na i B ' rith , many of these camps also include an
                                                                                   I
            o
                 indoctrination of race hatred .
                 Mercenary training camps , the goal of which is to
                                                                                   I
                                                                                   I
                 off er the knowledge and skills necessary to be a
                 soldier- for-hire . 9 6
           In 1984 , paramil itary tra ining camps garnered media
    attention when the FBI revealed that several Sikh students had
    attended a two-week session at the Mere School in Dolomite ,
    Al abama , with the intention o f using the ir new-found knowledge to
                                                                                   I
    assass inate Indian Prime Minister Raj iv Ghandi . 97
            At the time , the Mere School ' s owner , Frank camper ,
                                                                                   I
                                                                                   I
    stated that h e operated strictly within the law and was merely
    training people to survive in combat situations . 9 8 Said Camper ,
    " I f someone were to train with me and to go away and perform an
    act of terrorism , then I 'm not responsible for that person ' s
    actions . They are responsible for themselves . 11 99 (Camper ,
    however , apparently did inform on the Sikh students to the FBI ,
    help ing lead to their arrest . )
                                                                                   I
           Critics of the camps argue that those run by survival ist
    and paramilitary organizations are turning out terrorists . The
    AOL states in the fall issue o f its 198 6 Law Report , "AOL
    Parami l itary Training Statute : A Response to Extremism, " that in
    many camps , " ' combat ' training is interspersed with the
    indoctrination of hatred and tota l itarianism in preparation for
    a nticipated civil stri fe , the rationale being the vision of a
    ' coming race war . , n l OO
           I n 1980 such camps were uncovered in Alabama California ,
     Connect icut , I l l inois , North Carol ina , and Texas . i o l Daniel M .
     Hartnett , ATF Act ing Deputy Associate Director , Law Enforcement ,
     stated at the 19 8 5 hearings that camps run by extremists have
     shown 11 a will1ngness to commit violent crimes to further the ir
     cause and support their movement . n l02
           A 1985 ra id conducted by law enforcement officials at a
     compound run by the Posse Comitatus outs ide of Rulo, Nebraska ,
     yielded a cache of weapons that included assault rifles and 13
     fully automatic p istols and rifles , including modi fied AR-l S s . 1 0 3
            In 1986 , the AOL formulated model state legislation that
     would ban paramil itary training " a imed at provoking civil
     disorde r . 11 104 I n drafting the model bil l , the AOL specifica l ly
     stated that the statute must not viol ate First Amendment freedoms
     o f speech and association . Another obj ective was to draft the
     statute narrowly s o that it would not prohibit legitimate lawful
     activities such as target shooting and other sporting events .
     This was important , the AOL stated , for "minimizing opposition ·
     to the bill by powerful special interest groups . n lO S Laws based
     on the statute have passed in Arkansas , Cal ifornia , Colorado ,
     Connecticut , Florida , Georgia , Idaho , Ill inois , Michigan ,


                                             20
        Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 92

    I                                       of 396




              Missouri , Nebraska , New Jersey , North Carolina , Oregon ,
              Pennsylvania , Rhode Island , Virginia , and West Virgi�ia . l 06
                     In a statement opposing legislation restricting
              paramil itary training camps , America ' s leading pro-gun
              organization , the National Rifle Association ( NRA) , based i n
              Washington , o . c . , states that such "l egislation is obj ecti onable
              because it makes the mere possession of firearms a crime ,
              therefore undermining the right to keep and bear arms " and that
              "the constitutionality of such legislation is questionable at
              best , and could not , in all probabil ity , withstand a court
              challenge based on violation o f First Amendment rights . 91 1 0 7
                     The controversy has faded since the 1 9 8 5 hearings ,
              al though camps and schools continue to operate . The FBI
              currently has no figures on the numbers of camps and schools
              operating in the United States . One such school , Brigade
              Security Forces , located in Mooreville , North Carol ina , o ffers
              six-day courses in "commando tactics . " It offers "absolutely the
              best firearms training available with numerous NATO and COMMUNIST
              firearms . " One can also enroll in a special J O-day course
              "designed for the adventurer that demands it all in one course . "
              Counter terrorist , sniper , and covert operations are some o f the
              areas covered . Brigade also offers private instruction for
              "Individuals or Groups who des ire Total Secrecy and Special
              Training . NO COMMUNISTS , GAYS , ATHIESTS [ sic) ! ! ! 11 are a l l owed ,
              and one must be at least 16 years old to attend . lO S

               THE AS SAULT WEAPONS DEBATE

                      Not surprisingly , the increas ing number and subsequent
               mi suse of assault weapons has resul ted in a growing debate over
               their place in American society . The battle lines mirror those
               drawn over other such "gun control" issues as waiting periods for
               handgun purchases , bans on armor-piercing bul lets , and
               restrictions on the sale of "plastic" firearms . on one s ide o f
               the debate i s America ' s gun lobby . The other side consists o f
               handgun restriction advocates and various pol ice organi z ations .
                        America ' s gun lobby--composed o f pro-gun organizations ,

I
               manufacturers , and various publ ications--staunchly opposes any
               restrictions on .the sale or availabil ity of assault weapons .
               The leading voice of dissent belongs to the NRA . With 2 . 7
               mill ion members and a budget o f more than $7 1 mill ion , the NRA i s
               America ' s largest and most powerful pro-gun organization . 10 9 I n
               1 9 8 7 the organization publ i shed a pamphlet entitled Semi-Auto
               Firearms--The citizen' s Choice . A year later the organization
               published Semi-Auto Rifles : Data and comment , a col lection o f
               articles on semi-automatics that had appeared i n the NRA ' s
               magazine , The American Ri fleman .
                     In both the pamphlet and the book , the NRA presents the
               controversy over assault weapons as a broader attack on all semi-


I                                                   21
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 93
                                    of 396




    automatic firearms , includ ing hunting rifles with semi-automati c
    mechanisms . By framing the debate a s one concerning all semi­
    autos , as opposed to a spec i fi c category of semi-auto , the NRA is
    able to present efforts to restrict assault weapons as a threat
    to hunters . The NRA recogni zes the fact that it is far easier to
    mobilize its membership and non-NRA outdoorsmen with images of
    banning the ir trusted hunting r i fles as opposed to UZis or
    TEC-9 s .
            The cover o f Semi-Auto F i rearms--The Citizen ' s Choice
    features a duck hunter , duck call in mouth , silhouetted against a
    bright orange sunrise . In his hand he appears to hold a shotgun .
    On the first page of the pamphlet , the NRA offers its view o f the
    debate : "The national media and organized ' gun control ' groups
    have advanced from demanding prohibitions on certain handguns and
    ammunition , to calls for banning semi-automatic firearms . The
    pattern is obvious , and the strategy has long been clear--isolate
    certain types of firearms , l abel them as inherently ' evil ' or
    ' crime prone , ' and then try to segregate and drive a wedge
    between firearms owners . • • 1 1 0 Fully automatic and h igh-tech
    f i rearms often seen on television programs , and in popular yet
    violent movies , perpetuate the myth that ' semi-autos ' are
    f requently used for criminal purposes • • • 1 1 l Even to experts ,.
    admittedly , semi-automat ic target or sporting ri fles such a s the
    AR15 and MlA look l ike the ful l -automat ic mil itary M16s and Ml4 s .
    Why not? A civil ian j eep l ooks l ike a mil itary j eep , a civ i l ian
    tent looks l ike a mil itary tent and a c ivil ian shooter at the
    nat ional Matches at Camp Perry looks very much l ike his mil itary
    counterpart . 11 11 2
            (The NRA ' s stand on assault weapons is not surprising
    considering the fact that it has labeled repeal of the 1 9 8 6
    federa l ban on the future production o f machine guns for
    c ivil ian use a "high priority . n ll3 In outl ining its position on
    machine guns , the organization states , "Sporting events involving
    automatic firearms are s imilar to those events such as s ilhouette
    shooting and other target-related endeavors and deserve the same
    respect and support . n l"l. 4 The NRA promises that it "will take
    a l l necessary steps to educate the publ ic on the sporting uses of
    automatic firearms" ll 5 and exp l a ins that "The Second Amendment
    i s not l imited by its l anguage to the type o f arms that the
    people have the r ight to own . n l. 16 The organization supports "the
    right of any law abiding individuals to own any firearms , .
    including automatic firearms . n l.1 7 ) (Although the NRA was asked
    to answer questions regarding its stand on assault firearms , the
    appropriateness o f Soldier o f Fortune publisher Robert K . Brown
    being on its board of d irectors , param i l itary accessories , and
    paramil itary training camps , a spokesman , a fter reviewing the
    quest ions , stated that the NRA was "decl ining to provide
    information for this report . " )
           While the NRA struggles to turn the assault weapons debate
     into a semi-auto debate for pub l ic relations purposes ,
     legislators and members o f the press have been making it into one


                                          22
    Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 94
                                        of 396




          inadvertently . Neither of America ' s national handgun
          restriction organizations has come out in favor of restricting or
          banning a l l semi-autos , and have only recently begun deal ing with
          long guns ( there is no national organization calling for

I         restrictions on all guns ) . Yet in discussions of assault
          firearms , those urging restrictions on these weapons have used
          the terms a ssault, paramil itary , and semi-automatic weapon
          interchangeably . This misusage apparently stems from an
          unfamil iarity with weapons terminology and a lack of
          understanding of the wide range o f weapons covered by the term
          semi-automatic . As the result of this lack of knowledge , and the
          d i ff iculties in defining assault weapons in legal terms , laws
          have been proposed on the state level that would place waiting
          periods on a l l semi-auto weapons . In August 19 8 8 , The New York
          Times ran two editorials in favor o f such a law on the federal
          leve l , as well as urging a ban on the sale of assault weapons . 1 18
                    According to John Hosford , executive director of the
          Citi zens Committee for the Right to Keep and Bear Arms ( CCRKBA) ,
          a 5 0 0 , 0 0 0 member pro-gun organiz ation located in Bellevue ,
          Washington , the issue of paramil itary weapons will be addressed
          at the organ ization ' s board meeting in September 19 88 . S ays
          Hos ford , " It would be safe to say that we will take an aggress ive
          pos ition in support of these . " Founded in 19 7 1 , the CCRKBA
          favors a repeal of the Gun Control Act of 1 9 6 8 and has lobbied
          against qun control ord inances on the local , state , and federal
          l evel . 1 1�
                  The 1 0 0 , 0 0 0 plus-member Gun owners of America (GOA) ,
          located in Springfield, Virginia , views the assault weapons
          debate as part of a long-range plan by handgun restriction
          advocates to disarm America . Says GOA Director of Government
          Affairs Craig Markva , "The goal was to target the machine guns
          first , then the semi-autos , and right al ong with the handguns .
          The whole premise [ o f handgun restriction organizations J has been
          based upon the fact that the Second Amendment is a hunting
          r ight . " But Markva argues , "the whole idea of the Second
          Amendment is self-defense . The goal of the anti-gunner i s to
          isolate d i fferent categories of firearms for control or banning ,
          and them move on . The slippery slope is alive and well and ·
          continues roll ing on . 11
                  America ' s handgun restriction movement has been cauti ous
          in its response to the assault weapons debate . Their reticence
          i s understandable . By moving against a category of firearm that
          is not only a long gun , but difficult to define , they run the
          risk o f appearing to prove the gun l obby right : that is , that
          handgun restrictions are merely the first step down the
          a fo rementioned sl ippery slope .
I                In the past , the "gun control " debate was eas ily defined .
          " Good" guns were long guns that were used for hunting and

I
          sporting purposes , while "bad" guns wer� easily concealable
          h andguns that had l imited sporting use and were prone to misuse .


                                               23
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 95
                                    of 396




    Previously , the standard for restricting weapons involved
    concealabil ity and a cost/benefit analysis : Is the harm done by
    a given category of firearm outweighed by any poss ibl e benefit?
    Yet , although assault weapons are frequently misused and many are
    more conceal able than standard l ong guns , a new standard is
    emerging : For what purpose was this weapon des igned? The first
    appl ication of this standard came in 198 6 , when Congress voted to
                                                                                   I
    outl aw the future production of machine guns for civil ian use .
    The number of criminal incidents involving legal ly owned machine
    guns prior to the ban had been few . Yet , Congress saw no reason
    for this category of weapon to remain in civil ian hands .
           Handgun Control Inc . (HCI) , based in Washington , o . c . , is
    America ' s leading handgun restriction organization . The
    organization has more than 18 0 , 000 dues-paying members and an
    annual budget of more than $4 mill ion . Its vice-chair is Sarah
    Brady , wife of White House press secretary James Brady , who was
    inj ured in the March 1 9 8 1 assass ination attempt on President
    Reagan . In its organization brochure , HCI cal ls for the
    "restriction on the sale of U Z I -type assault weapons , the
    weapons of war l ike that used in the 1 9 8 3 McDonald ' s massacre in
    Cal ifornia . " The organization adopted this stand in 1 9 8 3 .
    Recently , HCI has run newspaper ads call ing for unspecified
    restrictions on assault weapons , label ing them· "drug guns . " In
    addition , HCI came out in favor o f banning the Striker- 12 from
    import . I n addit ion to its stand on "UZI-type assault weapons , "
    the organization favors a wa it ing period with background check
    for a l l handgun purchases , a ban on the sale of snub-nosed
    handguns , and a ban on the production and sale of plastic
    handguns . 120
              The National Coalition to Ban Handguns (NCBH ) , based in
     Wash ington , D . C . , is a coal ition of 31 national religious ,
     profess ional , educational , and pub l ic heal th organizations that
     favors banning the sale and private possess ion of handguns in
     America . Exceptions to this would include possess ion by pol ice ,
     m i l itary personnel on active duty , target shooters who keep and
     use their handguns at bona fide shooting clubs , and federally
     l icensed col lectors . NCBH has approximately 2 0 , ooo members and
     an annual budget of $400 , ooo . Prior to 1985 , the organi zation
     dealt only with handguns . But in May of that year , its board
     voted to work to ban the sale and private possession of machine
     guns . currently , its board is considering whether to endorse
     banning the sale and private possess ion of assault weapons •. It
     is scheduled to reach a decision at its November 1988
     meeting . 12 1
              The Law Enforcement Steering Cornrnittee is the leading
     voice o f l aw enforcement on the gun control issue . The Committee
     consists o f : the Federal Law Enforcement Officers Association :
     the International Association of Chiefs of Police ; the Fraternal
     Order of Pol ice ; the International Brotherhood of Police
     O f f icers ; the National Association of Police Organizations ; the
     Pol ice Executive Research Forum ; the Pol ice Management


                                          24
    Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 96

I
                                        of 396




          Assoc iation ; the Pol ice Foundation ; the Maj or cities Chief
          Administrators ; the National Organization of Black Law
          Enforcement Executives ; and the National Troopers Coal ition . 1 2 2
          A s o f September 1988 , none o f the members of the Committee have
          adopted an official stand on assault weapons , although the topic
          is scheduled to be discussed in the future . 123
                On the federal level , no bills deal ing with assault
          weapons have yet been introduced in Congress . It is expected
          that such a bill will be introduced sometime during 1989 .
                 On the state level , the first proposed law restricting the
          ava ilabil ity of assault weapons was introduced by California
          state Representative Art Agnos ( Dem . , San Francisco) in 198 5 .
I         (Agnos was elected mayor of San Francisco in 1987 . ) The law ,
          which would have banned the sale and possession of speci fic
          assault weapons--such as the UZI , MAC , and AR-15--failed to pass .
          In 1988 , Assemblyman Michael Roos ( Dem . , Los Angel es ) introduced
          a measure that also would have banned spec ific assault weapons .
          The bill was later amended to require instead a 15-day waiting
          period with background check for all semi-automatic weapons . The
          amended vers ion of the bill failed to pass . Roos expects to file
          a bill next year that would pl ace a waiting period on specific
          assault weapons . 124
                 In addition , product l iabil ity lawsu its have been filed ·
          aga inst manufacturers of assault weapons . Such suits are based
          on the legal theory that the manufacturers of these weapons know
          that their products are inherently dangerous and prone to
          criminal misuse . Therefore , they should be held responsible for
          the resulting death and injury . one o f the first product
          li abil ity suits deal ing with an assault weapon was filed on Apri l
          22 , 1987 , against Intratec USA , manufacturers o f the TEC-9 . The
          suit was filed by the estate of David L. Bengston of Connecticut .
          Bengston , a high school j anitor , was fatally shot by an eighth
          grader on December 10 , 1985 , with a TEC-9 that belonged to the
          student ' s father . The student later held a classroom of children
          hostage until his father came and convinced him to turn over the
          weapon . In their complaint , attorneys for Bengston argued that
          the TEC-9 is in fact a super S aturday Night Special . The case i s
          currently awa iting tria 1 . 1 2 5

I               The first victory for proponents of the legal theory that
          some handguns are inherently defective because of speci fic design
          characteristics occurred on October 3 , 1 9 8 5 , when the Maryland
          Court of Appeals ruled in Kel l ey v . R. G . Industries that
          manufacturers of Saturday Night Specials could be held l iable for
          their criminal misuse . The case stemmed from a March 198 1
          robbery in which the plaintiff , Olen J . Kelley , was shot in the
          chest with a Rohm handgun . 12 6 (As part of the law outlawing the
          sale of Saturday Night Specials passed in Maryland in 1988 , the
          Maryland legislature--as part of a compromise with the gun lobby­
          -added a component that would in effect null i fy the Kelley
          decision . )

I                                             2 :;
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 97
                                    of 396




            The signs are increas ing o f a growing awareness that
    America has an assault weapons " probl em . " At the end of its
    July 1988 documentary on handgun viol ence in America , "Guns ,
    Guns , Guns , " NBC reporter Connie Chung notes the increasing
    misuse of as_sault weapons l ike the UZI . 1 2 7 In his speech at the
    Democratic National convention , Democratic presidential
    candidate Jesse Jackson , states of drug deal ers , "They say , ' We
                                                                                   I
    don ' t have Saturday Night Specials any more . ' They say , ' We buy
    AK-47s and UZ i s , the l atest lethal weapons . We buy them across
    the counter on Long Beach Boulevard . ' You cannot fight a war on
    drugs unless and until you are going to challenge the bankers and
    the gun sellers . • • • 11 1 2 8
                                                                                   I
    CONCLUS ION

           Assault weapons are increas ingly being perceived by
    legislators , pol ice organizations , handgun restriction advocates ,
    and the press as a public health threat . As these weapons come
    to be associated with drug tra ffickers , paramil itary extremists ,
    and surviva l i sts , the ir television and movie glamour is los ing
    its lustre to a violent real ity .
           Because o f this fact , assault weapons are quickly becoming
    the leading top ic of America ' s gun control debate and wi l l most
    likely remain the leading gun control issue for the near future .
    Such a shift will not only damage America ' s gun lobby , but
    strengthen the handgun restriction l obby for the following
    reasons :
    o      It will be a new topic in what has become to the press and
           public an " old" debate .
                Al though handguns claim more than 2 O , O O O 1 i ves year ,
           the issue of handgun restricti on consistently remains a
           non-issue with the vast maj ority of legislators , the
           press , and publ ic . The reasons for this vary : the power
           of the gun lobby ; the tendency o f both sides of the issue
           to resort to sloganeering and pre-packaged arguments when
           discuss ing the issue ; the fact that until an individual i s
           a ffected by handgun violence he o r she is unl ikely to work
           for handgun restrict ions ; the view that handgun violence
           is an "unsolvable" problem ; the inabil ity of the handgun
           restriction movement to organiz e itself into an effective
           electoral threat ; and the fact that until someone famous
           is shot , or something truly horrible happens , handgun
           restriction is simply not viewed as a priority .- Assault
           weapons--j ust l ike armor-piercing bullets , mach ine guns ,
           and plastic firearms--are a new top i c . The weapons '
           menacing looks , coupled with the publ ic ' s confus ion over
           ful ly automatic machine guns versus semi-automatic assault
           weapons--anything that l ooks l ike a machine gun is a ssumed
           to be a machine gun--can only increase the chance of
           publ ic support for restrict ions on these weapons . In



                                           26
    Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 98

I
                                        of 396



I
                addition , few people can envis ion a practical use for
                these weapons .
          0     Efforts to stop restrictions on assault weapons will only
                further alienate the pol ice from the gun lobby .
                     Until recently , pol ice organi zations viewed the gun
                lobby in genera l , and the NRA in particular , as a rel i able
                friend . Thi s stemmed in part from the rol e the NRA
                played in tra in ing off icers and its reputation regarding
                gun sa fety and hunter tra i ning . Yet , throughout the
                1980s , the NRA has found itself increas ingly on the
                oppos ite side o f pol ice on the gun control issue . Its
                oppos ition to l egisl ation banning armor-piercing
                ammunition , plastic handguns , and machine guns , and its
                dra fting of and support for the McClure/Volkmer handgun
                decontrol b il l , burned many of the bridges the NRA had
                bu ilt throughout the past hundred years . As the result of
                th is , the Law Enforcement Steering Committee was formed .
                The Committee now favors such restriction measure s a s
                wa iting periods with background check for handgun

I
                purchases , and a ban on machine guns and p lastic firearms .
                If pol ice continue to cal l for as sault weapons
                restrictions , and the NRA continues to f ight such
                measures , the result can only be a further tarn ishing of
                the NRA ' s image in the eyes of the publ i c , the pol ice , and
                NRA members . The organiz ation wil l no longer be viewed as
                the d e fender o f the sportsman , but as the de fender o f the
                drug dealer .
          0      Efforts to restrict assault weapons are more likely to
                 succeed than those to re strict handguns .
                      Although the maj ority of Americans favor stricter
                handgun controls , and a consistent 4 0 percent of
                Americans favor banning the private sale and possess ion of
                handguns , 129 many Americans do be l ieve that handguns a re
                effect ive weapons for home sel f-de fense and the maj ority
                o f Americans mi stakenly believe that the S econd Amendment
                of the Constitution guarantees the individual right to
                keep and bear arms . 1 3 0 Yet , many who support the
                indiv idua l ' s right to own a handgun have second thoughts
                when the issue comes down to assault weapons . Assaul t
                weapons are often v i ewed the same way as machine guns and
                "plastic" f irearms--a weapon that poses such a grave risk
                that it ' s worth compromis ing a perceived constitutional
                right .

                  Al though the opportunity to restrict assault weapons
          exists , a question rema ins for the handgun restriction movement :
          How? Defin ing an assault weapon--in legal terms--is not easy .
          It ' s not merely a matter of going after guns that are "black and
          wicked looking . " Al though those involved in the debate know the
          weapons being discussed , it ' s extremely difficult to develop a


                                                27
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 99
                                    of 396




    l egal definition that restricts the ava ilabil ity of assault
    weapons without affecting l egitimate semi-automatic guns . Most
    l ikely, any definition would focus on magazine capacity , weapon
    configuration , muz z l e velocity , the initial purpose for which the
                                                                                   I
    weapon ( or its full-auto progen itor) was developed ,
    convertibil ity , and p ossible sporting appl ications . Any law
    based on this definition would, however , need to have a clause to
    excuse legitimate semi-automatic weapons that would inadvertently
    fal l under it . And although legislation could be passed that
    would ban specific weapons , the world ' s arms manufacturers are
    expert at producing weapons that fol low the letter , but not the
    intent , of the l aw . Th is often results in products that are
    virtually ident ical to the restricted weapon , yet dif ferent
    enough to remain on the market .
           Yet , the framework for restricting assault weapons already
    exists . on the federal level , ATF currently excludes from import
    handguns recognized as Saturday Night Specials . This is done by
    appl ication of criteria des igned by the agency that takes into
    account such things as barrel length , caliber , qua lity of
    materials , safety devices , and other factors . Any gun that does
    not meet the importation threshold cannot be sold in the United
    States . Any manufacturer whose product is refused for import
    can challenge the decision in federal court . Criteria to
    identify and categorize assault weapons could be developed by ATF
    and appl ied toward restricting the ava ilabil ity of both foreign­
    and domestical ly-produced assault weapons .
           The state of Maryl and has taken a similar approach in
    bann ing the sale o f Saturday Night Specials . The 1988 Maryland
    law established a nine-member board responsible for creating a
    roster of pernli tted handguns . The nine members of the board
    include : the superintendent o f the state pol ice : representatives
    o f the Maryland States ' Attorney ' s Association , Maryland
    Association o f Chiefs o f Police , Marylanders Against Handgun
    Abuse , the Nat ional Rifle Association , and a Maryland gun
    manu facturer : and three citizen board members to be determined by
    the governor . After January 1 , 19 90 , the law requires that no
    p erson in Maryland may : manufacture a handgun not on the Handgun
    Roster , or sell or offe r to sel l any handgun not on the Handgun
    Roster that was manufactured after January 1 , 19 8 5 . In
    determining whether a handgun has a legitimate use and can
    there fore be placed on the roster , the board will consider :
    concealabil ity : bal l i stic accuracy : weight : qual ity of material s :
    qual ity o f manufacture : and rel iability as to sa fety , cal iber ,
    and detectabi lity by standard security devices used at airports
    and courthouses . 1 3 1 states could develop similar rosters to ban
    the sale of assault weapons .
            Since passage of the Maryland law, the NRA has collected
     enough s ignatures o f Maryland residents to bring the measure to
     referendum on the November 1988 ballot . The NRA ' s opposition to
     such a panel i s not surpris ing . The organ ization fears giving
     the government , at any level , the power to restrict the


                                         28
    Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 100

I
                                        of 396



I
I
          availabil ity of firearms--conj uring up images of a "gun czar . "
          And although such proposals would solve the def initional probl ems
          posed by assault weapons , it would guarantee fierce opposition
          from the gun lobby .
I                The success of any proposed legislation to restrict
          a ssault weapons and their accessories depends not only on
          whether the American public pays attention to the topic , but
          agrees that these products are dangerous . Obviously , some
          aspects of America ' s fascination with assault weapons and their
          accessories are here to stay . Publ ications are clearly protected
          under the First Amendment of the Constitution . Yet the weapons
          themselves , and accessories such as laser sights and grenades
          requiring only the explosive charge , can be restricted and eve n

I
          banned at the local , state , o r federal level . The fact that
          assault weapons are increasingly being equated with America ' s
          drug trade may play a maj or role in motivating the publ i c to call
          for their restriction . Yet , recogniz ing the country ' s
          fascination for exotic weaponry and the popular images and myths
          associated with guns , it may require a crisis of a far greater
          proportion be fore any action is taken .

I

I

I


I


                                             29
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 101
                                    of 396




     APPENDIX I

           According to l aw enforcement officials , federal agencies ,
     and handgun control organizations , the assault weapons of choice
     appear to be the following ( al l models are semi-automatic
     versions ) :
           Alt- 4 7 --The Kalashnikov ri fle , also known generally as the
           AK-4 7 , was developed in the Soviet Union in 194 7 by
           Mikhail T . Kalashnikov . Semi-automatic versions o f a
           Chinese model--the Model 5 6 --are currently imported into
                                                                                    I
           the United States , as are models developed by other
           countries . The Chinese AK-4 7 produced by POLY
           Technologies and distributed in the United States by PTK
                                                                                    I
           International , Inc . , i s 3 4 3/8 inches long . With a
           folding stock, the weapon has an overall length of 3 4 5/8
           with the stock extended , and approximately 3 0 inches
           folded . The weapon can accept 2 0 - , 3 0- , 4 0 - , and 7 5-round
           magaz ines . 1 3 2 Semi-automatic versions of the AK-47 reta il
           for as l ittle as $ 3 0 0 . 13 3
           AR- 1SA2 --The AR-15A2 , commonly known as the AR-15 , is
           manufactured by Colt Industries of Hartford , Connecticut .
           It is the civil ian version of the company ' s M- 1 6 machine
           gun . The AR- 15A2 rifle has an overall l ength of 3 9
           inches . The Government Model carbine comes with a folding
           stock . Its overal l length with the stock folded is 3 5
           inches , 3 2 closed . In 1 9 8 7 the company introduced the
           Delta HBAR , a sniper rifle version of the rifle . The
           weapon comes with a 5-round magaz ine but can accept a
           variety of high-capacity magaz ines . ! 3 4 The AR-15A2
           retails for approximately $ 68 0 .
            MAC- 10 1 MAC- 11--The MAC-1 0 machine pistol was original ly
            devel oped by Gordon Ingram at Mil itary Armaments
            Corporation (MAC) in 1 9 6 9 . Soon thereafter , the MAC- 1 1
            was marketed and subsequently semi-auto vers ions o f both
            were developed . MAC went bankrupt in 197 8 . currently ,

                                                                                    I
            the rights for the MAC-1 0 are owned by a Stephensvil l � ,
            Texas , company which took the Mil itary Armaments
            Corporation name . Manufacturing rights for the MAC- 1 1 now
            belong to various corporate entities operated by Sylvia
            and Wayne Daniels of Georgia . 1 3 5 An ad placed in Shotgun
            News for the semi-auto 9mm Mll/9 produced by the Daniels ,
            describes it a s "The Gun That Made the ' 8 0 ' s ' Roar" and
            characterizes it as being as "American as God , Mom , and
            Apple Pie 1 11 1 3 6 The 9mm MAC-ll is 1 2 . 15 inches long . It
            comes with a 3 2 -round magazine . The 9mm MAC-10 has a
            length of 1 0 . 5 inches with its stock folded and comes with
            a 32 -round magaz ine . Both have threaded barrels for the
            attachment of s i lencers and barrel extensions . 1 37 The
            MAC- 1 1 can retail for as l ittle as $200 .




                                           30
    Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 102

I
                                        of 396



I
I               RUGER MINI- 1 4 - -The Ruger Mini 14 is manufactured by Sturm ,
                Ruger & Company , Inc . of S outhport , Connecticut , and was
                introduced into the civilian market in 1975 . With a

I
                folding stock , the weapon has an overall length of 3 7 . 7 5
                inches , 27 . 5 with the stock closed . The gun comes with a
                standard 5-round magaz ine , but magazines have been
                developed for it that can hold up to 4 o rounds . 13 8 The

I               Mini-14 retails for approximately $ 3 3 0 .
                TEC-9 --The 9mm TEC-9 assault p istol was originally
                developed by Interdynamics AB o f Sweden and produced i n
                the U . S . by F . I . E . o f Florida . The original version , the
                KG-9 , was easily converted to full auto and was
                subsequently reclassi fied as a machine gun by ATF in 1 9 8 2 .
                Soon a fter , the weapon was redesigned to sel l as a semi­
                auto and reclassi fied the KG-9 9 . subsequently , a Hong
                Kong company bought the rights to the weapon from
                Interdynamics AB and a new company , Intratec USA , was
                formed in the United states to manufacture the weapon , now
                dubbed the TEC-9 . In November of 1987 , Intratec USA
                reorgani zed to become Intratec . Twelve and a hal f inches
                long , the l ightweight TEC-9 comes with a 36-round
                magazine . The TEC-9M , a smal ler version of the weapon , is
                1 0 . 5 inches long . Both have threaded barrels so that they

I
                can accept silencers and barrel extensions . High-impact
                plastic is used for the gun ' s receiver , maga zine well , and
                pistol grip . 139 Promotionai material for the guns

I
                describe them as being "high-spirited" and "weapons that
                are as tough as your toughest customers . 11 14 0 The TEC-9
                retails for approximately $ 2 5 0 .
                UZI--Manufactured by Israeli Mil itary Industries , the 9mm
                UZI was designed in the early 1950s by Army Maj or Uz iel
                Gal . In 197 9 , a semi-automatic version was first

I
                imported to the United States for civil ian sale by Action
                Arms of Philadelphia . The U Z I semi-auto carbine has· an
                overall length of 2 4 . 4 inches with its stock folded , 3 1 . 5
                with the stock open , and comes with a standard 2 5-round

I               magaz ine . In 1984 , the company introduced the UZI pistol ,
                which has an overall _length o f 9 . 4 5 inches . In 1987 ,
                Israel i Mil itary Industries introduced the Mini-UZI
                carb ine , which with its stock folded has an overall l ength
                of 2 6 . l inches , 3 5 . 7 5 with the stock unfolded . 141 A 1 9 8 8
                Action Arms ad for the UZ I exclaims , "When the going gets
                tough • • . the tough get an UZI . Whether for a backwoods
                camp , RV or family home , don ' t trust anything less . The
                UZI Carbine is the perfect choice for the sportsman who -
                wants unfail ing rel iabil ity and top performance in a

I               rugged , compact size . " With a kit that will allow the
                weapon to use . 2 2 ammunition , the gun becomes "an
                inexpensive pl inker . n l 4 2 The UZI carb ine retails for
                approximately $700 , the pistol for $510 .



I                                                31
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 103

                                                                                    I
                                    of 396




                                                                                    I
                                                                                    I
     APPENDIX I I

            Paramil itary weapons are just the latest topic in the
     ongoing debate over the role of specific categories of firearm s
     in American society . Unfortunately , there is often confusion
     among the press and public--and even among handgun restrict ion
     advocates--regarding the various types of firearms . In an
                                                                                    I
                                                                                    I
     article published in the April 198 7 , American Rifleman , National
     Rifle Association staff member Paul Blackman writes , "When a
     reporter calls a semi-automatic rifle , pistol or shotgun a
     "submachine gun" • • • He may j ust not know any better . " Blackman ' s
     right . He points out that The Assoc iated Press Styl ebook and
     Libel Manual incorrectly defines a " submachinegun" as "A
     l ightwe ight automatic or semiautomatic gun firing small arms
                                                                                    I
     ammunition . 11 14 3
            Recogniz ing this , descriptions o f the various categori es
     of f irearms are as follows :
            Firearms refer to weapons that use a powder charge to f i re
     a proj ecti le . (Airguns such as BB and pellet guns use a burst of
     air to fire their proj ec:tiles and hence are not considered
     firearms , al though they are capable of infl icting severe or fatal
     injuries . )
               Firearms have been broken ·down into essent ially two
     groups : long guns and handguns . Long guns are weapons designed
     to be f ired from the shoulder . According to ATF standards , to
     qua l i fy a s a r i fl e , the shoulder-fired weapon must have a barrel
     length of 16 inches , 18 inches for a shotgun . 144 Handguns are
     f irearms designed to be fired from a single hand and are usual ly
     defined as having an overall length o f less than 18 inches • 1 4 5
     Repeating firearms are those that allow the shooter , by operating
     a mechanism on the gun , to load another round into the gun after
     a shot has been fired . Manually operating the bolt , lever , pump ,
     or other mechanism extracts and ej ects the empty case after the
     cartridge has been fired . It then reloads a fresh shell or
     cartridge from the maga z ine into the chamber and cocks the gun .
     S emi-automatic guns do this automatical ly when they fire . With
     each squeeze of the trigger the semi-automatic repeats the
     process of firing , ej ecting , and reloading . 1 4 6 Although a semi­
     automatic w i l l fire only one cartridge per trigger pull , an
     automatic will continue to f ire cartridges as long as the trigger
     is pulled . An automatic is also known as a machine gun . More
     than 1 19 mill ion rifles and shotguns have been produced in the
     U . S . s ince 1 8 9 9 . 14 7 It is est imated that the maj ority of these
     weapons remain in circulation .
            Handguns can be either revelvers or semi-automatic
     pistol s . Revolvers have a round cyl inder that is actually the
     magaz ine and acts as a chamber when properly al igned with the
     barrel . In double-action revelvers , each time the trigger i s
     pul led the weapon fires and the cylinder advances to the next
     chamber . S ingl e-action revelvers require that the hammer be


                                             32
     Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 104

 I                                       of 396



I
I
           manual ly cocked before each shot . A revolver ' s cylinder usually
           holds six cartridges . Instead of a revolving cyl inder , a semi­
           automatic handgun ( also known as a pistol) carries its extra
           cartridges in a maga zine usually located in the handle of the

I          handgun . Spring pressure forces the cartridges upward in the
           magazine . Each time the weapon i s fired , a new cartridge is
           moved up and is loaded into the chamber . Pistol magaz ines
           usually hold between 14 and 17 cartridges . 1 4 8 Pistols are o ften
I          known as " automatics" although they do require a separate trigger
           pull for each shot . Pistols that are fully-automatic, that i s ,
           that will continue to fire as long as the trigger is pulled , are

I          known as machine pistols .
                 Handguns with barrel lengths o f three inches or less are
           known as " snubbies . " Snubbies are preferred by criminals because
           of their increased concealabil i ty . A subcategory of snubbies are
           Saturday Night Specials--inexpensive , inaccurate snubbies made
           of inferior materials . Because of their low qual ity and
           inaccuracy , these weapons have no sporting purpose and are best
           suited for criminal use . There are an estimated 3 5 to 4 0 mill ion
           handguns in America . 149
                  Assault firearms are semi-automatic ( firing one bul let per
           trigger pul l ) and fully automatic ( the weapon will keep on firing
           as long as the trigger is depressed) anti-personnel rifles ,
           shotguns , and handguns that are des igned primarily for mil itary
           and law enforcement use . With muz z l e velocities that are often
           greater than standard long guns , and h igh-capacity- ammunition
           magaz ines , assault weapons are built to kill large numbers of
           human beings quickly and efficiently . Most assault weapons have
           no legitimate hunting or sporting use . Assault ri fles and
           shotguns o ften have pistol grips and folding stocks , and are
           typical ly l ighter and more concealable than standard long guns .
           Some assault pistols have threaded barrels for the easy
           attachment of silencers . Many assault weapons are merely semi'"'."

I          automatic vers ions of mil itary machine guns , making them easier
           to convert to fully automatic machine guns .




I


I
I                                              33
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 105

                                                                                        I
                                    of 396




                                                                                        I
                                                                                        I
     1.      McNamara , Joseph D . , "Develop ing a Rational , National
            Firearms Pol icy , " The Pol ice Chie f , (March 198 8 ) , p . 2 6 .
                                                                                        I
     2.     It was estimated by the National Coal ition to Ban Handguns
            in 1985 that there were more than soc , 000 assault weapons
            in civil ian hands , an unknown number of which had been
                                                                                        I
            converted to fully automatic machine guns , a figure which
            the Bureau of Alcohol , Tobacco and Firearms concurred
            with . Recent estimates in the press ( See footnote # 5 )
                                                                                        I
                                                                                        I
            have put the figure at between 6 5 0 , coo and two mill ion .
            Because o f the fact that manufacturers are not required to
            release sales figures and there is no differentiation
            between standard long guns and assault weapons in
            reporting , there are no total ly rel iable figures on
            America ' s assault weapons populat ion .                                   I
     3.      McNamara , p . 2 6 .
     4.     "Virginia Man Held for Transport ing Guns , " The Washington
            Post , (January 3 0 , 198 8 ) , p . A7 .
     5.      "The Arms Race in Your own Back Yard , " u . s . News & World
            Report , (April 4 , 19 8 8 ) , p . 2 4 .
     6.      "Machine Gun U . S . A . , " Newsweek , (October 14 , 1985 ) , p . s o .
     7.      "Three Officers Slain Serving Routine Warrant , " United
            Press Internat ional , July 1 0 , 1 9 8 7 . Additional
            information obtained from the Inkster , Michigan , pol ice
            department , August 19 8 8 .
     8.      " 11 Hostages Held at Virginia Shopping Mal l , " The
            Wa shington Post , ( September 1 5 , 19 8 8 ) p . A2 2 .
     9.      Coates , James , Armed and Dangerous : The Rise of the
            Survival ist Right , Hil l and Wang , New York, ( 1987 ) , p . 8 .
     10 .    Fox , James Alan and Levin , Jack , Mass Murder : America ' s
            Growing Menace , Plenum Press , New York and London, ( 19 8 5 ) ,
            p. 63 .
     11.     Interview with David W . Cooney , attorney for the estate o f
            David Bengsten , August , 1 9 8 8 .
     12 .    "Manassas Mourns 1st Officer S lain in 115 Years , " The
            Washington Post , ( July 2 6 , 1 9 8 8 ) , p . Al , A9 .
     13 .    "Florida Gunman Charged With Kil l ing 6 , " The New York
            Times , (April 2 5 , 1987 ) , p . A9 .
    Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 106

I
                                        of 396



I                  "Seized Arsenal Tied to " Crack Dealers , " The Wa shington
           14 .
I                 Post , (March 8 , 198 8 ) , p . A 6 . Additional information
                  obtained from ATF New York office , September , 19 88 .


I          15 .    "Arms Race Escalates , " The Washington Post , ( February 2 3 ,
                  1988 ) , p . B S •


I
           16 .   . Interview with ATF spokesperson Tom Hil l , July 1 9 8 8 .
           17 .    Interview with Detective Bohannon , July 19 88 .

I          18 .   Lawn , John c . , " Drug Dealers ' Sophisticated Weaponry Poses
                  Continuing Threat , " The Police Ch ief , (March 198 8 ) , p . 4 7 .
                                                                     11 The Wash ington
           19 .    11 D . c . Pol ice t o Boost Drug War Firepower ,
                  Post , ( February 1 0 , 198 8 ) , p . Al , Al2 .
           20.     "Arms Race Escalate s , " p . B S .
           21 .    Interview with ATF spokesperson Tom Hill , August 1 9 88 .
           22 .   American Industries advertisement , F irepower, ( September
                  198 8 ) , inside back cover.
           23 .   Informat ion obtained from American Industries , 4 05 East
                  19th Street , Bakersfield , Cal ifornia , August 19 88 .
           24 .    Street sweeper advert isement , Shotgun News , (January 2 0 ,

I
                  198 8 ) , p . 154 , 155 .

           25.     "The Arms Race in Your own Back Yard , " p . 24 .
           26 .    Interview with DEA spokesperson Maurice Hil l , July 1 9 8 8 .
           27 .    Interview with ATF spokesperson Tom Hill , July 1 98 8 .
           28 .   McGuire , Phillip c . , "Jamaican Posses : A Call for
                  Cooperation Among Law Enforcement Agencies , 11 The Pol ice
                  Chief , (January 198 8 ) , p . 22 .
           29 .    Coates , p . 1 3 6 .
           30.     Coates , p . 14 3 .
           31.     "Suspect Denies Having Role in Plot to Kill Jackson , "
                  Detroit Free Press , ( May 19 , 198 8 ) , p . 1 6A .
           32 .    Information obtained from the National Coalition to Ban
                  Handguns .
           33.     Information obta ined from Bureau of Alcohol , Tobacco and
                  Firearms .

I
I                                                 35
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 107

                                                                                    I
                                    of 396




                                                                                    I
     34 .     Information obtained from the Bureau o f Alcohol , Tobacco

     35.
             and Firearms .
              Information obtained from the National Coal ition to Ban
                                                                                    I
     36.
             Handguns .
              Information obtained from the National Coal ition to Ban
                                                                                    I
                                                                                    I
             Handguns .
     37 .     "Mil itarism in America , " The Defense Monitor, Volume xv,
             Number 3 , p . l .
     38 .    Interview with Daniel Amundson , September 198 8 .                     I
                                                                                    I
     39.     Interview with Daniel Amundson , July 198 8 .
     40.      Production figures obtained from the Bureau of Alcohol ,
             Tobacco , and Firearms by the Educational Fund to End
             Handgun Violence under the Freedom of Information Act .
     41.     Information obta ined from the National Coalition to Ban Handguns .
     42 .    Colt Industries advertising flyer . -
     43 .    Heckler & Koch advertising flyer .
     44 .    F . I . E . advertisement , Firepower , ( September 198 8 ) , inside
             front cover .
      45.     Daisy 19 8 6 Airguns , Ammo and Accessories Catalog .
             Obtained from Daisy Manufacturing Company , Inc . , Rogers ,
             Arkansas , 7 2 7 57-02 2 0 .
      46.    Crosman Airguns 1987 catalog . Obtained from Crosman
             Airguns , Routes 5 & 2 0 , East Bloomfield , New York , 14 4 4 3 .
      47 .    Lare International advertisement , Shotgun News , (January
             2 0 , 19 8 8 ) , p . 1 14 .
      48.    Command Post , Inc . , Firepower , ( September 1987 ) , p . 63 .
      49 .    Daisy 19 8 8 Toy Gun catalog . Obtained from Daisy
             Manufacturing Company , Inc . , Rogers , Arkansas , 72 7 57-02 2 0 .
      50 .    Interview with IACP spokesperson Weridy Howe , July 19 8 7 .
      51 .   Interview with Daisy spokesperson David Lewis , August
             198 8 .
      52 .
      53 .
              Interview with Everett Moore , July 19 88 .
              American survival Gu ide , (August 198 8 ) , p . 4 .
                                                                                    I
      54 .    American survival Guide , p . 6 6 .


                                            36
        Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 108

    I                                       of 396



    I
              55 .    Interview with American survival Guide spokesperson , July
                      198 8 .

               56 .   Adair, James B . , " The Amaz ing Soft-Drink Si lencer , " Eagle ,
I              57 .
                      (October 198 3 ) , p . 14 , 1 5 .
                      Special Weapons , ( 19 8 8 a nnual ) , ins ide front cover .
               58.    Special Weapons , p . 2 .
               59.    Steele , Dav i d , "The O ffens ive Handgun , " Special Weapons ,
                               p . 68 .
                      ( 19 8 8 ) ,

               60 .   Steele , p . 6 9 .

I              61 .   Steele , p . 7 0 .


I
               62 .   Soldier of Fortune , (August 198 8 ) , p . 1 .
               63 .   Soldier of Fortune , p . 1 .
               64 .    " Soldier of Fortune Maga z ine is sued over Sl aying , 11 New
                      York Times , ( February 14 , 198 8 ) , p . 27 .
               65 .    "Magaz ine i s Ordered to Pay $ 9 . 4 Million , 11 · The New York
                      Times , (March 4 , 198 8 ) , p . A12 .
               66 .   New Breed , (July/August 1 9 8 8 ) , p . 5 .
               67 .   Haire , Chad A . , " Shot Show 1988 , " New Breed , (July/August
                              p . 16 .
                      198 8 ) ,

               68 .    Information obtained f rom the National Coa l ition to Ban
                      Handguns .
               69 .   J . Bird Manufacturing a dvertisement , Shotgun News , (July
                                 p . 78 .
                      2 0 , 198 8 ) ,


I              70 .   Nat ional Vanguard Books advertisement , Shotgun News ,
                      (January 2 0 , 198 8 ) , p . 8 4 .


I
               71.    Survival Systems book catal og , #701, ( 19 88 ) , p . 2 .
                      Obtained from Survival systems , P . O . Box 3 03 09 , Phoeni x ,
                      Arizona , 850 4 6 .
               72 .   survival Systems , p . 2 .
               73 .   Survival Systems , p . 1 2 .
               74 .   Survival Systems , p . 1 2 .
               75 .    Survival Systems , p . 1 9 .
I
I                                                     37
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 109
                                    of 396




     76.     Paladin Pre ss catalog , Vol . 18 , No . 1 , p. 2 4 . Obtained
                                                                                         I
                                                                                         I
            from Paladin Pr es s , P . O . Box 1 3 07 , Bould e r , Col orado ,
            8 03 0 6 .
     77 .   Paladin Pr e s s , p . 2 0 .
     78 .   Palad in Pre ss , p . 2 3 .                                                  I
                                                                                         I
     79 .   Pa ladin Pr e ss , p . 2 6 .
     so.    Paladin Pre ss , p . 3 4 .
     81.    Paladin Pre ss , p .    14 .

     82.    . Dese rt Publ ications adv e rti s ement , Fir epowe r , (July 1987 ) ,
            p. 99.
     83 .   Int e rvi ew with Ev e r e tt Moor e , July 19 88 .
     84.     Th e Right Stuff , Pho e nix Syst ems Inc . , p . 14 . Catalog
            obta in ed from Phoe nix Syst ems Inc . , P . O . Box 3 3 3 9 ,
            Ev e rgree n , Colorado , 8 0 4 3 9 .
     85.    Th e Right Stuff , p . 15 .
     86 .   Th e Right Stuff , p . 18 .
     87 .   Th e Right Stuff , p . 2 7 .
     88 .    BMF Activator adverti s ing l iterature . Lit e rature rec e ived
            from BMF Activator , P . O . Box 2 62 3 64 , Hou s ton , T e xas ,
            7 7 2 07 .
     89 .    Orph eu s Industri e s adv e rt i sing lit e ratur e . Literature
            r e ce iv e d from Orpheu s Industri e s , P . O . Box 1415 , Montro s e ,
            Colorado , 8 1 4 0 2 .
     90 .    Fir e arms syst ems and De s ign , Inc . adv e rt is ement , Shotgun
            N ews , (June 1 , 1 9 88 ) , p . 9 7 .
     91.    API Marke ting Inc . adverti s ing literature . Lit e rature
            r e ce ived from API Marketing Inc . , 1600 Monrovi a Ave nu e . ,
            N ewport Be ach , Cal i fornia , 9 2 6 6 3 .
     92 .    Kephart Publ ications advert i s ement , Shotgun N ews , (June
            2 0 , 198 8 ) , p . 166 .
     93 .   Th e Anite co . adve rtis eme nt , Firepower , (January 198 8 ) ,
            p. 91 .

     94 .   MWG Company adverti s em e nt , Shotgun News , (Jun e 1 , 1988 ) ,
            p . 14 8 . Pricing informati on obtained from MWG Company ,
            Miami , Florida , S e ptemb e r , 1 9 8 8 .


                                              38
    Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 110

I
                                        of 396



I
I         95 .     Mail Order Video advertisement , Firepower , (January
                   1988 ) , p . 3 .


I
          96.      Gilbert , Wayne R . , Deputy Assistant Director , Criminal ­
                   Investigative Division , Federal Bureau of Investigation ,
                   opening statement before the Subcommittee on Security and
                   Terrorism , Committee on the Judiciary, United States
I                  Senate , (October 2 , 19 8 5 ) . Obtained from the Center for
                   De fense Information , 1500 Massachusetts Ave . , NW ,
                   Washington , D . C . , 2 0 03 6 .
           97 .     Denton , Jeremiah , U . S . Senator , statement before the
                   Subcommittee on Security and Terrorism , Committee on the
                   Judiciary , . United States Senate , (October 2 , 198 5 ) .
                   Obtained from the Center for Defense Information , 1500
                   Massachusetts Ave . , NW , Washington , D . C . , 2 0 0 3 6 .
          98 .     "Combat Schools Sprout in America ' s Backwoods , " U . s . News
                   & World Report ,(October 14 , 1 9 8 5 ) , p . 72 .
          99 .     "Combat Schools Sprout in America ' s Backwoods , " p . 7 3 .
           100 .    "AOL Paramilitary Training Statute : A Response to
                   Extremism , " AOL Law Report , ( Fall , 19 8 6 ) , p. l . Obtained
                   from the Anti-Defamation League of B ' nai B ' rith , 8 2 3
                   United Nations Plaza , New York , NY , 10 017 .
           101.     "AOL Paramil itary Training statute :     A Response to
                   Extremism, " p . 1 .
           102 .    Hartnett , Daniel M . , Acting Deputy Associate Director , Law
                   Enforcement , Bureau of Alcohol , Tobacco and Firearms ,
                   statement before Subcommittee on security and Terrorism ,
                   Committee on the Judiciary , United States Senate , ( October
                   2 , 198 5 ) . Obtained from Center for Defense Information ,
                   1500 Massachusetts Avenue , NW, Washington , DC , 2 0 03 6 .
           103 .    "AOL Paramil itary Training Statute :     A Response to
                   Extremism , " p . 3 .
           104 .    Press Release , Anti-De famation League of B ' nai B ' rith ,
                   ( October 3 0 , 19 8 6 ) .
           105 .    "AOL Paramil itary Training Statute :     A Response to

I
                   Extremism , " p . 4 •
           106 .    "AOL Paramil itary Training Statute : A Response to
                   Extremism, " p . 7 -12 . Additional information obtained from
                   AOL , July , 1987 .
           107 .    " Paramilitary Training Legis lation" fact sheet , Nat ional
                   Rifle Association , p. 1 . Rece ived from the National Ri fle
                   Association Institute for Legislative Action , 1 6 0 0 Rhode
                   Island Avenue, NW , Washington , o.c. , 2 0 03 6 .

I                                                 39
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 111

                                                                                      I
                                    of 396




     108 .     Brigade Security Forces pamphlet . Literature received
                                                                                      I
              from Brigade Security Forces , P . O . Box 12 3 7 , Mooresvil le ,
              North Carol ina , 2 8 115 .                                             I
                                                                                      I
     109 .     Information obta ined from the National Coal ition to Ban
              Handguns .
     110 .     Semi-Auto Arms--The citi zen ' s Choice , National · Rifle
              Association Inst itute for Legisl ative Action , (June
              198 7 ) , p . 1 .                                                       I
     111 .
     112 .
              Semi-Auto Firearms--The Citizen ' s Choice , p . 11 .
              Semi-Auto Firearms--The Citizen ' s Choice , p . 17 .
                                                                                      I
     113 .     "NRA to Fight Machine Gun Ban , " Monitor , Volume 13 , Number
              13 , (August 15 , 198 6 ) , p . 1 . The Monitor is a publ ication
              of the National Rifle Association ' s Institute for

     114 .
              Leg islative Action .
               "NRA to Fight Machine Gun Ban , " p . 3 .
                                                                                      I
     115 .     "NRA to Fight Mach ine Gun Ban , " p . 3 .
     116 .     "NRA to Fight Machine Gun Ban , " p . 3 .
     117 .     "NRA to Fight Mach ine Gun Ban , " p . 1 .
     118 .     " Drug Thugs and Rambo Guns , " The New York Times , ( August
              1, 1 9 8 8 ) , p. A14 : "War on Drugs , War on Guns , " The New
              York Times , (August 2 8 , 1 9 8 8 ) , p . 2 2 .
     119 .     Interview with Citizens Committee for the Right to Keep
              and Bear Arms Executive Director John Hosford , July 19 8 8 .
              Additional information obta ined from staff member Jan
              Grant , September 198 8 .
     12 0 .    Handgun Control Inc . organization brochure , obta ined from
              Handgun Control Inc . , 1 2 2 5 I Street , NW , Suite 1100 ,
              2 0005 . Addit ional information obtained from HCI
              Communications Director Barbara Lautman .
     12 1 .    Interview with National coal ition to Ban Handguns
              Pres ident Michael K . Beard , September , 1988 .
     122 .     Interviews with Arnetta Porter , Poiice Foundation , 1001
              2 2 nd Street , NW, suite 2 0 0 , 2 00 3 7 , August 1988 , S eptember
              1988 .
     123 .     Interview with Martha Plotkin , Pol ice Executive Research
              Forum , 2 3 00 M street , NW , suite 9 10 , Washington , D . C . ,
              2 0 037 , August 19 8 8 .



                                           40
    Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 112

I
                                        of 396




I         124 .      Interview with Helen Mans field , office o f Cali fornia
I         125 .
                    Assemblyman Michael Roos , August 1 9 8 8 .
                     Interview with David Cooney , attorney for the estate of

I
                    David Bengston , August 1 9 8 8 .

           12 6 .    "Maryland Court Ruling Could Ban Handguns , " The Banner ,
I                   ( 19 8 5 ) , p . 1 . The Banner i s the newsletter of the
                    National Coalit ion to Ban Handguns .


I
          127 .     "Guns , Guns , Guns , " NBC News documentary , July 5 , 19 8 8 .
          12 8 .     "Jackson Talks of Hope , Dreams As He Weaves ' Quilt o f
                    Unity , ' " Congressiona l Quarterly , (July 2 3 , 198 8 ) ,
I         129 .
                    p . 2059 .
                     "Public Continues to Favor Stringent curbs on Handguns , "
                    The Gallup Pol l , (May 11 , 1 9 8 6 ) .
          130.       Information obtained from the National Coal ition to Ban .
                    Handguns .
I         13 1 .     "The Maryl and Handgun Roster Law , " p ress release , issued
                    by the Office of the Attorney Genera l , Baltimore ,
                    Maryland .
          132 .      Long , Duncan , As sault Pisto l s , Rifles and Submachine Guns ,
                    Citadel Press , Secaucus , ( 19 8 6 ) , p . 8 9-9 8 . Additional
                    information obtained from PTK International , Inc . , 2 8 14
                    New Spring Road , Suite 3 4 0 , P . O . Box 724 827 , Atlanta ,
                    Georgia , 30 3 3 9 .
          133 .      Al l prices quoted are based on information received from
                    Virginia and Cal i fornia gun stores .
          134 .      Information obtained from Colt Industrie s , P . O . Box 18 6 8 ,
                    Hartford , CT , 06101 .
          13 5 .     Long , p . 2 1-2 4 . Additional inform from firearms product
                    l iab i l ity attorney D . Michael Hancock , S eptember 1988 .
          13 6 .     Cobray advertisement , Shotgun News , (July 1 , 1 9 8 8 ) ,
                    p . 143 .
           137 .    Long , p . 2 1-2 4 .
           13 8 .    Information obtained from Sturm, Ruger & Company ,
                    Southport , Connecticut , 0 6 4 9 0 .
          139 .      Long , p . 4 1-4 3 . Additional information obtained from
                    Intratec , 1 1 9 9 0 s .w. 128 street , Miami , Florida , 3 3 18 6 .




                                                     41
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 113
                                    of 396




     14 0 .    Intratec advertising brochure . Obtained from Intratec ,
              1 1 9 9 0 s . w . 1 2 8 Street , Miami , Florida , 3 3 186 .
     14 1 .    Long , p . 4 8 -5 1 . Additional information obtained from
              Action Arms , P . O . Box 9 57 3 , Philadelphia , Pennsylvan ia ,
              1 9 1 2 4 , August 1988 .
     14 2 .   Action Arms advertisement , Gun World , {April 198 8 ) , p . 3 5 .
     14 3 .    Blackman , Paul , "Mugged by the Media , " American Rifleman ,
              {April 1987 ) , p . 3 4 .
                                                                                    I
     14 4 .    Information obta ined from Bureau o f Alcohol , Tobacco and
              Firearms .                                                            I
     14 5 .    Information obtained from the National Coal ition to Ban
              Handguns .                                                            I
     14 6 .    Hunting Sa fety and Conservation Program , National Rifle
              Association , { 19 7 3 / revised 197 6 ) , p. 19 .                    I
     147 .     Information obtained from Bureau of Alcohol , Tobacco and

     14 8 .
              Firearms .
              Hunter Safety and Conservation Program , p . 2 0 .
                                                                                    I
     14 9 .    Information obtained from the National Coal ition to Ban
              Handguns .
                                                                                    I




                                              42
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 114
                                    of 396




                      EXHIBIT E
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 115
                                    of 396




       BULLET HOSES
       SEMIAUTOMATIC ASSAULT WEAPONS




       What Are They? What's So Bad About Them?




                                        � Violence Policy Center
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 116
                                    of 396
   The Violence Policy Center (VPC) is a national non-profit educational organization that
   conducts research and public education on firearms violence and provides information and analysis to
   policymakers, journalists, advocates, and the general public. The Center examines the role of firearms in
   America, analyzes trends and patterns in firearms violence, and works to develop policies to reduce gun-related
   death and injury.

   This report was authored by VPC Senior Policy Analyst Tom Diaz and edited by VPC Publications Coordinator
   Aimee Stenzel.

   This study was funded in part with the support of The David Bohnett Foundation, The California Wellness
   Foundation, The George Gund Foundation, The Joyce Foundation, The John D. and Catherine T. MacArthur
   Foundation, and The Streisand Foundation. Past studies released by the VPC include:

   •       "Officer Down''-Assau/t Weapons and the War on Law Enforcement (May 2003)
           Firearms Production in America 2002 Edition-A Listing of Firearm Manufacturers in America with
           Production Histories Broken Out by Firearm Type and Caliber (March 2003)
           "Just Like Bird Hunting''-The Threat to Civil Aviation from 50 Caliber Sniper Rifles (January 2003)
           When Men Murder Women: An Analysis of 2000 Homicide Data (October 2002)
           No Deal: The Drop in Federally Licensed Firearms Dealers in America (September 2002)
   •       Sitting Ducks-The Threat to the Chemical and Refinery Industry from 50 Caliber Sniper Rifles
           (August 2002)
           License to Kill IV: More Guns, More Crime (June 2002)
           American Roulette: The Untold Story of Murder-Suicide in the United States (April 2002)
           The U.S. Gun Industry and Others Unknown-Evidence Debunking the Gun Industry's Claim that
           Osama bin Laden Got His 50 Caliber Sniper Rifles from the U. S. Afghan-Aid Program (February
           2002)
           "A . 22 for Christmas''-How the Gun Industry Designs and Markets Firearms for Children and
           Youth (December 200 1 )
           Kids in the Line of Fire: Children, Handguns, and Homicide (November 200 1 )
           Unintended Consequences: Pro-Handgun Experts Prove That Handguns Are a Dangerous
           Choice For Self-Defense (November 200 1 )
           Voting from the Rooftops: How the Gun Industry Armed Osama bin Laden, Other Foreign and
           Domestic Terrorists, and Common Criminals with 50 Caliber Sniper Rifles (October 200 1 )
           Shot Full of Holes: Deconstructing John Ashcroft's Second Amendment (July 200 1 )
           Hispanics and Firearms Violence (May 200 1 )
           Where'd They Get Their Guns?-An Analysis of the Firearms Used in High-Profile Shootings,
           1 963 to 2001 {April 200 1 )
           A Deadly Myth: Women, Handguns, and Self-Defense (January 200 1 )
           Handgun Licensing and Registration: What it Can and Cannot Do (September 2000)
           Pocket Rockets: The Gun Industry's Sale of Increased Killing Power (July 2000)
           Gun/and USA: A State-by-State Ranking of Gun Shows, Gun Retailers, Machine Guns, and
           Gun Manufacturers (June 2000)
           Guns For Felons: How the NRA Works to Rearm Criminals (March 2000)
           One Shot, One Kill: Civilian Sales of Military Sniper Rifles (May 1 999)
           Cease Fire: A Comprehensive Strategy to Reduce Firearms Violence (Revised, October 1 997)

                                                Violence Policy Center
                                          1 1 40 1 9th Street, NW, Suite 600
                                               Washington, DC 20036
                                                 202-822-8200 phone
                                                   202-822-8205 fax
                                                   www.vpc.org web

                                                   ©May 2003
                                              Violence Policy Center
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 117
                                    of 396




             TEN KEY POINTS ABOUT WHAT ASSAULT WEAPONS ARE
                       AND WHY THEY ARE 50 DEADLY

   This study documents the following 1 0 important key points on the pages noted .

    1 . Semiautomatic assault weapons (like AK and AR-1 5 assault rifles and UZI and
   MAC assault pistols) are civilian versions of military assault weapons. There a re
   virtually no sign ificant d ifferences between them . (Page 1 )

    2. Military assault weapons are "machine guns." That is, they are capable of ful ly
   automatic fire. A mach ine g un will continue to fire as long as the trigger is held down
   until the ammunition magazine is empty. (Page 1 )

    3. Civilian assault weapons are not machine guns. They are semiautomatic
   weapons. (Since 1 986 federal law has ban ned the sale to civilians of new mach i ne
   guns.) The trigger of a semiautomatic weapon must be pu lled separately for each
   round fired . It is a mistake to call civilian assault weapons "automatic weapons" or
   "mach ine g uns." (Page 1 )

    4. However, this is a distinction without a difference in terms of killing power.
   Civilian sem iautomatic assault weapons incorporate all of the functional design
   features that make assault weapons so deadly. They are arguably more deadly than
   military versions, because most experts agree that semiautomatic fire is more
   accurate-and th us more lethal-than automatic fire. (Pages 1 , 5-6, 1 1 - 1 4)

    5. The distinctive "look" of assault weapons is not cosmetic. It is the visual result
   of specific functional design decisions. Military assault weapons were designed and
   developed for a specific military purpose-laying down a high volume of fire over a wide
   killing zone, also known as "hosing d own" an area. (Pages 2-6)

    6. Civilian assault weapons keep the specific functional design features that make
   this deadly spray-firing easy. These functional features also distinguish assault
   weapons from traditional sporting guns. (Pages 5-1 0)

    7. The most significant assault weapon functional design features are : ( 1 ) ability to
   accept a high-capacity ammunition magazine, (2) a rear pistol or thumb-hole grip,
   and, (3) a forward grip or barrel shroud. Taken together, these are the design
   features that make possible the deadly and indiscriminate "spray-firing" for which
   assault weapons are designed . None of them are features of true hunting or sporting
   g u ns. (Pages 5-6)

   8. "Spray-firing" from the hip, a widely recognized technique for the use of assault
   weapons in certain combat situations, has no place in civil society. Although assault
   weapon advocates claim that "spray-firing" and shooting from the hip with such
   weapons is never done, numerous sources (including photographs and d iagrams)
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 118
                                    of 396




   show how the fu nctional design featu res of assault weapons are used specifically for
   this purpose. (Pages 1 2-1 4)

    9. Unfortu nately, most of the design features listed i n the 1 994 federal ba n-such
   as bayonet mou nts, g renade launchers, threaded barrels, and flash
   suppressors-have nothing to do with why assault weapons are so deadly. As a
   result, the gun i nd ustry has easily evaded the ban by simply tinkering with these "bells
   and wh istles" wh ile keeping the functional design features listed above. (Page 1 4)

   1 0. Although the gun lobby today argues that there is no such thing as civilian
   assault weapons, the gun industry, the National Rifle Association, gun magazi nes,
   and others in the gun lobby enth usiastically described these civi lian versions as
   "assault rifles," "assault pistols," "assault-type," and "military assault" weapons to
   boost civilian assault-weapon sales th roughout the 1 980s. The industry and its allies
   only began to use the semantic argument that a "true" assault weapon is a machine
   gun after civilian assault weapons turned up in i nord i nate numbers in the hands of
   d rug traffickers, criminal gangs, mass m u rderers , and other dangerous crim inals.
   (Pages 1 4- 1 6)




                                               ii
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 119
                                    of 396




                        WHA T IS A SEMIAUTOMA TIC ASSA UL T WEAPON?

   Semiautomatic assault weapons are civilian versions of automatic military assau lt rifles
   (like the AK-47 and the M- 1 6) and automatic military assault pistols (like the UZI).

                                                                              Assault Weapons



                                                                                        DIRECT FROM CHINA
                                                                                      • AKM-47/S RIFLE
                                                                                                                   .              AVAILABLE IN
                                                                                                                                  T.62 1 Ii AND �56
                                                                                                                                  STRAIGHT Oft FOLDING STOCK
                                                                                       THE GUN THAT HAS SEEN MORE SERVICE
                                                                                       USE THAN ANY OTHER RIFLE IN THE WORLD AND IS STILL IN USE TODAY.
                                                                                                  SEE YOUR DEALER FOR FURTHER INFORMATION
                                                                                               LAW ENFORCEMEHT ANO DEALER INQUIRIES WELCOMED
                                                                                         SILE INC         IMPORTER OF FINE FIREARMS
                                                                                                        • 7 CENTRE MARKET PLACE, NEW YORK, NY 10013
              Stan,lard IJ:(j(ll•I :\K-�7 ,\�1i,1Ult IUflc, will! �0-r,,!in.J i;ox
                                                                                                          TELEPHONE 212/925-4111
              mugrizme,                                                                     � & "MMO/DE.CEMBER 1965



              Military AK-47                                                                          Civilian AK-47
              Assault Rifle                                                                           Assault Rifle

   These guns look the same because they are virtually identical, save for one feature:
    m i litary assault rifles (like the rifle on the left above) are mach ine guns. A machine
   gun fires continuously as long as its trigger is held back-until it ru ns out of
   a m m u n itio n. Civilian assau lt rifles (like the g u n on the right) are semi-automatic
   weapons. The trigger of a sem iautomatic weapon must be pulled back separately for
   each round fired .

   Because federal law has banned the sale of new machine guns to civilians since
   1 986,8 and heavily reg ulates sales to civilians of older model machine guns, there is
   virtually no civil ian market for military assault weapons. The gun industry introduced
   semiautomatic versions of military assault weapons in order to create and exploit new
   civilian markets for these deadly weapons. The next section explains why civilian
   semiautomatic assault weapons are no less deadly than military automatic assault
   weapons. In fact, they are arg uably even more dead ly.




      a See, 1 8 U.S. Code, Section 922(0).
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 120
                                    of 396




          WHA T'S SO BAD ABOUT SEMIAUTOMA TIC ASSA UL T WEAPONS?

   Assault weapons d id not "just happen ." They were developed to meet specific com bat
   needs. All assault weapons-military and civilian alike-incorporate specific featu res
   that were designed to provide a specific military combat function . That military
   fu nction is laying down a high volume of fire over a wide killing zone, also known as
   "hosing down" an area. Civilian assault weapons keep the specific desig n features
   that make this deadly spray-firing easy. These features also distinguish assault
   weapons from trad itional sporting firearms.


                 Assa ult Weapon Design Follows Specific Com bat Function




                               Assault rifles are used for sustained fire action at
                               relatively close range (under 1 00 meters bei ng the
                               norm) . H ere Russian troops engage targets with
                               their A K-47/A KM assault rifles.


   Illustration and caption from Chuck Taylor, The Fighting Rifle: A Complete Study of the Rifle in Combat
   ( Boulder, CO: Paladin Press, 1 984 ): 1 66.



   The distinctive "look" of assau lt weapons is not merely "cosmetic," as the gun lobby
   often arg ues-the assault weapon's appearance is the resu lt of the design of the g u n
   followi ng its function . A brief sum mary of how assault weapons came into being
   makes clear the reason for, and the nature of, their d istinctive design features.




                                                         2
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 121
                                    of 396




   The problem of trench warfare. The roots of military
   assault weapons lie in the trench fig hting of the First World
   War. The sta ndard infantry weapon of that conflict was the
   long-range battle rifle. "I nfantryme n in most armies were
   eq uipped with h igh-powered rifles :     long , unwieldy, but
   accurate to ranges of 1 , 000 m (3,280 ft) or more. But a
   long weapon was a definite hand icap in the close-quarter
   fighting of the trenches, and long-range capability was
   wasted when combat usually took place at ranges of tens
   of metres or less." 1

   Right-Troops i n a World War I trench, fixing bayonets on battle rifles.
   Below-Springfield Model 1 903, the U.S. Army's main battle rifle in
   World War I.




                                                                  Submachine guns-the
                                                                  intermediate step. When
                                                                  armies bogged down in the
                                                                  World War I trenches,
                                                                  weapons designers looked
                                                                  for ways to break the
                                                                  bloody stalemate. Among
                                                                  them was the submachine
   g u n , designed to be a "compact, fast-fi ring , short-range weapon" for use in the
   trenches and by highly mobile storm troops in new tactical formations. 2 Accord ing to
   the Illustrated Book of Guns, "A submachine gun (SMG) is a close-range, automatic
   weapon, firing pistol cartridges (e. g . , 9mm Parabellum), and is compact, easy to carry,
   and light enough to be fired from either the shoulder or
   the hip." 3

   Among some fam ous American submachine guns are the more finely
   machined Thompson, or "Tommy Gun," shown on the right in the
   hands of British Prime M inisterWinston Churchill, and its successor,
   the mass-produced M3 "Grease Gun," s hown below. Both are
   chambered in .45ACP, a pistol cartridge.




                                                      3
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 122
                                    of 396




   The final ste�the first assault rifle. The last step in the evolution of the military
   assault rifle came d uring the Second World Wa r. It grew out of the German military's
   pre-war interest in "obtain ing a relatively hig h-power intermed iate or mid-range
   cartridge and corresponding weapon for infantry application."4 (Emphasis added). On
   the one hand , the submachine gun was useful in close-range fighting, but the pistol
   cartridge it fired (typically 9mm) lacked power and range. On the other, German
   military thinkers realized that the battle rifle was too much g u n for modern com bat
   scenarios: "Since most infantry action took place at ranges u nder 400 meters, the
   long-range potential of the standard cartridge and service rifle were actually wasted ." 5
   There were also log istical problems in supplying armies in the field with different kinds
   of rounds of ammunition: the larger rifle cartridges for the battle rifle and the smaller
   pistol cartridges for the submachine guns. 6

                                          Germ a n M P-40 9mm
                                          submachine at left, and
                                          M auser Karabiner 98k
                                          battle rifle below. Both
                                          guns shown in the field
                                          with French Nazi soldiers
                                          at right.




   The solution to these log istical and firepower problems practically suggested itself:

          Logically, it was inescapable that sooner or later someone would
          consider a compromise between the long range, powerful , rifle and the
         _rapid fire, but short range, submachine gun . During their Operation
          Barbarossa (Russian) campaign and elsewhere, the Germans were
          contin ually reminded of the ever-increasing need for a rapid fire arm that
          was small enough to be convenient to hand carry, but at the same time
          possessed sufficient range and power to be adequate out to about 200
          meters. 7

   The result of German research and development was that very comprom ise. It cam e
   in the form of the STG (Sturmgewehr) ("storm gun") 44, the "father of all assault
   rifles . . . . After the war it was examined and d issected by almost every major gunmaking
   nation and led, in one way and another, to the present-day 5 . 56mm assault rifles." 8



                                                 4
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 123
                                    of 396




                       THE "FA THER OF ALL ASSA UL T RIFLES"




                               Above, the Nazi army's Stu rmgewehr (STG) 44, the first assault rifle.
                                                             Below, the STG 44 i n com bat action.



   Deadly designs. One th ing leaps out from
   these pictures : the remarkable similarity of
   the first assault rifle to the assault rifles
   currently flood ing America's streets . This
   family resemblance is not a coincidence.
   From the STG-44 "storm g un" to the
   Bushmaster XM- 1 5, assau lt weapons have
   i ncorporated into their design specific
   featu res that enable shooters to spray
   ("hose down") a large n um ber of bullets
   over a broad killing zone, without having to
   aim at each individ ual target.        These
   features not only give assault weapons a
   d istinctive appearance, they make it easy to simply point the gun while rapid ly pulling
   the trigger-including firing from the hip, a proced ure seldom used in hu nting anyth ing
   but human beings. The most important of these design features are:

         o       "High-capacity, " detachable ammunition magazines (often called "clips")
                that hold as m any as 75 rounds of ammu nition . 'Th is allows the high
                volume of fire critical to the 'storm gun ' concept." 9
         o      A rear pistol grip (handle) , includ ing so-called "th umb-hole stocks" and
                magazines that fu nction like pistol g rips .
         o      A forward grip or barrel shroud. Forward grips (located u nder the barrel
                or the forward stock) "give a shooter greater control over a weapon
                d uring recoil." 1 ° Forward grips and barrel shrouds also make it possible
                to hold the g u n with the non-trigger hand, even through the ba rrel gets
                extremely hot from firing multiple rounds. In the case of assault p istols


                                                 5
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 124
                                    of 396




                  (like the UZI , MAC , and l ntratec TEC series) the forward grip often
                  appears as an ammunition magazine or a barrel shroud , a vented tube
                  surrounding the gun barrel.




                                         For !hose \\ho 01rn lht' h.i C';trbinc,
                                         E,'{L Manufacturing offers a li�l11-
                                         \1ri�ht aluminum �hroml (sho,\n hc1'l'
                                         1\llh fornard pi:-.lnl �rip and EK14)s
                                         bnm rnlchcr). (l'hul(1 rrnu te.,) ol
                                         E&L \lrinufatlurinr,:.J




   Barrel s h rouds make it possi ble to hold a hot barrel
   d uring fi ring (right). Forward pistol grips help control
                                                                                   Harrel shrouds like t h e one on I his g u n rlo lilflc hallisti­
   recoil (above). Images and captions from Duncan                                 cally, but they do provide a safe plarc to rest lhc off
   Long, The Terrifying Three. 1 1                                                 hand for lhosc w ishing lo grip the barrel or lhc l i rcarm
                                                                                   during firing.



                                                                                                   M i litary assault rifles, like
                                                                                                   this Heckler & Koch G41
                                                                                                   invariably accept a high­
                                                                                                   capacity magazine ("clip")
                                                                                                   and have some form of
                                                                                                   pistol grip and fore-end
                                                                                                   grip.



   Barrel shrouds, like the one o n the right
   sold by Bushmaster Firearms for use on
   the UZI, are "ventilated all around for
   maximum heat d issi pation."




   These design featu res create the
   ability to quickly lay down a h ig h volume of fire, making sem iautomatic assault
   weapons a particularly dangerous add ition to the civilian g u n market. They explain
   why assault weapons are favored by terrorists, mass killers, and violent crim inals, and
   they d isti nguish such weapons from true hunting and target guns.




                                                               6
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 125
                                    of 396




        MODERN D ESCENDANTS OF THE STG-44 ON AMERICA'S STREETS

   Most of the assault weapons sold on America's civilian market are semiautomatic
   descendants of the STG-44. Here are a few of the more popular and notorious.

   Kalashnikov AK-47 and its variants. The Soviet Army's AK-4 7 was derived from the
   STG-44 shortly after the Second World War, boosted by material and personnel that
   fell into Soviet hands when the Red Army overran German research and engineering
   facilities. 1 2 The AK-47 (in many variants , like
   the AKM) has become, since the 1 940s, the
   most widely-distributed rifle in the world . 1 3
   According to The Gun Digest Book of Assault
   Weapons:

   "The AKM was the revolutionary weapon of
   the 1 960s and '70s, used by everyone from
   the Viet Cong to the Palesti ne Liberation
   fighters. Its com paratively short length and
   lig ht weight made war more available to Third
   World women and child ren, probably n ot an
   advance for civil ization ." 1 4
                                                 Above: AK-47, foreground, AKM , upper right background.



   China exported few guns to
                                                 ( : h i 11c1 accm 1 1 1tcd fo r fort y - two p en.:c11t oLdl ri fles i m p orted i 1 1 t o
   the Un ited States before              i l 1 e l ! . S. civ i l ia11 markr t l 1 c tw1;c11 1 9 k 7 and 1 9 9 4 , t l i c y ear i 1 t which
   the 1 980s. But, beginning             l > n:s i dcn t C l i n ton fi 1 1all y blocked t l 1 e ( : hiucsc gu 1 t d u mping (see
   in 1 9 8 7 , C h i nese rifle          T'.1b le S ) .
   i m p o rt s - m o s t l y s e m i ­
   automatic versions of the                                                          Tcthk 8

   AK-47-surged . The flood                           Rilk l 11111orts from China lo the l J nitcd State.�, 1987 199�
   of Chinese rifles reached
   64 percent of all rifles
   imported into the United               I /lS7                 •/ 'il.O'i'I                    1 00.,�'17
                                          I <IS ,"i                / ,S ,J.97ti                   l ,':i:Ul:'J'i
   States in 1 993 and was                / 'IS()                ·,r,o.o 1 2                      1 4 I .. JS:!
   o n l y c u t off b y t h e            1 '1!)11               '.!TU il'.!                        J i ..'J 7()
   a d m i n istration of former          l !l'l l               'l.')IJ,(l(i!i                   / J r,_<J0:2
                                          1 ! 1!)2                 1 :20 ,0k'i                    l li L2 7 1
   President Bill Cli nton. (See                                 7ri'l ,,l!JS                    -WO,:JH!l
                                          / ')!J i
   table at right.) 1 5                   / < l'l-1              li'JS,!) ( 1 7                  :1 1 - 1 ,(i l/ -{
                                          / 'ot;i/              > ,7S:l,li0'i                  I .�7 1 ,kO I




                                                            7
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 126
                                    of 396




   AR-15 Variant of the M-16. The U . S . Army's decision in the 1 960s to replace its M-1 4
   battle rifle with the M-1 6 assault rifle was based o n reasoning similar to the German
   army's and highly revealing of the function of assault weapons. After studying over
   three million casualty reports from World Wars I and I I , and data from the Korean War,
   the Army's Operations Research Office (ORO) found that, "in the overall picture, aimed
   fire d id not seem to have any more im portant role in creating casualties than randomly
   fired shots. Marksmanship was not as important as volume. Fire was seldom
   effectively used beyond 300 meters due to terrai n . . . and [ORO] d iscovered that most
   kills occur at 1 00 meters or less. From this data, ORO concluded that what the Army
   needed was a low recoil weapon fi ring a number of small projectiles . . . . The [Armalite]
   AR- 1 5 was chosen as the best small caliber weapon and it was ad opted as the M 1 6." 1 6

   The U.S. Army adopted the
   M-1 6 assault rifle, rig ht, in
   the 1 960s.         I t s aw
   extensive service du ring
   the Vietnam War.

   Another       e x p e rt ' s
   explanation of the Army's
   reasoning sheds light on one of the pri ncipal dangers of assault weapons on civilian
   streets-"spray and pray" firi ng:

           The studies showed that. . . in spite of the huge amounts of money spent
           by the milita ry services in train ing combat infantrymen to be marksmen,
           few were capable of firing effectively beyond ranges of 200 to 300 meters
           in the heat of battle. "Spray and pray" would come to be the practice on
           the future battlefields of Vietnam. 1 7



                                     Books like these two ill ustrate that
                                     there is virtually no d ifference
                                     between the military M-1 6 and the
                                     civilian AR-1 5, the latter being only
                                     slightly modified for sale in the
                                     c i v i l i a n market.   The titles
                                     themselves show the popular
                                     equivalence.




                                                   8
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 127
                                    of 396




   The gun ind ustry was quick to beg i n churning out civi lian versions of the M- 1 6, labeling
   the sem iautomatic models the "AR- 1 5," not coincidentally the same name as the
   prototype version of the military assault rifle.




                                                                      Bushmaster's version of the AR-
                                                                      1 5, left, achieved new heig hts of
                                                                      notoriety in 2002 when it was
                                                                      revealed that one model was the
                                                                      weapon used by the infamous
                                                                      Washington, DC-area snipers.




      Bld/llllMt« ,,,__ lm,.
       �:• ltoo1-tt1•ll"l'h.11J • LV.11Ult1ur,, Mf 04061
      r�I flP'J ')11,,.11 .J91. • I.1, ]I.JI 8')2 Q(/6B
      t ()1,lli    1nlrrilbtnhr1JinrfI ("t>IJI




   Assault Pistols-UZI, Ingram, lntratec, and More. A particularly deadly variant in the
   gun i nd ustry's marketing prog ram has been the sale of civilian assault pistols, wh ich
   are for the most part sim ply semiautomatic versions of submach ine guns. Firearms
   expert Duncan Long explained the marketing basis of this trend in his book The
   Terrifying Three: Uzi, Ingram, and lntratec Weapons Families:

                  As the militaries of the world increasingly rely on assault rifles to fill the
                  submachine gun role, making money on a new su bmach ine gun desig n
                  becomes harder and harder. Consequently, a number of compan ies
                  have tried to capture the police and civi lian markets . . . . Citizens
                  purchasing firearms for everything from plinking to self-defense have
                  provided a lucrative market, especially in the U n ited States. Those
                  weapons prod uced for the civilian market are generally semiauto versions
                  of the automatic weapons, often mod ified slightly to conform to U . S .
                  firearms laws . 1 8




                                                           9
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 128
                                    of 396




                                                                     Ingram MAC-10 ,45 callbtr Submachine Gun




                                                        Lagging sales to the military spurred the gun industry
                                                        to market to civilians semiautomatic versions of
                                                        assault pistols such as the UZI and Ingram MAC
                                                        series. Assault pistols like these quickly became the
                                                        preferred weapon for criminal gangs, fri nge groups
                                                        like militias, and mass murderers.




       44                                             THE TERRIFY/ G THREE




       The size comparison between the
       TEC-9 and a re�ular 9mm pi.�tol
       (shown here is the tl&K P7M I])
       shows one reason �· by many peopk
       pn�fl'r guns such a� those made by
       lut riitl'c. The slighlly lnrgt"r sizl' pro­
       vides better control of the 11rcurm
       during recoil and the magazine bolds
       111ore 1111111 twice as many rounds.
       Added to this is the submachint-gun
       look, which can be intimidating lo
       those unfamiliar with such guns.


   Firearms expert Duncan Long has succinctly summarized the perverse attractions of
   semiautomatic assault pistols like the l ntratec TEC-9 shown above. (Image and caption from
   Duncan Long, The Terrifying Three-) 1 9




                                                              10
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 129
                                    of 396



   THE G U N INDUSTRY'S LIES

   The gun industry-aided by its apologists in the gun lobby, the N RA, and the g u n
   press-has tried t o d ivert attention from the inevitable consequences of its cynical
   marketing of these killing mach ines, and thwart regulation. Th is has been done by
   inventing what can only be fairly described as a series of lies and deceptions about
   assault weapons and their effects. Some of the more promi nent among them are
   discussed below.

   Is "automatic fire" an essential feature of a "real" assault weapon? The answer is,
   "absolutely not." But that hasn't kept the gun ind ustry from using this line of argument
   to pretend that civilian assault weapons
   simply don't exist. The red herring of the
   automatic fire "issue" was raised by the gun
   lobby only after civilian assau lt weapons
   were widely criticized. This criticism came
   after mass m u rderers and d rug traffickers
   began to "hose down" America's streets
   and schoolyards with civi lian assault
   weapons.




       Military assault weapons, like the M-1 6 shown above, have a "selective fire" switch to
                    change the mode of fire from semiautomatic to automatic (machine gun).

   This a rgument is entirely semantic. By limiting the "definition" of assau lt weapon to
   military machine guns, the gun industry an d its friends hope to define away the
   p roblem . But, fu lly automatic fire has little to do with the killing power of assault
   weapons. As the lead ing pro-assault weapons expert Duncan Long wrote in his 1 986
   publication, Assault Pistols, Rifles and Submachine Guns:

          The next problem arises if you make a semiauto-on ly model of one of
          these selective-fire rifles. According to the pu rists, an assault rifle has to
          be selective fire. Yet, if you think about it, it's a little hard to accept the
          idea that firearms with extended magazines, pistol grip stock, etc. cease
          to be assault rifles by changing a bit of metal . 20

   Long's point is well taken because, in fact, military and civi lian experts agree that
   semiautomatic fire is actually more-not less-likely to hit the target than is automatic
   fire, and is thus more deadly. 21 In fact, expert Long wrote about the semiautomatic UZI
   in another book, "One plus of the sem iauto version is that it has a g reater potential
   accuracy . . . . "22 In a ny case, a person of moderate skill can fire a semiautomatic assault
   weapon at an extremely fast rate of fire. 23



                                                11
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 130
                                    of 396




   And even if automatic fire were more deadly, many sem iautomatic assault weapons
   n ot only can be converted to automatic fire with home tools and modest skill, but
   read ily available books and videos walk the would-be converter through the process.




                               Easily obtained videos and books
                               like these show how to convert
                               semiautomatic assault rifles to
                               fully automatic machine guns
                               (even though semiautomatic fire is
                               more accurate).




   Do assault weapons really encourage "spray firing"? Gun ind ustry apologists also
   d isparage the use of such terms as "spray firing" and "shooting from the hip" to
   describe the deadly capa bilities of assault weapons. But, as was explained earlier,
   "spray and pray" was exactly the point of developing assault weapons. And the
   following illustrations show g raph ically how specific assault weapons features allow
   a "point-and-shoot" g rip and help control recoil so the shooter can "hose down" a wide
   a rea with a lethal "spray" of bullets.




                                              12
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 131
                                    of 396




                                                                                            " Pray and Spray" Hip-Firi ng




                                                                                                                             foJ\iH•l l,Hll/1/tl,•d
                                                                    ,t .•l:u1/ /,,11-/ /i,,,,,•_iir,'d (i!•lfl\..; i'OII\ i11 / / 1• ,111 11/•1•fl' d11




                                                                                                                                                          k,o-al :.1 , IOl��•JJ �•ml' 11.c ,.,", (,.n,
                                                                                                                                                          1...,.,..1 11..wlc.si) ;u,J lhc m� "'41c nc�n­
                                                                                                                                                          lta,01.-J ,,,1111 rl•·•..,ni; oc1111l,trl\)" �,-c,,,1
                                                                                                                                                          ,._ .,. ,.n�ly n1I ,,..1 .-wn 1flr ••f"'<l "•'
     130. l-'irlng wllh the slock pre.'iSt'd ht lh,· J,i"lJ i, cvuduclcd w1tht)UI halting Pre:-.s the st,>Ck let lh,:                                     .,,,. ,..-,,hol>oli"'· l'J•�·l,,.n,un,-..,llh """
                                                                                                                                                          !lo,, (,..,.... l'< iHf. ,,.,,....-,1 u•nli.-.1\ 1,, 11,-,.
     right side with the right arm. with lhc hull or the stock in !he .1rmpi1 or again,;! the front p,,rt uf the
     up1,.;r arm (Figure 7J)_ lf 1hc :-.lock is fo1ckd, pres..\ 1hr ri1lc 's rccci\'l!f und pislnl grip lo t11c body 11.• 11h
                                                                                                                                                                                      .,,,,,,,.�.-.J •"• ,,.,�. ;,,
                                                                                                                                                          Ow-1111 Mffl,tJi.l,I, - � .. -
     the lighr h;111d rFigun.: 56) llold lhc rin..:. with the kfl huml ;ii the rmi! encl. Point the riOe al lht: lu,Al!I                                  • n•tur•I polnt11r. T•rg•t •"JUI•
     ,md, continuing muvcmcnt, nm1mcncc firing                                                                                                            ,mon �•• r�, 1tt1M In llulio<:1·
                                                                                                                                                          u.l •hootlnp from w.tlt! le1111t




                             a                                                                          b

                                                Fi�un• 7.l. f-'i1ing 1,11 the- mcive:

             a - wi1h .\lt')('.k pressed lo .�idc (m mpit)

     1 3 1 . Wlwn finll�\ on lhc move, reloo1d {Ill' rin�• willurnt .,111ppi11g rm1vcmcnl




   Deliberate, aimed fire from the shoulder may be more accu rate than the kind of "pray

                                                                                                                                              13
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 132
                                    of 396




   and spray" hip-firing ill ustrated on the prior page. But the mass m u rderers, criminal
   gangs, d rug traffickers, and other violent criminals who are d rawn to assault weapons
   are not after marksmanship medals. They want to kill or maim as many people as
   possible in as short a time as possible-the exact job for which the semiautomatic
   assault weapon was designed .

   But what about harmless bayonet mounts? Unfortunately, the 1 994 federal assault
   weapons ban attempted to define assault weapons on the basis of parts usually
   associated with military weapons, such as grenade lau nchers, bayonet mounts, and
   threaded barrels for adding silencers and flash suppressors (to reduce flash from the
   weapon's muzzle at night) . The problem is that these featu res have virtually noth ing
   to do with the fu nctional design of the assault weapon . As a result, gun manufactu rers
   have simply eliminated these "bells and whistles" from their civilian assault weapon
   designs, while keeping the lethal design factors-h igh-capacity magazines and pistol
   g rips-that make assault weapons so deadly. These cosmetic changes meet the letter
   of the federal law, but accomplish little else.

   Don 't gun experts say there is no such thing as a civilian "assault gun ?" The N RA,
   the gun industry, the gun press, and other pro-g un "experts" today claim that there is
   no such thing as a civilian "assault weapon ." But before the guns came under fire,
   these same experts enth usiastically described exactly these civilian versions as
   "assault rifles, " "assault pistols," and "military assault" weapons.

   For example, in 1 982, Guns & Ammo published a book titled
   Assault Rifles, advertising "complete data on the best semi­
   automatics." 24 I n 1 984, Guns & Ammo advertised a similar
   publicatio n , now titled Assault Firearms (see ad on right) , "full
   of the hottest hardware available today . . . . covers the field
   with . . . assault rifles from the armies of the world . . . . a new slant
   on .22s with ' Plinkers in Battle Dress . ' And , if you are
   interested in survival tactics and personal defense, we'll give
   you a look at the newest civilianized versions of the sem i-auto
   submach ine g u n . " 25

   I n 1 988, Guns & Ammo handgun expert Jan Libourel defined
   an "assau lt pistol" simply as, "A hig h-capacity semi-automatic
   firearm styled like a submachine gun but having a pistol-length
   barrel and lacking a buttstock."26 Th is definition handily fit
   guns like the UZI and l ntratec TEC-9 that were regu larly
   advertised on the pages of Guns & Ammo d u ring the 1 980s as
   "assault pistols . " A 1 989 ad in Guns & Ammo for the l ntratec
   TEC-9 (a precursor to the one used in the 1 999 Columbine
   high school shootings) flatly declared that "the TEC-9 series clearly stands out among
   high capacity 9mm assault-type pistols." 27



                                                    14
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 133
                                    of 396



   Guns & Ammo, the lead ing g u n magazine, reg ularly cal led civilian sem iautomatic assault weapons
   "assault firearms," "assault rifles," and "assault pistols" u ntil a series of trag ic shooti ngs caused the
   industry to deny there was such a thing as a civilian assault weapon.




                                                        SlJNTRATEC[
                                                            ,,....,, \  ,,o,j,
                                                            \t,i, 11 l\�t1lt'""""'




   Gun magazines also specifically praised the spray-fire features of civilian assault
   weapons. For example, a 1 989 Guns & Ammo review of the "Partisan Avenger .45
   Assault Pistol" (right) noted that when the g u n "is fi red rapidly from the hip, its
   swivelling front grip makes for easy and comfortable control of the recoil" and that the
   "forward pistol g rip extension of this powerfu l assault
   pistol not only helps point it instinctively at the target
   but goes a long way to controlling the effects of
   reco i l. . . . " 28 Guns & Ammo found hip-shooting
   "surprisi ngly easy" with the HK 94 9mm Carbi ne. 29 A
   1 990 review in the N RA's American Rifleman of the
   Sites Spectre HC Pistol stated: "A gun like the                                                � Pdr/;uf/ Al�f /llf
                                                                                                  two f«w'"1 grip �1/rr:sila,1

   Spectre is primarily intended for hip-fi ring . . . . " 30 The
                                                                                                  Tht st.JfNIMd OIJII (l"fi) fam
                                                                                                  KfNS ()fJ � lll, piJlaf
                                                                                                  pip l-'f/WII (botl11m)

   same mag azi ne's 1 993 review of the Steyr                                -                   �s,nAOfw 'mlnlh lo
                                                                                #l rt :11 /M dl.rlr,d at,p

   Mann licher SPP Pistol reported : "Where the SPP
   really shines is in firi ng from the hip." 31 A cottage
   i nd ustry of accessory suppliers also sprang up, all of
   which ta rgeted ads soliciting owners of civilian
   "assault weapons." 32




                                                       15
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 134
                                    of 396




   The gun ind ustry itself deliberately used the military character of semiautomatic
   "assault weapons" and the lethality-enhancing utility of their d istinctive characteristics
   as selling points. The German company Heckler & Koch, for example, published ads
   calling their civi lian g uns "assault rifles" and stressing their military lineage. "The H K
   9 1 Sem i-Automatic Assault Rifle from Heckler & Koch . . . was derived d i rectly from the
   G3," a German army weapon , said one fu ll page ad (right) . 33 Another described the
   HK 94 Carbine as "a d i rect offspring of H K's renowned family of MP5 submachine
   guns." 34 An lntratec ad said the company's TEC-9 "clearly stands out among high
   capacity assau lt-type pistols." 35 Magnum Research advertised that the Gal il rifle
   system to which it had import rights "outperformed every other assault rifle." 36

   Early g u n magazine reviews of assault guns also specifically noted their limited
   sporting value. For example, the NRA's American Rifleman reviewed the Cal ico M-1 00
   rifle in 1 987 and concluded , "The M-1 00 is certain ly not a competition gun, hardly a
   hunting gun, and is difficult to visualize as a personal defense gun. 37 Sim ilarly, a 1 983
   Guns & Ammo review of the Heckler & Koch H K 94 rifle reported that "you certainly
   aren't going to enter any serious, formal matches with it. . . . " 38

   At the same time, the gun ind ustry has actively promoted the intimidating looks of
   assau lt weapons to increase their sales. A 1 989 Guns & Ammo review of the A.A.
   Arms AP9 praised the appeal of the gun's "wicked looks" to teenagers, noting "it is one
   mean-looking d ude, considered cool and Ramboish by the teenage crowd . . . . Take a
   look at one. And let your teen-age son tag along . Ask him what he thinks."39
   (Emphasis in orig inal) . Guns & Ammo expert Garry James noted in his review of Colt's
   9mm AR-1 5 rifle that "the intimidation factor of a black, martial-looking carbine pointing
   i n one's direction cannot be underestimated ."40        Howard French , of the same
   magazi ne, said of the HK 94 9mm Para Carbine that "you would not get m uch static
   from an intruder eyeballing its rather lethal appearance."41 C.A. Inc. advertisements
   for the Mark 45 and Mark 9 "Tommy-Gun" style carbines explicitly made the point that
   a "show of force can be stopping power worth having"42




                                                16
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 135
                                    of 396




                                      SUMMING UP

   The plain truth is that semiautomatic assault weapons look bad because they are bad .
   They were designed and developed to meet a specific military goal, which was killing
   and wound ing as many people as possible at relatively short range as qu ickly as
   possible, without the need for carefu lly aimed fire. In short, they are ideal weapons
   for war, mass ki llers, drug gangs, and other violent criminals.




                 TEC-DC9 in use, surveillance tape, Columbine High School.




                                             17
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 136
                                    of 396




                                       18
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 137
                                    of 396




                                              Endnotes


   1 . Chris Bishop (ed . ) , Guns in Combat (Ed ison, N . J . : Chartwell Books, 1 998) : 37.

   2 . Ian V. Hogg, Submachine Guns (Pen nsylvania: Stackpole Books, 200 1 ) : 7.

   3 . David Miller (ed . ) , The Illustrated Book of Guns (London : Salamander Books
   Ltd . , 2000): 232.

   4 . Peter R. Sen ich , The German Assault Rifle, 1935- 1 945 (Boulder, CO: Palad in
   Press, 1 987): 1 .

   5 . Peter R. Sen ich , The German Assault Rifle, 1935- 1 945 (Boulder, CO: Palad in
   Press, 1 987) : 1 .

   6 . Chuck Taylor, The Fighting Rifle: A Complete Study of the Rifle in Combat
   (Boulder, Paladin Press, 1 984), p. 2 .

   7 . Ch uck Taylor, The Fighting Rifle: A Complete Study of the Rifle in Combat
   (Boulder, CO: Palad in Press, 1 984) : 2 .

   8 . Ian Hogg, Jane 's Guns Recognition Guide (Glasgow: Harper Collins Publishers,
   2000): 302.

   9 . Chuck Taylor, The Fighting Rifle: A Complete Study of the Rifle in Combat
   (Boulder, CO: Palad in Press, 1 984) : 5 .

   1 0 . Du ncan Long , The Terrifying Three: Uzi, Ingram, and lntratec Weapons Families
   (Boulder, CO: Palad in Press, 1 989) : 1 04.

   1 1 . Du ncan Long , The Terrifying Three: Uzi, Ingram, and lntratec Weapons Families
   (Boulder, CO: Palad in Press, 1 989): 97.

   1 2 . Chuck Taylor, The Fighting Rifle: A Complete Study of the Rifle in Combat
   (Boulder, CO: Palad in Press, 1 984) : 4.

   1 3. Chris Bishop (ed . ) , Guns in Combat (Edison, N . J . : Chartwell Books, 1 998):
   72.

   1 4 . Jack Lewis and David E. Steele, The Gun Digest Book of Assault Weapons, 5th
   ed . (Iola, WI : Krause Publications, 2000): 75 .

   1 5 . Tom Diaz, Making a Killing: The Business of Guns in America (New York: The
   New Press, 1 999) : 73.




                                                  19
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 138
                                    of 396




   1 6 . "H istory and Evolution of the M-1 6," West Point Parents Club of Georgia
   Newsletter 1 3 (March 1 999) : 8.

    1 7 . J o e Poyer, The M16/AR15 Rifle: A Shooter's and Collectors Guide (Tustin , CA:
    North Cape Publications, 2000) : 1 3.

    1 8. Du ncan Long , The Terrifying Three: Uzi, Ingram, and lntratec Weapons Families
    (Boulder, CO: Paladin Press, 1 989): 3-4.

   1 9. Duncan Long, The Terrifying Three: Uzi, Ingram, and lntratec Weapons Families
   (Boulder, CO: Paladin Press, 1 989) : 44.

    20. Duncan Long, Assault Pistols, Rifles and Submachine Guns (Bou lder, CO:
    Paladi n Press, 1 986): 1 .

   2 1 . See, "How Effective is Automatic Fire?," American Rifleman, May 1 980, 30.

   22. Duncan Long, The Terrifying Three: Uzi, Ingram, and lntratec Weapons Families
   (Boulder, CO: Paladin Press, 1 989) : 1 1 .

   23. See , e . g . , "Calico M-1 00 rifle , " American Rifleman, January 1 987, 60, 6 1 ("the
   full 1 00 rou nds were sent downrange in 1 4 seconds by one flicker-fingered
   tester") .

   24 . Advertisement, Guns & Ammo, July 1 982, 20.

   25. Advertisement, Guns & Ammo, July 1 984, 1 6 .

   26. "Handgunner's Glossary," Guns & Ammo, Aug ust 1 988, 42.

   27. Advertisement, Guns & Ammo, January 1 989, 77.

   28. "Partisan Avenger .45 Assault Pistol," Guns & Ammo Handgun Annual, 1 989,
   26-30 .

   29. " H&K's 9mm Para Carbine," Guns & Ammo, November 1 983, 44.

   30. "Sites Spectre HC Pistol," American Rifleman, December 1 990, 58.

   3 1 . "Steyr Mannlicher SPP Pistol," American Rifleman, August 1 993, 70, 72; see
   also, "Colt's 9mm AR- 1 5," Guns & Ammo, July 1 985, 35, 76 ("fired from the
   hip . . . . about as natural a pointer as you can get.")

   32 . See, e.g . , Assault Systems advertisements in Guns & Ammo, July 1 98 1 , 90
   ("assau lt rifle case"), 92 ("lightweight assault bipod"); Guns & Ammo, November
   1 983, 1 0 1 ("assault rifle cases" and "padded Assault Rifle sling"); Beeman
   advertisement in Guns & Ammo, December 1 982 , 1 4 ("Beeman Short Scopes: New


                                                   20
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 139
                                    of 396




   for Assault Rifles to Airguns . . . Use on assault rifles . . . . ") ; Ventech I nc. advertisement
   for "Assault Weapon Accessories" in Guns & Ammo, February 1 99 1 , 96 ("Mini-
   1 4 . . . 1 0/22 . . . AR-7") .

   33. Heckler & Koch advertisement in Guns & Ammo, July 1 984 , 9.

   3 4. Heckler & Koch advertisement in Guns & Ammo, June 1 984, back cover.

   35. l ntratec advertisement, Guns & Ammo, January 1 989, 77.

   36. Magnum Research advertisement, Guns & Ammo, November 1 982 , 59. See
   also, e.g . , advertisement by Paragon S&S I nc. for AR 1 0, Guns & Ammo, July
   1 98 1 , 90 ("Used world wide by military and LAW ENFORCEMENT officers. This
   famous assault rifle is now available in a sem i-auto form !")

   37. "Calico M-1 00 rifle," American Rifleman, January 1 987, 60, 6 1 .

   38. "H&K's 9mm Para Carbine," Guns & Ammo, November 1 983, 44.

   39. "A.A. Arms AP9 Assau lt Pistol," Guns & Ammo Handgun Annual, 1 989, 48, 5 1 .

   40. "Colt's 9mm AR-1 5 ," Guns & Ammo, July 1 985, 35, 76.

   4 1 . "H&K's 9 mm Para Carbine," Guns & Ammo, November 1 983, 42.

   42. CA I nc. advertisement, Guns & Ammo, March 1 98 1 , 92.




                                                      21
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 140
                                    of 396




         About the Violence Pol icy Center

         The Violence Policy Center (VPC) is a national nonprofit edu cationa l

         organization working t o reduce death a n d inj u ry from fi rearms. A s America's

         premier think tank on gun policy, the VPC studies cu rrent firearms issues and

         provides information to poli cymakers, journalists, public health professionals,

         and grassroots a ctivists.



         The virtua l ly un restri cted distribution of fi rea rms is more th a n a c rime

         problem, it is a national h e a lth crisis. Unlike every other consumer produ ct,

         firearms are exempt from federa l h e a lth and safety laws. Guns-especially

         handguns and assault w e a pons-are inherently dangerous produ cts, and

         the fa i l u re to regulate them like al l oth er p rodu cts costs th ousands of lives

         and billions of doll a rs every year. By conducting research on key issues in

         firea rms policy, the VPC c o u nters the gun lobby's distortions and b rings

         ha rd fa cts to the debate over fi rea rms death and injury.



     � Violence Policy Center                   www.vpc.org
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 141
                                    of 396




                      EXHIBIT F
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 142
                                    of 396

 ·
 .                         GUN DIGEST ®
 :. 1 Buyer 's Guide, t o 1
                                                                                        .




     Assao t Wea ons



                                                                           ., : . . .
                                         •   _1• .
                                                      :   ':;:"";'\? \�;..�
                                                     _ , ·,' •:i' '
                                     .       .   �·- •·



                             Phillip Peterson
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 143
                                    of 396




                        © 2008 By Krause P u b l ications
                               Publ ished by


                              Gun Digest® Books
                                An imprint of F+ W Publications
                                  700 East Stale Street • Iola, WI 54990-0001
                                        715-445-2214 • 888-457-2873
                                         www.gundigestbooks.com
                                                                                          .�
                                                                                    -:/·�__ \
                                                                                    .        . -�
               Our toll-free n umber to place an order or obtain                         ,
                                                                                               -,
                                                                                              �j




                       a free catalog is (800) 258-0929.
                                                                                               il



                                                                                         .l
                                                                                        - --�
      All rights reserved . No portion of this publication may be reproduced             . -�
                                                                                         •.< �




      or transmitted in any form or by any means, electronic or mechanical ,             . .:?

   i ncluding photoco py, recording, or any i nformation storage and retrieval
      system, without perm ission in writing from the publisher, except by a
     reviewer who may quote brief passages in a critical article or review to
    be printed in a magazine or newspaper, or electronically transmitted o n
                           rad io, television , o r the I nternet.


              Library of Congress Control Number: 20089251 1 2


                         ISBN- 1 3 : 978-0-89689-680-2

                           ISBN- 1 0: 0-89689-680-3




                        Designed by Marilyn McGrane

                            Edited by Dan Sh ideler


                   Pri nted in the U n ited States of America
          ·--------------------------r---
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 144
                                    of 396


                       Introduction:                                                       it I

                      What's in a Name?                                                   ca
                                                                                          in
                                                                                          gn
                                                                                          to
              Assault Weapon.                                                             (1 (
              Those words, on the cover of this book, are probably what drew              on
          you to pick it up. "Assault weapon" is a term that causes arguments             co
          with in the pro-gun community. Any use of the terms "assault weap­              th,
          on" or "assault rifle" by media or politicians is attacked by some pro­
          gun writers, organizati ons and many firearm owners. Long wordy de­             wi·
          bates take place on i nternet message boards arguing the definitions            fi n
          and usage of terms.                                                             en
             Why is that?                                                                 fin
             The main reason seems to be that the term has gained use by the              fin
          anti-gun movement and media. Whenever a crime is comm itted with                ed
          a semi-automatic mil itary pattern firearm, the mainstream med ia will
          quickly jump i n with head li nes like "assault weapon used in killing          St)
          spree" or " drug sweep nets assault weapons." The only time many                ca
          in the non-gun owning public are exposed to this class of firearms is           bn
          through negative media exposure.                                                " a:
              If you use the historically applied term inology, an assault weapon         tr2
          must be capable of fu ll-automatic fire, i.e., a machine g u n . The term       m(
          assault rifle had its beg inning with the Germans d u ring WWI I and            ha
          was applied to a new cl ass of firearm: the "SturmGewehr, " or storm
          rifle, properly known as the M P-44.
             This is generally considered to be the first true assau lt rifle. It was
          a select-fire rifle that used an intermediate-sized rifle cartridge called
          the 8x33mm Kurz (short) .                                                       thi
             The intermediate cartridge concept helps define an assault rifle in          a,
     ,1   m i litary circles. The intermediate cartridge is smaller than the rifle car-   Ar
     (:   tridges used in belt-fed mach ine guns and larger than the pistol car­          thi
          tridges used i n submach ine guns. Intermed iate cartridges are what
          many sem i-automatic assau lt weapons chamber. These include the                sa
          5.56mm (.223), 7 . 62x51 mm (.308) , 7.62x39mm , and 5.54x39 m m .              se



IO
     Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 145
                                         of 396


                   What is an assault weapon ? If one were to use a strict definition,
               it could be ANY object that is used against another i n dividual to
               cause bodi ly harm. That can be a firearm, a roc k or a feather poked
                i n the eye. The m i l itary definition was d iscussed i n the l ast para-
        '       g raph . I n the context of this book, however, "assault weapon" refers              (

        I      to a semi-automatic firearm that accepts high capacity magazines
                (1 O+ rounds) and is patterned after m i litary issue select-fire weap-              ·,
V               ons. This can mean an exact copy of an existing desig n , m i n us the
s               components that allow full-automatic fire. Or it can be a new design
                that utilizes similar characeristics.
                    The popularly-held idea that the term "assau lt weapon " ori g inated
                with anti-gun activists, media or politicians is wrong. The term was
s               first ado pted by the manufacturers, wholesalers, importers and deal-
                ers i n the American firearms industry to stim u l ate sales of certain
                firearms that did not have an appearance that was fam i l iar to many
e               firearm owners. The manufacturers and gun writers of the day need-             <',
                                                                                                    �
'1              ed a catchy name to identify this new type of g u n .
II                  The fact that some o f the semi-automatic versions o f t h e m i litary-
                                                                                               .t�
                                                                                                );

                                                                                                �'
;J              styl e firearms retained their bayonet lugs, extended pistol grips, high        {:

y               capacity magazines, folding stocks and even threading for m uzzle
s               brakes and grenade launchers has been used to erroneously define                "


                                                                                                .•
                "assault weapons. " But these desig n features were part of the at-            ,•


n              traction to this kind of firearm . All of these features are merely cos-
n               m etic and there is l ittle if any evidence that their inclusion on a g u n
                                                                                               )�




j               has been essential t o some specific cri m i nal use.
n                   Look i n many 1 980s-era editions of Gun Digest and you will find                     �
                listings of several makes and models of guns that were categorized             ?:

s              as assault rifles or assau lt pistols. There were also some issues of a
               magazine called The Complete Book of Assault Rifles publ ished in               ,.,.
                                                                                               ',



               the 1 980s. Guns & Ammo magazine published at least one issue of
n              a m agazin e with the title Assault Rifles: The New Breed of Sporting
._             Arm. And the truth is that many g u n owners have used and still use            ,-.\•


               the term in everyday conversations about firearms.                              ·,
1t                 Some alternate monikers suggested by the n ever-call-them-as-                    ..
e              sault-weapons crowd include paramilitary firearms, mil itary pattern
               semi-automatics, homeland defense rifles, tactical firearms, sports

                                                                . ,.

                                         GD BUYE RS GUIDE TO ASSAULT WEAPONS 1 1
             Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 146
        ;:ar....,� T � ... ----                  of 396               -   ···���<":-:,0
                    -,��£"�-;'•, •. •• • • .                          �·.' ; , 1 •   ,. , .·   • '•t·I• .• :-:-·-.·   "It!-.   ,..,: •'.•·- _,�,, ·.




                           utility rifles, EBR (Evil Bia k Rifle ). or impl firearms. I t nd to fa-
                           vor the t rm n t gun , but th t uld b ju t bout an gun. Th
                                                                                                                                                        J
                           needs to b          ommonl und rst od n m f r thi t p               f fire m1
                           that doe not req uir        dr wn out d fin iti n. It   II h ul
                           that compli t d.                                                                                                            Ii
                              Whatever rgument           n be m d bout \ h t t rmin
                           the name          ult w pon h b n d fin d               \ iith th p                                                         tt
                           of sever I t te nd loc I AW I w nd b th F                  I       1lt \N p-
                           on Ban, al o I nown as th        rime ontrol n L        Enf re m nt t ·
                           of 1 994. Thi law, nd mo t of the oth rs r gulat th             fire m1                                                     0

                           model name and char ct ristic . ( e th h pt r n I gal i u to
                           read the exact wording f the current! xpired F d ral                 I \ .) 8 ,
                           using the term "a       ult we pon" throu hout th t xt f th I , th
                           have forev r added this n m to th         rn ric n di ti n ry.




                                                                                                                                                       0
                                                                                                                                                       tt
                                                                                                                                                       rE.


                                                                                                                                                       tt



                                                                                                                                                       le
                                                                                                                                                       ie
I
                                                                                                                                                       fE
    '
                                                                                                                                                       O'


                                                                                                                                                       tl


                                                                                                                                                       tt

                                                                                                                                                       N

                                                                                                                                                       tu
                                                                                                                                                       re


             12
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 147
                                    of 396




                     EXHIBIT G
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 148
                                    of 396




                                          
                 Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 149
                                                     of 396




                                    Mass Shootings Resulting in Double-Digit Fatalities in American History (1949-2022}

  60


  50                                                                                                                                         •
1= 40


t 30
                                                                                                                           •
                                                                                                                                      •
                                                                                                                                                   •
                                                                                             •                                                         •
A 20
                                                                                  •                                                                        •

                                                                             .. - •                                                                        -
                                                                                                                                                   •
  10
          •                                 •
                                                              •                                            •                   ••
                                                                                                                               -
                                                                                                                                      • •   •
                                                                                                                                                   _,.
   0
        1949        1955          1962          1969          1975         1982       1989        1996          2002           2009         2016           2022



               • Assault Weapons and Large-Capacity Magazines Involved                 • No Large-Capacity Magazines orAssault Weapons Involved
               • Large Capacity Magazine Involved (But NotAssault Weapon Involved)                                                                             
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 150
                                    of 396




                     EXHIBIT H
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 151
                                    of 396




                                      LO U IS KLAREVAS

                          RAM PAG E NATI O N
                             SECURING AMERICA FROM MASS SHOOTINGS




                                      @ Prometheus Books
                                             59 John Glenn Drive
                                           Amherst, New York 14228




      I   Rampage Nation.indd 3                                      6/14/1 6 1 2:37 PM   I
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 152
                                    of 396




                                                                        BREAKI N G THE TRIN ITY   239

                       in a class all by itself. No other advanced, Western democracy experi­
                       ences the magnitude of gun violence that presently afflicts American
                       society. 28 This is particularly true when it comes to mass shootings. 29




                       The United States does little to regulate firearms, especially at the
                       federal level. 30 While it goes to great lengths to restrict access to
                       WMDs and IEDs, the same can't be said for its efforts to keep fire­
                       arms out of the hands of high-risk individuals. Indeed, the American
                       experience with gun control nationwide is so limited that it can actu­
                       ally be chronicled in a few bullet points:

                             • The National Firearms Act of 1 934: Heavily regulated machine
                               guns, short-barrel rifles and shotguns, and silencers.
                             • The Federal Firearms Act of 1 938: Established a federal
                               licensing system to regulate manufacturers, importers, and
                               dealers of firearms.
                             • The Omnibus Crime Control and Safe Streets Act of 1 968: Pro­
                               hibited anyone under twenty-one years of age from purchasing
                               a handgun.
                             • The Gun Control Act of 1 968: Required that all interstate fire­
                               arms transfers or sales be made through a federally licensed
                               firearms dealer and prohibited certain categories of people­
                               felons ( indicted or convicted ) , fugitives, drug abusers, mentally
                               ill persons ( as determined by adjudication) , illegal aliens, dis­
                               honorably discharged servicemen, US-citizenship renouncers,
                               and domestic abusers-from possessing firearms. 31
                             • The Firearm Owners Protection Act of 1 986: Barred the pur­
                               chase or transfer of automatic weapons without government
                               approval.
                             • The Undetectable Firearms Act of 1 988: Required that all fire­
                               arms have at least 3. 7 oz. of metal that can be detected by a
                               metal detector.
                             • The Gun-Free School Zones Act of 1 990: Criminalized posses­
                               sion or discharge of a firearm in a school zone.
                             • The Brady Handgun Violence Prevention Act of l 993: Required




      I   Rampage Nation.indd 239                                                                       6/14/1 6 1 2:38 PM   I
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 153
                                    of 396




                       240          PART 3: PRESCRIPTION


                               that anyone attempting to purchase a firearm from a federally
                               licensed dealer pass a background check. 32
                             • The Federal Assault Weapons Ban of 1 994: Banned the sale and
                               possession of semiautomatic assault weapons and extended­
                               capacity magazines not grandfathered prior to the enactment
                               of the law. 33

                           Of all of these measures, the National Firearms Act of 1 934 and
                       the Assault Weapons Ban of 1 994 (AWB) were the only ones insti­
                       tuted primarily in an effort to reduce the carnage of mass shootings.
                       The former was passed in response to a series of bloody gangland
                       executions, including the infamous 1 929 St. Valentine 's Day mas­
                       sacre in Chicago. 34 While there are still machine guns in circulation,
                       the National Firearm Act, in conjunction with the Firearm Owners
                       Protection Act of 1 986, sharply cut the availability of machine guns,
                       which likely explains the complete elimination of massacres perpe­
                       trated with such automatic-fire weapons.
                           Like the National Firearms Act, the AWB was introduced fol­
                       lowing several high-profile mass shootings in the early 1 990s: the
                       Luby's restaurant, 1 0 1 California Street office complex, and Long
                       Island Railroad train car massacres. 35 Signed into law by President
                       Bill Clinton, the AWB went into effect on September 1 3, 1 994. At
                       the insistence of the gun-rights lobby, however, the bill contained
                       a ten-year sunset provision. As Congress never renewed the ban, it
                       automatically expired on September 1 3, 2004.
                           The decade the law was in effect nonetheless resulted in a unique
                       experiment, allowing us to discern what impact, if any, the ban had
                       on gun violence in general and mass shootings in particular. As to
                       the former, the academic consensus seems to be that the AWB had
                       a minimal impact on reducing violent crime. 36 This hardly comes
                       as a surprise. After all, most crimes don't involve assault weapons.
                       The real test should be: Did it succeed in its intended purpose of
                       reducing rampage violence? The answer is a resounding yes.
                           Let's take a closer look.
                           The best way to assess the impact of something is to conduct
                       what, in social science, we commonly refer to as a time-series analysis.
                       Basically, that's a fancy name for a before-and-after test. Figures 7 . 1




      I   Rampage Nation.indd 240                                                              6/14/1 6 1 2:38 PM   I
        Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 154
                                            of 396



                                                                                                      ©

 �
]CD
z
!!l.
,r
?
5·
a.
a.

�


            50



            40



            30                                                                                                                                         t-




            20                                                                                                                                         -
©
                                                                                                                                                       -                                            ©

                                                                                                                                                             u
            10



             0
                  J          J                                   J     I I                           I     I     I    J           �         I     •• J            I                   I


                                                                           I
                                               I     I
                 Pre I Pre   Pre   Pre   Pre
                                         -6
                                            I -5 -4 -3 -2 - 1
                                               Pre   Pre   Pre   Pre   Pre   Ban
                                                                              1
                                                                                   Ban
                                                                                    2
                                                                                         Ban
                                                                                         3
                                                                                               Ban
                                                                                               4
                                                                                                     Ban
                                                                                                     5
                                                                                                           Ba n Ban
                                                                                                             6   7
                                                                                                                      Ban
                                                                                                                      8
                                                                                                                            Ban   Ban Post Post Post Post Post Post Pos t Post Post Post
                                                                                                                                  10 +l +2        +3    +4   +5   +6   +7   +8   +9   +10
                                                                                                                                                                                            CCI
                                                                                                                                                                                            ::a
                                                                                                                                                                                            ...,
                 -10 - 9     -8    -7                                                                                       9
                  1     1     4          0     2     2      1    4
                                                                        :-Ht� I          0     0     3  I    2   2    1     3      1  3  3         2     5    5    3   3     5    3    2    ::::
                                                                                                                                     f--                                                    :i:,,
           dents

                      I 14 Gs tfo-                                                                   28 I 14 14 r6-18 r9                         Gs 32 Gs 29
                                                                                                0                                      22   20                         20   39   39   18    z:
                  6             20 -o G7 16 23 28                      6
        �:                                                                                                                            f--                                         -t--
         aths                                                                 o     o    o                                                                                                  C,
                                                                                                                                                                                            --f
                                                                                                                                                                                            ...,
                                                                                                                                                                                            ::c
                                                                                                                                                                                            --f
                           Fig. 7 . 1 . Gun Massacres Before, During, and After the Assault Weapons Ban of 1 994.                                                                           ::a
                                                                                                                                                                                            z:
            Note: The lines in the graph demarcate the start and end points of the Assault Weapons Ban, which was in effect
                      from September 1 3, 1 994, through September 1 2, 2004. The data are drawn from Table 3 . 2 .
                                                                                                                                                                                            Nl
                                                                                                                                                                                            �
                                                                                                                                                                                            '"""

 "'
 i:,,

 "ti
 ;;::



                                                                                                         ©
          Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 155
                                              of 396



                                                                             ©
 JJ

 �
]CD
 z
 !!l.
 ,r?
                                                                                                                              N
5·
a.
a.
                                                                                                                              �
                                                                                                                              N

              350
                                                                                                                              ""Cl
                                                                                                                              >
                                                                                                                              =l
              300                                                                                                             �
                                                                                                                              ""Cl
                                                                                                                              ::a
                                                                                                                              ...,
                                                                                                                              en
              250                                                                                                             ::a
                                                                                                                              C")



                                                                                                                              �
                                                                                                                              Q
              200                                                                                                             :z


              150


©             100                                                                                                                    ©
               50


                 0
                              Decade Before AWB                 Decade Durin_g_ AWB               Decade After AWB
        ■ I ncidents                  19                                12                               34
        ■ Deaths                     155                                89                              302



                          Fig. 7 . 2 . Gun Massacres by Decade Before, During, and After the Assault Weapons Ban of 1 994.
                       Note: The Assault Weapons Ban was in effect from September 1 3, 1 994, through September 1 2, 2004 .
                                                          The data are drawn from Table 3 . 2 .



"'"'
0)
 "ti
 ;;::




                                                                             ©
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 156
                                    of 396




                                                                      BREAKI N G THE TRIN ITY   243

                       and 7.2 provide a look at the before-and-after pictures. In the decade
                       prior to the enactment of the AWB, the United States experienced
                       nineteen gun massacres that resulted in 1 55 cumulative deaths, for
                       an average death toll of 8.2 fatalities per incident. During the ten­
                       year period that the AWB was in effect, the numbers declined sub­
                       stantially, with only twelve gun massacres, resulting in eighty-nine
                       deaths, for an average of 7.4 fatalities per incident. 37 What's particu­
                       larly astounding about this time period is that during the first four
                       and a half years of the ban, there wasn't a single gun massacre in the
                       United States. Not one. This is unprecedented in modern American
                       history. 38 Since 1 966, the longest streaks without a gun massacre prior
                       to era of the AWB were two instances of consecutive years ( 1969-1 970
                       and 1979-1 980 ) . 39 Then, all of a sudden, from September 1 994 to
                       April 1 999, the country experienced a long calm. As further evidence
                       of the AWB's effectiveness, once it expired, rampages returned with a
                       vengeance. In the ten years after the ban, the number of gun massa­
                       cres nearly tripled to thirty-four incidents, sending the total number
                       of deaths skyrocketing to 302, for an average of 8.9 fatalities per inci­
                       dent. 40 These numbers paint a clear picture: America's experiment,
                       while short-lived, was also extremely successful. 41


                       ZEROING OUT GUN MASSACRES
                       The biggest takeaway from America's experience with a ban on
                       assault weapons and extended-capacity magazines is that gun-control
                       legislation can save lives. But is there a way to get to zero? Is there a
                       way to eliminate gun massacres once and for all? For that, we have to
                       look overseas for insights.
                            One of the biggest obstacles to successful gun control is the ability
                       to transport firearms across open, contiguous borders. In the United
                       States, it's a problem that allows guns to flow freely from states with
                       lax laws into states with strict laws. A common complaint frequently
                       leveled by elected officials in places like California, Illinois, Maryland,
                       New York, and Massachusetts is that people j ust need to drive across
                       a state line and they can readily obtain firearms that they can then
                       easily-if perhaps illegally-bring back into their jurisdictions. 42 That




      I   Rampage Nation.indd 243                                                                     6/14/1 6 1 2:38 PM   I
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 157
                                    of 396




                       EXHIBIT I
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 158
                                    of 396
AJPH OPEN-THEMED RESEARCH




The Effect of Large-Capacity Magazine Bans on
High-Fatality Mass Shootings, 1990–2017
Louis Klarevas, PhD, Andrew Conner, BS, David Hemenway, PhD


    Objectives. To evaluate the effect of large-capacity magazine (LCM) bans on the                                     on assault weapons in 1989, but LCMs
frequency and lethality of high-fatality mass shootings in the United States.                                           remained unregulated in the state until 1994,
    Methods. We analyzed state panel data of high-fatality mass shootings from 1990 to                                  when the federal ban went into effect. In
2017. We ﬁrst assessed the relationship between LCM bans overall, and then federal                                      2000, California’s own statewide ban on
and state bans separately, on (1) the occurrence of high-fatality mass shootings (logit                                 LCMs took effect as a safeguard in the event
regression) and (2) the deaths resulting from such incidents (negative binomial analysis).                              the federal ban expired, which happened in
                                                                                                                        2004.10,11
We controlled for 10 independent variables, used state ﬁxed effects with a continuous
                                                                                                                            LCMs provide a distinct advantage to
variable for year, and accounted for clustering.
                                                                                                                        active shooters intent on murdering numer-
    Results. Between 1990 and 2017, there were 69 high-fatality mass shootings. Attacks
                                                                                                                        ous people: they increase the number of
involving LCMs resulted in a 62% higher mean average death toll. The incidence of
                                                                                                                        rounds that can be ﬁred at potential victims
high-fatality mass shootings in non–LCM ban states was more than double the rate in                                     before having to pause to reload or switch
LCM ban states; the annual number of deaths was more than 3 times higher. In mul-                                       weapons. Evidence shows that victims struck
tivariate analyses, states without an LCM ban experienced signiﬁcantly more                                             by multiple rounds are more likely to die,
high-fatality mass shootings and a higher death rate from such incidents.                                               with 2 studies ﬁnding that, when compared
    Conclusions. LCM bans appear to reduce both the incidence of, and number of people                                  with the fatality rates of gunshot wound
killed in, high-fatality mass shootings. (Am J Public Health. 2019;109:1754–1761. doi:                                  victims who were hit by only a single bullet,
10.2105/AJPH.2019.305311)                                                                                               the fatality rates of those victims hit by more
                                                                                                                        than 1 bullet were more than 60% higher.12,13
                                                                                                                        Being able to strike human targets with more

T     he recent spate of gun massacres in the       than 10 bullets—unless the magazines were                           than 1 bullet increases shooters’ chances of
      United States has re-energized the debate     manufactured before the enactment of the                            killing their victims. Analyses of gunshot
over how to prevent such tragedies.1 A              ban. LCM restrictions are arguably the most                         wound victims at level I trauma centers have
common response to high-proﬁle acts of gun          important component of assault weapons                              suggested that this multiple-impact capability
violence is the promotion of tighter gun            bans because they also apply to semiautomatic                       is often attributable to the use of LCMs.14,15
legislation, and there is some evidence that        ﬁrearms without military-style features.8,9                             In addition, LCMs provide active shooters
laws imposing tighter restrictions on access to         Beginning with New Jersey in 1990, some                         with extended cover.16 During an attack,
ﬁrearms have been associated with lower             states implemented their own regulations on                         perpetrators are either ﬁring their guns or not
levels of mass shootings.2 One proposal that        LCMs. Today, 9 states and the District of                           ﬁring their guns. While gunmen are ﬁring, it is
has received renewed interest involves              Columbia restrict the possession of LCMs.                           extremely difﬁcult for those in the line of ﬁre
restricting the possession of large-capacity        The bans vary along many dimensions, in-                            to take successful defensive maneuvers. But if
magazines (LCMs).3–5 This raises an impor-          cluding maximum bullet capacity of per-                             gunmen run out of bullets, there are lulls in
tant question: what has been the impact of          missible magazines, grandfathering of existing                      the shootings, as the perpetrators are forced
LCM bans on high-fatality mass shootings?           LCMs, and applicable ﬁrearms. Moreover,                             to pause their attacks to reload or change
    In an attempt to arrest an uptick in            overlaps sometimes exist between assault                            weapons. These pauses provide opportunities
mass shooting violence in the early 1990s,          weapons bans and LCM bans, but not in all                           for people to intervene and disrupt a shooting.
Congress in 1994 enacted the federal as-            states. For example, California instituted a ban                    Alternatively, they provide individuals in
sault weapons ban, which, among other
things, restricted ownership of certain             ABOUT THE AUTHORS
ammunition-feeding devices.6,7 The law,             Louis Klarevas is with the Teachers College, Columbia University, New York, NY. Andrew Conner is with the Frank H.
                                                    Netter, MD, School of Medicine, Quinnipiac University, North Haven, CT. David Hemenway is with the Harvard T. H.
which contained a sunset provision, was             Chan School of Public Health, Harvard University, Boston, MA.
allowed to expire a decade later. Pursuant to          Correspondence should be sent to Louis Klarevas, Research Professor, Ofﬁce of the Provost, Teachers College, Columbia University,
that ban (18 USC §921(a) [1994]; repealed), it      525 W 120th St, New York, NY 10027 (e-mail: ljk2149@tc.columbia.edu). Reprints can be ordered at http://www.ajph.org
                                                    by clicking the “Reprints” link.
was illegal to possess LCMs—deﬁned as any              This article was accepted July 22, 2019.
ammunition-feeding device holding more                 doi: 10.2105/AJPH.2019.305311



1754   Research   Peer Reviewed   Klarevas et al.                                                                                     AJPH      December 2019, Vol 109, No. 12
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 159
                                    of 396
                                                                                                            AJPH OPEN-THEMED RESEARCH



harm’s way with a chance to ﬂee or hide.            the search and identiﬁcation strategy we           states. To control for this, we utilized
Legislative endeavors that restrict access to       employed.)                                         cluster-robust standard errors to account for
LCMs are implemented with the express                   The ﬁrst state to enact an LCM ban was         the clustering of observations. When the
objective of reducing an active shooter’s           New Jersey in 1990. Since then, another 8          dependent variable reﬂected deaths (count
multiple-impact capability and extended             states and the District of Columbia have           data), we used negative binomial regression;
cover.10                                            enacted LCM bans (Table A, available as a          Gius used a Poisson regression, and we used
   Although mass shootings have received            supplement to the online version of this article   that approach as a sensitivity analysis.26 We
extensive study, there has been little scholarly    at http://www.ajph.org).10 With no LCM             included state ﬁxed effects. We used a con-
analysis of LCM bans.17–24 The studies un-          bans in effect before 1990, a priori we chose      tinuous variable for year because the rate of
dertaken that have broached the subject of          that year to begin our analysis to avoid in-       high-fatality mass shootings has increased
ammunition capacity have primarily con-             ﬂating the impact of the bans. Our data set        over time. For purposes of sensitivity
centrated on the effect of LCM bans on vi-          extends 28 years, from 1990 through 2017. As       analysis, we also replaced the linear yearly
olent crimes other than mass shootings or on        a secondary analysis, we used a 13-year data       trend with a quadratic function. We per-
the impact of the assault weapons bans on           set, beginning in 2005, the ﬁrst full year after   formed multivariate statistical analyses by
mass shootings.25–27                                the federal assault weapons ban expired.           using Stata/IC version 15.1 (StataCorp LP,
   Evidence suggests that ﬁrearms equipped              Our primary outcome measures were the          College Station, TX).
with LCMs are involved in a disproportionate        incidence of high-fatality mass shootings and          Population data came from the US Census
share of mass shootings.10,20,28 Proponents of      the number of victims killed. We distin-           Bureau, unemployment data came from the
LCM bans believe that without LCMs, fewer           guished between high-fatality mass shootings       Bureau of Labor Statistics, and imprisonment
people will be killed in a mass shooting, other     occurring with and without a ban in effect.        data came from the Bureau of Justice Statistics.
things equal. In turn, fewer shootings will         Because the federal ban was in effect na-          The percentage of households with a ﬁrearm
cross the threshold required to be classiﬁed as     tionwide from September 13, 1994, through          was a validated proxy (the percentage of
what we call a “high-fatality mass shooting”        September 12, 2004, we coded every state as        suicides that are ﬁrearm suicides) derived from
(‡ 6 victims shot to death). If LCM bans are        being under an LCM ban during that 10-year         Centers for Disease Control and Prevention
effective, we should expect to ﬁnd that             timeframe.                                         National Vital Statistics Data.33
high-fatality mass shootings occur at a lower           Our interest was in the effect of LCM
incidence rate when LCM bans are in place,          bans. We ran regression analyses to determine
and fewer people are killed in such attacks.        if any relationship between LCM bans and
But have LCM bans actually saved lives in           high-fatality mass shootings can be explained      RESULTS
practice? To our knowledge, the impact of           by other factors. In our state–year panel              Between 1990 and 2017, there were 69
LCM bans has never been systematically              multivariate analyses, the outcome variables       high-fatality mass shootings (‡ 6 victims shot
assessed. This study ﬁlls that void.                were (1) whether an LCM-involved high-             to death) in the United States. Of these,
                                                    fatality mass shooting occurred, (2) whether       44 (64%) involved LCMs, 16 did not (23%),
                                                    any high-fatality mass shooting occurred, (3)      and for 9 (13%) we could not determine
                                                    the number of fatalities in an LCM-involved        whether LCMs were used (Table 1). The
METHODS                                             high-fatality mass shooting, and (4) the           mean number of victims killed in the 44
    Mass shootings have been deﬁned in a            number of fatalities in any high-fatality mass     LCM-involved high-fatality mass shootings
variety of ways, with some analyses setting the     shooting. Our analyses ﬁrst combined and           was 11.8; including the unknowns resulted in
casualty threshold as low as 2 people wounded       then separated federal and state LCM bans.         that average falling to 11.0 (not shown). The
or killed and others requiring a minimum of             Consistent with the suggestions and            mean number of victims killed in high-fatality
7 gunshot victims.18,22,29 We focused on            practices of the literature on ﬁrearm homi-        mass shootings in which the perpetrator did
high-fatality mass shootings—the deadliest          cides and mass shootings, our explanatory          not use an LCM was 7.3 (Table B, available as
and most disturbing of such incidents—which         variables are population density; proportion       a supplement to the online version of this
are deﬁned as intentional crimes of gun vi-         of population aged 19 to 24 years, aged 25 to      article at http://www.ajph.org); including
olence with 6 or more victims shot to death,        34 years, that is Black, and with a college        the unknowns resulted in that average falling
not including the perpetrators.20,30,31 After an    degree; real per-capita median income; un-         to 7.1 (not shown). When we excluded
exhaustive search, we identiﬁed 69 such in-         employment rate; and per-capita prison             unknown cases, the data indicated that uti-
cidents in the United States between 1990           population.2,26,27,32 We also added a variable     lizing LCMs in high-fatality mass shootings
and 2017. We then discerned whether each            for percentage of households with a ﬁrearm.        resulted in a 62% increase in the mean
high-fatality mass shooting involved a LCM          All regression models controlled for total state   death toll.
—unless otherwise stated, deﬁned consistent         population. When the dependent variable                Data sets of mass shooting fatalities by their
with the 1994 federal ban as a detachable           reﬂected occurrences of incidents (ordered         nature involve truncated data, with the mode
ammunition-feeding device capable of                choice data), we used logit regression; we ran     generally being the baseline number of fa-
holding more than 10 bullets. (See Table 1 for      probit regression as a sensitivity analysis. We    talities required to be included in the data
a list of incidents and for additional details on   had multiple observations for individual           set (6 fatalities in the current study). Our data


December 2019, Vol 109, No. 12   AJPH                                                                    Klarevas et al.   Peer Reviewed   Research   1755
 Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 160
                                     of 396
AJPH OPEN-THEMED RESEARCH




    TABLE 1—High-Fatality Mass Shootings in the United States, 1990–2017

Incident           Date                           City           State   LCM   Deaths, No.   State LCM Ban       Federal Assault Weapons Ban
1              Jun 18, 1990        Jacksonville                   FL      Y         9             N                          N
2              Jan 26, 1991        Chimayo                       NM      N          7             N                          N
3              Aug 9, 1991         Waddell                        AZ     N          9             N                          N
4              Oct 16, 1991        Killeen                        TX      Y        23             N                          N
5              Nov 7, 1992         Morro Bay and Paso Robles      CA     N          6             N                          N
6              Jan 8, 1993         Palatine                       IL     N          7             N                          N
7              May 16, 1993        Fresno                         CA      Y         7             N                          N
8              Jul 1, 1993         San Francisco                  CA      Y         8             N                          N
9              Dec 7, 1993         Garden City                    NY      Y         6             N                          N
10             Apr 20, 1999        Littleton                      CO      Y        13             Y                          Y
11             Jul 12, 1999        Atlanta                        GA     U          6             Y                          Y
12             Jul 29, 1999        Atlanta                        GA      Y         9             Y                          Y
13             Sep 15, 1999        Fort Worth                     TX      Y         7             Y                          Y
14             Nov 2, 1999         Honolulu                       HI      Y         7             Y                          Y
15             Dec 26, 2000        Wakeﬁeld                      MA       Y         7             Y                          Y
16             Dec 28, 2000        Philadelphia                   PA      Y         7             Y                          Y
17             Aug 26, 2002        Rutledge                       AL     N          6             Y                          Y
18             Jan 15, 2003        Edinburg                       TX     U          6             Y                          Y
19             Jul 8, 2003         Meridian                       MS     N          6             Y                          Y
20             Aug 27, 2003        Chicago                        IL     N          6             Y                          Y
21             Mar 12, 2004        Fresno                         CA     N          9             Y                          Y
22             Nov 21, 2004        Birchwood                      WI      Y         6             N                          N
23             Mar 12, 2005        Brookﬁeld                      WI      Y         7             N                          N
24             Mar 21, 2005        Red Lake                      MN       Y         9             N                          N
25             Jan 30, 2006        Goleta                         CA      Y         7             Y                          N
26             Mar 25, 2006        Seattle                       WA       Y         6             N                          N
27             Jun 1, 2006         Indianapolis                   IN      Y         7             N                          N
28             Dec 16, 2006        Kansas City                    KS     N          6             N                          N
29             Apr 16, 2007        Blacksburg                     VA      Y        32             N                          N
30             Oct 7, 2007         Crandon                        WI      Y         6             N                          N
31             Dec 5, 2007         Omaha                          NE      Y         8             N                          N
32             Dec 24, 2007        Carnation                     WA      U          6             N                          N
33             Feb 7, 2008         Kirkwood                      MO       Y         6             N                          N
34             Sep 2, 2008         Alger                         WA      U          6             N                          N
35             Dec 24, 2008        Covina                         CA      Y         8             Y                          N
36             Jan 27, 2009        Los Angeles                    CA     N          6             Y                          N
37             Mar 10, 2009        Kinston, Samson, and Geneva    AL      Y        10             N                          N
38             Mar 29, 2009        Carthage                       NC     N          8             N                          N
39             Apr 3, 2009         Binghamton                     NY      Y        13             Y                          N
40             Nov 5, 2009         Fort Hood                      TX      Y        13             N                          N
41             Jan 19, 2010        Appomattox                     VA      Y         8             N                          N

                                                                                                                                  Continued



1756    Research   Peer Reviewed    Klarevas et al.                                                   AJPH   December 2019, Vol 109, No. 12
 Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 161
                                     of 396
                                                                                                                   AJPH OPEN-THEMED RESEARCH




 TABLE 1—Continued

Incident           Date                          City                 State       LCM         Deaths, No.       State LCM Ban          Federal Assault Weapons Ban
42             Aug 3, 2010         Manchester                          CT           Y              8                   N                            N
43             Jan 8, 2011         Tucson                              AZ           Y              6                   N                            N
44             Jul 7, 2011         Grand Rapids                        MI           Y              7                   N                            N
45             Aug 7, 2011         Copley Township                     OH          N               7                   N                            N
46             Oct 12, 2011        Seal Beach                          CA          N               8                   Y                            N
47             Dec 25, 2011        Grapevine                           TX          N               6                   N                            N
48             Apr 2, 2012         Oakland                             CA          N               7                   Y                            N
49             Jul 20, 2012        Aurora                              CO           Y             12                   N                            N
50             Aug 5, 2012         Oak Creek                           WI           Y              6                   N                            N
51             Sep 27, 2012        Minneapolis                        MN            Y              6                   N                            N
52             Dec 14, 2012        Newtown                             CT           Y             27                   N                            N
53             Jul 26, 2013        Hialeah                             FL           Y              6                   N                            N
54             Sep 16, 2013        Washington                          DC          N              12                   Y                            N
55             Jul 9, 2014         Spring                              TX           Y              6                   N                            N
56             Sep 18, 2014        Bell                                FL          U               7                   N                            N
57             Feb 26, 2015        Tyrone                             MO           U               7                   N                            N
58             May 17, 2015        Waco                                TX           Y              9                   N                            N
59             Jun 17, 2015        Charleston                          SC           Y              9                   N                            N
60             Aug 8, 2015         Houston                             TX          U               8                   N                            N
61             Oct 1, 2015         Roseburg                            OR           Y              9                   N                            N
62             Dec 2, 2015         San Bernardino                      CA           Y             14                   Y                            N
63             Feb 21, 2016        Kalamazoo                           MI           Y              6                   N                            N
64             Apr 22, 2016        Piketon                             OH          U               8                   N                            N
65             Jun 12, 2016        Orlando                             FL           Y             49                   N                            N
66             May 27, 2017        Brookhaven                          MS          U               8                   N                            N
67             Sep 10, 2017        Plano                               TX           Y              8                   N                            N
68             Oct 1, 2017         Las Vegas                           NV           Y             58                   N                            N
69             Nov 5, 2017         Sutherland Springs                  TX           Y             25                   N                            N

Note. LCM = large-capacity magazine; N = no; U = unknown; Y = yes. From September 13, 1994, until and including September 12, 2004, each and every state,
including the District of Columbia, was subject to a ban on LCMs pursuant to the federal assault weapons ban. To collect the data in Table 1, we searched the
following news media resources for every shooting that resulted in 6 or more fatalities: America’s Historical Newspapers, EBSCO, Factiva, Gannett Newsstand,
Google News Archive, Lexis-Nexis, Newspaper Archive, Newspaper Source Plus, Newspapers.com, Newswires, ProQuest Historical Newspapers, and ProQuest
Newsstand. We also reviewed mass shooting data sets maintained by Mother Jones, the New York Times, and USA Today. In addition to news media sources, we
reviewed reports on mass shootings produced by think tank, policy advocacy, and governmental organizations, including the US Federal Bureau of Investigation
Supplementary Homicide Reports, the crowdsourced Mass Shooting Tracker, and the open-source databases maintained by the Gun Violence Archive and
the Stanford University Geospatial Center. Finally, when it was relevant, we also reviewed court records as well as police, forensic, and autopsy reports. As a
general rule, when government sources were available, they were preferred over other sources. Furthermore, when media sources conﬂicted on the
number of casualties or the weaponry involved, the later sources were privileged (as later reporting is often more accurate).



set of high-fatality mass shootings was no              average of 8 fatalities per incident compared         which the perpetrators did not use LCMs,
exception. As such, the median average                  with 7 fatalities per incident for attacks not        50% (8/16) were in nonban states (Table B,
number of fatalities for each subset of in-             involving LCMs.                                       available as a supplement to the online version
cidents—those involving and those not in-                   For the 60 incidents in which it was known        of this article at http://www.ajph.org). Stated
volving LCMs—was necessarily lower than                 if an LCM was used, in 44 the perpetrator             differently, in nonban states, 81% (34/42) of
the mean average. Nevertheless, like the                used an LCM. Of the 44 incidents in which             high-fatality mass shooting perpetrators used
mean average, the median average was higher             the perpetrators used LCMs, 77% (34/44)               LCMs; in LCM-ban states, only 55% (10/18)
when LCMs were employed—a median                        were in nonban states. In the 16 incidents in         used LCMs.


December 2019, Vol 109, No. 12   AJPH                                                                           Klarevas et al.   Peer Reviewed   Research   1757
 Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 162
                                     of 396
AJPH OPEN-THEMED RESEARCH



    The rate of high-fatality mass shootings                  127.4. In the LCM ban states, it was 41.6                      in nonban states was 8.1 per billion pop-
increased considerably after September 2004                   (Table 2).                                                     ulation; in LCM-ban states it was 2.5 per
(when the federal assault weapons ban ex-                        For the time period beginning with the                      billion population. The annual rate of high-
pired). In the 10 years the federal ban was in                ﬁrst full calendar year following the expiration               fatality mass shooting deaths in the non–LCM
effect, there were 12 high-fatality mass                      of the federal assault weapons ban (January 1,                 ban states was 102.1 per billion population; in
shootings and 89 deaths (an average of 1.2                    2005–December 31, 2017), there were 47                         the LCM ban states it was 23.3. In terms of
incidents and 8.9 deaths per year). Since then,               high-fatality mass shootings in the United                     LCM-involved high-fatality mass shootings,
through 2017, there have been 48 high-                        States. Of these, 39 occurred in states where                  we also found comparable wide differences in
fatality mass shootings and 527 deaths (an                    an LCM ban was not in effect, and 8 occurred                   incidence and fatality rates between ban and
average of 3.6 incidents and 39.6 deaths per                  in LCM ban locations. The annual incidence                     nonban states for the post–federal assault
year in these 13.3 years).                                    rate for high-fatality mass shootings in states                weapons ban period (2005–2017; Table 2).
    Of the 69 high-fatality mass shootings                    without an LCM ban was 13.2 per billion pop-                       We found largely similar results in the
from 1990 to 2017, 49 occurred in states                      ulation; for states with an LCM ban, it was                    multivariate analyses (1990–2017). States that
without an LCM ban in effect at the time and                  7.4 per billion population (Table 2). During                   did not ban LCMs were signiﬁcantly more
20 in states with a ban in effect at the time.                this period, non–LCM ban states had not                        likely to experience LCM-involved high-
The annual incidence rate for high-fatality                   only more incidents but also more deaths                       fatality mass shootings as well as more likely to
mass shootings in states without an LCM ban                   per incident (11.4 vs 9.4). In terms of high-                  experience any high-fatality mass shootings
was 11.7 per billion population; the annual                   fatality mass shooting deaths per billion                      (regardless of whether an LCM was involved).
incidence rate for high-fatality mass shootings               population, the annual number of deaths in                     States that did not ban LCMs also experienced
in states with an LCM ban was 5.1 per billion                 the non-LCM ban states was 150.6; in the                       signiﬁcantly more deaths from high-fatality
population. In that 28-year period, the rate of               LCM ban states it was 69.2 (Table 2).                          mass shootings, operationalized as the abso-
high-fatality mass shootings per capita was 2.3                  When we limited the analysis solely to                      lute number of fatalities (Table 3).
times higher in states without an LCM ban                     high-fatality mass shootings that deﬁnitely                        When the LCM bans were separated
(Table 2).                                                    involved LCMs, the differences between ban                     into federal and state bans, both remained
    Non–LCM ban states had not only more                      and nonban states became larger. For ex-                       signiﬁcantly related to the incidence of
incidents but also more deaths per incident                   ample, for the entire period of 1990 to 2017,                  LCM-involved high-fatality mass shooting
(10.9 vs 8.2). The average annual number of                   of the 44 high-fatality mass shootings that                    events and to the number of LCM-involved
high-fatality mass shooting deaths per billion                involved LCMs, the annual incidence rate for                   high-fatality mass shooting deaths. The as-
population in the non–LCM ban states was                      LCM-involved high-fatality mass shootings                      sociations between federal and state bans and


 TABLE 2—High-Fatality Mass Shootings (‡ 6 Victims Shot to Death) by Whether LCM Bans Were in Effect: United States, 1990–2017

                                                         Average Annual                Total        Annual Incidents per         Total        Annual Deaths per        Deaths per
                                                     Population, No. (Millions)   Incidents, No.   Billion Population, No.    Deaths, No.   Billion Population, No.   Incident, No.
All high-fatality mass shootings, 1990–2017 (28 y)
  Non–LCM ban states                                           149.7                   49                   11.7                  534               127.4                 10.9
  LCM ban states                                               140.7                   20                    5.1                  164                 41.6                 8.2
All high-fatality mass shootings, 2005–2017 (13 y)
  Non–LCM ban states                                           227.8                   39                   13.2                  446               150.6                 11.4
  LCM ban states                                                83.4                     8                   7.4                   75                 69.2                 9.4
LCM-involved high-fatality mass shootings,
 1990–2017 (28 y)
  Non–LCM ban states                                           149.7                   34                    8.1                  428               102.1                 12.6
  LCM ban states                                               140.7                   10                    2.5                   92                23.3                  9.2
LCM-involved high-fatality mass shootings,
 2005–2017 (13 y)
  Non–LCM ban states                                           227.8                   28                    9.5                  369               124.6                 13.2
  LCM ban states                                                83.4                     4                   3.7                   42                 38.7                10.5
Non-LCM high-fatality mass shootings,
 1990–2017 (28 y)
  Non–LCM ban states                                           149.7                     8                   1.9                   56                 13.4                 7.0
  LCM ban states                                               140.7                     8                   2.0                   60                 15.2                 7.5

Note. LCM = large-capacity magazine.



1758   Research      Peer Reviewed      Klarevas et al.                                                                                 AJPH    December 2019, Vol 109, No. 12
 Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 163
                                     of 396
                                                                                                                  AJPH OPEN-THEMED RESEARCH




 TABLE 3—Multivariate Results of the Relationship Between LCM Bans and High-Fatality Mass Shootings (‡ 6 Victims Shot to Death),
 1990–2017 Combined Federal and State Large Capacity Magazine Bans: United States

                                                    LCM-Involved High-Fatality Mass Shootings, b (95% CI)          All High-Fatality Mass Shootings, b (95% CI)
                                                          Incidentsa                    No. Deathsb                 Incidentsa                    No. Deathsb
All LCM bans (federal and state)                    –2.217 (–3.493, –0.940)        –5.912 (–9.261, –2.563)    –1.283 (–2.147, –0.420)        –3.660 (–5.695, –1.624)
Population density                                  –0.011 (–0.052, 0.031)          0.013 (–0.068, 0.095)      0.001 (–0.003, 0.006)          0.011 (–0.005, 0.026)
  % aged 19–24 y                                    –0.480 (–1.689, 0.730)         –2.496 (–5.893, 0.901)      0.283 (–0.599, 1.164)         –0.585 (–2.666, 1.495)
  % aged 25–34 y                                    –0.801 (–1.512, –0.089)        –2.390 (–4.391, –0.388)    –0.337 (–0.871, 0.197)         –1.114 (–2.463, 0.235)
  % Black                                           –0.227 (–1.062, 0.607)         –0.654 (–2.831, 1.522)     –0.163 (–0.703, 0.377)         –0.261 (–1.391, 0.870)
  % with a bachelor’s degree or higher              –0.009 (–0.492, 0.474)         –0.469 (–1.590, 0.652)      0.143 (–0.214, 0.501)          0.183 (–0.715, 1.081)
Percentage of households with a ﬁrearm (proxy)      –0.047 (–0.195, 0.101)         –0.147 (–0.546, 0.251)     –0.020 (–0.131, 0.091)         –0.084 (–0.368, 0.200)
Median household income                              0.000 (0.000, 0.000)           0.000 (0.000, 0.000)       0.000 (0.000, 0.000)           0.000 (0.000, 0.000)
Unemployment rate                                   –0.072 (–0.293, 0.149)         –0.476 (–1.081, 0.129)      0.041 (–0.135, 0.216)         –0.182 (–0.628, 0.263)
Imprisonment rate (per 100 000 population)          –0.006 (–0.012, 0.001)         –0.007 (–0.017, 0.004)     –0.001 (–0.006, 0.003)         –0.003 (–0.012, 0.007)
Total population                                     0.000 (0.000, 0.000)           0.000 (0.000, 0.000)       0.000 (0.000, 0.000)           0.000 (0.000, 0.000)
           2
Pseudo R                                                     0.31                           0.16                       0.26                           0.11

Note. CI = conﬁdence interval; LCM = large-capacity magazine. There were a total of 1428 observations in state-years (51 jurisdictions—all 50 states plus
Washington, DC—over a 28-year period). Mean variance inﬂation factor = 3.49.
a
 Logit regression.
b
  Negative binomial regression.



the overall incidence of all high-fatality mass      since 1990, perpetrators used LCMs. (For                available. In other words, the ﬁrst explanation
shootings as well as the total number of             23%, we determined that they did not involve            is that shooters perceive LCMs to be more
victims in these events remained strongly            LCMs, and a determination could not be made             effective at killing many people; the second
negative but was only sometimes statistically        for the remaining 13%.) Previous research has           explanation is that LCMs are indeed more
signiﬁcant (Table 4).                                shown that LCM ﬁrearms are used in a high               effective at killing many people.
   In terms of sensitivity analyses, using probit    share of mass murders (typically deﬁned as ‡ 4              High-fatality mass shootings are not
instead of logit gave us similar results (not        homicides) and murders of police.9                      common, even in the United States. Between
shown). When the outcome variable was the                We could not ﬁnd reliable estimates of LCM          1990 and 2017, there has been an average
number of high-fatality mass shooting deaths,        ﬁrearms in the US gun stock. However, it                of 2.5 incidents per year, with an average of
we obtained largely similar results concerning       is likely much lower than 64%, given that               25 people killed annually in such attacks.
the association between LCM bans and the             commonly owned ﬁrearms such as revolvers,               However, the number of incidents and the
outcome variables, regardless of whether we          bolt-action riﬂes, and shotguns are not typi-           number of people killed per incident have
used Poisson or negative binominal regression        cally designed to be LCM-capable. During                been increasing since the end of the federal
(not shown). Moreover, replacing the linear          the decade the federal assault weapons ban was          assault weapons ban.
yearly trend with a quadratic function did not       in effect, no ﬁrearms were legally manufactured             In our study, we found that bans on LCMs
change the major results of the analyses (not        with LCMs for sale in the United States. In the         were associated with both lower incidence of
shown). Variance inﬂation factors for all the        postban era, semiautomatic ﬁrearms, especially          high-fatality mass shootings and lower fatality
independent variables never exceeded 10.0,           pistols, are often sold with factory-issue LCMs,        tolls per incident. The difference in incidence
with the variance inﬂation factor for LCM            but ﬁrearms that are not semiautomatic are not          and overall number of fatalities between states,
ban variables always being less than 2.0, in-        sold with such magazines.                               with and without bans, was even greater for
dicating that there were no signiﬁcant mul-              Why do we ﬁnd LCMs so prominent                     LCM-involved high-fatality mass shootings.
ticollinearity issues (Tables 3 and 4).              among high-fatality mass shootings? We                      The multivariate results are largely con-
                                                     suspect there are 2 main reasons. The ﬁrst is           sistent with these bivariate associations. When
                                                     that perpetrators probably deliberately select          we controlled for 10 independent variables
                                                     LCMs because they facilitate the ability to ﬁre         often associated with overall crime rates, as
DISCUSSION                                           many rounds without having to stop to                   well as state and year effects, states with LCM
   In the United States, LCMs are dispro-            reload. The second reason is that the ability           bans had lower rates of high-fatality mass
portionately used in high-fatality mass              of shooters to kill many victims—especially             shootings and fewer high-fatality mass
shootings (incidents in which ‡ 6 victims are        the 6 victims required to be included in our            shooting deaths. When we investigated fed-
shot to death). In at least 64% of the incidents     data set—may be reduced if LCMs are not                 eral and state bans separately in the multiple


December 2019, Vol 109, No. 12     AJPH                                                                        Klarevas et al.   Peer Reviewed   Research     1759
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 164
                                    of 396
AJPH OPEN-THEMED RESEARCH




 TABLE 4—Multivariate Results of the Relationship Between Large Caliber Magazine Bans and High-Fatality Mass Shootings (‡ 6 Victims Shot to
 Death), 1990–2017 Separate Federal and State Large Caliber Magazine Bans: United States

                                                       LCM-Involved High-Fatality Mass Shootings, b (95% CI)          All High-Fatality Mass Shootings, b (95% CI)
                                                             Incidentsa                    No. Deathsb                 Incidentsa                    No. Deathsb
Federal LCM ban                                        –1.434 (–2.622, –0.245)       –3.571 (–7.103, –0.038)      –0.895 (–1.806, 0.016)        –2.570 (–4.902, –0.238)
State LCM bans                                         –2.603 (–4.895, –0.311)       –8.048 (–15.172, –0.925)     –1.277 (–2.977, 0.422)        –3.082 (–7.227, 1.064)
Population density                                     –0.012 (–0.055, 0.030)        –0.001 (–0.085, 0.083)        0.001 (–0.003, 0.006)         0.009 (–0.007, 0.024)
  % aged 19–24 y                                       –0.311 (–1.499, 0.878)        –2.589 (–6.057, 0.879)        0.342 (–0.551, 1.236)        –0.531 (–2.759, 1.698)
  % aged 25–34 y                                       –0.812 (–1.532, –0.093)       –2.660 (–4.848, –0.471)      –0.323 (–0.864, 0.217)        –0.848 (–2.236, 0.539)
  % Black                                              –0.229 (–1.101, 0.643)        –0.770 (–3.232, 1.693)       –0.150 (–0.698, 0.398)        –0.154 (–1.321, 1.013)
  % with a bachelor’s degree or higher                 –0.031 (–0.447, 0.509)        –0.479 (–1.577, 0.618)        0.156 (–0.199, 0.511)         0.269 (–0.567, 1.106)
Percentage of households with a ﬁrearm (proxy)         –0.055 (–0.210, 0.101)        –0.227 (–0.651, 0.196)       –0.019 (–0.133, 0.094)        –0.107 (–0.399, 0.186)
Median household income                                 0.000 (0.000, 0.000)          0.000 (0.000, 0.000)         0.000 (0.000, 0.000)          0.000 (0.000, 0.000)
Unemployment rate                                      –0.061 (–0.284, 0.162)        –0.420 (–1.041, 0.201)        0.046 (–0.132, 0.224)        –0.157 (–0.619, 0.305)
Imprisonment rate (per 100 000 population)             –0.006 (–0.013, 0.000)        –0.012 (–0.026, 0.002)       –0.002 (–0.007, 0.003)        –0.003 (–0.014, 0.007)
Total population                                        0.000 (0.000, 0.000)          0.000 (0.000, 0.000)         0.000 (0.000, 0.000)          0.000 (0.000, 0.000)
           2
Pseudo R                                                        0.30                          0.15                        0.26                           0.11

Note. CI = conﬁdence interval; LCM = large-capacity magazine. There were a total of 1428 observations in state-years (51 jurisdictions—all 50 states plus
Washington, DC—over a 28-year period). Mean variance inﬂation factor = 3.45.
a
 Logit regression.
b
  Negative binomial regression.

regressions, both were signiﬁcantly associated             count than those states with no such bans            also increases. Indeed, of the 13 high-fatality
with the incidence of LCM-involved high-                   in effect? Yes. In fact, the effect is more          mass shootings with 10 or more fatalities in
fatality mass shootings as well as the number of           pronounced for high-fatality mass shoot-             our data set, 12 (92%) involved an LCM.
victims in LCM-involved attacks. The re-                   ings involving LCMs than for those not                   Third, although many high-fatality mass
lationship between these bans, considered                  involving LCMs.                                      shootings tend to be highly publicized, in 13%
separately, and all high-fatality mass shooting         4. Do states with LCM bans experience                   of the incidents we reviewed, we could not
incidence and deaths is often not statistically            high-fatality mass shootings (regardless of          determine whether an LCM was used. As a
signiﬁcant, although this may be attributable to           whether they involve LCMs) at a lower                sensitivity analysis, we assessed the assump-
lack of statistical power (number of observa-              rate and a lower fatality count than states          tions that all of the unknown cases ﬁrst did,
tions) to ﬁnd a statistically signiﬁcant effect.           with no such bans in effect? Yes.                    and then did not, involve LCMs. Neither
    Our analysis provides answers to 4 im-                                                                      assumption appreciably changed our main
portant questions:                                                                                              results (not shown).
                                                                                                                    Fourth, as a general rule, clustering stan-
1. How often are LCMs used in high-fatality             Limitations                                             dard errors is most appropriate when there is
   mass shootings? At minimum, 64% of                       Our study had various limitations. First,           a large number of treated units. Although
   high-fatality mass shootings perpetrated             although we carefully searched for every                during the decade of the federal assault
   between 1990 and 2017 involved LCMs.                 high-fatality mass shooting, it is possible that        weapons bans all 50 states plus the District
2. Are more people killed when LCMs are                 we might have missed some. Nevertheless,                of Columbia regulated LCMs, during the
   used? Yes, and the difference in our data            we suspect that this is unlikely, because it            remaining time periods under examination,
   set is substantial and statistically signiﬁcant      would mean that others who compiled lists               only 8 jurisdictions regulated LCMs. As a
   (11.8 vs 7.3). We should add that our                have also missed the same ones, for we                  result, there is the possibility that the standard
   results likely underestimate the difference          checked our list against multiple sources.              errors were underestimated in our analyses.34
   because we have a truncated sample (we                   Second, our deﬁnition of a high-fatality                Fifth, there were only 69 events that
   only examined incidents with at least 6              mass shooting is a shooting that results in             met our criterion for a “high-fatality mass
   victim fatalities), compounded by the fact           6 or more fatal victims. A different threshold          shooting.” Although 69 is a horriﬁc number
   that the number of homicide incidents fell           criterion (e.g., 6 or more people shot; 5 or            of incidents, for statistical purposes, it is a
   as the number of victims increased.                  more victims killed), might lead to somewhat            relatively small number and limits the power
3. Do states with LCM bans experience                   different results. We expect that as the                to detect signiﬁcant associations. For example,
   high-fatality mass shootings involving               number of victims in a shooting increases, the          we did not have the statistical power (and thus
   LCMs at a lower rate and a lower fatality            likelihood that the perpetrator used an LCM             did not even try) to determine whether


1760   Research      Peer Reviewed   Klarevas et al.                                                                        AJPH     December 2019, Vol 109, No. 12
 Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 165
                                     of 396
                                                                                                                                        AJPH OPEN-THEMED RESEARCH



different aspects of the various LCM laws                          HUMAN PARTICIPANT PROTECTION                                   18. Krouse WJ, Richardson DJ. Mass murder with ﬁre-
                                                                   No protocol approval was needed because no human               arms: incidents and victims, 1999–2013. CRS Report
might have differential effects on the in-                                                                                        R44126. Washington, DC: Congressional Research
                                                                   participants were involved in this study.
cidence of high-fatality mass shootings.                                                                                          Service; 2015.
Moreover, because of suboptimal statistical                                                                                       19. Wilson LC. The Wiley Handbook of the Psychology of
                                                                   REFERENCES
power, there is also the possibility that the                      1. Wintemute GJ. How to stop mass shootings. N Engl            Mass Shootings. Hoboken, NJ: Wiley; 2016.
magnitude of the effects detected was                              J Med. 2018;379(13):1193–1196.                                 20. Klarevas L. Rampage Nation: Securing America From
overestimated.35                                                   2. Reeping PM, Cerda M, Kalesan B, Wiebe DJ, Galea S,          Mass Shootings. Amherst, NY: Prometheus; 2016.
                                                                   Branas CC. State gun laws, gun ownership, and mass             21. Schildkraut J, Elsass HJ. Mass Shootings: Media, Myths,
                                                                   shootings in the US: cross sectional time series. BMJ. 2019;   and Realities. Denver, CO: Praeger; 2016.
                                                                   364(8190):1542–1548.
Public Health Implications                                                                                                        22. Schildkraut J. Mass Shootings in America: Understanding
                                                                   3. Sanger-Katz M, Bui Q. How to reduce mass shooting           the Debates, Causes, and Responses. Denver, CO: ABC-
    LCMs increase the ability to ﬁre large                         deaths? Experts rank gun laws. New York Times. Octo-           CLIO; 2018.
numbers of bullets without having to pause to                      ber 5, 2017. Available at: https://www.nytimes.com/            23. Rocque M, Duwe G. Rampage shootings: an his-
reload. Any measure that can force a pause in                      interactive/2017/10/05/upshot/how-to-reduce-mass-              torical, empirical, and theoretical overview. Curr Opin
                                                                   shooting-deaths-experts-say-these-gun-laws-could-              Psychol. 2018;19(1):28–33.
an active shooting—creating opportunities                          help.html. Accessed June 10, 2019.
for those in the line of ﬁre to ﬂee, take cover,                   4. Kamerow D. Guns don’t kill crowds, people with
                                                                                                                                  24. Phaneuf SW. Mass shootings: understanding the
                                                                                                                                  complexities. In: Hilinski-Rosick CM, Lee DR, eds.
or physically confront a gunman—offers a                           semi-automatics do. BMJ. 2011;342(1):d477.                     Contemporary Issues in Victimology: Identifying Patterns and
possibility of reducing the number of vic-                         5. Barry CL, Webster DW, Stone E, Crifasi CK,                  Trends. New York, NY: Lexington; 2018.
tims in such an attack. To put it in different                     Vernick JS, McGinty EE. Public support for gun vio-            25. Moody CE, Marvell TB. Clustering and standard error
                                                                   lence prevention policies among gun owners and non–
terms, if the only ﬁrearms available were                          gun owners in 2017. Am J Public Health. 2018;108(7):
                                                                                                                                  bias in ﬁxed effects panel data regressions. J Quant Crim;
                                                                                                                                  2018:1–23.
18th-century muskets, it is doubtful that mass                     878–881.
                                                                                                                                  26. Gius M. The impact of state and federal assault
shootings would be the social problem they                         6. Lenett MG. Taking a bite out of violent crime. Univ         weapons bans on public mass shootings. Appl Econ Lett.
are today.                                                         Dayton Law Rev. 1995;20(2):573–617.                            2015;22(4):281–284.
    The impact of individual state ﬁrearm laws                     7. Muchnick JY. The assault weapons ban: saving lives.         27. Blau BM, Gorry DH, Wade C. Guns, laws and public
                                                                   Univ Dayton Law Rev. 1995;20(2):641–651.
is reduced by the fact that guns often move                                                                                       shootings in the United States. Appl Econ. 2016;48(49):
across state lines—occasionally purchased in                       8. Koper CS, Roth JA. The impact of the 1994 federal           4732–4746.
                                                                   assault weapon ban on gun violence outcomes: an as-            28. Follman M, Aronsen G, Pan D. A guide to mass
locales with more permissive laws and taken                        sessment of multiple outcome measures and some lessons         shootings in America. Mother Jones. May 31, 2019.
to states with more restrictive laws. This is                      for policy evaluation. J Quant Criminol. 2001;17(1):33–74.     Available at: https://www.motherjones.com/politics/
partly why efforts aimed at reducing the                           9. Koper CS, Johnson WD, Nicholas JL, Ayers A, Mullins         2012/07/mass-shootings-map. Accessed June 10, 2019.
frequency and lethality of mass shootings                          N. Criminal use of assault weapons and high-capacity           29. Kleck G. Large-capacity magazines and the casualty
                                                                   semiautomatic ﬁrearms: an updated examination of local         counts in mass shootings: the plausibility of linkages. Justice
must necessarily be multifaceted and multi-                        and national sources. J Urban Health. 2018;95(3):313–321.      Res Policy. 2016;17(1):28–47.
disciplinary. Legal restrictions on ﬁrearms are                    10. Giffords Law Center to Prevent Gun Violence. Large         30. Webster DW, Donohue JJ, Klarevas L, et al. Firearms
merely a part of this broader, public health                       capacity magazines. Available at: http://lawcenter.            on college campuses: research evidence and policy im-
approach. That being said, the theory behind                       giffords.org/gun-laws/policy-areas/hardware-                   plications. Report of the Johns Hopkins University
                                                                   ammunition/large-capacity-magazines. Accessed June             Center for Gun Policy and Research. Baltimore, MD:
reducing the availability of LCMs to reduce                        10, 2019.                                                      Johns Hopkins Bloomberg School of Public Health;
the number of victims in mass shootings                            11. Giffords Law Center to Prevent Gun Violence. Assault       2016.
makes sense, and our empirical results, con-                       weapons. Available at: https://lawcenter.giffords.org/         31. Kleck G. Targeting Guns: Firearms and Their Control.
sistent with much of the limited literature on                     gun-laws/policy-areas/hardware-ammunition/assault-             Hawthorne, NY: Aldine de Gruyter; 1997.
                                                                   weapons. Accessed June 10, 2019.
mass shootings, suggest that LCM bans have                                                                                        32. Hemenway D. Private Guns, Public Health. Ann Arbor,
                                                                   12. Webster DW, Champion HR, Gainer PS, Sykes L.
been effective in saving lives.                                                                                                   MI: University of Michigan Press; 2017.
                                                                   Epidemiologic changes in gunshot wounds in Wash-
                                                                   ington, DC, 1983–1990. Arch Surg. 1992;127(6):                 33. Azrael D, Cook PJ, Miller M. State and local prev-
                                                                                                                                  alence of ﬁrearms ownership: measurement, structure and
CONTRIBUTORS                                                       694–698.
                                                                                                                                  trends. J Quant Criminol. 2004;20(1):43–62.
L. Klarevas and D. Hemenway designed the study, col-               13. Koper CS, Roth JA. A priori assertions versus em-
lected the data, and contributed equally to all parts of the       pirical inquiry: a reply to Kleck. J Quant Criminol. 2001;     34. Conley TG, Taber CR. Inference with “difference in
study. A. Conner ran the statistical analyses and helped           17(1):81–88.                                                   differences” with a small number of policy changes. Rev
construct the tables that report the results of the multi-                                                                        Econ Stat. 2011;93(1):113–125.
variate analyses. All authors approved the ﬁnal article as         14. Livingston DH, Lavery RF, Lopreiato MC, Lavery
                                                                   DF, Passannante MR. Unrelenting violence: an analysis of       35. Button KS, Ioannidis JPA, Mokrysz C, et al. Power
submitted.                                                                                                                        failure: why small sample size undermines the reliability of
                                                                   6,322 gunshot wound patients at a level I trauma center. J
                                                                   Trauma Acute Care Surg. 2014;76(1):2–9.                        neuroscience [erratum Nat Rev Neurosci. 2013;14(6):451].
ACKNOWLEDGMENTS                                                                                                                   Nat Rev Neurosci. 2013;14(5):365–376.
The authors would like to thank John Berrigan, research            15. Manley NR, Fabian TC, Sharpe JP, Magnotti LJ,
assistant at the Harvard Injury Control Research Center,           Croce MA. Good news, bad news: an analysis of 11,294
for his assistance with the undertaking of this study.             gunshot wounds (GSWs) over two decades in a single
                                                                   center. J Trauma Acute Care Surg. 2017;84(1):58–65.
                                                                   16. McCullough J. The Ultimate Guide to US Army Combat
CONFLICTS OF INTEREST
L. Klarevas has, in the past 2 years, served as an expert to the   Skills, Tactics and Techniques. New York, NY: Skyhorse;
states of Colorado and California in civil litigation that         2012.
involved the constitutionality of state restrictions on            17. Fox JA, DeLateur MJ. Mass shootings in America:
large-capacity magazines. The authors have no additional           moving beyond Newtown. Homicide Stud. 2014;18(1):
conﬂicts of interest to report.                                    125–145.



December 2019, Vol 109, No. 12            AJPH                                                                                      Klarevas et al.    Peer Reviewed        Research       1761
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 166
                                    of 396




                      EXHIBIT J
                                                                                                                                                                                Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 167
                                                                                                                                                                                                                    of 396

                                                                                                                                                                                                                                                  AAST 2018 PODIUM PAPER



                                                                                                                                                                                                  Changes in US mass shooting deaths associated with
                                                                                                                                                                                                     the 1994–2004 federal assault weapons ban:
                                                                                                                                                                                                             Analysis of open-source data
                                                                                                                                                                                                            Charles DiMaggio, PhD, MPH, Jacob Avraham, MD, Cherisse Berry, MD,
                                                                                                                                                                                                           Marko Bukur, MD, Justin Feldman, ScD, Michael Klein, MD, Noor Shah, MD,
                                                                                                                                                                                                            Manish Tandon, MD, and Spiros Frangos, MD, MPH, New York, New York
'RZQORDGHG IURP KWWSVMRXUQDOVOZZFRPMWUDXPD E\ %K'0IH3+.DY](RXPW4I1DN-/K(=JEV,+R;0LK&\Z&;$:Q<4S,O4U+';*-L-6'DN/ZH-5&FL2:QU32\E<O:+\N'T<5< RQ 




                                                                                                                                                                                                                                 AAST Continuing Medical Education Article
                                                                                                                                                                                  Accreditation Statement                                                                       Disclosure Information
                                                                                                                                                                                  This activity has been planned and implemented in accordance with the Es-                    In accordance with the ACCME Accreditation Criteria, the American College of
                                                                                                                                                                                  sential Areas and Policies of the Accreditation Council for Continuing Medical               Surgeons, as the accredited provider of this journal activity, must ensure that anyone
                                                                                                                                                                                  Education through the joint providership of the American College of Surgeons                 in a position to control the content of J Trauma Acute Care Surg articles selected for
                                                                                                                                                                                  and the American Association for the Surgery of Trauma. The American                         CME credit has disclosed all relevant financial relationships with any commercial
                                                                                                                                                                                  College Surgeons is accredited by the ACCME to provide continuing medical                    interest. Disclosure forms are completed by the editorial staff, associate editors,
                                                                                                                                                                                  education for physicians.                                                                    reviewers, and all authors. The ACCME defines a `commercial interest' as “any
                                                                                                                                                                                  AMA PRA Category 1 Credits™                                                                  entity producing, marketing, re-selling, or distributing health care goods or services
                                                                                                                                                                                  The American College of Surgeons designates this journal-based CME activity for              consumed by, or used on, patients.” “Relevant” financial relationships are those (in
                                                                                                                                                                                  a maximum of 1 AMA PRA Category 1 Credit™. Physicians should claim only the credit           any amount) that may create a conflict of interest and occur within the 12’months
                                                                                                                                                                                  commensurate with the extent of their participation in the activity.
                                                                                                                                                                                                                                                                               preceding and during the time that the individual is engaged in writing the article. All
                                                                                                                                                                                      Of the AMA PRA Category 1 Credit™ listed above, a maximum of 1 credit meets
                                                                                                                                                                                                                                                                               reported conflicts are thoroughly managed in order to ensure any potential bias
                                                                                                                                                                                  the requirements for self-assessment.
                                                                                                                                                                                                                                                                               within the content is eliminated. However, if you’perceive a bias within the article,
                                                                                                                                                                                        Credits can only be claimed online                                                     please report the circumstances on the evaluation form.
                                                                                                                                                                                                                                                                                   Please note we have advised the authors that it is their responsibility to disclose within
                                                                                                                                                                                                                                                                               the article if they are describing the use of a device, product, or drug that is not FDA
                                                                                                                                                                                                                                                                               approved or the off-label use of an approved device, product, or drug or unapproved usage.
                                                                                                                                                                                                                                                                               Disclosures of Significant Relationships with
                                                                                                                                                                                                                                                                               Relevant Commercial Companies/Organizations
                                                                                                                                                                                                                                                                               by the Editorial Staff
                                                                                                                                                                                                                                                                               Ernest E. Moore, Editor: PI, research support and shared U.S. patents Haemonetics;
                                                                                                                                                                                                                                                                               PI, research support, Instrumentation Laboratory, Inc.; Co-founder, Thrombo Thera-
                                                                                                                                                                                  Objectives                                                                                   peutics. Associate Editors David Hoyt, Ronald V. Maier and Steven Shackford have
                                                                                                                                                                                  After reading the featured articles published in the Journal of Trauma and Acute
                                                                                                                                                                                                                                                                               nothing to disclose. Editorial staff and Angela Sauaia have nothing to disclose.
                                                                                                                                                                                  Care Surgery, participants should be able to demonstrate increased understanding
                                                                                                                                                                                  of the material specific to the article. Objectives for each article are featured at         Author Disclosures
                                                                                                                                                                                  the beginning of each article and online. Test questions are at the end of the article,      The authors have nothing to disclose.
                                                                                                                                                                                  with a critique and specific location in the article referencing the question topic.         Reviewer Disclosures
                                                                                                                                                                                  Claiming Credit                                                                              The reviewers have nothing to disclose.
                                                                                                                                                                                  To claim credit, please visit the AAST website at http://www.aast.org/ and click on          Cost
                                                                                                                                                                                  the “e-Learning/MOC” tab. You must read the article, successfully complete the               For AAST members and Journal of Trauma and Acute Care Surgery subscribers
                                                                                                                                                                                  post-test and evaluation. Your CME certificate will be available immediately upon            there is no charge to participate in this activity. For those who are not a member
                                                                                                                                                                                  receiving a passing score of 75% or higher on the post-test. Post-tests receiving a score    or subscriber, the cost for each credit is $25.
                                                                                                                                                                                  of below 75% will require a retake of the test to receive credit.
                                                                                                                                                                                  System Requirements
                                                                                                                                                                                  The system requirements are as follows: Adobe® Reader 7.0 or above installed; Internet Explorer® 7 and above; Firefox® 3.0 and above, Chrome® 8.0 and above, or
                                                                                                                                                                                  Safari™ 4.0 and above.
                                                                                                                                                                                  Questions
                                                                                                                                                                                  If you have any questions, please contact AAST at 800-789-4006. Paper test and evaluations will not be accepted.




                                                                                                                                                                                From the Department of Surgery, Division of Trauma and Critical Care Surgery (C.D., J.A., C.B., M.B., J.F., M.K., N.S., M.T., S.F.), New York University School of Medicine, New
                                                                                                                                                                                    York, New York.
                                                                                                                                                                                Address for reprints: Charles DiMaggio, PhD, MPH, Department of Surgery, New York University School of Medicine, 462 First Ave, NBV 15, New York, NY 10016-9196; email:
                                                                                                                                                                                    Charles.DiMaggio@nyumc.org.
                                                                                                                                                                                77th Annual Meeting of AAST and the World Trauma Congress, Sep 26 - 29, 2018, San Diego, California.

                                                                                                                                                                                DOI: 10.1097/TA.0000000000002060
                                                                                                                                                                                J Trauma Acute Care Surg
                                                                                                                                                                                Volume 86, Number 1                                                                                                                                                                        11


                                                                                                                                                                                                                                   Copyright © 2018 Wolters Kluwer Health, Inc. All rights reserved.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 168
                                    of 396
                                                                                                                                          J Trauma Acute Care Surg
DiMaggio et al.                                                                                                                               Volume 86, Number 1



     BACKGROUND:        A federal assault weapons ban has been proposed as a way to reduce mass shootings in the United States. The Federal Assault
                        Weapons Ban of 1994 made the manufacture and civilian use of a defined set of automatic and semiautomatic weapons and large
                        capacity magazines illegal. The ban expired in 2004. The period from 1994 to 2004 serves as a single-arm pre-post observational
                        study to assess the effectiveness of this policy intervention.
     METHODS:           Mass shooting data for 1981 to 2017 were obtained from three well-documented, referenced, and open-source sets of data, based on
                        media reports. We calculated the yearly rates of mass shooting fatalities as a proportion of total firearm homicide deaths and per US
                        population. We compared the 1994 to 2004 federal ban period to non-ban periods, using simple linear regression models for rates and a
                        Poison model for counts with a year variable to control for trend. The relative effects of the ban period were estimated with odds ratios.
     RESULTS:           Assault rifles accounted for 430 or 85.8% of the total 501 mass-shooting fatalities reported (95% confidence interval, 82.8–88.9) in
                        44 mass-shooting incidents. Mass shootings in the United States accounted for an increasing proportion of all firearm-related ho-
                        micides (coefficient for year, 0.7; p = 0.0003), with increment in year alone capturing over a third of the overall variance in the data
                        (adjusted R2 = 0.3). In a linear regression model controlling for yearly trend, the federal ban period was associated with a statisti-
                        cally significant 9 fewer mass shooting related deaths per 10,000 firearm homicides (p = 0.03). Mass-shooting fatalities were 70%
                        less likely to occur during the federal ban period (relative rate, 0.30; 95% confidence interval, 0.22–0.39).
     CONCLUSION:        Mass-shooting related homicides in the United States were reduced during the years of the federal assault weapons ban of 1994 to
                        2004. (J Trauma Acute Care Surg. 2019;86: 11–19. Copyright © 2018 American Association for the Surgery of Trauma.)
     LEVEL OF EVIDENCE: Observational, level II/IV.
     KEY WORDS:         Firearms; mass-shootings; assault weapons; epidemiology.




I ncreases in firearm-related injuries, particularly mass-shooting
  related fatalities, in the United States have contributed to a po-
larizing and sometimes contentious debate over gun ownership
                                                                                             In a study soon following the implementation of the 1994
                                                                                      ban, researchers reported a 55% decrease in the recovery of as-
                                                                                      sault weapons by the Baltimore City Police in the first 6 months
and limiting weapons characterized as assault weapons.1,2 De-                         of 1995, indicating a statistically significant 29 fewer such fire-
spite the increasing sense that there is an epidemic of indiscrim-                    arms in the population.11 In a 2009 study based on ICD9 exter-
inate firearm violence in our schools and public spaces, there is a                   nal cause of injury codes for patients younger than 18 years in the
paucity of public health evidence on the topic. Among a number                        United States, 11 states with assault and large-capacity magazine
of recommendations, a federal Assault Weapons Ban (AWB) has                           bans, as well as other firearm laws, were compared with 33 states
been proposed as a way to prevent and control mass shootings in                       without such restrictions. The incidence of firearm injuries per
the United States. In this article, we assess evidence for the effec-                 1,000 total traumatic injuries was significantly lower in states
tiveness of such a ban in preventing or controlling mass-shooting                     with restrictive laws, 2.2 compared with 5.9.12 In contrast, a
homicides in the United States.                                                       comprehensive 2001 evaluation of the AWB itself concluded
       While mass shootings occur in other industrialized nations,                    that there was “no evidence of reductions in multiple-victim
the United States is particularly prone to these crimes. In a recent                  gun homicides or multiple-gunshot wound victimizations”. The
30-year period, the United States had double the number of mass-                      authors cautioned their results should be “interpreted cautiously”
shooting incidents than the next 24 industrialized nations com-                       because of the short period since the ban's inception, and that
bined.3 Any public perception of recent increases in the number                       future assessments were warranted.13 More recent studies, while
of these events is borne out by analysis of available data.4 By one                   not primarily addressing the US Federal AWB have found re-
measure, there have been more deaths due to mass shootings in                         sults generally consistent with its effectiveness in preventing
the United States in the past 18 years than in the entire 20th cen-                   mass-shooting fatalities.14,15
tury.5 While there is some debate about the role of mental illness                           We believe sufficient time has passed and enough data
in mass shootings,6–8 many high-profile recent mass shootings                         have accumulated to treat the period from 1994 to 2004 as a nat-
(Aurora, CO; Roseburg, OR; San Bernadino, CA; Newtown,                                uralistic pre-post observational comparison period for the asso-
CT; Orlando; Las Vegas; Sutherland Springs, TX) have been                             ciation of the AWB with changes in mass-shootings in the United
characterized by the use of semiautomatic assault rifles,9 leading                    States. Because there is no authoritative source or registry, or
some to advocate for restrictions on the manufacture and sale of                      even a widely agreed upon definition for these incidents, we ob-
these weapons.                                                                        tained data from three open source references and restricted our
       While survey results indicate that researchers in criminol-                    analyses to only those incidents confirmed by all three sources.
ogy, law and public health rank an assault weapons ban as one of                      We assess evidence for the potential effectiveness of such a ban
the most effective measures to prevent mass shootings, and that                       in preventing and controlling mass-shooting homicides in the
67% of the US general population support such a ban,10 the                            United States. We hypothesized that the implementation of the
existing evidence on banning assault weapons is scant and                             Federal AWB contributed to a reduction in mass shooting deaths
sometimes contradictory. Most evidence is related to the Federal                      as measured by the number and rate of mass shooting fatalities
AWB of 1994, which made illegal the manufacture and use by                            before, during, and after the federal AWB.
civilians of a defined set of automatic and semiautomatic
weapons and large capacity magazines. Formally known as                                                              METHODS
“The Public Safety and Recreational Firearms Use Protection
Act”, the AWB was part of the broader “Violent Crime Control                               Mass incident shooting data were obtained from three in-
and Law Enforcement Act of 1994. The ban lasted 10 years,                             dependent, well-documented and referenced online sources:
expiring in 2004 when the US Congress declined to renew it.                           Mother Jones Magazine, the Los Angeles Times and Stanford

12                                                                                                  © 2018 American Association for the Surgery of Trauma.


                                              Copyright © 2018 Wolters Kluwer Health, Inc. All rights reserved.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 169
                                    of 396
J Trauma Acute Care Surg
Volume 86, Number 1                                                                                                               DiMaggio et al.



University.16–18 These sources have each been the basis for a             for trend with yearly rates based on (1) CDC WISQARS homi-
number of previous studies.19–26 Data from the three online               cide data ending in 2016, (2) extrapolated CDC WISQARS ho-
open-source references were combined. Analyses were restricted            micide data for 2017, and (3) population denominator-based
to incidents reported by all three sources. Entries were further re-      rates. We tested the robustness of our underlying modeling as-
stricted to those for which four or more fatalities (not including        sumptions with an alternate mixed-effects generalized linear model
the shooter) were reported, which meets the strictest definition          of yearly mass shooting fatality counts with an observation-level
of mass shootings as defined by the Federal Bureau of Investi-            random effect to account for overdispersion.
gation.27,28 Yearly homicide data were obtained from the US                      The study was determined to be exempt as nonidentifiable
Centers for Disease Control and Prevention Web-based Injury               data. The study data and analytic code are available for down-
Statistics Query and Reporting System (WISQARS) an online                 load at http://www.injuryepi.org/styled-2/.
database of fatal and nonfatal injury.29 Because 2017 data were
not yet available in the WISQARS system, data for firearm-
related homicide data for that year were obtained from a separate                                      RESULTS
online source.30                                                                  The three data sources listed incidents ranging in number
        A variable was created to indicate the 1994 to 2004 period        from 51 (LA Times) to 335 (Stanford) and in dates from 1966
as the federal ban period. We attempted to identify incidents in-         (Stanford) to 2018 (LA Times). There were a total of 51 reported
volving assault weapons. An assault weapon has been defined               cases of mass shootings between 1981 and 2017 confirmed by all
as semiautomatic rifle that incorporates military-style features          three sources. Forty-four of these incidents met the strictest criteria
such as pistol grips, folding stocks, and high-capacity detachable        for mass shootings (4 or more killed), totaling 501 all-weapon
magazines.31 In this study, assault weapons were identified               fatalities. In total 1,460 persons were injured or killed over
using the text search terms “AK,” “AR,” “MCX,” “assault,” “as-            the 37-year period, for a total case-fatality ratio of 34.3%
sault,” or “semiautomatic” in a text field for weapon details.            (95% CI, 31.9–36.8). The overall rate of mass shooting fatalities
These terms were based on descriptions of the federal assault             per 10,000 firearm-related homicides was 10.2 (95% CI,
ban legislative language.32 The total number of mass shooting             9.4–11.2). There was an increase in the all-weapon yearly
fatalities and injuries were aggregated by year and merged with           number of mass-shooting fatalities in the United States during
the yearly firearm homicide data.                                         the study period, (Fig. 1) and evidence of a decrease in case fatal-
        The rate of mass shooting fatalities per 10,000 firearm ho-       ity in the post-2010 period (Fig. 2). Incidents in which weapons
micide deaths was calculated. For the years covered by the data           were characterized as assault rifles accounted for 430 or 85.8%
sources, we calculated (1) the total and yearly number of mass-           of mass-shooting fatalities (95% CI, 82.8–88.9). Weapons char-
shooting incidents that met the strictest criteria and were con-          acterized as assault rifles accounted for all mass-shooting fatal-
firmed by all three sources, (2) the number of all weapon (assault        ities in 15 (62.5%) of the 24 (95% CI, 42.6–78.9) years for which
and nonassault weapons) mass-shooting fatalities, and (3) the             a mass-shooting incident was reported, accounting for a total of
case-fatality ratio of all-weapon mass-shooting fatalities per 100        230 fatalities in those years.
total mass-shooting fatalities and injuries. The yearly case-fatality             Between 1981 and 2017, mass shootings in the United States
ratio was plotted with overlying Loess line for trend and standard        accounted for an increasing proportion of all firearm-related ho-
error limits. We also plotted the yearly rate of mass shooting fa-        micides, with increment in year accounting for nearly 32% of
talities per 10,000 firearm-related homicides with an overlying           the overall variance in the data. During the years in which the
simple linear model with year as the predictor for (1) the total          AWB was in effect, this slope decreased, with an increase in the
period, and (2) for preban, ban, and postban periods.                     slope of yearly mass-shooting homicides in the postban period
        We evaluated assumptions of normality and linearity of
the data using graphical methods such as density plots and Q-Q
normal plots as well as summary statistics. We tested the hypoth-
esis that the federal ban period was associated with a decrease in
the number and rate of mass-shooting fatalities in the United
States with a multiple linear regression model, with total homi-
cide-based mass-shooting fatality rate as the outcome variable, a
dichotomous indicator variable for the federal ban period as the
predictor variable, and year as a control variable for trend over
time. We calculated the relative risk of mass shooting fatalities
during the federal ban period compared to nonban periods by
using the “epitab” function of the R “epitools” package. This es-
timate is based on the ratio of the fatality rate during the ban pe-
riod divided by the fatality rate during the nonban period. All
results are presented with two-sided p values with a significance
level of 0.05 and/or 95% confidence intervals (CI). We conducted
subgroup analysis with data restricted to incidents in which an
assault-type weapon was explicitly noted.
        We conducted analyses to test the sensitivity of our results
to the choice of denominator with linear regression models controlling    Figure 1. Mass shooting deaths. United States 1981–2017.

© 2018 American Association for the Surgery of Trauma.                                                                                        13


                                       Copyright © 2018 Wolters Kluwer Health, Inc. All rights reserved.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 170
                                    of 396
                                                                                                                       J Trauma Acute Care Surg
DiMaggio et al.                                                                                                            Volume 86, Number 1




Figure 2. Case fatality per 100 total mass-shooting injuries with
loess smoothing line for trend and standard error bounds.
United States 1981–2017.

(Fig. 3). A similar pattern was evident in data restricted to those
                                                                        Figure 4. Mass-shooting shooting deaths per 10,000
incidents characterized as involving assault weapons (Fig. 4).
                                                                        firearm-related homicides restricted to incidents involving assault
       In a linear regression model controlling for yearly trend,       weapons with linear trends for preban, ban, and postban periods.
the federal ban period was associated with a statistically signifi-     United States 1981–2017.
cant 9 fewer mass shooting–related deaths per 10,000 firearm
homicides per year (Table 1). The model indicated that year             restricted to just those incidents characterized by the use of an
and federal ban period alone accounted for nearly 40% of all            assault weapon indicated that seven preventable deaths during
the variation in the data (adjusted R2 = 0.37). A subanalysis           the ban period were due to assault weapons alone (Table 2).
                                                                               The risk of mass shooting fatalities during the federal van
                                                                        period was 53 per 140,515 total firearm homicides compared
                                                                        with 448 per 348,528 during the nonban periods, for a risk ratio
                                                                        of 0.30 (95% CI, 0.22–0.39). The calculated risk ratio for the
                                                                        association of the federal ban period with mass-shooting fatali-
                                                                        ties as a proportion of all firearm-related homicides was 0.29
                                                                        (95% CI, 0.22–0.29), indicating that mass shooting fatalities
                                                                        were 70% less likely to occur during the federal ban period.
                                                                               The results of our sensitivity analyses were consistent with
                                                                        our main analyses for total mass shooting fatalities. In a linear
                                                                        regression analysis controlling for yearly trend and restricted to
                                                                        the period ending in 2016 using just CDC WISQARS homicide
                                                                        data as the denominator, the effect of ban period was associated
                                                                        with a statistically significant eight fewer mass shooting related
                                                                        deaths per 10,000 firearm homicides per year (coefficient for
                                                                        ban period, 8.0; p = 0.05). In a similar model using extrapolated
                                                                        CDC WISQARS homicide data for 2017 instead of Online Gun
                                                                        Violence Archive data as the denominator, the effect of ban


                                                                        TABLE 1. Linear Regression Effect of 1994–2004 Federal Assault
                                                                        Weapon Ban on Mass-Shooting Deaths per 10,000 Firearm
                                                                        Homicides, United States, 1981–2017
                                                                        Variable          Estimate        Std. Error          t            p
                                                                        (Intercept)        −1409.4          333.0           −4.2        0.0002
Figure 3. Mass shooting deaths per 10,000 firearm-related               Year                   0.7            0.2            4.3        0.0001
homicides with linear trends for preban, ban, and postban
                                                                        Ban Period            −8.6            3.9           −2.2        0.03
periods. United States 1981–2017.

14                                                                                    © 2018 American Association for the Surgery of Trauma.


                                     Copyright © 2018 Wolters Kluwer Health, Inc. All rights reserved.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 171
                                    of 396
J Trauma Acute Care Surg
Volume 86, Number 1                                                                                                                              DiMaggio et al.



                                                                          it must be interpreted in the context of the overall number of
TABLE 2. Linear Regression Effect of 1994–2004 Federal Assault
                                                                          such fatalities, which ranges from none to 60 in any given year
Weapon Ban on Mass-Shooting Deaths Characterized by Use of
Assault Weapon per 10,000 Firearm Homicides, United                       in our data. However, if our linear regression estimate of 9 fewer
States, 1981–2017                                                         mass shooting–related deaths per 10,000 homicides is correct,
                                                                          an assault weapons ban would have prevented 314 of the 448
Variable         Estimate        Std. Error         t            p
                                                                          or 70% of the mass shooting deaths during the nonban periods
(Intercept)      −1219.7           333.9          −3.7         0.0009     under study. Notably, this estimate is roughly consistent with
Year                 0.6             0.2           3.7         0.0008     our odds ratio estimate and Poisson model results.
Ban                 −6.7             3.9          −1.7         0.09              Our results add to the documentation that mass shooting–
                                                                          related homicides are indeed increasing, most rapidly in the
                                                                          postban period, and that these incidents are frequently associated
period was associated with a statistically significant 9 fewer            with weapons characterized as assault rifles by the language of
mass shooting related deaths per 10,000 firearm homicides per             the 1994 AWB. We did not find an increase in the case fatality
year (coefficient for ban period, 8.6; p = 0.03). A model based           ratio of mass-shooting deaths to mass-shooting injuries. This
on the total yearly US population as the denominator, the effect          might at first seem counterintuitive and paradoxical. The destruc-
of ban period was associated with a statistically significant 0.4         tive effect of these weapons is unequivocal. They are engineered
fewer mass shooting related deaths per 10,000,000 population              to cause maximum tissue damage rapidly to the greatest number
(coefficient for ban period, 0.4; p = 0.02).                              of targets. However, it may be that the use of these kinds of
       The results of a mixed-effects generalized linear Poisson          weapons results in indiscriminate injury with additional rounds
model of yearly mass shooting fatality counts with an observa-            more likely to injure more people increasing the denominator
tion-level random effect to account for overdispersion were very          in a case-fatality ratio. By contrast, the use of nonassault weapons
similar whether the offset variable was the number of total fire-         may result in more precise targeting of victims. It is also possible
arm deaths or the population size. In either case, the assault            that improvements in trauma care are driving down case fatal-
weapons ban period was associated with an approximately                   ity.37 Also, it is worth noting that in absolute terms, there were
85% reduction in mass shooting fatalities (Table 3).                      many more fatalities outside the ban period and that survivable
                                                                          injury comes with its own physical, emotional, and economic
                            DISCUSSION                                    costs, which have been estimated at US $32,237 per hospital
                                                                          admission.38
       Recently, 75% of members of the American College of                       Despite US federal funding restrictions on firearm-related
Surgeons Committee on Trauma endorsed restrictions to “civilian           research dating to 1996,39,40 there is a small but growing number
access to assault rifles (magazine fed, semiautomatic, i.e.,              of analyses of mass shooting violence in the United States.
AR-15),”33 and 76% of the Board of Governors were in favor                Many articles have focused on the mental health aspects of these
of a limit to “… civilian access to ammunition designed for mil-          incidents,41–43 or on social effects like increased firearm acqui-
itary or law enforcement use (that is, armor piercing, large mag-         sition following mass shootings.44,45 However, fewer studies
azine capacity).”34 In 2015, the American College of Surgeons             have taken a strictly public health or clinical approach. Among
joined seven of the largest most prestigious professional health          these, an autopsy-based study of the incidence and severity of
organizations in the United States and the American Bar Asso-             mass-shooting casualties concluded the wound patterns differed
ciation to call for “restricting the manufacture and sale of              sufficiently from combat injuries to require new management
military-style assault weapons and large-capacity magazines               strategies, indicating there is much to be learned from a system-
for civilian use.”35 This analysis adds evidence to support these         atic epidemiological perspective.46 Recently, there have been
recommendations.                                                          calls to remove such funding restrictions from both academics
       No observational epidemiologic study can answer the ques-          and elected officials from across the political spectrum.47,48
tion whether the 1994 US federal assault ban was causally related                Our choice of data and analytic approach may reasonably
to preventing mass-shooting homicides. However, this study adds           be debated. We chose to base our analyses on the yearly rate of
to the evidence by narrowly focusing our question on the potential        mass shooting fatalities per 10,000 overall firearm homicides.
effect of a national assault weapon ban on mass shootings as mea-         This is not a population-based risk estimate, but is in fact a risk
sured through the lens of case fatality. While the data are amena-        as commonly used in the epidemiologic literature which is es-
ble to a number of additional analyses, such as stratification by         sentially a probability statement, that is, the number of events
location (e.g. school vs. nonschool) or by characterization of
large-capacity magazines versus non large-capacity magazine,
we chose to focus only on year of occurrence and total number             TABLE 3. Exponentiated Coefficients Generalized Linear
of fatalities. In this way, we relied on the least subjective aspects     Poisson Model
of the published reports. We believe our results support the con-                                 Homicide Offset                        Population Offset
clusion that the ban period was associated with fewer overall             Variable           Estimate            95% CI              Estimate             95% CI
mass-shooting homicides. These results are also consistent with           Year                  0.6                0.2                  3.7               0.0008
a similar study of the effect of a 1996 ban on assault type weapons       Ban                  −6.7                3.9                 −1.7               0.09
in Australia after which mass-shooting fatalities dropped to zero.36
       While the absolute effects of our regression analyses ap-               Effect of 1994–2004 federal assault weapon ban on mass-shooting death counts. United
                                                                          States, 1981–20017.
pears modest (7 to 9 fewer deaths per 10,000 firearm-homicides),

© 2018 American Association for the Surgery of Trauma.                                                                                                         15


                                       Copyright © 2018 Wolters Kluwer Health, Inc. All rights reserved.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 172
                                    of 396
                                                                                                                              J Trauma Acute Care Surg
DiMaggio et al.                                                                                                                   Volume 86, Number 1



that occurred over the number of times that event could occur. It                An assault weapon ban is not a panacea, nor do our anal-
is the risk of a homicide occurring as a result of a mass shooting.      yses indicate that an assault weapon ban will result in fewer
It may be considered a strong assumption to build mass shooting          overall firearm-related homicides. It is important to recognize
death rates based on the overall firearm homicide rate. The de-          that suicides make up the majority of firearm-related deaths in
mographics of most homicide victims may differ appreciably               the United States, accounting for 60.7% of 36,252 deaths from
from those of mass shooting victims. We selected this approach           firearms in 2015.51 However, while this is a critically important
from among a number of imperfect potential denominators, be-             issue in its own right, suicides differ fundamentally from mass-
lieving that basing the rates on the number of firearm-homicides         shootings, and are unlikely to be affected by an assault weapons
partly controls for secular trends in overall homicides and fire-        ban. Also, compared with the 501 mass-shooting fatalities we
arm availability. Our sensitivity analyses indicate that our results     counted, there were 489,043 firearm-related homicides in the
were robust to most any choice of denominator. We chose linear           United States. Public health efforts should be directed at reduc-
regression as our primary model because it was straightforward,          ing all gun violence and must be multipronged, including
accessible to most readers, accounted for linear trends in the           targeted initiatives to address mental illness and reducing access
data, and returned results in the metric in which we were most           to weapons in those with a propensity for violence. However,
interested, that is, changes in the rate of fatalities. Our compara-     taken in the context of the increase in mass shootings in the
tive Poisson model results were essentially consistent with the          United States, these results support the conclusion that the fed-
primary model.                                                           eral AWB of 1994 to 2004 was effective in reducing mass shoot-
        These analyses are subject to a number of additional lim-        ing–related homicides in the United States, and we believe our
itations and caveats, primary among which is that there is no au-        results support a re-institution of the 1994 federal assault
thoritative source of data on mass shooting, and any one source          weapons ban as a way to prevent and control mass shooting fa-
may be biased and incomplete. It was for this reason that we             talities in the United States.
chose to combine three independent sources of data, each with
its own strengths and weaknesses, and base our analyses only             DISCLOSURE
on those numbers that were verified by all three sources. We fur-        The authors have no conflicts of interest to declare.
ther restricted our analyses to only the number of fatalities and        There are no federal or nonfederal funding sources associated with this study.
the year in which the incident occurred, and to the strictest defi-
nition of mass shootings as defined by the Federal Bureau of In-
vestigation.27,28 Even with this approach, the data remain
imprecise and subject to differing definitions. We attempted to
                                                                                                       REFERENCES
compensate for this by framing our questions as precisely as              1. Wolchover N. Why gun control is so contentious in the US. LiveScience. 20
possible, following the advice of the scientist and statistician             July 2012 https://www.livescience.com/21741-gun-control-second-
John Tukey to pursue, “… an approximate answer to the right                  amendment.html. Accessed 10 August 2018.
question ...(rather) than the exact answer to the wrong question...”      2. Bond S. Students take the lead in US gun control debate. Financial Times. 23
        In this study, we failed to falsify the hypothesis that the          February 2018. https://www.ft.com/content/9341021e-1818-11e8-9376-
                                                                             4a6390addb44. Accessed 10 August 2018.
AWB was associated with a decrease in mass shooting fatalities            3. Lemieux F. 6 things to know about mass shootings in America. Scientific
in the United States. However, it is important to note that our              American. 13 June 2016. https://www.scientificamerican.com/article/6-
model did not include important and potentially confounding                  things-to-know-about-mass-shootings-in-america/. Accessed 6 June 2018.
factors like state-level and local differences in assault weapon          4. Webster DW. The true effect of mass shootings on Americans. Annals of In-
laws following the sun downing of the federal AWB. Additional                ternal Medicine. 16 May 2017. The http://annals.org/aim/fullarticle/
analyses including such variables and using approaches like pro-             2624992/true-effect-mass-shootings-americans. Accessed 6 June 2018.
                                                                          5. Katsiyannis A, Whitford DK, Ennis RB. Historical examination of United
pensity score matching and regression discontinuity49 with data              States intentional mass school shootings in the 20th and 21st centuries: im-
further aggregated to state and local levels are necessary to test           plications for students, schools, and society. Child Fam Stud. (19 April
the strength and consistency of our results.                                 2018). https://doi.org/10.1007/s10826-018-1096-2.
        Federally referenced denominator data were not available          6. Follman M. Mass shootings: maybe what we need is a better mental-health
for the last year of the study. We chose to use data from the Online         policy. Mother Jones. 9 November 2012. https://www.motherjones.com/
                                                                             politics/2012/11/jared-loughner-mass-shootings-mental-illness/. Accessed
Gun Violence Archive to account for firearm homicide in 2017.                11 August 2018.
This resource is a nonpartisan not-for-profit group founded and           7. Carey B. "Are mass murderers insane? Usually not, researchers say". New
maintained by a retired computer systems analyst and gun advo-               York Times. 8 November 2017. https://www.nytimes.com/2017/11/08/
cate.50 The alternative would have been to extrapolate from the              health/mass-murderers-mental-illness.html. Accessed 11 August 2018.
CDC data, but the 15,593 firearm-related homicides reported               8. Duwe G, Rocque M. Actually, there is a clear link between mass shootings
by the Online Gun Violence Archive in 2017 was more consis-                  and mental illness. Los Angeles Times. 23 February 2018. http://www.
                                                                             latimes.com/opinion/op-ed/la-oe-duwe-rocque-mass-shootings-mental-
tent with the 14,415 reported by CDC in 2016 compared with                   illness-20180223-story.html. Accessed 11 August 2018.
the 11,599 predicted by an extrapolation and returned more con-           9. Gillin J, Greenberg J, Jacobson L, Valverde M. The facts on mass shootings
servative estimates of the increased rate of recent mass shoot-              in the United States. Politifact. 8 November 2017. http://www.politifact.com/
ings. We note there were many years in which the number of                   truth-o-meter/article/2017/nov/08/facts-mass-shootings-united-states/. Ac-
mass-shooting fatalities is listed as zero. There were, in fact, fa-         cess 6 June 2018.
                                                                         10. Sanger-Katz M, Bui Q. How to reduce mass shooting deaths? Experts rank
talities and incidents in those years that could meet a definition           gun laws. New York Times. 5 October 2017. https://www.nytimes.com/
of mass shooting, but they were not reported by all three sources,           interactive/2017/10/05/upshot/how-to-reduce-mass-shooting-deaths-
or did not meet the strict criteria we set for this analysis.                experts-say-these-gun-laws-could-help.html. Accessed 6 June 2018.

16                                                                                     © 2018 American Association for the Surgery of Trauma.


                                      Copyright © 2018 Wolters Kluwer Health, Inc. All rights reserved.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 173
                                    of 396
J Trauma Acute Care Surg
Volume 86, Number 1                                                                                                                                  DiMaggio et al.


11. Weil DS, Knox RC. The Maryland ban on the sale of assault pistols and high-      36. Chapman S, Alpers P, Jones M. Association between gun law reforms and
    capacity magazines: estimating the impact in Baltimore. Am J Public Health.          intentional firearm deaths in Australia, 1979-2013. JAMA. 2016;316(3):
    1997;87(2):297–298.                                                                  291–299.
12. Safavi A, Rhee P, Pandit V, Kulvatunyou N, Tang A, Aziz H, Green D,              37. DiMaggio C, Ayoung-Chee P, Shinseki M, Wilson C, Marshall G, Lee DC,
    O'Keeffe T, Vercruysse G, Friese RS, et al. Children are safer in states with        Wall S, Maulana S, Leon Pachter H, Frangos S. Traumatic injury in the U.S.:
    strict firearm laws: a national inpatient sample study. J Trauma Acute Care          in-patient epidemiology 2000-2011. Injury. 2016;47(7):1393–1403.
    Surg. 2014;76(1):146–150; discussion 150–1.                                      38. Peek-Asa C, Butcher B, Cavanaugh JE. Cost of hospitalization for firearm
13. Koper CS, Roth JA. The impact of the 1994 Federal Assault Weapon ban on              injuries by firearm type, intent, and payer in the U.S. Inj Epidemiol. 2017;
    gun violence outcomes: an assessment of multiple outcome measures and                4(1):20.
    some lessons for policy evaluation. J Quant Criminol. 2001; Vol. 17, No. 1.      39. Wexler L. "gun shy: how a lack of funds translates to inadequate research on
14. Gius M. The impact of state and federal assault weapons bans on public mass          gun violence in America". Hopkins Bloomberg Public Health Fall. 2017;
    shootings. Applied Economics Letters. 2015;22(4):281–284.                            https://magazine.jhsph.edu/2017/fall/features/cassandra-crifasi-hopkins-
15. Lemieux F, Bricknell S, Prenzler T. Mass shootings in Australia and the              moderate-gun-owner-gun-policy-researcher/how-the-dickey-amendment-
    United States, 1981-2013. Journal of Criminological Research, Policy and             affects-gun-violence-research.html. Access 5 June 2018.
    Practice. 1(3):131–142.                                                          40. Greenberg J. Spending bill's gun research line: does it nullify dickey amend-
16. Follman M, Aronsen G, Pan D, Caldwell M. US mass shootings, 1982-2018:               ment? Politifact. 27 March 2018. http://www.politifact.com/truth-o-meter/
    data from mother Jones’ investigation. Mother Jones. 2012; https://www.              article/2018/mar/27/spending-bills-gun-research-line-does-it-matter/.
    motherjones.com/politics/2012/12/mass-shootings-mother-jones-full-data/.             Accessed 6 June 2018.
    Accessed 3 June 2018.                                                            41. Pinals DA, Anacker L. Mental illness and firearms: legal context and clinical
17. The Los Angeles times staff. “Deadliest U.S. mass shootings”, 1984-2017.             approaches. Psychiatr Clin North Am. 2016;39(4):611–621.
    Los Angeles Times. Oct 1, 2017, timelines latimes.com/deadliest-shooting-        42. Leiner M, De la Vega I, Johansson B. Deadly mass shootings, mental health,
    rampages/. Accessed 29 August 2018.                                                  and policies and regulations: what we are obligated to do!. Front Pediatr.
18. Stanford mass shootings in America, courtesy of the Stanford Geospatial              2018;6:99.
    Center and Stanford libraries. 2016. Available at: https://library.stanford.     43. Swartz MS, Bhattacharya S, Robertson AG, Swanson JW. Involuntary outpa-
    edu/projects/mass-shootings-america. Accessed 29 August 2018.                        tient commitment and the elusive pursuit of violence prevention. Can J
19. Fox JA, Levin J, Fridel EE. Extreme Killing: Understanding Serial and Mass           Psychiatry. 2017;62(2):102–108.
    Murder. Sage Publications; 2018.
                                                                                     44. Studdert DM, Zhang Y, Rodden JA, Hyndman RJ, Wintemute GJ. Handgun
20. Dillon L. Mass Shootings in the U.S.: An Exploratory Study of the Trends             acquisitions in California after two mass shootings. Ann Intern Med. 2017;
    from 1982–2012. PhD thesis; 2014.                                                    166(10):698–706.
21. Lankford A. Public mass shooters and firearms: a cross-national study of 171     45. Stroebe W, Leander NP, Kruglanski AW. The impact of the Orlando mass
    countries. Violence Vict. 2016;31(2):187.                                            shooting on fear of victimization and gun-purchasing intentions: not what
22. Lowe SR, Galea S. The mental health consequences of mass shootings.                  one might expect. PLoS One. 2017;12(8):e0182408.
    Trauma Violence Abuse. 2017;18(1):62–82.
                                                                                     46. Smith ER, Shapiro G, Sarani B. The profile of wounding in civilian public
23. Fox JA, Fridel EE. The tenuous connections involving mass shootings, men-            mass shooting fatalities. J Trauma Acute Care Surg. 2016;81(1):86–92.
    tal illness, and gun laws. Violence Gend. 2016;3(1):14–19.
                                                                                     47. Behrman P, Redding CA, Raja S, Newton T, Beharie N, Printz D. Society of
24. Luca M, Malhotra DK, Poliquin C. The impact of mass shootings on gun pol-            Behavioral Medicine (SBM) position statement: restore CDC funding for
    icy. Harvard Business School NOM Unit Working Paper No. 2016;1:16–126.               firearms and gun violence prevention research. Transl Behav Med. 2018.
25. Buchholtz LK. Command-directed mental health evaluations and mental
                                                                                     48. Wong S. "GOP chairman: congress should rethink CDC ban on gun violence
    health related discharges from the U.S. military: an argument for command
                                                                                         research". The Hill. 15 February 2018 http://thehill.com/homenews/house/
    authority. J Health Care Finance. 2016.
                                                                                         374149-gop-chairman-congress-should-rethink-cdc-ban-on-gun-violence-
26. Bradley K. Code blue: the expanding field of tactical/battlefield medicine.          research. Accessed 5 June 2018.
    J Law Enforcement. 2017;6(2).
                                                                                     49. Basu S, Meghani A, Siddiqi A. Evaluating the health impact of large-scale
27. Smart R. Mass shootings: definitions and trends. RAND Corporation.                   public policy changes: classical and novel approaches. Annu Rev Public
    https://www.rand.org/research/gun-policy/analysis/supplementary/mass-                Health. 2017;38:351–370.
    shootings.html. Accessed 2 June 2018.
                                                                                     50. Drange M. The Kentucky gun owner who developed his own count of gun
28. Krouse WJ, Richardson DJ. Mass Murder with Firearms: Incidents and
                                                                                         violence in the US. The Guardian. 23 April 2016. https://www.
    Victims, 1999–2013. Washington, D.C.: Congressional Research Service,
                                                                                         theguardian.com/world/2016/apr/23/kentucky-gun-owner-gun-violence-
    R44126 2015.
                                                                                         archive-mark-bryant. Accessed 5 June 2018.
29. Centers for Disease Control and Prevention. CDC’s WISQARS (web-based
                                                                                     51. Murphy SL, Xu J, Kochanek KD, Curtin SA, Elizabeth Arias E. National Vi-
    injury statistics query and reporting system). https://www.cdc.gov/injury/
    wisqars/fatal.html. Accessed 12 February 2018.                                       tal Statistics Reports. Volume 66, Number 6 November 27, 2017. Deaths: Fi-
                                                                                         nal Data for 2015. Centers for Disease Control and Prevention.
30. The online gun violence archive: past summary ledgers. http://www.
     gunviolencearchive.org/past-tolls. Accessed 12 February 2018.
31. Studdert DM, Donohue JJ, Mello MM. Testing the immunity of the firearm                                        DISCUSSION
    industry to tort litigation. JAMA Intern Med. 2017;177(1):102–105.                       Ernest E. "Gene" Moore, MD (Denver, Colorado): Thank
32. Public Safety and Recreational Firearms Act. P.L. 103-322, Title XI. 103rd       you, Dr. Rotondo and Dr. Reilly. Can I please have the discus-
    Cong. (1994).                                                                    sion video. [sounds of a gun shooting]. Well, that is the AR15
33. Kuhls DA, Campbell BT, Burke PA, Allee L, Hink A, Letton RW,                     rifle. Literally, 30 potential lethal shots delivered within 10 sec-
    Masiakos PT, Coburn M, Alvi M, Lerer TJ, et al. Survey of American Col-
    lege of Surgeons Committee on trauma members on firearm injury: consen-
                                                                                     onds. Is this safe to have in our society?
    sus and opportunities. J Trauma Acute Care Surg. 2017;82(5):877–886.                     I congratulate Dr. DiMaggio and his colleagues from
34. Puls M, Kuhls D, Campbell B, Burke P, Michelassi F, Stewart R. Survey of         NYU for their superb presentation on a very timely issue. The
    the American College of Surgeons Board of governors on firearm injury            AAST has had a long-term interest in reducing gun violence in
    prevention: consensus and opportunities. Bull Am Coll Surg. 2017;                the United States, and has recently published our 14-point ap-
    102(10):30–36.
                                                                                     proach. Access to assault rifles is one of them. At a reductionist
35. Weinberger SE, Hoyt DB, Lawrence HC 3rd, Levin S, Henley DE, Alden ER,
    Wilkerson D, Benjamin GC, Hubbard WC. Firearm-related injury and death
                                                                                     level, mass shootings are the net result of (1) a deranged person
    in the U.S.: a call to action from 8 health professional organizations and the   intending to kill random individuals in a populated area, and (2)
    American Bar Association. Ann Intern Med. 2015;162(7):513–516.                   the use of an assault rifle. Since we seem to be unable to identify

© 2018 American Association for the Surgery of Trauma.                                                                                                             17


                                              Copyright © 2018 Wolters Kluwer Health, Inc. All rights reserved.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 174
                                    of 396
                                                                                                                       J Trauma Acute Care Surg
DiMaggio et al.                                                                                                            Volume 86, Number 1



the active shooter preemptively, we are left with the alternative                In sum, this study adds to overwhelming evidence that as-
solution of eliminating the weapon.                                       sault rifles are an essential component in the dramatic escalation
       The presentation today provides evidence that a federal as-        of mass shootings in the United States. While the scientific data
sault weapon ban can reduce mass shootings. According to our              to support a federal ban on civilian assault rifles is imperfect due
recent national trauma surgeon surveys, three-fourths of us in            to inadequate research support, I submit collectively the existing
the audience, including me, would like to believe the analysis;           information argues strongly for enactment of this measure, and
but I think we need to consider some of the potential limitations.        compliment the authors for their timely contribution.
       Many of these issues relate to the fact that research support             Sheldon H. Teperman, MD (Bronx, New York): Dr.
for gun violence control in the United States remains frustrat-           DiMaggio, your home institution, Bellevue, plays a seminal role
ingly suppressed and fundamentally inadequate. The general                in the trauma center safety of our nation.
lack of information, low quality of data, and need to merge data                 In fact, right now, your trauma medical director is not
sets from diverse sources – medical, coroner, police, legal, and          present with us, but he is at home on guard for the U.N. General
behavioral – compounded by scarce funding and public contro-              Assembly. But in New York, we don't see long-gun injuries. New
versy, undermine research to inform policy and enlighten the              York has the Safe Act, and there is an assault weapons ban. So
public. The fact that you had to compare three open-access data-          why is it so important to America's trauma center – Bellevue –
bases to be certain that the reported mass shootings occurred un-         that we see a national ban on assault rifles?
derscores this deficiency.                                                       Charles E. Lucas, MD (Detroit, Michigan): Thank you
       Furthermore, there is no definition of a mass shooting, al-        for your nice presentation. How many of these incidents oc-
though you employed perhaps the most acceptable at the mo-                curred in an inner-city environment, where most of the victims
ment – the FBI's definition. Could you explain for us the                 that we treat have received multiple wounds which were pur-
rationale for this definition?                                            posely inflicted in order to compete competitively for the distribu-
       You present an analysis of 44 events with four or more             tion of heroin and other drugs? Also, how many of the assailants
deaths, including the shooter, from 1981 to 2017 – a 36-year period;      were African-American?
whereas, others suggest a much higher incidence, such as Klaveras,               Martin A. Croce, MD (Memphis, Tennessee): Thank you.
who reported 69 shootings of six or more over the past 27 years.          I want to commend the authors for an excellent study, and really,
       Identifying all known mass shootings per year during a             not so much to ask any questions but I rise to put out a plea to the
study period would be useful to appreciate the overall trends,            membership that this issue is a public health problem.
as your data somewhat understates the magnitude of mass shoot-                   This is not a right versus left problem, this is not a Second
ings in the United States.                                                Amendment problem. This is a public health problem.
       You employed the Gun Violence Archive to estimate ho-                     And to quote Wayne Meredith at one of the recent Board
micides in 2017. Why did you not use this source for mass                 meetings, "Our primary goal is to reduce the number of bullet
shootings? The Archive has reported an alarming 261 mass                  holes in people.” So I implore the Membership to correct this
shootings – defined as six or more shot – thus far in 2018. None-         dearth of research that is going on about gun violence in order
theless, in the sample you studied, assault rifles accounted for          to promote a public health approach, so that we can reduce the
greater than 85 percent of the fatalities, and this is the key issue.     number of bullet holes in people.
       You have evaluated the impact of the federal assault rifle                Deborah A. Kuhls, MD (Las Vegas, Nevada): And to carry
ban by analyzing the rate of mass shootings per 10,000 firearm            on that thought, I would urge the authors to incorporate the pub-
homicide deaths per year to adjust for confounders. This would            lic health data from the CDC when it is available, because part of
assume that the factors influencing mass shootings are the same           the methodological issues for this paper is that one data set was
as those for homicides, which seems very unlikely. You have               used for a certain period of time.
idicated that you analyzed mass-shooting fatalities per population               But for the last year, the CDC data was not used because it
per year; perhaps you could elaborate more about this analysis.           was not available, so I would urge you to not only do that anal-
       Another confounder as acknowledged in the presentation             ysis, but I would also urge the Journal of Trauma to consider an
is the impact of individual state limitations on magazine capac-          update to that article when that is available. Thank you.
ity. The first state to enforce these limitations was New Jersey in              Charles DiMaggio, MPH, PhD (New York, New York):
1990, and now at least eight states and Washington, D.C., have            Thank you very much for all these comments and questions.
these restrictions in effect. How can we distinguish the effects                 Dr. Moore, so with regard to your observation about the
of this policy? And could this be a potential bridge to ultimately        reductionist approach to looking at this particular issue, that puts
reestablish a national assault rifle ban?                                 me in the mind very much of the traditional epidemiologic triad
       You have also calculated the case fatality of all weapons in       of agent, host, and environment, and if you break one link in that
mass shootings per 100 total shootings, finding a decrease since          connection, you can break the transmission. In this case, we could
2010. While you conjecture this may be due to indiscriminate in-          call assault weapons one link, whether it's agent or host, we
jury from assault rifles or possibly attributed to better trauma          can decide.
care, I am uncertain how this is relevant to the issue of banning                With regards to the rationale for the definition, I think it's
assault rifles. The Las Vegas shooting is a cogent example of             reflective of the lack of research in this area.
how these data may be misleading.                                                A case definition is an essential and critical first step in
       Finally, there is the issue of so-called falsification that        any epidemiologic investigation, and you can see that we are
could be addressed by examining other causes of trauma mortal-            barely there. I think the FBI definition makes sense, I think it's
ity during this time period.                                              the oldest one, I think it's informed by expert consensus.

18                                                                                     © 2018 American Association for the Surgery of Trauma.


                                       Copyright © 2018 Wolters Kluwer Health, Inc. All rights reserved.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 175
                                    of 396
J Trauma Acute Care Surg
Volume 86, Number 1                                                                                                               DiMaggio et al.



       And I think all the other definitions are based in some            results are robust and invariant to the choice of denominator in
form on that, which is why we chose it. And I would urge that if          this case.
we are going to be doing this research going forward, probably it                Can we distinguish local effects, and could this possibly
would be best if we all had the consensus that that be the definition.    be a bridge to reestablishing an assault rifle ban? The short an-
       Why did we not use the Gun Violence Archive to estimate            swer is yes and yes. We can distinguish local effects.
some of these results, and why are our numbers so much smaller                   We took a very broad approach on this particular study as
than some of the other numbers? I have to agree, our numbers              a first pass on the data. But, there are data sources (and even
are very much an under-count.                                             within the data sources we used) where you can tease out local,
       We restricted our analysis to these three databases. And so        municipal and state policies.
the limiting factor was the one database. And I can tell you it was              Also, we can link our data to other sources that have those
the LA Times – they had the fewest number. And if it wasn't in the        variables. There are statistical methods available that will not
LATimes, then the other databases didn't contribute to this data set.     only account for those variables, but also allow us to measure
       We felt that the important aspect of this particular study         or estimate in some way the contribution of local or regional var-
was to demonstrate the relative effects, merits or associations           iation in these policies to the overall effectiveness.
with the assault weapon ban as opposed to documenting the ab-                    The issue of the case fatality rate is very interesting and
solute numbers.                                                           challenging. I want to note that there was a paper in JAMA on
       So the Gun Archive, for example, defines mass shootings            September 11th – just a couple of weeks ago – looking at mass
as four or more deaths or injuries. That really raises the number         shooter fatalities, that came essentially to the same conclusion –
of deaths that can be included. We didn't include it, but I think         that there has been this recent decrease.
going forward we absolutely should.                                              In our paper, in this write-up, we look at three potential ex-
       With regard to the analysis using population denomina-             planations, and one of them is, first of all, it's just a matter of de-
tors, we agree, actually, that gun homicides are an imperfect             nominator. These are indiscriminate weapons.
denominator. We also felt that population was an imperfect                       You have someone shooting at a large group of people,
denominator. And again, as we keep on circling around, it has             and there are going to be more injuries and more casualties,
to do with the data in this case.                                         and it just inflates the denominator in this case.
       We did feel that gun homicides captured something about gun               The second thing is, the obverse of that, is single-fire
availability and criminality in the United States, although homicides     weapons, guns, are very personal weapons. They're usually char-
themselves differ very much from these mass shooting fatalities.          acterized by someone who knows who they want to kill. And fi-
       We do note that our population-based results essentially           nally, we feel that perhaps there may be some improvement by
mirrored the gun homicide results, indicating that, at least for          the folks in this room in treating these.
the relative effects and benefits of the assault weapons ban, the                I'm going to close at this point, given the time constraints.




© 2018 American Association for the Surgery of Trauma.                                                                                        19


                                       Copyright © 2018 Wolters Kluwer Health, Inc. All rights reserved.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 176
                                    of 396




                     EXHIBIT K
   Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 177
                                       of 396

     JMIR PUBLIC HEALTH AND SURVEILLANCE                                                                                                                      Post et al

     Original Paper

     Impact of Firearm Surveillance on Gun Control Policy: Regression
     Discontinuity Analysis

     Lori Post1, PhD; Maryann Mason1, PhD; Lauren Nadya Singh1, MPH; Nicholas P Wleklinski2, MD; Charles B Moss3,
     PhD; Hassan Mohammad1; Tariq Z Issa2, BA; Adesuwa I Akhetuamhen2, MD; Cynthia A Brandt4, MD, MPH; Sarah
     B Welch1, MPH; James Francis Oehmke1, PhD
     1
      Buehler Center for Health Policy and Economics, Feinberg School of Medicine, Northwestern University, Chicago, IL, United States
     2
      Feinberg School of Medicine, Northwestern University, Chicago, IL, United States
     3
      Institute of Food and Agricultural Sciences, University of Florida, Gainsville, FL, United States
     4
      Yale Center for Medical Informatics, Yale School of Medicine, Yale University, New Haven, CT, United States

     Corresponding Author:
     Lori Post, PhD
     Buehler Center for Health Policy and Economics
     Feinberg School of Medicine
     Northwestern University
     420 E Superior
     Chicago, IL, 60611
     United States
     Phone: 1 203 980 7107
     Email: lori.post@northwestern.edu


     Abstract
     Background: Public mass shootings are a significant public health problem that require ongoing systematic surveillance to test
     and inform policies that combat gun injuries. Although there is widespread agreement that something needs to be done to stop
     public mass shootings, opinions on exactly which policies that entails vary, such as the prohibition of assault weapons and
     large-capacity magazines.
     Objective: The aim of this study was to determine if the Federal Assault Weapons Ban (FAWB) (1994-2004) reduced the
     number of public mass shootings while it was in place.
     Methods: We extracted public mass shooting surveillance data from the Violence Project that matched our inclusion criteria
     of 4 or more fatalities in a public space during a single event. We performed regression discontinuity analysis, taking advantage
     of the imposition of the FAWB, which included a prohibition on large-capacity magazines in addition to assault weapons. We
     estimated a regression model of the 5-year moving average number of public mass shootings per year for the period of 1966 to
     2019 controlling for population growth and homicides in general, introduced regression discontinuities in the intercept and a time
     trend for years coincident with the federal legislation (ie, 1994-2004), and also allowed for a differential effect of the homicide
     rate during this period. We introduced a second set of trend and intercept discontinuities for post-FAWB years to capture the
     effects of termination of the policy. We used the regression results to predict what would have happened from 1995 to 2019 had
     there been no FAWB and also to project what would have happened from 2005 onward had it remained in place.
     Results: The FAWB resulted in a significant decrease in public mass shootings, number of gun deaths, and number of gun
     injuries. We estimate that the FAWB prevented 11 public mass shootings during the decade the ban was in place. A continuation
     of the FAWB would have prevented 30 public mass shootings that killed 339 people and injured an additional 1139 people.
     Conclusions: This study demonstrates the utility of public health surveillance on gun violence. Surveillance informs policy on
     whether a ban on assault weapons and large-capacity magazines reduces public mass shootings. As society searches for effective
     policies to prevent the next mass shooting, we must consider the overwhelming evidence that bans on assault weapons and/or
     large-capacity magazines work.

     (JMIR Public Health Surveill 2021;7(4):e26042) doi: 10.2196/26042




     https://publichealth.jmir.org/2021/4/e26042                                                          JMIR Public Health Surveill 2021 | vol. 7 | iss. 4 | e26042 | p. 1
                                                                                                                               (page number not for citation purposes)
XSL• FO
RenderX
   Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 178
                                       of 396

     JMIR PUBLIC HEALTH AND SURVEILLANCE                                                                                                          Post et al

     KEYWORDS
     firearm surveillance; assault weapons ban; large-capacity magazines; guns control policy; mass shootings; regression lines of
     discontinuity

                                                                           weapons and ammunition formats that are designed to enable
     Introduction                                                          rapid discharge, which is a key feature in mass shooting
     Background                                                            incidents [24,47]. Other types of gun deaths may not be
                                                                           responsive to the FAWB or LCM bans. As an example, Extreme
     Approximately 44,000 people are killed and an additional              Risk Protection Orders or “Red Flag” orders [43,48], which
     100,000 people are injured by a gun each year in the United           temporarily prohibit at-risk individuals from owning or
     States [1,2]. Mass shooting fatalities, as a particular type of gun   purchasing firearms, may be effective for preventing firearm
     injury event, account for <1% of all gun deaths [3] and have          suicides or domestic violence homicides [49] but less effective
     largely been ignored until recently [4,5]; yet, mass shooting         for public mass shooters [50,51]. The prohibition of LCMs may
     events occur multiple times per year [6]. This information is         have no impact on firearm suicide because suicide decedents
     based on insights from firearm surveillance performed by a            only require one bullet to kill themselves [52].
     variety of researchers, and state and federal agencies on
     incidence, prevalence, risk factors, injuries, deaths, and            Several studies during and after the FAWB attempted to
     precipitating events, similar to the surveillance of infectious       determine if gun policy that restricts the production and sale of
     diseases such as COVID-19 [7-21]. Teutch and Thacker [22]             assault weapons and LCMs decreased gun deaths [53,54]. These
     defined public health surveillance as                                 initial studies make meaningful contributions to the literature
                                                                           because they describe what constitutes assault weapons,
          the ongoing systematic collection, analysis, and                 magazine capacity, ballistics, and loopholes in the FAWB
          interpretation of health data, essential to the planning,        legislation [3,53-57]. However, these studies have found little
          implementation, and evaluation of public health                  to no evidence that these policies have had any overall effect
          practice, closely integrated to the dissemination of             on firearm homicides, gun lethality, or overall crime [58-61].
          these data to those who need to know and linked to               Since deaths from public mass shootings comprise less than 1%
          prevention and control.                                          of all homicides based on our definition, testing whether or not
     Not only do surveillance systems generate hypotheses to test          the FAWB/LCM ban has an impact on homicide would wash
     but they also provide the data to test them.                          out the effect. Since the FAWB/LCM ban may be effective at
                                                                           specific types of gun deaths, sampling must be limited to specific
     The Federal Assault Weapons Ban (FAWB, also known as the
     Public Safety and Recreational Firearms Use Protection Act)           types of shooters over overall gun deaths or tests for lethality
     included a ban on the manufacture for civilian use or sale of         [62,63]. Finally, the variation in research findings is related to
     certain semiautomatic firearms defined as assault weapons as          differences in research design, sampling frame, and case
                                                                           definition of a public mass shooting [3,53-56,64,65].
     well as certain large-capacity magazines (LCMs). The Act was
     in effect for 10 years from 1994 until it sunsetted in 2004.          Our study differs from other studies that evaluated the efficacy
     Semiautomatic weapons (rapid fire) and assault weapons (second        of the FAWB because we used economic methods and a
     grip plus other features) are distinct; however, the two are often    different outcome variable. Specifically, we focused on whether
     incorrectly conflated as similar [23-26]. Semiautomatic weapons       the FAWB resulted in fewer public mass shooting “events,”
     are defined as weapons that automatically load another cartridge      whereas other studies evaluated the number of gun injuries and
     into a chamber, preparing the weapon for firing, but requiring        deaths that occurred during the course of a mass shooting.
     the shooter to manually release and press the trigger for each
     round [23-26]. By contrast, automatic weapons are similarly           Objective
     self-loading, but allow for a shooter to hold the trigger for         The aim of this study was to test whether curbing access to
     continuous fire [27]. Furthermore, the FAWB also prohibited           certain types of guns and magazines will decrease mass shooting
     certain ammunition magazines that were defined as                     events. We sought to empirically answer if there was a
     “large-capacity” cartridges [28] containing more than 10 bullets      relationship between the FAWB and a reduction in mass
     [29]. These LCMs can feed ammunition to semiautomatic                 shooting events.
     weapons that do not meet the criteria of being considered assault
     weapons. Furthermore, LCMs are considered one of the most             Methods
     important features of the FAWB as research has found a
     relationship between bans on LCMs and casualty counts at the          Data Source
     state level [30-34]. The 10-year federal ban was signed into law      We created a firearm surveillance system based on the National
     by President Clinton on September 13, 1994 [28].                      Institute of Justice–funded Violence Project dataset, which
     Firearm surveillance data have been used to test potential policy     culled mass shooting events from 1966 to 2019 [6]. Consistent
     responses to prevent mass shootings, including the FAWB               with earlier studies, we rely on the original Federal Bureau of
     [32,34-39], Extreme Risk Protection Orders (also known as red         Investigation (FBI) definition of a massacre, specifically where
     flag laws) [40-45], and federal and state LCM bans [31,32,46].        4 or more people are killed within a single timeframe. We
     In particular, it seems likely that the FAWB and LCM bans             differentiate our mass shootings from others in that our inclusion
     have potential to affect mass shootings because they regulate         criteria require the shootings to have occurred in a public setting.

     https://publichealth.jmir.org/2021/4/e26042                                              JMIR Public Health Surveill 2021 | vol. 7 | iss. 4 | e26042 | p. 2
                                                                                                                   (page number not for citation purposes)
XSL• FO
RenderX
   Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 179
                                       of 396

     JMIR PUBLIC HEALTH AND SURVEILLANCE                                                                                                           Post et al

     We adapted this definition to only include massacres that              sample” exercise because even though the sample extends to
     involved gun deaths of 4 or more victims to isolate a particular       2019, the FAWB ended in 2004; thus, this exercise would not
     type of mass shooter [66]. Many firearm surveillance systems           pick up events in the past 15 years that would have augmented
     that include mass shootings use a lower threshold of persons           or compromised the effects of the FAWB. The difference
     shot and many do not include deaths. An FBI report on active           between the modeled number of public mass shootings and the
     shooters in mass shooting events identified planning and               projected counterfactual number of public mass shootings could
     preparation behaviors that are central to prevention [67]. This        provide an estimate of the number of public mass shootings that
     more narrow definition isolates premeditation, whereas broader         the FAWB prevented.
     definitions may include shooters that are more reactive [68].
                                                                            We performed a regression of the 5-year moving average of
     Our case definition does not include family annihilators or
                                                                            public mass shootings on the US population in millions, the
     felony killers because familicides are defined by the
                                                                            homicide rate, and discontinuity variables to capture both the
     victim-offender relationship, public massacres are defined by
                                                                            effects of the FAWB and its discontinuation. We did not
     location, and felony killings are distinguished by motive [69].
                                                                            introduce a trend line for the entire sample period because it is
     This differentiation is consistent with other mass shooting
                                                                            highly collinear with the population variable. For the period of
     studies [70-72].
                                                                            the FAWB’s implementation, we originally introduced an
     We examined the annual number of public mass shootings                 intercept shift, time trend, and shift in the homicide rate; for the
     occurring between 1966 and 2019 that resulted in 4 or more             post-FAWB period, we introduced an intercept shift and a time
     fatalities. The hypothesis was that the FAWB reduced the               trend. Due to collinearity, we retained only the trend shift in
     number of public mass shootings per year during the period of          the final model for the FAWB period; for the post-FAWB
     the ban. We used regression discontinuity analysis to test the         period, we retained both the intercept and the trend shift.
     hypothesis. Regression discontinuity analysis is a standard
     economist tool used in policy analysis taking advantage of             Results
     quasi-experimental designs [65,73].
                                                                            We identified a total of 170 public mass shooting events, the
     Analyses                                                               primary outcome variable, with 4 or more fatalities between
     Regression discontinuity analysis allows for discontinuities or        1966 and 2019. The 5-year cumulative number of public mass
     shifts in both the intercept and the slope of the trend line at both   shootings is shown in Figure 1, providing a visualization of the
     the onset and sunset of the FAWB. That is, we introduced               impacts of the FAWB on the number of shootings. The first
     intercept shift parameters in 1995 and 2005, and trend shift           mass shooting occurred in 1966; hence, the first data point for
     parameters for the periods 1995-2004 and 2005-2019. A                  the cumulative number of shootings over the previous 5 years
     statistically significant shift in a parameter indicates a             occurs in 1970. For 1966 and 1967, the cumulative number of
     discontinuity (ie, a finding that the FAWB had a statistically         public mass shootings was 3. This number then increased to 12
     significant effect on the number of public mass shootings). We         in 1993 and declined to 3 in 2004. After 2004, the cumulative
     tested for statistical significance of the intercept and trend shift   number of public mass shootings increased to 81 in 2019. The
     parameters both independently and jointly. All statistical             last year of the ban, 2004, experienced the fewest public mass
     inference was based on a significance level set at .05. We used        shootings through 2019.
     the Huber-White robust residuals, which attenuate problems of
                                                                            The regression results showed excellent explanatory power
     autocorrelation, heteroscedasticity, and some types of model
     misspecification [74].                                                 (R2=0.94). The coefficient on population was positive and
                                                                            statistically significant (.044, P<.001). This coefficient means
     We then used the estimated model for two types of                      that for every increase in population of 1 million people, there
     counterfactual analysis. First, we used the model to predict the       are an additional .044 public mass shooting events per year.
     number of public mass shootings that would have occurred had           The coefficient on the homicide rate was negative and
     the FAWB not been in place. The difference between this                statistically significant (–.249, P=.01). The coefficient on the
     counterfactual prediction and the modeled number of incidents          time trend for the FAWB period captures the effect of the
     with the FAWB in place provided an estimate of the number of           FAWB; this coefficient was negative and statistically significant
     public mass shootings that the FAWB prevented.                         (–.187, P=.001). Using prediction models in combination with
     Second, we projected forward the number of public mass                 regression slopes, we estimate that 11 public mass shootings
     shootings that would have occurred had the FAWB been                   were avoided due to the FAWB. The intercept discontinuity for
     permanent (ie, continued from 2004 through to the end of the           2005-2019 was negative and statistically significant (–2.232,
     sample period). We note that in some sense, this is an “out of         P=.001), and the trend coefficient was positive and statistically
                                                                            significant (.081, P=.001).




     https://publichealth.jmir.org/2021/4/e26042                                               JMIR Public Health Surveill 2021 | vol. 7 | iss. 4 | e26042 | p. 3
                                                                                                                    (page number not for citation purposes)
XSL• FO
RenderX
   Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 180
                                       of 396

     JMIR PUBLIC HEALTH AND SURVEILLANCE                                                                                                                 Post et al

     Figure 1. Public mass shooting trend line using five year moving averages (1966-2019).




     These results are graphed in Figure 2 in which the black stars             and the green lines represents the predicted number of public
     represent the actual data and the green line represents the                mass shootings averted by the FAWB. The model predicts that
     predicted numbers of public mass shootings from the regression             11 public mass shootings were averted over the period of
     discontinuity model. A bending of the trend during the FAWB                1995-2004.
     period to become downward sloping at the end of the period is
                                                                                The blue diamonds represent the projected effects of a
     apparent, as is the return of the upward trajectory upon
                                                                                continuation of the FAWB through 2019 based on the observed
     expiration of the FAWB. The red squares represent the projected
                                                                                trend from 1995 to 2004. This projection indicates that 30 public
     numbers of public mass shootings during the FAWB period had
                                                                                mass shootings would have been prevented from 2005 to 2019
     there been no FAWB. The difference between the red squares
                                                                                had the FAWB been left in place.
     Figure 2. Regression lines from discontinuity analysis of the federal assault weapons ban (1994-2004).




     https://publichealth.jmir.org/2021/4/e26042                                                     JMIR Public Health Surveill 2021 | vol. 7 | iss. 4 | e26042 | p. 4
                                                                                                                          (page number not for citation purposes)
XSL• FO
RenderX
   Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 181
                                       of 396

     JMIR PUBLIC HEALTH AND SURVEILLANCE                                                                                                        Post et al

                                                                         mass shootings was increasing. During enactment of the FAWB,
     Discussion                                                          there was a downward trend of mass shooting events. After the
     Principal Findings                                                  FAWB was lifted, public mass shootings increased dramatically.
                                                                         Firearm homicides in general follow no such patterns.
     In total, 1225 people were killed in a mass shooting over the
     past 53 years with more than half occurring in the last decade,     This effect was not found in the work of Koper, Roth, and
     a function of increases in mass shootings and weapon lethality      colleagues [53-55]; however, their inclusion of all gun homicides
     [62,63,75]. Public mass shooting fatalities and injuries far        masks the ban’s effect on mass shootings. Even though Peterson
     outpace population growth [75]. Between 1966 and 2019, the          and Densley’s [77] work focused on perpetrator histories and
     US population increased by 67% [76], whereas public mass            not the FAWB, their findings that ease of gun access is
     shooting deaths increased by over 5-fold. The rise in public        characteristic of public mass shooters further supports our study.
     mass shootings throughout the sample period is in fact partially    We restricted the inclusion criteria to public mass shootings to
     a function of population growth and homicide rate, along with       specifically test the effectiveness of the FAWB on public mass
     the effects of the FAWB and its removal. An increase in the US      shooting events.
     population of 1 million people was associated with an increase      Regardless of the FAWB, bringing a semiautomatic rifle with
     of .040 (P<.005) public mass shootings per year. During the         high magazine capacity to a massacre significantly increases
     post-FAWB period, the increase in population from                   the number of fatalities and injuries. The increase in deaths is
     approximately 300 million in 2005 to 330 million in 2019 should     a function of rapid fire and increased ballistic energy. The
     be associated with an increase of 1.2 public mass shootings per     increase in injuries is also a function of rapid fire and
     year, compared to the actual increase of 4 public mass shootings    high-capacity magazines, enabling the shooter to shoot more
     per year in the data (5-year moving average). After controlling     people in crowded venues quickly before the crowd can disperse
     for population growth and homicide rate, a positive and             or hide. When controlling for the FAWB, the use of assault
     statistically significant coefficient (.081, P=.001) on the         rifles decreased by half during implementation of the ban and
     2005-2018 trend was seen. This further indicates a separate,        tripled after the ban was lifted. This is a particularly important
     nonpopulation trend of increasing violence operating during         finding given that the FAWB had loopholes and that overall
     the post-FAWB period. The negative coefficient on the homicide      violent crime is decreasing [78]. First, all people with an assault
     rate invalidates the hypothesis that decreases in the numbers of    weapon prior to the FAWB were allowed to retain their
     public mass shootings are simply reflections of an overall          semiautomatic weapons [54,64]. Second, without a buyback
     decreasing homicide rate. The negative intercept discontinuity      program, semiautomatic weapons remained in the community
     is consistent with an effect of the FAWB that persists somewhat     [54,64]. Third, the ban did not target some military assault-like
     beyond the immediate end of the ban. The positive trend             weapons [54,64]. Finally, a major loophole found in gun control
     coefficient is consistent with the hypothesis that the FAWB was     legislation is that buyers can bypass background checks by
     associated with a decrease in the number of public mass             purchasing their weapons and ammunition from gun shows,
     shootings, as the expiration of the FAWB was associated with        through illegal purchasing, or legally purchasing their guns and
     a shift from a downward trend to an upward trend in the number      ammunition from another gun owner [57,63,79-87]. Even with
     of public mass shootings per year.                                  these loopholes and issues, there was still a significant reduction
     The most striking finding from this study is that there was a       in public mass shootings during the FAWB. These loopholes
     reduction in the number of public mass shooting events while        indicate that most people who purchase assault weapons do not
     the FAWB was in place. Using prediction models in                   become mass shooters; however, mass shooters require assault
     combination with regression slopes, we estimate that 11 public      weapons and LCMs to carry out a mass shooting. Ban
     mass shootings were avoided due to the FAWB. By projecting          effectiveness might have improved if all assault weapons were
     what would have happened if the FAWB remained in place, we          included in the FAWB.
     found that there would have been significantly fewer public         Some recent studies have specifically analyzed the effects of
     mass shootings if the FAWB had remained in place to 2019.           LCM bans on the incidence of public mass shootings. In a
     Remarkably, although it is intuitive that the removal of assault    review of state legislation, Webster et al [88] found that bans
     weapons and magazine clips will reduce the lethality of a mass      of LCMs were associated with a significant reduction in the
     shooting, we observed an inverse relationship between               incidence of fatal public mass shootings. This study shows that
     weapons/ammunition and mass shooting events, meaning that           the FAWB, which included a ban on LCMs, was associated
     mass shooters may be less likely to perpetrate a mass shooting      with fewer fatalities and injuries during mass shootings in
     without rapid fire military-style weapons. This is an independent   addition to fewer public mass shooting events. Koper et al [27]
     effect, which indirectly leads to fewer injuries and deaths.        previously reported that 19% of public mass shootings resulting
     DiMaggio et al [64] also found evidence of a decrease in public     in 4 or more fatalities included the use of LCMs, while only
     mass shootings during the ban; however, their study period was      10% involved an assault weapon. Klarevas et al [29] found a
     shorter and was restricted to 51 public mass shootings. Unlike      similar pattern in shootings of 6 or more people, in which 67%
     our study, they implicitly modeled public mass shootings as a       of shooters utilized LCMs, whereas only 26% utilized an assault
     random instance of general gun homicides that had a high death      weapon. Because our study only looked at effects of the FAWB,
     count [64]. In contrast, our findings suggest that public mass      which included an LCM ban, we were only able to determine
     shootings are a unique type of premeditated gun violence. We        the combined effects of limiting assault weapons and LCMs.
     found that prior to enactment of the FAWB, the rate of public       To be clear, the reduction in the number of public mass
     https://publichealth.jmir.org/2021/4/e26042                                            JMIR Public Health Surveill 2021 | vol. 7 | iss. 4 | e26042 | p. 5
                                                                                                                 (page number not for citation purposes)
XSL• FO
RenderX
   Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 182
                                       of 396

     JMIR PUBLIC HEALTH AND SURVEILLANCE                                                                                                          Post et al

     shootings, and resulting fatalities and injuries, may be a function   resulted in better tracking of public mass shootings or increased
     of the ban on assault weapons, assault weapons plus LCMs, or          media coverage. Because our study specifically targeted the
     only LCMs. We cannot separate out their independent effects           federal legislation, we omitted state-level gun policies such as
     at the national level.                                                state-level prohibitions on certain types of guns, LCMs, or more
                                                                           lethal types of bullets. It is likely that the internet serves as a
     Unlike our study, Webster et al [88] did not evaluate the
                                                                           contagion and as a guide to potential mass shooters, allowing
     incidence of assault weapons used in public mass shootings.
                                                                           them to access weapons and multiple stories about other mass
     Rather, they focused on fatalities from public mass shootings
                                                                           shooters [62,67,89,90].
     vs public mass shooting events. Although Webster et al [88]
     utilized the FBI Supplemental Homicide Report as their dataset,       Conclusions
     which is a voluntary reporting measurement system prone to            In summary, public mass shootings are a unique and specific
     errors in reporting, their findings are applicable to our analysis.   type of homicide by a gun. We found evidence that public mass
     Limitations                                                           shootings are qualitatively different from general homicides
                                                                           because after the FAWB expired, mass shooting events increased
     Although we found statistically significant decreases during the
                                                                           while general homicides decreased. The increase in public mass
     FAWB, we cannot isolate aspects of the policy that are attributed
                                                                           shootings was more dramatic in the final 10 years of the study
     to the decline. Most notably, the FAWB also included LCMs
                                                                           period following the end of the FAWB. We suspect that these
     during the ban. It may be that the type of gun and/or the type
                                                                           outcomes may be improved by removing existing semiautomatic
     of magazine resulted in a decline. Indeed, assault weapons and
                                                                           weapons with large bullet capacity by creating a buyback
     LCMs provide the means to carry out a mass shooting; however,
                                                                           program for all rapid-firing weapons. Moreover, the legislation
     there are likely other factors beyond this study that partially
                                                                           would be strengthened if it closed loopholes that allow gun
     explain the radical increase in public mass shootings in the
                                                                           buyers to get around the background check legislation and other
     post-FAWB period. For example, the FAWB was in place from
                                                                           purchase prohibitions by exempting gun shows and internet or
     1994 to 2004, which is the same time period that the US
                                                                           person-to-person purchases, which were exempted from the
     population largely adopted the internet, along with associated
                                                                           FAWB and LCM ban [87].
     social communication software and websites. This may have

     Acknowledgments
     The Violence Project Mass Shooter database generated data for our surveillance. This study was financially supported by the
     Buehler Endowment at Feinberg School of Medicine.

     Conflicts of Interest
     None declared.

     References
     1.      Web-based Injury Statistics Query and Reporting System. Centers for Disease Control and Prevention, Injury Prevention
             and Control. 2020 Jul 01. URL: https://www.cdc.gov/injury/wisqars/index.html [accessed 2021-01-15]
     2.      Christensen AJ, Cunningham R, Delamater A, Hamilton N. Introduction to the special issue on gun violence: addressing
             a critical public health challenge. J Behav Med 2019 Aug;42(4):581-583. [doi: 10.1007/s10865-019-00075-8] [Medline:
             31367923]
     3.      Drake B. Mass shootings rivet national attention, but are a small share of gun violence. Pew Research Center. 2013 Sep
             17. URL: https://www.pewresearch.org/fact-tank/2013/09/17/
             mass-shootings-rivet-national-attention-but-are-a-small-share-of-gun-violence/ [accessed 2020-12-10]
     4.      Bowers TG, Holmes ES, Rhom A. The nature of mass murder and autogenic massacre. J Police Crim Psych 2009 Nov
             7;25(2):59-66. [doi: 10.1007/s11896-009-9059-6]
     5.      Delisi M, Scherer AM. Multiple homicide offenders. Crim Justice Behav 2016 Jun 30;33(3):367-391. [doi:
             10.1177/0093854806286193]
     6.      Mass shooter database. The Violence Project. 2020. URL: https://www.theviolenceproject.org/ [accessed 2021-01-14]
     7.      Shelby D. Association between adult alcohol misuse, adult mental health, and firearm storage practices in households with
             children: findings from the Behavioral Risk Factor Surveillance System (BRFSS). MPH Thesis. ScholarWorks @ Georgia
             State University. 2021 Dec 09. URL: https://scholarworks.gsu.edu/iph_theses/725 [accessed 2021-01-08]
     8.      Loder R, Mishra A, Atoa B, Young A. Spinal injury associated with firearm use. Cureus 2021 Mar 16;13(3):e13918 [FREE
             Full text] [doi: 10.7759/cureus.13918]
     9.      Mueller KL, Trolard A, Moran V, Landman JM, Foraker R. Positioning public health surveillance for observational studies
             and clinical trials: The St. Louis region-wide hospital-based violence intervention program data repository. Contemp Clin
             Trials Commun 2021 Mar;21:100683 [FREE Full text] [doi: 10.1016/j.conctc.2020.100683] [Medline: 33385095]




     https://publichealth.jmir.org/2021/4/e26042                                              JMIR Public Health Surveill 2021 | vol. 7 | iss. 4 | e26042 | p. 6
                                                                                                                   (page number not for citation purposes)
XSL• FO
RenderX
   Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 183
                                       of 396

     JMIR PUBLIC HEALTH AND SURVEILLANCE                                                                                                       Post et al

     10.     Horn DL, Butler EK, Stahl JL, Rowhani-Rahbar A, Littman AJ. A multi-state evaluation of the association between mental
             health and firearm storage practices. Prev Med 2021 Apr;145:106389. [doi: 10.1016/j.ypmed.2020.106389] [Medline:
             33385422]
     11.     Gunn JF, Boxer P. Gun laws and youth gun carrying: results from the youth risk behavior surveillance system, 2005-2017.
             J Youth Adolesc 2021 Mar;50(3):446-458. [doi: 10.1007/s10964-020-01384-x] [Medline: 33420890]
     12.     Rozel J, Soliman L, Jain A. The gun talk: how to have effective conversations with patients and families about firearm
             injury prevention. In: Zun LS, Nordstrom K, Wilson MP, editors. Behavioral Emergencies for Healthcare Providers.
             Switzerland: Springer; Jan 05, 2021:465-473.
     13.     Keyes KM, Kandula S, Olfson M, Gould MS, Martínez-Alés G, Rutherford C, et al. Suicide and the agent–host–environment
             triad: leveraging surveillance sources to inform prevention. Psychol Med 2021 Mar 05;51(4):529-537. [doi:
             10.1017/s003329172000536x]
     14.     Bluestein G, Hallerman T. Future directions for firearm injury intervention, policy, and research. In: Lee LK, Fleeger EW,
             editors. Pediatric Firearm Injuries and Fatalities: The Clinician's Guide to Policies and Approaches to Firearm Harm
             Prevention. Switzerland: Springer; Feb 06, 2021:223-234.
     15.     Oehmke J, Moss C, Singh L, Oehmke T, Post L. Dynamic panel surveillance of COVID-19 transmission in the United
             States to inform health policy: observational statistical study. J Med Internet Res 2020 Oct 05;22(10):e21955 [FREE Full
             text] [doi: 10.2196/21955] [Medline: 32924962]
     16.     Oehmke J, Oehmke T, Singh L, Post L. Dynamic panel estimate-based health surveillance of SARS-CoV-2 infection rates
             to inform public health policy: model development and validation. J Med Internet Res 2020 Sep 22;22(9):e20924 [FREE
             Full text] [doi: 10.2196/20924] [Medline: 32915762]
     17.     Post L, Benishay E, Moss C, Murphy R, Achenbach C, Ison M, et al. Surveillance metrics of SARS-CoV-2 transmission
             in central Asia: longitudinal trend analysis. J Med Internet Res 2021 Feb 03;23(2):e25799 [FREE Full text] [doi:
             10.2196/25799] [Medline: 33475513]
     18.     Post LA, Issa TZ, Boctor MJ, Moss CB, Murphy RL, Ison MG, et al. Dynamic public health surveillance to track and
             mitigate the US COVID-19 epidemic: longitudinal trend analysis study. J Med Internet Res 2020 Dec 03;22(12):e24286
             [FREE Full text] [doi: 10.2196/24286] [Medline: 33216726]
     19.     Post LA, Lin JS, Moss CB, Murphy RL, Ison MG, Achenbach CJ, et al. SARS-CoV-2 wave two surveillance in East Asia
             and the Pacific: longitudinal trend analysis. J Med Internet Res 2021 Feb 01;23(2):e25454 [FREE Full text] [doi:
             10.2196/25454] [Medline: 33464207]
     20.     Post L, Marogi E, Moss CB, Murphy RL, Ison MG, Achenbach CJ, et al. SARS-CoV-2 surveillance in the Middle East
             and North Africa: longitudinal trend analysis. J Med Internet Res 2021 Jan 15;23(1):e25830 [FREE Full text] [doi:
             10.2196/25830] [Medline: 33302252]
     21.     Post LA, Argaw ST, Jones C, Moss CB, Resnick D, Singh LN, et al. A SARS-CoV-2 surveillance system in Sub-Saharan
             Africa: modeling study for persistence and transmission to inform policy. J Med Internet Res 2020 Nov 19;22(11):e24248
             [FREE Full text] [doi: 10.2196/24248] [Medline: 33211026]
     22.     Teutsch S, Thacker S. Planning a public health surveillance system. Epidemiol Bull 1995 Mar;16(1):1-6. [Medline: 7794696]
     23.     Jacobs J, Fuhr Z. The Safe Act: New York's ban on assault weapons and large capacity magazines. Crim Law Bull 2017
             Jun 29;53(1):4 [FREE Full text]
     24.     Wallace EG. Assault weapon myths. South Ill Univ Law J 2018 Nov 18;43:193. [doi: 10.4135/9781452229300.n127]
     25.     Kopel D, Lowy J, Rostron A. Heller and "Assault Weapons". Campbell Law Rev 2018 Feb 02;40(2):461-480 [FREE Full
             text]
     26.     Pfau MW. Defining the deadly: definitional argument and the assault weapons ban controversy. Argum Advocacy 2020
             Jul 20;56(3):155-173. [doi: 10.1080/10511431.2020.1793276]
     27.     Koper CS, Johnson WD, Nichols JL, Ayers A, Mullins N. Criminal use of assault weapons and high-capacity semiautomatic
             firearms: an updated examination of local and national sources. J Urban Health 2018 Jun;95(3):313-321 [FREE Full text]
             [doi: 10.1007/s11524-017-0205-7] [Medline: 28971349]
     28.     United States Congress House Committee on the Judiciary. Subcommittee on Crime and Criminal Justice. Public Safety
             and Recreational Firearms Use Protection Act. In: Hearing before the Subcommittee on Crime and Criminal Justice of the
             Committee on the Judiciary, House of Representatives, One Hundred Third Congress, second session, on H.R. 3527.
             Washington, DC: US Government; Apr 25, 1994.
     29.     Klarevas L, Conner A, Hemenway D. The effect of large-capacity magazine bans on high-fatality mass shootings, 1990–2017.
             Am J Public Health 2019 Dec;109(12):1754-1761. [doi: 10.2105/ajph.2019.305311]
     30.     Kleck G. Large-capacity magazines and the casualty counts in mass shootings. Justice Res Policy 2016 Jun 01;17(1):28-47.
             [doi: 10.1177/1525107116674926]
     31.     Abbasi J. Large-capacity magazine bans linked with fewer mass shootings, deaths. JAMA 2020 Jan 14;323(2):108-109.
             [doi: 10.1001/jama.2019.20457] [Medline: 31851333]
     32.     Koper CS. Assessing the potential to reduce deaths and injuries from mass shootings through restrictions on assault weapons
             and other highĀcapacity semiautomatic firearms. Criminol Public Policy 2020 Jan 10;19(1):147-170. [doi:
             10.1111/1745-9133.12485]

     https://publichealth.jmir.org/2021/4/e26042                                           JMIR Public Health Surveill 2021 | vol. 7 | iss. 4 | e26042 | p. 7
                                                                                                                (page number not for citation purposes)
XSL• FO
RenderX
   Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 184
                                       of 396

     JMIR PUBLIC HEALTH AND SURVEILLANCE                                                                                                        Post et al

     33.     Towers S, Wallace D, Hemenway D. Temporal trends in public mass shootings: high-capacity magazines significantly
             increase fatality counts, and are becoming more prevalent. medRxiv preprint server. 2019 Dec 15. URL: https://www.
             medrxiv.org/content/10.1101/2019.12.12.19014738v1 [accessed 2021-04-17]
     34.     Webster DW, McCourt AD, Crifasi CK, Booty MD, Stuart EA. Evidence concerning the regulation of firearms design,
             sale, and carrying on fatal mass shootings in the United States. Criminol Public Policy 2020 Jan 30;19(1):171-212. [doi:
             10.1111/1745-9133.12487]
     35.     Lowy J. Comments on assault weapons, the right to arms, and the right to live. Harv J Law Public Policy 2020;43(2):375-386
             [FREE Full text]
     36.     Kim A. United States gun policy and the effect on mass shootings. California State University Northridge Scholarworks
             Open Access Repository. Northridge, CA: CSU Northridge University Library; 2020 Aug 25. URL: http://hdl.handle.net/
             10211.3/217278 [accessed 2020-12-06]
     37.     Pfau MW. Defining the deadly: definitional argument and the assault weapons ban controversy. Argum Advocacy 2020
             Jul 20;56(3):155-173. [doi: 10.1080/10511431.2020.1793276]
     38.     Balakrishna M, Wilbur KC. How the Massachusetts Assault Weapons Ban Enforcement Notice changed firearm sales.
             SSRN J 2021 Feb 4:1-51 [FREE Full text] [doi: 10.2139/ssrn.3779510]
     39.     Soto L, Chheda S, Soto J. Reducing fatalities in mass attacks and the related matter of gun control policy following the El
             Paso August 2019 shooting. Tex Hisp J Law Policy 2020;26:85.
     40.     Nagin DS, Koper CS, Lum C. Policy recommendations for countering mass shootings in the United States. Criminol Public
             Policy 2020 Jan 10;19(1):9-15. [doi: 10.1111/1745-9133.12484]
     41.     Gay C. 'Red Flag' laws: how law enforcement's controversial new tool to reduce mass shootings fits within current Second
             Amendment jurisprudence. Boston Coll Law Rev 2020 Apr 30;61(4):1491-1533 [FREE Full text]
     42.     Nielsen D. Disarming dangerous persons: how Connecticut's Red Flag Law saves lives without jeopardizing constitutional
             protections. Quinnipiac Health Law J 2020;23(3):253.
     43.     Blocher J, Charles J. Firearms, extreme risk, and legal design: “Red Flag” laws and due process. Virginia Law Rev 2020
             Oct 19;106(6):1285.
     44.     Kopel DB. Red Flag Laws: proceed with caution. Law Psychol Rev 2020 Jul 16:forthcoming [FREE Full text] [doi:
             10.2139/ssrn.3653555]
     45.     Blodgett S. Dementia, guns, Red Flag laws: Can Indiana's Statute balance elders' constitutional rights and public safety?
             NAELA J 2020 Sep;16:1-22 [FREE Full text]
     46.     Kerr S. "What We Need Is Bullet Control": could regulation of bullets reduce mass shootings? In: Crews G, editor. Handbook
             of Research on Mass Shootings and Multiple Victim Violence. Hershey, PA: IGI Global; Oct 2019:432-446.
     47.     Moore EE. Another mass shooting: Time to ban the assault rifle. J Trauma Acute Care Surg 2018 Jun;84(6):1036. [doi:
             10.1097/TA.0000000000001863] [Medline: 29799817]
     48.     Delaney GA, Charles JD. A double-filter provision for expanded Red Flag laws: a proposal for balancing rights and risks
             in preventing gun violence. J Law Med Ethics 2020 Dec;48(4_suppl):126-132. [doi: 10.1177/1073110520979412] [Medline:
             33404308]
     49.     Honberg RS. Mental illness and gun violence: research and policy options. J Law Med Ethics 2020 Dec;48(4_suppl):137-141.
             [doi: 10.1177/1073110520979414] [Medline: 33404306]
     50.     Laqueur HS, Wintemute GJ. Identifying highĀrisk firearm owners to prevent mass violence. Criminol Public Policy 2019
             Dec 16;19(1):109-127. [doi: 10.1111/1745-9133.12477]
     51.     Pallin R, Schleimer JP, Pear VA, Wintemute GJ. Assessment of extreme risk protection order use in California from 2016
             to 2019. JAMA Netw Open 2020 Jun 01;3(6):e207735 [FREE Full text] [doi: 10.1001/jamanetworkopen.2020.7735]
             [Medline: 32556258]
     52.     Hurka S, Knill C. Does regulation matter? A crossĀnational analysis of the impact of gun policies on homicide and suicide
             rates. Regul Gov 2018 Dec 21;14(4):787-803. [doi: 10.1111/rego.12235]
     53.     Koper C, Roth J. The impact of the 1994 Federal Assault Weapon Ban on gun violence outcomes: an assessment of multiple
             outcome measures and some lessons for policy evaluation. J Quant Criminol 2001 Mar;17(1):33-74.
     54.     Koper C, Woods D, Roth J. Updated Assessment of the Federal Assault Weapons Ban: Impacts on Gun Markets and Gun
             Violence, 1994-2003. Report to the National Institute of Justice, United States Department of Justice. 2004 Jul. URL: https:/
             /www.ojp.gov/pdffiles1/nij/grants/204431.pdf [accessed 2020-12-11]
     55.     Roth J, Koper C, Adams W, Johnson S, Marcotte J, McGready J, et al. Impact Evaluation of the Public Safety and Recreational
             Firearms Use Protection Act of 1994 Final Report. Urban Institute. Washington, DC: The Urban Institute; 1997 Mar 13.
             URL: https://www.urban.org/research/publication/
             impact-evaluation-public-safety-and-recreational-firearms-use-protection-act-1994/view/full_report [accessed 2021-02-10]
     56.     Webster D, Vernick J, McGinty E, Alcorn T. Regulating Gun Sales: An Excerpt from Reducing Gun Violence in America:
             Informing Policy with Evidence and Analysis. Baltimore, MD: Johns Hopkins University Press; 2013.
     57.     Jacobs J. Can Gun Control Work? (Studies in Crime and Public Policy). Oxford: Oxford University Press; Oct 14, 2004.



     https://publichealth.jmir.org/2021/4/e26042                                            JMIR Public Health Surveill 2021 | vol. 7 | iss. 4 | e26042 | p. 8
                                                                                                                 (page number not for citation purposes)
XSL• FO
RenderX
   Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 185
                                       of 396

     JMIR PUBLIC HEALTH AND SURVEILLANCE                                                                                                      Post et al

     58.     Lee LK, Fleegler EW, Farrell C, Avakame E, Srinivasan S, Hemenway D, et al. Firearm laws and firearm homicides: a
             systematic review. JAMA Intern Med 2017 Jan 01;177(1):106-119. [doi: 10.1001/jamainternmed.2016.7051] [Medline:
             27842178]
     59.     Gius M. An examination of the effects of concealed weapons laws and assault weapons bans on state-level murder rates.
             Appl Econ Lett 2013 Nov 26;21(4):265-267. [doi: 10.1080/13504851.2013.854294]
     60.     Cook P, Goss K. The Gun Debate: What Everyone Needs to Know. New York: Oxford University Press; May 01, 2014.
     61.     Cook P, Goss K. The Gun Debate: What Everyone Needs to Know, 2nd Edition. New York: Oxford University Press; Apr
             16, 2020.
     62.     Lankford A, Silver J. Why have public mass shootings become more deadly? Criminol Public Policy 2019 Dec 16;19(1):37-60.
             [doi: 10.1111/1745-9133.12472]
     63.     Schiff M. IZA Discussion Paper 12784: Greater US gun ownership, lethality and murder rates: analysis and policy proposals.
             IZA Institute of Labor Economics. 2019 Nov 27. URL: https://www.iza.org/publications/dp/12784/
             greater-us-gun-ownership-lethality-and-murder-rates-analysis-and-policy-proposals [accessed 2021-04-17]
     64.     DiMaggio C, Avraham J, Berry C, Bukur M, Feldman J, Klein M, et al. Changes in US mass shooting deaths associated
             with the 1994–2004 federal assault weapons ban: Analysis of open-source data. J Trauma Acute Care Surg 2019
             Jan;86(1):11-19. [doi: 10.1097/ta.0000000000002060]
     65.     World Telecommunication/ICT Indicators Database 2020 (24th Edition). International Telecommunications Union. Geneva:
             International Telecommunications Union; 2021 Jan. URL: https://www.itu.int/en/ITU-D/Statistics/Pages/publications/wtid.
             aspx [accessed 2021-04-17]
     66.     Lopez G. America's unique gun violence problem, explained in 17 maps and charts. Vox. 2021 Mar 23. URL: https://www.
             vox.com/policy-and-politics/2017/10/2/16399418/boulder-colorado-mass-shooting-gun-violence-statistics-charts [accessed
             2021-03-29]
     67.     Silver J, Simons A, Craun S. A study of the pre-attack behaviors of active shooters in the United States between 2000 and
             2013. FBI Documents. Washington, DC: US Department of Justice, Federal Bureau of Investigations; 2018. URL: https:/
             /www.fbi.gov/file-repository/pre-attack-behaviors-of-active-shooters-in-us-2000-2013.pdf/view [accessed 2020-10-25]
     68.     DeFoster R, Swalve N. Guns, culture or mental health? Framing mass shootings as a public health crisis. Health Commun
             2018 Oct;33(10):1211-1222. [doi: 10.1080/10410236.2017.1350907] [Medline: 28841045]
     69.     Fridel EE. A multivariate comparison of family, felony, and public mass murders in the United States. J Interpers Violence
             2021 Feb;36(3-4):1092-1118. [doi: 10.1177/0886260517739286] [Medline: 29294976]
     70.     Duwe G. Mass murder in the United States: a history. Jefferson, NC: McFarland & Company; Jan 07, 2007.
     71.     Fox J, Levin J. Mass confusion concerning mass murder. Criminologist 2015;40(1):8-11 [FREE Full text] [doi:
             10.4135/9781412950619.n277]
     72.     Fox JA, Levin J. Firing back: the growing threat of workplace homicide. An Am Acad Pol Soc Sci 2016 Sep 08;536(1):16-30.
             [doi: 10.1177/0002716294536001002]
     73.     Stevenson AJ, Flores-Vazquez IM, Allgeyer RL, Schenkkan P, Potter JE. Effect of removal of Planned Parenthood from
             the Texas Women’s Health Program. N Engl J Med 2016 Mar 03;374(9):853-860. [doi: 10.1056/nejmsa1511902]
     74.     Freedman DA. On the so-called “Huber Sandwich Estimator” and “Robust Standard Errors”. Am Statistician 2006
             Nov;60(4):299-302. [doi: 10.1198/000313006x152207]
     75.     Duwe G. Mass shootings are getting deadlier, not more frequent. Politico Magazine. 2017 Oct 04. URL: https://www.
             politico.com/magazine/story/2017/10/04/mass-shootings-more-deadly-frequent-research-215678/ [accessed 2021-01-30]
     76.     Population Trends. United States Census Bureau. 2019. URL: https://www.census.gov/ [accessed 2019-08-26]
     77.     Peterson J, Densley J. We have studied every mass shooting since 1966. Here's what we've learned about the shooters. Los
             Angeles Times. 2019 Aug 04. URL: https://www.latimes.com/opinion/story/2019-08-04/
             el-paso-dayton-gilroy-mass-shooters-data [accessed 2020-02-01]
     78.     Klingner DE, Williams E. Topic: Public Safety. Public Integrity 2019 Mar 06;21(2):220-224. [doi:
             10.1080/10999922.2019.1565268]
     79.     Hand C. Gun control and the Second Amendment. Minneapolis, MN: ABDO; Dec 15, 2016.
     80.     Popovits A. Dominican University of California Political Science & International Studies (Senior Thesis). 2020 May. URL:
             https://tinyurl.com/se3vrmd6 [accessed 2020-12-01]
     81.     Miller SV. What Americans think about gun control: evidence from the General Social Survey, 1972-2016. Soc Sci Quart
             2018 Nov 18;100(1):272-288. [doi: 10.1111/ssqu.12555]
     82.     Kellner D. School shootings, societal violence and gun culture. In: Shapiro H, editor. The Wiley Handbook on Violence
             in Education: Forms, Factors, and Preventions. Medford, MA: John Wiley & Sons, Inc; 2018:53-68.
     83.     Schildkraut J. Assault weapons, mass shootings, and options for lawmakers. Rockefeller Institute of Government. 2019
             Mar 22. URL: https://rockinst.org/issue-area/assault-weapons-mass-shootings-and-options-for-lawmakers/ [accessed
             2021-02-11]
     84.     Jacobs J, Fuhr Z. The potential and limitations of universal background checking for gun purchasers. Wake Forest J Law
             Policy 2017;7(2):537-583.


     https://publichealth.jmir.org/2021/4/e26042                                          JMIR Public Health Surveill 2021 | vol. 7 | iss. 4 | e26042 | p. 9
                                                                                                               (page number not for citation purposes)
XSL• FO
RenderX
   Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 186
                                       of 396

     JMIR PUBLIC HEALTH AND SURVEILLANCE                                                                                                               Post et al

     85.     Braga AA, Brunson RK, Cook PJ, Turchan B, Wade B. Underground gun markets and the flow of illegal guns into the
             Bronx and Brooklyn: a mixed methods analysis. J Urban Health 2020 Sep 04:online ahead of print. [doi:
             10.1007/s11524-020-00477-z] [Medline: 32888157]
     86.     Chai C. Gun control: can we take a shot at it? AMASS 2019;24(2):34-36.
     87.     Goldberg J. The case for more guns (and more gun control). The Atlantic. 2012 Dec. URL: https://www.theatlantic.com/
             magazine/archive/2012/12/the-case-for-more-guns-and-more-gun-control/309161/ [accessed 2020-11-20]
     88.     Webster DW, McCourt AD, Crifasi CK, Booty MD, Stuart EA. Evidence concerning the regulation of firearms design,
             sale, and carrying on fatal mass shootings in the United States. Criminol Public Policy 2020 Jan 30;19(1):171-212. [doi:
             10.1111/1745-9133.12487]
     89.     Lankford A, Madfis E. Media coverage of mass killers: content, consequences, and solutions. Am Behav Sci 2018 Mar
             20;62(2):151-162. [doi: 10.1177/0002764218763476]
     90.     Kien S, Begay T, Lee A, Stefanidis A. Social media during the school shooting contagion period. Violence Gender 2019
             Dec 01;6(4):201-210. [doi: 10.1089/vio.2019.0043]

     Abbreviations
               FAWB: Federal Assault Weapons Ban
               FBI: Federal Bureau of Investigation
               LCM: large-capacity magazine




               Edited by G Eysenbach, T Sanchez; submitted 19.02.21; peer-reviewed by T Alcorn; comments to author 12.03.21; revised version
               received 24.03.21; accepted 30.03.21; published 22.04.21
               Please cite as:
               Post L, Mason M, Singh LN, Wleklinski NP, Moss CB, Mohammad H, Issa TZ, Akhetuamhen AI, Brandt CA, Welch SB, Oehmke JF
               Impact of Firearm Surveillance on Gun Control Policy: Regression Discontinuity Analysis
               JMIR Public Health Surveill 2021;7(4):e26042
               URL: https://publichealth.jmir.org/2021/4/e26042
               doi: 10.2196/26042
               PMID: 33783360




     ©Lori Post, Maryann Mason, Lauren Nadya Singh, Nicholas P Wleklinski, Charles B Moss, Hassan Mohammad, Tariq Z Issa,
     Adesuwa I Akhetuamhen, Cynthia A Brandt, Sarah B Welch, James Francis Oehmke. Originally published in JMIR Public Health
     and Surveillance (https://publichealth.jmir.org), 22.04.2021. This is an open-access article distributed under the terms of the
     Creative Commons Attribution License (https://creativecommons.org/licenses/by/4.0/), which permits unrestricted use, distribution,
     and reproduction in any medium, provided the original work, first published in JMIR Public Health and Surveillance, is properly
     cited. The complete bibliographic information, a link to the original publication on https://publichealth.jmir.org, as well as this
     copyright and license information must be included.




     https://publichealth.jmir.org/2021/4/e26042                                                  JMIR Public Health Surveill 2021 | vol. 7 | iss. 4 | e26042 | p. 10
                                                                                                                        (page number not for citation purposes)
XSL• FO
RenderX
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 187
                                    of 396




                      EXHIBIT L
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 188
                                    of 396
                                                                                                                                           Opinion



                              Regulating Assault Weapons and Large-Capacity Magazines
       VIEWPOINT
                              for Ammunition

   Philip J. Cook, PhD        Mass public shootings in the US account for a small frac-     The 1994 Federal Assault Weapons Ban extended the
   Duke University,           tion of all firearm-related homicides, but have an out-  regulationofmilitary-styleweaponstoincludesomesemi-
   Durham,                    sized role in stoking the public’s concern with firearm  automatic firearms. These weapons fire 1 round of am-
   North Carolina.
                              violence. The vivid instances of attacks on people in    munition for each pull of the trigger, and are capable of
                              churches, schools, and offices and at other public gath- firing at a rate of roughly 1 per second. The 1994 Assault
   John J. Donohue, PhD,
   JD                         ering places do vastly disproportionate damage to peace  Weapons Ban ended the legal manufacture and import of
   Stanford University,       of mind by creating a sense of peril in places that should
                                                                                       specified firearms, as well as ammunition-feeding de-
   Stanford, California.      feel safe. These attacks have been increasing in fre-    vices (magazines) that held more than 10 rounds of am-
                              quency and deadliness in recent years. As reducing this  munition. At the time, most prohibited assault weapons
                              particular type of firearm violence becomes more ur-     were equipped with detachable magazines that held 30
                              gent, the case for a variety of prevention measures be-  rounds and could accept magazines that could hold as
   Viewpoint pages 1177,
                              comes even stronger.                                     many as 50 or 100 rounds, thus making it possible to fire
   1179, 1181, 1183, 1185,
   1187, 1189, 1193, 1195,         This Viewpoint focuses on a measure that is highly  dozens of rounds without pausing to reload.2
   and 1197 and Editorial     specific to the gun violence problem—stringent regula-        The 1994 federal ban on new assault weapons had
   page 1201                  tion of assault weapons and large-capacity magazines     gapingloopholes.First,thefederalbandidnotrestrictpos-
                              (LCMs) for ammunition. Federal law banned the intro-     session or transactions of existing assault weapons and
   Supplemental               duction of new LCMs and military-style semiautomatic     LCMs. Second, manufacturers found ways to slightly
   content                    firearms between 1994 and 2004, but that regulation      modify the design of some of the banned weapons so that
                              ended in 2004 and Congress did not renew it. Now, years  they met the letter of the law while preserving the military
                              later, the nation is experiencing the dire effects of op-appearance and the possibility of accepting LCMs and
                              ening the door to the manufacture and import of these    firing high-powered ammunition quickly. Still, there is evi-
                              weapons; it is time to close that door.                  dence that the ban had some salutary effect on mass
                                                                                       public shootings.
                              History and Current Status of Bans                            The LCM ban, also in effect during 1994 to 2004,
                              The history of federal bans on weapons of mass was not subject to the redesign problem because it pro-
                              destruction goes back to the 1934 National Firearms vided a bright line that was difficult for manufacturers
                              Act. Among other provisions, the Act required sub- to overcome. There were, however, an estimated 25 mil-
                              machine guns and other firearms capable of fully lion LCMs in circulation when the ban was enacted, and
                                                                                                         those remained in circulation, but with no
                                                                                                         new additions.2 It was not just assault
                              Current estimates suggest that                                             weapons     (as defined) that were de-
                                                                                                         signed to use LCMs, but a variety of other
                              approximately 20 million assault                                           semiautomatic firearms as well, so the
                              weapons are owned by private                                               LCM ban had much broader scope.
                                                                                                              When the law expired in 2004,
                              individuals in the US, with millions                                       manufacturing and importations of LCMs
                              of new assault weapons manufactured                                        and previously banned weapons re-
                              and imported each year.                                                    sumed, and a surge of sales followed.
                                                                                                         Current estimates suggest that approxi-
                              automatic fire (ie, firing several shots with a single mately 20 million assault weapons are owned by pri-
                              pull of the trigger) to be registered with the federal vate individuals in the US, with millions of new assault
                              government.1 All transactions involving such weapons weapons manufactured and imported each year.3 The
                              were taxed at $200, a high confiscatory amount at the industry initially advertised these weapons as “assault
                              time. The registration and tax requirement remained in rifles,” and continues to promote them with military al-
                              place, although inflation has substantially undercut the lusions but has now rebranded this type of weapon as
                              force of the transfer fee. The Act was expanded by the “modern sporting rifle.”
                              Congress in 1986 to end the sale of new fully automatic       Seven states have some version of a ban or stringent
   Corresponding
   Author: Philip J.          weapons. There is every reason to believe that these restrictions on assault weapons: California, Connecticut,
   Cook, PhD, Sanford         restrictions have been effective. Even though the Hawaii, Maryland, Massachusetts, New Jersey, and
   School of Public Policy,   Thompson submachine gun was a notorious gangster New York, as well as the District of Columbia.4 These laws
   Duke University,
                              weapon in the 1920s, fully automatic weapons of any are being challenged in the courts as a violation of the
   PO Box 90545,
   Durham, NC 27708           kind are rarely used in crime in modern times or in mass Second Amendment, but have survived these chal-
   (pcook@duke.edu).          public shootings.1                                       lenges to date.

   jama.com                                                                                        JAMA September 27, 2022 Volume 328, Number 12      1191

                                            © 2022 American Medical Association. All rights reserved.
 Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 189
                                     of 396
       Opinion Viewpoint



       Evidence of Potential Effectiveness of a National Ban                           ing in Port Arthur, Tasmania, in which a young man killed 35 people
       A review conducted by the RAND Corporation concluded that the                   with a semiautomatic rifle. Swift action by the federal and state leg-
       handful of published studies on the effect of the ban on mass pub-              islatures produced legislation that banned not only manufacture and
       lic shootings was “inconclusive” due in part to flaws in the analysis           import, but private possession of semiautomatic rifles. To ease the
       used by the 3 studies with positive findings.4 But it is unlikely the           transition, a series of firearm buybacks were instituted, and 1 million
       surge in mass public shootings that involved assault weapons and                weapons were ultimately relinquished, estimated to be one-third of
       LCMs that occurred after the ban would have happened if the ban                 all privately owned guns. Australia had 11 mass shootings during the
       had remained in place. The logic is straightforward. The sales of these         decade prior to the ban,9 and 1 since then (a family killing in 2018 that
       weapons, which had declined during the ban, expanded greatly fol-               would not count as a mass public shooting by the US definition).
       lowing its repeal, making them more widely available to everyone                     The Australian experience is illustrative as a proof of concept for
       including would-be mass murderers.                                              other countries, including the US. Of note, the ban covered all semi-
             To document recent trends in such mass public shootings re-               automatic rifles, not just those with the specific features sugges-
       quires a precise definition. One common definition for mass pub-                tive of use in warfare as opposed to hunting. The ban on posses-
       lic shootings has several elements,5,6 including: (1) a minimum of              sion of existing guns rather than only on the introduction of new guns
       4 homicides; (2) a public location; and (3) circumstance not attrib-            greatly accelerated its apparent effectiveness.
       utable to robbery, other felonious activity, or commonplace con-
       flict in families or among acquaintances. A comprehensive compi-                Potential Next Steps
       lation of such events is the Violence Project’s database of mass                On July 29, 2022, the US House of Representatives passed the
       shootings in the US,7 which includes the number of people killed and            Assault Weapons Ban of 2022. To a large extent this bill reinsti-
       injured in each event and the type of weapon or weapons used.                   tuted the 1994 ban, including the ban on the sale of new semiauto-
             Information from this database indicates that in the years fol-           matic firearms deemed to be assault weapons, and of new LCMs
       lowing when the law expired in 2004, the number of mass shoot-                  holding more than 10 rounds. An important innovation is that for
       ing incidents greatly increased and the number of fatalities in-                LCMs, the bill only allows continued possession and use of existing
       creased even more. During the period from 2015 to 2019, the number              devices, but not transfer. However, given the reality that the US Sen-
       of incidents reached 33 (or 6.6 per year), which was almost twice               ate will not enact this bill, it is useful to consider other approaches.
       the number during the decade the Federal Assault Weapons Ban                         States could institute or expand assault weapon bans. Indeed,
       was in effect (eFigure and eTable in the Supplement). The number                just a ban on LCMs would be a promising first step, impeding ac-
       of fatalities from shootings that involved banned weapons de-                   cess to these products by individuals who could otherwise use them
       creased during the second half of the ban (2000-2004) and then                  to fire multiple rounds of ammunition at large numbers of people
       surged during subsequent periods, reaching a total of 271 during                before law enforcement can be mobilized to stop the killing.
       2015 to 2019. It was during that 5-year interval from 2015 to 2019
       that 5 of the top-10 deadliest mass public shootings in US history oc-          Conclusions
       curred, and all were committed with assault weapons.8 The num-                  In 2017, the New York Times polled “32 current or retired academics
       ber of fatalities resulting from mass public shootings with other weap-         in criminology, public health and law, who have published exten-
       ons has remained relatively flat.                                               sively in peer-reviewed academic journals on gun policy”10 to ask
                                                                                       them what measures would be most effective in dealing with the
       The Australian Ban on Rapid-Fire Weapons                                        mass shooting problem in the US, and an assault weapons ban was
       The Australian experience has factored into the debate over reinsti-            deemed overall by this panel to be the single most effective mea-
       tuting the assault weapons ban in the US. In Australia, the impetus             sure. The evidence in support of a ban has grown tragically stron-
       for banning semiautomatic weapons was a 1996 mass public shoot-                 ger since then.10


       ARTICLE INFORMATION                                 3. Bump P. Tallying America’s fascination with         www.theviolenceproject.org/mass-shooter-
       Conflict of Interest Disclosures: Dr Donohue        AR-15-style rifles. Accessed September 6, 2022.        database/
       reported serving as an expert witness for various   https://www.washingtonpost.com/politics/2022/          8. Wikipedia. Mass shootings in the United States.
       government entities on matters related to assault   05/26/tallying-americas-fascination-with-ar-15-        Accessed August 31, 2022. https://en.wikipedia.
       weapons bans based on his research in this area.    style-rifles/                                          org/wiki/Mass_shootings_in_the_United_States
                                                           4. Smart R, Morral AR, Smucker S, et al. The Science   9. Chapman S, Alpers P, Jones M. Association
       REFERENCES                                          of Gun Policy. RAND; 2020.                             between gun law reforms and intentional firearm
       1. Cook PJ, Goss KA. The Gun Debate: What           5. Duwe G. Patterns and prevalence of lethal mass      deaths in Australia, 1979-2013. JAMA. 2016;316(3):
       Everyone Needs to Know. 2nd ed. Oxford University   violence. Criminol Public Policy. 2020;19(1):17-35.    291-299. doi:10.1001/jama.2016.8752
       Press; 2020.                                        doi:10.1111/1745-9133.12478                            10. Sanger-Katz M, Bui Q. How to reduce mass
       2. Koper CS. An updated assessment of the federal   6. Smart R, Schell TL. Mass shootings in the United    shooting deaths? experts rank gun laws. Published
       assault weapons ban: impacts on gun markets and     States. Accessed September 6, 2022. https://           October 5, 2017. Accessed September 6, 2022.
       gun violence, 1994-2003. Accessed September 6,      www.rand.org/research/gun-policy/analysis/             https://www.nytimes.com/interactive/2017/10/05/
       2022. https://www.ojp.gov/pdffiles1/nij/grants/     essays/mass-shootings.html                             upshot/how-to-reduce-mass-shooting-deaths-
       204431.pdf                                          7. Violence Project. Mass shooter database:            experts-say-these-gun-laws-could-help.html
                                                           version 5.0. Accessed August 30, 2022. https://




1192   JAMA September 27, 2022 Volume 328, Number 12                                                                                                       jama.com

                                                   © 2022 American Medical Association. All rights reserved.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 190
                                    of 396




                     EXHIBIT M
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 191
                                    of 396




                Philip J. Cook

                Research in Criminal Deterrence:
                Laying the Groundwork for the
                Second Decade



                AB STRACT

                  Deterrence theory has been developed primarily by economists,
                  who have viewed potential criminals as rational decision-makers
                  faced with an array of illicit opportunities characterized by
                  costs (time, possible adverse legal consequences, and so forth)
                  and payoffs. The crime decision is thus characterized in a way
                  that fits the well-developed theoretical framework of
                  decision-making under uncertainty. Herbert Simon and others
                  have questioned the descriptive accuracy of this theory, and
                  are beginning to uncover systematic patterns in decision-making
                  that violate the predictions of the economic theory: this work
                  could usefully be incorporated into the crime choice framework.
                  One of the most important issues for further research in this
                  area is the way in which potential criminals acquire information
                  about criminal opportunities and the effectiveness of the
                  criminal justice system. A simple "realistic" model of threat
                  communication can be outlined that yields deterrence-like
                  effects, even though no one is well informed concerning the
                  true effectiveness of the system. Three other questions that
                  have been of great interest to deterrence theorists are discussed:
                  ( I ) what factors influence the rate at which active criminals
                  commit crimes; ( 2 ) which dimension of the threat of
                  punishment has a greater deterrent effect-likelihood or severity;
                  and ( 3 ) what effect does the threat of punishment for one type
                  of crime have on involvement in other criminal activities?
                 Philip J. Cook is Associate Professor of Public Policy Studies and Economics,
                Duke University.
                211
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 192
                                    of 396




                212       Philip J. Cook

                    Much of the recent empirical work on deterrence has used
                  a fundamentally flawed approach to estimating the responsiveness
                  of crime rates to sanction probability and severity. The flaw is
                  that the measures of "probability of punishment" used in these
                  studies reflect the choices made by criminals as well as the
                  intrinsic effectiveness of the criminal justice system. Therefore,
                  these measures do not serve as appropriate indices of criminal
                  justice system effectiveness. The empirical approach that appears
                  most productive is the evaluation of discrete changes in law
                  and policy-"natural experiments," that can tell us a good
                  deal about the deterrence process.
                The core concern of deterrence research has been to develop a
                scientific understanding of the relationship between the crime
                rate and the threat of punishment generated by the criminal jus­
                tice system. A decade ago, criminologists tended to view deter­
                rence as an archaic theoretical construct associated with Ben­
                tham, Beccaria, and other somewhat naive scholars from the
                distant past. Deterrence research has enjoyed a revival during
                the 1 970s, but so far has produced little more than a frame of
                reference, a variety of hypotheses and suppositions, and a scat­
                tering of empirical observations which are more anecdotal than
                systematic.
                    This essay serves in part as an introduction to modern research
                in criminal deterrence. My main concerns are to present a clear
                statement of the questions that have motivated social scientists
                working in this area, and a critical discussion of the methods used
                to answer these questions. This literature has already been sum­
                marized and critiqued by a number of scholars ( e.g., Brier and
                Fienberg 1 978; Carroll forthcoming; Chaiken 1 978; Cook 1 97 7 ;
                Ehrlich 1 979; Gibbs 1 97 5 ; Nagin 1 978; Walker 1 979; Zimring
                and Hawkins 197 3 ) . The most notable contribution of this sort
                is the recent report of the National Academy of Sciences Panel
                on Deterrence and Incapacitation (Blumstein, Cohen, and Nagin
                 1 97 8 ) , which offers a very well-documented assessment of the
                empirical literature. While this essay inevitably covers some of
                the same ground, it is more a complement than a substitute for
                the panel report; for example, I devote considerably more atten­
                tion to discussing the theory of criminal choice, and organize
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 193
                                    of 396




                213          Research in Criminal Deterrence

                my discussion of the empirical literature in a way that I believe
                offers important new insights into the problems and prospects
                of this work.
                    For those who have not already acquired a taste for the the­
                oretical and empirical investigation of criminal deterrence, some
                initial attempt to motivate the reader may be helpful. When
                criminologists assemble to exchange thoughts on crime control,
                a common observation is that the criminal j ustice system has
                little impact on crime rates; the big effects, so it is said, come
                from "root causes" such as demographic patterns, the influence
                of family and neighborhood, and the distribution of legitimate
                opportunities. Yet consider the likely consequences if we dis­
                banded the police and rewrote the criminal codes to eliminate
                sanctions; there would surely be a crime wave of unprecedented
                proportions. Evidence from police strikes and related incidents
                supports this prediction. 1 Furthermore, the inevitable response
                to mushrooming crime rates would be the widespread develop­
                ment of private alternatives to the criminal justice system-vig­
                ilante groups and vastly increased efforts at private protection. 2
                My assessment is that the criminal j ustice system, ineffective
                though it may seem in many areas, has an overall crime deterrent
                effect of great magnitude, and would quickly be reinvented in
                some form by the private sector if government got out of the
                business of issuing threats of punishment to would-be criminals.
                If this assessment is correct, it would be fair to say that the
                deterrents generated by the justice system have a large civilizing
                influence which is by no means minor in comparison to the in­
                 fluence of "root causes" of crime.
                    The everyday debates in the criminal justice policy arena are

                   1 Police strikes in Liverpool ( 1919) and Montreal ( 1956) and the mass ar;:est
                 of the Copenhagen police force by the Nazis in 1944 are discussed by Johannes
                 Andenaes ( 1974) . The huge increase in crime rates that followed each of these
                 events is persuasive evidence that the threat of punishment has a substantial
                 inhibiting effect on crime.
                   2 Current private expenditures on protection against crime probably exceed
                 total public expenditures on the criminal justice system. Bartel ( 1975) gives
                 some empirical results on the demand for private protection, and both she and
                 Clotfelter ( 1 977) discuss the degree of substitutability between public and
                 private expenditures.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 194
                                    of 396




                214        Philip J. Cook

                not, of course, concerned with whether to stop punishing crim­
                inals entirely, but rather with questions of degree: how many
                tax dollars should be devoted to apprehending and punishing
                criminals, how severe a punishment is appropriate for each crime
                type, and so forth. The evaluation of these issues hinges in part
                on our assessment of the marginal deterrent effects of changes in
                the certainty and severity of punishment, a more problematic
                issue than assessing the overall deterrent effect of current threat
                levels. It is quite possible that mild penalties are almost as effec­
                tive as severe penalties, or that a 50 percent change either way
                in the size of the typical big-city police department would have
                a much less than proportionate effect on crime. If there are sharp­
                ly decreasing returns to scale in criminal j ustice system activities,
                then there is no contradiction between my assessment that the
                overall deterrent effect of the system is enormous, while the
                 effect at the margin tends to be small or perhaps even zero in
                some instances. Estimating the magnitudes of marginal deterrent
                 effects stemming from various criminal justice system activities
                 is the ultimate task facing scholars in this area.
                    What is actually known about these magnitudes? The answer
                 is "not much," if we exclude theoretical speculation, laboratory
                 experiments, and results derived from badly flawed data and
                 statistical methods. What is left is a collection of anecdotes­
                 case studies-that suggest only one generalization: a wide range
                 of criminal activity is subject to the influence of legal threats.
                 A sample of recent findings supports this generalization. ( 1 )
                 Large increases in police patrol activity were effective in reduc­
                 ing robberies in New York City subways ( Chaiken, Lawless,
                 and Stevenson 1 974) and outdoor felonies in the Twentieth Pre­
                 cinct of New York ( Press 1 97 1 ) . ( 2 ) The increase in the per­
                 ceived probability and severity of punishment for drunk driving
                 resulting from the British Road Safety Act was initially very
                 effective in reducing this crime and alcohol-related accident rates
                  (Ross 1 9 7 3 , 1 9 7 7 ) . A reduction in the legal minimum drinking
                 age from twenty-one to eighteen in Michigan, Wisconsin, and
                  Ontario caused a small increase in alcohol-related accidents for
                  this age group (Williams et al. 1 975 ) . ( 3 ) Draft evasion rates
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 195
                                    of 396




                215        Research in Criminal Deterrence

                during the Vietnam war era were responsive to conviction rates
                (Nagin and Blumstein 1 977 ) . (4) The increase in the likelihood
                of arrest for attempted airline hijacking that resulted from the
                airport security measures adopted in 1 97 3 virtually eliminated
                this crime ( Landes 1 978 ) . ( 5 ) The increase in the statutory pun­
                ishment for carrying a gun illegally in Massachusetts ( the Bart­
                ley-Fox Amendment) apparently reduced the use of guns in
                violent crime (Pierce and Bowers 1 979) .
                   These studies suggest that there exist feasible actions on the
                part of the criminal justice system that may be effective in de­
                terring crimes committed by drunks ( driving under the influ­
                ence) and desperate men ( hijacking) ; crimes that are widespread
                and not considered immoral ( carrying a concealed weapon, un­
                derage drinking) ; crimes that are, for some at least, a matter of
                conscience ( draft evasion) ; and common crimes of theft and
                violence. These studies do not demonstrate that all types of
                crimes are potentially deterrable, and certainly they provide
                little help in predicting the effects of any specific governmental
                action.
                   What about the various hypotheses and suppositions that con­
                stitute the conventional wisdom concerning deterrence? Are
                crime rates more responsive to changes in the probability of
                punishment than to equivalent changes in the severity of punish­
                ment? Are juveniles less deterrable than adults? Are "crimes of
                passion" deterrable at all? These and related questions may be
                answered by "common sense" or theoretical considerations, but
                relevant empirical evidence is weak or nonexistent. The first
                decade of social science research in criminal deterrence has gen­
                erated many interesting questions but few answers.
                   This essay is organized as follows. Section I explains the model
                of individual rational choice, which is the centerpiece of deter­
                rence theory, with an eye to answering the objections of those
                who find the model silly or implausible. I include a discussion
                of three questions of great interest to deterrence theorists. ( 1 )
                What factors determine the rate at which an active criminal com­
                mits crimes? ( 2 ) Which dimension of the threat of criminal
                punishment has a greater deterrent effect-probability or severi-
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 196
                                    of 396




                2 16        Philip J. Cook

                ty? ( 3 ) What effect does the threat of punishment for one type
                of crime have on involvement in other criminal activities? Sec­
                tion II describes, analyzes, and rejects the "Ehrlich paradigm ,"
                the approach to estimating the deterrence effects that has dom­
                inated the literature during the last decade. Section III then sum­
                marizes and assesses the policy evaluation literature, with greater
                focus on technique than on specific findings. The final section
                proposes a partial research agenda for deterrence research in the
                 1 980s.

                            I. The Crime Decision: Theoretical Perspectives on
                               the Deterrence Process
                The role of theory in the study of criminal deterrence, as in other
                scientific inquiries, is to generate interesting, testable hypotheses
                and provide a framework for interpreting empirical observations.
                A "good" theory explains known facts in a parsimonious way
                and generates accurate predictions. There are two main issues to
                be considered in a complete theory of criminal deterrence: first,
                the influence of the threat of criminal sanctions on the choices
                made by individuals regarding their participation in criminal ac­
                tivity; and second, the effectiveness of various criminal justice
                system activities in producing threats. This section is limited to
                the first issue; the threat production process is discussed briefly
                in section II.

                A. The Rational Potential Criminal
                   An increase in the probability or severity of punishment for
                a particular type of crime, or both, will reduce the rate at which
                that crime is committed, other things being equal. This assertion
                is not an assumption but, rather, is derived from a theoretical
                argument, developed primarily by economists in recent years.3
                Observed crime rates are viewed as the aggregate result of
                choices made by rational individuals. Potential criminals weigh
                the possible consequences of their actions, both positive and
                negative, and take advantage of a criminal opportunity only if
                   3 See Reineke ( 1978a) for a recent review. Gary Becker ( 1 968) gave the
                first statement of this theory in modern times; his work was extended by Ehr­
                lich (1973 ) , Block and Lind ( 1975 ) , Block and Reineke ( 1 975 ) , and others.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 197
                                    of 396




                217       Research in Criminal Deterrence

                1t 1s in their self-interest to do so. Jeremy Bentham expressed
                the point this way: "[T]he profit of the crime is the force which
                urges a man to delinquency: the pain of the punishment is the
                force employed to restrain him from it. If the first of these
                forces is the greater the crime will be committed: if the second,
                the crime will not be committed" ( quoted in Zimring and Hawk­
                ins 1 9 7 3 , p. 75 ) .
                   A satisfactory characterization of the "rational potential crim­
                inal" must elaborate on Bentham's proposition to take into ac­
                count the subjectivity of "profit" and "pain," as well as individ­
                ual differences in obj ective circumstances. Individuals respond
                differently to equivalent criminal opportunities, for reasons that
                include the following:
                   1 . Individuals differ in their willingness to accept risks. The
                consequences of committing a crime are uncertain. Arrest and
                conviction are always less than certain, and for some common
                crimes the probabilities are small indeed. The consequences of
                conviction are also uncertain, given the wide discretionary power
                of judges in sentencing. Potential criminals will differ in their
                assessmenr of the probability of "losing" the gamble offered by
                a particular criminal opportunity, and also differ in the degree
                to which they are risk-averse.
                   2 . Individuals differ with respect to "honesty preference" -
                the strength of their preference for behaving in a law-abiding
                manner. How much net "profit" is required to persuade an in­
                dividual to overcome his ethical concern for staying within the
                law? Furthermore, for crimes that are maluni in se, the individ­
                ual's ethical concern may extend to the criminal act itself.
                   3 . Individuals differ with respect to their evaluation of the
                "profit" to be gained from a crime. These differences are largest
                for crimes for which the payoff is not money (which most every­
                one values) but rather is "in kind"-consider, for example, crimes
                of violence, vandalism, draft evasion, and double parking.
                   4. Individuals differ in their objective circumstances: their in­
                come, the value they place on their time, their skills in commit­
                ting crimes successfully and evading capture, and their reputa­
                tion in the community. An arrest for shoplifting, followed by a
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 198
                                    of 396




                218       Philip J. Cook

                dismissal of charges, may be of little consequence for an unem­
                ployed teenager but may ruin the life of a college professor. An
                individual's circumstances also influence the nature of criminal
                opportunities available to him-few of us are in a position to em­
                bezzle money, fix prices, or commit treason.
                    Thus, the "profit" and "pain" associated with equivalent crim­
                inal opportunities will be evaluated differently by different in­
                dividuals. Some may find it very worthwhile, others will be close
                to indifferent, while a third group will view it as highly unat­
                tractive. The key point is that a change in either the probability
                or average severity of punishment will cause some people to
                change their minds about whether the opportunity is, on balance,
                attractive, and thereby change their behavior. A small change
                will affect only those who were previously close to indifference
                 ( perceived "profit" and "pain" about equal) ; changing the be­
                havior of others will require a larger change in probability or
                severity.
                    Most discussions of the deterrence mechanism distinguish be­
                tween "general" and "special" deterrence. The latter concept
                refers to the deterrent effect of punishment on those who have
                been punished. This notion is a bit vague (Walker 1 979) . It is
                possible that those who have suffered a criminal sanction once
                will be more likely to be deterred by the threat of punishment
                 thereafter, but there is no evidence to support this notion.
                    The threat of punishment may play a grander role than simply
                 acting as a debit in the potential criminal's cost-benefit analysis
                 of a crime opportunity. Cook ( I 977 ) discusses its role as a so­
                 cializing and moralizing force.
                    Punishment in the form of incarceration reduces crime by in­
                 capacitating inmates ( Cohen I 97 8 ) . Correctional treatments may
                 also reduce crime by rehabilitating some convicts, although exist­
                 ing programs appear to be largely ineffective ( Lipton, Martinson,
                 and Wilks 1 97 5 ) .

                 B. Objections to the Theory
                 The economists' theory of criminal deterrence, as characterized
                 above, has been useful in developing the implications of a long
                 neglected notion in the criminology literature-that criminals can
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 199
                                    of 396




                2   19       Research i n Criminal Deterrence

                be viewed as rational decision makers intent on furthering their
                personal welfare in an environment that provides crime oppor­
                tunities coupled with sanction threats. However, some critics find
                this assumption of rationality in the decision to commit a crime
                highly implausible and inconsistent with descriptive evidence on
                criminal behavior. Herbert Jacob ( 1 979) succinctly states the
                two major objections with that assumption:
                     (a) It implies that people who contemplate committing a
                     crime have a realistic perception of the probabilities of being
                     sanctioned and of the severity of the sanction. The little
                     evidence we have on perceptions of legal sanctions by the
                     general public indicates that these perceptions are incorrect
                     and variable . . . . (b) It implies that people who commit
                     crimes act after rational calculation rather than on impulse.
                     We have much reason to believe that many crimes are
                     committed on impulse, either under the influence of
                     alcohol or simply as the result of opportunity and
                     need intersecting. ( p. 5 84)
                   Jacob's arguments are persuasive, and lead many criminologists
                to conclude that common appropriative crimes and much vio­
                lence are not very responsive to the threat of punishment. But
                this conclusion does not follow from his argument. The existence
                of a strong deterrent effect does not require that potential crim­
                inals be fully informed or fully rational in their crime deci­
                sions. A theoretical model which postulates full rationality on
                the part of criminals is clearly "unrealistic" but may nonetheless
                generate valid predictions because it contains essential elements
                of truth. The assumptions of a rational choice/ full information
                model can be relaxed without undermining the prediction that
                an increase in the threat of punishment will reduce crime. I deal
                with Jacob's objections in reverse order, since the second point
                is more fundamental.
                   1. Limits on rational calculation. It may be true, as Jacob sug­
                gests, that many criminals do not consider the consequences of
                their acts, other than those consequences which are obvious, cer­
                tain, and immediate. This impulsiveness is often thought to be
                particularly characteristic of youths and of people who are in-
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 200
                                    of 396




                220          Philip J. Cook

                toxicated, in a state of high emotional arousal, deviant, or emo­
                tionally disturbed. These groups constitute a large percentage of
                the perpetrators of some types of crime. Are these crimes de­
                terrable? Two affirmative arguments are worth mentioning.
                    Deterrence theory is concerned with making predictions about
                aggregate behavior. The accuracy of such predictions does not
                require that every individual act predictably. The prediction thar
                crime is deterrable follows just as readily from an assumption
                that I O percent of criminals are capable of rational decision-mak­
                ing, as from an assumption that all potential criminals have this
                ability; assuming, that is, that the remaining 90 percent do not
                respond to a change in the threat level in a systematically per­
                verse fashion.
                     The deterrence mechanism does not require that each crime
                opportunity be evaluated separately or fully. Herbert Simon
                 ( 1 95 7 ) and his followers (Payne 1 980) have developed the no­
                tion of "limited rationality" as a descriptively more accurate
                alternative to the "full rationality" notion propounded by eco­
                nomic theorists (see Carroll 1 978 for a discussion of this issue
                in the context of the crime decision) . Limited rationality models
                of decision-making incorporate observed limitations on people's
                capacity to acquire and process information. In particular, it is
                thought that people tend to economize on this scarce capacity
                by adopting rules of thumb, or "standing decisions," which elim­
                inate the need completely to analyze every new decision. A per­
                son whose judgment is impaired by emotion or inebriation may
                still be guided by his personal standing decisions, which in turn
                may reflect concern with the threat of punishment. Most of us
                have long ago adopted standing decisions to refrain from robbery
                and assault, no matter what the circumstances. An increase in the
                threat of punishment may have the effect of persuading more
                people to adopt such decisions, thus inhibiting them from acting
                 "on impulse" when next an attractive crime opportunity arises. 4

                    4 John Conklin's interviews ( 1972) with convicted robbers in Boston yield
                 some anecdotal evidence on impulse control : "A few offenders stated that they
                 could not trust themselves with loaded firearms, fearing that in a confrontation
                 with a resisting victim they might 'lose their head' and shoot" (p. 1 1 1 ) . Conk­
                 lin reported that these robbers carried unloaded or partially unloaded guns.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 201
                                    of 396




                22 ,        Research in Criminal Deterrence

                   This defense of the rational choice model is not entirely satis­
                factory. The remaining concern is that those potential criminals
                who are sufficiently thoughtful and aware to respond to changes
                in the threat of punishment will, under some circumstances, vio­
                late the norms of rational decision-making in some systematic
                and predictable fashion. If so, then it would be possible to gain
                improved predictive power from a theory which took these sys­
                tematic deviations from rationality into account. For example,
                extensive experimentation by psychologists using human subjects
                demonstrates that people tend to make certain predictable errors
                in decision-making tasks involving choices between lotteries. 5 An
                example is the tendency of experimental subjects to ignore low­
                probability events entirely-a tendency which is confirmed by
                the failure of most residents of flood plains to buy heavily sub­
                sidized flood insurance policies ( Kunreuther and Slovic 1 978 ) .
                I n circumstances where people d o take low-probability events
                into account ( e.g., shark attack) , there is a tendency to place an
                inappropriately large weight on these low-probability outcomes.
                Most of this experimental work has not employed criminal choice
                problems, although the analogy should be clear. An exception
                is Carroll's recent report ( I 97 8) of experimental findings involv­
                ing crime choice with convicted criminals as subjects, which may
                prove the entering wedge to further research of this sort. Car­
                roll's perspective is worth quoting: "The proposed approach thus
                offers a new model of how the person decides about crime op­
                portunities. He or she is not viewed as the 'economic person'
                making exhaustive and complex calculations leading to an optimal
                choice. Rather, it is the 'psychological person,' who makes a few
                simple and concrete examinations of his or her opportunities and
                   5 Two interpretative summaries of this literature are provided by Kahneman
                and Tversky (fonhcoming) and Tversky and Kahneman ( 1974) .
                   Some crimes, such as robbery, are usually committed by two or more per­
                petrators working together. The crime decision in this case must involve some
                sort of group process. Social psychologists have studied group decision-making
                in the face of risky choices, and documented a fascinating effect known as
                "risky shift"; the reference is to the tendency of a group discussion to shift
                the preferences of members of the group toward more risky choices than
                they would have selected before the discussion. This effect is observed only
                if the individuals who make up the group are already inclined to a relatively
                risky choice before the discussion. See Myers and Lamm ( 1976) for a review
                of this and other "group polarization" effects.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 202
                                    of 396




                222       Philip J. Cook

                makes guesses that can be far short of optimal" (p. 1 5 1 3 ) . The
                challenge to deterrence theorists is to find predictable ways in
                which the "psychological person" deviates from the "economic
                person."
                   2. Threat communication. Jacob's first objection to the ration­
                al choice model of criminal behavior concerns the reliability of
                the threat communication process. Rational choice models pro­
                vide a framework for analyzing the effect of the individual's
                perception of the legal sanction threat on his participation in
                illegal activities. This relationship is of theoretical interest but
                is not directly policy relevant: what policy-makers need is in­
                formation on the effect of actual (rather than perceived) crim­
                inal justice system activities on crime rates. If perceptions were
                sufficiently accurate, there would be no need to distinguish be­
                tween, say, the actual probability of arrest for a particular crim­
                inal act and this probability as perceived by various potential
                criminals. If the link between actual and perceived is weak, then
                one can question the claim that increased enforcement efforts
                will deter crime. A third possibility is that public perceptions are
                not accurate, but do tend to be systematically related to criminal
                justice system activities. This possibility serves as the basis for a
                response to Jacob's first criticism of rational choice models of
                criminal behavior.
                    What are the important channels by which information on the
                certainty and severity of punishment is communicated to poten­
                tial criminals? Three channels are discussed below: the media,
                visible presence of enforcers, and personal experience and ob­
                servation. Although these channels do not provide potential crim­
                inals with accurate information, the information they do provide
                is systematically related to the truth. That systematic relation­
                ship is sufficient to generate predicted deterrent effects.
                    The media. The threats generated by criminal justice system
                activities are "advertised" in the media, primarily through news
                reporting of legislative actions, newsworthy crimes and criminal
                court cases, introduction of new programs and policies, etc. Oc­
                casionally, officials will launch an effort to publicize a particular
                law enforcement effort, such as a crackdown on speeding. A
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 203
                                    of 396




                223         Research in Criminal Deterrence


                dramatic example of the possibilities for a media "advertising"
                campaign is the intensive publicity given the British Road Safety
                Act of 1 967-most of the British public was aware of the pro­
                visions of this act by the time it was implemented (Ross I 97 3 ) . 6
                But such success is surely rare.
                   Verbal messages concerning specific provisions of the law, the
                likelihood of being caught, or both, are communicated through
                a variety of other means: bumper strips remind us of the 5 5 mph
                speed limit; roadside signs inform us that there are penalties for
                littering, that the local traffic enforcement unit employs radar,
                and that a residential area is protected by a neighborhood watch
                organization; official documents announce the legal penalties for
                supplying false information; and residences and stores post warn­
                ing signs-"Shoplifters will be prosecuted," "Operation Identifi­
                cation," and so on.
                   The use of such official verbal communications is like other
                forms of advertising. The effectiveness of such messages might
                well be enhanced by a systematic application of the technology
                of using the media to inform and persuade, but Madison Avenue
                has not yet entered the crime control business.
                    Visible presence of enforcers. The proximity of police emits
                a potent signal that the probability of arrest for a crime com­
                mitted in the immediate vicinity is high. A police cruiser elim­
                inates driving infractions in its immediate area-an effect which
                is extended by CB radio communication. Private guards in stores,
                airports, and other public locations produce an analogous signal
                for would-be robbers, hijackers, and shoplifters.
                   The resources devoted to routine patrol activity by police
                would presumably be hard to justify unless this visible police
                presence had an effect beyond the immediate vicinity. If the
                police are seen frequently in an area, potential criminals may
                be persuaded that there is a high likelihood of arrest in that area
                due to presumed low police response time and the chance that
                  6 The British Road Safety Act creates a precise scientific standard by which
                to judge whether a driver is legally "under the influence" of alcohol (viz.,
                blood alcohol content in excess of .08 percent) and it establishes a mandatory
                one-year suspension of driving privileges for drivers who are convicted of
                violating this standard.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 204
                                    of 396




                2 24      Philip J. Cook

                they will happen on the scene while the crime is in progress.
                While the relation between police visibility and public percep­
                tions of their effectiveness has not been studied directly, there are
                a number of studies of the deterrence effect of the density of
                police patrol. These studies are reviewed in section IV.
                    Personal experience and observation. Active criminals accumu­
                late personal experience during the course of their criminal ca­
                reers; this experience surely has a powerful effect on perceptions
                of criminal justice system effectiveness among the group which is
                of greatest importance in the crime picture. If active criminals find
                that they are rarely arrested, unlikely to be convicted if arrested,
                and unlikely to be sentenced to prison terms if convicted, then
                they may acquire a justified sense of invulnerability. The effect of
                arrest and subsequent proceedings on the criminal's perception of
                the system's effectiveness is the key issue in the study of "special
                deterrence"-the deterrent effect of the punishment threat on an
                individual who has been convicted. An arrest can push the crim­
                inal's overall perception of the risk of punishment for crime up
                or down, depending on whether the consequences of arrest are
                more or less unpleasant than he expected. Probation and parole
                dispositions are interesting in this context when viewed as an
                effort to persuade the convict that he will be closely watched
                 and is very likely to be imprisoned if rearrested.
                    Victims, witnesses, and jurors also acquire personal experience
                with the effectiveness of the system, and this experience may
                 influence their perception of whether "crime pays." Further­
                more, an active criminal's friends and associates may be some­
                what aware of his criminal activities and their legal consequences.
                Thus, each arrest, court proceeding, and sentence may have a
                 large influence on the perceptions of a relatively few people. On
                 the other hand, the public at large is not likely to know about
                 or be influenced by any one case, unless it is highly newsworthy.
                    This communication mechanism suggests that the deterrence
                 process may often operate in a strikingly different fashion than
                 is typically assumed in the rational choice models of criminal be­
                 havior. These models implicitly assume that each potential crim­
                 inal in some fashion monitors the overall probability of appre-
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 205
                                    of 396




                22   5          Research in Criminal Deterrence

                hension and punishment for each crime type. By this assumption,
                each arrest and criminal disposition has some marginal (infinites­
                imal) effect on the perceptions of all potential criminals. This
                assumption seems highly unrealistic, given that even criminolo­
                gists working with volumes of statistics have difficulty in measur­
                ing changes in these probabilities accurately (although the first
                two communication channels discussed above may provide po­
                tential criminals with some vague sense of the overall perfor­
                mance of the system) . The alternative possibility, suggested here,
                can be stated as follows:
                     Each arrest and disposition has a relatively large effect
                     on the perceptions of a small number of potential criminals
                     (including the arrestee himself) , and goes essentially
                     unnoticed by all others.
                 I have developed a model (Cook 1 979d) which simulates the
                 criminal behavior of a population of robbers, incorporating this
                 assumption. The main features of this model are:
                         (a) At any time, a robber's perception of arrest and
                             punishment is influenced by his own recent experience
                             and that of a few "friends." Perceptions differ widely
                             among robbers, because each observes only a small
                             fraction of the actions taken by the system.
                         (b) Even if the true effectiveness of the system remains
                             constant, there is considerable turnover among active
                             robbers: robbers are deterred and "undeterred" according
                             to their own experiences and those of their friends.
                         ( c) An increase in the true effectiveness of the system results
                              in a corresponding increase in the mean of robbers'
                              perceptions of effectiveness, and an increase in the number
                              of robbers who are deterred. These changes do not
                              occur because the robbers observe that the system has
                              become more effective, but rather because the likelihood
                              that a robber will observe one or more friends
                              apprehended is increased when the overall effectiveness
                              of the system increases.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 206
                                    of 396




                226       Philip J. Cook

                This model is abstract, and can be criticized for its simple, mech­
                anistic assumptions concerning the complex phenomena of per­
                ception, communication, and criminal behavior. It does serve to
                demonstrate, however, that the deterrence process does not re­
                quire that criminals' perceptions of the risk of punishment be
                accurate or that they be derived from observations of the overall
                performance of the criminal justice system. It may also serve the
                useful purpose of provoking further research into the communi­
                cations processes which link official activity to individual per­
                ceptions of the threat of punishment.
                   The three communication channels discussed above do not ex­
                haust the possibilities. In some instances, direct word-of-mouth
                communication among criminals with similar interests may be
                important; rumors concerning police and judicial activities cir­
                culate and at times have considerable potency. Another possibil­
                ity is that potential criminals make judgments on the basis of
                direct observation of the extent of criminal activity in the area:
                if "everyone" is doing it, it must pay. A familiar example to many
                of us is the judgment of how much it is "safe" to exceed the
                speed limit; if the traffic is averaging 70 mph, then it seems safe
                to assume that the probability of being ticketed for driving 70
                is very low.
                   In general, it is reasonable to assume that the relative impor­
                tance of each of the several channels of information on criminal
                justice system effectiveness differs with the type of crime, the
                degree to which the potential criminal associates with criminally
                active people, and other factors. The link between official activi­
                ties and the public's perception of them constitutes half of the
                deterrence story. Better understanding of this link could be ex­
                ploited to the advantage of crime control efforts. Two examples
                are worth noting:

                  The initial publicity given the British Road Safety Act
                  apparently succeeded in giving the British public a greatly
                  exaggerated impression of the true likelihood of being
                  caught. While this impression evidently was corrected
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 207
                                    of 396




                22   7      Research in Criminal Deterrence

                     after several years of experience, many lives were saved
                     in the interim (Ross 1 97 3 ) .
                     Intensive police manning of the New York subways during
                     high crime hours of the day initially caused a deterrent
                     effect not only during these times but also during the rest
                     of the day ( when police manning levels were not changed) .
                     It has been suggested that this "phantom effect" could
                     have been sustained by random changes in police
                     assignments ( Chaiken, Lawless, and Stevenson 1 97 4) .
                   Jacob's observations that potential criminals are poorly in­
                formed, and in some cases act impulsively, are valid but not
                sufficient to negate the predictions of deterrence theory. These
                predictions do not depend on every criminal being fully in­
                formed and rational. Limited rationality on the part of some
                fraction of potential criminals, combined with an information
                transmission mechanism that is systematic if not completely ac­
                curate, is sufficient to generate deterrent effects. Indeed, there is
                a great deal of evidence that criminals, like other people, respond
                to objective changes in their opportunities as if they were ra­
                tional. It would be unfortunate to reject the claims of deterrence
                theory on the a priori grounds of implausibility.
                   On the other hand, careful descriptive studies and laboratory
                experiments to investigate the way in which individuals acquire
                information and evaluate opportunities may well yield some in­
                sights into criminal decision-making, insights that will help re­
                fine the predictions of rational choice models and even suggest
                means of increasing the effectiveness of the system in deterring
                cnme.
                   The preceding discussion developed a basic perspective on the
                deterrence process, focusing on information processing and de­
                cision-making by the potential criminal. Three specific issues are
                discussed below from this perspective : the determinants of the
                extent to which an individual participates in criminal activity;
                the relative importance of the probability and severity of punish­
                ment in deterring crime; and the influence of sanction threats
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 208
                                    of 396




                228       Philip J. Cook

                for one type of crime on the relative attractiveness of other types
                of crime.

                C. Degree of Involvement in Crime
                   Previous sections have discussed the deterrence phenomenon
                as if criminal activity were an all-or-nothing decision. Yet crimi­
                nals differ widely in their degree of involvement in crime. The
                number of, say, robberies committed in a year is the product
                of the number of active robbers and the average number of rob­
                beries committed by each. The deterrence process may influence
                both factors: the rate at which active robbers commit crimes, as
                well as the decision whether to "enter" the robbery "business"
                at all.
                   The basic question with respect to intensity of criminal ac­
                tivity is this: what limits are there on the extent of participation
                in illicit activity of a potential criminal who decides that it is
                worthwhile to commit his first offense? The discussion focuses
                on property crimes and three mechanisms that may act to limit
                the activity level of an active burglar, robber, shoplifter, or other
                economic criminal.
                    I suspect that a large proportion of the population is "oppor­
                tunistic" with respect to property crimes. Without special ef­
                fort, many people occasionally encounter an extraordinarily good
                opportunity to steal, and take advantage of it. Examples include
                taking towels from a hotel, walking out of a shop without paying
                because the checkout lines are momentar.ily left unattended, and
                so forth. We can imagine each person having a standard rule of
                thumb by which he judges whether such opportunities are
                worthwhile; the more stringent one's standards (in terms of legal
                risks and payoff) , the less frequently will one encounter suitable
                 opportunities in the normal course of daily activities. An increase
                 in the effectiveness of the criminal justice system or in the severi­
                 ty of punishment will reduce the number of suitable opportuni­
                 ties for those who are opportunists, with a resulting reduction in
                 their individual theft rates.
                    A more active involvement in theft would be characteristic
                 of people we ordinarily would think of as "robbers," "burglars,"
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 209
                                    of 396




                229        Research in Criminal Deterrence

                "shoplifters," etc. Instead of a series of yes-or-no decisions on
                opportunities supplied by the individual's environment, more
                active thieves would be concerned with searching out and devel­
                oping opportunities, and would make explicit decisions about the
                intensity of their illicit activity. Two limiting factors for such
                people are the opportunity cost of time, and the effects of in­
                creased income on the willingness to take risks.
                   The latter effect seems relevant to understanding employee
                theft and embezzlement, income tax evasion, and other economic
                crimes for which time is not an important input (see Allingham
                and Sandmo I 9 7 2 for a formal model of this sort) . Given that
                the magnitude of the offense is positively correlated with the
                risk of detection and punishment ( and also the severity of pun­
                ishment, perhaps) the miscreant can be viewed as choosing a
                risk-payoff combination from a continuum of possibilities. An
                increase in the effectiveness of the system for detecting and pun­
                ishing criminals in these cases will make this type of crime less
                attractive and persuade some to "drop out" completely. For those
                who remain active, it is not obvious whether the augmented risk
                of punishment will cause an increase or decrease in the rate of
                offending. A perverse result of increased effectiveness may occur,
                for example, if the increase in effectiveness is concentrated at
                the low end of the theft spectrum; those who ·do not drop out
                may move up the continuum, given that the difference in risk
                for large and small thefts has been reduced.
                   For crimes which require a substantial time input, such as
                fencing, running numbers, and prostitution, the opportunity cost
                of time may be an important limiting factor in the extent of
                involvement. The legitimate wage rate would then influence
                both the entry decision and the decision with respect to degree
                of involvement. (Ehrlich I 97 3 develops a model of this sort,
                which is criticized by Heinecke 1 97 8a. See also Block and
                 Heinecke 1 97 5 . ) Once again there is a theoretical possibility that
                an increased probability of apprehension will increase criminal
                activity levels for those who do not drop out. For example, if
                police start arresting prostitutes more frequently, some may in­
                crease their efforts in order to maintain their standard of living
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 210
                                    of 396




                2   30      Philip J. Cook

                while meeting the additional costs of bail, legal fees, and fines.
                This result is analogous to the theoretical possibility of a "back­
                ward bending labor supply curve"; there is nothing intrinsically
                irrational about people choosing to work harder in response to
                a reduction in the net rate of return to their efforts.
                   While these models of participation in illicit economic activi­
                ties permit a theoretical possibility that an increase in the likeli­
                hood of detection will increase the overall crime rate, the actual
                importance of this possibility is doubtful. It seems more plausible
                that if more effective measures are taken against a particular type
                of criminal activity, the dominant effect will be to cause crimi­
                nals to act with greater caution or to switch into other illicit or
                licit activities.

                D. Certainty versus Severity of Punishment
                   One of the more intriguing issues in the deterrence literature
                is whether crime rates are more responsive to changes in the
                likelihood or the severity of punishment. The importance of this
                issue is suggested by two relevant policy dilemmas. First, sen­
                tencing authorities must allocate scarce prison capacity among
                felony convicts; one consideration is whether prison sentences
                should be relatively common but short, or relatively uncommon
                but long. Second, prosecutors have to decide whether to use their
                scarce resources to produce a high conviction rate with relatively
                low-quality convictions ( through generous offers in plea bargain­
                ing) , or to concentrate their resources on gaining high-quality
                convictions of a relatively few defendants while dismissing the
                remaining cases. The first alternative in each case is compatible
                with the commonly held view that the likelihood of punishment
                has a greater deterrent impact on crime rates than does the se­
                verity of punishment.
                   A precise illustrative statement of this hypothesis can be ex-
                pressed as follows:
                     A I O percent increase in the average severity of punishment
                     for a crime will have a smaller deterrent effect than a 1 0
                     percent increase in the likelihood o f punishment.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 211
                                    of 396




                23 I       Research in Criminal Deterrence

                For example, if the only form of punishment for convicted rob­
                bers is imprisonment, an increase in average sentence from three
                years to 3 . 3 years will have less deterrent effect than an increase
                in likelihood of imprisonment from .050 to .05 5.
                   The usual assumptions made in economic analysis of decision­
                making under uncertainty support this claim when the punish­
                ment is in the form of imprisonment, but support the opposite
                conclusion when the punishment is a fine. The argument behind
                these conclusions can be illustrated by the following two "lot­
                teries" involving prison sentences. In the first lottery, there is
                a I O percent chance of receiving a one-year prison sentence; the
                second lottery offers a 5 percent chance of a two-year prison
                sentence. These two lotteries have the same expected value ( one­
                tenth of a year in prison) , but most people would not view them
                as equally threatening; if two years in prison is not viewed as
                being twice as bad as one year, then the second lottery would
                be preferred. If so, then the first lottery would have a greater
                deterrent value. In general, we expect that increases in the prob­
                ability of imprisonment, coupled with proportionate reductions in
                the prison term, will increase the deterrent value of the threat of
                punishment.
                   The second example involves punishment in the form of a
                fine. Suppose now that the prison terms in the two lotteries
                specified above are replaced with fines of $ 1 ,000 and $2,000 re­
                spectively. Once again the two lotteries have the same expected
                value ( $ 1 00 ) . If people are risk-averse, a common assumption in
                economic theory, they will prefer the first lottery (a $2,000 loss
                is subj ectively more than twice as bad as a $ 1 ,000 loss to a risk­
                averse person) . However, Tversky and Kahneman ( 1 974) report
                that in laboratory experiments most subjects are not risk-averse
                with respect to financial losses, and would in fact choose the
                smaller probability of a proportionately larger fine. Once again,
                then, the first lottery should have greater deterrent value, and
                the conventional wisdom ( among criminologists, not necessarily
                economists) , regarding certainty and severity of punishment is
                reaffirmed. While this sort of theoretical analysis and laboratory
                experimentation seems rather remote from criminal behavior, it
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 212
                                    of 396




                232         Philip J. Cook

                is interesting to observe that this type of evidence does support
                the conventional wisdom.
                   The claim that certain punishment is a more effective deterrent
                than severe punishment is often buttressed by an assertion that
                crime rates are unresponsive to variations in severity. If true, the
                sentencing authorities could reduce average sentences a great deal
                without noticeable effect on the crime rate. The most compelling
                issue, and the one given the greatest scholarly attention, is wheth­
                er capital punishment is a greater deterrent to murder than a
                long prison term. At the other end of the spectrum are questions
                 concerning the potential loss of deterrent effect resulting from
                 the increased use of diversion programs, suspended sentences,
                 and fines in the place of incarceration.
                    It is commonly acknowledged that the threat of a more severe
                 penalty will cause defendants to put more effort and resources
                 into their defense. Indeed, one of the social costs of capital pun­
                 ishment, mandatory sentencing provisions, and related efforts to
                increase the severity of punishment is that these cases take up
                 an increased portion of court resources through appeals and other
                 defense efforts to resist conviction. It seems implausible that the
                 severity of punishment should be highly salient to the criminal
                 after arrest but not before.
                    While we would expect a rational criminal to respond in some
                 degree to increases in the severity of punishment, it is certainly
                 plausible that the marginal deterrent effect of increasing prison
                 sentences declines rapidly as the length of the sentence increases,
                 due to the tendency of people to discount the future. A simple
                 mathematical model may be helpful in illustrating this point. 7
                  Suppose that an individual assigns one unit of "disutility" to a

                   7 The model postulates that the individual's subjective evaluation of the
                 prison terms is equal to the sum of the disutilities discounted to the present.
                 If the disutility of one year in prison is denoted d, and the discounted present
                 value of n years in prison is denoted D,,, then




                 The value chosen for d does not influence the value of the ratios reported in
                 the text, and was set e qual to 1.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 213
                                    of 396




                233       Research in Criminal Deterrence

                year in prison, and has a time discount rate of 1 5 percent per
                annum. It would then be true, in present value terms, that a two­
                year prison term has about 87 percent greater disutility than a
                one-year term. However, under these assumptions a twenty-year
                term has only 25 percent greater disutility than a ten-year term.
                It is plausible, then, that increasing the severity of punishment
                when punishment is mild may have a much greater deterrent
                effect ( even proportionately speaking) than increasing severity
                when punishment is already severe.

                E. Substitutes and Conzplenzents
                   Establishing a rational sentencing policy, and appropriate pri­
                orities in prosecution and police investigation, is complicated by
                the possibility that variations in the threat of punishment for one
                type of crime may affect the incidence of other crime types, via
                two mechanisms. First, given limited police, court, and correc­
                tions resources, increasing the priority given to one type of crime
                necessarily entails a reduction in the priority given one or more
                other crime types. Second, in deciding whether to commit one
                type of crime, criminals will be influenced by the legal threat
                not only to that crime type but also to related types of crime.
                The latter mechanism must be given consideration in any com­
                plete characterization of the deterrence process. An analogy from
                the economic theory of consumer demand provides insight and
                useful terminology for discussing this mechanism. Suppose the
                price of gasoline increases 50 percent due to a change in policy
                by the OPEC cartel. The primary effect would be to reduce the
                quantity of gasoline purchased. Secondary effects include an in­
                crease in the demands for public transportation, fuel-efficient
                autos, and central city housing, and a decrease in demand for
                luxury autos and suburban housing. Commodities which become
                more desirable when the price of gasoline increases are known
                as "substitutes" for gasoline; those which become less desirable
                are "complements." While the analogy is by no means perfect,
                I will use these terms to discuss the secondary effects of a change
                in the threat level to a particular type of crime.
                   I. Substitutes. Various types of property crime are presumably
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 214
                                    of 396




                2   34      Philip J. Cook

                substitutes for each other. Recidivism data demonstrate that
                there is a great deal of crime switching among active criminals;
                for example, 2 2 percent of men arrested for burglary in the Dis­
                trict of Columbia in 1 97 3 were subsequently arrested for robbery
                within three years ( compared with 3 3 percent who were rear­
                rested for burglary) (Cook and Nagin 1 979) . The Rand study
                of self-reported crime by a sample of forty-nine incarcerated
                robbers found that they admitted having collectively committed
                1 ,492 auto thefts, 2 , 3 3 1 burglaries, 8 5 5 robberies, and 1 ,0 1 8 other
                serious thefts during their criminal careers ( Petersilia, Green­
                wood, and Lavin 1 978 ) . Given this sort of versatility, one would
                expect that an increase in the relative law enforcement effective­
                ness against robbery would result in an increase in other types
                of theft crimes. Variations in other sorts of crime-specific de­
                terrents would be predicted to have the same effect: if shop­
                keepers arm themselves, then thieves may switch from commer­
                cial robbery to commercial burglary; increased use of burglar
                alarms would have the opposite effect.
                    A second dimension to the substitution phenomenon is geo­
                graphic displacement. A large increase in the number of police
                assigned to one precinct in a city may result in some increase
                in crimes committed in neighboring precincts. A houseowner
                who posts an Operation Identification sticker increases the burg­
                lary risk to his stickerless neighbor. Intensive police manning of
                the subway system may cause an increase in taxicab and bus
                robberies. Exact fare systems on buses may increase the robbery
                risk to convenience stores. I know of no studies of crime displace­
                ment across state lines or between distant metropolitan areas,
                but it is likely that some buyers of illicit merchandise ( drugs,
                machine guns, stolen goods) travel some distance in order to
                take advantage of more lax enforcement in another jurisdiction.
                Organized crime operations would be expected to locate their
                activities so as to minimize legal risks, to the extent that other
                considerations permit; an example in this context would be the
                decision of where to land illicit drug shipments smuggled in from
                South America or Mexico.
                    A very important aspect of the substitution phenomenon fre-
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 215
                                    of 396




                2   35         Research in Criminal Deterrence

                quently arises in the design of criminal sentencing policy. It is
                thought that the structure of criminal sentences must include a
                strong marginal deterrent to the use of threat or violence to re­
                duce the likelihood of violent resistance to arrest. If the typical
                sentence for robbery without violence is a long term of imprison­
                ment, robbers may be more inclined to kill their victims and other
                witnesses. Defendants who are faced with the likelihood of con­
                viction and severe punishment will be more tempted than others
                to jump bail and intimidate witnesses, knowing that even if they
                are caught there is little more that the system can do to them;
                this is, of course, the reasoning behind denying defendants the
                right to bail in capital cases.
                    Zimring and Hawkins ( 1 97 3 ) discuss this aspect of sentencing
                policy in terms of the "fortress" and the "stepladder." The "for­
                tress" approach is to erect a high and more or less uniform "bar­
                rier" around the domain of criminal activity. The "stepladder"
                approach adjusts the punishment to the seriousness of the crime,
                in the hope that if the potential criminal does decide to act, the
                penal code will provide an adequate incentive to limit the seri­
                ousness of his crimes. If the preceding discussion of the deterrent
                effect of changes in the length of prison term is correct, the
                bottom "rungs" of the stepladder must be kept low in order to
                allow "room" for effective differences in sentencing between
                robbery, robbery with victim inj ury, and robbery murder; the
                usual sentence for robbery should not be more than a year or
                two in prison. This type of policy must be evaluated in the
                context of priority-setting by police and prosecutors-if sentences
                are relatively uniform, then a greater burden is placed on officials
                to create a stepladder effect through gradations in the likelihood
                of arrest and conviction.
                    2. Complements. Complementarity arguments have been ex­
                tremely important in motivating criminal justice policy in the
                area of heroin and handguns. A key argument for vigorous law
                enforcement efforts to interdict the flow of heroin and other
                illicit drugs is that an increase in the "effective price" 8 of such
                drugs resulting from law enforcement efforts will reduce the
                     8 A term coined by Mark Moore ( 1973 ) , and discussed in his article.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 216
                                    of 396




                236         Philip J. Cook

                incidence of property crimes. Similarly, the crimes of illegal ac­
                quisition, possession, and carrying of handguns are thought to be
                complementary to robbery and murder. Both these claims of
                complementarity are highly controversial, of course, and even if
                there is such a relation it must be demonstrated that these round­
                about techniques for reducing property crimes or murder are the
                most effective use of resources against these crimes.
                   There are some very interesting sorts of interrelations within
                market-oriented complexes of criminal activity. Typically illegal
                commodities markets will involve suppliers, middlemen, and cus­
                tomers. In prostitution, they are, respectively, the prostitutes,
                pimps, and johns; in heroin, they are the poppy growers and
                heroin processors, the importers and retailers, and the users; in
                burglary they are the burglars, the fences, and the purchasers of
                stolen merchandise. In each case, we would expect that law
                enforcement efforts directed at any one of the three types of
                actors would reduce the amount of criminal activity by the other
                two types of actors. For example, a crackdown on fencing would
                iower the price that fences pay to burglars and make fences
                generally more cautious in dealing with both burglars and cus­
                tomers. The result would be to reduce the rate of return to burg­
                lary, thereby causing a reduction in the number of burglaries
                and ultimately a reduction in the illegal purchase of stolen
                merchandise. 9
                   The question for law enforcement officials is what strategy
                will be most effective in disrupting the market which supports
                each of these activities. In the case of burglary, for example,
                prosecutors can bargain with burglary defendants to gain convic­
                tions of fences, or vice versa. Undercover police can pose as
                fences to identify and collect evidence against burglars, or al-

                  9 Strictly speaking, burglary and fencing are not "complementary" activities
                in the sense this term is used in economic theory. An increased legal threat to
                fencing does not directly cause a reduction in bur�lary, as would be true if
                they were complementary crimes. The reduction m burglary is an indirect
                effect of the crackdown on fencing, the direct cause being the reduction in the
                price paid by the fence.
                  Recent literature on prospects for combating fencing include Blakey and
                Goldsmith ( 1 976) and Walsh ( 1976) . Klockars ( 1974) provides a fascinating
                description of fencing activities.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 217
                                    of 396




                237         Research in Criminal Deterrence

                ternatively pose as burglars to facilitate arrests against fences.
                Similar strategic choices are available in illicit drugs and prostitu­
                tion. The correct strategy should be dictated by the considera­
                tion of which of the roles in these illicit markets are most vul­
                nerable to available techniques of law enforcement.

                           II. Empirical Study of the Deterrence Process
                The discussion of theoretical issues in deterrence research pre­
                sented above suggests a wide-ranging agenda for empirical work,
                including basic research on decision-making under uncertainty,
                on communications processes, and on the structure of illicit mar­
                kets. The great bulk of the empirical deterrence literature, how­
                ever, has been concerned with deriving estimates of the impact
                of criminal justice system activities on crime rates, and it is this
                body of applied research that I review here and in section III.
                   Measuring deterrence effects outside of the laboratory requires
                data on criminal opportunities and criminal behavior for a num­
                ber of units of observation. Almost all studies have used some
                geographic entity as the unit of observation-precincts, cities,
                states, or the entire nation. The empirical study of deterrence
                has thus been concerned with aggregate rather than individual
                behavior. Practical problems of collecting data on individuals
                have prevented field studies of microbehavior.
                   There are two basic approaches to the empirical study of the
                deterrence process, which I label "criminal opportunity" and
                "policy impact." This distinction can be explained with the aid
                of a simple diagram :
                       actions       A        criminal         B          cnme
                      (policy)              opportunmes                   rates

                In the diagram, the causal connection between crime rates and
                crime control policy (broadly construed to include the criminal
                law, resource levels, priorities, and so forth) is broken down
                into two links. Link A represents the effect of policy on the
                quality of criminal opportunities; this can be viewed as a pro­
                duction process in which criminal justice system inputs "pro­
                duce" threats of punishment. The probability and severity of
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 218
                                    of 396




                2 38      Philip J. Cook

                punishment associated with each criminal opportunity thus con­
                stitute the vector of outputs of the system. Link B represents
                the deterrence effect of threats of punishment on crime rates.
                The criminal opportunity studies attempt to estimate the strength
                of this deterrence relationship for a variety of crime types. In
                many cases these studies also include a separate estimate of the
                production relationship (link A) , so that it is possible by com­
                bining the two relationships to derive an estimate of policy on
                crime. Policy impact studies, on the other hand, estimate the ef­
                fect of policy on crime directly, without considering the inter­
                vening variables characterizing the quality of criminal oppor­
                tunities.
                   It would seem that the criminal opportunity studies are the
                more informative of the two categories, especially if the objective
                is to learn about the deterrence process rather than about policy
                impacts. However, these studies, unlike the policy impact studies,
                require the use of an index of the quality of criminal opportuni­
                ties, or "threat level." I argue below that the measures of threat
                level actually used in these studies are not valid, and furthermore
                that the data necessary to calculate a valid measure are not usual­
                ly available. In short, this approach appears to be a dead end,
                in spite of the numerous studies of this sort which have appeared
                in the economics and sociology literature during the last decade.
                Before justifying this rather extreme claim, I first give a more
                complete description of the approach and its intellectual history.
                A review of the policy impact literature is left for section III.

                A. A Decade of "Criminal Opportunity " Studies
                   Jack Gibbs published the first article reporting a statistical
                analysis of this sort in 1 968. Gibbs simply related (by a con­
                tingency table method) the murder rate with a variable intended
                to measure the probability of punishment-namely, the number
                of convicts sent to prison for murder divided by the number of
                murders-using cross-section data by state for 1 959-6 1 . He also
                related the state murder rates with the average prison terms
                served by incarcerated murder convicts in each state. He inter­
                preted his results as evidence that murder is indeed deterrable.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 219
                                    of 396




                2 39          Research in Criminal Deterrence

                Gibbs's technique was very primitive by reigning standards for
                the statistical analysis of nonexperimental data, since it did not
                attempt to control for other variables which influence murder,
                and took no account of the possibility that the causal relation
                between crime and punishment may go in both directions. The
                first state-of-the-art study was incorporated in Isaac Ehrlich's
                thesis in 1 970, subsequently published in 1 97 3-the same year as
                Sjoquist, and Carr-Hill and Stern, published very similar studies.
                These studies, while much more sophisticated than Gibbs's, used
                measures of the probability and severity of punishment similar
                to his. A paradigm was established by this work which has been
                employed since by a number of economists and sociologists.
                These studies have employed a variety of data sets, including
                state-level data for recent census years, data on large cities, data
                on precincts of New York and counties in California, and similar
                data sets for Canada and the United Kingdom. 10 The results of
                these studies have for the most part been favorable to the deter­
                rence doctrine, seemingly documenting a statistically significant
                and often rather large effect of the "probability of punishment"
                as measured on each of the seven FBI index crimes. The results
                for the deterrent effect of punishment severity have generally
                been weaker and less consistently significant. However, Ehrlich's
                ( 1 97 5 ) subsequent and highly sophisticated study of the marginal
                deterrent effect of capital punishment on murder estimated a
                deterrent effect so large that only the most confirmed abolitionist
                could claim it to be irrelevant-one way of summarizing his re­
                sult is that each execution saves eight lives. This study received
                widespread attention, and was submitted to the Supreme Court
                as part of the solicitor general's brief in Gregg v. Georgia, 428
                U.S. 1 5 3 ( 1 976) .11
                   The great potential importance of this work, and particularly
                the intense controversy engendered by Ehrlich's study of capital
                punishment, culminated in the formation of the National Re­
                search Council's Panel on Research on Deterrent and lncapacita­
                tive Effects. This panel performed a thorough review of all the
                  I O Nagin ( 1978) includes a very useful table which summarizes these studies.
                  11 Bailey ( 1 978)   has a brief history of the use of this and other such studies.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 220
                                    of 396




                240         Philip J. Cook

                major reports published at that time, including replications of
                Ehrlich's work and a highly technical critique of the problems
                with the econometric paradigm employed in this literature. The
                panel's conclusion was decidedly negative : "The major challenge
                for future research is to estimate the magnitude of the effects of
                different sanctions on various crime types, an issue on which
                none of the evidence available thus far provides very useful
                guidance" (Blumstein, Cohen, and Nagin 1 978, p. 7 ) . The panel
                did not choose to reject the basic approach, however, but in­
                stead encouraged scholars to develop better data sets and seek
                methods for eliminating certain biases which they consider dam­
                aging to the validity of the results (pp. 46-50) .
                   It is easy to criticize any nonexperimental statistical technique
                which employs error-ridden data to assess some aspect of a com­
                plex and poorly understood process. Much more difficult is to
                judge whether the criticisms are sufficiently important and dam­
                aging to warrant rejection of available findings, or even abandon­
                ment of the entire approach. If there is no practical alternative
                for studying the phenomenon, the relevant question is whether
                the statistical technique in question can generate results which
                are more reliable than intuition alone. In this case I accept the
                panel's conclusion as cited, but would go even farther than they
                in discouraging future use of the Ehrlich paradigm. My con­
                clusion is influenced by the numerous problems discussed in the
                panel report and elsewhere, 1 2 but stems primarily from apparent­
                ly insuperable difficulties with measuring the quality of criminal
                opportunities.

                B. Measuring the Quality of Criminal Opportunities
                   Since the primary motivation for criminal opportunity studies
                is to estimate the response of crime rates to the probability and
                  1 2 Studies of the deterrent effect that use cross-section or times series data
                on jurisdictions, such as those that fit the Ehrlich paradigm, suffer from a
                variety of statistical problems, including: ( 1 ) the poor quality of the data on
                crime; (2) the difficulty of distinguishing between the effect of punishment
                on crime rates, and the effect of crime rates on the likelihood and severity
                of punishment; ( 3 ) the difficulty in controlling for the variety of factors that
                influence crime rates. These problems are discussed below in section III, and
                are developed in detail in Blumstein, Cohen, and Nagin ( 1978 ) , Cook ( 1977 ) ,
                and Brier and Fienberg ( 1978) among other places.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 221
                                    of 396




                24 1        Research in Criminal Deterrence

                severity of punishment, obtaining valid measures of these vari­
                ables is crucial to the whole enterprise. In practice, the measure
                of probability used in this literature is some type of clearance
                rate, most commonly the arrest rate or the ratio of prison admis­
                sions to crimes reported to the police. While these clearance
                rates may look like probability measures ( they usually lie be­
                tween zero and one ) , they cannot be literally interpreted as such.
                After all, the individual crimes reflected in these measures are
                not homogeneous but, rather, differ widely with respect to a
                number of factors. For example, the 1 960 ratio of prison admis­
                sions for murder to murders committed in New York was .54
                ( see Vandaele 1 97 8a, p. 3 3 1 ) , but the probabilities of punishment
                for the hundreds of murders reflected in this ratio ranged from
                near zero (in the case of some skillfully planned gangland execu­
                tions) to near one (for, say, murders of family members) . If the
                clearance rate is not a measure of a single probability of pun­
                ishment, then what does it measure? At best, it can be viewed
                as a measure of the average probability of punishment for crimes
                committed. 1 3 Is it appropriate to use the average probability as
                a sort of index of the overall effectiveness of the criminal justice
                system?
                   In fact, the clearance rate fails even as an index of overall ef­
                fectiveness, because the clearance rate reflects not only criminal
                justice system activities but also the many factors (including the
                system's effectiveness) which influence the care and judgment
                exercised by criminals. (The argument here was first made in
                Cook 1 979a and elaborated in Cook 1 979c. ) For example, robbers
                would be expected to adapt to an increase in the potential ef­
                fectiveness of the system in solving robbery cases and gaining
                convictions of robbery defendants; if, under the new more ef­
                fective regime, robbers tend to be more selective in choosing vie-

                  1 3 The major source of inaccuracy in the clearance rate is in the denominator
                -the number of crimes. Cook ( 1977, p. 189) compares clearance rates for
                burglary using two measures of the number of burglaries committed: the
                "burglaries known to the police" in the Uniform Crime Reports, and the bur­
                glary rate estimates derived from the crime surveys in twenty-six cities spon­
                sored by the Law Enforcement Assistance Administration. The differences tend
                to be large and variable.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 222
                                    of 396




                24 2              Philip J. Cook

                tims and more cautious in their modus operandi, the observed
                change in the clearance rate may be misleadingly small.
                   Consider the following artificial example. Suppose that Crime
                City makes arrests and convictions in 1 0 percent of its street
                robberies and 20 percent of its commercial robberies in 1 980.
                In 1 98 1 , the Crime City police organize a hidden camera pro­
                gram to combat commercial robberies, which is successful in in­
                creasing the probability of arrest and conviction for such rob­
                beries to 30 percent. This increase in effectiveness has a strong
                deterrent effect on commercial robberies, with some displacement
                effect to street robberies. Suppose the relevant numbers look like
                the data in table 1 .
                   Usually the available data would not be detailed enough to per­
                mit separate analysis of commercial and street robbery. A statisti­
                cian may therefore conclude that the hidden camera program had
                no effect-after all, the overall clearance rate did not change. The
                problem here is not that the clearance rate is inaccurately mea­
                sured (although that too is usually a problem in practice) -the
                problem is that the clearance rate is not a valid index of the true
                effectiveness of the criminal justice system. In this example, the
                true increase in effectiveness had no effect on the clearance rate.
                If other numbers had been used, the observed clearance rate could
                have gone up-or even down.
                   Economists have studied this type of index number problem
                rather extensively (Fisher and Shell 1 972 ) . One conceptually
                simple solution is to construct a Laspeyres index. The Consumer
                Price Index is of this sort. In my numerical example, a Laspeyres

                                  TABLE I


                                                                 1980                     198 1

                                                           # of      Clearance     # of           Clearance
                                                         Robberies     Rate      Robberies          Rate
                Commercial . . . . . . . . . . . .         100          . 20         50              . 30
                Street . . . . . . . . . . . . . . . . .   100          . 10        135              . 10
                Total . . . . . . . . . . . . . . . . .   200           . 15        185              .15
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 223
                                    of 396




                2 43        Research in Criminal Deterrence

                index for the clearance rate would use the 1 980 mix of crimes
                as weights in calculating clearance indexes for both 1 980 and
                1 98 1 . This index would be . 1 5 in 1 980 and .20 in 1 98 1 , the in­
                crease reflecting the actual increase in the effectiveness of the
                police. But there is little hope for the forseeable future that
                the detailed data necessary to construct such an index will be­
                come available. 14
                   The only promising prospect for criminal opportunity studies
                that I can see involves "target-specific" analyses of victimization
                rates. We can imagine a study of bank robbery within a j urisdic­
                tion, for example, which characterized the robbery opportunities
                provided by each bank in terms of an assortment of attributes
                including presence of a guard, ease of escaping from the scene,
                use of hidden cameras, and average amount of loot available from
                cashiers. The extent to which these variables explain differences
                in victimization rates is a measure of the deterrent effect of these
                dimensions of the quality of bank robbery opportunities. Similar
                studies could be conducted of robbery and burglary victimization
                rates for other types of commercial targets, of shoplifting where
                the quality and display of the merchandise were the key mea­
                sures, and of location-specific traffic violations as a function of
                the characteristics of the location. Such studies would yield use­
                 ful information on the deterrence process.

                           III. Lessons from Policy Innovations
                Major changes in criminal law and policy, if properly evaluated,
                can serve as object lessons concerning criminal behavior and the
                performance of the system. In particular, policy innovations
                which are intended to change the threat level can teach us about
                the process of threat production and the responsiveness of crim­
                inals to changes in the threat level. A number of such evaluations
                have been published during the last decade. These studies repre­
                sent the beginnings of an empirical basis for deterrence-oriented
                policy formation.
                   Policy innovations which have been evaluated in terms of their
                  14 A more complete discussion of the "endogeneity" problem in the use of
                the clearance rate is in Cook ( 1979a ) . Manski ( 1978 ) discusses some closely
                related technical issues.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 224
                                    of 396




                244       Philip J. Cook

                deterrent effects include changes in the substantive law (legaliza­
                tion of abortions, change in the speed limit, reduction of legal
                drinking age) , changes in resource allocation ( increased preven­
                tive patrol, career criminals prosecution units ) , and changes in
                the severity of criminal sentencing provisions. (Zimring 1 978
                provides a summary of several of these studies.) Evaluations of
                these innovations have much in common with evaluations of in­
                novations in other areas of social policy, and my review draws
                on this larger context to some extent.

                A . Comparison with the Criminal Opportunity Studies
                   The main objective of the criminal opportunity studies, the
                deterrence research fitting the Ehrlich paradigm, is to isolate
                and measure the effect of the threat level on crime rates. Absent
                a valid index of the threat level, this objective is beyond reach.
                The alternative, incorporated in the policy impact studies, is to
                analyze the deterrence effects of factors which are thought to
                determine the threat level-the criminal code, the quality and
                quantity of committed resources, the organization of these re­
                sources, the quality of civilian cooperation, and so on. Whatever
                deterrent effect is generated by changes in these factors can be
                assumed to stem from the induced change in the threat level, but
                the magnitude of this change is unknown.
                   An example serves to illustrate this limitation of the policy
                impact evaluations. In 1 966, the New York Police Department
                increased the number of patrolmen assigned to the Twentieth
                Precinct by about 40 percent. S. J. Press ( 1 97 1 ) conducted a
                thorough and sophisticated evaluation of the impact of this in­
                crease, and concluded that it reduced "inside" felonies ( those
                which are invisible from the street) by 5 percent and outside
                felonies 3 6 percen': during the year following the change. These
                estimates are certainly interesting and relevant to evaluating the
                worth of the increase in police manpower. However, there is no
                way of measuring the change in the threat levels to inside and
                outside felonies, so it is not possible to derive an estimate of the
                responsiveness of crime to the threat level from this report. (Press
                does report the changes in the arrest rates for inside and outside
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 225
                                    of 396




                245        Research in Criminal Deterrence

                felonies, but, as explained above, the arrest rate is not a valid
                indicator for the threat level.) Given the large reduction in the
                number of outside felonies, we can conclude that the extra police
                were very productive in terms of augmenting the threat level,
                that the outside felony rate is highly responsive to changes in the
                threat level, or some combination of the two. This ambiguity
                frustrates the search for evidence on the degree to which crime
                is deterrable in the abstract sense formulated in the Ehrlich
                paradigm.

                B. Three A pproaches to Policy Evaluation
                    Three basic approaches to policy evaluation are distinguished
                by the type of data being used: ( 1 ) cross-section comparisons
                of jurisdictions which differ with respect to some dimension of
                criminal justice policy ( e.g., police per capita, use of capital
                punishment for murder) ; ( 2 ) time series analysis of crime in a
                single jurisdiction before and after the adoption of some policy
                innovation; and ( 3 ) analysis of experimental field trials, involving
                random assignment of units to different "treatments" to test the
                efficacy of some policy innovation. Not all evaluations fit neatly
                into one of these three categories, but this partition is an adequate
                framework for discussing the relevant methodological issues.
                   The cross-section analyses involve correlating crime rates with
                "input" levels across jurisdictions. Several studies have analyzed
                interstate differences in crime rates as a function of the number
                of police per capita and other factors in order to measure the
                marginal deterrent effect of additional policy resources (see, e.g.,
                Greenwood and Wadycki 1 97 3 and Swimmer 1 974) . Several
                other studies have attempted to measure the impact of particular
                criminal code provisions ( e.g., gun control ordinances, capital
                punishment) by systematic comparison of j urisdictions governed
                by these provisions with those which lack them (see, e.g., Mag­
                gadino n.d. on gun control) .
                   The most frequently used approach is the "before and after"
                analysis of a policy innovation in a single j urisdiction. A partial
                listing of such studies published since 1 970 is given in table 2 .
                Some o f these innovations were adopted as an experiment, in-
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 226
                                    of 396




              TABLE 2
              Policy Impact Studies

                                                         Process              Outcome                                    Evidence of
        Source               Intervention                Measures             Measures               Controls          Deterrent Effect?

 Williams et al.        Reduction in legal       None.                  Drivers under 2 1      Corresponding           Yes, but small.
 ( 1 97 5)              minimum drinking                                involved in fatal      numbers for
                        age from 2 1 to 1 8 in                          motor vehicle          neighboring states .
                        Michigan, Wisconsin,                            crashes : total;
                        and Ontario.                                    night time only;
                                                                        single-vehicle crash
                                                                        only.

Ross (1973)          The British Road            1 . Survey of public   1 . Total road         1 . Time series prior
                     Safety Act of 1 96 7 :      knowledge of new       casualties and         to enactment.
                     creates "scientific"        law.                   fatalities.
                     measures of drunken-
                     ness (.08% alcohol          2. Number of breath    2. Fatalities and      2. (a) Time series      Yes, strong
                     in blood) and man-          tests administered.    serious injuries       prior to enactment      initially.
                     dates that suspect                                 during peak drinking   on same measure.
                     drivers submit to           3 . Number of          hours.                 (b) Fatalities and
                     breathalyzer tests.         drivers charged                               serious injuries for
                     Massive publicity           under this and         3 . Fraction of        other times of the
                     campaign preceded           related laws.          drivers killed in      week.
                     implementation.                                    accidents who were
                     Sanctions for con-          4. Alcoholic           drunk.                 3 . Average for same
                     viction include a one       beverage sales.                               measure prior to
                     year mandatory                                                            enactment.
                     license suspension.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 227
                                    of 396




 ...
.i:,.


                      TABLE   2 (Continued)

                                                              Process                     Outcome                                        Evidence of
               Source             Intervention                Measures                    Measures                 Controls            Deterrent Effect?


        Ross (1977)           Chief constable's         Number of breath-           1 . Fatalities and       1 . Time series before
                              order for stricter        alyzer tests.               serious injuries.        and after intervention.
                              enforcement of
                              British Road Safety                                   2. Total crashes         2. (a) Time series      Yes .
                              Act in Cheshire,                                      during drinking          before and after
                              September 197 5 .                                     hours.                   intervention. (b) Time
                                                                                                             series on total crashes
                                                                                                             during other times.

        Robertson, Rich,      Supervising judge's       1 . Numbers of              1 . Auto fatality rate   1 . Time series on
        and Ross (197 3 )     order to Chicago          arrests for DW I .          by month.                both Chicago and
                              magistrates to sentence                                                        Milwaukee.
                              drunk drivers to          2. Conviction rates         2. Pedestrian fatality                             No.
                              7-day jail terms,         for DW I .                  rare.                    2. Time series on
                              December 1 970 to                                                              both Chicago and
                              June 1 97 1 .             3 . Number of 7-day                                  Milwaukee.
                                                        jail sentences for all
                                                        traffic-related offenses.

        Landes (1978)         Mandatory pre-board       Proportion of         Number of domestic             1 . Time series of        Yes.
                              screening of airline      offenders apprehended hijackings .                   domestic hijackings .
                              passengers and            within 1 2 months.
                              carry-on luggage in                                                            2. Hijackings in
                              U.S., 197 3 .                                                                  other countries.
      Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 228
                                          of 396




...
�00
                      TABLE   2 ( Continued)

                                                            Process                 Outcome                                        Evidence of
             Source               Intervention              Measures                Measures                   Controls          Deterrent Effect?


      Chaiken, Lawless,       Tripling of N. Y.C.      l . Police manning     l . Total felonies,        I . Time series prior   Yes.
      and Stevenson           Transit Police force     levels.                total robberies, etc.      to intervention.
      ( I 974)                in 1 97 5 , with the
                              additional men placed    2. Arrest rates.       2 . Felonies, robberies 2. Felonies, robberies
                              in stations and on                              during 8 pm to 4 am during 4 am to 8 pm
                              trains from 8 pm to                             period.                 period.
                              4 am.

      Beha ( 1 977)           The Bartley-Fox       Various measures of   I . Number of FID              I . Time series prior   Yes.
                              Amendment creating arrests and dispositions cards and carrying             to amendment.
                              a mandatory one year of gun-related cases.  licenses issued.
                              minimum prison                                                             2. Time series prior
                              sentence for carrying                       2 . Fractions of               to amendment.
                              a firearm without a                         aggravated assaults,
                              permit in Massachu-                         homicides, and
                              setts. Implemented                          robberies involving
                              April 197 5 .                               firearms.

      Joint Committee on      The "Rockefeller"        Various measures of    I . Serum hepatitis        I . Time series, and    No.
      New York Drug           Drug Laws 197 3 ,        arrests and disposi-   cases and narcotics        corresponding series
      Law Evaluation          lengthening prescribed   tions of heroin-       related deaths, N. Y. C.   for Baltimore,
      (1978)                  minimum prison           related offenses in                               Washington, D.C.,
                              sentences and creating   New York City. ·       2. Admissions to           and Philadelphia.
                              a one year mandatory                            detoxification program
                              minimum sentence for                            and methadone          2 . Time series.
                              heroin dealers.                                 maintenance in N.Y.C.
        Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 229
                                            of 396




""''°
 N



                    TABLE   2 ( Continued)

                                                         Process                Outcome                                          Evidence of
              Source            Intervention             Measures               Measures                Controls              Deterrent Effect?

        Press (1971)        Experimental increase Arrests for felonies    The differences in      Corresponding               Yes, for outdoor
                            of police manpower    and misdemeanors.       reported number of      differences calculated      cnmes.
                            in New York City's                            crimes between a        for groups of similar
                            20th Precinct by 40                           previous "low man-      precincts. The pre-
                            percent in October                            power" and a "high      cincts included in the
                            1 966.                                        manpower" period,       control groups differ
                                                                          weekly average          according to crime
                                                                          seasonally adjusted.    category.
                                                                          Calculated for 1 0
                                                                          crime categories.

        Zimring ( 1972)     Decriminalization of   Number of legal        1 . Change in number 1 . Corresponding      No.
                            abortion in Hawaii,    abortions and ratio    of live births between change in Oregon and
                            1970.                  of abortions to live   1969 and 1970.         California.
                                                   births, 1 970-7 1 .
                                                                          2. Change in ratio of
                                                                          illegitimate to
                                                                          legitimate births,
                                                                          1969 to 1 970.

                                                                          3. Change in number
                                                                          of live births by
                                                                          ethnic group.

        5chwartz and        Experimental adoption Arrest data, measures   1 . Crime rates, mea-   1 . Time series.            Yes, for burglary
        Clarren (1977)      of team policing in   of police-community     sured by survey and                                 only.
                            one district of       relations.              by crimes reported      2 . Crime rates in other
                            Cincinnati, 19 7 3 .                          by police.              districts of Cincinnati .
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 230
                                    of 396




                250       Philip J. Cook

                eluding the team policing study in Cincinnati (Schwartz and
                Clarren 1 97 7 ) , the field interrogation study in San Diego (Boyd­
                stun 1 97 5 ) , and the increase in the Twentieth Precinct police
                force in New York (Press 1 97 1 ) . But these "experiments" lack
                most of the features of a complete experimental design, which
                would have to involve many geographic units sorted randomly
                between an experimental group ( in which the policy innovation
                is implemented) and a control group.
                    A controlled experimental design with random assignment is
                generally viewed as the most reliable source of information about
                the effects of social innovations, and has been used on a large
                scale on subjects as diverse as the Salk vaccine tests and the nega­
                tive income tax experiments. The use of this technique in crim­
                inal justice research has largely been limited to correctional pro­
                gramming studies, focused on rehabilitation effects. A partial
                 ( and famous) exception in the deterrence research is the Kansas
                City Preventive Patrol experiment (Kelling and Pate 1 974) .

                C. Methodological Issues
                  The three approaches to policy impact evaluation share certain
                methodological concerns. A discussion of these issues serves as
                a more useful review of this literature than a summary of results,
                because policy impact evaluation has more promise than past.
                My discussion here focuses on problems of measurement and
                causation.
                   1. Measurement of outcomes. The first and often most difficult
                problem in outcomes measurement is obtaining reliable measures
                of target variables. The outcomes measures in the evaluation of
                a deterrence-oriented policy innovation are usually crime rates
                of some sort. A majority of relatively serious common law crimes
                are reported to the police, and these crime reports ordinarily
                are the most readily available data for measuring the impact of
                policy innovation. Problems arise with reliance on reported crime
                as a measure because reporting rates differ across jurisdictions
                and over time, and because the crime count is subject to manip­
                ulation by officials. For example, Chaiken ( 1 978) discovered
                that the official records on subway crime in New York were
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 231
                                    of 396




                25I        Research in Criminal Deterrence

                counterfeit to some extent, due to a police official's zeal to dem­
                onstrate the effectiveness of intensive police manning in reducing
                subway crime. Even without conscious manipulation of the data,
                large changes in police presence in an area may cause systematic
                biases in the data, due to the possibility that police visibility may
                influence reporting rates by citizens. For this reason some of the
                more careful studies have supplemented police data with victimi­
                zation surveys ( e.g., Schwartz and Clarren's 1 97 7 report on the
                Cincinnati Tearn Policing Experiment; see table 2 ) .
                   Victimless crimes pose a still greater measurement problem
                because they only become known to authorities by accident or
                by dint of police undercover work. A number of the studies
                listed in table 2 have resolved this problem by using available
                data on proxy variables thought to be highly correlated with the
                incidence of the crime in question. The three studies of drunk
                driving crackdowns and the study of changes in the minimum
                legal drinking age all used readily available data on traffic acci­
                dents and casualties. Beha's study ( I 97 7 ) of the Bartley-Fox
                Amendment employed robbery, assault, and murder data; he
                argues that if the crime defined in the amendment ( carrying a gun
                without a license) were reduced by the harsh penalties it stip­
                ulated, the rate of violent crime would also be reduced. Zimring's
                study ( I 972) of the legalization of abortion in Hawaii employed
                data on the live birth rate as the basis for inferring the number
                of illegal abortions before legalization.
                   These proxies are plausible indirect measures of the victimless
                crimes targeted by these policy innovations. The real virtue of
                these proxies, however, is that they are of direct policy interest
                in themselves. Indeed, preventing serious traffic accidents is the
                raison d'etre of drunk driving statutes, and preventing violent
                crimes was certainly the main purpose of the Bartley-Fox Amend­
                ment.
                   A second important issue in the measurement of outcomes is
                specificity. The usual categories in which crimes are counted are
                often too crude to provide sensitive indicators of policy impact.
                Several important examples come to mind. First, a change in stat­
                utory sentencing severity, as in the Rockefeller drug laws or
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 232
                                    of 396




                252          Philip J. Cook

                the Bartley-Fox Amendment, usually exempts j uveniles. The
                measure of severity used in most studies fitting the Ehrlich
                paradigm, average prison sentence, is applicable only to adults
                and the rare j uvenile defendant who is waived to adult court.
                Given that a large percentage of serious crimes is committed by
                juveniles, an outcome measure which does not distinguish be­
                tween juveniles and adults will tend to be an insensitive and
                "noisy" indicator of the effect of the policy.
                    Studies of the deterrent effect of capital punishment1 5 almost
                always use some aggregate criminal homicide measure as the in­
                dicator of impact, even though the capital sanction is ordinarily
                reserved for felony murderers and other relatively small subsets
                of homicide defendants, and would not be expected to deter the
                sorts of homicide which constitute the majority in these statistics.
                    The importance of using as specific a crime measure as possible
                is that most policy innovations have a small effect at best,1 6 and
                this effect can easily be submerged and lost in the normal fluctua­
                tions of an insensitive indicator. Part of the persuasiveness of
                Ross's evaluation ( 1 97 3) of the British Road Safety Act results
                from his use of highly sensitive indicators. Instead of limiting
                his study to the gross accident rate, he distinguishes between
                 fatalities, casualties, and minor accidents ( accidents associated
                 with drunk driving are more serious on the average than others) ;
                 further, he distinguishes between accident rates during common
                 drinking hours and accident rates on weekdays. Press ( 1 97 1 )
                 expected (correctly) that the increase in police manning of the
                 Twentieth Precinct would have a greater effect on outdoor,
                visible felonies than on indoor felonies, and analyzed these two
                 crime types separately. Zimring ( 1 97 2 ) distinguishes between
                 illegitimate and legitimate birth rates in his study of abortion.
                 Beha ( 1 97 7 ) missed a good bet in failing to distinguish between
                 firearms assaults committed at home, and those committed away
                 from home. The latter necessitated carrying a gun in violation

                    1 5 Sellin's studies of capital punishment are critiqued in Ehrlich ( 1975 ) , Cook
                 ( 1977 ) , and Klein, Forst, and Filatov ( 1978) .
                    1 6 This generalization is documented and discussed in Gilbert, Light, and
                 Mosteller ( 1975) .
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 233
                                    of 396




                25 3      Research in Criminal Deterrence

                of Bartley-Fox, and so the rate of such assaults should be the
                more sensitive to the new law.
                   The third important issue in outcomes measurement is inclu­
                siveness. A complete evaluation of a policy innovation requires
                inclusion of all likely outcomes which are of concern to deter­
                rence theorists or policy makers. The most common issue here
                is displacement-a policy innovation targeted on one geographic
                area or one type of crime will, in addition to a possible deterrent
                effect, displace criminals to other areas or crime types. Press
                studied crime rates in precincts bordering the twentieth; Wil­
                liams et al. ( 1 97 5 ) studied accident rates for youthful drivers
                in regions bordering states which had lowered their legal mini­
                mum drinking age; Chaiken, Lawless, and Stevenson ( 1 974)
                studied the effects of nighttime intensive police manning on the
                New York subways on daytime subway crime rates and on
                robbery rates for buses and taxis. Obvious substitution possibili­
                ties resulting from Bartley-Fox include an increase in nongun
                violent crime, a substitution of more vulnerable targets for com­
                mercial targets in robbery, and a substitution of burglary for
                robbery. In general, predicting the sorts of displacement effects
                that are worth studying requires insight into criminal behavior
                and criminal opportunities.
                   2. Measurement of inputs. A change in law or policy, however
                important it looks in theory, may be undermined or transformed
                during its implementation. It is important to study the imple­
                mentation of a policy innovation to facilitate interpretation of
                measured outcomes. In some cases a careful analysis of imple­
                mentation has revealed that the criminal justice system has ab­
                sorbed an apparently important innovation with hardly a trace,
                thus explaining the lack of effect on crime.
                   The Kansas City Preventive Patrol Experiment ( Kelling and
                Pate 1 974) is a case in point. In this experiment, fifteen contigu­
                ous beats were divided into three groups; five beats were to re­
                ceive intensive preventive patrol, in five a normal level of preven­
                tive patrol prevailed, and in the remaining five preventive patrol
                was eliminated. While this experimental design suggests that visi­
                ble police presence would differ widely among the three groups
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 234
                                    of 396




                2 54       Philip J. Cook

                of beats, Larson ( 197 5 ) has argued that this was not so in prac­
                tice. Police made it a point to patrol the perimeter of the "no pa­
                trol" beats, and to respond to calls in a highly visible fashion in
                these beats. A further indication of the lack of effect is that police
                response time to calls did not differ among the three experimental
                groups.
                    The Rockefeller drug laws, which increased statutory penalties
                for dealing in heroin and other drugs, had little effect on actual
                sentencing: the percentage of such defendants convicted and
                sentenced as felons was the same ( 1 1 percent) in 197 6 as in 197 3 .
                Despite considerable advance advertising to the contrary, the
                British Road Safety Act of 1 967 had little effect on the propen­
                sity of police to make arrests or issue citations in drunk driving
                cases. Similarly, the crackdown on drunk driving in Chicago,
                studied by Robertson, Rich, and Ross ( 1 97 3 ) , found there had
                been no significant change in arrest or conviction rates for drunk
                driving.
                     Of course, the innovation does not always get lost during
                implementation. Beha ( 1 9 7 7 ) was impressed by the degree to
                which prosecutors and judges were carrying out the intent of
                the Bartley-Fox Amendment to impose one year minimum prison
                sentences on those guilty of carrying a gun without a license.
                None could argue that airport security measures introduced in
                 1 9 7 3 were undermined during implementation-indeed, Landes
                 ( 1 97 8 ) reports that all hijackers since that time in the United
                States have been either killed or imprisoned. The team policing
                experiment in Cincinnati was successfully implemented for the
                first eighteen months, but undermined later by changes in policy.
                In any event, it is not safe to take any new policy at face value,
                and an investigation of its actual effects on the behavior of of­
                ficials is an important feature of a complete evaluation.
                     In cross-section studies involving analysis of crime in jurisdic­
                tions which differ according to criminal code provisions or input
                levels, a common failing is to ignore differences in enforcement
                intensity. Maggadino (undated) compares states which differ
                with respect to gun control ordinances without analyzing en­
                forcement procedures for these ordinances. A variety of studies
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 235
                                    of 396




                255       Research in Criminal Deterrence

                of the deterrent effect of capital punishment have simply com­
                pared murder rates of retentionist and abolitionist states, without
                considering the frequency of executions in retentionist states.
                Wilson and Boland ( 1 97 6) argue persuasively that the number
                of police employed in a city is not a good measure of police
                activity, since police departments differ widely with respect to
                prevention programs and to the percentage of the force which
                is actually on the streets at any one time. Much of the informa­
                tion we would like to obtain from a policy innovation is lost if
                implementation of the policy is ignored. While it may not be
                possible to measure the change in the threat level, it is usually
                possible to obtain some empirical notion of the degree to which
                the new policy influenced activity levels and decision-making.
                Such information aids in interpretation of findings on the crime
                impact of the policy. In particular, if the innovation is found
                to have no significant effect on crime, input measures may help
                distinguish between two very different interpretations: "this type
                of crime is not deterrable" versus "this crime was not deterred
                because the actual performance of the system changed little or
                not at all."
                   3. Causation and control. Specifying the causal process which
                generated nonexperimental data requires that assumptions be
                made about how the different parts of the system being studied
                fit together. These assumptions are usually controversial and
                sometimes wrong. Indeed, Gilbert, Light, and Mosteller ( 1 97 5 )
                find i n their wide-ranging review o f social policy innovation
                studies that nonexperimental studies have reported misleading
                findings on a number of occasions, as demonstrated later by a
                controlled experiment. The two major challenges to the validity
                of a nonexperimental finding are the possibility of reverse causa­
                tion, and the possibility that factors other than the policy in­
                 novation caused the observed effect.
                   In checking for the possibility of reverse causation, the key
                question is why the innovation was adopted at a particular place
                and time. The innovation may have been motivated by some
                feature of the level or trend in crime in that jurisdiction. For
                example, an unusual increase in traffic fatalities may motivate a
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 236
                                    of 396




                2 56         Philip J. Cook

                crackdown on speeding, which in turn is followed by a natural
                "regression" in fatality rates to the trend line.17 The reduction
                in fatalities follows the crackdown but is not caused by it. 18
                   Cross-section studies are particularly vulnerable to the reverse
                causation problem. Anyone who has correlated the number of
                police per capita with crime rates across cities understands this
                problem. This correlation is positive for most samples, simply
                because whatever deterrent effect extra police may yield is
                swamped by the reverse process: relatively high crime rates
                "cause" relatively large police forces, presumably due to the ef­
                fect of crime on the public's demand for police protection. (See
                Cook 1 9 7 7 for a discussion and display of these data. ) The same
                effect must be expected in studies of interstate differences in gun
                control ordinances, capital punishment provisions, minimum legal
                drinking age provisions, and so forth-these laws are not adopted
                in a vacuum but, rather, are influenced by the public's concern
                with crime.
                   The reverse causation problem is not insurmountable. At least
                in principle, statistical techniques are available which permit es­
                timation of a model that specifies equations characterizing both
                the deterrent effect of policy and the influence of crime on pol­
                icy. The technical difficulties with these statistical techniques are
                a major topic of the National Academy of Sciences Panel's report
                 (see Fisher and Nagin 1 97 8 ) .
                    Other than the problem o f causal ordering, the most important
                challenge to the validity of a finding is the difficulty in control­
                ling for factors, other than the policy innovation, which also
                 influence crime rates. There are two basic approaches to con­
                trolling for other criminogenic factors. The first is to develop
                a model which explicitly specifies these other factors and uses
                a multivariate statistical technique which accounts for a number
                     17 A regression effect of this sort was documented by Campbell and Ross
                 ( 1 968 ) .
                     1 8 The beauty of the imposition of the national 5 5 mile per hour speed limit
                 in 1974, from an evaluator's viewpoint, is that it was clearly motivated by a
                 consideration (the oil embargo) which had nothing to do with traffic safety.
                 The unusually large reduction in fatalities in 1974 can be safely interpreted as
                 a result of the new speed limit.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 237
                                    of 396




                257       Research in Criminal Deterrence

                of these variables simultaneously. The second approach involves
                comparison of the crime trends for the group directly influenced
                by the policy innovation, with corresponding trends for similar
                groups not subject to the innovations. In either case, the objective
                is to predict what the crime rate would have been in the absence
                of the innovation, as a basis for comparison with the actual crime
                rate. The difference is, of course, a measure of the policy's im­
                pact on crime.
                   The multivariate approach is most often used in cross-section
                comparison studies. Crime rates differ among jurisdictions be­
                cause of differences in criminal opportunities and the demo­
                graphic, cultural, and socioeconomic characteristics of the pop­
                ulations. Only after accounting for these factors is it possible
                to partial out the specific effects of interjurisdiction differences
                in enforcement policy. One of the most important underlying
                differences among geographic units may be a complex of atti­
                tudes which can be labeled "public-spiritedness" or perhaps "re­
                spect for authority." In neighborhoods or cities characterized by
                a high degree of respect for authority, the crime rate will be
                relatively low due to effective citizen cooperation with police
                and prosecutors. (See Bayley 1 97 6; Cook and Fischer 1 97 6.)
                This attitude is also likely to be reflected in official policy,
                resulting in a systematic relationship between policy and crime
                rates across j urisdictions which adds to the direct effects of dif­
                ferences in policy. The difficulty in controlling for this complex
                of attitudes is in knowing exactly how it should be defined and
                measured. However, short-term policy impact studies in a single
                jurisdiction are immune to this problem if, as seems reasonable,
                attitudes toward authority change slowly.
                   Evaluations of individual policy innovations must control for
                criminogenic variables which tend to fluctuate over the period
                under consideration. Crime varies with the time of day, the day
                of the week, the season of the year, and a host of other factors.
                Controlling for these variables can be attempted through a multi­
                variate model, estimated from historical data for the jurisdiction.
                More commonly, evaluation studies have used interrupted time
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 238
                                    of 396




                258        Philip J. Cook

                series analysis or comparisons with trends in crime rates for
                groups similar to the group that is directly affected by the in­
                novation. The interrupted time series analysis is most persuasive
                when the implementation of the policy has an immediate "slam
                bang" effect on crime-a change in the crime rate which is much
                larger than would be expected from historical fluctuations in the
                crime rate. Ross ( 1 9 7 3 ) , for example, reported a 60 percent drop
                in the "drinking hours" auto fatality rate immediately after im­
                plementation of the British Road Safety Act. Landes ( 1 978)
                reports that there was only one domestic airline hijacking during
                the first year of intensive airport security measures, compared
                with twenty-seven the preceding year. The possibility of docu­
                menting a large effect of this sort is enhanced by use of a specific
                and sensitive measure of crime, but slam bang effects are rare.
                Gilbert, Light, and Mosteller ( 1 97 5 ) document this point for
                policy interventions generally; crime is no exception.
                    The choice of control groups for a nonexperimental innova­
                tion is more an art than a science. The criterion is that crime
                rates in the control groups should be subject to the same influ­
                ences ( except for the innovation itself) , and respond to them in
                roughly the same fashion, as the target group. Zimring ( 1 97 2 )
                chose California and Oregon as controls i n his abortion legaliza­
                 tion study in Hawaii; Williams et al. ( I 97 5 ) also used neighbor­
                 ing states in their study of the minimum drinking age. Proximity
                 as a basis for choice of controls is not limited to geography:
                 Ross ( 1 97 3) used auto fatality rates during nondrinking hours,
                 and Chaiken, Lawless, and Stevenson ( 1 974) used subway crime
                 rates during daytime hours. In some cases different age groups
                 can serve as a basis of comparison-Williams et al., for example,
                 could have used the auto fatality rate for drivers aged 2 1 -24 as
                 a control for his study of underage drinking.
                    An alternative to proximity as the basis for choice of control
                 group is similarity. Press ( 1 97 1 ) did not use precincts neighbor­
                 ing the twentieth as his controls, but rather chose groups of
                 precincts ( different for each crime type) which were similar to
                 the twentieth in terms of population and crime rate. Beha ( 1 9 7 7 )
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 239
                                    of 396




                259         Research in Criminal Deterrence

                compared violent crime in Boston with other large cities in the
                Northeast in his study of Bardey-Fox. 19
                   4. Generalizations. Valid generalizations from the policy im­
                pact studies are few, and leave us far short of being able to
                answer the many questions posed by the theoretical discussion of
                deterrence in section I. Perhaps the only general statements worth
                making are : ( I ) a wide variety of crimes are deterrable, and
                there are no types of crime which have been demonstrated to be
                undeterrable; ( 2 ) the criminal justice system has considerable
                inertia, with seemingly large policy innovations often resulting
                in small change in the behavior of officials; and ( 3 ) given the
                difficulty of evaluating policy impacts, the fine points of deter­
                rence theory will have to be checked out in the laboratory rather
                than the field. But the gradual accumulation of data from the
                field will certainly enhance our feeling for what works, and
                under what circumstances.

                            IV. Notes on a Research Agenda
                Research relevant to understanding and managing the criminal
                deterrence process includes a wide range of topics and research
                methods. The five topics discussed below strike me as deserving
                greater attention by criminologists and research funding agencies
                than they have received in the recent past.
                   I. Comparative studies of risky decision-making. Laboratory
                experiments in decision-making under uncertainty can provide
                information on how decisions are influenced by the threat of
                adverse consequences of varying probability and severity. Extrap­
                olating from the artificial laboratory setting to the "real world"
                is difficult, of course, but some questions are hard to investigate
                in a natural setting. One such question is the extent to which
                such factors as age, emotional arousal, and inebriation are related
                to "deterrability." One illustrative issue here is whether people
                tend to be more willing to risk adverse consequences when drunk
                   1 9 Whatever the reasoning behind the choice of controls, it is important to
                validate the choice by correlating the crime rate for the control units with
                that of the target unit, preferably over a substantial period of time prior to
                the innovation. Omission of this validity check is a common failing of this
                literature.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 240
                                    of 396




                16o       Philip J. Cook

                than sober; a more important issue is whether this willingness to
                risk adverse consequences is less responsive to changes in the
                threat level when the subject is drunk than sober.
                   2. Threat communication. The extent to which the threat of
                punishment deters crime depends to some extent on how this
                threat is "marketed." Several lines of research may prove useful
                in this regard:
                -An analysis of research findings on commercial advertising,
                 dissemination of information on new products, etc., as
                 a source of hypotheses concerning threat communication.
                -Interviews with active and potential criminals to determine
                  what sorts of information they regularly acquire on the
                  effectiveness of law enforcement activities.
                -Studies of the criminal's response to specific environmental
                  cues related to the likelihood of arrest and punishment,
                 including visible police patrol, signs posted to warn would-be
                 violators ( "shoplifters will be prosecuted" ) , and so forth.
                   3. Complements and substitutes. As explained in section IE
                above, the incidence of one type of crime will be influenced
                by the effectiveness of law enforcement efforts against closely
                related types of crime. A crackdown on fencing may reduce the
                burglary rate; a crackdown on carrying concealed weapons may
                reduce the rates of armed assault and robbery; an increase in the
                severity of sentencing for selling heroin may increase the rates
                at which defendants jump bail and attempt to intimidate wit­
                nesses before trial. Research on such interconnections among
                crime types should aid in targetting law enforcement resources.
                   4. Private protection activities. Expenditures on private pro­
                tection against crime have been growing faster than public ex­
                penditures, and the total private and public expenditures are now
                of the same order of magnitude. Some types of investments in
                private security-guards, burglar alarms, hidden cameras-in­
                crease the probability of arrest and conviction for crimes against
                targets that are so protected. We would expect private efforts to
                enhance the overall effectiveness of the system, while at the same
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 241
                                    of 396




                261       Research in Criminal Deterrence

                time increasing the victimization rate of targets that remain un­
                protected. These effects may be quite large, and should be given
                greater attention by social scientists.
                   5. Other preventive effects of -punishment. Deterrence effects
                have almost been ignored in discussions of the other preventive
                effects of punishment. This sort of compartmentalized thinking
                is dangerous for policy prescription and costly to the scientific
                development of criminology. If the threat level influences the rate
                at which active criminals commit crimes, as well as the number
                of criminals who are active, then the measurement of incapacita­
                tion effects cannot ignore the deterrence phenomenon ( Cook
                1 979d) . Similarly, the outcome measures almost always used
                in studies of correctional rehabilitation-some sort of recidivism
                rate-will be influenced via deterrence by the threat environment
                facing the released convict. A related concern is the possibility
                that a correctional program will have a large enough effect on
                the severity of punishment to undermine the deterrent effect of
                punishment-a finding of reduced recidivism is insufficient to
                demonstrate that the rehabilitation program reduced crime.
                   Together, these five research topics would substantially ex­
                pand the range of deterrence research, and they by no means
                exhaust the list of interesting possibilities. But to an important
                extent, productive research projects cannot be identified deduc­
                tively-there should be a large element of opportunism in the
                choice of projects. The richest source of the "raw material" for
                deterrence research has always been dramatic changes in criminal
                justice policy in state and local j urisdictions, and that will con­
                tinue to be true. The keys to exploiting this raw material are
                early involvement and special data collection efforts.
                   Franklin Zimring ( I 978) has written an excellent analysis of
                the research implications of recent policy experiments in deter­
                rence. He concludes that a great deal of useful information which
                could have been extracted from recent innovations was lost be­
                cause of poor planning. A full evaluation of an innovation usual­
                ly requires special data collection efforts. Measuring sensitive out­
                come variables and controls, and gathering information on im­
                plementation, require careful planning, an early start, and access
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 242
                                    of 396




                262        Philip J. Cook

                to official records-all of which have frequently been lacking
                with respect to major policy innovations. The problems in eval­
                uating policy impacts for deterrence effects have much in com­
                mon with policy evaluations in other areas of social policy. The
                greatest challenges to any such evaluation are measuring what
                are often small (but possibly important) effects, and measuring
                long-term effects.
                   The first decade of deterrence research has had some false
                starts and some successes. The successes in empirical field research
                have, for the most part, involved careful studies of specific policy
                changes. The major false start has been what I have called the
                "Ehrlich paradigm," though Isaac Ehrlich is only one of many
                who have utilized this approach. The appeal of this approach lies
                in the seeming generality of its empirical results. I believe there
                is a moral here: the quest for a single set of universally applicable
                estimates of deterrence effects is hopeless, given the nature of
                available data and the complexity of the underlying process
                which generates crime rates and sanction threats. It may pay
                deterrence researchers of the next decade to be modest. Sound
                generalizations will gradually emerge from the accumulation of
                carefully tested evidence on the deterrence process.



                           REFERENCES

                Allingham, Michael G., and Agnar Sandmo. 1 972. "Income Tax Eva­
                  sion: A Theoretical Analysis," Journal of Public Economics 1 : 3 2 3-
                  3 8.
                Andenaes, Johannes. 1 974. Punishment and Deterrence. Ann Arbor:
                  University of Michigan Press.
                Bailey, William C. 1978. Deterrence and the Celerity of the Death
                  Penalty: A Neglected Question in Deterrence Research. Madison:
                  Institute for Research on Poverty, University of Wisconsin.
                Bartel, Ann. 1975. "An Analysis of Firm Demand for Protection
                  Against Crime," Journal of Legal Studies 4: 443-78.
                Bayley, David H. 1 976. "Learning About Crime-the Japanese Ex­
                  perience," The Public Interest 44: 5 5-68.
                Becker, G. 1 968. "Crime and Punishment: An Economic Approach,"
                  Journal of Political Economy 78: 526-36.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 243
                                    of 396




                263        Research in Criminal Deterrence

                Beha, James A., II. 1 977. "And Nobody Can Get You Out," Boston
                  University Law Review 57: 96-146 and 289-3 3 3 .
                Beyleveld, D . 1 978. The Effectiveness of General Deterrents against
                  Crime: An Annotated Bibliography of Evaluative Research. Cam­
                  bridge, England: Institute of Criminology (in microfiche) .
                Blakey, G. Robert, and Michael Goldsmith. 1 976. "Criminal Redis­
                  tribution of Stolen Property: The Need for Law Reform," Michi­
                  gan Law Review 74: 1 5 1 2-1 626.
                Block, Michael K., and John M. Reineke. 1975. "A Labor Theoretic
                  Analysis of the Criminal Choice," American Economic Review
                  65: 3 1 4-2 5.
                Block, Michael K., and Robert C. Lind. 1975. "An Economic Analy­
                  sis of Crimes Punishable by Imprisonment," Journal of Legal
                  Studies 4: 479-92.
                Blumstein, Alfred, Jacquelin Cohen, and Daniel Nagin, eds. 1 978.
                  Deterrence and Incapacitation: Estimating the Effects of Criminal
                  Sanctions on Crime Rates. Washington, D.C.: National Academy
                  of Sciences.
                Blumstein, Alfred, and Daniel Nagin. 1 977. "The Deterrent Effect
                  of Legal Sanctions on Draft Evasion," Stanford Law Review
                  28: 241-75.
                Boydstun, J. E. 1 975. San Diego Field Interrogation: Final Report.
                  Washington, D.C.: Police Foundation.
                Brier, Stephen S., and Stephen E. Fienberg. 1 978. Recent Economet­
                  ric Modelling of Crime and Punishment: Support for the Deter­
                  rence Hypothesis? School of Statistics, University of Minnesota.
                Campbell, Donald T., and H. Laurence Ross. 1 968. "The Connecti­
                  cut Crackdown on Speeding," Law and Society Review 3 : 3 3-53 .
                Carr-Hill, R . A., and N . H . Stern. 1 9 7 3 . "An Econometric Model
                  of the Supply and Control of Recorded Offences in England and
                  Wales," Journal of Public Economics 2 : 2 89-3 1 8.
                Carroll, John S. 1 978. "A Psychological Approach to Deterrence:
                  The Evaluation of Crime Opportunities," Journal of Personality
                  and Social Psychology 36: 1 5 1 2-20.
                --. (forthcoming) . "Committing a Crime: The Offender's De­
                  cision." In Social-Psy chological Analysis of Legal Processes, ed.
                  V. J. Konecni and E. G. Ebbesen. San Francisco: Freeman.
                Chaiken, Jan M. 1 978. "What Is Known about Deterrent Effects of
                  Police Activities." In Preventing Crime, ed. James A. Cramer.
                  Beverly Hills: Sage Publications.
                Chaiken, Jan M., Michael W. Lawless, and Keith A. Stevenson. 1 974.
                  "The Impact of Police Activity on Subway Crime," Urban Analy­
                  sis 3 : 1 7 3-205.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 244
                                    of 396




                264        Philip J. Cook

                Clotfelter, Charles. 1 977. "Public Services, Private Substitutes, and
                  the Demand for Protection against Crime," American Economic
                  Review 67: 867-77.
                Cohen, Jacquelin. 1 978. "The Incapacitating Effect of Imprisonment:
                  A Critical Review of the Literature." In Blumstein, Cohen, and
                  Nagin ( 1 978) .
                Conklin, J. 1 97 2 . Robbery and the Criminal Justice System. New
                  York: Lippincott.
                Cook, Philip J. I 977 . "Punishment and Crime: A Critique of Current
                  Findings Concerning the Preventive Effects of Punishment," Law
                  and Contemporary Problems 4 1 : 1 64-204.
                --. 1 979a. "The Clearance Rate as a Measure of Criminal Justice
                  System Effectiveness," Journal of Public Economics 1 1 : 1 3 5-42.
                --. 1 979b. "The Effect of Gun Availability on Robbery and Rob­
                  bery Murder." In Policy Studies Review Annual, Vol. 3, ed. R. H.
                  Haveman and B. B. Zellner. Beverly Hills: Sage Publications.
                --. 1 979c. "The Implications of Deterrence and Incapacitation
                  Research for Policy Evaluation." In An Anatomy of Criminal
                  Justice, ed. Cleon Foust and D. Robert Webster. Lexington, Mass. :
                  Lexington Books.
                --. 1 979d. "A Unified Treatment of Deterrence, Incapacitation,
                  and Rehabilitation: A Simulation Study." Durham, N.C.: Institute
                  of Policy Sciences and Public Affairs, Duke University.
                --. 1 980. "Reducing Injury and Death Rates in Robbery," Policy
                  Analysis 6: 2 1-45.
                Cook, P. J., and Gregory W. Fischer. 1 976. "Citizen Cooperation
                  with the Criminal Justice System." Durham, N.C.: Institute of
                  Policy Sciences and Public Affairs, Duke University.
                Cook, P. J., and Daniel Nagin. 1 979. Does the Weapon Matter?
                  Washington, D.C.: Institute for Law and Social Research.
                Ehrlich, Isaac. I 970. Participation in Illegitimate Activities: An Eco­
                  nomic Analysis. Ph.D. dissertation, Columbia University.
                --. 1 97 2 . "The Deterrent Effect of Criminal Law Enforcement,"
                  Journal of Legal Studies I : 2 59-76.
                --. 1973. "Participation in Illegitimate Activities: A Theoretical
                  and Empirical Investigation," Journal of Political Economy
                  8 1 : 52 1-65.
                --. 1 975. "The Deterrent Effect of Capital Punishment: A Ques­
                  tion of Life and Death," American Economic Review 65: 397-417.
                --. 1 979. "The Economic Approach to Crime: A Preliminary As­
                  sessment." In Criminology Review Yearbook, ed. Sheldon Messin­
                  ger and Egon Bittner. Beverly Hills: Sage Publications.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 245
                                    of 396




                265        Research in Criminal Deterrence

                Ehrlich, Isaac, and Mark Randall. 1977. "Fear of Deterrence: A
                  Critical Evaluation of the 'Report of the Panel on Research on De­
                  terrent and Incapacitative Effects,' " Journal of Legal Studies
                  6: 293-3 1 6.
                Erickson, Maynard L., and Jack P. Gibbs. 1 979. "On the Perceived
                  Severity of Legal Penalties," Journal of Criminal Law and Crim­
                  inology 70: 1 02-16.
                Fisher, Franklin M., and Karl Shell. I 972. The Economic Theory of
                  Price Indices. New York: Academic Press.
                Fisher, Franklin M., and Daniel Nagin. 1 978. "On the Feasibility of
                  Identifying the Crime Function in a Simultaneous Model of Crime
                  Rates and Sanction Levels." In Blumstein, Cohen, and Nagin
                   ( 1 978 ) .
                Forst, Brian. I 9 76 . "Participation i n Illegitimate Activities: Further
                  Empirical Findings," Policy Analysis 2 : 477-92.
                Friedland, Nehemia, John Thibaut, and Laurens Walker. 1973.
                  "Some Determinants of the Violation of Rules," Journal of Ap­
                  plied Social Psychology 3 : 1 03-1 8.
                Geerken, Michael R., and Walter R. Gove. 1 975. "Deterrence: Some
                  Theoretical Considerations," Law and Society Review 9: 497-5 1 3.
                Gibbs, Jack P. 1 968. "Crime, Punishment, and Deterrence," South­
                  western Social Science Quarterly 48: 5 I 5-30.
                --. 1 975. Crime, Punishment, and Deterrence. New York: Else­
                   vier.
                Gilbert, John P., Richard J. Light, and Frederick Mosteller. 1 97 5 .
                  "Assessing Social Innovations: A n Empirical Base for Policy."
                  In Benefit-Cost and Policy Analysis, 1974. Chicago: Aldine.
                Greenwood, Michael J., and W. J. Wadycki. 1973. "Crime Rates and
                  Public Expenditures for Police Protection: Their Interaction," Re­
                  view of Social Economy 3 I : 1 3 8-5 1 .
                Heineke, John M. 1 978a. "Economic Models of Criminal Behavior:
                  An Overview." In Economic Models of Criminal Behavior, ed.
                  J. M. Heineke. New York: North-Holland Publishing Company.
                --. 1 978b. "Substitution among Crime and the Question of De­
                  terrence: An Indirect Utility Function Approach to the Supply
                  of Legal and Illegal Activity." In Economic Models of Criminal
                  Behavior, ed. J. M. Heineke. New York: North-Holland Publish­
                  ing Company.
                Jacob, Herbert. 1 979. "Rationality and Criminality," Social Science
                  Quarterly 59: 584-85.
                Johnston, James M. 1 972. "Punishment of Human Behavior," Ameri­
                  can Psychologist 2 7 : 1 03 3-54.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 246
                                    of 396




                266       Philip J. Cook

                Joint Committee on New York Drug Law Enforcement. 1978. The
                  Nation's Toughest Drug Law: Evaluating the New York Experi­
                  ence. Washington, D.C. : U.S. Government Printing Office.
                Kahneman, Daniel, and Amos Tversky (forthcoming) . "Prospect
                  Theory: An Analysis of Decision under Risk," Econometrica.
                Kelling, G., and A. Pate. 1 974. The Kansas City Preventive Patrol
                  Experiment. Washington, D.C.: The Police Foundation.
                Klein, Lawrence R., Brian Forst, and Victor Filatov. 1978. "The
                  Deterrent Effect of Capital Punishment: An Assessment of the
                  Evidence." In Blumstein, Cohen, and Nagin ( 1 978).
                Klockars, Carl B. 1 974. The Professional Fence. New York: Free
                  Press.
                Kunreuther, Howard, and Paul Slovic. 1978. "Economics, Psychol­
                  ogy, and Protective Behavior," American Economic Review 68: 64-
                  69.
                Landes, William M. 1978. "An Economic Study of U.S. Aircraft Hi­
                  jacking, 1961-1 976," The Journal of Law and Economics 2 1 : 1-32.
                Larson, Richard C. 197 5. "What Happened to Patrol Operations in
                  Kansas City? A Review of the Kansas City Preventive Patrol Ex­
                  periment," Journal of Criminal Justice 3 : 267-97.
                Lipton, D., R. Martinson, and J. Wilks. 1 975. The Effectiveness of
                  Correctional Treatment: A Survey of Treatment Evaluation Stud­
                  ies. New York: Praeger.
                Maggadino, J. P. n.d. "Towards an Economic Evaluation of State
                  Gun Control Laws." Long Beach, Calif. : California State Uni­
                  versity.
                Manski, Charles. 1 978. "Prospects for Inference on Deterrence
                  through Empirical Analysis of Individual Criminal Behavior." In
                  Blumstein, Cohen, and Nagin ( 1 978) .
                Moore, Mark. 1 97 3. "Policies to Achieve Discrimination on the Ef­
                  fective Price of Heroin," American Economic Review 63 : 2 70-77.
                Myers, David G., and Helmut Lamm. 1 976. "The Group Polarization
                  Phenomenon," Psychological Bulletin 8 3 : 602-27.
                Nagin, Daniel. 1 978. "General Deterrence: A Review of the Em­
                  pirical Evidence." In Blumstein, Cohen, and Nagin ( 1 978).
                Packer, Herbert L. 1 968. The Limits of the Criminal Sanction. Stan­
                  ford: Stanford University Press.
                Payne, John. 1 980. "Information Processing Theory: Some Concepts
                  and Methods Applied to Decision Research." In Cognitive Pro­
                  cesses in Choice and Decision Behavior, ed. T. Wallsten. Hillsdale,
                  N.J. : Lawrence Elrbaum.
                Petersilia, Joan, Peter W. Greenwood, and M. Lavin. 1 978. Criminal
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 247
                                    of 396




                267        Research in Criminal Deterrence

                  Careers of Habitual Felons. Santa Monica, Calif.: Rand Corpora­
                  tion.
                Pierce, Glenn, and William Bowers. 1 979. "The Impact of the Bart­
                  ley-Fox Gun Law on Crime in Massachusetts." Boston: Center for
                  Applied Social Research, Northeastern University.
                Plattner, Mark F. 1 976. "The Rehabilitation of Punishment," The
                  Public Interest 44: 1 04-1 4.
                Press, S. James. 1 97 1 . Some Effects of an Increase in Police Manpow­
                  er in the 20th Precinct of New York City. New York: Rand In­
                  stitute.
                Robertson, Leon, Robert F. Rich, and H. Laurence Ross. 1 9 7 3 . "Jail
                  Sentences for Driving While Intoxicated in Chicago: A Judicial
                  Policy That Failed," Law and Society Review 8: 5 5-68.
                Ross, H. Laurence. 1 9 7 3 . "Law, Science, and Accidents: The British
                  Road Safety Act of 1 967," Journal of Legal Studies 2 : 1-78.
                --. 1 977. "Deterrence Regained: The Cheshire Constabulary's
                  'Breathalyser Blitz,' " Journal of Legal Studies 6: 241-92.
                Schwartz, Alfred I., and Sumner Clarren. 1 977. The Cincinnati Team
                  Policing Experiment: A Summary Report. Washington, D.C. : Po­
                  lice Foundation.
                Sellin, T., ed. 1 967. Capital Punishment. New York: Harper & Row.
                Simon, Herbert A. 1 957. Models of Man. New York: Wiley.
                Sjoquist, D. 1 97 3 . "Property Crime and Economic Behavior: Some
                  Empirical Results," American Economic Review 63 : 439-46.
                Swimmer, E. 1 974. "Measurement of the Effectiveness of Urban Law
                  Enforcement: A Simultaneous Approach," Southern Economic
                   Review 40: 6 1 8-30.
                Tullock, Gordon. 1 974. "Does Punishment Deter Crime? ," The Pub­
                  lic Interest 36: 1 03-1 1 .
                Tversky, Amos, and Daniel Kahneman. 1 974. "Judgment under Un­
                  certainty: Heuristics and Biases," Science 1 85 : 1 1 24-3 1 .
                Vandaele, Walter. 1 978a. "Participation in Illegitimate Activities:
                  Ehrlich Revisited." In Blumstein, Cohen, and Nagin ( 1978 ) .
                --. 1 978b. "An Econometric Model of Auto Theft i n the United
                   States." In Economic Models of Criminal Behavior, ed. J. Reineke.
                  New York: North Holland Publishing Company.
                von Hirsch, Andrew. 1 976. Doing Justice. New York: Hill and
                  Wang.
                Walker, Nigel. 1 979. "The Efficacy and Morality of Deterrents,"
                   Criminal Law Review, pp. 1 29-44.
                Walsh, Marilyn. 1 976. Strategies for Combatting the Criminal Re-
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 248
                                    of 396




                 268       Philip J. Cook

                  ceiver (Fence) of Stolen Goods. Washington, D.C. : U.S. Govern­
                  ment Printing Office.
                Williams, Allan F., et al. 1 975. "The Legal Minimum Drinking Age
                  and Fatal Motor Vehicle Crashes," Journal of Legal Studies 4: 2 1 9-
                  39.
                Wilson, James Q., and Barbara Boland. 1 976. "Crime." In The Urban
                  Predicament, ed. W. Gorham and N. Glazer. Washington, D.C.:
                  The Urban Institute.
                Witte, Ann. 1 980. "Estimating the Economic Model of Crime with
                  Individual Data," Quarterly Journal of Economics 97: 57-84.
                Zimring, Franklin E. 1 972. "Of Doctors, Deterrence, and the Dark
                  Figure of Crime-A Note on Abortion in Hawaii," University of
                  Chicago Law Review 39: 699-7 2 1 .
                --. 1 978. "Policy Experiments in General Deterrence: 1 970-
                  1 975." In Blumstein, Cohen, and Nagin ( 1 978 ) .
                Zimring, Franklin E., and Gordon J . Hawkins. 1 9 7 3 . Deterrence.
                  Chicago: University of Chicago Press.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 249
                                    of 396




                     EXHIBIT N
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 250
                                    of 396




                Daniel S. Nagin

                Deterrence in the Twenty-
                First Century


                ABSTRACT
                   The evidence in support of the deterrent effect of the certainty of punish-
                   ment is far more consistent than that for the severity of punishment.
                   However, the evidence in support of certainty’s effect pertains almost ex-
                   clusively to apprehension probability. Consequently, the more precise
                   statement is that certainty of apprehension, not the severity of the ensuing
                   legal consequence, is the more effective deterrent. This conclusion has im-
                   portant policy implications among which are that lengthy prison sentences
                   and mandatory minimum sentencing cannot be justiﬁed on deterrence.
                   There are four major research gaps. The ﬁrst concerns the mechanism by
                   which police affect perceptions of the probability of apprehension. The
                   second concerns the inextricable link between the deterrent effect of the
                   threat of punishment and the potentially criminogenic effect of the experi-
                   ence of punishment. The third concerns the concept of a sanction regime
                   deﬁned by the sanctions legally available and how that legal authority is
                   administered. Theories of deterrence conceive of sanctions in the singular,
                   not the plural, and do not provide a conceptual basis for considering the
                   differential deterrent effects of different components of the sanction re-
                   gime. The fourth involves sanction risk perceptions. Establishing the link
                   between risk perceptions and sanction regimes is imperative; unless per-
                   ceptions adjust, however crudely, to changes in the sanction regime, de-
                   sired deterrent effects will not be achieved.

                Three enduring questions have occupied centuries of scholarship on
                crime and punishment. Does punishment prevent crime? How does
                punishment prevent crime? And should punishment be used to prevent
                crime? This essay is concerned with the ﬁrst two of these questions.

                  Daniel S. Nagin is the Teresa and H. John Heinz III University Professor of Public
                Policy and Statistics at Carnegie Mellon University.
                 2013 by The University of Chicago. All rights reserved.
                0192-3234/2013/4201-0004$10.00


                                                                     199
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 251
                                    of 396




                200        Daniel S. Nagin

                   The criminal justice system dispenses justice by apprehending, pros-
                ecuting, and punishing individuals who break the law. These activities
                may prevent crime by three distinct mechanisms: incapacitation, spe-
                ciﬁc deterrence, and general deterrence. Convicted offenders are some-
                times punished with imprisonment. Incapacitation concerns crimes
                averted by their physical isolation during the period of their incarcer-
                ation. Speciﬁc and general deterrence involve possible behavioral re-
                sponses. General deterrence refers to the crime prevention effects of
                the threat of punishment. Speciﬁc deterrence concerns the aftermath
                of the failure of general deterrence—the effect on reoffending, if any,
                that results from the experience of actually being punished.
                   In this essay, I consider the theoretical and evidentiary basis for gen-
                eral deterrence. In another recent Crime and Justice essay (Nagin, Cul-
                len, and Jonson 2009), I surveyed the evidence on the speciﬁc deter-
                rence effects of imprisonment. Here, I draw heavily from recent and
                prior deterrence reviews by me and others.
                   My aim is to provide a succinct summary of the current state of
                theoretical and empirical knowledge about deterrence in support of
                several interrelated objectives. The ﬁrst is to provide a selective intel-
                lectual history of deterrence research that identiﬁes important recur-
                ring themes. I highlight both what has been learned and persistent
                ﬂaws that should be addressed in future research.
                   The second objective concerns the framing of discourse on deter-
                rence, which often takes the same pattern, particularly in policy dis-
                cussions: one group arguing that sanction threats always deter and
                another group arguing that sanction threats never deter. When deter-
                rence effects are unpacked, it is clear that sanction threats are not
                universally efﬁcacious: magnitudes of deterrent effects range from none
                to seemingly very large. Thus, another primary objective is to move
                discourse about deterrence away from the equally indefensible posi-
                tions that deterrence effects are always or never present to a more
                nuanced and useful inquiry into the basis for variation in the existence
                and size of deterrent effects.
                   The third objective is policy related. Prison populations have been
                rising in the United States for four decades. Only recently have there
                been signs that the increase is abating. In 2009 and 2010, state-level
                prison population declined but federal-level population continued to
                increase (Bureau of Justice Statistice 2012). Less well recognized is that
                prison populations have risen elsewhere in the world, for example, in
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 252
                                    of 396




                                       Deterrence in the Twenty-First Century        201

                the Netherlands since 1975 and more recently in England and Wales,
                Portugal, Spain, and New Zealand. An incarceration-based sanction
                policy that reduces crime solely by incapacitation will necessarily in-
                crease the rate of imprisonment. In contrast, if the crime control policy
                also prevents crime by deterrence, it may be possible to reduce both
                imprisonment and crime; successful prevention by any mechanism,
                whether by deterrence or otherwise, has the virtue of averting not only
                crime but also the punishment of perpetrators. Hence, it is important
                to identify policies that increase imprisonment but have only negligible
                effects on crime rates.
                   My main conclusions are as follows: First, there is little evidence
                that increases in the length of already long prison sentences yield gen-
                eral deterrent effects that are sufﬁciently large to justify their social
                and economic costs. Such severity-based deterrence measures include
                “three strikes, you’re out,” life without the possibility of parole, and
                other laws that mandate lengthy prison sentences.
                   Second, on the basis of the earlier noted Crime and Justice review
                (Nagin, Cullen, and Jonson 2009), I have concluded that there is little
                evidence of a speciﬁc deterrent effect arising from the experience of
                imprisonment compared with the experience of noncustodial sanctions
                such as probation. Instead, the evidence suggests that that reoffending
                is either unaffected or increased.
                   Third, there is substantial evidence that increasing the visibility of
                the police by hiring more ofﬁcers and allocating existing ofﬁcers in
                ways that materially heighten the perceived risk of apprehension can
                deter crimes. This evidence is consistent with the perceptual deterrence
                literature that surveys individuals on sanction risk perceptions and re-
                lates these perceptions to their actual or intended offending behavior.
                This literature ﬁnds that perceived certainty of punishment is associ-
                ated with reduced self-reported or intended offending.
                   Thus, I conclude, as have many prior reviews of deterrence research,
                that evidence in support of the deterrent effect of various measures of
                the certainty of punishment is far more convincing and consistent than
                for the severity of punishment. However, the certainty of punishment
                is conceptually and mathematically the product of a series of condi-
                tional probabilities: the probability of apprehension given commission
                of a crime, the probability of prosecution given apprehension, the
                probability of conviction given prosecution, and the probability of
                sanction given conviction. The evidence in support of certainty’s de-
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 253
                                    of 396




                202        Daniel S. Nagin

                terrent effect pertains almost exclusively to apprehension probability.
                Consequently, the conclusion that certainty, not severity, is the more
                effective deterrent is more precisely stated as certainty of apprehension
                and not the severity of the legal consequence ensuing from apprehen-
                sion is the more effective deterrent. This more precise statement has
                important policy implications; the empirical evidence from the policing
                and perceptual deterrence literature is silent on the deterrent effec-
                tiveness of policies that mandate incarceration after apprehension.
                These include policies such as mandatory minimum sentencing laws
                or sentencing guidelines that mandate incarceration. Thus, this revised
                conclusion about the deterrent effect of punishment certainty should
                not be construed as implying that policies mandating severe legal con-
                sequences have been demonstrated to achieve deterrent effects.
                   Together these conclusions have a range of policy implications, par-
                ticularly as they relate to the United States (Durlauf and Nagin 2011b).
                First, it is clear that lengthy prison sentences cannot be justiﬁed on a
                deterrence-based, crime prevention basis. Thus, the case for crime pre-
                vention beneﬁts of measures requiring lengthy prison sentences such
                as California’s three-strikes law must rest on incapacitation. Another
                implication is that crime prevention would be enhanced by shifting
                resources from imprisonment to policing or, in periods of declining
                criminal justice system budgets, that policing should get a larger share
                of a smaller overall budget.
                   While accumulation of knowledge about deterrence in the past four
                decades has been impressive, much remains to be learned. There are
                four major theoretical and related empirical gaps. The ﬁrst concerns
                the deterrent effect of the certainty of apprehension. There are two
                distinct mechanisms by which the police may deter crime. One stems
                from their effectiveness in apprehending perpetrators of crimes; by
                deﬁnition this activity involves occurrences in which deterrence has
                failed. Thus, police effectiveness in successfully apprehending criminal
                perpetrators can have a deterrent effect only on others or on the per-
                petrator’s future behavior. The second mechanism involves the effect
                of the intensity of police presence in creating a perception that appre-
                hension risk is sufﬁciently high that no crime is committed in the ﬁrst
                place. I speculate that this second mechanism is the primary source of
                police effectiveness in deterring crime whereas the ﬁrst role primarily
                prevents crime by capturing and incapacitating crime-prone individu-
                als. The research gap involves developing rigorous empirical tests of
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 254
                                    of 396




                                       Deterrence in the Twenty-First Century        203

                this contention and developing improved theoretical models of how
                police presence and tactics can reduce the attractiveness of criminal
                opportunities by increasing the perceived risk of apprehension.
                   The second gap concerns the distinction between speciﬁc and gen-
                eral deterrence. The two are inextricably linked because the experience
                of punishment is a consequence of the failure of the threat of punish-
                ment to deter crime, yet no theory of deterrence explicitly addresses
                how the experience of punishment inﬂuences the deterrent effect of
                the threat of punishment. Relevant issues include how the experience
                of punishment affects the proclivity to commit crime due to potential
                stigma effects, sustained contacts with criminals in a prison setting, or
                participation in rehabilitative programs as well as the effect of the ex-
                perience of punishment on perceptions of the certainty and severity of
                sanctions. Analysis of these and other related issues will require lon-
                gitudinal data on individuals who do and do not have the experience
                of punishment.
                   The third theoretical gap concerns the concept of a sanction regime.
                A sanction regime deﬁnes the sanctions that are legally available for
                the punishment of various types of crime and how that legal authority
                is administered. Depending on the crime and characteristics of the
                offenders, such as age or prior record, available sanctions range in se-
                verity from verbal reprimands to ﬁnes and different forms of com-
                munity service to lengthy terms of imprisonment and execution. How
                the legal authority is administered determines the relative frequency
                with which the available sanction options are used and also the swift-
                ness of their application. Thus, both dimensions of the sanction re-
                gime—the legal authority for different types of sanctions and how that
                authority is administered—combine to determine the certainty, sever-
                ity, and celerity of sanctioning options available for punishment of a
                speciﬁc type of crime.
                   Theories of deterrence, however, specify sanction threats in the sin-
                gular, not the plural. For example, a sizable number of studies examine
                the question whether capital punishment deters murder. Yet properly
                understood, the relevant question is the differential or marginal deter-
                rent effect of execution over the deterrent effect of other available or
                commonly used penalties. In this case the alternative penalty would be
                a lengthy prison sentence—sometimes life without the possibility of
                parole. Yet none of the capital punishment studies take account of dif-
                ferences across states and over time in the severity of noncapital pun-
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 255
                                    of 396




                204        Daniel S. Nagin

                ishments for murder (Nagin and Pepper 2012). Theories of deterrence
                that conceive of sanctions in the singular do not provide a conceptual
                basis for considering the differential deterrent effect of different types
                of sanction options. The empirical companion to this theoretical ex-
                pansion involves assembling the data required to measure sanction re-
                gimes. At least in the United States, such data are largely unavailable.
                   The fourth theoretical and empirical gap involves sanction risk per-
                ceptions, an issue that I emphasized in an earlier review of the deter-
                rence literature (Nagin 1998). Deterrence is the behavioral response
                to the perception of sanction threats. Establishing the link between
                risk perceptions and sanction regimes is imperative; the conclusion that
                crime decisions are affected by sanction risk perceptions is not sufﬁ-
                cient to conclude that policy can deter crime. Policy cannot directly
                manipulate perceptions. It can affect only the variety and severity of
                sanctions legally available in the sanction regime and the manner of
                their administration. Unless perceptions adjust, however crudely, to
                changes in the sanction regime, the desired deterrent effect will not be
                achieved.
                   Since the publication of Nagin (1998), valuable headway has been
                made in how the experience of apprehension or not following com-
                mission of a crime affects sanction risk perceptions. This research is
                valuable for speciﬁcation of a theory that combines the concepts of
                general and speciﬁc deterrence. However, it does not address how per-
                ceptions are formed about the two key dimensions of a sanction re-
                gime: the legal authority for different types of sanctions and how that
                authority is administered. Numerous surveys have been conducted of
                the general public’s knowledge of sanction regimes, especially con-
                cerning the legal authority for different types of sanctions (Apel 2013).
                Not surprisingly, the surveys ﬁnd that knowledge of sanction regimes
                is poor. However, the fundamental ﬂaw with these surveys is that
                knowledge of the potential legal consequences of lawbreaking is un-
                necessary for most people; their decisions to refrain from crime are
                based on the mere knowledge that the behavior is legally prohibited
                or for other nonlegal considerations such as morality or fear of social
                censure (Packer 1968; Zimring and Hawkins 1973; Andenaes 1974;
                Wikström et al. 2012). That said, for individuals for whom sanction
                threats might affect their behavior, it is preposterous to assume that
                their perceptions conform to the realities of the legally available sanc-
                tion options and their administration. More than a decade after my
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 256
                                    of 396




                                       Deterrence in the Twenty-First Century        205

                earlier review, it remains the case that little is known about how in-
                dividuals form perceptions of the sanction regimes they confront.
                   This essay is organized in the following sections. Key concepts of
                deterrence are discussed in Section I, where I also set out a simpliﬁed
                model of deterrence that is referred to throughout the essay. Section
                II provides a brief summary of the themes, conclusions, and ﬂaws of
                research on the deterrent effects of prison and the police up to about
                1990. In Section III, I summarize the evidence on the deterrent effects
                of capital punishment. I discuss the capital punishment literature sep-
                arately because of its distinctive features and salience. I then examine
                in Section IV post-1990 studies of the crime prevention effects of im-
                prisonment and in Section V post-1990s studies of the police effects
                on crime. Section VI discusses the survey-based literature on the ac-
                curacy of sanction risk perceptions, their formation, and their relation-
                ship to self-reported criminality. Section VII offers conclusions.


                            I. Key Concepts
                Deterrence is a theory of choice in which would-be offenders balance
                the beneﬁts and costs of crime. Beneﬁts may be pecuniary, as in the
                case of property crime, but may also involve intangible beneﬁts such
                as defending one’s honor, expressing outrage, demonstrating domi-
                nance, cementing a reputation, or seeking a thrill. The potential costs
                of crime are comparably varied. Crime can entail personal risk if the
                victim resists. It may also invoke pangs of conscience or shame (Braith-
                waite 1989). I am mainly concerned with offender responses to the
                costs that attend the imposition of ofﬁcial sanctions such as arrest,
                imprisonment, execution, ﬁnes, and other restrictions on freedom and
                liberty such as mandated drug testing or electronic monitoring.
                   The origins of most modern theories of deterrence can be traced to
                the work of the Enlightenment-era legal philosophers (Beccaria 1764;
                Bentham 1789). The motivation for their work was their mutual ab-
                horrence of the administration of punishment without constructive
                purpose. For them the constructive purpose was preventing crime. As
                Beccaria observed, “it is better to prevent crimes than punish them”
                ([1764] 1986, p. 93). Beccaria and Bentham argued that there are three
                key ingredients to the deterrence process: the severity, certainty, and
                celerity of punishment. These concepts, particularly the certainty and
                severity of punishment, form the foundation of nearly all contemporary
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 257
                                    of 396




                206          Daniel S. Nagin

                theories of deterrence. The enduring impact of their thinking is re-
                markable testimony to their innovation.
                   The theory of deterrence is predicated on the idea that if state-
                imposed sanction costs are sufﬁciently severe, criminal activity will be
                discouraged, at least for some. Thus, one of the key concepts of de-
                terrence is the severity of punishment. Severity alone, however, cannot
                deter. There must also be some possibility that the sanction will be
                incurred if the crime is committed. Indeed the argument that the prob-
                ability of punishment, not severity, is the more potent component of
                the deterrence process goes back to Beccaria, who observed that “one
                of the greatest curbs on crime is not the cruelty of punishments, but
                their infallibility. . . . The certainty of punishment even if moderate
                will always make a stronger impression” ([1764] 1986, p. 58).
                   In the lifetimes of Beccaria and Bentham there was no criminal jus-
                tice system as we know it. Punishment for lawbreaking was almost
                certainly less regular and more haphazard than it is today. Punishment
                in contemporary society, however, also still remains far from guaran-
                teed. In order for a formal sanction—whether moderate or severe—to
                be imposed, the offender must ﬁrst be apprehended, usually by the
                police.1 He must next be charged and successfully prosecuted and, ﬁ-
                nally, sentenced by the judge. Successful passage through all of these
                stages is far from certain. The most important set of actors affecting
                certainty is the police: without detection and apprehension, there is no
                possibility of conviction or punishment. For this reason special atten-
                tion is given to discussing what is known about the deterrent effect of
                police activities and presence.
                   The third conceptual component of the theory of deterrence ad-
                vanced by Bentham and Beccaria is the swiftness of punishment, which
                Bentham referred to as celerity. Celerity is the least studied of the
                conceptual troika underlying deterrence theory. The theoretical basis
                for its effect on deterrence is ambiguous, as is the empirical evidence
                on its effectiveness. Even Beccaria seemed to base his case for celerity
                more on normative considerations of just punishment than on deter-
                rence effectiveness. He observed that ‘‘the more promptly and the
                more closely punishment follows upon the commission of a crime, the
                more just and useful will it be. I say more just, because the criminal is

                  1
                    Crime may also be sanctioned entirely outside of the criminal justice system
                through retaliation by the victim or by others on his or her behalf ( Jacobs and Wright
                2006).
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 258
                                    of 396




                                        Deterrence in the Twenty-First Century          207

                thereby spared the useless and cruel torments of uncertainty, which
                increase with the vigor of imagination and with the sense of personal
                weakness’’ (Beccaria [1764] 1986, p. 36).
                   In 1968 economist Gary Becker published the ﬁrst modern formal-
                ization of the Beccaria-Bentham conception of the deterrence process
                (Becker 1968). Since then, other formalizations have appeared in eco-
                nomics, criminology, law, and sociology—some in the form of math-
                ematical models and others in the form of nonmathematical conceptual
                theories (Cornish and Clarke 1986).
                   For the purposes of this essay still another formalization is provided.
                I have two purposes. One is to provide a conceptual structure for fram-
                ing results that are well established in the literature. The second is
                more ambitious. I earlier indicated that the seemingly greater deterrent
                effect of certainty rather than severity of punishment reﬂected a re-
                sponse to the certainty of apprehension. In this regard, I distinguished
                two distinct functions of the police: apprehending the perpetrators of
                crime and serving in a sentinel function that deters crime from hap-
                pening in the ﬁrst place. The second purpose is to formalize this dis-
                tinction. In so doing I link situational crime prevention theory with
                deterrence theory.
                   Bentham’s conception of criminal choice involved the would-be of-
                fender balancing the potential pains of punishment against the plea-
                sures of the offense. In this spirit the model formalizes the decision of
                a would-be offender to victimize a potential criminal opportunity,
                whether that opportunity is a person in the form of a potential robbery
                victim or property that might be stolen or vandalized.
                   The choice model is depicted in ﬁgure 1. It distinguishes four pos-
                sible outcomes if the target is victimized: the criminal act is successfully
                completed, the act is not successfully completed and the perpetrator is
                not apprehended, the act is not successfully completed and the per-
                petrator is apprehended but not convicted, and the act is not success-
                fully completed and the perpetrator is both apprehended and con-
                victed. The probability of each of these outcomes is determined by the
                following probabilities.
                   Perceived Probability of Successful Completion of the Act. This proba-
                bility, which is denoted by Ps, measures the would-be offender’s per-
                ception of the chances the target can be successfully victimized. This
                perception will be affected by how effectively the opportunity is pro-
                tected. For property targets, the level of protection is determined by
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 259
                                    of 396




                208        Daniel S. Nagin




                                   FIG. 1.—The decision to victimize a target




                technological safeguards such as alarm and surveillance systems and
                use of physical protection such as locked showcases. For human targets,
                the protection level is affected by the care with which valuable property
                is secured, for example, by keeping it out of sight. Protection may also
                be provided by what Cohen and Felson (1979) call capable guardians
                such as security guards, vigilant employees, or onlookers who are will-
                ing to intervene. Importantly, the police may also serve as a guardian.
                I refer to police as acting as sentinels when acting in this role. An
                idling police car outside a liquor store greatly reduces the chance,
                probably to zero, that the store can be successfully robbed. This brings
                me to the risk of apprehension.
                   Perceived Probability of Apprehension Given Noncompletion. Police per-
                form another crime control function that is distinct from their role as
                ofﬁcial guardians. They apprehend those offenders who chose to act
                on a criminal opportunity. When acting in this role, police are de-
                scribed as “apprehension agents.” The sentinel and apprehension roles
                of the police are conceptually linked but distinct. They are conceptu-
                ally linked because both roles are based on the legal authority of the
                police to arrest persons suspected of committing a crime. Because a
                contributing factor to Ps is the risk of apprehension, arrest authority is
                one source of police inﬂuence on Ps in their sentinel role. However,
                the sentinel role of police is distinct from their apprehension role be-
                cause the latter comes into play only when deterrence has failed and a
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 260
                                    of 396




                                         Deterrence in the Twenty-First Century             209

                would-be offender becomes an actual offender. Thus, at one moment
                police can be functioning as a sentinel and in the next moment they
                can be acting as an apprehension agent. The would-be offender’s per-
                ception of the probability of apprehension given commission of the
                crime is denoted by Pa.
                   In this model I assume that the risk of apprehension is limited to
                acts that are not successfully completed. I make this assumption for
                several reasons. First, it is useful for clarifying the distinction between
                police acting as sentinels and police acting as apprehension agents.
                Second, it conforms to the seeming reality that most offenders are
                apprehended at the scene of the crime or soon thereafter. I say seeming
                because I have been able to identify only two studies (Greenwood,
                Chaiken, and Petersilia 1977; Blake and Coupe 2001) that report rel-
                evant data. Data reported in both support this assumption.
                   Perceived Probability of Conviction Given Apprehension. The offender’s
                perception of the probability that apprehension will actually result in
                conviction is denoted by PcFa.
                   Under this setup, the probability of successful completion is Ps, the
                probability of nonsuccessful completion but with apprehension avoid-
                ance is (1 ⫺ P)(1
                              s   ⫺ Pa ), the probability of nonsuccessful completion fol-
                lowed by apprehension but not conviction is (1 ⫺ P)(P    s   a )(1 ⫺ PcFa ), and
                the probability of nonsuccessful completion followed by apprehension
                and conviction is (1 ⫺ P)(Ps  a )(PcFa ).

                   The beneﬁts and costs of each of these outcomes are assumed to be
                determined by the following factors:

                • Rewards. Rewards measures the total beneﬁts of victimizing a target.
                  For a crime with a property motive, the value of the property to
                  the perpetrator likely accounts for all or a major share of the total
                  reward. However, the thrill of offending or—in the case of violent
                  crimes without a property motive—the satisfaction of humiliating,
                  physically hurting, or killing the victim may also be relevant to the
                  reward value of a target.
                • Crime commission cost. Crime commission cost measures the total
                  cost of committing the crime separate from the sanction cost de-
                  ﬁned below. Commission cost includes time searching for the op-
                  portunity, planning time, if any, and the effort required to commit
                  the crime itself. Importantly, it also includes the potential costs to
                  the perpetrator of victim retaliation or resistance. Finally, commis-
                  sion cost includes Raskolnikov-like feelings of guilt or shame that
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 261
                                    of 396




                210        Daniel S. Nagin

                  may affect the perpetrator, whether or not he is apprehended and
                  sanctioned.
                • Perceived formal sanction cost. Perceived sanction cost measures the
                  would-be perpetrator’s assessment of the formal sanction cost that
                  might be imposed if convicted. These costs include the loss of free-
                  dom if imprisoned and the unpleasantness of other restrictions on
                  freedom due to conditions of parole or probations and ﬁnes.
                • Perceived informal sanction cost. The imposition of formal sanctions
                  may also trigger informal sanctions by family, friends, and the com-
                  munity at large, which for some offenders may be even more costly
                  than the formal sanctions. Informal sanction cost may also involve
                  large economic costs due to job loss.
                • Perceived cost of apprehension. Apprehension imposes costs that are
                  distinct from formal and informal sanction costs. These include the
                  unpleasantness of the apprehension itself, possible loss of liberty due
                  to pretrial detention, and legal fees. Perceived cost of apprehension
                  also includes the social and economic costs triggered by arrest, even
                  without conviction, such as disapproval of family, friends, and the
                  community at large, as well as job loss.

                   At the end of each branch, ﬁgure 1 shows the costs that attend the
                various forms of an unsuccessful attempt or the beneﬁt of a successful
                attempt. If the individual chooses to act on a criminal opportunity, the
                beneﬁts and costs of the four possible outcomes and their attendant
                probabilities are as follows:

                  1. The offender successfully completes the criminal act. This oc-
                     curs with probability Ps, and the net beneﬁt to the offender is
                     reward less commission cost. Thus, the expected beneﬁt of vic-
                     timization is Ps(Reward ⫺ Commission Cost), which is denoted
                     as P(R
                          s  ⫺ CC ).
                  2. The offender is not successful and is not apprehended. This
                     occurs with probability (1 ⫺ P)(1
                                                    s    ⫺ Pa ) . The cost to the offender
                     is that much, or all, of the commission cost is incurred but with
                     no reward. For simplicity it is assumed that all of the commis-
                     sion cost is incurred. Thus, the contribution of this outcome to
                     expected cost is (1 ⫺ P)(1
                                             s   ⫺ Pa )(Commission Cost), which is de-
                     noted as (1 ⫺ P)(1
                                      s  ⫺  Pa )CC.
                  3. The offender is not successful and is apprehended but is not
                     convicted and formally sanctioned. This occurs with probability
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 262
                                    of 396




                                          Deterrence in the Twenty-First Century              211

                     (1 ⫺ P)(P
                             s    a )(1 ⫺ PaFc ). In this case the cost to the offender is com-

                     mission cost plus apprehension cost. Thus the contribution of
                     this outcome to expected cost is (1 ⫺ P)(P         s  a )(1 ⫺ PcFa )(Commis-
                     sion Cost ⫹ Apprehension Cost), which is denoted as (1 ⫺
                     P)(P
                      s   a )(1 ⫺ PcFa )(CC ⫹ AC ). Because, as already noted, most ap-

                     prehensions occur at the scene of the crime or shortly thereafter,
                     it is assumed that the perpetrator does not have the opportunity
                     to enjoy the rewards provided by the act.
                  4. The offender is not successful but is apprehended, convicted,
                     and formally sanctioned. This occurs with probability (1 ⫺
                     P)(P
                      s   a )(PcFa ). In this case the cost to the offender is commission
                     cost plus apprehension cost plus formal and informal sanction
                     cost. Thus, the contribution of this outcome to expected cost,
                     again assuming that the rewards are not enjoyed, is (1 ⫺
                     P)(P
                      s   a )[PcFa(Commission Cost ⫹ Apprehension Cost ⫹ Formal

                     Sanction ⫹ Informal Sanction Cost)], which is denoted as (1 ⫺
                          a )(PcFa )(CC ⫹ AC ⫹ FS ⫹ ISC ).
                                                                 2
                     P)(P
                      s


                   An arrow at the top of ﬁgure 1 highlights that the possible events
                depicted occur over time. Success or failure at completion is typically
                immediate, whereas the down tree events occur later, often months
                after the criminal event in the case of conviction and sentencing. I
                return to this observation in the discussion of the celerity of punish-
                ment.
                   It is assumed that the crime will be committed if the expected ben-
                eﬁts from a successful completion exceed the expected cost of an un-
                successful attempt, namely, if
                 P(R ⫺ CC ) 1 (1 ⫺ P)(1 ⫺ Pa )CC ⫹ (1 ⫺ P)(Pa )(1 ⫺ PcFa )(CC ⫹ AC )
                  s                 s                    s
                                                                                               (1)
                               ⫹ (1 ⫺ P)(P
                                       s  a )(PcFa )(CC ⫹ AC ⫹ FS ⫹ ISC ).

                An equivalent form of this relationship moves Ps on the left-hand side
                to the right-hand side, in which case the crime will be committed if

                       (R ⫺ CC ) 1   (1 ⫺P P) [(1 ⫺ P )CC ⫹ (P )(1 ⫺ P )(CC ⫹ AC ) (2)
                                          s
                                              s
                                                      a          a        cFa



                                    ⫹ (Pa )(PcFa )(CC ⫹ AC ⫹ FS ⫹ ISC )].
                  The left-hand side of equation (2) measures the net beneﬁts of com-

                  2
                    This model assumes that success precludes the possibility of subsequent appre-
                hension and the attendant risk of formal sanction.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 263
                                    of 396




                212            Daniel S. Nagin

                mitting the crime and the right-hand side measures the costs. Several
                observations about this relationship are relevant to the remainder of
                the discussion.
                   First, unless the net beneﬁt of crime commission is positive (i.e.,
                R ⫺ C 1 0),3 the offense will not be committed regardless of the formal
                and informal sanction costs speciﬁed on the right-hand side of equation
                (2). Particularly if commission cost is understood to include the shame
                of committing an act that involves taking another person’s property or
                doing violence to that person, for most people sanction costs are ir-
                relevant to the decision to refrain from crime. For example, Bachman,
                Paternoster, and Ward (1992) found in a study of sexual assault that
                sanction risk perceptions were relevant to self-reported intentions to
                offend only for the least morally committed. The absence of an effect
                for those with higher levels of moral commitment, however, should
                not be construed as their being impervious to incentives but to their
                moral commitment being a sufﬁcient basis for refraining from sexual
                assault.4 This elementary but fundamental point has been made re-
                peatedly in the discussion about to the degree to which sanction threats
                affect behavior among different individuals. See, for example, Zimring
                and Hawkins (1973) and more recently Piquero et al. (2011) and Wik-
                ström et al. (2012). I return to this point in the discussion of sanction
                risk perceptions and their inﬂuence on behavior in Section VI.
                   Second, the bottom three branches of the tree pertain to the con-
                sequences of failure to complete the crime. Commission cost contrib-
                utes to the total cost of all three of these branches, apprehension cost
                contributes to two of the three branches—apprehension with and with-
                out conviction—and informal and formal sanction costs contribute
                only to the ﬁnal branch, apprehension with conviction. This implies
                that increases in perceived commission cost will have a greater deter-
                rent effect than equal increases in either perceived apprehension cost
                or perceived formal and informal sanction costs. In turn the structure
                of the tree implies that increases in apprehension cost will have a
                greater deterrent effect than equal increases in either formal or infor-
                mal sanction cost. This observation helps to explain the longstanding
                conclusion from the perceptual deterrence literature that shame, a key
                component of commission cost and apprehension cost, plays a more

                  3
                      Rewards and commission cost may also be affected by risk preferences.
                  4
                    Knowledge of potential punishment may also reinforce a normative sense of wrong-
                fulness.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 264
                                    of 396




                                       Deterrence in the Twenty-First Century         213

                decisive role in the deterrence process than sanction cost. This issue
                is discussed further in Section III. It also explains the seeming effec-
                tiveness of situational crime prevention tactics, a topic I allude to in
                Section V.
                   Third, the structure of the tree also implies that decreases in Ps will
                have larger deterrent effects than equal-sized increases in either Pa or
                PsFa and that increases in Pa will have a bigger deterrent impact than an
                equal increase in PsFa. This observation is consistent with the longstand-
                ing belief dating back to Beccaria that the certainty of punishment is
                a more effective deterrent than the severity of punishment. However,
                I earlier noted that the evidence suggests that a more precise statement
                of the certainty conclusion pertains to the certainty of apprehension.
                The decision model laid out here provides a still more precise state-
                ment of that conclusion. Decreases in Ps provide more effective deter-
                rence than equal increases in Pa. Concerning the distinction between
                police serving as sentinels or as apprehension agents, when serving in
                their role as sentinels, they affect Ps, whereas when serving as appre-
                hension agents, they affect Pa. This implies that the sentinel role of
                policing is more effective in deterring crime than their apprehension
                agent role. This observation is relevant to the discussion in Section V
                of the varying ﬁndings on police effectiveness in preventing crime.


                            II. Deterrence Research to the 1990s
                Empirically based deterrence research began in earnest in the late
                1960s. There were three major instigators. One was technological: the
                growing availability of computers and statistical software for analyzing
                crime data, which were also growing in availability. The second was
                social: the steady growth of crime rates during the 1960s. The third
                was intellectual, especially within economics, with the publication in
                1968 of Becker’s seminal article “Crime and Punishment: An Eco-
                nomic Approach.”
                   Deterrence studies up to the 1990s are usefully grouped into three
                categories: experimental and quasi-experimental studies, aggregate
                studies, and perceptual deterrence studies. My 1998 Crime and Justice
                review provided an extended discussion of the three types of studies
                (Nagin 1998). This section summarizes conclusions of the experimental
                and quasi-experimental studies and aggregate studies of this research
                era that are most relevant to this review. Because of the persistence of
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 265
                                    of 396




                214         Daniel S. Nagin

                themes in the pre- and post-1990s perceptual deterrence research and
                the continuity of the research methods used, I discuss this body of
                research without reference to era in Section VI.

                A. Experimental and Quasi-Experimental Studies
                   This category of studies examines the effect of targeted policy in-
                terventions such as police crackdowns or implementation of statutes
                changing penalties. In the experimental studies the intervention and
                control treatments are randomly assigned. A classic example is the
                Minneapolis Domestic Violence Experiment (Sherman and Berk 1984)
                in which police responded to misdemeanor incidents of domestic vi-
                olence with one of three randomly chosen responses. The arrest re-
                sponse was found to be most effective in preventing recidivism, but as
                discussed in Section V, this ﬁnding was not consistent across replica-
                tions of the experiment in other localities.
                   True experiments, however, compose only a small fraction of the
                studies in this category. Most are quasi experiments. The best-designed
                quasi-experimental studies attempt to incorporate important features
                of a true experiment: a well-deﬁned treatment regime, measurement
                of response before and after treatment, and a control group. Two clas-
                sic studies of this genre are Ross’s studies of the effects on drunk driv-
                ing of the British Road Safety Act (Ross 1973) and of Scandinavian-
                style drunk driving laws. Most studies in this group examine the effects
                of police crackdowns on drug markets, disorderly behavior, and drunk
                driving. Excellent reviews of these studies are available in Sherman
                (1990) and Ross (1982). Both Sherman and Ross conclude that the
                interventions were generally successful in generating an initial deter-
                rent effect. For instance, in drunk-driving interventions, this was evi-
                denced by a reduction in fatalities in which the driver was intoxicated
                or in drug market crackdowns by reduced dealing. However, they also
                concluded that the effect was generally only transitory: the initial de-
                terrent effect typically began decaying even while the intervention was
                in effect. One exception to this ﬁnding of at least initial deterrent ef-
                fectiveness concerned studies of increases in sentence severity. Ross
                (1982) discusses the ineffectiveness of severity enhancements in three
                very different places: Finland, Chicago, and New South Wales, Aus-
                tralia. Evidence even of an initial effect is less consistent than in studies
                of interventions that increased the certainty of apprehension.
                   I take away three important lessons from this literature. First, the
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 266
                                    of 396




                                       Deterrence in the Twenty-First Century         215

                generally more consistent ﬁndings of initial effectiveness in the appre-
                hension-based interventions, compared to the severity-based interven-
                tions, provide more evidence in support for my modiﬁed version of
                the certainty effect, namely, that certainty of apprehension is a more
                effective deterrent than the severity of the ensuing legal consequences,
                but with an important proviso. Ross (1982) attributed the ineffective-
                ness of severity-enhancing policies to the fact that they trigger a system
                response that reduced certainty of punishment. He pointed out that if
                judges or juries believed the penalties too harsh, they may have re-
                sponded by refusing to convict guilty defendants. Police and prose-
                cutors may respond similarly. Thus, any potential deterrent effect of
                the severity enhancement may be canceled by the reduction in cer-
                tainty. This result is a reminder not only of the difﬁculty of enforcing
                penalties that are deemed unjust but also that certainty and severity do
                not operate independently—they interact. Tonry (2009) forcefully elab-
                orates on many of these points.
                   Second, Sherman (1990) offers useful nomenclature for describing
                the ﬁnding of only transitory effects. He uses the term “initial deter-
                rence decay” to describe the decline in the deterrent response as “po-
                tential offenders learn through trial and error that they had overesti-
                mated the certainty of getting caught at the beginning of the
                crackdown” and “residual deterrence,” which is a crime suppression
                effect that extends beyond the intervention until offenders learn by
                experience or word of mouth that “it is once again ‘safe’ to offend” (p.
                10). Sherman’s observations are a reminder that deterrence is a per-
                ceptual phenomenon. In Sherman (1990) and Nagin (1998), we both
                discuss the decay of initial deterrence as a possible response to what
                behavioral economists call ambiguity aversion. People consistently pre-
                fer gambles in which the risks are clearly comprehensible compared to
                equivalent gambles in which the risks are less transparent. Initial de-
                terrence may be a response to perceptions of uncertainty about true
                risk rather than to any change in the true risk of apprehension. Thus,
                unless policy can affect perceptions, there will be no behavioral re-
                sponse. It is also a reminder that perceptions may be updated in re-
                sponse to cues from the environment and therefore will not necessarily
                be stable. I return to this important issue in the discussion of the per-
                ceptions studies in Section VI.
                   Third, the ﬁndings from these studies have stood the test of time.
                In my judgment, well-conducted experimental and quasi-experimental
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 267
                                    of 396




                216        Daniel S. Nagin

                studies of deterrence provide the most convincing evidence of the cir-
                cumstances under which deterrence is and is not effective. This holds
                for both the post-1990s and the pre-1990s literatures.


                B. Aggregate Studies
                   The pre-1990s aggregate studies generally analyzed the association
                of crime rates across geographic units, usually states, with measures of
                the certainty and severity of punishment. The most basic form of these
                analyses involved bivariate correlations across states of crimes rates for
                the crime categories composing the FBI part I crime index (e.g., mur-
                der and nonnegligent homicide, robbery, burglary) with certainty of
                punishment, measured by prison admissions per reported crime, and
                severity of punishment, measured by median time served. More elab-
                orate analyses were conducted in a regression format. These analyses
                added various state characteristics known to be correlated with crime
                (e.g., age and racial composition, urbanization) to the base regression
                model relating crime rate to the certainty and severity measures. Neg-
                ative and signiﬁcant associations were generally found between the
                crime rate and the certainty of imprisonment ratio. The association of
                time served with the crime rate was generally insigniﬁcant.
                   Reviews of these studies, including a high-visibility National Re-
                search Council (NRC) report (Blumstein, Cohen, and Nagin 1978),
                concluded that the aggregate studies suffered from such grave ﬂaws
                that they did not provide a basis for valid inference about deterrent
                effects. Two ﬂaws are particularly noteworthy because they remain rel-
                evant to the interpretation of a successor strand of post-1990 aggregate
                studies discussed in Section IV. The ﬁrst is that the associations do not
                distinguish the behavioral response to sanction threats, deterrence,
                from incapacitation. The second is more fundamental—distinguishing
                cause from effect. All forms of nonexperimental data are vulnerable to
                the criticism that the outcome of interest, in this case the crime rate,
                is the cause of the predictor of interest, in this case sanctions, and not
                vice versa. High crime rates, for example, might prompt a police crack-
                down followed by crime rates declining for other reasons. Cross-polity
                studies of natural variations in crime rates and sanction levels are par-
                ticularly vulnerable to this concern because there is generally no basis
                for assessing whether the variations in sanction levels are the result of
                factors independent of the crime rate. By contrast, for quasi-experi-
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 268
                                    of 396




                                       Deterrence in the Twenty-First Century       217

                mental studies, institutional research can reveal whether the interven-
                tion was prompted by rising crime rates.


                            III. Capital Punishment
                Studies of the deterrent effect of capital punishment have been and
                continue to be the source of bitter contention. Isaac Ehrlich’s 1975
                study, in which he concluded that each execution averted seven to eight
                homicides, is undoubtedly the most-cited study of this kind. The 1978
                NRC report (Blumstein, Cohen, and Nagin 1978) and an accompa-
                nying commissioned paper (Klein, Forst, and Filatov 1978) laid out a
                lengthy list of criticisms of the Ehrlich analysis. The NRC report con-
                cluded that “available studies [including Ehrlich’s] provide no useful
                evidence on the deterrent effect of capital punishment” (p. 9).
                   Coincidentally, that report was issued shortly after the 1976 Supreme
                Court decision Gregg v. Georgia ended the moratorium on execution
                in the United States. In the 35 years since publication of the 1978
                report, and more especially in recent years, a considerable number of
                post-Gregg studies have attempted to estimate the effect of the legal
                status or the actual implementation of the death penalty on homicide
                rates. These studies have reached widely varying conclusions and have
                resulted in often bitter disagreement about their interpretation.
                   This more recent literature has been the subject of still another
                NRC report titled Deterrence and the Death Penalty, which I coedited
                (Nagin and Pepper 2012), as well as two reviews of the literature com-
                missioned by the NRC committee (Chalﬁn, Haviland, and Raphael
                2013; Charles and Durlauf 2013) and two valuable reviews by Donohue
                and Wolfers (2005, 2009). The NRC report and all of the reviews are
                highly critical of the post-Gregg research. The report concluded, “Re-
                search to date on the effect of capital punishment on homicide is not
                informative about whether capital punishment decreases, increases, or
                has no effect on homicide rates. Therefore, the Committee recom-
                mends that these studies not be used to inform deliberations requiring
                judgments about the effect of the death penalty on homicide. Conse-
                quently, claims that research demonstrates that capital punishment de-
                creases or increases the homicide rate by a speciﬁed amount or has no
                effect on the homicide rate should not inﬂuence policy judgments
                about capital punishment” (Nagin and Pepper 2012, p. 3).
                   The NRC report leveled two key criticisms of the post-Gregg capital
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 269
                                    of 396




                218        Daniel S. Nagin

                punishment deterrence research that transcend the high-proﬁle but
                still narrow issue of the deterrent effect of capital punishment. They
                also apply to studies of the deterrent effect of other forms of sanction—
                prison, ﬁnes, and community control—that form the backbone of con-
                temporary sanction policy in the United States and most other coun-
                tries.
                   One criticism concerned the incomplete speciﬁcation of the sanction
                regime for homicide. Even for capital-eligible convictions for homi-
                cide, only a minority of cases result in a sentence of death, let alone
                an execution (Nagin and Pepper 2012). This is true even for states
                such as Texas and Virginia that make the most intense use of capital
                punishment. Instead, most homicides result in a lengthy prison sen-
                tence, sometimes life without parole. A study by Cook (2009) illustrates
                this point. Of 274 cases prosecuted as capital cases, only 11 resulted in
                a death sentence. Another 42 resulted in dismissal or a verdict of not
                guilty, which left 221 cases resulting in conviction and sentences to a
                noncapital sanction.
                   None of the post-Gregg studies take into account the noncapital
                component of the sanction regime. As discussed in Nagin and Pepper
                (2012) and Chalﬁn, Haviland, and Raphael (2013), there are sound
                reasons for expecting that the severity of the noncapital sanctions for
                homicide varies systematically with the availability and the intensity of
                use of capital punishment. For example, the political culture of a state
                may affect the frequency of use of capital punishment and also the
                severity of noncapital sanctions for homicide. Thus, any effect that
                these noncapital sanctions have on homicide may contaminate the es-
                timated effect of capital punishment on homicide. In capital punish-
                ment studies the potential for such bias is particularly strong because,
                as noted, noncapital sanctions remain the dominant sanction response
                to capital-eligible murders, even in states that make the most intense
                use of capital punishment.
                   Homicide is not the only criminal offense punishable by a range of
                qualitatively different sanction alternatives. Indeed the sanction re-
                gimes for most other criminal offenses, even felonies, include more
                than one sanction option for their punishment. This point is returned
                to in Section IV.
                   A second key criticism elaborated in the NRC report concerned the
                speciﬁcation of perceptions of the capital punishment component of
                the sanction regime. Studies typically suppose that people who are con-
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 270
                                    of 396




                                       Deterrence in the Twenty-First Century        219

                templating murder perceive sanction risks as subjective probabilities of
                arrest, conviction, and execution. Lacking data on these subjective
                probabilities, researchers presume that they are somehow based on the
                observable frequencies of arrest, conviction, and execution.
                   The report concluded that several factors made the attempts by the
                panel studies to specify the capital component of state sanction regimes
                uninterpretable. First, the ﬁndings are very sensitive to the way in
                which the risk of execution is speciﬁed. For example, because of delays
                between the imposition of a death sentence and its being carried out,
                if ever, researchers routinely computed ratios in which the numerator
                was the number of executions in a given state and year divided by the
                number of death sentences imposed in that state in some prior year.
                Results are very sensitive to how that ratio is computed (Chalﬁn, Hav-
                iland, and Raphael 2013), and there is no logical basis for resolving
                disagreements about how the true risk of execution should be mea-
                sured. Among the difﬁculties is that only 15 percent of those sentenced
                to death in the United States since 1977 have been executed, with close
                to 40 percent leaving death row for other reasons (vacated sentences
                or convictions, commutations, a successful appeal, or death by other
                causes) and 45 percent still awaiting execution (Snell 2010). Available
                information for calculating the risk depends on the size of the state:
                for large states such as Texas and California, there are far more data
                for calibrating risk than for small states such as Delaware and Montana.
                Further complicating matters, policies can change as a result of court
                decisions and administrative decrees of elected ofﬁcials. This unpre-
                dictability calls into question the usefulness of prior data on the death
                penalty when calculating present and future risk. Because none of the
                measures used has any clear relationship with the correct measure,
                there is no reasoned basis for arbitrating competing claims about which
                study provides the better estimate of the deterrent effect of the death
                penalty.
                   Even if it were possible to judge which measure more closely cor-
                responds to true risk, there is no evidence that the perceptions of po-
                tential murderers correspond to this risk. The above discussion con-
                cerns only one aspect of sanction regime, the risk of execution given
                conviction. Other relevant dimensions of the sanction regime are the
                risk of conviction given commission of a murder and the certainty and
                severity of the noncapital component alternatives to the death penalty.
                The assumption that potential murderers have accurate perceptions of
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 271
                                    of 396




                220        Daniel S. Nagin

                these risks and consequences is not credible: indeed it is preposterous.
                I return to the issue of sanction risk perceptions in Section VI.


                            IV. Imprisonment and Crime
                There have been two distinct waves of aggregate studies of the rela-
                tionship between imprisonment and crime. Studies in the 1960s and
                1970s described in Section II examined associations of state-level crime
                rates to state-level certainty of punishment, measured by the ratio of
                prison admissions to reported crimes, and to state-level severity of pun-
                ishment as measured by median time served. These studies suffered
                from fundamental deﬁciencies laid out in the 1978 NRC report (Blum-
                stein, Cohen, and Nagin 1978) and elsewhere. As a consequence,
                aggregate-level deterrence research went largely “silent” for more than
                a decade.

                A. Post-1990s Aggregate Studies
                   By the mid-1990s, a second generation of studies emerged. Unlike
                the ﬁrst-generation studies, which primarily involved cross-sectional
                analyses of states, second-generation studies had a longitudinal com-
                ponent in which data were analyzed across states and over time. An-
                other important difference in the second-generation studies is that they
                did not attempt to estimate certainty and severity effects separately.
                Instead they examined the relationship between the crime rate and the
                rate of imprisonment as measured by prisoners per capita.
                   A review by Donohue (2009) identiﬁes six studies of the relationship
                of crime rates to imprisonment rates. All ﬁnd statistically signiﬁcant
                negative associations between imprisonment rates and crime rates, im-
                plying a crime prevention effect for imprisonment. However, the mag-
                nitude of the estimate varied widely: from nil for a study that allowed
                for the possibility that prevention effects decline as the scale of im-
                prisonment increases (Liedka, Piehl, and Useem 2006) to ⫺0.4 percent
                for each 1 percent increase in the imprisonment rate (Spelman 2000).
                   Apel and Nagin (2009), Donohue (2009), and Durlauf and Nagin
                (2011a, 2011b) discuss important ﬂaws in these studies. One is that
                they are necessarily measuring the combined effect of deterrence and
                incapacitation on crime rates and thus cannot be interpreted as mea-
                suring the deterrent effect of imprisonment. At best they can be said
                to estimate the upper bound of that effect.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 272
                                    of 396




                                        Deterrence in the Twenty-First Century         221

                   Other shortcomings are even more fundamental. One concerns the
                same fundamental ﬂaw of the ﬁrst-generation studies—distinguishing
                cause from effect. While imprisonment prevents crime through a com-
                bination of deterrence and incapacitation, crime also generates the
                prison population. The object of interest is the effect of the impris-
                onment rate on the crime rate, but data available for estimation of that
                effect also reﬂect the effect of the crime rate on the imprisonment rate.
                Thus, statistical isolation of the crime prevention effect requires prop-
                erly accounting for the effect of crime on imprisonment.
                   The shortcomings in the statistical strategies used in these studies
                to identify the crime prevention effect of imprisonment are discussed
                at length in Durlauf and Nagin (2011a, 2011b). To summarize, with
                the exception of Levitt (1996) and Johnson and Raphael (2012), the
                conclusions of the studies rest on a form of statistical analysis pioneered
                by the Nobel laureate Clive Granger (1969). Granger’s method is often
                mistakenly interpreted as providing estimates with a causal interpre-
                tation, which in the context of the aggregate imprisonment studies
                would be the expected change in the crime rate resulting from a policy
                that changes the imprisonment rate by a speciﬁed amount. In fact, the
                results are not in general amenable to this interpretation. Instead, ap-
                plication of Granger’s method provides only a basis for forecasting
                future changes in the crime rate as a function of prior changes in the
                imprisonment rate and the crime rate. While valid forecasts can be
                based on correlations alone, valid causal interpretation requires more
                than establishing correlation.
                   Figure 2 illustrates the problem. Panel A depicts hypothetical
                crime and imprisonment functions. The crime function C(I ) describes
                the crime rate as a function of the imprisonment rate, I, and the
                imprisonment function I(C ) measures the imprisonment rate as a
                function of the crime rate, C. The function C(I ) is shown to be down-
                ward sloping in I to reﬂect the crime reduction effects of imprison-
                ment via some combination of deterrence and incapacitation. Studies
                of the relationship of the crime rate to the imprisonment rate aim to
                measure whether this line is in fact downward sloping and, if so, by
                how much. The function I(C ) is depicted as upward sloping because
                for any ﬁxed set of policies determining the certainty and severity of
                punishment, imprisonment rates will be a rising function of the crime
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 273
                                    of 396




                                                Pa nel A
                                                         l (C}
                   C




                                                  lo
                                                Pa nel B
                                                           l (C} fo r Z 1
                                                                          l (C} fo r Z 2
                   C3

                   C2    L--+-----t-�,,r                                               l (C} fo r Z3

                   (1


                                                  I1             12        13
                                                Pa nel C




                 FIG. 2.—The challenge of identifying the effect of the imprisonment rate on the crime rate
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 274
                                    of 396




                                           Deterrence in the Twenty-First Century                223

                rate.5 The intersection of the C(I ) and I(C ) functions at I 0 and C0
                measures the observed level of crime and imprisonment.
                   Crime rates and imprisonment rates are, of course, affected by a
                multitude of other factors beyond their mutual interaction as depicted
                in panel A. The key to estimating C(I ) is identifying some factor, called
                an instrumental variable (IV), that is thought to affect the imprison-
                ment rate but that affects the crime rate only via its effect on shifting
                the location of imprisonment rate function. Suppose that such an IV
                were identiﬁed and denoted by z. Panel B demonstrates how changing
                values of z from z1 to z 2 to z 3 shifts the I(C ) function and, in so doing,
                traces out the C(I ) function. Connecting the points (I1, C1), (I2, C2),
                and (I3, C3) estimates C(I ). In this fashion, IV regression models can
                be said to identify C(I ) and thereby the crime reduction effect of the
                imprisonment rate on the crime rate. However, the key to IV regres-
                sion successfully isolating this effect is that C(I ) is not directly affected
                by z. Panel C illustrates the failure of this assumption. If z also shifts
                C(I ), the changing equilibrium values of the imprisonment rate and
                crime rate no longer trace out the C(I ) function.
                   Only Levitt (1996) and Johnson and Raphael (2012) use an IV re-
                gression approach to identify the causal effect of imprisonment on
                crime. Levitt uses court-ordered prison releases to form a set of IVs.
                He argues that such court orders meet the test for providing a valid
                estimate of the effect of the imprisonment rate on the crime rate: the
                orders have no direct effect on the crime rate and affect it only insofar
                as the court orders affect the imprisonment rate, which in turn affects
                the crime rate.
                   Even if one accepts this argument, the estimated effect has only
                limited policy value. By its construction, it is likely measuring the effect
                on crime of the early release of selected prisoners, probably those near-
                ing the end of their sentenced terms. It may also be reﬂecting the effect
                of diversion of individuals convicted of less serious crimes either to
                local jails or to community supervision. In either case, the estimates
                are not informative about the crime prevention effects, whether by
                deterrence or incapacitation, of sentence enhancements related to the

                   5
                     As in the entire imprisonment and crime literature, I too assume that sanction
                policies are unaffected by either the crime rate or the imprisonment rate. This is not
                a tenable assumption. However, all the points I make in the ensuing discussion would
                continue to hold if the model were generalized to allow sanction policy to be affected
                by crime rates and imprisonment rates.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 275
                                    of 396




                224        Daniel S. Nagin

                manner in which a crime is committed (e.g., weapon use), the char-
                acteristics of the perpetrator (e.g., prior record), or policies affecting
                the likelihood of incarceration. More generally, the uncertainty about
                what is actually being measured inherently limits the value of the es-
                timated effects for both policy and social science.
                   A more recent study by Johnson and Raphael (2012) is based on a
                technically complex IV regression model. Identiﬁcation is based on the
                assumption that prison populations do not change instantaneously in
                response to changes in the size of the criminal population. Similarly
                to the non-IV-based analysis of Liedka, Piehl, and Useem (2006), John-
                son and Raphael conclude that the crime prevention effect of impris-
                onment has diminished with the scale of imprisonment, which was
                rising steadily over the period of their analysis, 1978–2004.
                   One explanation for the Johnson and Raphael ﬁnding is that the
                states and the federal government over this period collectively imple-
                mented policies with steadily declining average deterrent effectiveness.
                Given that knowledge of the deterrent effectiveness of alternative sanc-
                tion policies is so limited, this explanation is not credible. An alter-
                native explanation involving incapacitation is more credible. If the
                crime reduction effect of incarceration primarily stems from incapac-
                itation, the Johnson and Raphael ﬁnding is consistent with the concept
                of “stochastic selectivity” (Canela-Cacho, Blumstein, and Cohen 1997),
                whereby high-rate offenders are more likely to be apprehended and
                incarcerated than low-rate offenders. Thus, as the scale of imprison-
                ment increases, higher-rate offenders will be less likely to be at large
                committing crimes. Johnson and Raphael’s ﬁnding is replicated by Vol-
                laard (2013) in an analysis of the Netherlands’ Habitual Offender Law.
                Vollaard attributes the entirety of the crime prevention effect that he
                estimates to incapacitation. Also of note, Owens (2009) in her analysis
                of 2003 data from Maryland ﬁnds modest incapacitation effects.
                   The incapacitation interpretation of the Johnson and Raphael ﬁnd-
                ing of decreasing crime prevention returns with the scale of impris-
                onment is more credible than the deterrence interpretation. This in-
                terpretation also implies that the study is not useful for learning about
                deterrence. However, even the incapacitation interpretation is cast in
                doubt by the aging of the US prison population. Between 1991 and
                2010, the percentage of prisoners in state and federal prisons over 45
                years old has nearly tripled from 10.6 percent to 27.4 percent (Bureau
                of Justice Statistics 1999, 2011). Thus, the seeming decline in the in-
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 276
                                    of 396




                                       Deterrence in the Twenty-First Century         225

                capacitative effectiveness of prison with scale may be reﬂecting only
                the aging of the prison population, which coincides with rising im-
                prisonment rates. Further complicating the decreasing returns inter-
                pretation is the changing composition of the prison population in
                terms of the composition of prisoner conviction offense. Over the past
                four decades, the percentage of prisoners incarcerated for non–part I
                FBI index crimes has increased substantially (Blumstein and Beck 1999,
                2005). Thus, the reduction in crime prevention effectiveness may be
                due to the types of prisoners incarcerated, not to scale effects.
                   All of these studies, whether IV based or not, also suffer from an
                important conceptual ﬂaw that limits their usefulness in understanding
                deterrence and devising crime control policy. Prison population is not
                a policy variable per se; rather, it is an outcome of sanction policies
                dictating who goes to prison and for how long, namely, the certainty
                and severity of punishment. In all incentive-based theories of criminal
                behavior, in the tradition of Bentham and Beccaria, the deterrence re-
                sponse to sanction threats is posed in terms of the certainty and severity
                of punishment, not in terms of the imprisonment rate. Therefore, to
                predict how changes in certainty and severity might affect the crime
                rate requires knowledge of the relationship of the crime rate to cer-
                tainty and severity as separate entities, which is not provided by the
                literature that analyzes the relationship of the crime rate to the im-
                prisonment rate.
                   The studies are also conducted at a too-global level. In Nagin (1998),
                I describe the two-dimensional taxonomy of sanction policies affecting
                the scale of imprisonment. One dimension labeled “type” distinguishes
                three broad categories: policies regulating certainty of punishment such
                as laws requiring mandatory imprisonment, policies inﬂuencing sen-
                tence length such as determinate sentencing laws, and policies regu-
                lating parole powers. The second dimension of the taxonomy, “scope,”
                distinguishes policies that cast a wide net, such as a general escalation
                of penalties for broad categories of crime, compared to policies that
                focus on targeted offenses (e.g., drug dealing) or offenders (e.g., three-
                strikes laws).
                   The nearly 500 percent growth in prison population over the last
                two decades is attributable to a combination of policies belonging to
                all cells of this matrix. Parole powers have been greatly curtailed; sen-
                tence lengths increased, both in general and for particular crimes (e.g.,
                drug dealing); and judicial discretion to impose nonincarcerative sanc-
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 277
                                    of 396




                226        Daniel S. Nagin

                tions has been reduced (Tonry 1996; Blumstein and Beck 1999, 2005;
                Raphael and Stoll 2009). Consequently, any effect on the crime rate of
                the increase in prison population reﬂects the effects of an amalgam of
                potentially interacting treatments.
                   There are good reasons for predicting differences in the crime re-
                duction effects of different types of sanctions (e.g., mandatory mini-
                mums for repeat offenders vs. prison diversion programs for ﬁrst-time
                offenders). Obvious sources of heterogeneity in offender response in-
                clude factors such as prior contact with the criminal justice system,
                demographic characteristics, and the mechanism by which sanction
                threats are communicated to their intended audience. Indeed, available
                evidence on the deterrent effect of sentence enhancements, the next
                topic of discussion, demonstrates such heterogeneity.

                B. Policy Evaluation Studies of Sentence Enhancements
                   There have been comparatively few studies of the deterrent effects
                of sentence enhancements, judged relative to their importance in con-
                temporary crime control policy. The earliest post-1970s attempts to
                measure severity effects analyzed the deterrent impact of sentence en-
                hancements for gun crimes. In a series of studies, Loftin, McDowell,
                and colleagues (Loftin and McDowall 1981, 1984; Loftin, Heumann,
                and McDowall 1983) examined whether sentence enhancements for
                gun use in committing another type of crime such as robbery deter
                gun use in the commission of crime. While the ﬁndings are mixed,
                this body of research has generally failed to uncover evidence of a
                deterrent effect (but see McDowall, Loftin, and Wiersema 1992).
                   However, one important caveat remains with respect to extrapolating
                these studies to understanding the link between deterrence and sever-
                ity. The same literature that found that gun penalty enhancements
                were ineffective also found that these laws generally failed to increase
                the sentences actually received in gun-related crime prosecutions.
                Thus, gun-using criminals may not have responded because the real
                incentives were not changed. This again is a reminder of Tonry’s (2009)
                commentary on the highly inconsistent administration of mandatory
                minimum sentencing.
                   Kessler and Levitt (1999) examine the deterrent impact of another
                California sentence enhancement law, Proposition 8, passed in 1982.
                Proposition 8 anticipated the three-strikes laws passed by many states
                in the 1990s. They estimate a 4 percent decline in crime attributable
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 278
                                    of 396




                                          Deterrence in the Twenty-First Century               227

                to deterrence in the ﬁrst year after enactment. Within 5–7 years, the
                effect grows to a 20 percent reduction. As acknowledged by Kessler
                and Levitt, the longer term estimate includes incapacitation effects.
                   Webster, Doob, and Zimring (2006) challenged the basic ﬁnding of
                any preventive effects. Kessler and Levitt examine data from every
                other year. When all annual data are used, Webster, Doob, and Zim-
                ring ﬁnd that the decline in crime rates in the affected categories begins
                before Proposition 8’s enactment, and the slope of this trend remains
                constant through implementation. But see Levitt (2006) for a response
                and commentary supporting Webster et al. by Raphael (2006).
                   One exception to the scarcity of studies on the crime prevention
                effects of sentence enhancements concerns analyses of the deterrent
                effect of California’s “three strikes, you’re out” law, which mandated a
                minimum sentence of 25 years upon conviction for a third-strike of-
                fense. Zimring, Hawkins, and Kamin (2001) concluded that the law
                reduced the felony crime rate by at most 2 percent. They also conclude
                that only those individuals with two convictions for two offenses qual-
                ifying as “strikes” showed any indication of reduced offending. Other
                studies by Stolzenberg and D’Alessio (1997) and Greenwood and
                Hawken (2002), who like Zimring, Hawkins, and Kamin (2001) ex-
                amine before and after trends, conclude that the crime prevention ef-
                fects were negligible.
                   I turn now to six studies that in my judgment report particularly
                convincing evidence on the deterrent effect of incarceration. They also
                nicely illustrate heterogeneity in the deterrence response to the threat
                of imprisonment.6 Weisburd, Einat, and Kowalski (2008) and Hawken
                and Kleiman (2009) study the use of imprisonment to enforce ﬁne
                payment and conditions of probation, respectively, and ﬁnd substantial
                deterrent effects; Helland and Tabarrok (2007) analyze the deterrent
                effect of California’s third-strike provision and ﬁnd a modest deterrent
                effect; Raphael and Ludwig (2003) examine the deterrent effect of
                prison sentence enhancements for gun crimes and ﬁnd no effect; and
                Hjalmarsson (2009) and Lee and McCrary (2009) examine the height-
                ened threat of imprisonment that attends coming under the jurisdiction
                of the adult courts at the age of majority and ﬁnd no deterrent effect.
                   Weisburd, Einat, and Kowalski (2008) report on a randomized ﬁeld

                  6
                    For further discussion of heterogeneity in deterrence response, see Paternoster
                (2010) and Piquero et al. (2011).
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 279
                                    of 396




                228        Daniel S. Nagin

                trial of alternative strategies for incentivizing the payment of court-
                ordered ﬁnes. The most salient ﬁnding involves the “miracle of the
                cells,” namely, that the imminent threat of incarceration provides a
                powerful incentive to pay delinquent ﬁnes, even when the incarceration
                is for only a short period. The miracle of the cells provides a valuable
                perspective on the conclusion that the certainty, rather than the sever-
                ity, of punishment is the more powerful deterrent. Consistent with the
                “certainty principle,” the common feature of treatment conditions in-
                volving incarceration is a high certainty of imprisonment for failure to
                pay the ﬁne. However, that Weisburd et al. label the response the
                “miracle of the cells” and not the “miracle of certainty” is telling. Their
                choice of label is a reminder that certainty must result in a distasteful
                consequence in order for it to be a deterrent. The consequences need
                not be draconian, just sufﬁciently costly, to deter the proscribed be-
                havior.
                   The deterrence strategy of certain but nondraconian sanctions has
                been applied with apparently great success in Project HOPE, an in-
                tervention heralded in Hawken and Kleiman (2009), Kleiman (2009),
                and Hawken (2010). Project HOPE is a Hawaii-based probation en-
                forcement program. In a randomized experiment, probationers as-
                signed to Project HOPE had much lower rates of positive drug tests
                and missed appointments and—most importantly—were signiﬁcantly
                less likely to be arrested and imprisoned. The cornerstone of the
                HOPE intervention was regular drug testing, including random tests,
                and certain but short punishment periods of conﬁnement (e.g., 1–2
                days) for positive drug tests or other violation of conditions of pro-
                bation. Thus, both the Weisburd, Einat, and Kowalski (2008) ﬁne ex-
                periment and Project HOPE show that highly certain punishment can
                be an effective deterrent in cases in which deterrence has previously
                been ineffective in averting crime.
                   Helland and Tabarrok (2007) examine whether California’s “three
                strikes, you’re out” law deters offending among individuals previously
                convicted of strike-eligible offenses. The future offending of individ-
                uals convicted of two previous eligible offenses was compared with that
                of individuals who had been convicted of only one eligible offense but
                who, in addition, had been tried for a second eligible offense but were
                ultimately convicted of a noneligible offense. The two groups of in-
                dividuals were comparable on many characteristics such as age, race,
                and time in prison. Even so, Helland and Tabarrok ﬁnd that arrest
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 280
                                    of 396




                                            Deterrence in the Twenty-First Century                  229

                rates were about 20 percent lower for the group with convictions for
                two eligible offenses. The authors attribute this to the greatly enhanced
                sentence that would have accompanied conviction for a third eligible
                offense.
                   Raphael and Ludwig (2003) examine the deterrent effect of sentence
                enhancements for gun crimes that formed the basis for a much pub-
                licized Richmond, Virginia, federal program called Project Exile. Per-
                petrators of gun crimes, with a particular emphasis on those with a
                felony record, were the targets of federal prosecution that provided for
                far more severe sanctions for weapon use than were provided by Vir-
                ginia state law. In a careful and thorough analysis involving compari-
                sons of adult homicide arrest rates with juvenile homicide arrest rates
                within Richmond and comparisons of gun homicide rates between
                Richmond and other cities with comparable pre-intervention homicide
                rates, Raphael and Ludwig conclude that the threat of an enhanced
                sentence had no apparent deterrent effect.
                   For most crimes, the certainty and severity of punishment increase
                discontinuously upon reaching the age of majority, when jurisdiction
                for criminal wrongdoing shifts from the juvenile to the adult court. In
                an extraordinarily careful analysis of individual-level crime histories
                from Florida, Lee and McCrary (2009) attempt to identify a discon-
                tinuous decline in offending at age 18, the age of majority in Florida.
                Their point estimate of the discontinuous change is negative as pre-
                dicted but is minute in magnitude and not even remotely close to
                achieving statistical signiﬁcance.7
                   Another analysis of the effect, if any, of moving from the jurisdiction
                of the juvenile to adult courts by Hjalmarsson (2009) uses the 1997

                   7
                     The ﬁnding that the young fail to respond to changes in penalties associated with
                the age of majority is not uniform across studies. An earlier analysis by Levitt (1998)
                ﬁnds a large drop in the offending of young adults when they reach the age of juris-
                diction for adult courts. For several reasons, Durlauf and Nagin (2011a, 2011b) judge
                the null effect ﬁnding of Lee and McCrary (2009) more persuasive in terms of un-
                derstanding deterrence. First, Levitt focuses on differences in age measured at annual
                frequencies, whereas Lee and McCrary measure age in days or weeks. At annual fre-
                quencies, the estimated effect is more likely to reﬂect both deterrence and incapaci-
                tation; hence Levitt’s results may be driven by incapacitation effects rather than by
                deterrence per se. Second, the Lee and McCrary analysis is based on individual-level
                data and so avoids problems that can arise because of aggregation (Durlauf, Navarro,
                and Rivers 2008; Durlauf and Nagin 2011a). On their own terms, the individual-level
                data studied by Lee and McCrary are unusually informative since they also contain
                information on the exact age of arrestees, which allows for the calculation of very
                short-run effects of the discontinuity in sentence severity, e.g., effects within 30 days
                of turning 18.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 281
                                    of 396




                230        Daniel S. Nagin

                National Longitudinal Survey of Youth to examine whether young
                males’ perception of incarceration risk changed at the age of criminal
                majority. Youths were asked, “Suppose you were arrested for stealing
                a car; what is the percent chance that you would serve time in jail?”
                She found that subjective probabilities of being sent to jail increased
                discontinuously on average by 5.2 percentage points when youths
                reached the age of majority in their state of residence. While youths
                perceived an increase in incarceration risk, she found no convincing
                evidence of an effect on their self-reported criminal behavior.


                C. Summary
                   In combination, these six studies demonstrate that debates on the
                effectiveness of deterrence are poorly conceived. Instead, the discussion
                should be framed in terms argued by Beccaria and Bentham more than
                two centuries ago: Does the speciﬁc sanction deter or not, and if it
                does, are the crime reduction beneﬁts sufﬁcient to justify the costs of
                imposing the sanction? Helland and Tabarrok’s (2007) study is an ex-
                emplar of this type of analysis. They conclude that California’s third-
                strike provision does indeed have a deterrent effect, a point even con-
                ceded by Zimring, Hawkins, and Kamin (2001). However, Helland and
                Tabarrok also conclude, on the basis of a cost-beneﬁt analysis, that the
                crime-saving beneﬁts are so much smaller than the increased costs of
                incarceration that the lengthy prison sentences mandated by the third-
                strike provision cannot be justiﬁed by means of a cost-beneﬁt criterion.
                   The six exemplar studies suggest several important sources of the
                heterogeneity of the deterrent effect of imprisonment. One concerns
                the length of the sentence itself. Figure 3 depicts two alternative forms
                of the response function relating crime rate to sentence length. Both
                are downward sloping, which captures the idea that increases in sever-
                ity deter crime. At the status quo sentence length, S1, the crime rate,
                C1, is the same for both curves. The curves are drawn so that they
                predict the same crime rate for a zero sanction level. Thus, the absolute
                deterrent effect of the status quo sanction level is the same for both
                curves. But because the two curves have different shapes, they also
                imply different responses to an incremental increase in sentence level
                to S2. The linear curve (A) is meant to depict a response function in
                which there is a material deterrent effect accompanying the increase
                to S2, whereas the nonlinear curve (B) is meant to depict a small crime
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 282
                                    of 396




                                        Deterrence in the Twenty-First Century       231




                                FIG. 3.—Marginal versus absolute deterrent effects




                reduction response due to diminishing deterrent returns to increasing
                sentence length.
                  My reading of the evidence on the deterrent effect of sentence
                length is that it implies that the relationship between crime rate and
                sentence length more closely conforms to curve B than to curve A.
                Raphael and Ludwig (2003) ﬁnd no evidence that gun crime enhance-
                ment deters, Hjalmarsson (2009) and Lee and McCrary (2009) ﬁnd no
                evidence that the greater penalties that attend moving from the juvenile
                to the adult justice systems deter, and Helland and Tabarrok (2007)
                ﬁnd only a small deterrent effect from California’s third strike. As a
                consequence, the deterrent return to increasing an already long sen-
                tence is small, possibly zero. This interpretation forms the basis for
                my conclusion that mandatory minimum sentencing is unlikely to have
                a material deterrent effect.
                  The ﬁne payment and Project HOPE experiments also suggest that
                curve B, not curve A, more closely resembles what in medical jargon
                would be described as the dose-response relationship between crime
                and sentence length. While neither of these studies is directed at the
                deterrence of criminal behavior, both suggest that, unlike increments
                in long sentences, increments in short sentences do have a material
                deterrent effect on a crime-prone population.
                  Notwithstanding their strengths, these six exemplar studies do not
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 283
                                    of 396




                232        Daniel S. Nagin

                address several important aspects of the offender response, if any, to
                the sanction regime. Except for the most trivial offenses, the question
                at hand is not the deterrent effect of some particular sanction compared
                to no sanction whatsoever. Instead, it is the deterrent effectiveness of
                a speciﬁed sanction relative to alternative sanction options. In the case
                of the death penalty, the alternative is a very lengthy prison sentence.
                For less serious crimes, sanction options to incarceration include ﬁnes
                and various forms of community supervision, or some combination that
                may also include a period of incarceration. In 2006, for example, 10
                percent of felony defendants were diverted to programs such as man-
                datory drug treatment prior to adjudication. Of those convicted, 29
                percent did not receive a jail or prison sentence (Bureau of Justice
                Statistics 2010) but instead were sentenced to some form of community
                control, paid a ﬁne, or both.
                   Theories of deterrence need to be generalized to specify how of-
                fenders perceive and respond to the multiplicity of sanction options
                available for the punishment of most crimes. The theories also need
                to account for the possibility that offender perceptions of the severity
                of sanction options may differ. For example, some may view the pos-
                sibility of life without parole as worse than execution, and still others
                may view strict community supervision as more onerous than a short
                period of incarceration (Wood and May 2003). The multiplicity of
                sanction options and heterogeneity in the response to these options
                greatly complicate the speciﬁcation of a deterrence model, but both
                features are essential to the deterrence phenomenon.
                   I also note that testing such generalized models of deterrence will
                require a major expansion of the criminal justice data collection infra-
                structure at least in the United States. It is currently not possible to
                measure the availability and frequency of use of sanction alternatives
                at the state level because the required data are not available. Available
                data include those from the Bureau of Justice Statistics, which pub-
                lishes nationwide statistics on sentences for prison admissions and time
                served for prison releases, based on data collected as part of the Na-
                tional Corrections Reporting Program initiated in the early 1980s.
                More than 40 states now report annual data on sentences for admis-
                sions and time served for releases. Individual-level demographic char-
                acteristics are also reported. In principle, these data could be used to
                measure the administration of the legally authorized dimensions of
                most state sanction regimes by type of crime. The difﬁculty is that the
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 284
                                    of 396




                                       Deterrence in the Twenty-First Century          233

                data are often extremely incomplete. In some years, some states fail to
                report any data, and the data that are sent to the bureau are often so
                incomplete that it is impossible to construct valid state-level measures
                of the administration of the sanction regime.


                             V. Police and Crime
                The police may prevent crime through many possible mechanisms.
                Apprehension of active offenders is a necessary ﬁrst step for their con-
                viction and punishment. If the sanction involves imprisonment, crime
                may be prevented by the incapacitation of the apprehended offender.
                The apprehension of active offenders may also deter would-be crimi-
                nals by increasing their perception of the risk of apprehension. Many
                police tactics, such as rapid response to calls for service at crime scenes
                or postcrime investigation, are intended not only to capture the of-
                fender but to deter others by projecting a tangible threat of apprehen-
                sion. Police may, however, deter without actually apprehending crim-
                inals: their very presence may deter a motivated offender from carrying
                out a contemplated criminal act.
                   Research on the deterrent effect of police has evolved in two distinct
                literatures. One has focused on the deterrent effect of the level of
                police numbers or resources, for example, by examining the relation-
                ship between police per capita and crime rates. The other has focused
                on the crime prevention effectiveness of different strategies for de-
                ploying police.

                A. Studies of Levels of Police Numbers and Resources
                   Studies of the effect of police numbers and resources come in two
                forms. One is an analogue of the imprisonment rate and crime rate
                studies described in the preceding section. These studies are based on
                panel data sets, usually of US cities over the period circa 1970–2000.
                They relate crime rates to the resources committed to policing as mea-
                sured by police per capita or police expenditures per capita. The second
                form of study is more targeted. These studies analyze the effect on
                crime from abrupt changes in the level of policing due, for example,
                to terror alerts.
                   1. Panel Studies. Panel studies include Marvell and Moody (1994),
                Levitt (1997, 2002), McCrary (2002), and Evans and Owens (2007).
                With the exception of McCrary’s study, these studies consistently ﬁnd
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 285
                                    of 396




                234          Daniel S. Nagin

                evidence that larger resource commitments to policing are associated
                with lower crime rates.8
                   The studies use different statistical strategies for estimating the effect
                of police resource levels on crime. For example, Marvell and Moody
                (1996) analyze two panel data sets and apply Granger-causality type
                statistical models to these data. Levitt (1997, 2002) uses IV-type re-
                gression models. In Levitt (1997), election cycles are used as an IV to
                untangle the cause-effect relationship between crime rates and police
                manpower. Levitt (2002) uses the number of ﬁreﬁghters and civil ser-
                vice workers as IVs for the same purpose.
                   The panel studies consistently ﬁnd evidence that higher levels of
                police resources are associated with lower crime rates. Durlauf and
                Nagin (2011a, 2011b) discuss important qualiﬁcations to the interpre-
                tation and validity of this form of analysis. One is that the police panel
                studies, like the studies of imprisonment and crime, do not distinguish
                between incapacitation and deterrent effects. The negative associations
                between police numbers and crime rates identiﬁed in these studies may
                reﬂect increased effectiveness in apprehending and incarcerating active
                offenders rather than in deterring crime. More importantly, an under-
                appreciated limitation of these analyses is the assumption that the effect
                of police levels on crime rates is the same across place and time. As
                the discussion of studies of the effects of police deployment strategies
                on crime makes clear, this assumption is not tenable. Nevertheless, the
                ﬁndings of these studies are consistent with those of studies of abrupt
                changes in police presence that police numbers do matter.
                   2. Abrupt Change Studies. Studies of this type, which are sometimes
                called “interrupted time series” or “regression discontinuity” studies,
                examine the effects of abrupt changes in police presence. If the change
                in police presence is attributable to an event unrelated to the crime
                rate, studies of this type can provide particularly convincing evidence
                of deterrence. For example, in September 1944, German soldiers oc-
                cupying Denmark arrested the entire Danish police force. According
                to an account by Andenaes (1974), crime rates rose immediately but
                not uniformly. The frequency of street crimes such as robbery, whose

                   8
                     McCrary identiﬁed an error in the computation of standard errors in Levitt (1997)
                that when corrected nulliﬁed the ﬁnding of a crime prevention effect of police numbers.
                Levitt (2002) argues that McCrary’s ﬁndings do not overturn his general claim that
                increased numbers of police reduce crime rates and presents new evidence to that
                effect.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 286
                                    of 396




                                       Deterrence in the Twenty-First Century         235

                control depends heavily on visible police presence, rose sharply. By
                contrast, crimes such as fraud were less affected. See Sherman and Eck
                (2002) and Sherman (in this volume) for other examples of crime in-
                creases following a collapse of police presence.
                   The Andenaes anecdote illustrates several important points. It pro-
                vides a useful reminder of the difference between absolute and mar-
                ginal deterrence. As shown in ﬁgure 3, absolute deterrence refers to
                the difference in the crime rate between the status quo level of sanction
                threat, S1, and a complete (or near) absence of sanction threat, S0. The
                Andenaes anecdote is a compelling demonstration that the absolute
                deterrent effect is large. However, from a policy perspective, the issue
                is not the absolute deterrent effect posed by police presence. The ques-
                tion is whether, on the margin, crime can be prevented by incremental
                increases in police numbers or by changes in the way police are de-
                ployed. Also, the anecdote is another useful reminder that deterrent
                effects are heterogeneous: sanction threats (or the absence thereof) do
                not uniformly affect all types of crime or, more generally, all types of
                people.
                   Contemporary tests of the police-crime relationship based on abrupt
                decreases in police presence investigate the effect on the crime rate of
                reductions in police presence and productivity as a result of large bud-
                get cuts or lawsuits following racial proﬁling scandals. Such studies
                have examined the Cincinnati Police Department (Shi 2009), the New
                Jersey State Police (Heaton 2010), and the Oregon State Police
                (DeAngelo and Hansen 2008). Each concludes that decreases in police
                presence and activity substantially increase crime. Shi (2009) studies
                the fallout from an incident in Cincinnati in which a white police of-
                ﬁcer shot and killed an unarmed African American suspect. The inci-
                dent was followed by 3 days of rioting, heavy media attention, the ﬁling
                of a class action lawsuit, a federal civil rights investigation, and the
                indictment of the ofﬁcer in question. These events created an unofﬁcial
                incentive for ofﬁcers from the Cincinnati Police Department to curtail
                their use of arrest for misdemeanor crimes, especially in communities
                with higher proportional representation of African Americans, out of
                concern for allegations of racial proﬁling. Shi ﬁnds measurable declines
                in police productivity in the aftermath of the riot and also documents
                a substantial increase in criminal activity. The estimated elasticities of
                crime to policing based on her approach were ⫺0.5 for violent crime
                and ⫺0.3 for property crime.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 287
                                    of 396




                236        Daniel S. Nagin

                   The ongoing threat of terrorism has also provided a number of
                unique opportunities to study the effect of police resource allocation
                in cities around the world, including the District of Columbia (Klick
                and Tabarrok 2005), Buenos Aires (Di Tella and Schargrodsky 2004),
                Stockholm (Poutvaara and Priks 2006), and London (Draca, Machin,
                and Witt 2008). The Klick and Tabarrok (2005) study examines the
                effect on crime of the color-coded alert system devised by the US
                Department of Homeland Security in the aftermath of the September
                11, 2001, terrorist attack. Its purpose was to signal federal, state, and
                local law enforcement agencies to occasions when it might be prudent
                to divert resources to sensitive locations. Klick and Tabarrok use daily
                police reports of crime collected by the district’s Metropolitan Police
                Department for the period March 2002 to July 2003, when the ter-
                rorism alert level rose from “elevated” (yellow) to “high” (orange) and
                back down to “elevated” on four occasions. During high alerts, anec-
                dotal evidence suggested that police presence increased by 50 percent.
                The authors estimate that each 1 percent increase in number of police
                during the terror alert reduced total crime by 0.3 percent.
                   To summarize, studies of police presence conducted since the mid-
                1990s consistently ﬁnd that putting more police ofﬁcers on the street—
                either by hiring new ofﬁcers or by reallocating existing ofﬁcers to put
                them on the street in larger numbers or for longer periods of time—
                has a substantial deterrent effect on serious crime. There is also con-
                sistency with respect to the size of the effect. Most estimates reveal
                that a 10 percent increase in police presence yields a reduction in total
                crime of about 3 percent. Yet these police manpower studies speak only
                to the number and allocation of police ofﬁcers and not to what police
                ofﬁcers actually do on the street beyond making arrests.

                B. Police Deployment and Crime
                   Much research has examined the crime prevention effectiveness of
                alternative strategies for deploying police resources. This research has
                mostly been conducted by criminologists and sociologists. Among this
                group of researchers, the preferred research designs are quasi experi-
                ments involving before-and-after studies of the effect of targeted in-
                terventions as well as true randomized experiments. The discussion
                that follows draws heavily on two excellent reviews of this research by
                Weisburd and Eck (2004) and Braga (2008).
                   For the most part, deployment strategies affect the certainty of pun-
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 288
                                    of 396




                                       Deterrence in the Twenty-First Century        237

                ishment through their effect on the probability of apprehension. One
                way to increase apprehension risk is to mobilize police in a fashion that
                increases the probability that an offender is arrested after committing
                a crime. Strong evidence of a deterrent as opposed to an incapacitation
                effect resulting from the apprehension of criminals is limited. Studies
                of the effect of rapid response to calls for service (Kansas City Police
                Department 1977; Spelman and Brown 1981) do not directly test for
                deterrence but found no evidence of improved apprehension effective-
                ness. The reason may be that most calls for service occur well after
                the crime event, with the result that the perpetrator has ﬂed the scene.
                Thus, it is doubtful that rapid response materially affects crime. Sim-
                ilarly, apprehension risk is probably not materially affected by im-
                proved investigations. Eck concluded that “it is unlikely that improve-
                ments in the way investigations are conducted or managed have a
                dramatic effect on crime or criminal justice” (1992, p. 33). The reason
                is that most crimes are solved either by the offender being apprehended
                at the scene or by eyewitness identiﬁcation of the perpetrator (Green-
                wood, Chaiken, and Petersilia 1977). Modern forensic methods may
                ultimately improve the effectiveness of postcrime investigations, but as
                Braga et al. (2011) note, clearance rates have remained stubbornly sta-
                ble over the period 1970–2007.
                   The second source of deterrence from police activities involves
                averting crime in the ﬁrst place. In this circumstance, there is no ap-
                prehension because there was no offense. In my view, this is the pri-
                mary source of deterrence from the presence of police. Thus, measures
                of apprehension risk based only on enforcement actions and crimes
                that actually occur, such as arrests per reported crime, are not valid
                measures of the apprehension risk represented by criminal opportu-
                nities not acted on because the risk was deemed too high (Cook 1979).
                   One example of a police deployment strategy for which there is good
                evidence of effectiveness is “hot spots” policing. The idea of hot spots
                policing stems from a striking empirical regularity uncovered by Sher-
                man and colleagues. Sherman, Gartin, and Buerger (1989) found that
                only 3 percent of addresses and intersections (“places,” as they were
                called) in Minneapolis produced 50 percent of all calls to the police.
                Weisburd and Green (1995) found that 20 percent of all disorder crime
                and 14 percent of crimes against persons in Jersey City, New Jersey,
                arose from 56 drug-related crime hot spots. Twenty-ﬁve years later in
                a study of Seattle, Weisburd et al. (2004) reported that between 4 and
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 289
                                    of 396




                238        Daniel S. Nagin

                5 percent of street segments in the city accounted for 50 percent of
                crime incidents for each year over a 14-year period. Other, more recent
                studies ﬁnding comparable crime concentrations include Brantingham
                and Brantingham (1999), Eck, Gersh, and Taylor (2000), and Roncek
                (2000).
                   The rationale for concentrating police in crime hot spots is to create
                a prohibitively high risk of apprehension. The ﬁrst test of the efﬁcacy
                of concentrating police resources on crime hot spots was conducted by
                Sherman and Weisburd (1995). In this randomized experiment, hot
                spots in the experimental group were subjected to, on average, a dou-
                bling of police patrol intensity compared with hot spots in the control
                group. Declines in total crime calls ranged from 6 to 13 percent. In
                another randomized experiment, Weisburd and Green (1995) found
                that hot spots policing was similarly effective in suppressing drug mar-
                kets.
                   Braga’s (2008) informative review of hot spots policing summarizes
                the ﬁndings from nine experimental or quasi-experimental evaluations.
                The studies were conducted in ﬁve large US cities and one suburb of
                Australia. All but two found evidence of signiﬁcant reductions in crime.
                Further, no evidence was found of material crime displacement to im-
                mediately surrounding locations. On the contrary, some studies found
                evidence of crime reductions, not increases, in the surrounding loca-
                tions but a “diffusion of crime-control beneﬁts” to nontargeted locales.
                Note also that the ﬁndings from the previously described econometric
                studies of focused police actions—for example, in response to terror
                alert level—buttress the conclusion that the strategic targeting of police
                resources can be very effective in reducing crime.
                   Another example of a police deployment strategy for which there is
                credible evidence of effectiveness, albeit less consistent than for hot
                spots policing, is problem-oriented policing. One of the most visible
                instances of problem-oriented policing is Boston’s Operation Ceaseﬁre
                (Kennedy et al. 2001). The objective of the collaborative operation was
                to prevent intergang gun violence using two deterrence-based strate-
                gies. The ﬁrst strategy was to target enforcement against weapons traf-
                ﬁckers who were supplying weapons to Boston’s violent youth gangs.
                The second involved a more novel approach. The youth gangs them-
                selves were assembled by the police on multiple occasions in order to
                send the message that the law enforcement response to any instance
                of serious violence would be “pulling every lever” legally available to
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 290
                                    of 396




                                          Deterrence in the Twenty-First Century                239

                punish gang members collectively. This included a salient severity-
                related dimension: vigorous prosecution for unrelated, nonviolent
                crimes such as drug dealing. Thus, the aim of Operation Ceaseﬁre was
                to deter violent crime by increasing the certainty and severity of pun-
                ishment, but only in targeted circumstances—speciﬁcally, if the gang
                members committed a violent crime.
                   Since Operation Ceaseﬁre, the strategy of “pulling every lever” has
                been the centerpiece of ﬁeld interventions in many large and small US
                cities including Richmond, Virginia; Chicago; Stockton, California;
                High Point, North Carolina; and Pittsburgh. See Kennedy (2009), one
                of the architects of the pulling every lever strategy, for an extended
                description of these interventions and the philosophy behind them.
                Independent evaluations have also been conducted of many of these
                interventions.9 As part of the Campbell Collaboration review process,
                Braga and Weisburd (2012) identiﬁed 10 studies of pulling levers fo-
                cused policing strategies that met their criteria of rigor and relevance
                to be included in the review. Nine of these studies reported statistically
                signiﬁcant reductions in crime. They concluded that “pulling levers
                focused deterrence strategies are associated with an overall statistically-
                signiﬁcant, medium-sized crime reduction effect” (p. 7). However, they
                caution that focused deterrence has yet to be tested with a randomized
                control trial. Their caution is also shared by others. In Cook’s (2012)
                commentary on the High Point focused deterrence intervention, he
                observes that initial conclusions of eye-catchingly large effects have
                been replaced with far more modest assessments of effect sizes and
                cautions about the generalizability of the results. Reuter and Pollack
                (2012) wonder whether a successful intervention in a small urban area
                such as High Point can be replicated in a large city such as Chicago.
                Ferrier and Ludwig (2011) point out the difﬁculty in understanding
                the mechanism that underlies a seemingly successful intervention that
                pulls many levers. Despite concerns, these interventions illustrate the
                potential for combining elements of both certainty and severity en-
                hancements to generate a targeted deterrent effect. Additional evalu-
                ations of the efﬁcacy of these multipronged strategies should be a high
                priority, with the proviso that any designs implemented be amenable
                to rigorous evaluation as emphasized by commentators. For a useful

                  9
                    For Boston, see Cook and Ludwig (2006); for Richmond, see Raphael and Ludwig
                (2003); for Chicago, see Papachristos, Meares, and Fagan (2007); for Pittsburgh, see
                Wilson and Chermak (2011); and for High Point, see Corsaro et al. (2012).
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 291
                                    of 396




                240        Daniel S. Nagin

                discussion of the importance of understanding mechanisms, see Lud-
                wig, Kling, and Mullainathan (2011). The theory behind focused de-
                terrence interventions includes attention to, among other things, de-
                terrence, police legitimacy, informal social control, police/community
                relations, the provision of social services, and addressing situational
                factors. Existing evaluations do not address either the contribution (if
                any) of individual elements or their likely interplay.

                C. Summary
                   The evidence is clear that large changes in police presence do affect
                crime rates. The change in presence may be the result of an unplanned
                event, such as a terror alert that triggers a large increase in police
                ofﬁcers in public spaces, or it may be a strategic response to a known
                crime problem, such as in hot spots policing deployments. In either
                case, crime rates are reduced in places where police presence has been
                materially increased. While far from deﬁnitive, there is no evidence of
                displacement of crime to places contiguous to the heightened police
                presence, at least in the short run. Indeed, there is some evidence of
                crime reductions in the areas immediately surrounding the heightened
                presence. By contrast, there is no evidence that the rapidity of the
                response to crime or the thoroughness of the postcrime investigation
                has a material inﬂuence on crime rates. Combined, these two sets of
                ﬁndings suggest that how police are deployed is as important as the
                number of police deployed in their inﬂuence on crime rates.
                   Notwithstanding these important ﬁndings, some additional issues
                about police presence remain unresolved. The ﬁnding from the hot
                spots policing evaluations that crime is not displaced to adjacent places
                may not hold up in the long run. The seeming diffusion of crime
                control beneﬁts may evaporate as offenders become aware that the
                heightened patrol activity is not present in adjacent places. More fun-
                damentally, the hot spot itself may be displaced to some new location,
                for example, to a bar that had not previously been a crime hot spot. A
                longer-term perspective on the effectiveness of hot spots policing is
                required.
                   While the evaluations of hot spots policing provide important evi-
                dence that police presence can be a deterrent, overall crime control
                policy cannot be built around such a narrowly formulated tactic. Eval-
                uations of problem-oriented policing suggest police effectiveness in a
                wider set of circumstances than intensive patrol of high crime micro-
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 292
                                    of 396




                                       Deterrence in the Twenty-First Century        241

                places. However, these evaluations do not reveal the mechanism by
                which prevention is achieved.
                   The introduction distinguished two distinct crime prevention func-
                tions of the police: their role as apprehension agents following the
                commission of a crime and their role as sentinels. In their sentinel role
                the police are acting, in the parlance of Cohen and Felson (1979), as
                “capable guardians.” Capable guardians are persons whose presence
                discourages a motivated offender from victimizing a criminal oppor-
                tunity. Capable guardians include persons with no ofﬁcial crime control
                authority who nonetheless are personally willing to intervene or to
                summon those with the authority to intervene. The police themselves
                also serve as capable guardians in their conventional patrol and mon-
                itoring functions.
                   For many reasons the apprehension agent role is the most scruti-
                nized and recognized crime control function of the police. The appre-
                hension agent function has been and continues to be glamorized by
                television in long-running programs such as Dragnet in the 1950s and
                1960s, Hawaii Five-0 in the 1970s, Hill Street Blues in the 1980s, Ho-
                micide Life on the Streets in the 1990s, and CSI and Law and Order in
                the present. The apprehension role is also salient because it involves
                the police response to real victims of sometimes horrendous crimes
                and the ensuing efforts to bring the perpetrators to justice. From a
                technocratic perspective, police effectiveness in this role can be mea-
                sured with statistics like the clearance rate. From a crime control per-
                spective, the apprehension agent function protects public safety by
                capturing and incapacitating sometimes dangerous and repetitive of-
                fenders. However, as yet there is no evidence that the apprehension
                agent role results in a material deterrent effect. By contrast, the evi-
                dence on police presence suggests that in their sentinel role police can
                have a very large deterrent effect. While the differential deterrent ef-
                fect of the police in their apprehension and sentinel roles has not been
                demonstrated, there is sufﬁcient evidence to characterize it as a hy-
                pothesis with sufﬁcient empirical support to make it credible.
                   What then is the explanation for the differential deterrent effective-
                ness of the sentinel/guardian and apprehension roles of the police? The
                model of the decision to victimize a criminal opportunity laid out in
                the introduction, I believe, provides useful perspective on the answer.
                The model distinguishes two key probabilities: the probability that the
                opportunity can be successfully completed, Ps, and the probability of
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 293
                                    of 396




                242        Daniel S. Nagin

                apprehension conditional on the victimization of the target, Pa . In this
                model, activities that enhance police visibility, such as concentration of
                police at crime hot spots, affect Ps, whereas actions such as rapid re-
                sponse to calls for service or improved investigation methods affect Pa.
                The sentinel role of police is distinct from the apprehension role be-
                cause the latter comes into play only when deterrence has failed and a
                would-be offender becomes an actual offender. Thus, at one moment
                police can function as sentinels and in the next as apprehension agents.
                   The depiction of the decision to victimize a criminal opportunity in
                ﬁgure 1 provides an explanation for the greater deterrent effectiveness
                of the police in their sentinel role than in their apprehension role. The
                police in their sentinel role inﬂuence Ps and thereby the probability of
                all four outcome branches. In particular, improved guardianship re-
                duces the probability that the target can be successfully victimized and
                increases the probability of the three outcomes that represent failure
                from the offender’s perspective. In contrast, improved effectiveness in
                the apprehension agent role comes into play only after a crime is com-
                mitted and can affect only the three branches of the tree related to
                failure. Thus, innovations that make police more effective sentinels will
                tend to be more inﬂuential in the decision process characterized by
                this model than innovations in apprehension effectiveness.
                   The model is also useful in clarifying the basis for the effectiveness
                of situational crime prevention (Clarke 1995), many forms of which
                can be construed as reducing Ps. Just as police in their sentinel role
                reduce the attractiveness of a criminal opportunity, situational crime
                prevention works by affecting all four branches of the tree.


                           VI. Perceptual Deterrence and Sanction Risk Perceptions
                                Studies
                Analyses of perceptual deterrence examine the association between
                perceptions of sanction risk, whatever their source, and self-reported
                illegal behavior or intent to engage in illegal behavior. Analyses of
                sanction risk perceptions examine the relationship of an individual’s
                perceptions with experience (e.g., being arrested as well as factors ex-
                ternal to the individual such as statutorily deﬁned penalties). Some
                studies address both topics, but most emphasize one or the other.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 294
                                    of 396




                                        Deterrence in the Twenty-First Century          243

                A. Perceptual Deterrence
                   The perceptual deterrence literature was spawned by a cadre of re-
                searchers (Meier and Johnson 1977; Minor 1977; Tittle 1977, 1980;
                Grasmick and Bryjak 1980) interested in probing the perceptual un-
                derpinnings of the deterrence process.
                   Perceptual deterrence studies have been based on three types of data:
                cross-sectional survey studies, panel survey studies, and scenario-based
                studies. In cross-sectional survey studies, individuals are questioned
                about their perceptions of the certainty and severity of sanctions and
                about either their prior offending behavior or their future intentions
                to offend. For example, Grasmick and Bryjak (1980) queried a sample
                of city residents about their perceptions of the risk of arrest for offenses
                such as a petty theft, drunk driving, and tax cheating. They also asked
                respondents whether they thought they would commit any of these
                acts in the future. In panel survey studies the sample is repeatedly
                surveyed on risk perceptions and criminal behavior. For example, Pa-
                ternoster et al. (1982) followed a sample of students through their 3
                years in high school and surveyed them on the frequency with which
                they engaged in various delinquent acts and their perceptions of the
                risks and consequences of being caught. In scenario-based studies, in-
                dividuals are questioned about their perception of the risks of com-
                mitting a crime that is described to them in detail. They are also asked
                about their own behavior should they ﬁnd themselves in that situation.
                Bachman, Paternoster, and Ward (1992), for instance, constructed a
                scenario describing the circumstances of a date rape. They then sur-
                veyed a sample of college males about their perceptions of the risk of
                the scenario male being arrested for sexual assault and what they them-
                selves would do in the same circumstance.
                   Perceptional deterrence research has been faulted with some justi-
                ﬁcation on a number of grounds. One is that the sampled populations
                are typically high school or college students who do not, by and large,
                engage in serious crime and delinquency. Other concerns are related
                to the veracity of the data collected. How well can respondents actually
                calibrate sanction risks? Do the ways in which questions about percep-
                tions of morality and sanction cost are structured prime responses
                about actual or projected offending? Despite these questions, in my
                judgment this class of studies has provided enduring contributions to
                our understanding of deterrence processes.
                   One contribution is that, with the exception of the early panel stud-
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 295
                                    of 396




                244        Daniel S. Nagin

                ies, perception studies consistently ﬁnd that actual or projected of-
                fending is negatively related to perceptions of sanction certainty. Find-
                ings of a deterrence-like relationship of self-reported offending with
                perceptions of sanction severity are less consistent. When combined,
                these two ﬁndings provide still further support for the “certainty” prin-
                cipal, but with a proviso that certainty results in a negative but not
                necessarily draconian consequence. Grasmick and Bryjak (1980) show
                that when respondents’ assessments of the personal costs of the sanc-
                tion are incorporated into the analysis, perceptions of severity are neg-
                atively associated with self-reported behavior.
                   A second contribution of the perceptual deterrence literature, which
                may also be its most important, does not involve the evidence it has
                amassed on deterrence effects per se. Rather it has focused its attention
                on the links between formal and informal sources of social control.
                Recognition of this connection predates the perceptual deterrence lit-
                erature. Zimring and Hawkins (1973) observe that “ofﬁcial actions can
                set off societal reactions that may provide potential offenders with more
                reason to avoid conviction than the ofﬁcially imposed unpleasantness
                of punishment” (p. 174; emphasis in original). See also Andenaes
                (1974), Gibbs (1975), Blumstein and Nagin (1976), and Williams and
                Hawkins (1986) for this same argument. Perceptual deterrence re-
                search has consistently found that individuals who report higher stakes
                in conventionality are more deterred by perceived risk of public ex-
                posure for lawbreaking.
                   A salient ﬁnding in this regard concerns my own research on tax
                evasion. Enforcement actions by tax authorities are private matters.
                Criminal prosecutions, however, are the exception to this rule. They
                necessarily involve public exposure. Thus, from the taxpayer’s per-
                spective, civil enforcement actions jeopardize money but not reputation
                whereas criminal prosecution jeopardizes both. In Klepper and Nagin
                (1989a, 1989b), we found that if respondents perceived no risk of crim-
                inal prosecution, a majority of respondents reported a material prob-
                ability of taking advantage of noncompliance opportunities. However,
                the perception of a nonzero risk of criminal prosecution was sufﬁcient
                to deter most of the middle-class respondents to the survey. Stated
                differently, if the tax evasion gamble also involved putting reputation
                and community standing at risk, the middle-class respondents to the
                survey were less likely to consider taking the gamble.
                   While my tax evasion research does not pin down the speciﬁc
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 296
                                    of 396




                                       Deterrence in the Twenty-First Century         245

                sources of these costs, other research on the effects of a criminal record
                on access to legal labor markets suggests a real basis for the fear of
                stigmatization (Freeman 1991; Bushway 1996). Freeman estimates that
                a record of incarceration depresses probability of work by 15–30 per-
                cent, Waldfogel (1994) estimates that conviction for fraud reduces in-
                come by as much as 40 percent, and Bushway (1996) concludes that
                even an arrest for a minor offense impairs access to legal labor markets,
                at least in the short run.
                   The ﬁndings from the perceptual deterrence studies directly relate
                to two of the main themes of this essay. The ﬁrst concerns the
                source of the “certainty” effect. In laying out the implications of the
                model of the decision to victimize a target, it was pointed out that the
                cost of apprehension appeared in two of the terms on the right-hand
                side of equation (2). This side of the equation measures the potential
                cost of offending: the term measuring the cost of apprehension without
                conviction and the term measuring the cost of apprehension with con-
                viction. Formal and informal sanction costs appeared only in the sec-
                ond of these terms. Stated differently, apprehension cost is incurred
                regardless of whether a conviction ensues, whereas sanction costs can
                be incurred only if apprehension is followed by conviction. This struc-
                ture formalizes the argument of Williams and Hawkins (1986) that
                what they call “fear of arrest” serves as a greater deterrent than formal
                sanction cost. It is also consistent with the conclusion of my own re-
                search with coauthors Paternoster (Nagin and Paternoster 1993, 1994)
                and Pogarsky (Nagin and Pogarsky 2001, 2003) that individuals with
                the greatest stakes in conformity were the most deterred by informal
                sanction costs.
                   The fourth branch of ﬁgure 3 is the total cost of formal and informal
                sanctions. The perceptions research combined with the criminal record
                research suggests that, for people without a criminal record, informal
                sanction cost makes a large contribution to this total. That contribu-
                tion may be substantially reduced once an individual has had contact
                with the criminal justice system and obtains a criminal record. This
                observation relates back to a point I emphasized in Nagin (1998). If
                fear of stigma is a key component of the deterrence mechanism, pun-
                ishment must be a relatively rare event. Just as the stigma of Hester
                Prynne’s scarlet “A” depended on adultery being uncommon in Puritan
                America, a criminal record cannot be socially and economically isolat-
                ing if it is commonplace. For that reason, policies that work well in
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 297
                                    of 396




                246          Daniel S. Nagin

                the short term may erode their effectiveness over the long run if they
                increase the proportion of the population who are stigmatized.
                   This observation is also germane to the recommendation that future
                empirical research and theorizing should take account of whether and
                how the experience of punishment (which in my view is inappropriately
                referred to as speciﬁc deterrence) affects the response to the threat of
                punishment, or general deterrence. The experience of punishment may
                affect general deterrence in two distinct ways. First, it may affect per-
                ceptions of sanction risks. Second, it may affect the basic proclivity for
                offending. Proclivity could be reduced by effective rehabilitation pro-
                grams or an individual’s conclusion that prison is not an experience to
                be repeated. However, proclivity could also be increased by stigmati-
                zation, erosion of human capital during a spell of incarceration, or the
                social inﬂuence of close contact with a mostly crime-prone population.
                Nagin, Cullen, and Jonson (2009) provide a detailed discussion of this
                issue.

                B. Sanction Risk Perceptions Studies
                   Studies of sanction risk perception come in three primary forms:
                surveys of the general public’s knowledge of the sanction regime, stud-
                ies of the effect of apprehension (or nonapprehension) on risk percep-
                tions and subsequent behavior, and scenario-based studies in which
                respondents are questioned about their perceptions of the risk of ap-
                prehension and punishment in speciﬁc circumstances.10
                   1. General Population Surveys. Apel (2013) identiﬁes only two sur-
                veys of the general public’s knowledge of the statutory penalties for
                the types of crime that compose the FBI’s crime index (e.g., murder,
                robbery). Both are dated. A survey of Tucson, Arizona, residents con-
                ducted in the 1970s suggests generally good knowledge of the types of
                sanctions (e.g., ﬁne, prison) available for the punishment of the 14
                types of crime surveyed (Williams, Gibbs, and Erickson 1980). Erick-
                son and Gibbs (1979) also ﬁnd that respondents were reasonably well
                calibrated on the relative severity of punishments across types of crime
                (e.g., punishment for robbery is generally more severe than for lar-
                ceny). However, a 1960s study commissioned by the California Assem-
                bly Committee on Criminal Procedure (1968) found that the general

                  10
                     For an exhaustive and thoughtful review, on which this discussion draws heavily,
                see Apel (2013).
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 298
                                    of 396




                                       Deterrence in the Twenty-First Century        247

                public’s knowledge of the statutorily prescribed level of punishment
                was poor. Only about a quarter of the sample correctly identiﬁed the
                maximum prison sentence available for the punishment of the various
                crimes included in the survey. However, 62 percent of incarcerated
                adults correctly identiﬁed the maximum. I return to the large difference
                in knowledge between the incarcerated and not-incarcerated samples
                below.
                   There have also been general population surveys of sanction per-
                ceptions for two types of crimes—marijuana use and drunk driving—
                that are far more prevalent in the general population than crimes such
                as robbery or burglary. The surveys suggest far better, although hardly
                perfect, knowledge of the legally available sanctions for these two of-
                fenses. MacCoun et al. (2009) describe a study by Johnston Lloyd,
                O’Malley, and Bachman (1981) of student knowledge of punishment
                for marijuana possession. In states that decriminalized possession be-
                tween 1976 and 1980, the percentage reporting a possible jail sentence
                declined from 58 percent to 18 percent. Corresponding changes for
                students living in states that did not decriminalize were not as large.
                This ﬁnding suggests that for populations in which there is greater
                need-to-know of sanction risks, knowledge of the risks is better but
                still crude. For example, MacCoun et al. (2009) also report that knowl-
                edge of the maximum penalties for marijuana use was not good. Sur-
                veys of knowledge among adults of drunk-driving penalties by Ross
                (1973) and Grube and Kearney (1983) also suggest greater awareness
                of the drunk-driving sanctions and available enforcement tools (e.g.,
                Breathalyzers) than corresponding knowledge for street-type crimes.
                   The Tucson-based survey and more recent surveys by Kleck and
                colleagues (Kleck et al. 2005; Kleck and Barnes, forthcoming) attempt
                to assess the accuracy of sanction risk perceptions. Kleck et al. (2005),
                for example, survey adults residing in 54 large urban counties. For
                crimes such as homicide and robbery, they correlate respondent esti-
                mates of quantities such as arrests per crime and convictions per crime
                with ratios based on the actual data. They ﬁnd that the correlation is
                close to zero.
                   The results of the surveys by Kleck and colleagues are not surprising
                on several counts. First, for the reasons elaborated long ago by Beccaria
                and Bentham and most recently by Wikström et al. (2012) and Apel
                (2013), most of the general public has no intention of committing the
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 299
                                    of 396




                248          Daniel S. Nagin

                types of crime surveyed in these studies.11 Thus, there is no reason for
                them to be aware of the sanction regime for these types of crime.
                Consequently, their ignorance of the sanction regime is not informative
                about whether people who have a potential need-to-know of the sanc-
                tion regime obtain that knowledge, however crudely, and take it into
                account in the decision whether or not to offend. Second, the ratios
                calculated by Kleck and colleagues pertain only to criminal opportu-
                nities that have actually been acted on. As ﬁrst pointed out by Cook
                (1979), the ratio of arrest per crime is not a valid measure of the risk
                of apprehension for criminal opportunities that are not acted on.
                Third, statistics such as arrests per crime are calculated at the county
                or city level and may be very poor indicators of risk at the speciﬁc
                locations where would-be offenders are plying their trade (Apel 2013).
                   2. Studies of the Effect of Experience on Perceptions. Salient ﬁndings
                of the early panel perceptual deterrence studies include considerable
                instability in sanction risk perceptions and that nonoffenders and nov-
                ice offenders have higher sanction risk perceptions than experienced
                offenders. Paternoster and colleagues (Paternoster et al. 1982; Pater-
                noster 1983) called this an experiential effect whereby delinquent
                youths learned that sanction risks were lower than initially anticipated.
                   An important study by Horney and Marshall (1992) of serious of-
                fenders ﬁnds that subjects who had higher arrest ratios, that is, self-
                reported arrests to self-reported crime, reported higher risk perception.
                Since that time a large number of studies have used longitudinal data
                to analyze whether the effect of success or failure in avoiding appre-
                hension inﬂuences sanction risk perceptions. The analytical strategy
                involves relating experience with success or failure in prior survey
                waves with perceptions of apprehension risk in later survey waves.
                Studies of this type by criminologists were prompted by an inﬂuential
                article by Stafford and Warr (1993), who distinguished between two
                sources of information on sanction risk: one’s own experience and the
                experience of peers. A parallel literature has also appeared in economics
                based on the concept of “Bayesian updating.”
                   The Bayesian updating model and the arguments of Stafford and
                Warr are complementary. Bayesian updating formalizes their argu-
                ments. The Bayesian updating model is designed to describe the pro-

                  11
                     In the context of the decision model laid out in Sec. I, these are individuals for
                whom the net reward of committing a crime is negative even without consideration
                of sanction costs.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 300
                                    of 396




                                         Deterrence in the Twenty-First Century             249

                cess by which people update their perceptions of a phenomenon of
                interest on the basis of new information about that phenomenon. In
                this case, individuals would update their perceptions of sanction risk
                with new information regarding success or failure of themselves or
                their peers in avoiding apprehension. The predictions of the model
                depend on the speciﬁcs of its mathematical speciﬁcation, but models
                of this type make predictions about the updating process that are in-
                tuitively sensible. The models predict that people generally do not
                entirely abandon prior beliefs as a result of new information. Most
                commonly, they only incrementally adjust them.12
                   In the case of perception of apprehension risk, this implies that the
                experience of apprehension will result in an incremental upward shift
                in risk perception, and experience of what Stafford and Warr (1993)
                call “apprehension avoidance” will result in an incremental reduction
                in risk. A second prediction of the Bayesian updating model is that the
                magnitude of the change will depend on the depth of prior knowledge.
                Individuals with more prior knowledge will tend to adjust less to new
                information than individuals with less prior knowledge. In the context
                of sanction risk perceptions, this implies that individuals with more
                experience with offending will make smaller adjustments in their risk
                perceptions based on current experience with apprehension than will
                individuals with less experience. Both of these predictions are sup-
                ported by studies of risk perception updating.
                   Concerning the ﬁrst prediction, numerous studies ﬁnd that increases
                (or decreases) in perceived apprehension risk are associated with failure
                (success) in avoiding apprehension (Bridges and Stone 1986; Piliavin
                et al. 1986; Paternoster and Piquero 1995; Pogarsky, Piquero, and Pa-
                ternoster 2004; Pogarsky, Kim, and Paternoster 2005; Matsueda,
                Kreager, and Huizinga 2006; Lochner 2007; Hjalmarsson 2008). There
                are, however, exceptions to this ﬁnding. Apospori and Alpert (1993)
                and Pogarsky and Piquero (2003) report evidence that is the reverse
                of this prediction. Pogarsky and Piquero attribute this to a variant of
                what is called the “gambler’s fallacy” whereby offenders believe that
                bad luck is not followed by bad luck. This is an interesting possibility,
                but the evidence is overwhelmingly consistent with the Bayesian up-
                dating model.

                  12
                     Prior history may be ignored if a regime change (e.g., the occupying German
                army arresting the Danish police force) makes it irrelevant.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 301
                                    of 396




                250         Daniel S. Nagin

                   Evidence consistent with the second prediction is reported in Po-
                garsky, Piquero, and Paternoster (2004), Matsueda, Kreager, and Hui-
                zinga (2006), and Anwar and Loughran (2011). Anwar and Loughran
                conducted a particularly thorough test of this prediction. They ana-
                lyzed a sample composed of about 1,300 adjudicated/convicted youths
                from Arizona and Pennsylvania enrolled in the Pathways to Desistance
                study who were interviewed eight times in 5 years (Mulvey 2011). Be-
                ing arrested signiﬁcantly increased subjective probabilities (prediction
                1), but the magnitude of the change was less for more experienced
                offenders (prediction 2). Speciﬁcally, they showed that experienced of-
                fenders placed relatively more weight on their prior subjective proba-
                bilities and therefore updated less in response to new arrests. Inexpe-
                rienced offenders, by contrast, updated more by placing more weight
                on their current arrest ratios and less weight on their prior subjective
                probabilities. It is also noteworthy that they concluded that the effect
                of arrest on subjective probabilities was speciﬁc within classes of criminal
                behaviors: youths arrested for aggressive crimes did not update their
                subjective probabilities concerning income-generating crimes. This ﬁnd-
                ing implies that there are not spillover effects across classes of crime.
                   3. Studies of Situational Effects on Risk Perceptions. This grouping of
                studies examines the effect of situational factors on risk perceptions.
                Particularly important in this regard are situational factors that can be
                manipulated by policy, such as ofﬁcial sanctions and police presence.
                   As already noted, knowledge of ofﬁcial sanctions seems to be
                strongly affected by the need-to-know principle. Knowledge is better,
                but hardly perfect, among populations with the greatest involvement
                in the illegal activity. On the basis of the California assembly study, for
                example, knowledge of maximum penalties for various FBI index-type
                crimes was far better for incarcerated sample members than for not-
                incarcerated sample members.
                   Other interesting evidence of awareness of ofﬁcial sanctions is the
                previously discussed study by Hjalmarsson (2009) of the effect of
                reaching the age of majority on perceptions of the risk of incarceration
                for auto theft. She found that male respondents in the 1997 National
                Longitudinal Survey of Youth increased that risk by 5.2 percentage
                points upon reaching their age of majority. The increase, however, had
                no statistically signiﬁcant effect on behavior.
                   Evidence on how police presence affects perceptions of apprehension
                risk is scant. In my own work with Paternoster, we constructed sce-
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 302
                                    of 396




                                       Deterrence in the Twenty-First Century          251

                narios and examined how respondent perceptions of sanction risks were
                affected by scenario conditions (Nagin and Paternoster 1993). We
                found that respondent perceptions of sanction cost in a drunk-driving
                scenario were higher in the scenario condition involving a police crack-
                down on drunk driving versus a scenario condition described as in-
                volving state police cutbacks. In addition, perceptions of sanction cost
                were lower if surveillance could be avoided by driving on back roads.
                In scenarios concerning peer provocation, Wikström et al. (2012)
                found that adolescents reported a lower likelihood of violent response
                in scenario conditions in which adult monitors were present. Evidence
                from ethnographic studies suggests that offenders are very conscious
                of police presence when selecting targets. Wright and Decker (1994)
                report that burglars avoid neighborhoods with a heavy police presence
                and that robbers prefer to target individuals unlikely to report the
                crime to the police, such as drug dealers.

                C. Summary
                   Perceptual deterrence research has established that self-reported of-
                fending or intention to do so is linked to sanction risk perceptions.
                The outstanding question is whether those perceptions are grounded
                in reality. If they are not, behavior is beyond the reach of public policy.
                The evidence on the sources of sanction risk perceptions suggests that
                risk perceptions are affected by an individual’s own experience with
                success or failure at averting apprehension. The link between percep-
                tion and the legally authorized sanctions is less compelling but does
                indicate that there is at least a rough awareness among individuals in
                a need-to-know scenario. The other key component of the sanction
                regime is the intensity of application of the legally authorized sanc-
                tions. Research on this topic is based on general population studies of
                the correlations of perceptions of quantities of the ratio of arrest to
                crimes with estimates of these ratios calculated from ofﬁcial statistics.
                For reasons discussed above, in my judgment these studies are not
                informative about whether perceptions of intensity among the popu-
                lation with need-to-know sanction risks are affected by the actual in-
                tensity of application of legally authorized sanctions.
                   Pogarsky (2007) offers a useful taxonomy of responsiveness to legal
                threats for considering the implications of these summary observations.
                The taxonomy distinguishes three groups: acute conformists, deterra-
                bles, and incorrigibles. In the context of the decision model laid out
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 303
                                    of 396




                252        Daniel S. Nagin

                in Section I, conformists are individuals for whom reward minus com-
                mission cost is negative. For reasons I have already discussed, they have
                no need to gain knowledge of sanction risks because there is no proﬁt
                in crime even without potential sanction costs. Deterrables are indi-
                viduals for whom reward minus commission cost is positive and who
                are attentive to sanction threats. For such individuals the issue is
                whether the net beneﬁt of successful commission exceeds the potential
                costs attending failure. The incorrigible group is also composed of
                individuals for whom crime is proﬁtable but who for whatever reason
                are not attentive to sanction threats. The relative sizes of the incorri-
                gible and deterrable groups and the speciﬁc form of the sanction re-
                gime will determine the effectiveness of criminal justice public policy
                in preventing crime via deterrence and thereby avoiding the sanction
                costs of incapacitation.
                   Future research on sanction risk perceptions needs to target Pogar-
                sky’s deterrables and incorrigibles to gain better knowledge of their
                awareness of the two key elements of the sanction regime: the legally
                authorized sanctions and the intensity of their application. For the
                types of crime in the FBI index this will require abandoning surveys
                of the general population and instead sampling populations with a large
                representation of deterrables and incorrigibles. An example of such a
                survey is the Pathways to Desistance project used in the Anwar and
                Loughran (2011) analysis, which sampled juveniles adjudicated for fel-
                ony offenses in Philadelphia and Phoenix.
                   Surveys targeting deterrables and incorrigibles should also include
                batteries of questions designed to learn how the actions of the police
                and other guardians affect perceptions of the probability of success,
                which, for the reasons described in Section V, is likely to be particularly
                decisive in the deterrence process.


                           VII. Conclusions
                Over the past four decades, much has been learned about the foun-
                dations of deterrence that were laid out more than two centuries ago
                by Cesare Beccaria and Jeremy Bentham. We now know that deter-
                rence is ubiquitous but that the effects are heterogeneous, ranging in
                size from seemingly null to very large. There is little evidence that
                increasing already long prison sentences has a material deterrence ef-
                fect. Evidence on the deterrent effect of the certainty of punishment
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 304
                                    of 396




                                        Deterrence in the Twenty-First Century           253

                is more consistent, but the source of the effect is less clear. In this essay
                I have argued that the certainty effect stems primarily from police func-
                tioning in their ofﬁcial guardian role rather than in their apprehension
                agent role.
                   These conclusions have important policy implications that are de-
                veloped in detail in Durlauf and Nagin (2011b). They suggest that
                lengthy prison sentences cannot be justiﬁed on deterrent grounds, but
                rather must be justiﬁed either on crime prevention through incapaci-
                tation or on retributive grounds. The crime prevention efﬁciency of
                incapacitating aged criminals is dubious, and thus the case for lengthy
                prison sentences must rest on retributive considerations. The conclu-
                sions also suggest that crime control effectiveness would be improved
                by shifting resources from corrections to policing methods that en-
                hance the effectiveness of police in their ofﬁcial guardian role.
                   While much progress has been made in understanding sources of
                deterrence and the circumstances in which deterrence is and is not
                effective, much remains to be learned. Theory needs to be generalized
                to combine the response to the threat of punishments, known as gen-
                eral deterrence in criminology, and the response to the experience of
                punishment, which I have argued is inappropriately labeled speciﬁc
                deterrence. A second theoretical and empirical gap concerns the con-
                cept of a sanction regime and its two dimensions: the legal authority
                for different types of sanctions and the way in which authority is ad-
                ministered. These two dimensions combine to determine the certainty,
                severity, and celerity of sanction options available for punishment of a
                speciﬁc type of crime. Theories of deterrence, however, specify sanc-
                tion threats in the singular, not in the plural. Theories of deterrence
                that conceive of sanctions in the singular do not provide the conceptual
                basis for considering the differential deterrent effect of different types
                of sanction options. The empirical companion to this theoretical ex-
                pansion involves assembling the data required to measure sanction re-
                gimes.
                   A third theoretical and empirical gap involves sanction risk percep-
                tions. Deterrence is the behavioral response to the perception of sanc-
                tion threats. Establishing the link between risk perceptions and actual
                sanction regimes is imperative because policy cannot directly manip-
                ulate perceptions. Unless perceptions adjust, however crudely, to
                changes in the sanction regime, the desired deterrent effect will not be
                achieved. More research on the sources of sanction risk perceptions in
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 305
                                    of 396




                254          Daniel S. Nagin

                crime-prone populations is likely to pay large dividends for theory and
                policy.
                   The fourth major gap in theory and empirical knowledge involves a
                thorough testing of my contention that the guardian role, not the ap-
                prehension role, of the police is the most important source of their
                effectiveness in crime prevention. This theory also needs to be ex-
                panded to account for how the police and other guardians affect the
                distribution of criminal opportunities.




                             REFERENCES

                Andenaes, Johannes. 1974. Punishment and Deterrence. Ann Arbor: University
                  of Michigan Press.
                Anwar, Shamena, and Thomas A. Loughran. 2011. “Testing a Bayesian Learn-
                  ing Theory of Deterrence among Serious Juvenile Offenders.” Criminology
                  49:667–98.
                Apel, Robert. 2013. “Sanctions, Perceptions, and Crime: Implications for
                  Criminal Deterrence.” Journal of Quantitative Criminology 29(1):87–101.
                Apel, Robert, and Daniel S. Nagin. 2009. “Deterrence.” In Crime, edited by
                  James Q. Wilson and Joan Petersilia. Oxford: Oxford University Press.
                Apospori, Eleni, and Geoffrey Alpert. 1993. “Research Note: The Role of
                  Differential Experience with the Criminal Justice System in Changes in Per-
                  ceptions of Severity of Legal Sanctions over Time.” Journal of Research in
                  Crime and Delinquency 39:184–94.
                Assembly Committee on Criminal Procedure. 1968. Deterrent Effects of Crim-
                  inal Sanctions. Sacramento: Assembly of the State of California.
                Bachman, Ronet, Raymond Paternoster, and Sally Ward. 1992. “The Ratio-
                  nality of Sexual Offending: Testing a Deterrence/Rational Choice Concep-
                  tion of Sexual Assault.” Law and Society Review 26(2):343–72.
                Beccaria, Cesare. 1986. On Crimes and Punishments. Translated by Henry Pao-
                  lucci. New York: Macmillan. (Originally published 1764.)
                Becker, Gary S. 1968. “Crime and Punishment: An Economic Approach.”
                  Journal of Political Economy 76(2):169–217.
                Bentham, Jeremy. 1988. An Introduction to the Principles of Morals and Legislation.
                  Amherst, NY: Prometheus Books. (Originally published 1789.)
                Blake, L., and R. T. Coupe. 2001. “The Impact of Single and Two-Ofﬁcer
                  Patrols on Catching Burglars in the Act.” British Journal of Criminology 41:
                  381–96.
                Blumstein, Alfred, and Allen J. Beck. 1999. “Population Growth in the U.S.
                  Prisons, 1980–1996.” In Prisons, edited by Michael Tonry and Joan Petersilia.
                  Vol. 26 of Crime and Justice: A Review of Research, edited by Michael Tonry.
                  Chicago: University of Chicago Press.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 306
                                    of 396




                                          Deterrence in the Twenty-First Century              255

                ———. 2005. “Reentry as a Transient State between Liberty and Recommit-
                  ment.” In Prisoner Reentry and Crime in America, edited by Jeremy Travis
                  and Christy Visher. Cambridge: Cambridge University Press.
                Blumstein, Alfred, Jacqueline Cohen, and Daniel Nagin, eds. 1978. Deterrence
                  and Incapacitation: Estimating the Effects of Criminal Sanctions on Crime Rates.
                  Washington, DC: National Academies Press.
                Blumstein, Alfred, and Daniel Nagin. 1976. “The Deterrent Effect of Legal
                  Sanctions on Draft Evasion.” Stanford Law Review 29(2):241–75.
                Braga, Anthony A. 2008. Police Enforcement Strategies to Prevent Crime in Hot
                  Spot Areas. Edited by Ofﬁce of Community Oriented Policing. Washington,
                  DC: US Department of Justice.
                Braga, Anthony A., Edward A. Flynn, George L. Kelling, and Christine M.
                  Cole. 2011. “Moving the Work of Criminal Investigators towards Crime
                  Control.” New Perspectives in Policing. Washington, DC: US Department of
                  Justice, National Institute of Justice.
                Braga, Anthonly A., and David L. Weisburd. 2012. “The Effects of ‘Pulling
                  Levers’ Focussed Deterrence Strategies on Crime.” Campbell Systematic
                  Reviews. http://campbellcollaboration.org/lib/project/96/.
                Braithwaite, John. 1989. Crime, Shame, and Reintegration. Cambridge: Cam-
                  bridge University Press.
                Brantingham, Patricia L., and Paul J. Brantingham. 1999. “Theoretical Model
                  of Crime Hot Spot Generation.” Studies on Crime and Crime Prevention 8:7–
                  26.
                Bridges, George S., and James A. Stone. 1986. “Effects of Criminal Punish-
                  ment on Perceived Threat of Punishment: Toward an Understanding of
                  Speciﬁc Deterrence.” Journal of Research in Crime and Delinquency 23:207–
                  39.
                Bureau of Justice Statistics. 1999. Prisoners in 1998. Edited by Allen J. Beck
                  and Christopher J. Mumola. Washington, DC: Bureau of Justice Statistics.
                ———. 2010. Felony Defendants in Large Urban Counties, 2006. Edited by
                  Thomas H. Cohen and Tracey Kyckelhahn. Washington, DC: Bureau of
                  Justice Statistics.
                ———. 2011. Prisoners in 2010 (Revised). Edited by Paul Guerino, Paige M.
                  Harrison, and William J. Sabol. Washington, DC: Bureau of Justice Statis-
                  tics.
                ———. 2012. Correctional Populations in the United States, 2011. Edited by Lau-
                  ren E. Glaze and Erika Parks. Washington, DC: Bureau of Justice Statistics.
                Bushway, Shawn. 1996. “The Impact of a Criminal History Record on Access
                  to Legitimate Employment.” PhD dissertation, Carnegie Mellon University.
                Canela-Cacho, Jose A., Alfred Blumstein, and Jacqueline Cohen. 1997. “Re-
                  lationship between the Offending Frequency of Imprisoned and Free Of-
                  fenders.” Criminology 35(1):133–76.
                Chalﬁn, Aaron, Amelia M. Haviland, and Steven Raphael. 2013. “What Do
                  Panel Studies Tell Us about a Deterrent Effect of Capital Punishment? A
                  Critique of the Literature.” Journal of Quantitative Criminology 29(1):5–43.
                Charles, Kerwin K., and Steven N. Durlauf. 2013. “Pitfalls in the Use of Time
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 307
                                    of 396




                256         Daniel S. Nagin

                  Series Methods to Study Deterrence and Capital Punishment.” Journal of
                  Quantitative Criminology 29(1):45–66.
                Clarke, Ronald V. 1995. “Situational Crime Prevention.” In Building a Safer
                  Society: Strategic Approaches to Crime Prevention, edited by Michael Tonry and
                  David P. Farrington. Vol. 19 of Crime and Justice: A Review of Research, edited
                  by Michael Tonry. Chicago: University of Chicago Press.
                Cohen, Lawrence E., and Marcus Felson. 1979. “Social Change and Crime
                  Rate Trends: A Routine Activity Approach.” American Sociological Review
                  44(4):588–608.
                Cook, Philip J. 1979. “The Clearance Rate as a Measure of Criminal Justice
                  System Effectiveness.” Journal of Public Economics 11:135–42.
                ———. 2009. “Potential Savings from Abolition of the Death Penalty in North
                  Carolina.” American Law and Economics Review 11(2):498–529.
                ———. 2012. “The Impact of Drug Market Pulling Levers Policing on Neigh-
                  borhood Violence: An Evaluation of the High Point Drug Market Interven-
                  tion.” Criminology and Public Policy 11(2):161–64.
                Cook, Philip J., and Jens Ludwig. 2006. “Aiming for Evidence-Based Gun
                  Policy.” Journal of Policy Analysis and Management 48:691–735.
                Cornish, Derek B., and Ronald V. Clarke. 1986. The Reasoning Criminal: Ra-
                  tional Choice Perspectives on Offending. Secausus, NJ: Springer-Verlag.
                Corsaro, N., E. D. Hunt, N. K. Hipple, and E. F. McGarrell. 2012. “The
                  Impact of Drug Market Pulling Levers Policing on Neighborhood Vio-
                  lence.” Criminology and Public Policy 11:167–99.
                DeAngelo, Greg, and Benjamin Hansen. 2008. “Life and Death in the Fast
                  Lane: Police Enforcement and Roadway Safety.” Unpublished manuscript.
                  University of California, Santa Barbara, Department of Economics.
                Di Tella, Rafael, and Ernesto Schargrodsky. 2004. “Do Police Reduce Crime?
                  Estimates Using the Allocation of Police Forces after a Terrorist Attack.”
                  American Economic Review 94:115–33.
                Donohue, John J. 2009. “Assessing the Relative Beneﬁts of Incarceration: The
                  Overall Change over the Previous Decades and the Beneﬁts on the Margin.”
                  In Do Prisons Make Us Safer? The Beneﬁts and Costs of the Prison Boom, edited
                  by Steven Raphael and Michael A. Stoll. New York: Sage.
                Donohue, John J., and Justin Wolfers. 2005. “Uses and Abuses of Empirical
                  Evidence in the Death Penalty Debate.” Stanford Law Review 58:791–846.
                ———. 2009. “Estimating the Impact of the Death Penalty on Murder.” Amer-
                  ican Law and Economic Review 11(2):249–309.
                Draca, Mirko, Stephen Machin, and Robert Witt. 2008. Panic on the Streets of
                  London: Police, Crime, and the July 2005 Terror Attacks. Bonn: Institute for
                  the Study of Labor.
                Durlauf, Steven N., and Daniel S. Nagin. 2011a. “The Deterrent Effect of
                  Imprisonment.” In Controlling Crime: Strategies and Tradeoffs, edited by Philip
                  J. Cook, Jens Ludwig, and Justin McCrary. Chicago: University of Chicago
                  Press.
                ———. 2011b. “Imprisonment and Crime: Can Both Be Reduced?” Criminol-
                  ogy and Public Policy 10:9–54.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 308
                                    of 396




                                         Deterrence in the Twenty-First Century             257

                Durlauf, Steven, S. Navarro, and D. Rivers. 2008. “On the Interpretation of
                  Aggregate Crime Regressions.” In Crime Trends, edited by A. Goldberger
                  and R. Rosenfeld. Washington DC: National Academy of Sciences Press.
                Eck, John E. 1992. “Criminal Investigation.” In What Works in Policing? Op-
                  erations and Administrations Examined, edited by Gary W. Cordner and
                  Donna C. Hale. Cincinnati: Anderson.
                Eck, John E., Jeffrey S. Gersh, and Charlene Taylor. 2000. “Finding Crime
                  Hot Spots through Repeat Address Mapping.” In Analyzing Crime Patterns:
                  Frontiers of Practice, edited by Victor Goldsmith, Philip G. McGuire, John
                  H. Mollenkopf, and Timothy A. Ross. Thousand Oaks, CA: Sage.
                Ehrlich, Isaac. 1975. “The Deterrent Effect of Capital Punishment: A Ques-
                  tion of Life and Death.” American Economic Review 65(3):397–417.
                Erickson, Maynard L., and Jack P. Gibbs. 1979. “On the Perceived Severity of
                  Legal Penalties.” Journal of Criminal Law, Criminology, and Police Science 70:
                  102–16.
                Evans, William N., and Emily G. Owens. 2007. “COPS and Crime.” Journal
                  of Public Economics 91:181–201.
                Ferrier, M., and Jens Ludwig. 2011. “Crime Policy and Informal Social Con-
                  trol.” Criminology and Public Policy 10:1029–36.
                Freeman, Richard B. 1991. Crime and the Employment of Disadvantaged Youths.
                  Cambridge, MA: National Bureau of Economic Research.
                Gibbs, Jack P. 1975. Crime, Punishment, and Deterrence. New York: Elsevier.
                Granger, C. W. J. 1969. “Investigating Causal Relations by Econometric Mod-
                  els and Cross-Spectral Methods.” Econometrica 37:424–38.
                Grasmick, Harold, and George Bryjak. 1980. “The Deterrent Effect of Per-
                  ceived Severity of Punishment.” Social Forces 59(2):471–91.
                Greenwood, Peter, Jan Chaiken, and Joan Petersilia. 1977. The Investigation
                  Process. Lexington, MA: Lexington.
                Greenwood, Peter, and Angela Hawken. 2002. An Assessment of the Effect of
                  California’s Three-Strikes Law. Toronto: Greenwood Associates.
                Grube, Joel W., and Kathleen A. Kearney. 1983. “A ‘Mandatory’ Jail Sentence
                  for Drinking and Driving.” Evaluation Review 7:235–46.
                Hawken, Angela. 2010. “Behavioral Triage: A New Model for Identifying and
                  Treating Substance-Abusing Offenders.” Journal of Drug Policy Analysis 3:
                  1–5.
                Hawken, Angela, and Mark Kleiman. 2009. Managing Drug-Involved Probation-
                  ers with Swift and Certain Sanctions: Evaluating Hawaii’s HOPE. Washington,
                  DC: National Institute of Justice.
                Heaton, Paul. 2010. “Understanding the Effects of Antiproﬁling Policies.”
                  Journal of Law and Economics 53(1):29–64.
                Helland, E., and A. Tabarrok. 2007. “Does Three Strikes Deter? A Nonpara-
                  metric Estimation.” Journal of Human Resources 42(2):309–30.
                Hjalmarsson, Randi. 2008. “Criminal Justice Involvement and High School
                  Completion.” Journal of Urban Economics 63:613–30.
                ———. 2009. “Crime and Expected Punishment: Changes in Perceptions at
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 309
                                    of 396




                258          Daniel S. Nagin

                  the Age of Criminal Majority.” American Law and Economics Review 7:209–
                  48.
                Horney, Julie, and Ineke Haen Marshall. 1992. “Risk Perceptions among Se-
                  rious Offenders: The Role of Crime and Punishment.” Criminology 30:575–
                  93.
                Jacobs, Bruce A., and Richard Wright. 2006. Street Justice: Retaliation in the
                  Criminal Underworld. New York: Cambridge University Press.
                Johnson, Rucker, and Steven Raphael. 2012. “How Much Crime Reduction
                  Does the Marginal Prisoner Buy?” Journal of Law and Economics 55(2):275–
                  310.
                Johnston Lloyd, D., Patrick M. O’Malley, and Jerald G. Bachman. 1981. “Can-
                  nabis Decriminalization: The Impact on Youth 1975–1980.” In Monitoring
                  the Future: Occasional Paper. Ann Arbor, MI: Institute for Social Research.
                Kansas City Police Department, eds. 1977. Response Time Analysis. Kansas City:
                  Kansas City Police Department.
                Kennedy, David M. 2009. Deterrence and Crime Prevention: Reconsidering the
                  Prospect of Sanction. New York: Routledge.
                Kennedy, David M., Anthony A. Braga, Anne Morrison Piehl, and Elin J.
                  Waring. 2001. Reducing Gun Violence: The Boston Gun Project’s Operation
                  Ceaseﬁre. Washington, DC: US National Institute of Justice.
                Kessler, Daniel, and Steven Levitt. 1999. “Using Sentence Enhancements to
                  Distinguish between Deterrence and Incapacitation.” Journal of Law and Eco-
                  nomics 42:348–63.
                Kleck, Gary, and J. C. Barnes. Forthcoming. “Do More Police Lead to
                  More Crime Deterrence?” Crime and Delinquency. doi: 10.1177/
                  0011128710382263.
                Kleck, Gary, Brion Sever, Spencer Li, and Marc Gertz. 2005. “The Missing
                  Link in General Deterrence Research.” Criminology 46:623–59.
                Kleiman, Mark. 2009. When Brute Force Fails, How to Have Less Crime and Less
                  Punishment. Princton, NJ: Princeton University Press.
                Klein, Lawrence R., Brian Forst, and Victor Filatov. 1978. “The Deterrent
                  Effect of Capital Punishment: An Assessment of the Estimates.” In Deterrence
                  and Incapacitation: Estimating the Effects of Criminal Sanctions on Crime Rates,
                  edited by Alfred Blumstein, Jacqueline Cohen, and Daniel S. Nagin. Wash-
                  ington, DC: National Academy of Sciences.
                Klepper, Steven, and Daniel Nagin. 1989a. “The Deterrent Effect of Perceived
                  Certainty and Severity of Punishment Revisited.” Criminology 27(4):721-46.
                ———. 1989b. “Tax Compliance and Perceptions of the Risks of Detection
                  and Criminal Prosecution.” Law and Society Review 23:209–40.
                Klick, Jonathan, and Alexander Tabarrok. 2005. “Using Terror Alert Levels to
                  Estimate the Effect of Police on Crime.” Journal of Law and Economics 46:
                  267–79.
                Lee, David S., and Justin McCrary. 2009. The Deterrent Effect of Prison: Dynamic
                  Theory and Evidence. Princeton, NJ: University of Princeton, Industrial Re-
                  lations Section.
                Levitt, Steven D. 1996. “The Effect of Prison Population Size on Crime Rates:
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 310
                                    of 396




                                        Deterrence in the Twenty-First Century            259

                  Evidence from Prison Overcrowding Legislation.” Quarterly Journal of Eco-
                  nomics 111:319–52.
                ———. 1997. “Using Electoral Cycles in Police Hiring to Estimate the Effect
                  of Police on Crime.” American Economic Review 87:270–90.
                ———. 1998. “Juvenile Crime and Punishment.” Journal of Political Economy
                  106:1156–85.
                ———. 2002. “Using Electoral Cycles in Police Hiring to Estimate the Effect
                  of Police on Crime: Reply.” American Economic Review 92:1244–50.
                ———. 2006. “The Case of the Critics Who Missed the Point: A Reply to
                  Webster et al.” Criminology and Public Policy 5:449–60.
                Liedka, Raymond V., Anne Morrison Piehl, and Bert Useem. 2006. “The
                  Crime-Control Effect of Incarceration: Does Scale Matter?” Criminology and
                  Public Policy 5:245–76.
                Lochner, Lance. 2007. “Individual Perceptions of the Criminal Justice Sys-
                  tem.” American Economic Review 97:444–60.
                Loftin, Colin, Milton Heumann, and David McDowall. 1983. “Mandatory
                  Sentencing and Firearms Violence: Evaluating an Alternative to Gun Con-
                  trol.” Law and Society Review 17:287–318.
                Loftin, Colin, and David McDowall. 1981. “‘One with a Gun Gets You Two’:
                  Mandatory Sentencing and Firearms Violence in Detroit.” Annals of the
                  American Academy of Political and Social Science 455(1):150–67.
                ———. 1984. “The Deterrent Effects of the Florida Felony Firearm Law.”
                  Journal of Criminal Law and Criminology 75:250–59.
                Ludwig, Jens, Jeffrey R. Kling, and Sendhil Mullainathan. 2011. “Mechanism
                  Experiments and Policy Evaluations.” Journal of Economic Perspectives 25(3):
                  17–38.
                MacCoun, Robert, Rosalie Liccardo Pacula, Jamie Chriqui, Katherine Harris,
                  and Peter Reuter. 2009. “Do Citizens Know Whether Their State Has De-
                  criminalized Marijuana? Assessing the Perceptual Component of Deterrence
                  Theory.” Review of Law and Economics 5:347–71.
                Marvell, Thomas B., and C. Moody Jr. 1994. “Prison Population Growth and
                  Crime Reduction.” Journal of Quantitative Criminology 10:109–40.
                ———. 1996. “Speciﬁcation Problems, Police Levels, and Crime Rates.” Crim-
                  inology 34:609–46.
                Matsueda, Ross L., D. A. Kreager, and D. Huizinga. 2006. “Deterring Delin-
                  quents: A Rational Choice Model of Theft and Violence.” American Socio-
                  logical Review 71:95–122.
                McCrary, Justin. 2002. “Using Electoral Cycles in Police Hiring to Estimate
                  the Effect of Police on Crime: Comment.” American Economic Review 92:
                  1236–43.
                McDowall, D., C. Loftin, and B. Wiersema. 1992. “A Comparative Study of
                  the Preventive Effects of Mandatory Sentencing Laws for Gun Crimes.”
                  Journal of Criminal Law and Criminology 83:378–94.
                Meier, R. F., and W. T. Johnson. 1977. “Deterrence as Social Control: The
                  Legal and Extralegal Production of Conformity.” American Sociological Review
                  42:292–304.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 311
                                    of 396




                260         Daniel S. Nagin

                Minor, W. W. 1977. “A Deterrence-Control Theory of Crime.” In Theory of
                  Criminology, edited by R. F. Meier. Beverly Hills, CA: Sage.
                Mulvey, E. P. 2011. Highlights from Pathways to Desistance: A Longitudinal Study
                  of Serious Adolescent Offenders. Juvenile Justice Fact Sheet. Washington, DC:
                  Department of Justice.
                Nagin, Daniel S. 1998. “Criminal Deterrence Research at the Outset of the
                  Twenty-First Century.” In Crime and Justice: A Review of Research, vol. 23,
                  edited by Michael Tonry. Chicago: University of Chicago Press.
                Nagin, Daniel S., Francis T. Cullen, and Cheryl Lero Jonson. 2009. “Impris-
                  onment and Reoffending.” In Crime and Justice: A Review of Research, vol.
                  38, edited by Michael Tonry. Chicago: University of Chicago Press.
                Nagin, Daniel S., and Raymond Paternoster. 1993. “Enduring Individual Dif-
                  ferences and Rational Choice Theories of Crime.” Law and Society Review
                  27:467–99.
                ———. 1994. “Personal Capital and Social Control: The Deterrence Impli-
                  cations of Individual Differences in Criminal Offending.” Criminology 32:
                  581–606.
                Nagin, Daniel S., and John V. Pepper, eds. 2012. Deterrence and the Death
                  Penalty. Washington, DC: National Academies Press.
                Nagin, Daniel S., and Greg Pogarsky. 2001. “Integrating Celerity, Impulsivity,
                  and Extralegal Sanction Threats into a Model of General Deterrence: The-
                  ory and Evidence.” Criminology 39:865–92.
                ———. 2003. “An Experimental Investigation of Deterrence: Cheating, Self-
                  Serving Bias, and Impulsivity.” Criminology 41:167–93.
                Owens, Emily G. 2009. “More Time, Less Crime? Estimating the Incapaci-
                  tative Effects of Sentence Enhancements.” Journal of Labor Economics 53(3):
                  551–79.
                Packer, H. L. 1968. The Limits of the Criminal Sanction. Stanford, CA: Stanford
                  University Press.
                Papachristos, Andrew V., Tracey L. Meares, and Jeffrey Fagan. 2007. “Atten-
                  tion Felons: Evaluating Project Safe Neighborhoods in Chicago.” Journal of
                  Empirical Legal Studies 4:223–72.
                Paternoster, Raymond. 1983. “Estimating Perceptual Stability and Deterrent
                  Effects: The Role of Perceived Legal Punishment in the Inhibition of Crim-
                  inal Involvement.” Journal of Criminal Law and Criminology 74:210–97.
                ———. 2010. “How Much Do We Really Know about Criminal Deterrence?”
                  Journal of Criminal Law and Criminology 10(3):765–823.
                Paternoster, Raymond, and Alex Piquero. 1995. “Reconceptualizing Deter-
                  rence: An Empirical Test of Personal and Vicarious Experiences.” Journal of
                  Research in Crime and Delinquency 32:251–86.
                Paternoster, Raymond, Linda E. Saltzman, Theodore G. Chiricos, and Gordon
                  P. Waldo. 1982. “Perceived Risk and Deterrence: Methodological Artifacts
                  in Perceptual Deterrence Research.” Journal of Criminal Law and Criminology
                  73:1238–58.
                Piliavin, Irving, Craig Thornton, Rosemary Gartner, and Ross L. Matsueda.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 312
                                    of 396




                                         Deterrence in the Twenty-First Century            261

                  1986. “Crime, Deterrence, and Rational Choice.” American Sociological Re-
                  view 51:101–19.
                Piquero, Alex, Raymond Paternoster, Greg Pogarsky, and Thomas A. Lough-
                  ran. 2011. “Elaborating the Individual Difference Component in Deterrence
                  Theory.” Annual Review of Law and Social Science 7:355–60.
                Pogarsky, Greg. 2007. “Deterrence and Individual Differences among Con-
                  victed Offenders.” Quantitative Criminology 23(1):59–74.
                Pogarsky, Greg, KiDuek Kim, and Raymond Paternoster. 2005. “Perceptual
                  Change in the National Youth Survey: Lessons for Deterrence Theory and
                  Offender Decision-Making.” Justice Quarterly 22:1–29.
                Pogarsky, Greg, and Alex R. Piquero. 2003. “Can Punishment Encourage Of-
                  fending? Investigating the ‘Resetting’ Effect.” Journal of Research in Crime
                  and Delinquency 40:95–120.
                Pogarsky, Greg, Alex R. Piquero, and Raymond Paternoster. 2004. “Modeling
                  Change in Perceptions about Sanction Threats: The Neglected Link in De-
                  terrence Theory.” Journal of Quantitative Criminology 20:343–69.
                Poutvaara, Panu, and Mikael Priks. 2006. “Hooliganism in the Shadow of a
                  Terrorist Attack and the Tsunami: Do Police Reduce Group Violence?”
                  Working Paper no. 1882. Munich: Center for Economic Studies and Ifo
                  Institute for Economic Research.
                Raphael, Steven. 2006. “The Deterrent Effects of California’s Proposition 8:
                  Weighing the Evidence.” Criminology and Public Policy 5:471–78.
                Raphael, Steven, and Jens Ludwig. 2003. “Prison Sentence Enhancements:
                  The Case of Project Exile.” In Evaluating Gun Policy: Effects on Crime and
                  Violence, edited by Jens Ludwig and Philip J. Cook. Washington, DC: Brook-
                  ings Institution Press.
                Raphael, Steven, and Michael A. Stoll. 2009. “Why Are So Many Americans
                  in Prison?” In Do Prisons Make Us Safer? The Beneﬁts and Costs of the Prison
                  Boom, edited by Steven Raphael and Michael A. Stoll. New York: Sage.
                Reuter, Peter, and Howard Pollack. 2012. “Good Markets Make Bad Neigh-
                  bors: Regulating Open-Air Drug Markets.” Criminology and Public Policy
                  11(2):211–20.
                Roncek, Dennis W. 2000. “Schools and Crime.” In Analyzing Crime Patterns:
                  Frontiers of Practice, edited by Victor Goldsmith, Philip G. McGuire, John
                  H. Mollenkopf, and Timothy A. Ross. Thousand Oaks, CA: Sage.
                Ross, H. Laurence. 1973. “Law, Science, and Accidents: The British Road
                  Safety Act of 1967.” Journal of Legal Studies 2:1–78.
                ———. 1982. Deterring the Drinking Driver: Legal Policy and Social Control.
                  Lexington, MA: Lexington.
                Sherman, Lawrence W. 1990. “Police Crackdowns: Initial and Residual De-
                  terrence.” In Crime and Justice: A Review of Research, vol. 12, edited by Mi-
                  chael Tonry and Norval Morris. Chicago: University of Chicago Press.
                ———. In this volume. “The Rise of Evidence-Based Policing: Targeting,
                  Testing, and Tracking.”
                Sherman, Lawrence W., and Richard A. Berk. 1984. “The Speciﬁc Deterrent
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 313
                                    of 396




                262         Daniel S. Nagin

                  Effects of Arrest for Domestic Assault.” American Sociological Review 49:261–
                  72.
                Sherman, Lawrence W., and John E. Eck. 2002. “Policing for Prevention.” In
                  Evidence Based Crime Prevention, edited by Lawrence W. Sherman, David
                  Farrington, and Brandon Welsh. New York: Routledge.
                Sherman, Lawrence W., Patrick Gartin, and Michael Buerger. 1989. “Hot
                  Spots of Predatory Crime: Routine Activities and the Criminology of Place.”
                  Criminology 27:27–55.
                Sherman, Lawrence, and David Weisburd. 1995. “General Deterrent Effects
                  of Police Patrol in Crime ‘Hot Spots’: A Randomized Study.” Justice Quar-
                  terly 12:625–48.
                Shi, Lan. 2009. “The Limits of Oversight in Policing: Evidence from the 2001
                  Cincinnati Riot.” Journal of Public Economics 93:99–113.
                Snell, T. L. 2010. Capital Punishment 2009—Statistical Tables. Washington, DC:
                  US Department of Justice.
                Spelman, William. 2000. “What Recent Studies Do (and Don’t) Tell Us about
                  Imprisonment and Crime.” In Crime and Justice: A Review of Research, vol.
                  27, edited by Michael Tonry. Chicago: University of Chicago Press.
                Spelman, William, and Dale K. Brown. 1981. Calling the Police: A Replication
                  of the Citizen Reporting Component of the Kansas City Response Time Analysis.
                  Washington, DC: Police Executive Research Forum.
                Stafford, Mark C., and Mark Warr. 1993. “A Reconceptualization of General
                  and Speciﬁc Deterrence.” Journal of Research in Crime and Delinquency 30:
                  123–35.
                Stolzenberg, Lisa, and Stewart J. D’Alessio. 1997. “‘Three Strikes and You’re
                  Out’: The Impact of California’s New Mandatory Sentencing Law on Se-
                  rious Crime Rates.” Crime and Delinquency 43(4):457–69.
                Tittle, Charles. 1977. “Sanction Fear and the Maintenance of Social Order.”
                  Social Forces 55:579–96.
                ———. 1980. Sanctions and Social Deviance: The Question of Deterrence. New
                  York: Praeger.
                Tonry, Michael. 1996. Sentencing Matters. Oxford: Oxford University Press.
                ———. 2009. “The Mostly Unintended Effects of Mandatory Penalties: Two
                  Centuries of Consistent Findings.” In Crime and Justice: A Review of Research,
                  vol. 38, edited by Michael Tonry. Chicago: University of Chicago Press.
                Vollaard, Ben. 2013. “Preventing Crime through Selective Incapacitation.” Eco-
                  nomic Journal 123(567):262–84.
                Waldfogel, Joel. 1994. “The Effect of Criminal Conviction on Income and the
                  Trust ‘Reposed in the Workmen.’” Journal of Human Resources 29:62–81.
                Webster, Cheryl Marie, Anthony Doob, and Franklin Zimring. 2006. “Prop-
                  osition 8 and Crime Rates in California: The Case of the Disappearing
                  Deterrent.” Criminology and Public Policy 5:417–48.
                Weisburd, David, Shawn Bushway, Cynthia Lum, and Su-Ming Yang. 2004.
                  “Trajectories of Crime at Places: A Longitudinal Study of Street Segments
                  in the City of Seattle.” Criminology 42:238–320.
                Weisburd, David, and John Eck. 2004. “What Can Police Do to Reduce
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 314
                                    of 396




                                        Deterrence in the Twenty-First Century            263

                  Crime, Disorder, and Fear?” Annals of the American Academy of Political and
                  Social Science 593:42–65.
                Weisburd, David, Tomar Einat, and Matt Kowalski. 2008. “The Miracle of the
                  Cells: An Experimental Study of Interventions to Increase Payment of
                  Court-Ordered Financial Obligations.” Criminology and Public Policy 7:9–36.
                Weisburd, David, and Lorraine Green. 1995. “Policing Drug Hot Spots: The
                  Jersey City Drug Market Analysis Experiment.” Justice Quarterly 12:711–35.
                Wikström, Per-Olof H., D. Oberwittler, K. Treiber, and B. Hardie. 2012.
                  Breaking Rules: The Social and Situational Dynamics of Young People’s Urban
                  Crime. Oxford: Oxford University Press.
                Williams, Kirk R., Jack P. Gibbs, and Maynard L. Erickson. 1980. “Public
                  Knowledge of Statutory Penalties: The Extent and Basis of Accurate Per-
                  ception.” Sociological Review 23:105–28.
                Williams, Kirk R., and Richard Hawkins. 1986. “Perceptual Research on Gen-
                  eral Deterrence: A Critical Overview.” Law and Society Review 20:545–72.
                Wilson, J. M., and S. Chermak. 2011. “Community-Driven Violence Reduc-
                  tion Programs.” Criminology and Public Policy 10:993–1027.
                Wood, Peter B., and David C. May. 2003. “Racial Differences in Perceptions
                  of Severity of Sanctions: A Comparison of Prison with Alternatives.” Justice
                  Quarterly 20(3):605–31.
                Wright, Richard T., and Scott H. Decker. 1994. Burglars on the Job: Streetlife
                  and Residential Break-ins. Boston: Northeastern University Press.
                Zimring, Franklin, and Gordon Hawkins. 1973. Deterrence: The Legal Threat
                  in Crime Control. Chicago: University of Chicago Press.
                Zimring, Franklin E., Gordon Hawkins, and Sam Kamin. 2001. Punishment
                  and Democracy: Three Strikes and You’re Out in California. New York: Oxford
                  University Press.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 315
                                    of 396




                     EXHIBIT O
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 316
                                    of 396


                                                                          Journal of Economic Psychology 47 (2015) 1–16



                                                                         Contents lists available at ScienceDirect


                                                          Journal of Economic Psychology
                                                      journal homepage: www.elsevier.com/locate/joep


   Review

   Like ripples on a pond: Behavioral spillovers and their
   implications for research and policy
   Paul Dolan, Matteo M. Galizzi ⇑
   Department of Social Policy, Behavioral Research Lab, London School of Economics, UK
   Centre for the Study of Incentives in Health, Institute of Psychiatry, King’s College London, UK



   a r t i c l e             i n f o                                     a b s t r a c t

   Article history:                                                      No behavior sits in a vacuum, and one behavior can greatly affect what happens next. We
   Received 30 March 2014                                                propose a conceptual frame within which a broad range of behavioral spillovers can be
   Received in revised form 15 December 2014                             accounted for when applying behavioral science to policy challenges. We consider behav-
   Accepted 18 December 2014
                                                                         iors which take place sequentially and are linked, at a conscious or unconscious level, by
   Available online 5 January 2015
                                                                         some underlying motive. The ﬁrst behavior leads to another behavior which can either
                                                                         work in the same direction as the ﬁrst (promoting spillover), or push back against it (per-
   JEL classiﬁcation:
                                                                         mitting or purging spillover). Looking through this conceptual lens at the existing evidence,
   C18
   C91
                                                                         we ﬁnd pervasive evidence for all kinds of spillover effects across a variety of ﬁelds and
   C93                                                                   domains. As a result, behavioral scientists, especially those seeking to inform policy, should
   D03                                                                   try to capture all the ripples from one behavior to the next when a pebble of intervention is
                                                                         thrown in the pond, and not just at the immediate behavioral splash it makes.
   PsycINFO classiﬁcation:                                               Ó 2014 The Authors. Published by Elsevier B.V. This is an open access article under the CC BY
   2260                                                                                                         license (http://creativecommons.org/licenses/by/4.0/).
   2346
   2360
   3040

   Keywords:
   Behavioral spillovers
   Policy-making
   Nudges
   Crowding in/out




   Contents

     1.    Introduction . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   2
     2.    Behavioral spillovers . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        2
     3.    Promoting spillovers . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         6
     4.    Permitting spillovers . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        7
     5.    Purging spillovers . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     8
     6.    Facilitating conditions for promoting, permitting, and purging spillovers . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        8




    ⇑ Corresponding author at: Department of Social Policy, Behavioral Research Lab, LSE Health, London School of Economics, Houghton Street, G09 Cowdray
   House, WC2A2AE London, UK. Tel.: +44 020 7955 5386.
      E-mail address: m.m.galizzi@lse.ac.uk (M.M. Galizzi).

   http://dx.doi.org/10.1016/j.joep.2014.12.003
   0167-4870/Ó 2014 The Authors. Published by Elsevier B.V.
   This is an open access article under the CC BY license (http://creativecommons.org/licenses/by/4.0/).
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 317
                                    of 396


    2                                                        P. Dolan, M.M. Galizzi / Journal of Economic Psychology 47 (2015) 1–16


        7.   Future directions and challenges. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10
             Acknowledgments . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
             References . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11




    1. Introduction

        Policymakers have begun taking seriously the results of behavioral research (Camerer, 1999; Camerer, Issacharoff,
    Loewenstein, O’Donoghue, & Rabin, 2003; Congdon, Kling, & Mullainathan, 2011; Dolan et al., 2011; Shaﬁr, 2012;
    Sunstein, 2011; Thaler & Sunstein, 2003). This trend is to be welcomed but the various discussions of the evidence are typ-
    ically made in ‘behavioral silos’, focusing on one speciﬁc behavioral response at a time (Thøgersen, 1999a). Yet no behavior
    sits in a vacuum and we need to consider the possible spillover effects from one behavioral response to the next.
        Imagine an intervention that successfully reduces energy consumption in the home, e.g. by installing LED light bulbs, but
    that has the spillover effect of increasing energy use elsewhere, e.g. through leaving more lights on at work. Some or all of the
    beneﬁts from the reduction in CO2 emissions could be lost (Gillingham, Kotchen, Rapson, & Wagner, 2013; Jacobsen,
    Kotchen, & Vandenbergh, 2012; Thøgersen & Crompton, 2009; Tiefenbeck, Staake, Roth, & Sachs, 2013). To inform policy,
    we should ideally capture all ripples of behavior when a pebble of intervention is thrown in the pond. The ‘mapping of these
    ripples is now one of the most exciting pursuits in psychological research’ (Kahneman, 2011, p.53).

    2. Behavioral spillovers

        We propose a conceptual frame within which a broad range of ‘behavioral spillovers’ (Thøgersen, 1999a) can be system-
    atically interpreted when applying behavioral science to policy challenges. Our framework is based on three building blocks.
        First, we begin by assuming that two different behaviors take place sequentially: behavior 1 is followed by behavior 2. This
    differentiates the analysis of behavioral spillovers from the long-established, distinct, literature on adaptive learning, which
    typically focuses on the repetition of the same behavior over time (e.g. learning in repeated games, as opposed to playing
    one-shot games, Fudenberg & Levine, 1998; Goeree & Holt, 2001; Vega-Redondo, 1996).
        The typical situation we have in mind is a sequence of two different behaviors where behavior 1 is the target of an inter-
    vention. An intervention is deﬁned broadly here: it could be a policy intervention by a public decision-maker, or an exper-
    imental manipulation by a researcher. Implicitly, the following discussion is conducted on the presumption that we can
    compare a ‘treatment’ case where behavior 1 is targeted by an intervention with a ‘control’ group where there is no inter-
    vention. What we would like to emphasize, however, is that the key focus of our interest here is what happens to behavior
    2 as the consequence of the intervention.
        It is not uncommon, in fact, to ﬁnd studies in the economics and psychology literatures where it is looked at when and
    how a policy intervention could ‘backﬁre’ in the sense of having unintended compensatory or offsetting effects with respect
    to the ones originally envisaged by the decision-maker (e.g. Schultz, Nolan, Cialdini, Goldstein, & Griskevicius, 2007). For
    instance, for interventions in the context of risk and safety (e.g. seat belts in cars), the theories of risk compensation, risk
    homeostasis, or behavioral adaptation have since long argued that people can adjust their behavior in response to the per-
    ceived level of risk (Asch, Levy, Shea, & Bodenhorn, 1991; Bhattacharyya & Layton, 1979; Cohen & Einav, 2003; Evans &
    Graham, 1991; Garbacz, 1990a, 1990b, 1991, 1992; Peltzman, 1975; Rudin-Brown & Jamson, 2013; Schoemaker, 1993;
    Viscusi & Cavallo, 1994; Wilde, 1982a, 1982b, 1998; Wilde, Robertson, & Pless, 2002). This is an interesting but distinct ques-
    tion, the difference with our focus here being that those analyses typically look at the impact of the intervention on the same
    behavior originally targeted, not at what happens to another behavior occurring later on.
        To narrow further down the scope of our analysis, we exclude from our remit two types of ‘interventions’ that deserve
    separate investigation. The ﬁrst one refers to all those situations where behavior 1 is not conceptually distinguishable from
    the intervention itself. Some archetypical examples of these situations refer to the literature on priming (Bargh, 1990;
    Gollwitzer, Heckhausen, & Steller, 1990). Priming occurs unconsciously when ‘the passive activation of trait categories in
    one situational context carried over to inﬂuence social judgments in subsequent, ostensibly unrelated contexts’ (Bargh, 2006,
    p.148). Among the many examples, more self-sufﬁcient behavior was prompted by the mere presence of a pile of Monopoly
    notes or a screensaver with various denominations of currency (Vohs, Mead, & Goode, 2006), whereas more cooperative, or
    competitive, behavior was prompted by the mere presence of a backpack, or a briefcase, respectively (Kay, Wheeler, Bargh, &
    Ross, 2004). As another ‘ideomotor’ example, subjects shown pictures of a library spoke more quietly thereafter than subjects
    shown pictures of a railway station (Aarts & Dijksterhuis, 2003).
        While in all these priming situations, the intervention clearly affects a subsequent behavior, it is also clear that ‘behavior
    1’ consists of the mere exposure to the priming manipulation itself which, more often than not, is a subliminal presentation
    of words or images. In other words, rather than a triplet ‘intervention – behavior 1 – behavior 2’ most priming situations con-
    sist of a manipulation and a single behavior.
        The second area excluded from our analysis pertains to price mechanisms and ﬁnancial incentives. For instance, the overall
    use of energy can increase in response to an environmental policy intervention that results in lower costs of the energy. We
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 318
                                    of 396


                                         P. Dolan, M.M. Galizzi / Journal of Economic Psychology 47 (2015) 1–16                             3


   do not see this effect as a ‘behavioral spillover’, though: it is merely a market adjustment to a relative price change, similarly
   to many other ‘rebound’ effects commonly referred to as ‘Jevons paradoxes’ (Alcott, 2005; Jevons, 1866).
       Analogously, the economic and psychology literature on ﬁnancial incentives has since long highlighted the ‘hidden costs’ of
   incentives (Fehr & List, 2004), including crowding out of intrinsic motivation (Deci, Koestner, & Ryan, 1999; Frey &
   Oberholzer-Gee, 1997); changing social norms or individual beliefs about social norms (Gneezy & Rustichini, 2000a,
   2000b; Heyman & Ariely, 2004); interacting in unpredictable ways with reciprocity, reputation, and social comparison con-
   cerns (Ariely, Bracha, & Meier, 2009; Dur, Non, & Roelfsema, 2010; Fehr & Gachter, 1997; Gachter & Thoni, 2010; Greiner,
   Ockenfels, & Werner, 2011; Rigdon, 2009); and ‘choking’ due to the anxiety aroused by relating payment to performance
   (Ariely, Gneezy, Loewenstein, & Mazar, 2009). In such cases, incentives may ‘backﬁre’, in that they result in the opposite
   effects to the ones originally envisaged (Bénabou & Tirole, 2003, 2006; Fehr & Falk, 2002; Kamenica, 2012). The focus of such
   ‘unintended consequences’ of ﬁnancial incentives, however, has mainly been on the same behavior originally targeted by the
   incentive. With few exceptions (e.g. Al-Ubaydli, Andersen, Gneezy, & List, in press; Dolan & Galizzi, 2014), this stream of lit-
   erature has not looked at the spillover effects that incentives may have on behaviors other than the one directly targeted. For
   the same reasons highlighted above about the studies on risk compensation and price adjustments, we thus exclude the lit-
   erature on ﬁnancial incentives from our analysis, and reiterate that our core interest here is on what happens to behavior 2
   after the intervention.
       The second building block of our conceptual framework is that we assume that the two subsequent behaviors are linked,
   at a conscious or unconscious level, by some underlying motive. With motives here we mean a broadly intended range of
   factors that drive behavior (Bargh & Barndollar, 1996). When behaviors occur under conscious deliberation and individuals
   are fully aware of their preferences, the motive can be represented as the argument of a standard utility function, as typically
   postulated in traditional economics models.
       More generally, motives can also be conceptualized as deep preferences, ‘self-deﬁning’ or ‘identity goals’ (Wicklund &
   Gollwitzer, 1981, 1982), or ‘long-term goals, major afﬁliations, and basic values’ (Baumeister, 1986): individuals may at times
   be uncertain over these motives, may not consciously attend to them, or may even be unaware of them, because, for instance,
   of imperfect recall, or because distracted by other more salient or tempting options (Aarts & Dijksterhuis, 2000; Akerlof &
   Kranton, 2000; Bargh & Barndollar, 1996; Bargh, Gollwitzer, Lee-Chai, Barndollar, & Trotschel, 2001; Bénabou & Tirole,
   2006, 2011; Chartrand & Bargh, 1996; DellaVigna, 2009; Dijksterhuis & Bargh, 2001; Dijksterhuis, Bos, Nordgren, & van
   Baaren, 2006; Dijksterhuis & Nordgren, 2006; Gneezy, Gneezy, Riener, & Nelson, 2012; Gneezy, Imas, Brown, Nelson, &
   Norton, 2012; Gollwitzer, 1990; Kahneman, 2003; Kruglanski et al., 2002; Norton, 2012; Novemsky & Dhar, 2005; Trope
   & Fishbach, 2000).
       To visualize this most general case, what we have in mind is an analytical framework such as the prominent ‘Beliefs As
   Assets’ model for moral behavior by Bénabou and Tirole (2011), to which we refer for a full theoretical analysis. For the sake
   of illustration only, we report here a simpliﬁed variant of the Bénabou and Tirole (2011) model inspired to the ‘general sat-
   isfaction’ idea by Frijters (2000) and Van Praag, Frijters, and Ferrer-i-Carbonell (2003), and to its extension in terms of the
   Adaptive Global Utility Model (AGUM) by Bradford and Dolan (2010).
       In our setting, we imagine that an individual derives satisfaction from k = 1, . . ., K primitive life-satisfaction ‘accounts’: for
   instance, wealth, health, career, family, morality, friendship, pleasure, purpose, political engagement, the environment, and
   so on. In this setting, motives correspond to those life satisfaction accounts, the ‘deep preferences’ driving individual choices
   and actions. The multiplicity of motives reﬂects the fact that, in reality, we may hold different, possibly conﬂicting, identity
   goals simultaneously (Baumeister & Vohs, 2007; Carver, 2003; Carver & Scheier, 1998; Dhar & Simonson, 1999; Fishbach &
   Dhar, 2005; Kruglanski et al., 2002; Louro, Pieters, & Zeelenberg, 2007; Simon, 1967; Stroebe, Mensink, Aarts, Schut, &
   Kruglanski, 2008; Susewind & Hoelzl, 2014), and corresponds to the case of ‘multidimentional identity’ in Bénabou and
   Tirole (2011).
       We next imagine that XN represents the space of all possible behavioral outcomes. For instance, think at an outcome as a
   consumption bundle, an allocation of money across different destinations, or a distribution of time or effort among different
   activities. A speciﬁc behavioral outcome xi 2 X N is thus an observable metrics: the amount of money spent in a luxury good
   or donated to a charity; the hours in a day spent working, exercising, or volunteering; the number of CO2 emissions. Indi-
   viduals are assumed to have a, conscious or unconscious, single preference relation, P, which supports a one-dimensional
   ranking across all pair-wise comparisons of possible outcomes ðxi ; xj Þ 2 X N where (xi, xj) represent N-dimensional vectors of
   speciﬁc points in the overall behavioral outcomes space XN.
       What is more, we assume that there exists a proﬁle of preference relations
          P B ðP1 ; P2 ; . . . ; Pk Þ                                                                                                     ð1Þ
                                                       N
   which maps the possible outcomes ðxi ; xj Þ 2 X onto rankings deﬁned over each of the k = 1, . . ., K primitive life-satisfaction
   ‘accounts’ for a speciﬁc individual. Thus, for instance, one behavioral outcome can be preferred to an alternative over a
   motive (e.g. pleasure, career) but not over another one (e.g. health, family).
        As in the AGUM model, one can visualize each preference relation using functional relationships
   v k ðxi Þ : X N ! Rþ ; 8 k ¼ 1; . . . ; k, such that vk(xi) P vk(xj) if and only if xi P k xj. These functions can be rationalized as value
   functions of the direct satisfaction from a behavioral outcome for each of the k = 1, . . ., K primitive accounts, such that the sin-
   gle vector of outcomes xi simultaneously generates K measures of direct life satisfaction. This reﬂects the idea that the same
   behavior or mean can serve more than one identity goal (‘multiﬁnality’ in Shah, Friedman, and Kruglanski (2002)).
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 319
                                    of 396


    4                                         P. Dolan, M.M. Galizzi / Journal of Economic Psychology 47 (2015) 1–16


        Importantly, besides direct satisfaction from a behavioral outcome, each motive’s life satisfaction also includes indirect
    utility from self-perception or self-image Ik() over that same account. This reﬂects the idea that we may derive satisfaction
    not just from tangible behavioral outcomes, but also from the accumulation of signals and beliefs about our own identities
    (Bénabou & Tirole, 2011; Gomez-Minambres, 2012; Mazar, Amir, & Ariely, 2008; Nisan & Horenczyk, 1990; Tesser, 1988;
    Wicklund & Gollwitzer, 1981). For instance, in the prominent context of donations, one can derive direct utility from con-
    tributing to a public good (‘pure altruism’) but also indirectly from feeling good about the act of giving itself (e.g. the
    ‘warm-glow’ in Andreoni (1990)). In line with the ‘self-inference’ process described by Bénabou and Tirole (2011), in fact, indi-
    viduals derive indirect satisfaction from signals because they may have no conscious access to their deep preferences, or
    because they recall their true motives and identities only imperfectly. The indirect satisfaction from self-image signals,
    moreover, is a key channel through which the various self-regulation mechanisms based on entitlement and justiﬁcation
    take place (De Witt Huberts, Evers, & De Ridder, 2014; Hsee, 1995; Kivetz & Simonson, 2002; Kivetz & Zheng, 2006;
    Merritt, Effron, & Monin, 2010; Mukhopadhyay & Johar, 2009).
        Alike in Bénabou and Tirole (2011) we imagine that the accumulation of self-image follows a dynamic process, where the
    levels of Ik() at t = 2 typically depends on the outcomes of behavior 1 and on the initial level of self-image in that account,
    that is: Ikt¼2 ¼ Ik ðxkt¼1 ; Ikt¼1 Þ where t = 1, 2 refers to the time when behavior 1 and 2 take place respectively. This reﬂects the idea
    that self-beliefs are, to some extent, ‘malleable through actions’ (Bénabou & Tirole, 2011). In what follows we assume that
    there are no links between self-images across different motives (e.g. ‘being healthy’ and ‘being green’), but we will return
    to this point in Section 7.
        We further imagine that the account value functions can be combined into an ultimate ‘global life-satisfaction’ function as
    in Frijters (2000) and Van Praag et al. (2003). Alike in the AGUM model, one way to do it is by attaching increasing and quasi-
    concave weights xk() to each particular life account, and, for instance, taking a linear generalized utilitarian form for the
    global satisfaction such as
                    X
           UðxÞ ¼       xk ðÞVðv k ðxÞ; Ik ðÞÞ                                                                                           ð2Þ
                    k

        The weight attached, consciously or unconsciously, to a speciﬁc life satisfaction account reﬂects the facts that the value of
    a given motive can be known only at a subconscious level (Bodner & Prelec, 2003; Fishbach, Friedman, & Kruglanski, 2003;
    Simon, 1967), and that at times people may even be unaware of the existence of some accounts (e.g. one may be unaware of
    career or family motives before getting a job, or meeting the signiﬁcant other, respectively). This also reﬂects the idea of
    ‘multidimentional identity’ in Bénabou and Tirole (2011), where people tradeoff between different dimensions of identity
    ‘linked by uncertainty over their relative value’ (p.815). Equivalently, the weights attached to each life satisfaction account
    can be interpreted in terms of attention (Chabris & Simons, 2011; Dolan, 2014; Kahneman, 1973; Moskowitz, 2002), or as
    indicators of the cognitive ‘accessibility’ of each speciﬁc construct: the higher is the weight, the more accessible is the motive
    (Forster, Liberman, & Higgins, 2005; Goschke & Kuhl, 1993; Higgins & King, 1981; Kruglanski, 1996; Kruglanski & Webster,
    1996; Shah & Kruglanski, 2002, 2003; Srull & Wyer, 1979; Zeigarnik, 1927).
        Finally, alike in the AGUM model, we imagine that the weights attached to each account can also change over time fol-
    lowing a dynamic process similar to the one imagined for the self-images. In particular, the weight of motive k at time t = 2,
    xk() typically depends on the initial level of the weight at t = 1, and on the outcomes of behavior 1, that is
    xkt¼2 ¼ xk ðxkt¼1 ; xkt¼1 Þ where t = 1, 2 refers to the time when behavior 1 and 2 take place respectively. Here too we imagine
    that there are no cross-motives effects on the weights. Such a dynamics of weights readjustment does not necessarily need to
    be conscious or deliberate, though. Weights attached to different motives can shift as result of an unconscious reprioritiza-
    tion process where an unattended goal ‘demands’ a higher priority by ‘intruding on awareness’ (Carver, 2003; Simon, 1967).
    For instance, not only intrusive thoughts, rumination, and dreams, but also moods, affects, and emotions can often manifest
    themselves as calls for reprioritizing weights across identity motives (Carver, 2003; Forster et al., 2005; Fredrickson, 1998;
    Isen, 1987, 2000; Isen & Simmonds, 1978; Lewin, 1951; Martin & Tesser, 1996; Simon, 1967; Tesser, Crepaz, Collins, Cornell,
    & Beach, 2000; Trope & Neter, 1994; Trope & Pomerantz, 1998).
        In our setting, thus, having a high motive is the amalgamation of three main factors: enjoying direct satisfaction from the
    behavioral outcome (‘I have just donated £10 to a good cause’); beneﬁtting from the associated self-inference (‘I am a good
    person’); and, consciously or unconsciously, attaching a high weight to that motive in terms of life satisfaction (‘Being a good
    person makes me happy’).
        This conceptualization of the motives naturally lends itself to introduce the last building block of our framework, the link
    between behavior 1 and 2. In our framework, in fact, the ﬁrst behavior leads to a subsequent behavior which, as the motive is
    concerned, can either work in the same direction as the ﬁrst, or push back against it.
        Consider the initial motive to reduce CO2 emissions by cycling or car-sharing to work (Evans et al., 2013). This could lead
    to another behavior which also reduces emissions, e.g. by using the train instead of the airplane for domestic travel. We refer
    to this sequence of behaviors with concordant sign as a promoting spillover: the initial push to the motive promotes a further
    increase later on.
        The same ﬁrst behavior, however, might instead lead to another behavior which increases emissions, e.g. using the car
    more with our family. We refer to this as a permitting spillover: the initially increased motive permits a subsequent disen-
    gagement from the same. There is then a ﬁnal class of spillovers, which we call purging, where the second behavior is moti-
    vated out of a, conscious or unconscious, desire to undo some of the damage caused by the ﬁrst behavior. For example, we
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 320
                                    of 396


                                         P. Dolan, M.M. Galizzi / Journal of Economic Psychology 47 (2015) 1–16                    5


   might use the train for holidays in response to using long-haul ﬂights for work, so that the ‘environmental’ motive is ﬁrst
   undermined and then restored.
       In practice, the sequence of concordant or discordant signs can be visualized referring to the observable behavioral out-
   come, while the motive’s self-image and weight mainly illustrate the mechanisms linking the two behaviors. Consider these
   further examples.
       Wearing a charity’s pin today (behavior 1) can have a number of effects on tomorrow’s charitable giving (behavior 2). On
   the one hand, it can highlight an underlying ‘pro-sociality’ motive of which we were previously unsure or even unaware,
   leading us to attach a higher weight to that account tomorrow. This more accessible motive, in turn, may lead us to delib-
   erately maximize the direct utility from donating to a charity tomorrow, thus triggering a promoting behavioral spillover.
   Similarly, signing at the top of a tax return form before ﬁlling it out, can lead to unconsciously highlight a previously unat-
   tended ‘morality’ account, with the result of cheating less in the subsequent tax declaration (Shu, Mazar, Gino, Ariely, &
   Bazerman, 2012).
       On the other hand, if the ‘pro-sociality’ motive has already some positive weight attached to it, today’s wearing of the
   charity’s pin can boost our self-image of ‘being a do-gooder’. In turn, this can lead to permitting spillovers through two chan-
   nels. If the utility from self-image is a, perfect or imperfect, substitute for the direct satisfaction from donating money, we
   can end up donating less to a charity tomorrow. Alternatively, or concurrently, having already accomplished, or attended to,
   the ‘pro-sociality’ motive today means that resources can be, consciously or unconsciously, redirected toward other accounts
   tomorrow, with a consequent reprioritization of weights that also leads to donate less to the charity tomorrow.
       On the other hand, a small lie today when claiming a welfare beneﬁt (behavior 1) can have various effects on tomorrow’s
   ‘moral’ behavior (behavior 2). For instance, as long as the ‘morality’ motive is already accessible, today’s lying can depress our
   self-image of ‘being a good person’. In turn, this can lead to purging spillovers through two channels. If the disutility from a
   depressed self-image is a, perfect or imperfect, substitute for the direct satisfaction from paying taxes, we can cheat less in
   our tax declaration tomorrow in order to restore our satisfaction in that account. Alternatively, or concurrently, depressed
   self-image leads to a weight reprioritization that increases the accessibility of the ‘morality’ motive tomorrow. This height-
   ened accessibility, in turn, may also lead us to cheat less in our tax declaration tomorrow.
       Finally, one can also imagine cases of all-negative promoting spillovers. For instance, lying to claim a welfare beneﬁt today
   can compress or temporarily ‘shut down’ the underlying ‘morality’ motive, leading us to no longer attach any weight to that
   account of life satisfaction tomorrow. This reduced accessibility, in turn, may lead us to cheat more in the tax declaration
   tomorrow under the presumption that our moral identity ‘has already gone’, thus triggering a ‘downward spiral’ all-negative
   promoting spillover.
       Fig. 1 illustrates some further possible examples of promoting, permitting, and purging spillovers in the context of health
   behavior.
       Our tri-partition of behavioral spillovers is thus in line with the well-established distinctions in psychology between con-
   sistency (assimilation) and contrast (compensatory) behavior (Bargh et al., 2001; Bem, 1972; Cialdini, Trost, & Newsom, 1995;
   Conway & Peetz, 2012; Cooper & Fazio, 1984; Dijksterhuis & Bargh, 2001; Dijksterhuis et al., 1998; Festinger, 1957; Gneezy,
   Imas et al., 2012; Liberman, Forster, & Higgins, 2007; Mussweiler, 2003; Norton, 2012; Schwarz & Bless, 2005); and between
   reinforcing (highlighting) and compensating (balancing) self-regulatory dynamics (Baumeister, Heatherton, & Tice, 1994;
   Carver, 2003; Carver & Scheier, 1981, 1998; Dhar & Simonson, 1999; Fishbach & Choi, 2012; Fishbach & Dhar, 2005;
   Fishbach, Koo, & Finkelstein, in press; Fishbach & Zhang, 2008; Fishbach, Zhang, & Koo, 2009). In economics, our tri-partition
   echoes the distinctions between motivation crowding-in and crowding-out; complement and substitution effects; and positive
   and negative externalities (Bénabou & Tirole, 2003, 2006; Frey & Oberholzer-Gee, 1997; Gneezy & Rustichini, 2000a, 2000b).
       Also, our tri-partition openly reckons that, when it comes to compensatory or contrast behavior, the order of discordant
   signs really matters (Forster, Grant, Idson, & Higgins, 2001; Truelove, Carrico, Weber, Raimi, & Vandenbergh, 2014). The psy-
   chological drivers beyond permitting and purging spillovers, in fact, are conceptually and practically very distinct. The per-
   mitting versus purging distinction, for instance, is closely in line with ‘self-completion theory’ (Wicklund & Gollwitzer,
   1981, 1982), which postulates that, upon achieving an identity-relevant goal, we can feel ‘complete’ and thus ‘temper’
   our future identity goal strivings. Conversely, upon experiencing a failure in pursuing an identity goal, we can feel ‘incom-
   plete’ and step up our goal striving. The distinction is also in line with the closely connected ‘cybernetic control’, ‘feedback-
   loop’, or ‘cruise control’ model (Carver, 2003; Carver & Scheier, 1981, 1982, 1990, 1998): while after feeling a failure we

                                                                              Behavior 2
                                                                       Eat healthy               Eat Less Healthy
                                                                       Promoting                    Permitting
                                                 A run after
                                                    work        I ran an hour, let’s keep    I ran an hour, I deserve a
                                                                    up the good work              big slice of cake
                                   Behavior 1
                                                                        Purging                     Promoting
                                                 Sofa-sitting                                 I’ve been lazy today, so
                                                 after work     I’ve been lazy today, best
                                                                                             what the heck, let’s have a
                                                                 not eat so much tonight
                                                                                                  big slice of cake

                           Fig. 1. Examples of promoting, permitting, and purging behavioral spillovers in health behavior.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 321
                                    of 396


    6                                       P. Dolan, M.M. Galizzi / Journal of Economic Psychology 47 (2015) 1–16


                                                                  Behavioral spillovers


                                             Concordant sign                                Discordant sign


                                    Behavior 1 +            Behavior 1 -            Behavior 1 +           Behavior 1 -
                                    Behavior 2 +            Behavior 2 -            Behavior 2 -           Behavior 2 +


                                                  Promoting                          Permitting               Purging


                                    Cognitive  Foot-in-        Intention-        Ego-          Moral         Moral
                                   dissonance the-door          behavior       depletion     Licensing     Cleansing

                                   Question-                                     Reverse                  Transgression
                                                 Rationality Field-lab                      Rest-on-
                                   behavior /                                  foot-in-the-                compliance /
                                                 crossovers spillovers                       laurels
                                    survey                                        door                      state relief

                                                  Emotion                         Single      Self-
                                    Cross-                   What-the-                               Conscience
                                                carryovers /                   action bias / concept
                                    games                      hell                                  accounting
                                                self-herding                    coasting maintenance

              Fig. 2. Main types of promoting, permitting, and purging behavioral spillovers documented in the behavioral science literatures.


    typically try harder in an attempt to catch up, after experiencing a progress in excess of our envisaged target we are likely to
    ‘coast’ a little, ‘not necessarily stop, but ease back’ (Carver, 2003, p. 246). In our setting, this temporary ‘pull back’ dynamics is
    one of the mechanisms explaining how ‘freed up’ resources can lead to reprioritize weights across motives.
       All the above conceptualizations in psychology and economics have insofar proceeded along parallel streams, and our
    framework attempts to bring them closer together. Looking at the evidence from behavioral science through our conceptual
    lens, we can see that spillovers are documented extensively across a variety of ﬁelds and domains: Fig. 2 summarizes the
    main types of promoting, permitting, and purging spillovers.

    3. Promoting spillovers

        The two archetypical promoting spillovers are the cognitive dissonance (Bem, 1972; Festinger, 1957; Festinger &
    Carlsmith, 1959) and the foot-in-the-door effects (Burger, 1999; Freedman & Fraser, 1966; Pliner, Hart, Kohl, & Saari,
    1974). What they have in common is that both essentially posit a preference for consistency (Alberracin & Wyler, 2000;
    Cialdini, 1984; Cialdini et al., 1995): we tend to behave consistently with our prior actions and beliefs. So, for instance, if
    we have already agreed to a relatively costless request (e.g. signing a petition in favor of ‘Keeping California Beautiful’), we
    are more likely to agree to another more costly request (e.g. displaying a large signboard in the front lawn supporting safe
    driving) (Burger, 1999; Freedman & Fraser, 1966). In an all-negative analogy, if we have already rejected a highly demanding
    initial request, we are less willing to grant a smaller request later on (DeJong, 1979).
        In some ways analogous to von Heisenberg’s uncertainty principle in physics, the intention-behavior effect posits that the
    mere measurement of intention can have an inﬂuence on subsequent behavior (Morwitz & Fitzsimons, 2004; Morwitz,
    Johnson, & Schmittlein, 1993). Simply asking people whether they intended to vote increased their actual participation in
    the following day’s elections, whereas merely measuring purchasing intention led to higher purchases of PCs or cars
    (Fitzsimons & Morwitz, 1996).
        Similarly, in question-behavior and survey effects, the mere fact of answering hypothetical questions or being surveyed can
    remind subjects of a motive not previously attended to (Fitzsimons & Moore, 2008; Fitzsimons & Shiv, 2001; Fitzsimons &
    Williams, 2000; Levav & Fitzsimons, 2006; Moore, Neal, Fitzsimons, & Shiv, 2012). Households assigned to more frequent
    health surveys, one year later had higher levels of chlorine in their stored drinking water, or were more likely to take up
    health insurance (Zwane & et al., 2011). Consumers who, during a door-to-door survey, were asked to imagine themselves
    subscribing to cable TV, few months later were more likely to actually subscribe to it than neighbors who just received infor-
    mation about the service (Gregory, Cialdini, & Carpenter, 1982).
        Rationality crossovers promote the use of economic rationality from a behavior occurring in market-like settings (e.g. a
    choice between two lotteries in presence of arbitrage), to a subsequent behavior taking place in the absence of ﬁnancial
    incentives (e.g. non-market valuation of willingness to pay) (Cherry, Crocker, & Shogren, 2003; Cherry & Shogren, 2007). Sim-
    ilar forms of extrapolation have been documented by experimental economists looking at the links between the lab and the
    ﬁeld (Harrison & List, 2004; Levitt & List, 2007a, 2007b; Levitt, List, & Reiley, 2010). Successful skills and heuristics evolved in
    some familiar situations carryover to other similar ﬁeld or lab settings: for instance, experienced sports-cards dealers did not
    fall prey to the typical winner’s curse in a lab auction (Harrison & List, 2008), whereas professional football players played
    more equilibrium strategies than students in laboratory coordination games (Palacios-Huerta & Volji, 2008). These
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 322
                                    of 396


                                       P. Dolan, M.M. Galizzi / Journal of Economic Psychology 47 (2015) 1–16                        7


   rationality crossovers are conceptually close to some of the semantic or procedural priming effects documented in the psy-
   chology literature (Forster, Liberman, & Friedman, 2007; Gollwitzer et al., 1990; Kruglanski et al., 2002; Neely, 1977).
       Experiments in game theory have found that playing a sequence of two different strategic games is not the same of play-
   ing one of the games in isolation (Knez & Camerer, 2000). Two distinct cross-games spillovers can occur, both of which are
   essentially promoting spillovers (Bednar, Chen, Liu, & Page, 2012). First, players can learn about the structural properties
   of a game and transfer this knowledge to another game, e.g. whether the game is a coordination game (structural learning,
   cross-games learning: Cooper & Kagel, 2003; Huck, Jehiel, & Rutter, 2011; Mengel & Sciubba, 2010). Second, when playing a
   game, subjects can resort to cognitive or behavioral heuristics developed while playing another game (Bednar et al., 2012). If
   subjects had previously bid more aggressively in an auction, they next tended to contribute less in a subsequent public good
   game (Cason & Gangadharan, 2013; Cason, Savikhin, & Sheremeta, 2012; Savikhin & Sheremeta, 2013). Low donors to a char-
   ity cooperated less in a subsequent, unrelated, prisoners’ dilemma game (Albert, Guth, Kirchler, & Maciejkovsy, 2007). Play-
   ers managed to coordinate their moves more efﬁciently in a game if they had previously played another game in which they
   had experienced efﬁcient coordination (precedent: Knez & Camerer, 2000) (Ahn, Ostrom, Schmidt, Shupp, & Walker, 2001;
   Devetag, 2005; Knez & Camerer, 2000). If subjects had played a structurally similar (different) game before, they were
   quicker (slower) to achieve equilibrium in another game (Grimm & Mengel, 2012).
       Carryover effects of emotions and self-herding suggest that incidental emotions not only directly affect decisions at an
   unconscious level, but also indirectly spillover on other subsequent choices and actions taking place long after the initial
   emotional experience (Harlé & Sanfey, 2007; Lerner, Small, & Loewenstein, 2004). This is because, when we look back to
   our initial behavior, we tend to misattribute it to some of our deep preferences rather than to a ﬂeeting emotion, and we
   choose our subsequent actions to follow suit the same inferred path (Andrade & Ariely, 2009). For instance, subjects who
   ﬁrst watched a video that induced anger were not only more likely to reject unfair offers in a following, unrelated, ultimatum
   game than subjects who watched a happy video; but also made fairer offers to their partners in a subsequent dictator game,
   and even in a second ultimatum game where they acted as proposers (Andrade & Ariely, 2009). Conceptually similar is the
   already discussed self-signaling or self-inference tendency (Bénabou & Tirole, 2011; Gneezy, Gneezy et al., 2012). For instance,
   wearing counterfeit sunglasses can send a self-signal that we are cheaters, which can then lead us to actually cheat more
   when reporting our performance in a math puzzle task (Gino, Norton, & Ariely, 2010).
       According to the what-the-hell effect, another all-negative promoting spillover, once individuals decide upon a course of
   behavior that is inconsistent with a motive (a diet), they are less likely to take the middle ground (low fat cookie) and more
   likely to exacerbate their failure to behave in line with the motive (eating the whole bag of cookies) (Herman & Mack, 1975;
   Herman & Polivy, 2010; Urbszat, Herman, & Polivy, 2002). Similar abstinence violation effects have been documented among
   alcoholics (Collins & Lapp, 1991), smokers (Shiffman et al., 1996), and drug users (Stephens & Curtin, 1994).

   4. Permitting spillovers

       Ego depletion is perhaps the ‘classic’ case of permitting spillovers: after having exerted high levels of self-control or effort
   in the ﬁrst behavior, the same subject exerts lower levels of effort or self-control in the second behavior. Having resisted the
   temptation of indulging in sweets, or stiﬂed emotions in emotion-arousing movies, subjects gave up earlier in impossible-to-
   solve puzzles (Baumeister, Bratslavsky, Muraven, & Tice, 1998). Having completed a difﬁcult puzzle, subjects were more
   likely to cheat on their performance in an ostensibly unrelated task (Mead, Baumeister, Gino, Schweitzer, & Ariely, 2009).
   Ego depletion has physiological roots, in that to exert self-control we draw from a limited pool of mental energy: physical,
   but also mental activities consume energy that is converted from glucose into neurotransmitters (Baumeister & Vohs, 2007;
   Baumeister, Vohs, & Tice, 2007; Gailliot et al., 2007).
       Moral licensing is a permitting spillover where, after having done ‘well’ in behavior 1, we act as if we have earned the moral
   entitlement to reward ourselves in behavior 2. Using the metaphor of a ‘moral bank account’, good deeds establish moral
   credits that can be withdrawn to purchase the right to undertake ‘bad’ actions. Subjects who, in a hypothetical choice to
   appoint a manifestly better candidate for a job, had the chance to establish they were not racist or sexist, were more likely
   to make prejudiced choices in a subsequent harder hiring decision (Monin & Miller, 2001). Subjects who said they were
   endorsing Obama in political elections, then allocated money to a charity ﬁghting poverty in a white rather than in a black
   neighborhood (Effron, Cameron, & Monin, 2009). Advisors who disclosed their conﬂict of interest to advisees provided more
   biased advices (Cain, Loewenstein, & Moore, 2005). Subjects who ﬁrst imagined teaching homeless children were less likely
   to donate to a local charity part of the experimental earnings, and made more frivolous purchases afterwards (Khan & Dhar,
   2006; Strahilevitz & Myers, 1998).
       Other related ‘permitting’ spillovers are the resting on laurels effect, by which seeing a progress as a sub-goal makes us
   spending less effort toward the ﬁnal goal (Amir & Ariely, 2008); the single-action bias, by which an initial motive-directed
   action induces the impression that no further action is needed, even when is actually beneﬁcial (Weber, 1997); the reverse
   foot-in-the-door effect, by which having said ‘yes’ to a request (e.g. signing a petition in favor of greater government aid for
   the homeless) leads to say ‘no’ to another request later on (e.g. volunteering to help at a canned food drive for the homeless)
   (Guadagno, Asher, Demaine, & Cialdini, 2001); and the already mentioned ‘coasting’ tendency, by which after having
   exceeded our target rate of progress, we typically ‘ease back’ subsequent effort for the same motive (Carver, 2003).
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 323
                                    of 396


    8                                   P. Dolan, M.M. Galizzi / Journal of Economic Psychology 47 (2015) 1–16


    5. Purging spillovers

        Moral cleansing (or ‘Lady Macbeth effect’) is the reverse of licensing: a purging spillover where, after having done ‘badly’, we
    act as if we need to restore our integrity. Subjects who hand-copied a story describing in the ﬁrst person an unethical act,
    manifested higher desirability of cleansing products over neutral items, and, when offered the choice between an antiseptic
    wipe and a pencil, were more likely to take the antiseptic wipe (Zhong & Liljenquist, 2006). Participants who recalled a past
    unethical deed but also had cleansed their hands with an antiseptic wipe volunteered less to help out a colleague (Zhong &
    Liljenquist, 2006). Subjects who ﬁrst hand-wrote a story using words for negative traits gave more to a local charity
    (Sachdeva, Iliev, & Medin, 2009), while participants who were induced to lie to a ﬁctitious person on the phone, preferred
    mouthwash over soap, whereas the opposite held for subjects induced to lie in an email (Lee & Schwarz, 2010).
        Similarly, the conscience accounting effect posits that people who have earned a given payoff by lying or stealing are more
    likely to donate to a charity than subjects who have earned the same amount without deceiving: anticipating this, subjects
    lied more when they knew that there would be an opportunity to donate immediately afterwards (Gneezy, Imas, &
    Madarasz, in press).
        Other ‘purging’ spillovers related to moral cleansing are the transgression-compliance effect and the negative state relief by
    which, after that our personal values or moods (respectively) are affected by a negative state, we tend to act more altruis-
    tically in the attempt to restore them (Carlsmith & Gross, 1969; Manucia, Baumann, & Cialdini, 1984). Subjects led to believe
    that they had harmed someone else, were then more likely to comply with a request or to help a third person when given the
    opportunity (Manucia et al., 1984). Subjects with artiﬁcially ‘lowered’ mood but who also received an unexpected gratifying
    praise, however, no longer had to act altruistically to restore their mood (Manucia et al., 1984).
        The moral balancing and self-concept maintenance effects share the same ‘compensatory ethics’ idea of both moral licens-
    ing and cleansing (Zhong, Ku, Lount, & Murnighan, 2010), and posit that people who think highly of themselves in terms of
    honesty behave dishonestly only to the extent to which they can retain their positive views of themselves (Mazar et al.,
    2008; Nisan & Horenczyk, 1990): when given the possibility to cheat on their payments with no consequences, subjects
    cheated only about 20 percent of the maximal possible amount they could get away with (Mazar et al., 2008).

    6. Facilitating conditions for promoting, permitting, and purging spillovers

        Spillovers from one behavior to the next could thus lead to either amplify or offset the initial intervention effect on the
    motive. From both the research and the policy perspective it seems imperative to explore under which conditions behavioral
    spillovers are more likely to manifest themselves as promoting, permitting, or purging: when is an initial nudge likely to feed
    into a further push to the motive, and when instead into a push-back?
        There is, surprisingly, relatively little systematic research on this key point (Fishbach et al., in press; Susewind & Hoelzl,
    2014). Mazar and Zhong (2010), for instance, explicitly compare priming and licensing effects. Subjects who previously were
    merely exposed to a store selling green items, then, in an ostensibly unrelated dictator game, shared more money than those
    who were exposed to a conventional store. This pattern, however, completely reversed when subjects selected products to
    purchase: participants who had purchased in the green store shared less money in the dictator game than those who had
    purchased in the conventional store.
        Looking more broadly at the various literatures in the behavioral science, it is possible to identify at least ﬁve main
    streams of research that have looked at the boundary conditions that facilitate the occurrence of promoting, permitting,
    and purging spillovers. They focus, respectively, on: (i) the relative costs of behavior 1; (ii) the completeness of behavior
    1 and its interaction with the focus of attention; (iii) the concreteness and the (temporal or spatial) proximity of behaviors
    1 and 2; (iv) the trade-offs between different motives, or between a motive and a resource; and, ﬁnally, (v) the cognitive
    mindset during the two behaviors. In what follows we try to distill and summarize the state-of-the-art evidence from those
    streams of literature.
        On (i), Gneezy, Imas et al. (2012) explicitly investigate the role of different costs of behavior 1 on the type of spillover.
    They ﬁnd that subjects who donated part of their own earnings to a charity were less likely to deceive their counterpart
    in a subsequent sender–receiver game, while subjects who participated into a costless charitable donation were more likely
    to lie. This suggests that permitting spillovers are more likely over promoting when the costs of behavior 1 are low. High
    costs, in fact, self-signal the commitment toward the motive in question. Dolan and Galizzi (2014) link these ﬁndings to
    the distinct literature on ﬁnancial incentives in health: they focus on whether incentives targeting one health behavior
    (physical exercise) spillover to another non-targeted health behavior (healthy eating), and ﬁnd that spillovers are more likely
    to manifest themselves as permitting when the incentives associated to behavior 1 signiﬁcantly outdo its costs. Relatedly,
    and in line with counter-attitudinal advocacy, promoting spillovers are less likely to occur when we can attribute our behavior
    1 to an external cause, such as being paid or coerced to do something (Pittman, 1975; Zanna & Cooper, 1974). The different
    overall costs of behavior 1 can also explain why in some situations encountering and resisting a temptation can automati-
    cally activate the weight attached to a motive and thus lead to promoting spillovers, as postulated by counteractive control
    theory (Fishbach et al., 2003; Kroese, Evers, & De Ridder, 2009, 2011), while in other occasions it can trigger permitting spill-
    overs through the activation of justiﬁcation and entitlement feelings (De Witt Huberts et al., 2014; Hsee, 1995; Kivetz &
    Simonson, 2002; Kivetz & Zheng, 2006; Merritt et al., 2010; Mukhopadhyay & Johar, 2009). The literatures on justiﬁcation
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 324
                                    of 396


                                       P. Dolan, M.M. Galizzi / Journal of Economic Psychology 47 (2015) 1–16                       9


   and entitlement, in fact, show that what matters for self-regulatory dynamics are perceived costs and efforts, rather than
   their actual levels (Clarkson, Hirt, Jia, & Alexander, 2010; De Witt Huberts, Evers, & De Ridder, 2012; Kivetz & Zheng,
   2006; Werle, Wansink, & Payne, 2011).
       On (ii), Fishbach et al. (in press) argue that permitting spillovers are more likely over promoting when, while pursuing a
   goal, individuals focus on completed, rather than missing, actions. This is because, generally, missing actions increase moti-
   vation by self-signaling a need for progress. This, however, depends on the underlying motive and focus of attention (Marsh,
   Hicks, & Bink, 1998). Similarly to what discussed above, Fishbach and Dhar (2005) argue that what really matters is the
   perception of progress rather than its objective level. Attention to completed actions, in fact, signals personal commitment
   and increases motivation when we are not yet committed to our goals, while attention to missing actions signals a need
   to progress and increases motivation when we are already committed.
       Fishbach et al. (in press) observe that this combines with the so-called ‘goal-gradient hypothesis’: regardless of the focus of
   attention, motivation increases with proximity to a goal’s end state (Brown, 1948; Forster, Higgins, & Idson, 1998; Hull,
   1932; Kivetz, Urminsky, & Zheng, 2006). For instance, consumers in a coffee-shop’s ‘buy 10, get 1 free’ program (a song-rating
   website) accelerate their purchases (site visits) as they get closer to the ﬁnal reward (Kivetz et al., 2006). A simple psycho-
   physical explanation of the goal-gradient effect is that ‘the last action accomplishes 100% of the remaining progress, which is
   twice the impact of the second-to-last action’ (Fishbach et al., in press, p. 39). Using a similar psychophysical argument,
   Fishbach et al. (in press) observe that, when striving toward a goal, we are more motivated when we focus on whichever
   is smaller in size between the completed and the missing actions. According to this ‘small-area hypothesis’, at the beginning
   of goal pursuit, when our commitment is typically low, the focus on completed actions increases motivation by signaling
   commitment, while later on, beyond the midpoint, the focus on remaining actions increases motivation by self-signaling
   need to progress (Fishbach et al., in press). This potential mechanism for promoting spillovers would also explain why moti-
   vation is typically lower in the middle of goal pursuit, a phenomenon known as ‘stuck in the middle’ (Bonezzi, Brendl, & De
   Angelis, 2011).
       On (iii), Conway and Peetz (2012) ﬁnd that permitting spillovers are more likely over promoting when we visualize
   behavior 1 in a concrete and tangible fashion. This is because abstract construals tend to activate self-identity considerations,
   while concrete constructs may activate self-regulatory or compensatory mindsets (Trope & Liberman, 2003). For instance,
   subjects who were asked to describe how they would perform a ‘fair, friendly, generous’ behavior donated less money to a
   charity than subjects who described how they would perform an ‘unfair, unfriendly, greedy’ behavior, whereas no difference
   was found for subjects discussing what those traits would mean for their personality. Similarly, subjects who were asked to
   make concrete plans to exercise later that day, consumed more sweet snacks in a subsequent tasting test than control sub-
   jects who only wrote abstract statements (Kronick & Knauper, 2010). Coherently with the idea that distal events are per-
   ceived in a more abstract way, while temporally proximate events are perceived more concretely (Liberman, Sagristano,
   & Trope, 2002; Trope & Liberman, 2003), the same pattern emerged when concreteness was manipulated in terms of recall-
   ing deeds ‘within the past week’ (concrete), as opposed to ‘over one year ago’ (abstract). Similarly, Fishbach and Zhang (2005)
   ﬁnd that permitting spillovers are more likely over promoting when in each behavior the two options (e.g. healthy and
   unhealthy food items) are physically presented together, and they seem to complement each other. Conversely, promoting
   spillovers are more likely to occur when the two options appear spatially apart, and seem to compete against each other.
       On (iv), Dhar and Simonson (1999) propose that promoting spillovers are more likely in situations where each behavior
   involves a trade-off between a motive (e.g. pleasure) and a resource (e.g. money): for instance, after having chosen a tasty,
   expensive entrée over a less tasty, less expensive entrée, we are more likely to choose a tasty, expensive main course over a
   less tasty, less expensive one. Permitting spillovers, however, are more likely to occur in situations where each behavior
   involves a trade-off between two motives (e.g. pleasure and health): for instance, after having chosen a healthy entrée over
   a tasty one, we are more likely to prefer a tasty, over a healthy, main course.
       On (v), Cornelissen, Bashshur, Rode, and Le Menestrel (2013) argue that permitting spillovers are more likely over pro-
   moting when we are in an outcome-based mindset rather than a rule-based mindset. The reason is that in an outcome-based
   (consequentialist) mindset we appraise the consequences of each behavioral alternative both for ourselves and for the others
   involved, allowing us to be relatively ﬂexible when trading off different motives. Moral rules, at the contrary, do not naturally
   lend themselves to such trade-offs, because ‘a rule is a rule’. They ﬁnd that subjects who recalled a past episode that they
   thought was ethical ‘because it beneﬁtted other people’ (outcome-based mindset) cheated more in their payments than sub-
   jects who recalled a past episode that was unethical ‘because it hurt other people’. In contrast, subjects asked to recall a past
   episode that was ethical because they did their ‘duty to follow an ethical norm or principle’ (rule-based mindset) cheated less
   in their payments than subjects who recalled a past episode that was unethical because they did not their duty.
       More broadly, it should be noted that exploring under which conditions spillovers are most likely to be promoting, per-
   mitting, or purging, is a necessary but not a sufﬁcient condition to be able to draw conclusions on the overall effect of a
   sequence of behaviors. Both researchers and policy-makers, in fact, would typically be interested also in quantifying the rel-
   ative magnitude of behavioral spillovers. There is virtually no evidence at date, in the lab nor in the ﬁeld, from systematically
   testing head-to-head two or more types of spillovers, with the objective of measuring their relative strength, magnitude, and
   persistence over time. Quantifying the magnitude of permitting and purging spillovers, in particular, is imperative in order to
   disentangle ‘rebound’ from ‘backﬁre’ (or ‘boomerang’) effects (Gillingham et al., 2013; Goeschl & Perino, 2009; Jacobsen
   et al., 2012; Jenkins, Nordhaus, & Shellenberger, 2011): although the two terms are often used interchangeably, from a policy
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 325
                                    of 396


    10                                 P. Dolan, M.M. Galizzi / Journal of Economic Psychology 47 (2015) 1–16


    perspective it is crucial to conceptually distinguish when the net effect of the two behaviors results in an overall increase or
    decrease in the behavioral outcome (Tiefenbeck et al., 2013).

    7. Future directions and challenges

        Lab and ﬁeld experiments across all the behavioral sciences thus show that behaviors are history-dependent and that
    spillovers are pervasive. From the methodological perspective, this reinstates the importance of the current best practices
    by lab researchers of counter-balancing sequences of tasks and explicitly controlling for order effects. It is encouraging to
    see that ﬁeld and online experiments increasingly adhere to such practices even in settings which are naturally less control-
    lable than the lab.
        Evidence shows that spillovers occur through deliberation and also unconsciously. This conﬁrms the importance of con-
    sidering a broad operational deﬁnition of behaviors and motives, consistent with the recognition of the major role of auto-
    matic, involuntary, and unconscious processes in human decisions and behavior (Aarts & Dijksterhuis, 2000; Bargh &
    Chartrand, 1999; Chaiken & Trope, 1999; Chartrand & Bargh, 2002; Chartrand, Huber, Shiv, & Tanner, 2008; Dijksterhuis
    & Nordgren, 2006; Fitzsimons et al., 2002; Kahneman, 2003, 2011; Wilson & Schooler, 1991). Our framework can be used
    to consider the ripple effects of sequences of behavior and not just the initial splash from the ﬁrst behavioral response.
    As such, it provides the glue that can help to hold together our understanding of the conscious and unconscious spillovers
    from one behavior to the next. It also provides a useful lexicon for researchers and policy decision-makers from different
    ﬁelds and perspectives.
        From a research and policy perspective, we should abandon ‘behavioral silos’ and ‘sector-thinking’ (Thøgersen, 1999a).
    The impact of a policy intervention can be greatly enhanced in presence of promoting spillovers, but it can also be severely
    hindered, or completely jeopardized, by the occurrence of permitting effects. And this is to further disregard the possible role
    of purging spillovers as potential levers to trigger envisaged changes in behavior.
        There are a number of outstanding issues. Most of the evidence to date documents the occurrence of spillovers within
    short temporal horizons. We know very little about the longevity of spillovers beyond the time frame typically considered
    in lab experiments (Fitzsimons & Morwitz, 1996; Gregory et al., 1982; Tiefenbeck et al., 2013; Zwane et al., 2011). The design
    of ﬁeld experiments in naturalistic settings is practically challenging if one really wants to map all possible ramiﬁcations of a
    behavior. This gap in the evidence calls for a further integration of longitudinal surveys and experimental methods in behav-
    ioral science, and for higher efforts to link experiments, administrative records, and ‘big data’ that are already available
    (Dolan & Galizzi, in press).
        Future efforts should also be directed toward understanding the contexts and domains under which spillovers are most
    likely to take place. Most of the evidence at date, in fact, considers spillovers occurring within the same domain, such as envi-
    ronmental behavior (Evans et al., 2013; Jacobsen et al., 2012; Lanzini & Thøgersen, 2014; Poortinga, Whitmarsh, & Suffolk,
    2013; Thøgersen, 1999a, 1999b; Thøgersen & Crompton, 2009; Thøgersen & Olander, 2003; Tiefenbeck et al., 2013); pro-
    social behavior (Brañas-Garza, Bucheli, Espinosa, & Garcia-Muñoz, 2013; Cornelissen et al., 2013; Effron, Miller, & Monin,
    2012; Gneezy, Imas et al., 2012; Gneezy et al., in press; Jordan, Mullen, & Murnighan, 2011; Merritt et al., 2010, 2012;
    Norton, 2012; Ploner & Regner, 2013; Zhong & Liljenquist, 2006); or health behavior (Chiou, Wan, Wu, & Lee, 2011;
    Chiou, Yang, & Wan, 2011; De Witt Huberts et al., 2012; Dolan & Galizzi, in press; Effron, Monin, & Miller, 2013; Epstein,
    Dearing, Roba, & Finkelstein, 2010; Kroese et al., 2009, 2011; Van Kleef, Shimizu, & Wansink, 2011; Werle, Wansink, &
    Payne, 2010; Wilcox, Vallen, Block, & Fitzsimons, 2009; Wisdom, Downs, & Loewenstein, 2010).
        There is little evidence on whether spillovers can occur across different domains, and whether such cross-domains spill-
    overs are most likely to be promoting, permitting, or purging (Baird, Garfein, McIntosh, & Özler, 2012; Khan & Dhar, 2006;
    Mazar & Zhong, 2010; Sachdeva et al., 2009). Conceptually, such spillovers can be visualized as cross-motives links between
    self-images (‘I am healthy and environment-friendly’), accounts weights (‘what makes me happy is working hard and being a
    good father’) or both. From the policy perspective, a comprehensive mapping of the links between behaviors, contexts,
    and domains will illuminate not only which areas to target to induce behavior change, but also where to start from
    (Thøgersen, 1999a). For example, does more responsible behavior at school feed into healthier choices, or what happens
    if we start by ‘nudging’ healthy behavior instead?
        Evidence is also missing on whether behavioral spillovers are only related to speciﬁc contexts, domains, and situations, or
    whether they are also explained by differences across people, such as personality, cognitive skills, and socio-economic con-
    ditions (Borghans, Duckworth, Heckman, & ter Weel, 2008; Heckman, 2007a, 2007b; Heckman & Rubistein, 2001).
        We should ﬁnally seek to better understand the neuro-physiological roots of behavioral spillovers. Research in neurosci-
    ence has substantially advanced our current understanding of the neural correlates of human decision-making and behavior
    (Camerer, Loewenstein, & Prelec, 2005; Glimcher, Fehr, Camerer, & Poldrack, 2008). The forthcoming efforts to thoroughly
    map the human brain will provide precious insights on how the numerous ripples documented here might spread through
    the complex network of our mind.
        Notwithstanding these open questions, the time seems ripe to explicitly account for the pervasive impact of behavioral
    spillovers. Behavioral scientists, especially those seeking to inform policy, should try to capture all the ripples when a pebble
    of intervention is thrown in the pond, and not just the immediate splash it makes.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 326
                                    of 396


                                                P. Dolan, M.M. Galizzi / Journal of Economic Psychology 47 (2015) 1–16                                             11


   Acknowledgments

      The project was funded by the Centre for the Study of Incentives in Health (CSIH), from a strategic award from the
   Wellcome Trust Biomedical Ethics Programme (PI Marteau: 086031/Z/08/Z). We gratefully acknowledge this funding. We
   thank the Editor and two anonymous referees for excellent comments and suggestions that have substantially improved
   the article. We also thank our colleagues at CSIH, Alex Imas, Heather Kappes, Natasha Perkins, and the participants to
   seminars at Aberdeen, Cologne, and LSE for helpful comments and suggestions.


   References

   Aarts, H., & Dijksterhuis, A. (2000). Habits as knowledge structures: Automatic in goal-directed behavior. Journal of Personality and Social Psychology, 78, 53.
   Aarts, H., & Dijksterhuis, A. (2003). The silence of the library: Environment, situational norm, and social behavior. Journal of Personality and Social Psychology,
       84, 18–28.
   Ahn, T. K., Ostrom, E., Schmidt, D., Shupp, R., & Walker, J. (2001). Cooperation in PD games: Fear, greed, and history of play. Public Choice, 106, 137–155.
   Akerlof, G. A., & Kranton, R. A. (2000). Economics and identity. Quarterly Journal of Economics, 105, 715–753.
   Alberracin, D., & Wyler, R. S. (2000). The cognitive impact of past behavior: Inﬂuences on beliefs, attitudes, and future behavioral decisions. Journal of
       Personality and Social Psychology, 79(1), 5–22.
   Albert, M., Guth, W., Kirchler, E., & Maciejkovsy, B. (2007). Are we nicer to nicer people? An experimental analysis. Experimental Economics, 10, 53–69.
   Alcott, B. (2005). Jevon’s paradox. Ecological Economics, 54(1), 9–21.
   Al-Ubaydli, O., Andersen, S., Gneezy, U., & List, J. A. (in press). Carrots that look like sticks: Toward an understanding of multitasking incentive schemes.
       Southern Economic Journal.
   Amir, O., & Ariely, D. (2008). Resting on laurels: The effects of discrete progress markers as subgoals on task performance and preferences. Journal of
       Experimental Psychology: Learning, Memory, and Cognition, 34(5), 1158–1171.
   Andrade, E. B., & Ariely, D. (2009). The enduring impact of transient emotions on decision making. Organizational Behavior and Human Decision Processes, 109,
       1–8.
   Andreoni, J. (1990). Impure altruism and donations to public goods: A theory of warming glow giving? Economic Journal, 100(401), 464–477.
   Ariely, D., Bracha, A., & Meier, S. (2009a). Doing good or doing well? Image motivation and monetary incentives in behaving prosocially. American Economic
       Review, 99, 544–555.
   Ariely, D., Gneezy, U., Loewenstein, G., & Mazar, N. (2009b). Large stakes and big mistakes. Review of Economic Studies, 76, 451–469.
   Asch, P., Levy, D. T., Shea, D., & Bodenhorn, H. (1991). Risk compensation and the effectiveness of safety belt use laws: A case study of New Jersey. Policy
       Sciences, 24(2), 181–197.
   Baird, S. J., Garfein, R. S., McIntosh, C. T., & Özler, B. (2012). Effect of a cash transfer programme for schooling on prevalence of HIV and herpes simplex type 2
       in Malawi: A cluster randomised trial. The Lancet, 379, 1320–1329.
   Bargh, J. A. (1990). Auto-motives: Preconscious determinants of thought and behavior. In E. T. Higgins & R. M. Sorrentino (Eds.). Handbook of motivation and
       cognition: Foundations of social behavior (Vol. 2, pp. 93–130). New York: Guildford.
   Bargh, J. (2006). Agenda 2006: What have we been priming all these years? On the development, mechanisms, and ecology of nonconscious social behavior.
       European Journal of Social Psychology, 36, 147–168.
   Bargh, J., & Barndollar, K. (1996). Automaticity in action: The unconscious as repository of chronic goals and motives. In P. M. Gollwitzer & J. A. Bargh (Eds.),
       The psychology of action: Linking cognition and motivation to behavior (pp. 457–481). New York: Guildford Press.
   Bargh, J., & Chartrand, T. L. (1999). The unbearable automaticity of being. American Psychologist, 54(7), 462–479.
   Bargh, J. A., Gollwitzer, P. M., Lee-Chai, A., Barndollar, K., & Trotschel, R. (2001). The automated will: Non-conscious activation and pursuit of behavioral
       goals. Journal of Personality and Social Psychology, 81, 1014–1027.
   Baumeister, R. F. (1986). Identity: Cultural change and the struggle for self. Oxford: Oxford University Press.
   Baumeister, R. F., Bratslavsky, E., Muraven, M., & Tice, D. M. (1998). Ego depletion: Is the active self a limited resource? Journal of Personality and Social
       Psychology, 74(5), 1252–1265.
   Baumeister, R. F., Heatherton, T. F., & Tice, D. M. (1994). Losing control: How and why people fail at self-regulation. San Diego, CA: Academic Press.
   Baumeister, R. F., & Vohs, K. D. (2007). Self-regulation, ego-depletion, and motivation. Social and Personality Psychology Compass, 1(1), 115–128.
   Baumeister, R. F., Vohs, K. D., & Tice, D. M. (2007). The strength model of self-control. Current Directions in Psychological Science, 16, 351–355.
   Bednar, J., Chen, Y., Liu, T. X., & Page, S. (2012). Behavioral spillover and cognitive load in multiple games: Experimental results. Games and Economic
       Behavior, 74, 12–31.
   Bem, D. J. (1972). Self-perception theory. In L. Berkowitz (Ed.). Advances in experimental social psychology (Vol. 6, pp. 1–62). New York: Academic Press.
   Bénabou, R., & Tirole, J. (2003). Intrinsic and extrinsic motivation. Review of Economic Studies, 70(3), 489–520.
   Bénabou, R., & Tirole, J. (2006). Incentives and prosocial behaviour. American Economic Review, 96(5), 1652–1678.
   Bénabou, R., & Tirole, J. (2011). Identity, morals, and taboos: Beliefs as assets. Quarterly Journal of Economics, 126, 805–855.
   Bhattacharyya, M. N., & Layton, A. P. (1979). Effectiveness of seat belt legislation on the Queensland road toll: An Australian case study in intervention
       analysis. Journal of the American Statistical Association, 74(367), 596–603.
   Bodner, R., & Prelec, D. (2003). Self-signaling and diagnostic utility in everyday decision-making. In I. Brocas & J. Carillo (Eds.). The psychology of economic
       decisions (Vol. 1, pp. 105–124). Oxford: Oxford University Press.
   Bonezzi, A., Brendl, C. M., & De Angelis, M. (2011). Stuck in the middle: The psychophysics of goal pursuit. Psychological Science, 22(5), 607–612.
   Borghans, L., Duckworth, A. L., Heckman, J. J., & ter Weel, B. (2008). The economics and psychology of personality traits. Journal of Human Resources, 43(4),
       972–1059.
   Bradford, W. D., & Dolan, P. (2010). Getting used to it: The adaptive global utility model. Journal of Health Economics, 29(6), 811–820.
   Brañas-Garza, P., Bucheli, M., Espinosa, M. P., & Garcia-Muñoz, T. (2013). Moral cleansing and moral licensing: Experimental evidence. Economics and
       Philosophy, 29, 199–212.
   Brown, J. S. (1948). Gradients of approach and avoidance responses and their relation to level of motivation. Journal of Comparative and Physiological
       Psychology, 41(6), 450–465.
   Burger, J. M. (1999). The foot-in-the-door compliance procedure: A multiple-process analysis and review. Personality and Social Psychology Review, 3,
       303–325.
   Cain, D. M., Loewenstein, G., & Moore, D. A. (2005). The dirt on coming clean: Perverse effects of disclosing conﬂicts of interest. Journal of Legal Studies, 34,
       1–25.
   Camerer, C. (1999). Behavioral economics: Reunifying psychology and economics. Proceedings of the National Academy of Sciences United States of America,
       96(19), 10575–10577.
   Camerer, C. F., Issacharoff, S., Loewenstein, G., O’Donoghue, T., & Rabin, M. (2003). Regulation for conservatives: Behavioral economics and the case for
       asymmetric paternalism. University of Pennsylvania Law Review, 1151, 1211–1254.
   Camerer, C., Loewenstein, G., & Prelec, D. (2005). Neuroeconomics: How neuroscience can inform economics. Journal of Economic Literature, 18, 9–64.
   Carlsmith, J. M., & Gross, A. E. (1969). Some effects of guilt on compliance. Journal of Personality and Social Psychology, 11, 232–239.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 327
                                    of 396


    12                                           P. Dolan, M.M. Galizzi / Journal of Economic Psychology 47 (2015) 1–16


    Carver, C. S. (2003). Pleasure as a sign you can attend to something else: Placing positive feelings within a general model of affect. Cognition and Emotion, 17,
        241–261.
    Carver, C. S., & Scheier, M. F. (1981). Attention and self-regulation: A control theory approach to human behavior. New York: Springer-Verlag.
    Carver, C. S., & Scheier, M. F. (1982). Control theory: A useful conceptual framework for personality, social, clinical, and health psychology. Psychological
        Bulletin, 92, 111–135.
    Carver, C. S., & Scheier, M. F. (1990). Origins and functions of positive and negative affect: A control-process view. Psychology Review, 97(1), 19–35.
    Carver, C. S., & Scheier, M. F. (1998). On the self-regulation of behavior. New York: Cambridge University Press.
    Cason, T. M., & Gangadharan, L. (2013). Cooperation spillovers and price competition in experimental markets. Economic Inquiry, 51(3), 1715–1730.
    Cason, T., Savikhin, A. C., & Sheremeta, R. M. (2012). Behavioral spillovers in coordination games. European Economics Review, 56, 233–245.
    Chabris, C., & Simons, D. (2011). The invisible gorilla: How our intuitions deceive us. London: Harmony.
    Chaiken, S., & Trope, Y. (1999). Dual-process theories in social psychology. New York: Guildford Press.
    Chartrand, T. J., & Bargh, J. A. (1996). Automaticity of impression formation and memorization goals. Journal of Personality and Social Psychology, 71, 464–478.
    Chartrand, T. L., & Bargh, J. (2002). Non-conscious motivations: Their activation, operation and consequences. In A. Tesser, D. Stapel, & J. Wood (Eds.). Self-
        motivation: Emerging psychological perspectives (Vol. 2, pp. 13–41). New York: American Psychological Association Press.
    Chartrand, T., Huber, J., Shiv, B., & Tanner, R. (2008). Non-conscious goals and consumer choice. Journal of Consumer Research, 35, 189–201.
    Cherry, T. L., Crocker, T. D., & Shogren, J. F. (2003). Rationality spillovers. Journal of Environmental Economics and Management, 45, 63–84.
    Cherry, T. L., & Shogren, J. F. (2007). Rationality crossovers. Journal of Economic Psychology, 28, 261–277.
    Chiou, W. B., Wan, C. S., Wu, W. H., & Lee, K. T. (2011a). A randomized experiment to examine unintended consequences of dietary supplement use among
        daily smokers: Taking supplements reduces self-regulation of smoking. Addiction, 106(12), 2221–2228.
    Chiou, W. B., Yang, C. C., & Wan, C. S. (2011b). Ironic effects of dietary supplementation: Illusory invulnerability created by taking dietary supplements
        licenses health-risk behaviors. Psychological Science, 22, 1081–1086.
    Cialdini, R. B. (1984). Inﬂuence: How and why people agree to things. New York: Morrow.
    Cialdini, R. B., Trost, M. R., & Newsom, J. T. (1995). Preference for consistency: The development of a valid measure and the discovery of surprising behavioral
        implications. Journal of Personality and Social Psychology, 69, 318–328.
    Clarkson, J., Hirt, E., Jia, L., & Alexander, M. (2010). When perception is more than reality: The effects of perceived versus actual resource depletion on self-
        regulatory behavior. Journal of Personality and Social Psychology, 98, 29–46.
    Cohen, A., & Einav, L. (2003). The effects of mandatory seat belt laws on driving behavior and trafﬁc fatalities. Review of Economics and Statistics, 85(4),
        828–843.
    Collins, L. R., & Lapp, W. M. (1991). Restraint and attributions: Evidence of the abstinence violation effect in alcohol consumption. Cognitive Therapy and
        Research, 15, 68–94.
    Congdon, W. J., Kling, J. R., & Mullainathan, S. (2011). Policy and choice: Public ﬁnance through the lens of behavioural economics. New York: Brookings.
    Conway, P., & Peetz, J. (2012). When does feeling moral actually make you a better person? Conceptual abstraction moderates whether past moral deeds
        motivate consistency or compensatory behavior. Personality and Social Psychology Bulletin, 38(7), 907–919.
    Cooper, J., & Fazio, R. H. (1984). A new look at dissonance theory. Advances in Experimental Social Psychology, 17, 229–266.
    Cooper, D., & Kagel, J. H. (2003). Lessons learned: Generalizing learning across games. American Economic Review, 93(2), 202–207.
    Cornelissen, G., Bashshur, M. R., Rode, J., & Le Menestrel, M. (2013). Rules or consequences? The role of ethical mindsets in moral dynamics. Psychological
        Science.
    De Witt Huberts, J. C., Evers, C., & De Ridder, D. T. D. (2012). License to sin: Self-licensing as a mechanism underlying hedonic consumption. European Journal
        of Social Psychology, 42, 490–496.
    De Witt Huberts, J. C., Evers, C., & De Ridder, D. T. D. (2014). ‘Because I Am Worth It’: A theoretical framework and empirical review of a justiﬁcation-based
        account if self-regulation failure. Personality and Social Psychology Review, 18(2), 119–138.
    Deci, E. L., Koestner, R. M., & Ryan, R. (1999). A meta-analytic review of experiments examining the effect of extrinsic rewards on intrinsic motivation.
        Psychological Bulletin, 125, 627–668.
    DeJong, W. (1979). An examination of self-perception mediation in the foot-in-the-door effect. Journal of Personality and Social Psychology, 37, 2221–2239.
    DellaVigna, S. (2009). Psychology and economics: Evidence from the ﬁeld. Journal of Economic Literature, 47, 315–372.
    Devetag, G. (2005). Precedent transfer in coordination games: An experiment. Economics Letters, 89, 227–232.
    Dhar, R., & Simonson, I. (1999). Making complementary choices in consumption episodes: Highlighting versus balancing. Journal of Marketing Research, 36,
        29–44.
    Dijksterhuis, A., & Bargh, J. A. (2001). The perception–behavior expressway: Automatic effects of social perception on social behavior. In M. Zanna (Ed.).
        Advances in experimental social psychology (Vol. 33, pp. 1–40). San Diego, CA: Academic Press.
    Dijksterhuis, A., Bos, M. W., Nordgren, L. F., & van Baaren, R. B. (2006). On making the right choice: The deliberation-without-attention effect. Science, 311,
        1005–1007.
    Dijksterhuis, A., & Nordgren, L. F. (2006). A theory of unconscious thought. Perspectives on Psychological Science, 1, 95–109.
    Dijksterhuis, A., Spears, R., Postmes, T., Stapel, D., Koomen, W., Knippenberg, A. V., et al (1998). Seeing one thing and doing another: Contrast effects in
        automatic behavior. Journal of Personality and Social Psychology, 75, 862–871.
    Dolan, P. (2014). Happiness by design: Change what you do, not what you think. London: Hudson Street Press.
    Dolan, P., & Galizzi, M. M. (2014). Because I’m worth it. A lab-ﬁeld experiment on the spillover effects of incentives in health. LSE CEP discussion paper
        CEPDP 1286.
    Dolan, P., & Galizzi, M. M. (in press). Getting policy-makers to listen to ﬁeld experiments. Oxford Review of Economic Policy, 30(4).
    Dolan, P., Hallsworth, M., Halpern, D., King, D., Metcalfe, R., & Vlaev, I. (2011). Inﬂuencing behavior: The mindspace way. Journal of Economic Psychology, 33,
        264–277.
    Dur, R., Non, A., & Roelfsema, H. (2010). Reciprocity and incentive pay in the workplace. Journal of Economic Psychology, 31, 676–686.
    Effron, D. A., Cameron, J. S., & Monin, B. (2009). Endorsing Obama licenses favoring whites. Journal of Experimental Social Psychology, 45, 590–593.
    Effron, D. A., Miller, D. T., & Monin, B. (2012). Inventing racist roads not taken: The licensing effect of immoral counterfactual behaviors. Journal of Personality
        and Social Psychology, 103, 916–932.
    Effron, D. A., Monin, B., & Miller, D. T. (2013). The unhealthy road not taken: Licensing indulgence by exaggerating counterfactual sins. Journal of
        Experimental Social Psychology, 49, 573–578.
    Epstein, L. H., Dearing, K. K., Roba, L. G., & Finkelstein, E. (2010). The inﬂuence of taxes and subsidies on energy purchased in an experimental purchasing
        study. Psychological Science, 1–9.
    Evans, W. N., & Graham, J. D. (1991). Risk reduction or risk compensation? The case of mandatory safety-belt use laws. Journal of Risk and Uncertainty, 4(1),
        61–73.
    Evans, L., Maio, G. R., Corner, A., Hodgetts, C. J., Ahmed, S., & Hahn, U. (2013). Self-interest and pro-environmental behavior. Nature Climate Change, 3,
        122–125.
    Fehr, E., & Falk, A. (2002). Psychological foundations of incentives. European Economic Review, 46, 687–724.
    Fehr, E., & Gachter, S. (1997). Reciprocity as a contract enforcement device: Experimental evidence. Econometrica, 65, 833–860.
    Fehr, E., & List, J. (2004). The hidden costs and returns of incentives: Trust and trustworthiness among CEOs. Journal of the European Economic Association,
        2(5), 743–771.
    Festinger, L. (1957). A theory of cognitive dissonance. Stanford, CA: Stanford University Press.
    Festinger, L., & Carlsmith, J. M. (1959). Cognitive consequences of forced compliance. Journal of Abnormal and Social Psychology, 58(2), 203–210.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 328
                                    of 396


                                                P. Dolan, M.M. Galizzi / Journal of Economic Psychology 47 (2015) 1–16                                              13


   Fishbach, A., & Choi, J. (2012). When thinking bout goals undermines goal pursuit. Organizational Behavior and Human Decision Processes, 118, 99–107.
   Fishbach, A., & Dhar, R. (2005). Goals as excuses or guides: The liberating effect of perceived goal progress on choice. Journal of Consumer Research, 32,
        370–377.
   Fishbach, A., Koo, M., & Finkelstein, S. R. (in press). Motivation resulting from completed and missing actions. In Olson, J., & Zanna, M. P. (Eds.). Advances in
        experimental social psychology (Vol. 50).
   Fishbach, A., Friedman, R. S., & Kruglanski, A. W. (2003). Leading us not into temptation: Momentary allurements elicit overriding goal activation. Journal of
        Personality and Social Psychology, 84, 296–309.
   Fishbach, A., & Zhang, Y. (2008). Together or apart: When goals and temptations complement versus compete. Journal of Personality and Social Psychology, 94,
        547–559.
   Fishbach, A., Zhang, Y., & Koo, M. (2009). The dynamics of self-regulation. European Review of Social Psychology, 20, 315–344.
   Fitzsimons, G., Hutchinson, J. W., Williams, P., Alba, J. W., Chartrand, T. L., Huber, J., et al (2002). Non-conscious inﬂuences on consumer choice. Marketing
        Letters, 13(3), 269–279.
   Fitzsimons, G., & Moore, S. (2008). Should I ask our children about sex, drugs and Rock’n’Roll? Potentially harmful effects of asking questions about risky
        behaviours. Journal of Consumer Psychology, 18, 82–95.
   Fitzsimons, G. J., & Morwitz, V. (1996). The effect of measuring intent on brand-level purchasing behavior. Journal of Consumer Research, 23, 1–11.
   Fitzsimons, G. J., & Shiv, B. (2001). Non-conscious and contaminative effects of hypothetical questions on subsequent decision-making. Journal of Consumer
        Research, 334, 782–791.
   Fitzsimons, G., & Williams, P. (2000). Asking questions can change choice behaviour. Does it do so automatically or effortfully? Journal of Experimental
        Psychology: Applied, 6, 195–206.
   Forster, J., Grant, H., Idson, L. C., & Higgins, E. T. (2001). Success/failure, feedback, expectancies, and approach/avoidance motivation: How regulatory focus
        moderates classic relations. Journal of Experimental Social Psychology, 37(3), 253–260.
   Forster, J., Higgins, E. T., & Idson, L. C. (1998). Approach and avoidance strength during goal attainment: Regulatory focus and the ‘Goal Looms Larger’ effect.
        Journal of Personality and Social Psychology, 75(5), 1115–1131.
   Forster, J., Liberman, N., & Friedman, R. S. (2007). Seven principles of goal activation: a systematic approach to distinguishing goal priming from priming of
        non-goal constructs. Personality and Social Psychology Review, 11(3), 211–233.
   Forster, J., Liberman, N., & Higgins, E. T. (2005). Accessibility from active and fulﬁlled goals. Journal of Experimental Social Psychology, 41, 220–239.
   Fredrickson, B. L. (1998). What good are positive emotions? Review of General Psychology, 2, 300–319.
   Freedman, J. L., & Fraser, S. C. (1966). Compliance without pressure: The foot-in-the-door technique. Journal of Personality and Social Psychology, 4, 195–202.
   Frey, B. S., & Oberholzer-Gee, F. (1997). The cost of price incentives: An empirical analysis of motivation crowding-out. American Economic Review, 87(4),
        746–755.
   Frijters, P. (2000). Do individuals try to maximize general satisfaction? Journal of Economic Psychology, 21(3), 281–304.
   Fudenberg, D., & Levine, D. K. (1998). The theory of learning in games. Cambridge, MA: MIT Press.
   Gachter, S., & Thoni, C. (2010). Social comparison and performance: Experimental evidence on the fair wage-effort hypothesis. Journal of Economic Behavior
        & Organization, 76, 531–543.
   Gailliot, M. T., Baumeister, R. F., DeWall, C. N., Maner, J. K., Plant, E. A., Tice, D. M., et al (2007). Self-control relies on glucose as a limited energy source:
        Willpower is more than a metaphor. Journal of Personality and Social Psychology, 92, 325–336.
   Garbacz, C. (1990a). Estimating seat belt effectiveness with seat belt usage data from the Centre for Disease Control. Economics Letters, 34, 83–88.
   Garbacz, C. (1990b). How effective is automobile safety legislation? Applied Economics, 22, 1705–1714.
   Garbacz, C. (1991). Impact of the New Zealand seat belt law. Economic Inquiry, 29, 310–316.
   Garbacz, C. (1992). More evidence on the effectiveness of seat belt laws. Applied Economics, 24, 313–315.
   Gillingham, K., Kotchen, M. J., Rapson, D. S., & Wagner, G. (2013). Energy policy: The rebound effect is overplayed. Nature, 493, 475–476.
   Gino, F., Norton, M. I., & Ariely, D. (2010). The counterfeit self. Psychological Science, 21(5), 712–720.
   Glimcher, P. W., Fehr, E., Camerer, C., & Poldrack, R. A. (2008). Neuroeconomics: Decision-making and the brain. New York: Academic Press.
   Gneezy, U., Imas, A., & Madarasz, K. (in press). Conscience accounting: Emotion dynamics and social behavior. Management Science.
   Gneezy, A., Gneezy, U., Riener, G., & Nelson, L. D. (2012). Pay-what-you-want, identity, and self-signaling in markets. Proceedings of the National Academy of
        Sciences United States of America, 109(19), 7236–7240.
   Gneezy, A., Imas, A., Brown, A., Nelson, L. D., & Norton, M. I. (2012). Paying to be nice: Consistency and costly prosocial behavior. Management Science, 58(1),
        179–187.
   Gneezy, U., & Rustichini, A. (2000a). Pay enough or don’t pay at all. Quarterly Journal of Economics, 115(3), 791–810.
   Gneezy, U., & Rustichini, A. (2000b). A ﬁne is a price. Journal of Legal Studies, 29(1).
   Goeree, J., & Holt, C. (2001). Ten little treasures of game theory and ten intuitive contradictions. American Economic Review, 91(5), 1402–1422.
   Goeschl, T., & Perino, G. (2009). On backstops and boomerangs: Environmental R&D under technological uncertainty. Energy Economics, 31(5), 800–809.
   Gollwitzer, P. M. (1990). Action phases and mindsets. In E. T. Higgins & R. M. Sorrentino (Eds.). Handbook of motivation and cognition: Foundations of social
        behavior (Vol. 2, pp. 53–92). New York: Guildford.
   Gollwitzer, P. M., Heckhausen, H., & Steller, B. (1990). Deliberative and implemental mindsets: Cognitive tuning towards congruous thoughts and
        information. Journal of Personality and Social Psychology, 59, 1119–1127.
   Gomez-Minambres, J. (2012). Motivation through goal setting. Journal of Economic Psychology, 33(6), 1223–1239.
   Goschke, T., & Kuhl, J. (1993). Representation of intentions: Persisting activation in memory. Journal of Experimental Psychology: Learning, Memory, and
        Cognition, 19, 1211–1226.
   Gregory, W. L., Cialdini, R. B., & Carpenter, K. M. (1982). Self-relevant scenarios as mediators of likelihood estimates and compliance: Does imagining make it
        so? Journal of Personality and Social Psychology, 43, 89–99.
   Greiner, B., Ockenfels, A., & Werner, P. (2011). Wage transparency and performance: A real-effort experiment. Economics Letters, 111, 236–238.
   Grimm, V., & Mengel, F. (2012). An experiment on learning in a multiple games environment. Journal of Economic Theory, 147(6), 2220–2259.
   Guadagno, R. E., Asher, T., Demaine, L. J., & Cialdini, R. B. (2001). When saying yes leads to saying no: Preference for consistency and the reverse foot-in-the-
        door effect. Personality and Social Psychology Bulletin, 27(7), 859–867.
   Harlé, K. M., & Sanfey, A. G. (2007). Incidental sadness biases social economic decisions in the ultimatum game. Emotion, 7, 876–881.
   Harrison, G. W., & List, J. A. (2004). Field experiments. Journal of Economic Literature, 42(4), 1009–1055.
   Harrison, G. W., & List, J. A. (2008). Naturally occurring markets and exogenous laboratory experiments. A case study of the winner’s curse. The Economic
        Journal, 118(528), 822–843.
   Heckman, J. J. (2007a). The economics, technology, and neuroscience of human capability formation. Proceedings of the National Academy of Sciences United
        States of America, 104(33), 13250–13255.
   Heckman, J. J. (2007b). The technology, and neuroscience of capacity formation. Proceedings of the National Academy of Sciences United States of America,
        104(3), 13250–13255.
   Heckman, J. J., & Rubistein, Y. (2001). The importance of noncognitive skills: Lessons from the Ged testing program. American Economic Review, 91(2),
        145–149.
   Herman, P. C., & Mack, D. (1975). Restrained and unrestrained eating. Journal of Personality, 43, 647–660.
   Herman, P. C., & Polivy, J. (2010). The self regulation of eating: Theoretical practical problems. In R. F. Baumeister & K. D. Vohs (Eds.), Handbook of self-
        regulation: Research, theory, and applications (2nd ed., pp. 522–536). New York: Guildford.
   Heyman, J., & Ariely, D. (2004). Effort for payment: A tale of two markets. Psychological Science, 15(11), 787–793.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 329
                                    of 396


    14                                            P. Dolan, M.M. Galizzi / Journal of Economic Psychology 47 (2015) 1–16


    Higgins, E. T., & King, G. (1981). Accessibility of social constructs: Information processing consequences of individual and contextual variability. In N. Cantor
        & J. Kihlstrom (Eds.), Personality, cognition, and social interaction (pp. 69–121). Hillsdale, Nj: Erlbaum.
    Hsee, C. K. (1995). Elastic justiﬁcation: How tempting but task-irrelevant factors inﬂuence decisions. Organizational Behavior and Human Decision Processes,
        62, 330–337.
    Huck, S., Jehiel, P., & Rutter, T. (2011). Feedback spillover and analogy-based expectations: A multi-game experiment. Games and Economic Behaviour, 71(2),
        351–365.
    Hull, C. L. (1932). The goal-gradient hypothesis and maze learning. Psychological Review, 39(1), 25–43.
    Isen, A. M. (1987). Positive affect, cognitive processes, and social behavior. In L. Berkowitz (Ed.). Advances in experimental social psychology (Vol. 20,
        pp. 203–252). San Diego, CA: Academic Press.
    Isen, A. M. (2000). Positive affect and decision-making. In M. Lewis & J. M. Haviland-Jones (Eds.), Handbook of emotions (2nd ed., pp. 417–435). New York:
        Guildford Press.
    Isen, A. M., & Simmonds, S. F. (1978). The effect of feeling good on a helping task that is incompatible with good mood. Social Psychology Quarterly, 41,
        345–349.
    Jacobsen, G. D., Kotchen, M. J., & Vandenbergh, M. P. (2012). The behavioral response to voluntary provision of an environmental public good: Evidence from
        residential electricity demand. European Economic Review, 56, 946–960.
    Jenkins, J., Nordhaus, T., & Shellenberger, M. (2011). Energy emergence: Rebound and backﬁre as emergent phenomena: A review of the literature. Oakland, CA:
        Breakthrough Institute. February.
    Jevons, W. S. (1866). The coal question. London: MacMillan and Company.
    Jordan, J., Mullen, E., & Murnighan, J. K. (2011). Striving for the moral self: The effects of recalling past moral actions on future moral behavior. Personality
        and Social Psychology Bulletin, 37(5), 701–713.
    Kahneman, D. (1973). Attention and effort. Englewood Cliffs, NJ: Prentice Hall.
    Kahneman, D. (2003). Maps of bounded rationality: Psychology for behavioral economics. American Economics Review, 93, 1449–1475.
    Kahneman, D. (2011). Thinking, fast and slow. London: Penguin, p. 53.
    Kamenica, E. (2012). Behavioural economics and psychology of incentives. Annual Review of Economics, 4(13), 1–26.
    Kay, A. C., Wheeler, S. C., Bargh, J., & Ross, L. (2004). Material priming: The inﬂuence of mundane physical objects on situational constructs and competitive
        behavioral choice. Organizational Behavior and Human Decision Processes, 95, 83–96.
    Khan, U., & Dhar, R. (2006). Licensing effect in consumer choice. Journal of Marketing Research, 43, 259–266.
    Kivetz, R., & Simonson, K. (2002). Earning the right to indulge: Effort as a determinant of customer preferences toward frequency program rewards. Journal
        of Marketing Research, 39, 155–170.
    Kivetz, R., Urminsky, O., & Zheng, Y. (2006). The goal-gradient hypothesis resurrected: Purchase acceleration, illusionary goal progress, and customer
        retention. Journal of Marketing Research, 43, 38–58.
    Kivetz, R., & Zheng, Y. (2006). Determinants of justiﬁcation and self-control. Journal of Experimental Psychology: General, 135, 572–587.
    Knez, M., & Camerer, C. F. (2000). Increasing cooperation in Prisoners’ Dilemma by establishing a precedent of efﬁciency in coordination games.
        Organizational Behavior and Human Decision Processes, 82, 194–216.
    Kroese, F. M., Evers, C., & De Ridder, D. T. D. (2009). How chocolate keeps you slim: The effect of food temptations on weight watching goal importance,
        intentions, and eating behavior. Appetite, 53, 430–433.
    Kroese, F. M., Evers, C., & De Ridder, D. T. D. (2011). Tricky treats: Paradoxical effects of temptation strength on self-regulation processes. European Journal of
        Social Psychology, 41, 281–288.
    Kronick, I., & Knauper, B. (2010). Temptations elicit compensatory intentions. Appetite, 54, 398–401.
    Kruglanski, A. W. (1996). Goals as knowledge structures. In P. M. Gollwitzer & J. A. Bargh (Eds.), The psychology of action: Linking cognition and motivation to
        behavior (pp. 599–618). New York: Guildford.
    Kruglanski, A. W., Shah, J. Y., Fishbach, A., Friedman, R., Chun, W., & Sleeth-Keppler, D. (2002). A theory of goal systems. In M. P. Zanna (Ed.). Advances in
        experimental social psychology (Vol. 34, pp. 331–378). San Diego, CA: Academic Press.
    Kruglanski, A. W., & Webster, D. M. (1996). Motivated closing of the mind: ‘‘seizing’’ and ‘‘freezing’’. Psychological Review, 103, 263–283.
    Lanzini, P., & Thøgersen, J. (2014). Behavioral spillover in environmental domain: An intervention study. Journal of Environmental Psychology, 40, 381–390.
    Lee, S., & Schwarz, N. (2010). Dirty hands and dirty mouths: Embodiment of the moral-purity metaphor is speciﬁc to the motor modality involved in moral
        transgression. Psychological Science, 21, 1423–1425.
    Lerner, J. S., Small, D. A., & Loewenstein, G. (2004). Heart strings and purse strings: Carryover effects of emotions on economic decisions. Psychological
        Science, 15, 337–341.
    Levav, J., & Fitzsimons, G. (2006). When questions change behaviour: The role of ease of representation. Psychological Science, 17, 207–213.
    Levitt, S., & List, J. (2007a). What do laboratory experiments measuring social preferences reveal about the real world? Journal of Economic Perspectives,
        21(2), 153–174.
    Levitt, S., & List, J. (2007b). On the generalizability of lab behaviour in the ﬁeld. Canadian Journal of Economics, 40(2), 343–370.
    Levitt, S., List, J., & Reiley, D. (2010). What happens in the ﬁeld stays in the ﬁeld: Exploring whether professionals play minimax in laboratory experiments.
        Econometrica, 78(4), 1413–1434.
    Lewin, K. (1951). Field theory in social science: Selected theoretical papers. New York: Harper & Row.
    Liberman, N., Forster, J., & Higgins, E. T. (2007). Set/reset or inhibition after goal fulﬁllment? A fair test between two mechanisms producing assimilation and
        contrast. Journal of Experimental Social Psychology, 43, 258–264.
    Liberman, N., Sagristano, M. D., & Trope, Y. (2002). The effect of temporal distance on level of mental construal. Journal of Experimental Social Psychology,
        38(6), 523–534.
    Louro, M. J. S., Pieters, R., & Zeelenberg, M. (2007). Dynamics of multiple goal pursuit. Journal of Personality and Social Psychology, 93, 174–193.
    Manucia, G. K., Baumann, D. J., & Cialdini, R. B. (1984). Mood inﬂuences on helping: Direct effects or side effects? Journal of Personality and Social Psychology,
        46(2), 357–364.
    Marsh, R. L., Hicks, J. L., & Bink, M. L. (1998). Activation of completed, uncompleted, and partially completed intentions. Journal of Experimental Psychology:
        Learning, Memory, and Cognition, 24, 350–361.
    Martin, L. L., & Tesser, A. (1996). Some ruminative thoughts. In R. S. Wyer (Ed.). Advances in social cognition (Vol. 9, pp. 1–47). Hillsdale, NJ: Lawrence
        Erlbaum.
    Mazar, N., Amir, O., & Ariely, D. (2008). The dishonesty of honest people: A theory of self-concept maintenance. Journal of Marketing Research, 45(6),
        633–644.
    Mazar, N., & Zhong, C. B. (2010). Do green products make us better people? Psychological Science, 21(4), 494–498.
    Mead, N. L., Baumeister, R. F., Gino, F., Schweitzer, M. E., & Ariely, D. (2009). Too tired to tell the truth: Self-control resource depletion and dishonesty. Journal
        of Experimental Social Psychology, 45, 594–597.
    Mengel, F., & Sciubba, E. (2010). Extrapolation and structural learning in games. Maastricht University Working Papers.
    Merritt, A. C., Effron, D. A., Fein, S., Savitsky, K. K., Tuller, D. M., & Monin, B. (2012). The strategic pursuit of moral credentials. Journal of Experimental Social
        Psychology, 48, 774–777.
    Merritt, A. C., Effron, D., & Monin, B. (2010). Moral self-licensing: When being good frees us to be bad. Social and Personality Psychology Compass, 4(5),
        344–357.
    Monin, B., & Miller, D. T. (2001). Moral credentials and the expression of prejudice. Journal of Personality and Social Psychology, 81, 33–43.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 330
                                    of 396


                                                 P. Dolan, M.M. Galizzi / Journal of Economic Psychology 47 (2015) 1–16                                                15


   Moore, S. G., Neal, D. T., Fitzsimons, G. J., & Shiv, B. (2012). Wolves in sheep’s clothing: How and when hypothetical questions inﬂuence behavior.
       Organizational Behavior and Human Decision Processes, 117, 168–178.
   Morwitz, V., & Fitzsimons, G. (2004). The mere measurement effect: Why does measuring intentions change actual behaviour? Journal of Consumer
       Psychology, 14, 64–74.
   Morwitz, V., Johnson, E., & Schmittlein, D. (1993). Does measuring intent change behavior? Journal of Consumer Research, 20, 46–61.
   Moskowitz, G. B. (2002). Preconscious effects of temporary goals on attention. Journal of Experimental Social Psychology, 38, 397–404.
   Mukhopadhyay, A., & Johar, G. V. (2009). Indulgence as self-reward for prior shopping restraint: A justiﬁcation-based mechanism. Journal of Consumer
       Psychology, 19, 334–345.
   Mussweiler, T. (2003). Comparison processes in social judgment: Mechanisms and consequences. Psychological Review, 110, 472–489.
   Neely, J. H. (1977). Semantic priming and retrieval from lexical memory: Roles of inhibition less spreading activation and limited-capacity attention. Journal
       of Experimental Social Psychology: General, 106, 226–254.
   Nisan, M., & Horenczyk, G. (1990). Moral balance: The effect of prior behaviour on decision in moral conﬂict. British Journal of Social Psychology, 29(1), 29–42.
   Norton, E. (2012). Shame on the rich. Science now. Posted on news.sciencemag.org, February 27.
   Novemsky, N., & Dhar, R. (2005). Goal fulﬁllment and goal targets in sequential choice. Journal of Consumer Research, 32, 396–404.
   Palacios-Huerta, I., & Volji, O. (2008). Experiencia docet: Professionals play minimax in laboratory experiments. Econometrica, 76(1), 71–115.
   Peltzman, S. (1975). The effects of automobile safety regulation. Journal of Political Economy, 83, 667–725.
   Pittman, T. S. (1975). Attribution of arousal as a mediator in dissonance reduction. Journal of Experimental Social Psychology, 11(1), 53–63.
   Pliner, P., Hart, H., Kohl, J., & Saari, D. (1974). Compliance without pressure: Some further data on the foot-in-the-door technique. Journal of Experimental
       Social Psychology, 10, 17–22.
   Ploner, M., & Regner, T. (2013). Self-image and moral balancing: an experimental analysis. Journal of Economic Behavior & Organization, 93, 374–383.
   Poortinga, W., Whitmarsh, L., & Suffolk, C. (2013). The introduction of a single-use carrier bag charge in Wales: Attitude change and behavioral spillover
       effects. Journal of Environmental Psychology, 36, 240–247.
   Rigdon, M. (2009). Trust and reciprocity in incentive contracting. Journal of Economic Behavior & Organization, 70, 93–105.
   Rudin-Brown, C., & Jamson, S. (2013). Behavioural adaptation and road safety: Theory, evidence, and action. London: CRC Press.
   Sachdeva, S., Iliev, R., & Medin, D. L. (2009). Sinning saints and saintly sinners: The paradox of moral self-regulation. Psychological Science, 20(4), 523–528.
   Savikhin, A. C., & Sheremeta, R. M. (2013). Simultaneous decision-making in competitive and cooperative environments. Economic Inquiry, 51(2),
       1311–1323.
   Schoemaker, P. J. H. (1993). Determinants of risk-taking: Behavioral and economic views. Journal of Risk and Uncertainty, 6, 49–73.
   Schultz, P. W., Nolan, J. M., Cialdini, R. B., Goldstein, N. J., & Griskevicius, V. (2007). The constructive, destructive, and reconstructive power of social norms.
       Psychological Science, 18(5), 429–434.
   Schwarz, N., & Bless, H. (2005). Mental construal processes: The inclusion/exclusion model. In D. Stapel & J. Suls (Eds.), Assimilation and contrast in social
       psychology (pp. 119–141). Philadelphia: Psychology Press.
   Shaﬁr, E. (2012). The behavioral foundations of public policy. Princeton: Princeton University Press.
   Shah, J. Y., Friedman, R. S., & Kruglanski, A. W. (2002). Forgetting all else: On the antecedents and consequences of goal shielding. Journal of Personality and
       Social Psychology, 83, 1261–1280.
   Shah, J. Y., & Kruglanski, A. W. (2002). Priming against your will: How goal pursuit is affected by accessible alternatives. Journal of Experimental Social
       Psychology, 38, 368–383.
   Shah, J. Y., & Kruglanski, A. W. (2003). When opportunity knocks: Bottom-up priming of goals by means and its effects on self-regulation. Journal of
       Personality and Social Psychology, 84, 1109–1122.
   Shiffman, S., Hickcox, M., Paty, J., Gnys, M., Kassel, J. D., & Richards, T. J. (1996). First lapses to smoking: Within-subjects analysis of real-time reports. Journal
       of Consulting and Clinical Psychology, 64, 993–1002.
   Shu, L. L., Mazar, N., Gino, F., Ariely, D., & Bazerman, M. H. (2012). Signing at the beginning makes ethics salient and decreases dishonest self-reports in
       comparison to signing at the end. Proceedings of the National Academy of Sciences United States of America, 109(38), 15197–15200.
   Simon, H. (1967). Motivational and emotional controls of cognition. Psychology Review, 74, 29–39.
   Srull, T. K., & Wyer, R. S. Jr., (1979). The role of category accessibility in the interpretation of information about persons: Some determinants and
       implications. Journal of Personality and Social Psychology, 37, 1660–1672.
   Stephens, R. S., & Curtin, L. (1994). Testing the abstinence violation effect construct with marijuana cessation. Addictive Behaviors, 19, 23–32.
   Strahilevitz, M., & Myers, J. (1998). Promised donations to charity as purchase incentives: How well they work may depend on what you’re trying to sell.
       Journal of Consumer Research, 24(4), 434–446.
   Stroebe, W., Mensink, W., Aarts, H., Schut, H., & Kruglanski, A. W. (2008). Why dieters fail: Testing the goal conﬂict model of eating. Journal of Experimental
       Social Psychology, 44, 25–36.
   Sunstein, C. R. (2011). Empirically informed regulation. University of Chicago Law Review, 78, 1349–1429.
   Susewind, M., & Hoelzl, E. (2014). A matter of perspective: Why past moral behavior can sometimes encourage and other times discourage future moral
       striving. Journal of Applied Social Psychology, 44(3), 201–209.
   Tesser, A. (1988). Toward a self-evaluation maintenance model of social behavior. In L. Berkowitz (Ed.). Advances in experimental social psychology (Vol. 21,
       pp. 181–227). San Diego, CA: Academic Press.
   Tesser, A., Crepaz, N., Collins, J. C., Cornell, D., & Beach, S. R. H. (2000). Conﬂuence of self-esteem regulation mechanisms: On integrating the self-zoo.
       Personality and Social Psychology Bulletin, 26, 1476–1489.
   Thaler, R. H., & Sunstein, C. R. (2003). Libertarian paternalism. American Economics Review, 93(2), 175–179.
   Thøgersen, J. (1999a). Spillover processes in the development of a sustainable consumption pattern. Journal of Economic Psychology, 20, 53–81.
   Thøgersen, J. (1999b). The ethical consumer: Moral norms and packaging choice. Journal of Consumer Policy, 22, 439–460.
   Thøgersen, J., & Crompton, T. (2009). Simple and painless? The limitations of spillover in environmental campaigning. Journal of Consumer Policy, 32,
       141–163.
   Thøgersen, J., & Olander, F. (2003). Spillover of environment-friendly consumer behavior. Journal of Environmental Psychology, 32, 141–163.
   Tiefenbeck, V., Staake, T., Roth, K., & Sachs, O. (2013). For better or for worse? Empirical evidence of moral licensing in a behavioral energy conservation
       campaign. Energy Policy, 57, 160–171.
   Trope, Y., & Fishbach, A. (2000). Counteractive self-control in overcoming temptations. Journal of Personality and Social Psychology, 79(4), 493–506.
   Trope, Y., & Liberman, N. (2003). Temporal construal. Psychological Review, 110, 403–421.
   Trope, Y., & Neter, E. (1994). Reconciling competing motives in self-evaluation: The role of self-control in feedback seeking. Journal of Personality and Social
       Psychology, 66, 646–657.
   Trope, Y., & Pomerantz, E. M. (1998). Resolving conﬂicts among self-evaluative motives: Positive experiences as a resource for overcoming defensiveness.
       Motivation and Emotion, 22, 53–72.
   Truelove, H. B., Carrico, A. R., Weber, E. U., Raimi, K. T., & Vandenbergh, M. P. (2014). Positive and negative spillover of pro-environmental behavior: An
       integrative review and theoretical framework. Global Environmental Change, 29, 127–138.
   Urbszat, D., Herman, C. P., & Polivy, J. (2002). Eat, drink, and be merry, for tomorrow we diet: Effects of anticipated deprivation on food intake in restrained
       and unrestrained eaters. Journal of Abnormal Psychology, 111, 396–401.
   Van Kleef, E., Shimizu, M., & Wansink, B. (2011). Food compensation: Do exercise ads change food intake? International Journal of Behavioral Nutrition and
       Physical Activity, 8(6), 661–664.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 331
                                    of 396


    16                                           P. Dolan, M.M. Galizzi / Journal of Economic Psychology 47 (2015) 1–16


    Van Praag, B. M. S., Frijters, P., & Ferrer-i-Carbonell, A. (2003). The anatomy of subjective well-being. Journal of Economic Behavior & Organization, 51(1),
        29–49.
    Vega-Redondo, F. (1996). Evolution, games, and economic behaviour. Oxford: Oxford University Press.
    Viscusi, P., & Cavallo, G. O. (1994). The effect of product safety regulation on safety precautions. Risk Analysis, 14(6), 917–930.
    Vohs, K., Mead, N. L., & Goode, M. R. (2006). The psychological consequences of money. Science, 314, 1154–1156.
    Weber, E. U. (1997). Perception and expectation of climate change. In M. H. Bazerman (Ed.), Environment, ethics, and behavior: The psychology of
        environmental valuation (pp. 314–341). New York: Lexington Books.
    Werle, C., Wansink, B., & Payne, C. (2010). Just thinking about exercise makes me serve more food. Physical activity and calorie compensation. Appetite,
        56(2), 332–335.
    Werle, C. O. C., Wansink, B., & Payne, C. R. (2011). ‘Just thinking about exercise makes me serve more food’: Physical activity and calorie compensation.
        Appetite, 56(2), 332–335.
    Wicklund, R. A., & Gollwitzer, P. M. (1981). Symbolic self-completion, attempted inﬂuence, and self-deprecation. Basic and Applied Social Psychology, 2(2),
        89–114.
    Wicklund, R. A., & Gollwitzer, P. M. (1982). Symbolic self-completion. Hillsdale, NJ: Erlbaum.
    Wilcox, K., Vallen, B., Block, L., & Fitzsimons, G. J. (2009). Vicarious goal fulﬁllment: when the mere presence of a healthy option leads to an ironically
        indulgent decision. Journal of Consumer Research, 36(3), 380–393.
    Wilde, G. J. S. (1982a). The theory of risk homeostasis: Implications for safety and health. Risk Analysis, 2, 209–225.
    Wilde, G. J. S. (1982b). Critical issues risk homeostasis theory: A reply. Risk Analysis, 2, 249–258.
    Wilde, G. J. S. (1998). Risk homeostasis theory: An overview. Injury Prevention, 4, 89–91.
    Wilde, G. J. S., Robertson, L. S., & Pless, I. B. (2002). For and against: Does risk homeostasis theory have implications for road safety? British Medical Journal,
        324, 1149–1152.
    Wilson, T. D., & Schooler, J. W. (1991). Thinking too much: Introspection can reduce the quality of preferences and decisions. Journal of Personality and Social
        Psychology, 60, 181–192.
    Wisdom, J., Downs, J. S., & Loewenstein, G. (2010). Promoting healthy choices: Information versus convenience. American Economic Journal: Applied
        Economics, 2, 164–178.
    Zanna, M. P., & Cooper, J. (1974). Dissonance and the pill: An attribution approach to studying the arousal properties of dissonance. Journal of Personality and
        Social Psychology, 29(5), 703–709.
    Zeigarnik, B. (1927). Das Behalten erledigter und unerledigter Handlugen [The memory of completed and uncompleted actions]. Psychologische Forschung, 9,
        1–85.
    Zhong, C. B., Ku, G., Lount, R. B., & Murnighan, J. K. (2010). Compensatory ethics. Journal of Business Ethics, 92, 323–339.
    Zhong, C. B., & Liljenquist, K. (2006). Washing away your sins: Threatened morality and physical cleansing. Science, 313, 1451–1452.
    Zwane, A. P. et al (2011). Being surveyed can change later behavior and related parameter estimates. Proceedings of the National Academy of Sciences United
        States of America, 108(5), 1821–1826.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 332
                                    of 396




                      EXHIBIT P
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 333
                                    of 396

  Methodology

  For reprint orders, please contact: reprints@futuremedicine.com




  Analyzing the concept of spillover effects
  for expanded inclusion in health economics
  research
  K Jane Muir*,1             & Jessica Keim-Malpass1
  1
      Department of Acute and Specialty Care, University of Virginia School of Nursing, Charlottesville, VA 22903, USA
  1

  *Author for correspondence: kjm5xw@virginia.edu



  Background: The incorporation of spillover effects in health economic research is recognized by regulatory
  agencies as useful for valuing health interventions and technologies. To date, spillover effects are not uni-
  versally used within economic evaluations and conceptual definitions of spillover effects are vague within
  the context of health economics research. Materials & methods: In an effort to enhance awareness of
  spillover effects for health economic evaluations, a concept analysis using Walker and Avant’s approach
  was performed to elucidate the key attributes, definitions, antecedents and consequences of spillover
  effects across a range of disciplines. Results: Key attributes included lack of intention, positive and neg-
  ative impacts, and two entity/domain involvement. Antecedents included an initial action and desired
  outcome. Consequences involved spillovers across industries, work life to personal life domains, patient
  to family member domains and across healthcare markets. Conclusion: The analysis provides greater clar-
  ification around the dimensions of spillover effects and reveals opportunities to enhance methodological
  approaches to assessing spillovers.

  First draft submitted: 1 April 2020; Accepted for publication: 1 June 2020; Published online:
  17 June 2020

  Keywords: concept analysis • economic evaluations • health economics • spillover effects


  Health economic evaluations have been indicated to facilitate decision-making around medical interventions,
  technological advancement, pharmaceutical innovation, healthcare professional workforce projections and other
  healthcare-related topics [1–3]. Given rising US healthcare spending, information gleaned from economic evaluations
  can lead to the appropriate allocation of resources needed to improve patient outcomes, healthcare systems, health
  policy and other healthcare-related decisions [3].
     Economic evaluations are commonly classiﬁed as cost–effectiveness analyses, cost–utility analyses and cost–
  beneﬁt analyses [4]. The various economic evaluation techniques similarly compare costs in the form of monetary
  units and differ with regards to measuring consequences [4,5]. For example, cost–effectiveness analyses, as described
  by Drummond and colleagues [4], measure a single consequence in the form of a natural unit, such as blood sugar
  reduction, life years gained or averted missed work days. Cost–utility analyses can measure outcomes of interventions
  based on preferences or utility weights. Cost–utility analyses are considered a broader type of cost–effectiveness
  analysis. A common cost–utility measurement is the quality-adjusted life year [4]. Cost–beneﬁt analyses focus on
  a single cost and beneﬁt measurement in the form of a monetary unit alone [4,5]. The availability of multiple
  economic evaluation techniques is beneﬁcial for evaluating health programs and interventions, as well as resource
  allocation decision making where value judgments may vary by research question or approach [4,5].
     An important concept discussed in the health economics literature is spillover effects, known as the health impacts
  and costs that extend beyond a health intervention or program’s targeted recipient (the patient) to unintentionally
  impact other recipients either in a positive or negative way [6,7]. Health economic studies have predominantly
  assessed spillover effects within the family unit, where a patient’s health status spills over to impact the quality of life
  of a family member [6]. Despite acknowledgement by the Second US Panel on Cost–Effectiveness in Health and
  Medicine that spillover effects are needed to enhance cost and beneﬁt estimates of health interventions, a gap exists



  10.2217/cer-2020-0051 
                        C 2020 Future Medicine Ltd                  J. Comp. Eﬀ. Res. (2020) 9(11), 755–766                  ISSN 2042-6305   755
  Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 334
                                      of 396

Methodology         Muir & Keim-Malpass




Table 1. Spillover effect concept characteristics.
Attributes                                            Antecedents                               Consequences
• Unintentional                                       • Initial action                          • Unintentional impact from one entity to a second
• Positive or negative impacts                        • Desired outcome                         entity
• Two entity/domain involvement                                                                 • Cross-industry, interpersonal, professional life to
                                                                                                personal life domain




                     in health economics research regarding universal inclusion of such effects [8]. A potential cause of such spillover
                     effect exclusion could be uncertainty around the concept of spillover effects, given the existing focus in health
                     economics on the family caregiver spillover domain [9,10].
                        The purpose of this analysis was to examine the concept of spillover effects in order to identify deﬁning attributes,
                     antecedents and consequences across a variety of academic disciplines. An expanded analysis of the concept across
                     multiple disciplines can inform increased integration of spillovers within health economic evaluations. Additionally,
                     an analysis of the concept may expand the types of spillovers evaluated in health economic studies. The concept
                     analysis consists of an eight-step process outlined in subsequent paragraphs, followed by implications for health
                     economics research.



                     Concept analysis of spillover effects
                     In analyzing the concept of ‘spillover effects’, a systematic eight-step procedure was conducted using Walker and
                     Avant’s concept analysis process [9]. The Walker and Avant [9] concept analysis process consists of: selecting a
                     concept, determining the purpose(s) of the analysis, identifying uses of the concept, deﬁning attributes, identifying
                     a model case, identifying contrary cases, identifying antecedents and consequences and deﬁning empirical referents.
                     The ﬁrst two steps of Walker and Avant’s approach (concept selection and purpose development) are addressed in
                     the introduction; the remaining steps are discussed in the following sections [9].


                     Materials & methods
                     The concept of interest for the analysis was spillover effects, which is identiﬁed in a variety of terms in the
                     literature as ‘spillovers’, ‘spillover effects’ and ‘externalities’ among a wide range of academic disciplines. These terms
                     were all considered related to the identiﬁed concept of spillover effects. For the analysis, the literature search was
                     restricted to health economics, psychology, sociology and business. A comprehensive search of the literature was
                     conducted using PubMed, Google Scholar and Ovid Medline to understand the range of deﬁnitions and uses of
                     spillovers. The primary search terms and Medical Subject Headings terms used either in combination or alone
                     were ‘spillover’, ‘spillover effects’, ‘externalities’, ‘economic’, ‘economic evaluation’, ‘economic modeling’, ‘Markov’,
                     ‘cost–effectiveness’, ‘health’, ‘nurse’, ‘nursing’, ‘physician’, ‘caregiver’, ‘psychology’, ‘sociology’ and ‘business’. The
                     search was ﬁltered such that keywords were identiﬁed in the title and abstract of the articles. The article inclusion
                     criteria included: articles or white papers that included the words ‘spillovers’ or ‘externalities’ written in English
                     language within the past 15 years. Papers published in non-peer-reviewed journals, as well as gray literature and
                     editorials were included.
                        A total of 50 articles that met the inclusion criteria were initially reviewed. A total of 34 articles were selected [10–
                     41,44,45]. A total of 21 articles were from the health economics discipline, six from psychology, four from sociology
                     and three from business. The majority of excluded articles discussed mathematical modeling of spillover effects,
                     which was not relevant to the current research topic. The identiﬁed literature was reviewed and analyzed to identify
                     attributes, antecedents and consequences of spillover effects (Table 1).


                     Identifying uses of the concept
                     The initial step of the analysis involved examining the deﬁnition of ‘spillovers’ in the dictionary and uses in the
                     relevant published literature. According to Merriam-Webster [42], ‘spillover’ refers to ‘an extension of something,
                     especially when an excess exists’. Use of the term ‘spillover effects’ are discussed in the following sections within the
                     domains of health economics, psychology, sociology and business. A total of 23 of the articles explicitly described
                     a deﬁnition of spillover effects, while the remaining articles described examples without clear deﬁnitions.


756                  J. Comp. Eﬀ. Res. (2020) 9(11)                                                                           future science group
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 335
                                    of 396

                                                                                            Spillover effects concept analysis   Methodology



  Uses in health economics
  Spillover effects were examined within the academic discipline of health economics and were discussed as either
  ‘spillovers’, ‘spillover effects’ or ‘externalities’. Within the health economics ﬁeld, spillovers were most commonly
  discussed in relation to a health intervention, scientiﬁc advancement or technological development. Gold [7],
  discusses spillovers, synonymous with externalities, as a positive or negative market exchange impacting individuals
  or groups who are not direct participants in such exchanges (p. 66). In a case study discussion on measuring
  spillover effects of patients with meningitis, Bhaduri and colleagues [22], refer to spillovers as ‘wider health beneﬁts’
  impacting patients in addition to individuals who are close to the patient (p. 1). Lakdawalla and colleagues [26],
  deﬁned spillovers within the concept of scientiﬁc spillovers as the beneﬁt of a scientiﬁc advancement imparted upon
  future knowledge development. Scientiﬁc spillovers occur when one advancement is made and other scientists,
  researchers or innovators expand on the given idea or advancement over time.
     Much of the health economics literature studied spillovers in the context of the family caregiver or informal carer.
  Caregiver spillover effects, ﬁrst introduced by Basu and Meltzer [6], refer to the various conditions, treatments and
  contacts that impact the welfare of family members. Spillovers manifest as the caregiver health effects and/or informal
  care time costs resulting from the health status/condition of a family member or close individual [13]. Spillovers
  have also been explored in terms of their impact on healthcare markets and provider practice patterns. A study by
  Johnson and colleagues [27], posited that decreases in fee-for-service traditional Medicare spending resulted from
  the spillover effect of increased Medicare Advantage penetration within states. Baicker and Robbins [16], found that
  a 10% increase in Medicare Advantage state penetration was associated with an approximate US$250 reduction in
  fee-for-service traditional Medicare resource use per patient. Cost-controlling measures within Medicare Advantage,
  such as the presence of health maintenance organizations, resulted in decreased costly inpatient hospitalizations
  and more cost-reducing outpatient service use. Overall, the health economics literature considered spillovers the
  impacts that extend beyond a patient and impact individuals or groups within a social network of a patient.


  Uses in psychology
  Within the psychology discipline, spillovers were discussed as an attitudinal or behavioral transfer from one life
  to domain to another [30,32]. In studying shift work among nurses with families, Kunst and colleagues referred
  to spillovers as “. . . transfers of mood, energy and skills from one sphere to another” [30]. Spillovers were described in
  psychology as bidirectional in movement, occurring between work and family life domains [30]. Behavioral spillovers
  were a particular domain of spillovers in the psychology literature deﬁned as a secondary process that can lead
  to larger-scale societal and scientiﬁc consequences [33]. Nash and colleagues described behavioral spillover theory
  as, “a way to catalyze broad lifestyle change from one behavior to another in ways that generate greater impacts than
  piecemeal interventions” [34]. Behavioral spillovers have been contextualized within environmental impacts within
  countries, where the concept of a conscious spillover can be cultivated in countries that value pro-environmental
  behavior [34]. Additional behavioral spillovers have evaluated exercise and healthy eating practices [34]. Overall,
  spillovers in psychology emphasized behaviors and the transfer of emotional or behavioral inﬂuences from one life
  or societal domain to another.


  Uses in sociology
  Uses of spillover effects in the sociology literature shed light on intersections between individual disparities,
  institutions and social outcomes. Timmermans and colleagues situated their qualitative study on lack of health
  insurance spillovers based on neoclassical economic underpinnings [37]. Within this study, spillovers were discussed
  as ‘collateral effects’ and ‘externalities’ that are costs or beneﬁts resulting from activities impacting “an otherwise
  uninvolved party who did not choose to incur that cost or beneﬁt” [37]. Spillovers were further described as a tool to
  examine the effects of activities between entities that are unrelated but seemingly impacted by one another [37].
  In studying the spillover effects of deterrence strategies to reduce crime, Braga and colleagues did not explicitly
  deﬁne spillover effects, but reference them as synonymous with indirect effects [38]. Hagan and Foster [36], assessed
  spillovers in the context of incarcerated mothers and the associated ‘social costs’ incarceration can have on children’s
  education. Thus, the identiﬁed sociology literature referred to spillovers as the unintentional impacts of a policy,
  process, or phenomenon on societal institutions and outcomes.


      future science group                                                                           www.futuremedicine.com              757
  Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 336
                                      of 396

Methodology   Muir & Keim-Malpass



               Uses in business
               In the business literature, spillovers were discussed in the context of innovation and idea expansion between groups.
               Frischmann and Lemley [39], deﬁne spillovers as the, “uncompensated beneﬁts that one person’s activity provides
               to another”. Grillitsch and Nillson [41], examined knowledge spillovers in Swedish ﬁrms that are located within
               industrial ‘clusters’ or regions of high local knowledge density versus ﬁrms that are located within a knowledge
               ‘periphery’. The study found that innovative ﬁrms in the knowledge periphery collaborate with external ﬁrms to
               compensate for the lack of knowledge spillovers that are gained by ﬁrms located within the knowledge/industrial
               cluster [41].
                   In a business advertising context, Sahni analyzed the impact of online advertisements on advertiser compe-
               tition [40]. The ﬁndings from the randomized ﬁeld experiments from a restaurant-search website suggested that
               spillovers were signiﬁcant when advertising efforts were of the lowest frequency, while minimal spillovers occurred
               with high-intensity advertising techniques. Thus, the stronger intensity advertising techniques saturated consumer
               interest in the main advertiser, which offset spillovers toward other competitors [40]. Business spillover effects in the
               identiﬁed literature referenced spillovers in the context of innovation, marketing inﬂuences and consumer activities.

               Defining attributes
               The determination of deﬁning attributes is central to identify and deﬁne characteristics central to the concept under
               study. Based on the relevant review of the literature, three common attributes of spillover effects were noted: lack
               of intention, positive or negative impacts and two entity/domain involvement.

               Lack of intention (unintentional)
               The majority of the literature examined described spillovers as unintentional in nature. Frischmann and col-
               leagues [38], described spillovers as never planned nor calculated from the outset of an activity, process, intervention,
               or phenomenon. Thus, the receiving individual or third party is not privy to a transaction or compensations [19,22,39].
               Sahni discusses the unintentional nature of advertisement techniques that invoke consumer memory recall of associ-
               ated brands or products [40]. The literature described advertising techniques as having an unintentional consequence
               of priming a consumer to recall a non-advertised option in addition to the primary product/service advertised [40].
               Health economics spillover effects around health interventions were described as an unintended effect on informal
               caregivers, family members, or other individuals within the social network of a patient. The majority of the identiﬁed
               spillover literature in the psychology and sociology disciplines discussed spillovers within the frame of being unin-
               tentional. One domain of psychology with a greater level of intentionality described was within behavioral spillovers
               speciﬁcally within environmental research. For example, Nash and colleagues [34] described behavioral spillovers as
               strongly inﬂuenced by “behavioral interventions, changes in awareness, availability of infrastructure and resources and
               technological advances and policy change.” Across the identiﬁed literature, spillovers were not intentionality imparted
               upon the indirect recipient.

               Positive or negative impacts
               Each of the disciplines characterized spillovers as capable of causing positive or negative effects. Within the realm
               of business and innovation, spillovers were cited as a social beneﬁt that expands the inﬂuence of ideas to wider
               groups [39,40]. The social beneﬁt of such a spillover is viewed as the advancement of an idea or innovation for
               the beneﬁt of an industry. Furthermore, ideas cultivated in one industrial ﬁeld were considered to commonly
               spill over into other ﬁelds – considered an interindustry spillover – in which case the beneﬁt of these spillovers
               are accrued by both ﬁelds [39]. Frischmann and Lemley [39] attributed, in part, the 1980s computer boom to
               positive spillovers effects due to knowledge spillovers moving freely within Silicon Valley. Similarly, Grillitsch and
               Nillson’s examination of knowledge spillovers between ﬁrms further supports the notion of positive innovation
               spillovers within regional clusters [41]. The study demonstrated that innovative spillovers between ﬁrms is positive,
               valuable and ﬁrms will strive to obtain these spillovers either through geographical means (internal access) or
               through collaborations externally [41]. Sahni discussed spillovers within advertising as positive or negative, based on
               the advertising effort companies implement [40]. Lower frequency advertising strategies resulted in positive spillovers
               for the advertising company’s competitors, while higher frequency techniques resulted in positive spillovers for the
               advertising company.
                  In the discipline of psychology, spillovers have been described as both positive and negative within the work–
               family life spheres. Amstad and Semmer [32] describe work as a positive spillover where workers can develop


758            J. Comp. Eﬀ. Res. (2020) 9(11)                                                                    future science group
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 337
                                    of 396

                                                                                           Spillover effects concept analysis   Methodology



  beneﬁcial time management and efﬁciency habits that beneﬁt productivity and communication within the family
  unit. Conversely, work is described as a negative spillover when stress transfers from the work domain to the home
  life domain [32]. Negative spillovers manifest as the undue stress imparted to family members by an employee
  ruminating at work within the family setting [31].
      Much of the literature on spillover effects within health economics described the negative spillovers from a
  patient illness to a family member or individual close to the patient. Caregiver spillover effects, ﬁrst introduced
  by Basu and Meltzer [6], refer to the various conditions, treatments and contacts that impact the welfare of family
  members. Such spillovers manifest as caregiver health effects and/or informal care time costs resulting from the
  health status/condition of a family member or close individual [13]. Al-Janabi and colleagues [22], describe family
  caregiver spillovers as the psychological, physical, ﬁnancial and emotional burden that family caregivers experience
  while caring for a sick family member. Family caregiver spillovers have been studied among parents of children
  with medical complexity and autism, as well as spouses of adult patients; such effects include increased parent
  absenteeism, physical injury, depression and anxiety [10,12]. Bhadhuri and colleagues assessed meningitis family
  spillovers and found that long-term morbidity for meningitis survivors caused negative spillovers in the form
  of family member health losses [23]. Thus, negative spillover health impacts toward family members/caregivers
  predominated the health economics literature.

  Two entity/domain involvement
  A unifying theme across the spillover effect literature was the involvement of two entities or domains impacted by
  an action or process. Speciﬁcally, spillovers were described to have a direct impact on a targeted entity (or domain),
  as well as a second entity unintentionally. This common characteristic manifested within the business literature
  as innovation spillovers from one entity, or industry, to another. Within one sociology study, one family entity,
  an incarcerated mother, had an unintentional impact on her child’s performance in the school domain [36]. An
  additional sociology perspective assessed the impact of a health insurance domain on societal institutions (schools
  and churches) [37]. Among the identiﬁed literature, there were noted similarities between psychology and health
  economics in that family members were the two entities frequently impacted by spillovers [10–13,30–32]. As mentioned
  previously, spillover effects studied within the psychology discipline assessed professional life spillovers to the home
  and family setting [30,32]. Within the health economics literature, spillover effects were most commonly referenced
  as well-being impacts on family members of patients. Further health economic studies referenced changes in
  innovation from a present scientiﬁc to future scientiﬁc domain [26].


  Identifying a model case & contrary case
  Model case
  Model case construction is the ﬁfth step of Walker and Avant’s [9] concept analysis and consists of including the
  identiﬁed attributes in a model case based on literature or invention by the author. The following case was created by
  the author and discusses the spillover impacts of a healthcare unit systems-level intervention on patient outcomes.
      Elkwood Hospital Emergency Department (ED) provides adult, pediatric and women’s health services. It has a
  triage section, a main ED treatment area and a pediatric treatment area. Recently, the ED has experienced a surge
  in patient volumes due to local population growth. The department decides to implement a new triage workﬂow
  conﬁguration for patients after identifying that 70% of all presenting ED patients are low acuity and do not need to
  be seen in the main ED treatment area. Thus, the department initiates a ‘triage quick assessment’ process facilitating
  quick assessment and treatment of low-acuity patients in order to free up bed and clinician resources for high-acuity
  patients and to reduce patient wait times.
      In order to increase efﬁciency in the new triage center, patients are initially brought into a triage room after
  patient registration where vital signs, initial assessments and labs are taken by a nurse. After this process, the patient
  is returned to the waiting room where they wait to be called back into the triage room for a physician assessment. As
  the ﬁrst patient waits in the waiting room, new low-acuity patients are brought into the triage room to go through
  the same process by the nurse.
      The new triage conﬁguration is efﬁcient in that it facilitates a quick assessment of every patient, where a nurse can
  identify if a patient is truly stable (or not) and return patients to the waiting room until their physician assessment.
  The additional beneﬁt of the quick assessment process is that it allows for continuous bed availability should a
  high-acuity patient present in need of immediate stability and subsequent transfer to a permanent room.


      future science group                                                                          www.futuremedicine.com              759
  Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 338
                                      of 396

Methodology   Muir & Keim-Malpass



                  Over time, the ED observes signiﬁcant drops in patient wait times due to this new conﬁguration. However,
               although the process has beneﬁted overall patient time metrics in the ED, the process has been detrimental to
               patient satisfaction ratings. Patients have reported negative feedback regarding the constant transport between the
               triage room and the waiting room and report perceived fragmented care imparted by the staff. Additionally, the
               department has observed a 10% increase in clinician turnover since implementation of the new triage conﬁguration.
               Nurses on the unit cite increased moral distress due to the rising time pressures and increased time constraints related
               to quickly completing patient registration, assessments and labs. The physicians have reported missed nursing care
               on common tasks, such as incomplete vital signs and delayed medication administration. Upon closer evaluation,
               the director of the ED has noted rising patient re-admissions to the ED. Despite quick evaluations among these
               low-acuity patients, approximately 30% are returning within one week to the ED again.
                  This case addresses the deﬁning attributes of spillover effects wherein the intervention resulted in unintentional
               impacts such as decreased patient satisfaction, clinician turnover, nurse moral distress, patient adverse events and
               increased patient re-admissions. The department did not intend from the outset for a systemic intervention to
               cause clinician moral distress impacting clinician performance and patient outcomes. The resulting spillovers of
               increased efﬁciency in one arena (reducing wait times) included increased clinician error detrimentally impacted
               patient outcomes and/or reduced patient satisfaction impacting patient utilization.
                  The case results in negative spillovers, evidenced by increased patient utilization, clinician error, moral distress and
               patient dissatisfaction. Though the same entities are involved (patients, clinicians and the emergency department),
               different domains, or ‘arenas’ as mentioned in the psychology literature base, are impacted. Overall, the primary
               intention of the intervention was to increase patient efﬁciency (domain 1), while a variety of secondary domains
               were unintentionally impacted through spillovers (patient satisfaction, quality of care delivery, clinician turnover,
               patient health status, patient utilization).

               Model case: methods expansion
               This case additionally highlights the need for close examination of the methods used to measure the identiﬁed
               spillovers. A mixed-methods approach could be used to elucidate such effects mentioned within the case, particularly
               within an economic evaluation [43,44]. For example, a cost–beneﬁt analysis could be conducted to quantify the
               impact of the new triage intervention, with spillover effects evaluated through increased patient re-admission costs
               and clinician turnover-rate costs. Furthermore, qualitative methodologies could be used to elucidate the systemic
               impacts on clinician challenges linked to fulﬁlling the identiﬁed workﬂow. Mixed-methods approaches could be
               employed to assess the quantiﬁable aspects of these spillovers, with qualitative methods informing the moral distress,
               intention to leave the workplace and patient dissatisfaction [43,44]. Thus, a variety of measurement strategies could
               be employed to best understand spillovers in the context of a health system intervention.

               Contrary case
               An ED creates a triage conﬁguration to rapidly assess patients. Upon evaluating performance metrics, ED identiﬁes
               that on a daily basis, 70% of the total patients seen in the ED who are low-acuity patients are successfully being
               treated and discharged from this new triage conﬁguration. The physicians and nurses who work in the main section
               of the ED have noticed that the time to treat patients who are high acuity has decreased, meaning clinicians are
               seeing the sickest patients faster than before the intervention. This is a contrary case to a spillover because the
               implementation of the new triage conﬁguration is intended to increase efﬁciency for low- and high-acuity patients.
               The ED aimed to treat 70% of the patients through a rapid assessment conﬁguration in order to increase time to
               treat efﬁciency for high-acuity patients. Only one domain is impacted in this case – patient efﬁciency – given that it
               is the ED’s intent to reduce wait times for all patients due to a workﬂow change. Thus, this case lacks the attributes
               of two entities and being unintentional in nature.

               Identifying antecedents
               Antecedent identiﬁcation helps to understand the characteristics of attributes of spillover effects that exist prior
               to fulﬁllment of the concept [9]. There are two antecedents of spillovers: an intentional ﬁrst action and a desired
               outcome. The intentional ﬁrst action is the act of delivering or implementing a primary process. The desired
               outcome is inherently linked to the ﬁrst action. A ﬁrst action would be considered, for example, the development of
               a new healthcare technology to help patients with chronic pain. The desired outcome of technological advancement
               would be to reduce a patient’s perceived or pathophysiologic suffering from pain. An initial action and desired


760            J. Comp. Eﬀ. Res. (2020) 9(11)                                                                     future science group
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 339
                                    of 396

                                                                                            Spillover effects concept analysis   Methodology



  outcome are an antecedent because it determines the ﬁrst entity or domain impacted in the spillover effect cascade.
  The secondary aspect, or consequences of the spillover effect involves impacts to secondary entities. Consequences
  are discussed in subsequent paragraphs.


  Identifying consequences
  Consequences are resulting events or phenomena that emerge from the identiﬁed concept [9]. As previously
  described, consequences of spillovers are considered the unintentional impacts resulting from an intentional ﬁrst
  action and can have positive or negative impacts. The magnitude of the spillover effect consequences varied among
  the disciplines reviewed and provided rich perspectives on micro- and macro-level impacts among various entities
  under study. For example, the business literature predominantly described spillover effects as having a large-scale
  impact as various industries were involved [39–41]. Geographic context strongly inﬂuenced the transference of
  knowledge and innovation spillovers [39,41].
     Similarly, health economic spillovers were discussed in the context of scientiﬁc innovation, however the majority
  of studies discussed spillover impacts between individuals [26]. Speciﬁcally, individuals with illnesses and their social
  networks were the focus of health economic spillover effect research [19,20]. Health economic studies, therefore
  focused mostly on individual versus industry spillovers. A noted methodological consequence of measuring spillovers
  relates to the issue of double-counting [25]. An example is in the case of a patient experiencing depression or anxiety
  related to watching a family or clinician caregiver provide challenging care. This situation poses a methodological
  risk of double counting, in which the quality of life decrement is ‘counted’ as a utility for the patient when it could
  already be ‘counted’ in the utility of the caregivers [25].
     The discipline of psychology also discussed smaller magnitude spillovers within the family unit, however be-
  havioral spillover literature addressed environmental spillovers on a national level of larger magnitude [32,33].
  Finally, spillovers within the sociology context assessed broader societal impacts of policies, processes, or access
  challenges [35–37]. Though individual family unit spillovers were assessed, a broader spillover focus was on societal
  impacts. The analyzed literature expressed a variety of spillover effect impacts that are important to consider in
  developing research around spillovers.


  Identifying empirical referents
  The ﬁnal stage of Walker and Avant’s approach [9] is identifying empirical referents, speciﬁcally how the concept
  is measured. The measurement of spillover effects was identiﬁed as highly variable across the various disciplines.
  Although deﬁnitions of spillovers across the disciplines overlap, there existed noted differences in the measurement
  of spillovers among the examined literature.
     Spillovers evaluated within the ﬁelds of psychology, sociology and business have used both qualitative, quantitative
  and mixed-methods approaches to assess spillover effects. In the sociology context, Timmermans and colleagues [37]
  evaluated how lack of health insurance affects religious institutions and school (kindergarten–12th grade) function-
  ing. Using in-depth, qualitative interviewing methods, the authors found negative education spillovers relevant to
  increased student absenteeism, as well as increased ED utilization rates and ‘waiting illnesses out’ (p. 367) [37]. In
  examining spillover crime impacts, Braga and colleagues [38] used a quasi-experimental design and regression analysis
  to examine gang shooting trends. During data collection for the study, the team employed qualitative interviewing
  to gain insight into shooting events, relationships between gang victims and other contextual information relevant
  to gun-related gang activity [38]. Spillover inclusion in the examined business literature has predominantly included
  quantitative regression analyses of market impacts or consumer behaviors [39,40].
     Within the health economic literature, quantitative approaches to assess spillovers have dominated over qualitative
  approaches. Health economic studies have assessed spillovers using state-preference valuation techniques, such
  as surveys like the EuroQoL-5 Dimension (EQ-5D-3L) and the Short Form-6 Dimension (SF-6D) to assess
  individuals’ health status [45,46]. Such surveys ask participants to rate their health within a wide range of dimensions
  such as sleep quality, anxiety/depression, pain/discomfort and more. Data from these surveys are then quantitatively
  evaluated using regression-based or correlational analyses to understand associations between patient health quality
  and caregiver quality to determine potential spillovers [23].
     Additional spillover assessments in economic evaluations include discrete choice experiments, where caregivers are
  given a set of scenarios and are asked to select their preferences of variables/choices within speciﬁc scenarios [15]. Such
  assessments are useful in determining willingness-to-accept values regarding caregiver informal care payment [20,28].


      future science group                                                                           www.futuremedicine.com              761
  Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 340
                                      of 396

Methodology   Muir & Keim-Malpass



               Other spillover assessments include accounting for displaced time due to caregiving through opportunity costs in
               economic models and recording caregiver tasks in diary logs [13].
                   Qualitative approaches have been used sparsely in health economic studies [47]. One identiﬁed study by Canaway
               and colleagues [19] used in-depth interviewing and hierarchical mapping to identify the social networks of end-of-
               life (EOL) patients [19]. The authors found that EOL patient caregiving network size was dependent on disease
               trajectory; EOL patients had an average of eight close family members/and or caregivers. Information gleaned from
               the interviews can be used by economists to assess the emotional and personal connectedness spillover effects of
               EOL caregiving within a network [19].
                   Despite the use of mixed-methods and qualitative approaches in the ﬁelds of psychology and sociology, qualitative
               methodologies are less prominent in health economics literature. No general consensus existed among the selected
               literature on how to universally assess spillovers. The implications of the identiﬁed diverse approaches to assessing
               spillover effects is discussed in subsequent paragraphs.


               Implications for health economics & comparative effectiveness research
               Implications from this concept analysis include expanding the types of spillover effects assessed in economic
               evaluations, as well as the methods used to assess spillovers. First, this concept analysis demonstrates an opportunity
               to expand spillover effect analyses to include entities beyond family caregivers or scientiﬁc innovation advancement
               in the future. Health economic studies have evaluated spillovers between healthcare markets in a similar manner to
               inter-industry spillovers in the business literature. However, increased opportunity exists in quantifying spillovers
               beyond the patient social network to include frontline caregivers, systems-level spillovers of health interventions
               (i.e., increased outpatient clinic visits, ED re-admissions) and health intervention spillovers to manufacturing
               industries [19]. Additionally, there is a gap in understanding the existence of and potential impact of multiple
               spillovers occurring at the same time. Future research is needed to understand multidimensional spillovers, where,
               for example, an entity experiences multiple spillover effects at once. Family caregivers, for example, may experience
               health spillovers while informally caring for a sick loved one while simultaneously experiencing ﬁnancial spillovers
               from a new medication for the patient’s symptom relief.
                  Second, the examined methods used to assess spillover effects (empirical referents) from the examined literature
               can be applied to health economic studies to further elaborate on spillover effects comprehensively. Qualitative
               methodologies, for example, can be used to best elaborate on spillover effects that may be challenging to quantify
               in traditional spillover effect measures such as regression analyses, choice experiments or surveys. Dopp and
               colleagues [44] suggest that qualitative perspectives can facilitate mixed-method approaches in economic evaluations
               to ﬁll a ‘qualitative residual’ where stakeholder and contextual information is traditionally absent (p. 2). The mixed
               approaches to assessing spillovers, for example in the sociology literature, where qualitative methods were used,
               suggests that spillovers may employ rich, descriptive contextual perspectives that are well-suited to compare health
               interventions [18,37]. Qualitative methodologies are well suited to assess spillovers due to inherent epistemological
               underpinnings in thick, contextual descriptions, emic–etic (insider, outsider) perspectives and observational data
               on drivers and mechanisms of topics under study [48–50,53]. Inclusion of qualitative methods to assess spillovers in
               economic studies may result in the investment of healthcare resources that are appropriately allocated to targeted
               populations. The subsequent section addresses factors to consider when integrating spillover effect assessments into
               health economic research.


               Expanding spillover effect inclusion in health economic studies
               Figure 1 can be used as a framework to guide spillover effect inclusion in health economic evaluations. Adapted
               from Galizzi and Whitmarsh’s [29], methodological recommendations for behavioral spillovers, relevant questions
               to consider about spillover effect inclusion based on Figure 1 factors are listed below.
                  Context: What is the setting where the spillover effect(s) takes place?
                  Entities: What are the entities, domains and/or populations involved? What is the intended (directed) and
               unintended impact? What are any targeted interventions targeting directed outcomes?
                  Magnitude: What are the potential outcomes from the intended outcome? What is the breadth and depth of the
               impacts?
                  Methods: Can these spillovers best be elucidated through experimental or non-experimental approaches? Are
               there opportunities for qualitative or mixed-method approaches?


762            J. Comp. Eﬀ. Res. (2020) 9(11)                                                                  future science group
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 341
                                    of 396

                                                                                            Spillover effects concept analysis   Methodology




                                       Framework for spillover effect research inclusion




                                            Context                    Entities involved

                                  Nature and environment              Intervention intended
                                  where spillover observed            recipient versus
                                                                      indirect recipient

                                  Eg. clinical setting,
                                                                      Eg. patient (direct) and
                                  patient home, healthcare
                                                                      caregivers (indirect)
                                  industry, markets




                                   Magnitude                                       Method

                               Perceived impact of                    Approach that can best glean
                               spillover effect                       desired magnitude and
                                                                      characteristics of
                                                                      spillover
                             Eg. inter-industry, cross-national,
                             inter-personal, inter-professional
                                                                     Eg. regression analyses,
                                                                     choice experiment,
                                                                     qualitative descriptive,
                                                                     mixed-methods




  Figure 1.   Framework for spillover effect research inclusion.


     The highlighted factors are gleaned from the concept analysis and were developed after assessing relevant at-
  tributes, antecedents, deﬁnitions and overall characteristics of spillover effects. The ﬁrst relevant factor–context de-
  scribes the need to identify the environment where the spillover effect takes place. Such settings could include a
  hospital, a patient/family home, a healthcare corporation, or an academic evaluation of a healthcare market. The
  second important factor to consider is entities and domains. This factor aims to identify what/who is the entity
  intended to be impacted and which entity is receiving a potential spillover impact. Subsequently, the third domain
  is the magnitude or overall impact of spillovers. Magnitude can be considered a geographic, interpersonal or in-
  terindustry impact. Estimating the potential magnitude can aid in understanding the extent to which the spillover
  needs to be studied. A ﬁnal consideration is the methods approach. Finally, methods selection should be guided by
  the contextual, entity and magnitude considerations. Such evaluation of important factors driving spillover effects,
  as determined from this concept analysis, can guide spillover effect integration in health economic studies.

  Conclusion
  This concept analysis expands deﬁnitions and characteristics of spillover effects for consideration in health economic
  studies. Few health economic studies to date adequately incorporate spillover effects and when incorporated, most
  evaluations focus on family spillovers evaluated quantitatively [20]. Spillover effects serve a role in enhancing the
  societal perspective of a study, given that they reveal contexts and unintended effects of a strategy or intervention
  on various groups or entities that have been traditionally overlooked in a traditional economic model [25,51]. This
  concept analysis used a multidisciplinary lens to identify deﬁning characteristics of spillover effects to expand
  considerations of spillover effects for use in health economic evaluations.


      future science group                                                                           www.futuremedicine.com              763
  Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 342
                                      of 396

Methodology   Muir & Keim-Malpass




                Summary points
                • Within health economics research, spillover effects are traditionally considered the health impacts of an
                  intervention unintentionally imparted upon the family member of an ill individual. Broader considerations of
                  spillover effects can enhance economic evaluations.
                • A concept analysis was conducted across academic disciplines. Key attributes included: lack of intention
                  (unintentional), positive or negative impacts and two entity/domain involvement. An initial action and targeted
                  outcome were identified antecedents of spillover effects. Consequences varied in terms of magnitude and
                  domain of impact across industries, life domains and interpersonal relationships.
                • Expanded conceptualizations of spillover effects can strengthen economic evaluations. Economic evaluations
                  assessing spillovers should consider the context, entities and magnitude of spillovers to inform method selection.



               Author contributions
               KJ Muir contributed substantially to manuscript conception and design, literature review and drafting of manuscript work. J Keim-
               Malpass contributed substantially to manuscript conception and design, drafting of manuscript work and revisions of drafts. Both
               authors agree to be accountable for all aspects of the work, inclusive of manuscript integrity.


               Financial & competing interests disclosure
               The authors have no relevant affiliations or financial involvement with any organization or entity with a financial interest in or finan-
               cial conflict with the subject matter or materials discussed in the manuscript. This includes employment, consultancies, honoraria,
               stock ownership or options, expert testimony, grants or patents received or pending, or royalties.
                    No writing assistance was utilized in the production of this manuscript.


               References
               Papers of special note have been highlighted as: • of interest
               1      Kamal AH, Wolf SP, Troy J et al. Policy changes key to promoting sustainability and growth of the specialty palliative care workforce.
                      Health Aff. 38(6), 910–918 (2019).
               2      Dowd B, Nyman JA. cost–effectiveness analysis in the context of us commercial health insurance. Pharmacoeconomics 37(6), 743–744
                      (2019).
               3      Ward MJ, Bonomo JB, Adeoye O et al. cost–effectiveness of diagnostic strategies for evaluation of suspected subarachnoid hemorrhage in
                      the emergency department. Acad. Emerg. Med. 19(10), 1134–1144 (2012).
               4      Drummond MF, Sculpher MJ, Claxton K, Stoddart GL, Torrance GW. Methods for the Economic Evaluation of Health Care
                      Programmes. NY, USA, USA (2015).
               5      Sanders GD, Neumann J, Basu A et al. Recommendations for conduct, methodological practices and reporting of cost–effectiveness
                      analyses: second panel on cost–effectiveness in health and medicine. JAMA 316(10), 1093–1103 (2016).
               6      Basu A, Meltzer D. Implications of spillover effects within the family for medical cost–effectiveness analysis. J. Health Econ. 24(4),
                      751–773 (2005).
               7      Gold M. Panel on cost–effectiveness in health and medicine. Med. Care 34(12), DS197–DS199 (1996).
               8      Sanders GD, Neumann PJ, Basu A et al. Recommendations for conduct, methodological practices and reporting of cost–effectiveness
                      analyses: second panel on cost–effectiveness in health and medicine. JAMA 316(10), 1093–1103 (2016).
               9      Walker LO, Avant KC. Strategies for Theory Construction in Nursing. (4th Edition). Pearson Education, NJ, USA (2004).
               10     Lin PJ, D’Cruz B, Leech AA et al. 2019. Family and caregiver spillover effects in cost-utility analyses of Alzheimer’s disease interventions.
                      Pharmacoeconomics 37(4), 597–608 (2019).
               11     Tubeuf S, Saloniki EC, Cottrell D. Parental health spillover in cost–effectiveness analysis: evidence from self-harming adolescents in
                      England. Pharmacoeconomics 37(4), 513–530 (2019).
               •      Used data from a randomized, controlled trial comparing two interventions for self-harming adolescents, family therapy with
                      treatment as usual. Findings suggested that parents’ utility values increased throughout the duration of the trial and were
                      positively associated with their adolescent’s health status, measured by utility values.
               12     Wittenberg E, James LP, Prosser LA. Spillover effects on caregivers’ and family members’ utility: a systematic review of the literature.
                      Pharmacoeconomics 37(4), 475–499 (2019).
               13     Grosse SD, Pike J, Soelaeman R, Tilford JM. Quantifying family spillover effects in economic evaluations: measurement and valuation of
                      informal care time. Pharmacoeconomics 37(4), 461–473 (2019).
               14     Jacobs JC, Van Houtven CH, Tanielian T, Ramchand R. Economic spillover effects of intensive unpaid caregiving. Pharmacoeconomics
                      37(4), 553–562 (2019).



764            J. Comp. Eﬀ. Res. (2020) 9(11)                                                                                          future science group
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 343
                                    of 396

                                                                                                          Spillover effects concept analysis       Methodology



  15   Hurley J, Mentzakis E. Health-related externalities: evidence from a choice experiment. J. Health Econ. 32(4), 671–681 (2013).
  16   Baicker K, Robbins JA. Medicare payments and system-level health-care use: the spillover effects of Medicare managed care. Am. J.
       Health Econ. 1(4), 399–431 (2015).
  17   Brown CC, Tilford JM, Payakachat N et al. Measuring health spillover effects in caregivers of children with autism spectrum disorder: a
       comparison of the eq-5d-3l and sf-6d. Pharmacoeconomics 37(4), 609–620 (2019).
  18   Campbell JA, Ezzy D, Neil A et al. A qualitative investigation of the health economic impacts of bariatric surgery for obesity and
       implications for improved practice in health economics. Health Econ. 27(8), 1300–1318 (2018).
  •    Cost–effectiveness analysis on bariatric surgery; authors ﬁnds positive human capital spillovers from patients reﬂecting positive
       self-worth into their productivity as an employee in the workplace after bariatric surgery.
  19   Canaway A, Al-Janabi H, Kinghorn P et al. Close-person spill-overs in end-of-life care: using hierarchical mapping to identify whose
       outcomes to include in economic evaluations. Pharmacoeconomics 37(4), 573–583 (2019).
  20   Hoefman RJ, van Exel J, Brouwer WBF. The monetary value of informal care: obtaining pure time valuations using a discrete choice
       experiment. Pharmacoeconomics 37(4), 531–540 (2019).
  21   McCabe C. Expanding the scope of costs and beneﬁts for economic evaluations in health: some words of caution. Pharmacoeconomics
       37(4), 457–460 (2019).
  22   Al-Janabi H, McLoughlin C, Oyebode J et al. Six mechanisms behind carer wellbeing effects: a qualitative study of healthcare delivery.
       Soc. Sci. Med. 235, 112382 (2019).
  23   Bhadhuri A, Jowett S, Jolly K et al. A comparison of the validity and responsiveness of the EQ-5D-5L and SF-6D for measuring health
       spillovers: a study of the family impact of meningitis. Med. Decis. Mak. 37(8), 882–893 (2017).
  24   Miller C, Pender J, Hertz T. Employment Spillover Effects of Rural Inpatient Healthcare Facilities. (Economic Research Report No.
       (ERR-241)) (2017). https://www.ers.usda.gov/publications/pub-details/?pubid=86253
  25   Brouwer WBF. The inclusion of spillover effects in economic evaluations: not an optional extra. Pharmacoeconomics 37(4), 451–456
       (2019).
  26   Lakdawalla DN, Doshi JA, Garrison LP Jr, Phelps CE, Basu A, Danzon PM. Deﬁning elements of value in health care – a health
       economics approach: an ISPOR Special Task Force Report. Value Health 21(2), 131–139 (2018).
  27   Johnson G, Figueroa JF, Zhou X, Orav EJ, Jha AK. Recent growth in Medicare Advantage enrollment associated with decreased
       fee-for-service spending in certain US counties. Health Affairs 35(9), 1707–1715 (2016).
  28   Arora S, Goodall S, Viney R et al. Using discrete-choice experiment methods to estimate the value of informal care: the case of children
       with intellectual disability. Pharmacoeconomics 37(4), 501–511 (2019).
  29   Galizzi MM, Whitmarsh L. How to measure behavioral spillovers: a methodological review and checklist. Front. Psychol. 10, 342 (2019).
  30   Kunst JR, Løset GK, Hosøy D et al. The relationship between shift work schedules and spillover in a sample of nurses. Int. J. Occup. Saf.
       Ergon. 20(1), 139–147 (2014).
  31   Zhou ZE, Meier LL, Spector PE. The spillover effects of coworker, supervisor and outsider workplace incivility on work-to-family
       conﬂict: a weekly diary design. J. Organizational Behav. 40(9–10), 1000–1012 (2019).
  32   Amstad FT, Semmer NK. Spillover and crossover of work-and family-related negative emotions in couples. Psychol. Everyday Activity
       4(1), 43–55 (2011).
  33   Jones CR, Whitmarsh LE, Byrka K et al. Methodological, theoretical and applied advances in behavioural spillover. Front. Psychol. 10,
       2701 (2019).
  34   Nash N, Whitmarsh L, Capstick S et al. Climate-relevant behavioral spillover and the potential contribution of social practice theory.
       WIREs Clim. Change 8, e481 (2017).
  35   Aranda E, Menjı́var C, Donato KM. The spillover consequences of an enforcement-ﬁrst u.s. immigration regime. Am. Behav. Sci.
       1687–1695 (2014).
  36   Hagan J, Foster H. Children of the american prison generation: student and school spillover effects of incarcerating mothers. Law Soc.
       Rev. 46(1), 37–69 (2012).
  37   Timmermans S, Orrico LA, Smith J. Spillover effects of an uninsured population. J. Health Soc. Behav. 55(3), 360–374 (2014).
  •    Uses open-interviewing, qualitative methods to elucidate the effects of a lack of insurance on two institutions, churches and
       schools. Negative spillover effects noted with increased absenteeism within schools, while less spillovers were noted in religious
       institutions.
  38   Braga AA, Zimmerman G, Barao L, Farrell C, Brunson RK, Papachristos AV. Street gangs, gun violence and focused deterrence:
       comparing place-based and group-based evaluation methods to estimate direct and spillover deterrent effects. J. Res. Crime Delinquency
       56(4), 524–562 (2019).
  39   Frischmann BM, Lemley MA. Spillovers. Colum. L. Rev. 107, 257 (2007).
  40   Sahni NS. Advertising spillovers: evidence from online ﬁeld experiments and implications for returns on advertising. J. Marketing Res.
       53(4), 459–478 (2016).



       future science group                                                                                          www.futuremedicine.com                765
  Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 344
                                      of 396

Methodology   Muir & Keim-Malpass



               41   Grillitsch M, Nilsson M. Innovation in peripheral regions: do collaborations compensate for a lack of local knowledge spillovers? Ann.
                    Reg. Sci. 54(1), 299–321 (2015).
               42   Merriam-Webster. Merriam-Webster
                    Online (2020). https://www.merriam-webster.com/dictionary/spillover?utm campaign=sd&utm medium=serp&utm source=jsonld
               43   Jemna LM. Qualitative and mixed research methods in economics: the added value when using qualitative research methods. J. Public
                    Admin. Finance Law 154–67 (2016).
               44   Dopp AR, Mundey P, Beasley LO et al. Mixed-method approaches to strengthen economic evaluations in implementation research.
                    Implement. Sci. 14(1), 1–9 (2019).
               •    Overview of qualitative methodological integration into mixed methods research. Asserts that elucidation of patient preferences
                    can be overlooked when qualitative investigations are omitted from economic evaluations.
               45   Brazier J, Roberts J, Tsuchiya A. A comparison of the EQ-5D and SF-6D across seven patient groups. Health Econ. 13(9), 873–884
                    (2004).
               46   Brooks R, Group E. EuroQol: the current state of play. Health Pol. 37(1), 53–72 (1996).
               47   Husbands S, Jowett S, Barton P et al. How qualitative methods can be used to inform model development. Pharmacoeconomics 35(6),
                    607–612 (2017).
               48   Kauffman KS. The insider/outsider dilemma: ﬁeld experience of a white researcher “getting in” a poor black community. Nursing Res.
                    43(3), 179–183 (1994).
               49   Wolcott HF. On ethnographic intent. Educat. Admin. Q 21(3), 187–203 (1985).
               50   Lincoln YS, Guba EG. Naturalistic Inquiry. Sage Publications Inc., CA, USA (1985).
               51   Siebert U, Alagoz O, Bayoumi AM et al. Conceptualizing a model: a report of the ispor-smdm modeling good research practices task
                    force-2 mark. Med. Decis. Mak. 32(5), 678–689 (2012).
               52   Coast J. Qualitative methods for health economics. Rowman & Littleﬁeld, MD, USA, 261–270 (2009).
               •    Systematic review article evaluates the use of economic evaluations for decision making on a national and local (within hospitals
                    or among providers) level. Institutional, methodological and cultural factors inﬂuences the use of economic evaluations for
                    decision-making.




766            J. Comp. Eﬀ. Res. (2020) 9(11)                                                                                     future science group
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 345
                                    of 396




                     EXHIBIT Q
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 346
                                    of 396




            ANNALS, AAPSS, 455, May 1981




                     The Effect of Gun Availability on Violent
                                  Crime Patterns


                                           By PHILIP J. COOK


                   ABSTRACT: Social scientists have started to find answers to
                 some of the      questions raised in the ongoing debate over gun
                 control. The basic factual issue in this debate concerns the
                 effect of gun availability on the distribution, seriousness, and
                 number of violent crimes. Some evidence is available on each
                 of these dimensions of the violent crime problem. The
                 distribution of violent crimes among different types of victims
                 is governed in part by the "vulnerability pattern" in weapon
                 choice. The seriousness of robbery and assault incidents is
                 influenced by weapon type, as indicated by the objective
                 dangerousness and instrumental violence pattern. A reduc-
                 tion in gun availability would cause some weapon substitution
                 and probably little change in overall robbery and assault
                 rates&mdash;but the homicide rate would be reduced.



               Philip J. Cook is an associate professor of public policy studies and economics,
             Duke University. His research has focused primarily on the criminal justice system
             and other aspects of social regulation. He has collaborated with Mark H. Moore on
             a series of studies relating to gun control.

                                                    63
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 347
                                    of 396




            64

                     DEBATE over the appro-           and because, unlike most other com-
            THE
            priate      degree of governmental
            regulation of firearms has been a
                                                      monly used weapons (hands, kitchen
                                                      knives, and baseball bats), it is con-
            prominent feature of the political        ceivable that we might reduce the
            landscape for the last two decades.       availability of guns without im-
            The claims and counterclaims for          posing unacceptable costs on the
            various gun control strategies have       public. The principal factual ques-
            been bruited in congressional and         tion in the gun control debate is
            state   legislative hearings, political   whether reducing gun availability
            campaigns, editorials, and bumper         would reduce the amount and/or
            strips. The issues are by this time       seriousness of violent crime. Can
            familiar to even disinterested by-        potential violent criminals be de-
            standers : the proper interpretation      terred from obtaining guns, carrying
            of the Second Amendment; the value        guns, and using guns in crime? If
            of guns as a means of defense             so, will this reduction in gun use
            against burglars, or foreign invaders,    make any difference, or will crimi-
            or   local tyrants; the difficulty of     nals simply substitute other weap-
            depriving criminals of guns without       ons to equal effect? The answers to

            depriving the rest of us of basic         these questions are crucial to policy
            rights; and so forth. This &dquo;great    evaluation. Our ability to answer
            American gun war&dquo;1 clearly involves  these questions-to make accurate
            both value questions and questions        predictions about the effects of legal
            of fact, and the latter have been the     interventions in this area-is one
            subject of numerous statistical skir-     measure of our scientific under-
            mishes. Strangely, however, the           standing of the role of weapons in
            relevant factual questions have not       violent crime.
            attracted much attention from schol-         At the sacrifice of some dramatic
            ars until very recently. The role of      tension, I provide a preview of my
            guns-and other types of weapons           results here. The type of weapon
            -in violent crime is a fit and im-        used in a violent crime is in part
            portant subject for scientific inquiry.   determined by the nature of the
            No etiological theory of violent          victim; guns are most likely to be
            crime is complete without due con-        used against the least vulnerable
            sideration of the technology of           victims in robbery and homicide.
            violent crime. This would be true         The type of weapon used in a violent
            even in the absence of political          crime influences the outcome of the
            interest in gun control.                  crime: gun robberies, when com-
               Each of the major categories of        pared with other types of robbery,
            violent crime-criminal homicide,          are more likely to be successful,
            aggravated assault, robbery, and          less likely to result in injury to the
            rape-is committed with a variety of       victim, and more likely to result in
            weapons. Guns are used in a minor-        the victim’s death; gun assaults are
            ity of violent crimes, but are of         more likely to result in the victim’s
            special concern because they are          death than knife assaults, ceteris
            used in almost two thirds of the most paribus. A general increase in gun
            serious events, criminal homicides, availability would probably have
                                                      little effect on the overall robbery
               1. A phrase coined by B. Bruce-Briggs, rate,  but would increase the homi-
            "The Great American Gun War," The Public cide rate, including the rate of rob-
            Interest, 45:1-26 (fall 1976).            bery murder, and possibly reduce
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 348
                                    of 396




                                                                                                      65

             the number of aggravated assaults.             stitutibility&dquo; between guns and other
             These and other predictions emerge             weapons     in homicide and other
             from the empirical results presented           violent crimes. In short, does the
             here. My overall conclusion is that            type of weapon matter?
             the technology of violent crime                  Supposing that we were somehow
             matters a great deal in a number of            successful in discouraging some vio-
             dimensions, with important implica-            lent people from obtaining guns and
             tions for the gun control debate.              using them in crime, how might vio-
                                                            lent crime patterns change? Three
                       THE BASIC ISSUES                     dimensions of the violent crime
               Gun control measures come in a               problem are important: (1) the dis-
                                                            tribution of robberies, aggravated
             variety of forms, but most share the
             objective of reducing the availability         assaults, rapes, and homicides across
             of guns for use in violent crime. Most         different types of victims, for ex-
             federal and state gun regulations              ample, commercial versus noncom-
             in the United States are moderate
                                                            mercial robbery; (2) the seriousness
                                                            of robberies, rapes, and aggravated
             interventions intended to reduce
             criminal use while preserving the              assaults; and (3) the overall rates of
                                                            each of these crimes. These three
             majority’s access to guns for legiti-          dimensions are considered in turn in
             mate uses.2Washington, D.C., and
             New York City have adopted a much              the next three sections.33
             broader attack on the handgun prob-                    DISTRIBUTION: THE
             lem, with a ban on sales to all but                 VULNERABILITY PATTERN
             a few people. Whether the regula-
             tions are moderate or extreme, some               People who attempt robbery or
             opponents of gun control insist that a         homicide are more likely to succeed
             regulatory approach will be ineffec-           with a gun than with other commonly
             tive in reducing criminal violence.            used weapons. A gun is particularly
             Their position is summarized in two            valuable against victims who are
             bumper strips: &dquo;When guns are out-        physically strong, armed, or other-
             lawed, only outlaws will have guns,&dquo;      wise relatively invulnerable-the
             and &dquo;Guns don’t kill people-people        gun is &dquo;the great equalizer.&dquo; The
             kill people.&dquo; The former suggests         patterns of weapon use in criminal
             that &dquo;outlaws&dquo; will acquire guns,    homicide and robbery demonstrate
             despite whatever steps are taken to            that perpetrators are most likely to
             stop them, that is, that criminals will        use guns against victims who would
             continue to do what is necessary to            have the best chance of defending
             obtain guns, even if the price, hassle,        themselves against other weapons;
             and legal threats associated with              that is, the likelihood of a gun being
             obtaining a gun are increased sub-             chosen by a robber or killer increases
             stantially. The latter bumper strip            with the value of a gun in effecting
             apparently is meant to suggest that            a successful completion of the crime.

             people who decide to kill will find a          These observations suggest that a
             way even if they do not have access            program that is successful in re-
             to guns. This is one aspect of a more
             general issue, the degree of &dquo;sub-          3. I am indebted to Mark Moore for this
                                                            approach to carving up the violent crime
               2. For a summary of federal and state gun    problem. In the review that follows I omit any
             control measures, see my article, with James   discussion of rape, since relevant empirical
             Blose, in this issue.                          studies are lacking for this crime.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 349
                                    of 396




            66

            ducing the rate of gun ownership gun use also reflects the vulner-
            by potential robbers or killers will ability pattern: about 70 percent of
            change the relative distribution of victims aged 20-44 are shot, but
            these crimes among different types this fraction drops off rapidly for
            of victims. The evidence and impli- younger and older-that is, more
                                                                       6
            cations of the vulnerability pattern               vulnerable - victims.
            are presented in the following sec-                  Vulnerability is of course a rel-
            tions, beginning with criminal homi-               ative matter. We would expect that
            cide.                                              the lethality of the murder weapons
                                                               would be directly related to the dif-
            Criminal homicide                                  ference in physical strength be-
                                                               tween the victim and killer, other
               A decision to kill is easier and
            safer to implement with a gun than
                                                               things being equal. To investigate
                                                               this hypothesis, I used FBI data
            with other commonly available weap-                coded from the supplemental homi-
            ons-there is less danger of effec-                 cide reports submitted for 1976 and
            tive victim resistance during the                  1977 by police departments in 50
            attack, and the killing can be ac-                 large cities. These data include the
            complished more quickly and im-                    demographic characteristics of the
            personally, with less sustained ef-                victim and, where known, the of-
            fort than is usually required with a
            knife or blunt object. A gun has
                                                               fender, as well as the murder weapon,
                                                               immediate circumstances, and ap-
            greatest value against relatively                  parent motive of the crime. The
            invulnerable victims, and the vul-                 results calculated from these data
            nerability of the victim appears to be             tend to confirm the relative vul-
            an important factor jn determining
            the probability that a gun will be
                                                               nerability hypothesis. First, women
                                                               tend to use more lethal weapons to
            used as the murder weapon.                         kill their spouses than do men: 97
               The least vulnerable victims are
                                                               percent of the women, but only 78
            those who are guarded or armed. All                percent of the men, used a gun or
            presidential assassinations in U.S.                knife. The gun fractions in spouse
            history were committed with a hand-                killings are 67 percent and 62 per-
            gun or rifle. Almost all law enforce-              cent, respectively-not a large dif-
            ment officers who have been mur-
                                                               ference, but one that is notable,
            dered in recent years were shot: in                since women typically have less ex-
            1978, 91 of 93 murdered officers                   perience than men in handling guns
            were  killed by guns.44                            and are less likely to think of any
              Physical size and strength are also              guns kept in the home as their per-
            components of vulnerability. In 1977,              sonal property. It is also true that
            68.5 percent of male homicide vic-                 women who kill their &dquo;boyfriends&dquo;
            tims were shot, compared with only                 are more likely to use a gun than
            51.0 percent of female homicide vic-               men who kill their &dquo;girlfriends.&dquo;
            tims.5 The victims’ age pattern of                    Table 1 focuses on killings re-
                                                               sulting from arguments and brawls
              4.   FBI, Crime in the United States, 1978       in which both the killer and the vic-
            (Washington, DC: U.S. Government Printing          tim were males. The gun fraction
            Office).                                           increases with the age of the killer
              5. U.S. Department of Commerce, Bureau
            of the Census, Statistical Abstract of the U.S.,   and is inversely related to the age
            1978    (Washington, DC:    U.S. Government
            Printing Office).                                    6. FBI.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 350
                                    of 396




                                                                                                                  67

                                                            TABLE 1
                         GUN USE IN MURDERS AND NONNEGLIGENT HOMICIDES RESULTING FROM
                             ARGUMENTS OR BRAWLS, MALE VICTIM AND MALE OFFENDER




               SOURCE: FBI Supplemental Homicide Reports, 50 large cities, 1976 and 1977 combined (unpublished).
               *
                 N =
                    the sample size, that is, the denominator of the fraction. Cases in which the age of the killer is
             not known are excluded.



             of the victim: the highest gun frac-                 victim’s     ability to defend himself
             tion-87 percent-involves elderly                     acts    as a deterrent to would-be
             killers and youthful victims; the                    killers-but this deterrent is much
             lowest gun fraction-48 percent-                      weaker if the killer has a gun than
             involves youthful killers and elderly                otherwise. (3) In the case of a planned
             victims. Since age is highly corre-                  murder, the killer will have the
             lated with strength and robustness,                  opportunity to equip himself with a
             these results offer strong support                   tool that is adequate for the task.
             for the relative vulnerability hy-                   Against well-defended victims, the
             pothesis.                                            tool chosen will almost certainly be
               Why are less vulnerable murder                     a gun, if one can be obtained without
             victims more likely to be shot than                  too much difficulty.
             relatively vulnerable victims? A                        Each of these mechanisms is com-
             natural interpretation of this result                patible with the prediction that a
             is that intended victims who are                     reduction in gun availability will
             physically strong or armed in some                   cause a reduction in homicide, a
             fashion are better able to defend                    reduction that will be concentrated
             themselves against homicidal as-                     on killings that involve a victim who
             sault than more vulnerable victims-                  is physically stronger than the killer.
             unless the assailant uses a gun, the                 A number of specific hypotheses are
             &dquo;great equalizer.&dquo; The &dquo;vulnera-      suggested by this observation, in-
             bility pattern&dquo; can then be ex-                 cluding the following: a reduction
             plained as resulting from some com-                  in gun availability will reduce the
             bination of three mechanisms. (1)                    male:female victimization ratio in
             Homicidal attacks are more likely to                 killings of spouses and other inti-
             fail against strong victims than weak                mates, reduce the fraction of homi-
             ones, and the difference in the likeli-              cide victims who are youthful males,
             hood of failure is greater for nongun                and reduce the fraction of killers
             attacks than attacks with a gun. (2)                 who are elderly.
             The likelihood that an individual
             will act on a homicidal impulse                      Robbery
             depends in part on the perceived                       Robbery is defined as theft or at-
             probability of success. The intended                 tempted theft by means of force or
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 351
                                    of 396




            68

            the threat of violence.’The robber’s             empt any rational victim’s inclina-
            essential task is to overcome through            tion to flee or resist. Wesley Skogan
            intimidation or force the victim’s               documented the effectiveness of a
            natural tendency to resist parting               gun in forestalling victim resistance
            with his valuables. A variety of                 in his analysis of a national sample
            techniques for accomplisliing this               of victim-reported robberies:9 only 8
            task are used in robbery, including              percent of gun robbery victims re-
            actual attack-as in &dquo;muggings&dquo; and     sisted physically in noncommercial
            &dquo;yokings&dquo;-and the threatening dis-     robberies, compared with about 15
            play of a weapon such as a gun, knife,           percent of victims in noncommercial
            or club. Whatever the means em-                  robberies involving other weap-
            ployed, the objective is to quickly              ons.1° Other types of resistance-
            gain the victim’s compliance or to               arguing, screaming, and fleeing-
            render him helpless, thereby pre-                were also less common in gun rob-

            venting the victim from escaping,                bery than in robbery involving other
            summoning help, or struggling. The               weapons.
            amount of what could be called                      It   seems    reasonable to        assume

            &dquo;power&dquo;-capability of generating       that, from the robber’s viewpoint,
            lethal force-the robber needs to                 the value of employing a gun tends
            achieve these objectives with high               to be inversely related to the vul-
            probability depends on the char-                 nerability of the target. A gun will
            acteristics of the robbery target-               cause a   greater increase in the likeli-
            victim-and in particular on the
            vulnerability of the target. The                    8. Ibid., pp. 110-11; Conklin analyzes a
            most vulnerable targets are people
                                                             gun’s usefulness in terms of the ability it
            who are young, elderly, or other-                provides the robber to (1) maintain a buffer
            wise physically weak or disabled-                zone, (2) intimidate the victim; (3) make good
            for example, by alcohol-who are                  the threat, if necessary; and (4) ensure escape.
                                                                9. Wesley Skogan, "Weapon Use in Rob-
            alone and without ready means of
                                                             bery : Patterns and Policy Implications," un-
            escape. The least vulnerable targets             published manuscript (Northwestern Uni-
            are commercial places, especially                versity : Center for Urban Affairs, 1978). He
            where there are several customers                used the robbery incident reports collected
            and clerks and possibly even armed               from the National Crime Panel, which oc-
                                                             curred during calendar year 1973. It should be
            guards-a bank being one extreme                  noted that any analysis of victim survey data
            example.                                         relies on the victim’s impression of the nature
              A gun is the most effective tool for           of the weapon that was employed in the
            enhancing the robber’s power. Un-                robbery. In some cases the "gun" may be a
                                                             toy, or simulated; Floyd Feeney and Adrianne
            like other common weapons, a gun                 Weir [The Prevention and Control of Rob-
            gives a robber the capacity to threaten          bery: A Summary," unpublished manuscript
            deadly harm from a distance, thus                (University of California, Davis: Center on
                                                             Admin. of Criminal Justice, 1974] report that
            allowing him to maintain a buffer                of 58 "gun" robbers interviewed in Oakland,
            zone   between himself and the vic-              3 claimed to have used toys and 4 to have
            tim and to   control several victims             simulated the possession of a gun.
            simultaneously. A gun serves to pre-                10. Richard Block [Violent Crime (Lexing-
                                                             ton, MA: Lexington Books, 1977)] found from
                                                             studying robbery police reports in Chicago
              7. The perspective of this section was first   that victims who resisted with physical force
           developed in John Conklin’s seminal work on       typically (68 percent) did so in response to the
           robbery in Boston: Robbery and the Criminal       robber’s use of force. Other types of re-
           Justice System (Philadelphia: J. B. Lippin-       sistance typically (70 percent) preceded the
           cott, 1972).                                      robber’s use of force.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 352
                                    of 396




                                                                                                                 69

             hood of success against well-de-                           fine the &dquo;value of a gun’s marginal
             fended targets than against more                           product&dquo; as its marginal product
             vulnerable targets. A strong-arm                           (increase in success probability)
             technique will be adequate against                         multiplied by the amount of loot if
             an elderly woman walking alone on                          the robbery is successful. Since for
             the street-a gun would be re-                              obvious reasons, targets with greater
             dundant with such a victim-but a                           potential loot tend to be better de-
             gun is virtually a requirement of                          fended against robbery, 13 the value
             successful bank robbery. Skogan                            of the gun’s marginal product is even
             provides evidence supporting this                          more strongly related to target vul-
             claim: he finds little relationship                        nerability than is the marginal prod-
             between robbery success rates and                          uct of the gun. The conclusion can
             weapon type for personal robbery,                          be put in the form of a proposition:
             but a very strong relationship for
                                                                          The economic value of a gun in
             commercial robbery. He reports that
             success rates in commercial robbery                          robbery tends to be greatest against
                                                                          commercial targets and other well-
             were 94 percent with a gun, 65 per-
             cent with a knife, and 48 percent
                                                                          defended targets, and least against
             with other weapons.ll                                        highly vulnerable targets.
               In economic terms, we can char-                          It makes      good     economic     sense,
             acterize      robbery as           aproduction             then, for gun use in robbery to be
             process with weapons, robbers, and                         closely related to target vulnera-
             a target as &dquo;inputs.&dquo;12 The &dquo;output&dquo;   bility. This is indeed the case, as
             of the production process can be                           demonstrated in Table 2, which is
             defined as the probability of success.                     based on tabulating results of more
             This probability increases with the                        than 12,000 robbery reports taken
             number and skill of the robbers, the                       from victim survey data gathered
             vulnerability of the target, and the                       in 26 large cities.
              lethal effect of the weapons. For                           From Table 2, we see that 55 per-
              given robber and target character-                        cent of gun robberies committed by
              istics, the &dquo;marginal product&dquo; of a             adults, but only 13 percent of other
              gun can be defined as the increase in                     adult armed robberies, involve com-
              probability of success if the robber(s)                   mercial targets. Those relatively few
              substitute a gun for, say, a knife. The                   gun robberies that were committed
              evidence presented in the preceding                       against people on the street are con-
              paragraphs suggests that the mar-                         centrated on relatively invulnerable
              ginal product of a gun is small against                   targets-groups of two or more vic-
              vulnerable targets and is relatively                      tims or prime-age males-while
              large against well-defended targets.                      street robbery with other weapons
              We can go one step further and de-                        was more likely to involve women,

                                                                        children, and elderly victims. Skogan
                 11. Skogan.
                 12. This perspective is further developed                 13. It is obvious that commerical targets
              in Philip J. Cook, "The Effect of Gun Avail-              tend to be more lucrative than noncommer-
              ability on Robbery and Robbery Murder: A                  cial and that a group of two or more victims
              Cross Section Study of Fifty Cities," in                  will be more lucrative on the average than a
              Policy Studies Review Annual, eds. Robert H.              single victim. Feeney and Weir (p. 24) report
              Haveman and B. Bruce Zellner, Vol. 3                      the not-so-obvious result that robberies of
              (Beverly Hills, CA. Sage, 1979), pp. 752-                 male victims resulted in a much higher
              53 (hereafter cited as "The Effect of Gun                 median take ($50) than robberies of female
              Availability").                                           victims (less than $20).
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 353
                                    of 396




            70

                                                             TABLE 2

                                       DISTRIBUTION OF ROBBERIES (IN PERCENTAGE)




              SOURCE: Adapted from Philip J. Cook, &dquo;Reducing Injury and Death Rates in Robbery,&dquo; p. 43. @ 1980
            by The Regents of the University of California. Reprinted from Policy Analysis, Volume 6, No. 1 (Winter
            1980), by permission of The Regents. The distributions are calculated from National Cnme Panel victims-
            ization survey data of 26 cities.
              NOTE: All mcidents involved at least one male robber age 18 or over. Entries m the table reflect survey
            sampling weights.


            provides further detail for                  com-       the available weapon helps define
            mercial robberies, reporting that the                   the task. There is doubtless some
            likelihood that a gun is present in                     truth in both explanations.
            such robberies is only 44 percent for                     The first explanation suggests that
            commercial places that have only                        the observed relationship between
            one employee, but 68 percent for                        gun use and target choice is the re-
            commercial places with two or more                      sult of differences between the kinds
            employees. 14                                           of people that rob lucrative targets
              What is the causal process that                       and those who commit relatively
            produces these patterns in gun rob-                     petty street robberies-a difference
            bery ? There are two plausible ex-                      reminiscent of John Conklin’s dis-
            planations, both compatible with the                    tinction between &dquo;professionals&dquo; and
            evidence presented in the preceding &dquo;opportunists.&dquo;15 Victim survey evi-
            paragraphs: (1) robbers who aspire dence does suggest that gun robbers
            to well-defended, lucrative targets   as a group have more of the earmarks
            equip themselves with a gun in of professionalism than other armed
            order to increase their chance of robbers: besides the fact that they
            success or (2) robbers who happen to  make bigger &dquo;scores,&dquo; gun robbers
            have a gun are more tempted to rob are older, less likely to rob acquaint-
            lucrative, well-defended targets than ances, and less likely to work in
            robbers who lack this tool. In short, large groups of three or more. The
            the question is whether the weapon                      factors that determine a robber’s
            is chosen to suit the task or, rather,                  choice of weapon have some ten-
                                                                    dency to persist: a cohort of adult
              14. Ibid., calculated from       figures in his
            Table 3.                                                  15. Ibid.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 354
                                    of 396




                                                                                                      71

             men    arrested for gun robbery in                 An increase in gun availability in a
             the District of Columbia showed a                  city will (1) increase the fraction of
             greater propensity to use guns in                  noncommercial robberies com-
             subsequent robberies than the cor-                 mited with a gun and (2) increase
             responding cohort of nongun rob-                   the fraction of robberies committed
             bery arrestees.I6                                  against commercial and other well-
                It seems reasonable to hypothe-                 defended targets.
             size, then, that robbers who engage              In an earlier study of robbery pat-
             in planning and who seek out big
                                                              terns across 50 citie S,17 I found some
             scores will take pains to equip them-
                                                              confirmation for the first of these two
             selves with the appropriate weapon
             -usually some type of firearm.                   predictions; controlling for other
             The frequency with which other less              robbery-related variables, the frac-
                                                              tion of robberies committed with a
             professional robbers use guns, and
             hence the kinds of targets they                  gun increases with the density of
                                                              gun ownership in a city. A 10 per-
             choose, may be more sensitive to                 cent increase in the fraction of house-
             the extent to which such people have
             access to guns and are in the habit of
                                                              holds that owns guns is associated
                                                              with approximately a 5 percent in-
             carrying them, for whatever reason.              crease in the rate of gun robbery.
             Increased availability of guns may
             then result in some target switching
             by this group-substitution of more               Conclusions
             lucrative, better-defended targets for             The preceding evidence demon-
             more vulnerable targets. Increased               strates the existence of an important
             gun availability may also result in              vulnerability pattern in weapon
             weapon substitution for a given type             choice in homicide and robbery.
             of target, implying an increase in               Guns give assailants the power to
             the fraction of street robberies com-            succeed in killing or robbing rel-
             mitted with a gun; that is, guns will            atively invulnerable victims who
             be put to less valuable uses, as guns            would have a good chance of fending
             become &dquo;cheaper.&dquo; These hypoth-        off attack with a less lethal weapon.
             eses can be stated more precisely                If some potential killers were de-
             as follows:                                      prived of guns, the criminal homi-
                                                              cide rate would be reduced. The
                16. Philip J. Cook and Daniel Nagin, Does     reduction would be concentrated
             the Weapon Matter? (Washington, DC: In-          among the least vulnerable types of
             stitute for Law and Social Research, 1979).
             The results cited here are based on 541 adult
                                                              potential victims-law enforcement
             male gun robbery arrestees and 761 nongun        officers, people with bodyguards,
             robbery arrestees This cohort, which was         husbands of homicidal women, youth-
             arrested in 1973, was tracked through 1976       ful men, and so forth. If robbers were
             through Prosecutor’s Management Informa-         deprived of guns, there would be a
             tion System (PROMIS). The robbery re-
             arrest rate for the gun cohort was 43 percent,
                                                              reduction in robberies against com-
             of which 58 percent were gun robberies. The      mercial places and other well-de-
             robbery re-arrest rate for the nongun cohort     fended victims. In general, a reduc-
             was 45 percent, of which 40 percent were gun     tion in gun availability would change
             robberies. The two cohorts had the same re-      the distribution of violent crimes,
             arrest rate for burglary (13 percent), but the
                                                              with greater concentration on vul-
             nongun cohort was much more likely to be re-
             arrested for assaultive crimes (22 percent, as   nerable victims.
             opposed to 13 percent for the gun cohort), see
             Table 9 of Cook and Nagm.                          17. Cook "The Effect of Gun Availability."
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 355
                                    of 396




            72

                 SERIOUSNESS: THE OBJECTIVE                  assailant who merely intends to hurt
                   DANGEROUSNESS PATTERN                     his victim. Furthermore, an attack
              Recall that I am concerned with                that is intended to kill is more likely
            three dimensions of violent crime:               to be successful if perpetrated with a
            the distribution, the seriousness, and           gun than with a knife or other weapon
            the number of incidents. The vul-                -especially against victims who are
            nerability pattern suggests that gun             capable of defending themselves.
                                                             But differences in intent and capa-
            availability will in certain respects
            influence the distribution of rob-               bility are not the whole story.
            beries and homicides across differ-                 Franklin Zimring has demonstrated
            ent categories of victims. I now turn            that a large proportion of murders
                                                             are similar to serious assaults in that
            to the seriousness dimension of
            violent crime. &dquo;Seriousness&dquo; in this   the attacks are unsustained19-the
            discussion will be defined as the                assailant does not administer the
            degree of injury to the victim. A                coup de grace, the blow that would
                                                             ensure the death of his victim. In-
            violent or potentially violent con-
            frontation, as in robbery, rape, or              deed, the victim was shot only once
                                                             in about two thirds of the gun homi-
            assault, can result in a range of pos-           cides in Zimring’s Chicago samples.
            sible outcomes, from no physical
            harm up to serious injury or death               These cases differ very little from
            of the victim. The likelihood that the           serious assaults: for every death re-
            victim will be killed is influenced              sulting from a single wound in the
                                                             head or chest, Zimring found 1.8
            by the lethal effects of the weapon              victims with the same type of wound
            used by the perpetrator. The evi-
            dence on this &dquo;objective danger-            who did not die2°-victims who
                                                             were clearly not saved by any dif-
            ousness&dquo; pattern is presented first
            for serious assaults, and subse-                 ferences in the gunman’s intent or
            quently for robbery.                             capability, but rather just by good
                                                             luck with respect to the precise loca-
                                                             tion of the wound.
            Serious assaults
                                                               Evidently, some proportion of gun
              The fraction of serious gun as-                murders are not the result of a clear
           saults that result in the victim’s                intent to kill; given that the majority
           death is much higher than for as-                 of murders are the immediate result
           saults with other weapons. Richard                of altercations, often involving alco-
           Block, for example, found that of all             hol and rarely much thought, it seems
           aggravated assaults resulting in in-              unlikely that many killers have any
           jury to the victim-and reported to                clearly formulated &dquo;intent&dquo; at the
           the Chicago Police-14 percent of                  time of their attack. The assailant’s
           the gun cases, but only 4 percent of              mental state is characterized by an
           the knife cases, resulted in the vic- impulse-to punish, avenge an in-
           tim’s death. 18 In part, this difference sult, or stop a verbal or physical
           is the result of differences between attack-backed by more or less
           gun and knife attacks in intent and
           capability. An assailant who intends        19. Franklin Zimring, "The Medium is the
           to kill his victim, and who has some Message: Firearm Calibre as a Determinant
           chance to prepare, is more likely to of      Death from Assault,
                                                                    " J. Legal Studies, I(1):
                                                    97-124 (Jan. 1972); and idem, "Is Gun Con-
           equip    himself   with a  gun  than  an trol Likely to Reduce Violent Killings?"
                                                    Univ. Chicago Law Review, 35:721-37 (1967).
             18. Ibid., p. 33                          20. Ibid., computed from Table 7, p. 104.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 356
                                    of 396




                                                                                                     73

            cathexis. The immediate availability                   Richard Block extended Zimring’s
            of a gun makes these circumstances                work on instrumentality by com-
            more dangerous than would a less                  paring death rates in aggravated as-
            lethal weapon because an unsus-                   sault and robbery cases. He con-
            tained attack with a gun-a single                 cludes that &dquo;the relative fatality of
            shot-is more likely to kill than                  different weapons in violent crime
            an unsustained attack with another                may be a technological invariant-
            weapon.                                           ...      the probability of death given
              Zimring buttressed the conclu-                  injury and a particular weapon re-
            sions from his first study, which com-            mains relatively constant and un-
            pared knife and gun attacks, with a               related to the type of crime com-
            later study comparing large and                   mitted. &dquo;24
             small caliber gun attacks. Even after                 The notion that the number of
            controlling for the number and loca-              deaths per 100 injuries is a &dquo;techni-
            tion of wounds, he found that .38                 cal&dquo; constant, largely determined by
             caliber attacks were more than twice             the lethality of the weapon, is not
             as likely to kill as .22 caliber at-             supportable, however. Zimring dem-
             tacks. 21 It appears, then, that weapon          onstrated that the type of weapon
             dangerousness has a substantial in-              was one important determinant of

             dependent impact on the death rate               the outcome of serious attacks, but
             from serious assaults.                           did not claim it was the only deter-
                Zimring’s seminal work in this                minant. Presumably the weapon-
             area supports several important pro-             specific death rates in such attacks
             positions, including:                            will differ across jurisdictions and
                1. A restrictive gun control policy           vary over time depending on the
             that causes knives and clubs to be               mix of circumstances, the quality of
             substituted for guns will reduce the             medical care, and so forth. Arthur
             death rate in serious assault.                   Swersey presents an interesting case
               2. A gun control policy that focuses           in point. 25
             on handguns may increase the death                 Swersey reports that the number
             rate from gun assault if shotguns                of assaultive-as opposed to fel-
             and rifles are substituted for hand-             ony-gun homicides in Harlem in-
             guns as a result.22                              creased from 19 in 1968 to 70 in 1973,
                3. In setting prosecution and sen-            and then fell back to 46 in 1974.
             tencing priorities for aggravated as-            Much of the change between 1968
             sault cases, gun assaults should be              and 1973 was from an increase in
             viewed as more serious than assaults             intentional killings resulting from
             with other weapons, ceteris paribus,             disputes involving narcotics activi-
             since there is a higher probability of           ties. The importance of changes in
             the victim’s dying in the gun as-                the intent of violent perpetrators
             saults. This is Zimring’s &dquo;objective        during this period is indicated by the
             dangerousness&dquo; doctrine.23                  fact that the death rate in gun attacks
               21. Ibid., 1972.
                                                              doubled between 1968 and 1973,
               22. This implication has been pointed out      and then fell back in 1974. Swersey
             by Gary Kleck, "The Assumptions of Gun           concludes that more than 80 percent
             Control" (Florida State University, 1980)
             (unpublished).                                     24.   Block, p. 32.
                23. "In the generality of cases, how likely     25. "A Greater Intent to Kill: The Chang-
             is it that conduct such as that engaged in by    ing Pattern of Homicide in Harlem and New
             the offender will lead to death?" Zimring,       York City" (Yale School of Organization and
             p. 114.                                          Management, 1980) (unpublished).
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 357
                                    of 396




            74

                                                             TABLE 3

                       LIKELIHOOD OF PHYSICAL ATTACK AND INJURY IN ROBBERY (IN PERCENTAGE)




              SOURCE. National Cnme Panel mctimization surveys of 26 cities This table is excerpted from Philip J
            Cook, &dquo;Reducing Injury and Death Rates m Robbery,&dquo; Table 2 C 1980 by The Regents of the University
            of California. Repnnted from Policy Analysis, Volume 6, No 1 (Winter 1980), by permission of The Regents
               NOTE All mcidents included m this table involved at least one male robber age 18 or over Entnes m
            the table do not reflect the survey sampling weights, which differed mdely among the 26 cities
              *
                Many robbenes involve more than one type of weapon Incidents of that sort were classified according
            to the most lethal weapon used
              **
                 Robbenes occurnng on the street, m a vehicle, or near the mctim’s home
              t Only about one third of the injured gun robbery mctims were actually shot Two thirds of the injured
            knife robbery victims were stabbed



            of the rise and fall in Harlem homi-                   uous.    The fraction of homicides that
            cides was due to changes in the num-                   can be viewed as deliberate-unam-
            ber of deliberate murders. He finds                    biguously intended-varies over
            a similar pattern for the rest of New                  time and space, but is probably fairly
            York City.26                                           small as a rule. The fraction of gun
              Swersey’sfindings do not under-                      assaults that results in the death of
            mine     Zimring’s position. Zimring                   the victim is one indication of the
            did not deny that some killings were                   relative prevalence of deliberate
            unambiguously motivated, or that                       gun murders.
            the importance of intent in murder
            was    subject to change over time, or Robbery
            that it might be more important in
            Harlem than in Chicago. In any                           The principal role of a weapon in
            event, Swersey’s results are useful                    robbery is to aid the robber in co-
            in documenting these possibilities.                    ercing the victim-either by force
               My conclusions can be briefly                       or threat-to part with his valuables.
            stated. The likelihood of death from                   If the threat is           sufficiently con-
            a serious assault is determined, inter
                                                                   vincing, physical force is not neces-
            alia, by the assailant’s intent and the                sary. For this reason, it is hardly sur-
            lethal nature of the weapon he uses.                   prising that the use of force is closely
            The type of weapon is especially                       related to the weapon type in rob-
            important when the intent is ambig-                    bery, being very common in un-
              26. Swersey also notes several other indi-           armed robbery and rare in gun rob-
            cations of an increasing fraction of deliberate        bery. Table 3 documents this pattern
            murders in the homicide statistics for New             for both commercial and noncom-
            York City as a whole. During the 1970s, the            mercial robberies committed by
            clearance rate declined for homicide, as did
            the fraction of homicides occurring on the
                                                                   adult males. As shown in this table,
            weekend and the fraction involving family              gun robberies are less likely than
            members.                                               other armed robberies to involve
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 358
                                    of 396




                                                                                                         75

             physical violence and, furthermore,                 These findings are different as-
             are less likely to injure the victim.2’          pects of an &dquo;excess violence&dquo; pat-
             These patterns are compatible with               tern : much of the violence in rob-
             the notion that violence plays an                bery is not &dquo;necessary,&dquo; in the sense
             instrumental role in robbery-that                of being an instrumental response to
             it is employed when the robber                   anticipated or actual resistance by
             believes it is needed to overcome or             the victim. Rather, it is motivated
             forestall victim resistance and that             by objectives or impulses that have
             this need is less likely to arise when           little to do with ensuring success-
             the robber uses a gun than otherwise.            ful completion of the theft. In par-
               There is evidence, however, that               ticular, the high incidence of vio-
             this &dquo;instrumental violence&dquo; pattern   lence in street robberies committed
             can account for only a fraction of the           by larger groups-which typically
             injuries and deaths that result from             have a low &dquo;take&dquo;-is best viewed
             robbery. Three observations are rel-             as a form of recreation, and the
             evant in this respect. First, over two           gratuitous violence against the vic-
             thirds of victims injured in noncom-             tim may be just part of the fun.
             mercial gun robberies do not resist                Given these findings, it is useful
             in any way-even after the attack; 28             to attempt a distinction between
             similarly, 20 out of 30 victims killed           &dquo;robbery with intent to injure&dquo; or
             in gun robberies in Dade County be-              kill and robbery without such in-
             tween 1974 and 1976 did not resist               tent-in which violence would only
             the robber. Second, the likelihood               be used to overcome victim re-
             that the victim will be injured in an            sistance. The latter form of robbery
             armed robbery is much higher if the              dominates the statistics-most vic-
             robbery is committed by a gang of                tims are not in fact injured, and the
             three or more than otherwise; since              likelihood of injury is less with guns
             victims are less likely to offer re-             than with other weapons. However,
             sistance to a group of three or four             the more violent strain of robbery,
             robbers than to a lone robber, this              involving an intent to injure, ap-
             result is clearly incompatible with              parently accounts for a high percent-
             the &dquo;instrumental violence&dquo; hypoth-    age of the serious injuries and deaths
             esis. Third, judging from re-arrest              that do occur in the robbery context.
             statistics for a large cohort of adult           Furthermore, the incidence of ex-
             robbery arrestees in Washington,                 cess violence in robbery is subject
             D.C., it appears that robbers who                to   change over time, as Zimring
             injure their victims tend to be more             demonstrated in his study of robbery
             violence prone than other robbers. 29            murder in Detroit .30 He found a
                                                              sharp discontinuity in 1972 in the
                                                              fraction of victims killed in armed
               27. Other sources on this pattern include
             Conklin; Skogan; and Philip J. Cook, "A
                                                              robbery: after 10 years of stable
             Strategic Choice Analysis of Robbery" in         weapon-specific death rates, this
             Sample Surveys of the Victims of Crimes, ed.     fraction doubled between 1971 and
             Wesley Skogan (Cambridge, MA: Ballinger,         1973 for gun robberies and increased
             1976) (hereafter cited as "A Strategic Choice    even more during this period for
             Analysis of Robbery").                           other armed robberies.
               28. Philip J. Cook, "Policies to Reduce In-
             jury and Death Rates in Robbery," Policy
             Analysis, 6(1):36 (winter 1980) (hereafter         30. Franklin Zimring, "Determinants of
             cited as "Policies to Reduce Injury and          the Death Rate from Robbery: A Detroit Time
             Death Rates").                                   Study," J. Legal Studies, 6(2):317-32 (June
               29. Cook and Nagin, p. 39.                     1977).
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 359
                                    of 396




             76

               Are gun robberies more dangerous                  well as assault, for reasons that re-
             than other armed robberies, in the                  main a bit obscure.
             sense of being more likely to result                   Why does the presence of a loaded,
             in the victim’s death? Victims are                  authentic gun in robbery increase
             killed in a higher fraction of gun                  the probability of the victim’s death?
             robberies than others: based on vic-                My studies of robbery murder in
             tim surveys and homicide data in                    Atlanta and Dade County33 indicated
             eight cities, I calculated that there               that in at least half of the cases the
             are 9.0 victim fatalities for every                 killing was deliberate: for example,
             1000 gun robberies, compared with                   the victim was tied and then exe-
             1.7 victim fatalities per 1000 nongun               cuted, or shot several times from
             armed robberies.31 Furthermore, it                  close range. But insofar as intent
             appears that the type of weapon                     could be ascertained from police
             plays an independent role in deter-                 reports, it appears that these in-
             mining the likelihood of robbery                    tentional killings were not premedi-
             murder; in a cross-sectional analysis               tated, but rather decided on during
             of 50 cities, I found that the fraction             the course of the robbery. Perhaps
             of robberies resulting in the victim’s              the explanation for why these spon-
             death is closely related to the frac-               taneous decisions are more likely to
             tion of robberies that involve fire-                occur when the robber is holding a
             arms.32 Thus the objective danger-                  gun is related to Marvin Wolfgang’s
             ousness    pattern applies to robbery as            suggestion: &dquo;The offender’s physi-
                                                                 cal repugnance to engaging in direct
               31. Cook, "Policies to Reduce Injury and          physical assault by cutting or stab-
             Death Rates," p. 39.                                bing his adversary, may mean that in
               32. Cook, "The Effect of Gun Availabil-           the absence of a firearm no homicide
             ity," p. 775. The regression equation is as         occurs.&dquo;34
             follows:
                                                                    Two conclusions can be inferred
                                                                 from the preceding discussion:
                                                                     1. A reduction in gun availability
                                                                 will increase the robbery injury
                                                                 rate,35 but reduce the robbery mur-
                                                                 der rate.
                                                                    2. Given the excess violence pat-
                                                                 tern in robbery, the robbery cases in
                                                                 which the victim is injured should
                                                                 be allocated special emphasis in
                                                                 establishing criminal prosecution
                                                                 and sentencing priorities.36 In a
                                                                 high proportion of these crimes, the
             (Numbers in parentheses are the standard            attack that caused the injury was not
             errors of the ordinary least squares regression     instrumental to the robbery, but
             coefficients.) The data for 50 cities are 1975-
             76 averages. The second equation has an
             2 = .82, suggesting that robbery murder is
             R                                                     33. Cook, "Policies to Reduce Injury and
             very closely linked to robbery. Inclusion of        Death Rates."
             the assaultive murder rate in this equation as        34. Marvin Wolfgang, Patterns in Criminal
             an independent variable does not affect the         Homicide (Philadelphia: University of Penn-
             other coefficients much&mdash;and the coefficient   sylvania, 1958), p. 79.
             on the murder variable is not statistically sig-      35. See Skogan.
             nificant. I conclude that robbery murder is           36. Cook, "Policies to Reduce Injury and
             more robbery than murder.                           Death Rates."
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 360
                                    of 396




                                                                                                77

            rather was a distinct act. A relatively    of incidents involving guns. But for
            severe judicial response to such           each crime there is a real possibility
            cases might act as a deterrent to          that the number of incidents in-
            excess violence in robbery.                volving weapons other than guns
                                                       would increase as a result of the
            Coercion and assault                       reduction in gun availability. If this
                                                       weapon substitution does occur, the
              Does the instrumental violence           net effect of reduced gun availability
            pattern in robbery have any parallel       on crime rates could be either posi-
            in assault? I suspect the answer is        tive or negative.
            yes, but I know of no empirical              First, consider the crime of assault.
            evidence.                                  In an environment in which a high
              Some unknown fraction of assault         percentage of the violence-prone
            cases are similar to robbery in that
                                                   people carry guns, it is possible that
            the assailant’s objective is to coerce a sort of mutual deterrent is created,
            the victim’s compliance-the as-        whereby a rational person would
            sailant wants the victim to stop       think twice before picking a fight.
            attacking him, physically or verbally, A protagonist that is foolish enough
            or stop dancing with his girlfriend,   to start a fight in such an environ-
            or get off his favorite barstool, or   ment may be persuaded to back off
            turn down the stereo. And, as in the   if his intended victim pulls a gun.
            case of robbery, the probability of a  When physical attacks do occur,
            physical attack in such cases may be they are likely to be perpetrated with
            less if the assailant has a gun than       a gun and tobe serious. This line of
            otherwise because the victim will be       argument may explain why the Bart-
            less inclined to ignore or resist a        ley-Fox Amendment in Massachu-
            threat enforced by the display of a        setts-an anticarrying law that was
            gun. It may also be true that the as-      apparently quite effective-may have
            sailant would be more hesitant to use      resulted in an increase in the rate of
            a gun than another weapon to make          aggravated assaults-the gun assault
            good his threat. If this reasoning is      rate went down substantially fol-
            correct, than a general increase in        lowing implementation, but the non-
            gun availability may reduce the            gun assault rate increased even
            number of assault-related injuries.        more. 37 A legal intervention that is
                                                       successful in getting guns off the
              INCIDENCER THE SUBSTITUTION              streets   may encourage         relatively
                        PATTERN                        harmless fights with fists and broken
                                                       bottles. Definitive results in this
               The preceding evidence suggests         area are hard to come by, in part due
             that gun availability has a substantial   to the difficulty in measuring the as-
             effect on the distribution and serious-   sault rate in a consistent manner
             ness of violent crime. The third di-      over time or across     jurisdictions.
             mension of the violent crime prob-          My cross-sectional analysis of rob-
             lem is incidence-the number of            bery in 50 cities found that one
             violent confrontations and attacks.       measure of gun availability-the
             For each of the crimes under con-
                                                         37. Glenn L. Pierce and William J. Bowers,
             sideration-assault, robbery, and          "The Impact of the Bartley-Fox Gun Law on
             homicide-a reduction in gun avail-        Crime in Massachusetts," unpublished manu-
             ability to criminals would presum-        script (Northeastern University: Center for
             ably cause a reduction in the number      Applied Social Research, 1979).
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 361
                                    of 396




            78

            density of gun ownership-was sta-               crackdown focused on the least
            tistically unrelated to the overall             lethal type of gun-small caliber
            robbery rate when other causal fac-             handguns-might not have the de-
            tors were taken into account .311 By            sired effect on criminal homicide if
            way of illustration, the two cities             perpetrators substituted large cali-
            with the highest robbery rates-De-              ber handguns or longguns.
            troit and Boston-differed markedly                 My conclusion is that effective
            in gun ownership. Boston was one                gun control measures are unlikely
            of the lowest, and Detroit was above            to reduce the total number of violent
            average. The same study demon-                  confrontations and attacks, but may
            strated that the fraction of robberies          well reduce the criminal homicide
            committed with a gun was closely                rate.
            related to the density of gun owner-
            ship in the city. Apparently robbers                       CONCLUSIONS
            tend to substitute guns for other
            weapons as guns become readily                    The type of weapon matters in
            available, but with little or no change        violent crime, both in terms of its
            in their rate of commission.                   seriousness and its distribution. If
               If guns were less widely available,         robbers could be deprived of guns,
            the criminal homicide rate would               the robbery murder rate would fall,
            fall. This prediction is justified by          the robbery injury rate would rise,
            three distinct arguments developed             and robberies would be redistributed
            in this article: (1) knives and clubs          to some extent from less to more
            are not close substitutes for guns for         vulnerable targets. The assaultive
            implementing a decision to kill,               murder rate would decline, with the
            especially when the intended victim            greatest reductions involving the
            is relatively invulnerable; (2) Zim- least vulnerable victims. The over-
            ring’s &dquo;objective dangerousness&dquo; re- all assault rate might well increase.
            sults demonstrate that a reduction in These predictions are based on com-
            gun use in serious-but ambiguously mon sense and a variety of empirical
            motivated-assaults will reduce the observations. None of this evidence
            homicide rate, and (3) my results on is conclusive, but it is the best that is
            robbery murder in the 50-cities currently available.
            study indicate that the fraction of               Is it reasonable to suppose that
            robberies that result in the victim’s moderate gun control measures have
            death is closely related to the frac- the potential to discourage some
            tion of robberies involving guns. A violent criminals-potential or ac-
            final bit of evidence comes from eval- tive-from obtaining guns? No doubt
            uations of the Bartley-Fox Amend- there are some active criminals and
            ment, which suggest that it reduced other violence-prone people who
            the criminal homicide rate in Massa- have the incentive and resources re-
            chusetts.39 The tough new handgun quired to acquire a gun even in the
            law in the District of Columbia has face of substantial legal barriers. But
            also apparently been effective in this such determined people do not
            regard. 40 It should be noted that a figure importantly in the violent
              38. Cook, "The Effect of Gun Availability."
                                                            crime   statistics-indeed, most as-
              39. See the article by Pierce and Bowers in   saults and robberies do not even in-
            this issue.                                     volve guns now, despite the fact that
              40. See Jones’s article in this issue.        guns are readily available in most
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 362
                                    of 396




                                                                                             79

             jurisdictions. A gun control measure availability are attractive. None of
             that increases the average cost and these predictions can be made with a
             hassle of a youthful urban male high degree of certainty. But it is not
             acquiring his first handgun may at unreasonable to suggest that a mod-
             least delay acquisition for a year or erate, vigorously enforced program
             two-with noticeable effect on the for regulating the sale and use of
             gun crime rate. A     vigorous crack-    guns would save a substantial num-
             down on carrying concealed weap-         ber of lives. Gun control is not &dquo;the
             ons may have a similar beneficial        solution&dquo; to America’s violent crime
             effect.                                  problem, but perhaps it should be
                Not all of the predicted effects on   one aspect of the effort to find a
             violent crime of a reduction in gun      solution.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 363
                                    of 396




                     EXHIBIT R
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 364
                                    of 396




       r,w A N N UA L
       1 :411 REVI EWS
                                                              Annual Review of Criminology
                                                              Firearm Instrumentality:
                                                              Do Guns Make Violent
                                                              Situations More Lethal?
                                                              Anthony A. Bra ga, 1 Elizabeth Griffiths,2
                                                              Keller Sheppard, 1 and Stephen Douglas 1
                                                              1 School of Criminology and Crimina! Justice, Northeastern University, Boston,
                                                              Massachusetts 02 1 1 5, USA; email: a.braga@northeastern.edu
                                                              2 School of Criminal Justice, Rutgers University, Newark, New Jersey 07 1 02 , USA




       Annu. Rev. Criminal. 202 1 . 4: 147-64                 Keywords
       First published as a Review in Advance on
                                                              firearm, gun, gun policy, gun violence, firearm instrumentality, homicide
       September 14, 2020

       The Annual Review of Criminology is online at          Abstract
       criminol.annualreviews.org
                                                              One of the central debates animating the interpretation of gun research for
       https://doi.org/l0. 1 146/annurev-criminol-06 1 020-
                                                              public poli cy is the question of whether the presence of firearms indepen­
       02 1 52 8
                                                              dently makes violent situations more lethal, known as an instrumentality ef­
       Copyright © 202 1 by Annual Reviews.
                                                              fect, or whether determined offenders will simply substitute other weapons
       All rights reserved
                                                              to affect fatalities in the absence of guns. The latter position assumes suf­
                                                              ficient intentionality among homicide assailants to kill their victims, irre­

       �r:i��� CON N ECT                                      spective of the tools available to do so. Studies on the lethality of guns, the
                                                              likelihood of injury by weapon type, offender intent, and firearm availability
   -   www.annualreviews.org                                  provide considerable evidence that guns contribute to fatalities that would
       • Download figures                                     otherwise have been nonfatal assaults. The increasing lethality of guns, based
       • Navigate cited references                            on size and technology, and identifiable gaps in existing gun control policies
       • Keyword search
                                                              mean that new and innovative poli cy interventions are required to reduce
       • Explore related articles
       • Share via email or social media                      firearm fatalities and to alleviate the substantial economic and social costs
                                                              associated with gun violence.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 365
                                    of 396




                    INTRODUCTION
                    Weapon instrumentality is based on the straightforward idea that the type of weapon deployed
                    in an assault influences the mortality of the victim. Logically, guns are regarded as more lethal
                    instruments than knives, knives more lethal than blunt instruments, and so on. Yet the National
                    Rifle Association and other pro gun activists often invoke the familiar slogan " guns don't kill peo­
                    ple, people kill people" to support their arguments for more-permissive gun controls (Henigan
                    2 0 1 6). This perspective suggests that an attacker who has a very strong determination to kill will
                    take the necessary steps to be successful regardless of available weapons (Cook 1 99 1 , Cook et al.
                    2 0 1 1). As such, the assailant's will to kill is reliably measured by whether the victim survives or
                    perishes (Braga & Cook 2 0 1 8, Zimring 1 972). This perspective is reified in criminal law, wherein
                    murderers are subjected to the harshest sanctions, including life without the possibility of parole
                    or even death (Vernick & Hepburn 2003). The "people kill people" perspective further suggests
                    that gun control is futile in reducing homicides because determined killers will simply find an­
                    other way (Kleck 1997, Wolfgang 1958, Wright et al. 1983). If guns are not available, assailants
                    will substitute knives, blunt instruments, or other means.
                         The alternate view is that " guns do kill people" and gun control advocates suggest that re­
                    ducing firearm availability to violent people will save lives even if determined killers select other
                    weapons instead (Cook 1 99 1 , Cook et al. 2 0 1 1 , Henigan 2 0 1 6). Injuries in assaultive violence are
                    often inflicted by whatever means are most available to the attacker, most commonly fists or feet
                    followed by other objects that are close at hand (Hedeboe et al. 1 985). Although a person who is
                    determined to kill will sometimes acquire a lethal weapon, gun-inflicted deaths often ensue from
                    varying kinds of impromptu arguments or fights (Spitzer 1 995, Zimring & Hawkins 1 997). Gun
                    control advocates suggest that many of these deaths would be replaced by nonfatal injuries if guns
                    were not available; in essence, they suggest that a more refined slogan would be "people without
                    guns injure people; guns kill them" (Baker 1985, p. 588).
                         The purported strong will to kill as the key determinant of mortality is challenged by the note­
                    worthy similarity in the characteristics and circumstances of fatal and nonfatal gun-assault inci­
                    dents (Cook et al. 2 0 1 9). Mortality in many gun attacks seems to be influenced by chance events,
                    such as the number and placement of wounds, the availability and quality of medical help, and
                    other factors (Braga & Cook 2 0 1 8). The considerable overlap between fatal and nonfatal shoot­
                    ings is well captured by the observation of a Boston police investigator that the difference between
                    the two events "is often only a matter of inches and luck-a lot of times a nonfatal shooting is just
                    a failed homicide" (Braga et al. 2 0 1 4, p. 1 1 9). In her in-depth examination of South Los Angeles
                    homicides, investigative reporter Jill Leovy (20 1 5 , p. 49) notes that there were approximately five
                    nonfatal injury shootings for every one gun homicide and, given the similarity between the events,
                    detectives called these nonfatal shootings "almoscides, for 'almost homicides."' Research on fatal
                    and nonfatal gun assaults further suggests that mortality is influenced by the type of gun used in
                    the attack, and the selection of the gun in these events is largely independent of other indicators of
                    the assailant's intent (Braga & Cook 2 0 1 8 , Zimring 1 972). As such, the types of guns deployed in
                    assaults dramatically influence whether the intended victim lives or dies beyond the determination
                    of the assailant to commit murder.
                         Firearm instrumentality is controversial among academics who study gun control poli cy issues.
                    The controversy stems from disagreement over an assailant's purported intention to kill and
                    whether a would-be killer would merely substitute other means to complete the act if guns were
                    not available. In their recent survey of gun policy experts, the RAND Corporation discovered
                    two distinct groups of scholars: those who favored more-restrictive gun regulations and those
                    who favored more-permissive gun regulations (Morral et al. 2 0 1 8). According to this research, "a


              I48   Braga et al.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 366
                                    of 396




     striking result of the survey concerns the wide disparity between estimates made by the two expert
     groups about means substitution . . . . That is, they disagree about the extent to which any reduc­
     tions of firearm . . . homicides attributable to a policy are undermined because individuals simply
     use other means to achieve those ends" (Morral et al. 2 0 1 8 , p. xii). The average survey participant
     who favored more-permissive gun controls responded that if a poli cy successfully reduced a state's
     firearm homicides, 90% of the prevented homicides would still end as a homicide by some other
     means. In contrast, the average survey participant who preferred more-restrictive gun controls
     indicated that only 20% would still end in homicide. As such, gun poli cy experts with preferences
     for more-permissive gun regulations view legislative efforts to reduce gun homicides as futile
     since they believe would-be killers will complete their murderous acts through other means.
         Firearm instrumentality is clearly a foundational issue in the great American gun control de­
     bate. Broader arguments that seek to limit the availability of guns to violence-prone individuals
     through the adoption of more-restrictive gun controls are based on the idea that lives would ul­
     timately be saved (Cook et al. 2 0 1 1). In this review, we examine the available scientific evidence
     on whether guns make situations more lethal. The review begins by examining extensive research
     on the lethality of gun assaults, focusing on a range of studies that attempt to determine the ex­
     istence of instrumentality effects in violent gun and non- gun crimes. Extended coverage is given
     to two comprehensive studies that estimate whether gun caliber, killer intent, and other chance
     elements in gun assaults determine the likelihood of death for victims. We find strong support for
     gun instrumentality effects in our review of the literature. The final sections consider the poli cy
     implications of these findings and offer recommendations for further research in this area.


     THE LETHALITY OF GUNS
     Guns are obviously desi gned to be lethal instruments. And although guns in civilian hands are used
     for sport shooting, hunting, and dealing with animal pests, they can also be deployed against people
     for legal self-defense or criminal purposes. In 2 0 1 8, guns were used in more than 10,000 murders,
     3 8,000 rapes/sexual assaults, 42 ,000 aggravated assaults with injury, and 96,000 robberies (Bur.
     Justice Stat. 2 0 1 9, FBI 2 0 1 8). However, it is important to note that most serious violent crime
     victimizations do not involve guns. The 2 0 1 8 US Bureau of Justice Statistics National Crime
     Victimization Survey (NCVS) reveals that only 5 % of rapes/sexual assault, 1 1 % of aggravated
     assault with injury, and 1 7 % of robbery victimization incidents involved a firearm (Figure 1).
     When used in violent crime, guns are usually not fired; more than three-quarters of nonfatal gun
     crime victims do not suffer gunshot wounds (Planty & Truman 2 0 1 3). Instead, as is discussed
     further below, guns are typically deployed by criminals to gain compliance or threaten victims
     rather than to injure them. Most gun crimes involve handguns, which are used in roughly two­
     thirds of gun homicides and 90% of nonfatal gun violence (Planty & Truman 2 0 1 3).
         Among those violent gun incidents that do generate injuries, whether the victim lives or dies is
     often dependent upon the technology (i.e., type and characteristics) of the guns used in the assaults
     (for an excellent overview from a public health perspective, see Karlson & Hargarten 1 997). The
     kinetic energy of a bullet is determined by its mass and velocity when fired from a gun. In general,
     the larger the caliber, the more mass the bullet will have. Larger-caliber bullets (such as .40, .44,
     and .45) generate more tissue damage than smaller-caliber bullets (such as .22, . 2 5 , and . 3 2) when
     they strike the same body parts (Hargarten et al. 1 996). Jacketed bullets tend to cause perforating
     wounds with less tissue damage relative to bullets designed to fragment and/or mushroom (Fackler
     et al. 1 988). Cartridge cases can vary in the amount of explosive gun powder they hold, with larger
     cartridges generating higher bullet velocities when fired. Rifles are considered more lethal than
     hand guns given the higher bullet velocities generated by the larger cartridges and the increased

                                                                 www.annualreviews.org • Firearm Instrumentality   149
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 367
                                    of 396




                             800

                                                                                                                      D Without gun -
                                   -            697
                             700
                                                                                                                      D With gun
                             600   -                                                                                                -
                                                                                                                        477
                             500 -                                                                                                  -
               Personal
          victimization
              incidents      400   -                                                                                                -
                in 201 8                                                            353
           (thousands)
                             300   -                                                                                                -

                             200 -                                                                                                  -

                             1 00 -                                                                                                 -
                                                                                                                      96 (1 7%)
                                               38 (5%)                           42 (1 1 %)
                               0
                                       Rape/sexual assault          Aggravated assault with injury                   Robbery

   Figure 1
   Personal violent victimization with and without guns, 2 0 1 8 . Data taken from Bureau of Justice Statistics (20 1 9).

                                accuracy of the longer barrel lengths (which also contribute to increased bullet velocity). Shotguns
                                generally fire shells filled with multiple small pellets (gauges represent pellet sizes with 1 0 and 1 2
                                gauge being the most common; shotguns can also fire a single rifled "slug") that can b e quite lethal
                                at close range because of the extensive tissue damage generated by a concentration of pellets and
                                much less lethal at distance because of the dispersion of pellets after firing (Karlson & Hargarten
                                1 997).
                                    The number and location of gunshot wounds also influence the mortality of the victim in
                                gun-assault incidents. Holding other factors constant, injuries to the head and upper spinal cord
                                are considered the most lethal gunshot wounds followed by injuries to the chest and abdomen
                                (depending on whether vital organs are hit) and to extremities such as arms and legs (Karlson
                                & Hargarten 1 997, Kellermann et al. 1991 ). The number of gunshot wounds involved in a gun
                                assault also elevates victim mortality, as each wound represents additional traumatic tissue injury
                                (D'Alessio 1 999, Hargarten et al. 1 996). Other factors, such as the availability of quality trauma
                                care to save injured victims (Coupet et al. 2 0 1 9) and the speed at which first responders locate
                                gunshot victims also influence the lethality of gun attacks. By one estimate, almost three-fourths
                                of gun homicide victims die before they reach the hospital (Karlson & Hargarten 1 997).
                                    Empirical evidence suggests that guns are becoming more lethal over time with larger shares
                                featuring higher-capacity magazines and using larger-caliber bullets (D'Alessio 1 999, Kellermann
                                et al. 1 99 1 , McGonigal et al. 1 993 , Webster et al. 1 992 , Wintemute 1 996). For instance, in Boston,
                                higher-capacity semiautomatic pistols capable of shooting more bullets replaced revolvers as the
                                most frequently recovered type of handgun beginning in the 1 990s (Braga 2 0 1 7). As a conse­
                                quence, the share of smaller-caliber handguns among crime gun recoveries decreased over the
                                2 000s as the prominence of larger-caliber handguns increased. According to Table 1, the share
                                of semiautomatic pistols recovered by the Boston Police Department increased from only 34.6%
                                of total handguns recovered between 1 98 1 and 1985 to a peak of 7 5 . 7 % between 2001 and 2005,
                                before dropping to 66.6% between 2 0 1 1 and 2 0 1 5 . Table 1 shows that large-caliber handguns

                       I5o      Braga et al.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 368
                                    of 396




     Table 1 Types and calibers of recovered handguns in Boston, 1981-2015
                                                Percent         Percent            Percent                 Percent         Percent
              Period                  N        semiauto       .22, .25, .32        .38, .357            . 3 80, 9mm       .40, .44, .45
       198 1-1985                   3,134        34.6             44.9               3 8.6                   7.5               4.3
       1986-1990                    3 , 1 14     4 1 .6           44.2               3 3 .2                 14                  5.1
       1 99 1-1995                  3 ,449       60.9             38.3               23.3                  3 0.2               4.8
       1996-2000                    2,008        74.2             3 8.9              2 3 .9                27.5                 6.8
       200 1-2005                   2,905        75.7             29.2               20.9                  29.7               1 2 .9
       2006-2 0 1 0                 2, 195       65.7             26.4               20.6                  3 3 .4             18
       2 0 1 1-2 0 1 5              2,3 52       66.6             26.7               20.7                  3 1 .7             19.9

     Table adapted from Braga (20 1 7).


     (.40, .44, and .45) increased almost fivefold from 4. 3 % of total handguns recovered between 1 98 1
     and 1985 to almost 2 0 % o f total handguns recovered between 2 0 1 1 and 2 0 1 5 . Equally important,
     Table 1 also documents the noteworthy shift away from medium-caliber bullets often used in
     revolvers (. 3 8, . 3 57) toward medium-caliber bullets typically used in semiautomatic pistols (. 3 80,
     9mm). The transition from revolvers to semiautomatic pistols and from smaller to larger-caliber
     handguns mirrors national trends in handgun production in the United States between the 1 980s
     and 1 990s (Wintemute 2 0 1 0).
          The increased killing power of handguns recovered by law enforcement agencies in the United
     States seems to have increased the lethality and number of wounds that gunshot victims experience
     over time. In epidemiology, the case-fatality rate is generally defined as the proportion of deaths
     (i.e., gun homicides) within a desi gnated population of cases (total gunshot injury victims) (see
     Efron et al. 2 006). For gun-assault victimizations, the case-fatality rate is roughly 1 in 6, wherein
     approximately 1 7 % of gun-assault victims with injuries die from their wounds (Cook 1 985). Fur­
     thermore, this rate has remained fairly stable since the 1 980s, leading Cook and colleagues (2 0 1 7)
     to conclude that national declines in gun homicide rates were better explained by decreases in the
     number of gun assaults rather than improvements in trauma care for firearm injuries. City-level
     studies, however, show that local case-fatality rates can diverge markedly from national trends and
     these differing patterns may be linked to changes in the technology of guns used in assaults. For
     instance, an analysis of gunshot wound patients treated in a Denver trauma center between 2 000
     and 2 0 1 3 suggests that case-fatality rates increased over time as gunshot patients suffered more
     severe wounds and an increased number of serious wounds per patient (Sauaia et al. 2 0 1 6). A simi­
     lar study of 6,322 gunshot wound patients treated at the New Jersey Trauma Center at University
     Hospital in Newark reported significant increases in patients with three or more wounds from
     1 3 % to 2 2 % , with a corresponding increase in mortality from 9% to 14% , between 2 000 and
     2 0 1 1 (Livingston et al. 2 0 1 4).
          Criminological studies have shown that case-fatality rates can vary over the course of gun vio­
     lence epidemics. For instance, in a classic study of the influence of the heroin epidemic on serious
     violence in New York City, the RAND Corporation found that the rapid increase in homicide in
     Harlem between 1 968 and 1 974 was driven by an increase in the case-fatality rate of gun assaults
     rather than an increase in the number of gun assaults (Swersey & Enloe 1 975). More recently,
     Braga (2 003) analyzed youth gun assaults in one police district located in a mostly black disadvan­
     taged neighborhood in Boston between 1987 and 1995, representing the years before and during
     a gun violence epidemic initiated by the emergence of crack cocaine in the city. He found that the
     nature of youth gun assaults changed over time in several noteworthy ways: Larger-caliber semi­
     automatic pistols were more likely to be fired in gun attacks, incidents were likely to occur in public

                                                                 www.annualreviews.org • Firearm Instrumentality    I5I
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 369
                                    of 396




                     places, a larger share of youth gun assaults resulted in a wound, and, for those assaults that involved
                     a wound, a larger share involved multiple gunshot injuries. Most importantly, although the abso­
                     lute number of youth gun assaults in 1 995 was essentially the same as 1987, the case-fatality rate
                     in this high-risk policing district tripled over the study period. Braga (2 003) identified changes
                     in both firearm instrumentality effects, as indicated by increased use of more powerful handguns
                     with higher-capacity magazines, and shooters' intent to kill, as indicated by the increased number
                     of wounds on youth gun-assault victims.
                        The empirical evidence reviewed above shows that there are several factors associated with the
                     lethality of guns deployed in criminal assaults. In sum, it is not controversial in public health and
                     medical research that mortality increases with the power of the gun deployed in assaults. As such,
                     this research suggests the existence of firearm instrumentality effects. However, some observers
                     argue that the selection of the firearm used in gun attacks is simply a reflection of the shooters'
                     intent to kill and determined killers will complete their acts by substituting other deadly means if
                     guns are unavailable. The next section considers findings of the criminological research on firearm
                     instrumentality, intentionality, and the lethality of possible weapon substitution effects.

                     Intention Versus Instrumentality
                     There is considerable evidence that the risk of death is elevated when a violent incident involves
                     a gun. In particular, Cook (2 0 1 8) found that crime victims who suffered gunshot wounds were
                     more than seven times as likely to die when compared to knife attack victims who were seriously
                     injured. In the case of robbery, the greatest difference between fatal and nonfatal robberies was the
                     perpetrator's choice of weapon, wherein the likelihood of victim death in gun robberies (0.41 % or
                     approximately 1 in 2 5 0) was three times higher than knife robberies (0. 1 3 % or approximately 1 in
                     750) and 10 times higher than robberies committed with other weapons (0.04% or approximately
                     1 in 2 , 5 00), such as blunt instruments (Cook 1987). The likelihood of death in an unarmed robbery
                     was approximately 1 in 5 ,000 (or 0.02 %). Given that only 1 7 % of total robberies involve firearms,
                     but 65 % of robbery murders are committed with a gun, the choice of weapon appears to have a
                     significant and independent effect on the likelihood of victim fatality (Cook 1 987). Cook (1 987)
                     found further evidence of firearm instrumentality effects in his panel analysis of changes in crime
                     rates across 43 US cities; in this case, an additional 1 00 gun robberies increased the robbery­
                     murder rate by three times as much as an additional 1 00 non- gun robberies. Cook (20 1 8) observed
                     that the 3 : 1 ratio was congruent with the difference in case-fatality rates for robbery and suggested
                     a possible causal impact where robbery-murder was a by-product of robbery that occurred with a
                     likelihood determined by the intrinsic lethality of the weapon deployed.
                         Using data from the National Incident-Based Reporting System (NIBRS), Libby & Corzine
                     (2007) investigated the impact of weapon type on the lethality of violent interpersonal encoun­
                     ters. Controlling for incident circumstance, the relationship between the offender and victim, and
                     their respective characteristics, firearms were found to have the strongest effect on the lethality
                     of violent encounters, with handguns and shotguns representing the most lethal weapons overall
                     (Libby & Corzine 2007). Similarly, Weaver et al. (2004) found that incidents involving firearms
                     were 1 1 times more likely to result in victim homicide compared to unarmed assaults, whereas the
                     use of knives was only approximately 2 . 5 times more likely to result in victim homicide. These
                     findings support previous research in demonstrating independent weapon instrumentality effects,
                     even when controlling for approximate measures of offender motive and intent (Wells & Horney
                     2 002).
                         Weapon type has also been shown to influence victim mortality in family and intimate assaults.
                     Research by Saltzman et al. (1 992) showed that firearm assaults were three times as likely to result


              I 52   Braga et al.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 370
                                    of 396




     in death as assaults involving knives or other cutting weapons, and approximately 2 3 times as likely
     to result in death as assaults involving other weapons or bodily force. Overall, family and intimate
     assaults with a firearm were 1 2 times more likely to result in death than non-firearm assaults.
     Additionally, approximately 50% of assaults with firearms resulted in a nonfatal injury, compared
     to 66% of assaults with knives, indicating that firearm attacks were less likely to result in nonfatal
     injuries than were knife attacks (Saltzman et al. 1 992).
         These findings reinforce other research in demonstrating that gun assaults are particularly
     lethal. For example, Felson & Messner (1 996) found that offenders who used a gun were more
     than 40 times more likely to kill the victim than offenders who did not use a weapon; compara­
     tively, offenders who used a knife were only 4.4 times more likely to kill the victim than offenders
     without weapons. Additionally, guns were more strongly associated with homicides when the ini­
     tiating offense was an assault compared to a robbery, suggesting that guns facilitate homicide for
     offenders with a determination to kill, as offenders engaging in assault are more likely than of­
     fenders engaging in robbery to harbor lethal intent (Felson & Messner 1 996).
         This question of intent motivated some of the earliest studies related to firearm instrumental­
     ity. Wolfgang's (1958) seminal study of homicide in Philadelphia posited that few homicides would
     be prevented solely by eliminating the presence of firearms, as determined offenders would likely
     substitute other weapons to achieve the same result. Wright et al. (1983) concur with this obser­
     vation and suggest that firearms simply make the act of killing easier. If no guns were available
     and the assailant was committed to completing the act, they would find another method of achiev­
     ing it. But it was roughly 50 years ago that Zimring (1 968, 1 972) offered the first critical tests of
     the extent of overlap between fatal and nonfatal attacks in an effort to disentangle whether in­
     strumentality or intentionality distinguished homicides from serious assaults (either with guns or
     with other weapons). Although he could not directly measure intentionality with existing official
     data, he suggested that it could be inferred if firearm homicides exhibit different features-such as
     victim-offender relationship, motive, location of wounds, number of wounds, etc.-from nonfatal
     attacks. Contrary to Wolfgang (1958), Zimring (1 968, p. 722) believed that at least some homi­
     cides may be ambiguously motivated rather than "deliberate and determined," and "if the probable
     substitute for firearms in these situations is less likely to lead to death, then the elimination of guns
     would reduce the number of homicides." His research showed substantial similarities between the
     profiles of homicides and serious assaults, implying an ambi guity in intent to kill and leading him
     to conclude that what distinguishes a homicide from an assault is simply that the victim does not
     survive the attack.
         As noted earlier, intentionality may be evaluated even more directly on the basis of the location
     of the wound (Braga & Cook 2 0 1 8 ; Zimring 1 968, 1 972). Those determined to commit homicide
     should target vital organs or areas of the body, including the trunk of the body or the head, rather
     than extremities, like arms or legs. Yet Zimring (1 968) found that nearly half of all gun attacks
     (44%) in Chicago resulted in wounds to nonvital parts of the victim's body, whereas a majority
     of knife attacks known to police resulted in wounds to the head, neck, chest, or back. This means
     that attackers with a gun appear to no more intend a fatal outcome than do attackers using other
     weapons, and because "the rate of knife deaths per 1 00 reported knife attacks was less than 1/5 the
     rate of gun deaths per 1 00 reported gun attacks" (Zimring 1 968, p. 72 8), substituting knife attacks
     for gun attacks should drive the homicide rate down by a large margin. If intention is relatively
     even across attacks that end in fatalities and those that do not, then the major factor distinguishing
     homicides from assaults is the dangerousness of the weapon. This is particularly problematic, as
     guns can be fired from longer ranges, more easily, and with less skill than can other weapons of
     choice for assailants.


                                                                  www.annualreviews.org • Firearm Instrumentality   153
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 371
                                    of 396




                         Even among only those attacks committed with a gun, if larger-caliber guns produce a greater
                     proportion of homicides versus assaults under similar circumstances, then the dangerousness of
                     the weapon can be said to independently contribute to fatalities. Excluding shotguns and large­
                     caliber rifles, Zimring's (1972, p. 1 05) analyses showed that . 3 8 caliber attacks to the head and
                     chest, in particular, but also the abdomen, back, and neck were "more than twice as deadly as .22
                     caliber attacks" to the same areas, providing additional support for an instrumentality argument.
                     Based on these two influential studies, Zimring (1972, p. 1 1 0) concluded that patterns in fatal and
                     nonfatal gun attacks are highly similar in "structure, intention, and motivational background" and,
                     furthermore, that intent to kill is largely ambi guous across gun homicides and serious but nonfatal
                     gun assaults. The results of this early work and later replications (Sarvesvaran & Jayewardene
                     1985, Vinson 1 974) provide direct support for the instrumentality effect, wherein guns influence
                     the lethality of attacks primarily as a function of their dangerousness (see also Braga & Cook 2 0 1 8 ,
                     Cook 1 99 1 , Cook & Ludwig 2 000, Cook e t al. 2 0 1 9, Zimring & Hawkins 1 997).
                         In a more recent and comprehensive study on weapon instrumentality and intentionality, Braga
                     & Cook (20 1 8) demonstrated that, compared to smaller-caliber firearms, larger-caliber guns pro­
                     duce substantially more fatalities among shooting victims in Boston. Their research showed that
                     the circumstances, neighborhood, prior criminal history, and demo graphic characteristics of fatal
                     and nonfatal shootings are indistinguishable. Given the substantial overlap in the features of gun
                     homicides and nonfatal shootings, and mirroring the findings in Zimring's 1 970s Chicago studies,
                     Braga & Cook (20 1 8) argued that there was little evidence to support the contention that fatal
                     and nonfatal shootings are qualitatively distinct. They then examined a subset of those cases in
                     which the caliber of the weapon used in the shooting was known to police. Compared to nonfatal
                     shootings, gun homicides were found to be significantly more likely to involve large-caliber hand­
                     guns, to be characterized by a gr eater number of shots fired, to result in multiple gunshot wounds
                     to victims, and to wound the victim in the head or neck relative to peripheral parts of the body
                     (Braga & Cook 2 0 1 8).
                         If the selection of a more powerful, larger-caliber handgun were dependent on the attacker's
                     intention to kill, however, then the characteristics of shootings involving small-caliber handguns
                     should differ from the features of shootings involving medium- and large-caliber handguns re­
                     spectively. Yet Braga & Cook's (2 0 1 8 , p. 1) research illustrated that "caliber was not significantly
                     correlated with other observable characteristics of the assault, including indicators of intent and
                     determination to kill," such as the number of wounds, the location of wounds, and victim charac­
                     teristics. In effect, there was no evidence that sex, race, age, criminal history, circumstances of the
                     shooting, the skill and determination of the shooter, or other features of incidents were associated
                     with the caliber of the hand gun used in the attack. Consequently, shooters do not appear to be
                     selecting a more powerful handgun according to their intent to kill. This "lack of systematic asso­
                     ciation is what would be expected if caliber were assi gned at random, as in an experiment" (Braga
                     & Cook 2 0 1 8 , p. 6).
                         The overlap in profiles of fatal and nonfatal shootings combined with the failure of incident­
                     specific characteristics to distinguish shootings involving small- versus large-caliber guns enables a
                     strict test of weapons instrumentality. That is, if the size and power of the handgun used in a shoot­
                     ing influence the likelihood of death independent of other features of the violence, and there is no
                     direct effect of those features on the selection of the type of handgun, then the argument for in­
                     strumentality is considerably stronger. In a model predicting fatal versus nonfatal shootings, Braga
                     & Cook (2 0 1 8) found that victims of attackers who use a medium-caliber handgun are more than
                     twice as likely to die as a consequence of the shooting as those who are shot with a small-caliber
                     handgun , and those odds double for victims shot with large-caliber handguns. They conclude that
                     "if the medium- and large-caliber guns had been replaced with small-caliber (assuming everything

              I 54   Braga et al.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 372
                                    of 396




     else unchanged), the result would have been a 3 9 . 5 % reduction in gun homicides" (Braga & Cook
     2 0 1 8 , p. 7). Importantly, then, gun fatalities are substantially elevated in the context of attacks with
     more powerful firearms, holding other features of the shooting constant.
          Collectively, the studies that most directly focus on intentionality and instrumentality in gun
     violence point to a relatively clear conclusion: the dangerousness of the instrument used in vio­
     lent attacks plays a critical role in producing fatal outcomes. Attackers using larger-caliber guns
     conduct attacks that bear striking similarities to those who use smaller-caliber guns in circum­
     stance, accuracy, number of shots fired, and the location of wounds to victims (Braga & Cook
     2 0 1 8 ; Zimring 1 968, 1 972). Yet the likelihood of death increases with the power of the firearm
     used in the attack; larger-caliber weapons are increasingly likely to produce lethal consequences.
     Ultimately, then, "whether the victim of a serious assault lives or dies is to a large extent a matter
     of chance, rather than a question of the assailant's intent. The probability of death is connected
     to the intrinsic power and lethality of the weapon" (Braga & Cook 2 0 1 8 , p. 8). From a public
     health perspective, reducing the objective dangerousness of gun violence could be accomplished
     more readily by controlling the size and power of firearms available to the public than by assum­
     ing intentionality on the part of the offender on the basis of what amount to chance outcomes in
     shooting incidents.


     Offender Firearm Use, Victim Compliance, and Injury Incidence Rates
     Weapon instrumentality effects also appear to influence the likelihood that violent incidents result
     in any injury to victims. Using data from the 1 979-1985 NCVS and the FBI's 1 982 Supplementary
     Homicide Report, Kleck & McElrath (1991) assessed the impact of various weapon types on the
     likelihood that a threatening situation escalated into a physical attack, whether the attack resulted
     in an injury, and whether the injury resulted in the death of the victim. Regarding the likelihood
     of injurious attacks on victims, the study suggested that the net effect of the presence of deadly
     weapons-firearms and, to a lesser extent, knives-in threatening situations is to reduce the prob­
     ability that the possessors of the weapons attack. As the lethality of the weapon present increases,
     the probability of a physical and injurious attack decreases (Kleck & McElrath 1 99 1). In effect,
     the threat alone is sufficient to subdue the victim. Libby (2 009) attempted to replicate these find­
     ings using National Incident-Based Reporting System (NIBRS) data for 2003-2 005 and generally
     confirmed the results of Kleck & McElrath (1991). His analysis indicated that the chances of non­
     lethal victim injury decreased by approximately 80% in incidents featuring a firearm. However,
     when firearms were used in the commission of a crime, the likelihood of death was substantially
     greater (Libby 2 009).
         Research suggests the source of these more nuanced instrumentality effects of guns on injury
     incidence m ay be rooted in offender decision-making processes and victim resistance in violent at­
     tacks. Criminal offenders may use firearms to facilitate the successful commission of their intended
     crimes (Jacobs 2 000, Kleck & McElrath 1 99 1 , Wright & Decker 1 997, Wright & Rossi 1 994).
     Guns also tend to be used when offenders are planning robberies that involve larger amounts
     of cash and/or more expensive items (Cook 2 009). Robbers report their desire to use the over­
     whelming force made possible through firearms to secure victim compliance via the threat of
     serious injury and death (Feeney 1 986, Jacobs 2 000, Wright & Decker 1 997). In noncommercial
     robbery cases, the standard technique is to threaten victims and take their valuables without actu­
     ally attacking them [78 % of gun robberies and 64% of knife robberies (Cook 1 980)] . In contrast,
     74% of unarmed noncommercial robberies and 60% of blunt instrument noncommercial rob­
     beries involved physical attacks on victims followed by attempts to take their valuables by force
     (Cook 1 980). The likelihood of injury followed the same pattern, ranging from only 1 1 % of gun

                                                                   www.annualreviews.org • Firearm Instrumentality   155
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 373
                                    of 396




                    robberies to 36% of robberies with blunt instruments (Cook 1 980). As described earlier, when
                    guns are present and fired, victim injuries are far more likely to be lethal.
                         Although less developed than the empirical evidence on weapon use in robbery, qualitative
                    interviews with sexual assault offenders similarly show that they use weapons like guns to control
                    their victims, discourage resistance, and secure compliance (Beauregard & Leclerc 2 007, Reid &
                    Beauregard 2 0 1 7). As one serial sex offender noted, "It was better to threaten a victim with a gun
                    when she was further away; she knew I could shoot her from that distance, which isn't the case
                    with a knife" (Beauregard & Leclerc 2007, p. 1 2 3). Offender views on the subduing power of guns
                    seem to be well supported, as victims were less likely to resist and offenders were more likely to
                    complete the robbery or sexual assault successfully when a firearm was present (Cook 1 980, 2 009;
                    Kleck & DeLone 1 993 ; Libby 2 009; Tillyer & Tillyer 2 0 1 4).
                         Physical assaults sometimes serve as an inappropriate outlet for negative emotions or deep
                    frustrations held by violent offenders (Langhinrichsen-Rohling et al. 2 0 1 2). Kleck & McElrath
                    ( 1 991) considered a broad spectrum of assaults ranging from mere threats to homicides at multiple
                    stages of the incident to explore this hyp othesis. They suggest that offenders can successfully
                    threaten or intimidate their intended target with the mere presence of a firearm, whereas they
                    may need to objectively demonstrate their power through actual physical harm if in possession
                    of another weapon type. Using event history analysis, Wells & Horney (2002) extended this line
                    of inquiry by assessing how possession of a weapon influenced the likelihood of an attack and
                    subsequent injury while controlling for offender intent. Their results indicated that persons armed
                    with a firearm were more likely to confront a victim than those armed with another type of weapon;
                    however, incidents featuring firearms were substantially less likely to result in any injury to victims.
                         Despite some contradictory evidence (Tark & Kleck 2 004), the available research generally
                    suggests that the mere threat of gun injury assists offenders in achieving their aims and often
                    nullifies the need to use deadly force. As such, offenders do not typically employ firearms in an
                    effort to inflict maximum harm against their victims (Zimring 1 968) but rather to avoid potential
                    confrontation and injury through implicit assertions of dominance. However, in cases in which
                    the victim is attacked and injured, the likelihood of death in violent gun crimes is far higher than
                    with knives or blunt objects, which accounts for the relatively high case-fatality rate for incidents
                    featuring guns.


                    POLICY IMPLICATIONS
                    The most important implication of instrumentality effects is that policies that decrease gun use
                    in violent crime should reduce the homicide rate even if the overall volume of violent crime was
                    unchanged (Cook et al. 2 0 1 1). A variety of law enforcement approaches attempt to reduce gun
                    violence by incapacitating those who have been convicted of gun crimes and deterring future gun
                    crimes. Others suggest that policies desi gned to deprive potentially violent people of guns could
                    save lives (Cook et al. 2 0 1 1). This is a central element of the argument to restrict gun availability.
                    In this section, we first discuss criminal justice approaches to reduce gun use by violent crimi­
                    nals, briefly review the existing evidence on the relationship between gun availability and violent
                    crime, and summarize the impacts of gun control legislation desi gned to reduce gun availability
                    on violence.
                        Firearm sentence-enhancement laws require minimum mandatory sentences or additional time
                    in prison for gun felonies. To many observers, gun use in robberies and assaults deserves harsher
                    punishments because of the increased chance that victims are killed (Cook & Nagin 1 979). Sen­
                    tencing enhancements are intended to reduce gun use in violence, encourage desistance from
                    violent gun crimes, and induce prospective gun offenders to substitute less-lethal weapons. What

              I56   Braga et al.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 374
                                    of 396




     is more, stiffer prison penalties for gun crimes do not impact the ability of law-abiding citizens
     to own guns for recreational and self-defense purposes. As such, this approach is supported by
     gun control and gun rights advocates alike. Although there is some evidence to the contrary (e.g.,
     Marvell & Moody 1 995), the available research evidence suggests firearm sentence-enhancement
     laws generally seem to work in reducing gun violence (see, e.g., McDowall et al. 1 992 , Pierce &
     Bowers 198 1). In a careful analysis of state-level firearms sentence enhancements, Abrams (2 0 1 2)
     found that the introduction of these laws in several states reduced gun robberies by 5 % without
     any discernible impact on non- gun robberies.
         A more controversial approach to reducing gun violence involves focusing local law enforce­
     ment agencies on deterring illegal gun possession and carrying in public spaces. Police depart­
     ments need to ensure that such approaches safeguard against illegal searches and seizures and
     do not devolve into harassment of citizens, especially young minority men, lawfully present in
     public places (Moore 1 980). However, the available empirical evidence suggests gun-oriented pa­
     trols can reduce gun violence (Cohen & Ludwig 2 002 , McGarrell et al. 2 00 1 , Sherman 2 000).
     Gun violence tends to concentrate in very small hot-spot locations in urban environments (Braga
     et al. 2 0 1 0). Hot-spots policing programs designed to increase gun seizures have been shown
     to generate significant reductions in gun violence without causing negative externalities such as
     crime displacement or police-community relations problems (Braga et al. 2 0 1 9, Sherman & Rogan
     1 995).
         Another criminal justice-led intervention attempts to deter groups of high-rate offenders from
     using guns to settle ongoing disputes with other criminally active groups. Focused deterrence,
     sometimes called pulling-levers policing, follows an action research model that tailors the strategy
     to specific gun violence problems and builds upon local operational capacities to deliver sanctions
     and mobilize support to control those high-rate offenders who drive persistent gun violence (Braga
     et al. 2 00 1 , Kennedy 2 0 1 1). Focused deterrence attempts to prevent gang and group-involved
     violence by making group members believe that gun use by any one member of the group would
     result in legal problems for all members. The intent is to create an incentive for group members to
     discourage each other from gunplay, thus reversing the usual group norm in support of violence. A
     key element of the strategy involves the delivery of a direct and explicit "retail deterrence" message
     to a relatively small target audience regarding what kind of behavior would provoke a special law
     enforcement response and detailing what that response would be. Social services are provided
     to gang and criminally active group members who want to change their life trajectories. The
     deterrence message is delivered by talking to gang members on the street, handing out fliers in the
     hot-spot areas explaining the enforcement actions, and organizing forums between violent group
     members and representatives (Kennedy 2 0 l l). A growing body of rigorous program evaluation
     evidence suggests focused deterrence programs are effective in reducing gang and group-involved
     gun violence problems (Braga et al. 2 0 1 8).
         Reducing firearm availability can make violent events less lethal. The difficulty and legal risks
     associated with obtaining and using guns influence offender decisions on what weapon to use when
     committing a crime (Wright & Rossi 1 994). Reducing firearm availability should, in turn, reduce
     the prevalence of guns used in violent crimes. However, to some observers, widespread access to
     guns induces a deterrent effect on criminal behavior as offenders' fear of confronting potentially
     armed victims should dissuade them from crime (Kates & Mauser 2 006, Lott 2 0 1 0). The proposed
     negative relationship between firearm availability and crime reduction (or "more guns, less crime")
     has been generally unsubstantiated when sound measurement and methodological strategies are
     utilized (Cook & Ludwig 2 006a, Kleck 2 0 1 5). And although guns certainly give some law-abiding
     citizens the opportunity to escape injury at the hands of violent criminals, it remains unclear how
     often guns are actually used in self-protection. Definitional issues about what constitutes defensive

                                                                www.annualreviews.org • Firearm Instrumentality   I57
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 375
                                    of 396




                    gun use make it difficult to develop reliable and valid estimates of the annual frequency of such
                    events (Cook et al. 2 0 1 1 , Natl. Res. Counc. 2005).
                         Attempts to analyze the relationship between firearm availability and violent crime are char­
                    acterized by substantial variation in the methodological approaches used by analysts. The current
                    state-of-the-art considers how temporal and spatial differences in community gun ownership af­
                    fect the extent and nature of violent crime. The United States exhibits the highest rate of civilian
                    gun ownership in the world with more than 3 50 million guns in private hands (Inst. Med. & Natl.
                    Res. Counc. 2 0 1 3). However, gun prevalence varies markedly across communities-e.g., states,
                    counties, and cities-and over time (Cook et al. 2 0 1 1). Comparisons across place, time, or both
                    afford researchers insight into the relationship between community gun availability and violent
                    crime. However, such analyses are often complicated by unreliable measures of community firearm
                    prevalence. Although a precise measure of gun prevalence proves elusive due to the lack of cen­
                    tralized administrative data on gun ownership, the proportion of suicides that involve a firearm
                    [firearm suicides/total suicides (FS/S)] is generally regarded as a well-validated proxy measure
                    (for a discussion, see Natl. Res. Counc. 2005). Analyses of survey data generally find that FS/S is
                    highly correlated with gun ownership rates and, furthermore, these data can be used to reliably
                    track trends in gun prevalence over both space and time (Azrael et al. 2 004, Cook et al. 2 0 1 1 , Kleck
                    2 004).
                         The preponderance of empirical evidence indicates that higher levels of firearm ownership do
                    not have any effect or, at best, only modest effects on overall violent crime rates (Cook & Ludwig
                    2 006b, Cook & Pollack 2 0 1 7 , Duggan 2001 ). Firearms do not necessarily intensify the prevalence
                    of violent crime, as rates of assaults and robberies appear largely unaffected by the availability of
                    guns. However, examining the effects of gun availability on homicides demonstrates their criti­
                    cal role in shaping the outcomes of violent encounters. Whereas the connection between firearms
                    and the general incidence of violence appears weak, strong and positive associations between com­
                    munity gun ownership rates and homicide rates indicate that guns do increase the intensity and
                    lethality of violence. These positive associations are observable across regions (Miller et al. 2 002),
                    states (Siegel et al. 2 0 1 3), counties (Duggan 2001), and cities (Cook 1 979). Furthermore, studies
                    using longitudinal methods and appropriate measures of gun prevalence suggest that this increase
                    in lethality is restricted to just the firearm homicide rate, as non-firearm homicides, like general
                    levels of nonlethal crime, appear unrelated (Cook & Ludwig 2 006b, Miller et al. 2 002 , Siegel et al.
                    2 0 1 3). Consistent with the instrumentality hyp othesis, firearms alter the quality and lethality of
                    violence but not its quantity.
                         Recent studies indicate that high levels of community gun ownership may extend to other forms
                    of lethal violence such as police use of deadly force and the homicide of on-duty police officers.
                    The majority of persons shot at and/or killed by the police were in possession of a firearm at the
                    time of the incident and the majority of felonious killings of police officers are committed with a
                    firearm (Klinger et al. 2 0 1 6 , Zimring 2 0 1 7). State-level analyses document significant and positive
                    associations between state gun ownership rates and both rates of fatal police-involved shootings
                    and homicides of law enforcement officers, independent of other contextual factors (Hemenway
                    et al. 2 0 1 9, Swedler et al. 2 0 1 5). In the case of police use of deadly force, gun prevalence was
                    positively associated with the shooting rate of citizens armed with guns and, to a lesser degree,
                    citizens armed with other types of weapons. Nagin (202 0) similarly found positive associations
                    between firearm ownership and the prevalence of fatal police shootings, demonstrating that this
                    relationship was observed across race.
                         Finally, some studies have also examined this issue by evaluating the impacts of gun control
                    legislation and gun ownership levels on violent crime rates. For instance, a cross-sectional analysis
                    of 1 70 cities with a 1 980 population of 1 00,000 residents or greater found that gun prevalence

              I58   Braga et al.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 376
                                    of 396




     levels generally had no net positive effect on total violence rates; homicide, gun-assault, and rape
     rates increased gun prevalence; gun control restrictions had no net effect on gun prevalence levels;
     and most gun control restrictions generally had no net effect on violence rates (Kleck & Patterson
     1 993). These findings provide some support to the notion that more-restrictive gun laws merely
     force offenders to shift from guns to other weapons in their criminal pursuits while failing to
     reduce overall homicide or crime rates (Kleck & Patterson 1 993). Relatedly, Kleck (1 984) suggests
     that criminals might substitute rifles and shotguns in response to handgun control policies, and
     the use of more powerful firearms could ultimately serve to increase the death rate.
         Other research, however, supports the use of policies that are aimed at restricting the accessi­
     bility of handguns to high-risk individuals (Cook et al. 2 0 1 1). For instance, Wright et al. (1 999)
     assessed whether denial of handgun purchase can influence an individual's subsequent risk for
     crimes involving guns or violence. Specifically, individuals with a prior felony conviction who
     were denied the purchase of a handgun were compared over a 3 -year period to individuals with
     prior felony arrests who purchased handguns. The results indicate that the denial of handgun
     purchase was associated with a 20% to 30% reduction of risk for new crimes involving guns or vi­
     olence (Wright et al. 1 999), supporting the findings of other research (Wintemute et al. 1 999).
     Indeed, much of the gun violence problem is concentrated among prohibited possessors and
     other high-risk individuals and gun control policies desi gned to keep firearms out of the wrong
     hands could be used to good effect in reducing serious violence (Braga & Cook 2 0 1 8 , Cook et al.
     2 005).


     CONCLUSION
     The potential lethality of gun violence has motivated vigorous debate about the utility of gun con­
     trol for reducing fatalities. From a dangerousness perspective, if the weapons used in assaults were
     less deadly (hands, knives, etc.), fewer people would die. But this premise rests on the assumption
     that there is nothing distinctive about gun violence vis-a-vis non- gun violence, save for the weapon
     of choice. That is, those intent on committing assault may be more likely to cause fatal injuries to
     the victim if they attack with a gun; however, their intent to injure is no different than had they
     opted for a knife or stick or any other available weapon. The outcome may vary, but the goal does
     not. Consequently, the instrumentality of firearms, or their heightened potential for causing fatal
     injury relative to other kinds of weapons, elevates the chances of death (Braga & Cook 2 0 1 8 ; Cook
     et al. 2 0 1 9; Zimring 1 968, 1 972). Alternatively, if gun violence represents a clear intent to kill that
     is absent in other types of assault or attack, the features of assaults with guns versus assaults with
     other weapons should be distinctive. In this latter scenario, intentionality drives the attack; fatal
     outcomes are more likely not because guns are more dangerous but rather because the attacker
     chooses a more dangerous weapon to achieve the result they intend.
         Our review of the available scientific evidence suggests that guns do indeed make violent situa­
     tions more lethal. It is important to note that the type of weapon used in violent situations matters
     in several ways. Guns are usually not fired and the victims of most gun assaults and gun robberies
     are not injured. Criminals deploy guns to control violent encounters and intimidate their victims
     without actually firing bullets and generating gunshot wounds. Victims are much more likely to
     resist attackers who use knives, blunt instruments, and other means. As such, victims in non- gun
     assaults are more likely to suffer injuries. However, when gun assaults and gun robberies result
     in injuries, victims are much more likely to die. Many factors influence mortality in injurious
     gun assaults; the number and placement of gunshot wounds on victims significantly influence the
     lethality of gun attacks, as do factors such as how quickly first responders provide initial aid and
     the proximity of high-quality trauma care centers. Finally, the technology of the guns deployed

                                                                   www.annualreviews.org • Firearm Instrumentality   I 59
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 377
                                    of 396




                     in injurious assaults influences mortality, wherein firearms with higher-capacity magazines and
                     larger-caliber bullets are more deadly than guns without these features.
                         The guns used in violent crime are becoming more deadly over time, with the police recov­
                     ering increasing shares of higher-capacity, large-caliber semiautomatic pistols. Yet case-fatality
                     rates have stabilized, despite the more lethal technology of contemporary firearms, at roughly one
                     gun homicide for every six victims with nonfatal gunshot injuries. Some evidence suggests that
                     improved trauma care may be offsetting the increased lethality of handguns available to violence­
                     prone individuals. Unfortunately, one-third of roughly 74,000 annual emergency department ad­
                     missions for gunshot injuries are treated in community hospitals that do not have high-quality
                     trauma centers (Coupet et al. 2 0 1 9). Increasing the number of hospitals that can provide life-saving
                     care for traumatic gunshot injuries may save lives and decrease case-fatality rates in underserved
                     areas. It is also tempting to consider increasing the use of new technologies, such as Shotspotter
                     acoustic gunshot detection systems, that get first responders to life-threatening gun assault scenes
                     quickly so short-term care can be administered immediately and patients can be transported to
                     trauma centers more rapidly.
                         The available pro gram evaluation evidence suggests that criminal justice interventions de­
                     si gned to change offender decisions to use guns in violent crimes, such as firearm sentencing en­
                     hancements and proactive policing efforts, are effective in reducing gun violence. Another poli cy
                     issue that undergirds consideration of firearm instrumentality effects, however, is whether inter­
                     ventions that reduce the availability of guns to potentially violent people reduce the homicide rate.
                     To gun rights advocates, gun controls are futile, as determined killers will simply complete their
                     acts via the substitution of other means. Research highlighted here appears to provide a strong
                     counter to this enduring argument made by gun rights activists by challenging the notion that
                     gun -assault outcomes are determined by the intent of the shooter. Zimring's (1 968, 1 972) seminal
                     studies and the Braga & Cook (2 0 1 8) update indicate enhanced gun controls could indeed reduce
                     homicide. These studies suggest that gun homicides and nonfatal gun assaults with injury are very
                     similar in terms of incident circumstances and the characteristics of offenders and victims. Fur­
                     thermore, mortality in gun assaults seems to be strongly influenced by chance events rather than
                     indicators of assailant intent to kill. Importantly, the research finds that the likelihood of death
                     was systematically associated with the caliber of the gun deployed in the attack: More powerful
                     handguns were more likely to result in the death of the gunshot victim. The selection of gun cal­
                     iber in these violent events was not correlated with available indicators of shooter determination
                     to kill, such as the location and number of wounds. In sum, reducing the lethality of the weapons
                     available to would-be killers may result in fewer fatalities in gun-assault events.
                         The existence of firearm instrumentality effects supports a wide range of gun control efforts to
                     reduce the availability of firearms to high-risk people (Cook et al. 2 0 1 1). These poli cy interven­
                     tions include tax initiatives to raise the price of guns and ammunition to dissuade violence-prone
                     individuals from making purchases (Cook & Leitzel 1 996), screening out high-risk purchasers via
                     background checks (Ludwig & Cook 2 000, Wintemute et al. 1 999), regulating secondary firearms
                     markets (Cook et al. 1 995), and reducing illegal gun trafficking (Braga et al. 2 0 1 2). Unfortunately,
                     we do not currently have much guidance on what works in reducing the availability of guns to
                     high-risk individuals (Inst. Med. & Natl. Res. Counc. 2 0 1 3 , Natl. Res. Counc. 2005). Like others,
                     we think that it is time to experiment with alternative gun control measures in an effort to de­
                     velop more effective interventions than the current array of policies and pro grams. And, in doing
                     so, we should be mindful of potential substitution effects in which prohibited persons acquire guns
                     through other mechanisms. For instance, a longitudinal study found that the passage of the Brady
                     Handgun Violence Prevention Act of 1 994, intended to screen out prohibited handgun purchasers
                     through mandatory criminal history background checks at licensed gun dealers, had a negligible

              I 6o   Braga et al.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 378
                                    of 396




     effect on homicide rates (Ludwig & Cook 2 000). However, the study authors suggested the homi­
     cide reduction impact of the Brady Act may have been undermined by continued criminal access
     to firearms through unregulated transactions made by unlicensed private sellers.
         The potential impacts of developing such a portfolio of evidence-based gun control interven­
     tions could be quite large. One estimate suggests gun violence in the United States costs roughly
     US$ 1 00 billion per year (Cook & Ludwig 2 006b). In their simulation of the impacts of the effects
     of replacing medium- and large-caliber handguns with small-caliber handguns on gun-assault out­
     comes, Braga & Cook (2 0 1 8) estimate a near 40% homicide reduction if all shootings were com­
     mitted with small-caliber handguns rather than the existing mix of large-, medium-, and small­
     caliber handguns. The RAND Corporation estimates that each murder costs some US$8.6 million
     and each aggravated assault costs roughly US$87 ,000 (RAND 2 0 1 0). In 2 0 1 8 , there were approx­
     imately 10,265 gun murders in the United States (FBI 2 0 1 8). If we were able to achieve a 40%
     reduction in gun deaths, the monetary savings would be in the range of US$3 5 billion. And, more
     importantly, such an intervention would spare families and friends the devastation of losing loved
     ones to senseless gun violence. As such, expenditures to test new interventions could ultimately
     prove to be highly cost-effective and reduce the tragic human costs perpetuated by ongoing gun
     violence in the United States.

     DISCLOSURE STATEMENT
     The authors are not aware of any affiliations, memberships, funding, or financial holdings that
     might be perceived as affecting the objectivity of this review.

     LITERATURE CITED
     Abrams D. 2 0 1 2 . Estimating the deterrent effect of incarceration using sentencing enhancements. Am. Econ.
          J. Appl. Econ. 4(4):3 2-56
     Azrael D, Cook PJ, Miller M. 2004. State and local prevalence of firearms ownership measurement, structure,
           and trends. ]. Quant. Criminol. 20:43-62
     Baker SP. 1985. Without guns, do people kill people? Am. J. Public Health 75:587-88
     Beauregard E, Leclerc B. 2007. An application of the rational choice approach to the offending process of sex
           offenders: a closer look at the decision-making. Sex. Abuse 19: 1 1 5-3 3
     Braga AA. 2003 . Serious youth gun offenders and the epidemic of youth violence in Boston. ] Quant. Criminol.
           19:3 3-54
     Braga AA. 2 0 1 7 . Long-term trends in the sources of Boston crime guns. Russell Sage Found. ]. Soc. Sci. 3 :76-95
     Braga AA, Cook PJ. 2 0 1 8 . The association of firearm caliber with likelihood of death from gunshot injury in
           criminal assaults. JAMA Netw. Open l : e l 808 3 3
     Braga AA, Hureau DM, Papachristos AV. 20 14. Deterring gang-involved gun violence: measuring the impact
           of Boston's Operation Ceasefire on street gang behavior. J. Quant. Criminol. 30: 1 1 3-39
     Braga AA, Kennedy DM, Waring EJ, Piehl AM. 200 1 . Problem-oriented policing, deterrence, and youth vio­
           lence: an evaluation of Boston's Operation Ceasefire. ]. Res. Crime Delinq. 3 8 : 195-2 2 5
     Braga AA, Papachristos AV, Hureau DM. 2 0 1 0 . The concentration and stability o f gun violence at micro-places
           in Boston, 1980-2008. J. Quant. Criminol. 26:3 3-53
     Braga AA, Turchan BS, Hureau DM, Papachristos AV. 2019. Hot spots policing and crime reduction: an update
           of an ongoing systematic review and meta-analysis. J Exp. Criminol. 1 5 :2 89-3 1 1
     Braga AA, Weisburd DL, Turchan BS. 2 0 1 8 . Focused deterrence strategies and crime control: an updated
           systematic review and meta-analysis of the empirical evidence. Criminol. Public Policy 1 7:2 05-50
     Braga AA, Wmtemute GJ , Pierce GL, Cook PJ, Ridgeway G. 2 0 1 2 . Interpreting the empirical evidence on
           illegal gun market dynamics.]. Urban Health 89:779-93
     Bur. Justice Stat. 2019. NCVS Victimization Analysis Tool (NVAT). Bureau ofJustice Statistics. https://www.
           bjs.gov/index.cfm?ty=nvat

                                                                        www.annualreviews.org • Firearm Instrumentality    1 61
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 379
                                    of 396




                     Cohen J, Ludwig J. 2002. Policing crime guns. In Evaluating Gun Policy : Effects on Crime and Violence, ed.
                           J Ludwig, P Cook, pp. 2 17-39. Washington DC: Brookings Inst. Press
                     Cook PJ. 1979. The effect of gun availability on robbery and robbery murder: a cross-section study of fifty
                           cities. Policy Stud. Rev. Annu. 3 :743-8 1
                     Cook PJ. 1980. Reducing injury and death rates in robbery. Policy Anal. 6:2 1-45
                     Cook PJ. 1985. The case of the missing victims: gunshot woundings in the National Crime Survey. J. Quant.
                           Criminal. 1 :9 1-102
                     Cook PJ. 1987. Robbery violence. ]. Crim. Law Criminal. 78: 3 5 7-76
                     Cook PJ. 1 99 1 . The technology of personal violence. CrimeJustice 14: 1-7 1
                     Cook PJ. 2009. Robbery. In The Oxford Handbook of Crime and Public Policy, ed. M Tonry, pp. 1 02-14. New
                           York: Oxford Univ. Press
                     Cook PJ. 2 0 1 8 . Gun markets. Annu. Rev. Criminal. 1 : 3 59-77
                     Cook PJ, Braga AA, Moore MH. 20 1 1 . Gun control. In Crime and Public Policy, ed. JQ Wilson, J Petersilia,
                           pp. 2 5 7-92 . New York: Oxford Univ. Press
                     Cook PJ, Braga AA, Turchan BS, Barao LM. 2 0 1 9 . Why do gun murders have a higher clearance rate than
                           gunshot assaults? Criminal. Public Policy 1 8 : 5 2 5-5 1
                     Cook PJ, LeitzelJA. 1 996. Perversity, futility, jeopardy: an economic analysis of the attack on gun control. Law
                           Contemp. Prob/. 59:91-1 1 8
                     Cook PJ, Ludwig J . 2000. Gun Violence: Th e Real Costs. New York: Oxford Univ. Press
                     Cook PJ, Ludwig J. 2006a. Aiming for evidence-based gun policy. J. Policy Anal. Manag. 2 5 :69 1-73 5
                     Cook PJ, Ludwig]. 2006b. The social costs of gun ownership. ]. Public Econ. 90:3 79-9 1
                     Cook PJ, Ludwig], Braga AA. 2005. Criminal records of homicide offenders. JA1\.1A 294: 598-60 1
                     Cook PJ, Molliconi S, Cole TB. 1995. Re gulating gun markets. ]. Crim. Law Criminal. 86:59-92
                     Cook PJ, Nagin D. 1 979. Does the Weapon Matter? An Evaluation ofa Weapons-Emphasis Policy in the Prosecution
                           of Violent Offenders. Washington, DC: INSLAW
                     Cook PJ, Pollack HA. 2 0 1 7 . Reducing access to guns by violent offenders. Russell Sage Found. ]. Soc. Sci. 3 :2-3 6
                     Cook PJ, Rivera-Aguirre AE, Cerda M, Wintemute G. 2 0 1 7 . Constant lethality of gunshot injuries from
                           firearm assault: United States, 2003-2 0 1 2 . Am. J. Public Health 107: 1 324-28
                     Coupet E Jr., Huang Y, Delgado MK. 2019. US emergency department encounters for firearm injuries ac-
                           cording to presentation at trauma versus nontrauma centers. JA1\.1A Surg. 1 54:3 60-62
                     D' Alessio JG. 1 999. Gunshot wounds: Bullet caliber is increasing. ]. Trauma 47 :992-93
                     Duggan M. 200 1 . More guns, more crime. ]. Political Econ. 1 09: 1 086-1 14
                     Efron DT, Haider A, Chang D, Haut ER, Brooke B, Cornwell EE III. 2006. Alarming surge in nonsurvivable
                           urban trauma and the case for violence prevention. Arch. Surg. 1 4 1 : 800-5
                     Fackler ML, Bellamy RF, Malinowski JA. 1988. The wound profile: illustration of the missile-tissue interac­
                           tion. ]. Trauma 28:S2 1-29
                     FBI (Fed. Bur. Investig .) . 2 0 1 8 . Murder victims by weapon, 2014-2018. Rep., Dep. Justice, Washington, DC
                     Feeney F. 1986. Robbers as decision-makers. In The Reasoning Criminal: Rational Choice Perspectives on Offending,
                           ed. DB Comish, RV Clarke, pp. 53-7 1 . New Brunswick, NJ: Transaction Puhl.
                     Felson RB, Messner SF. 1996. To kill or not to kill? Lethal outcomes in injurious attacks. Criminology 34: 5 19-4 5
                     Hargarten SW, Karlson TA, O'Brien M, Hancock], Quebbeman E. 1 996. Characteristics of firearms involved
                           in fatalities. JA1\.1A 2 7 5 :42-45
                     Hedeboe J, Charles AV, Nielsen J, Grymer F, Moller BN, et al. 1985. Interpersonal violence: patterns in a
                           Danish community. Am. ]. Public Health 75 :65 1-5 3
                     Hemenway D, Azrael D, Conner A, Miller M. 2 0 1 9 . Variation in rates of fatal police shootings across US
                           states: the role of firearm availability. J. Urban Health 96:63-73
                     Henigan DA. 2016. "Guns Don 't Kill People, People Kill People": And Other Myths About Guns and Gun Control.
                           Boston: Beacon Press
                     Inst. Med., Natl. Res. Counc. 2 0 1 3 . Priorities for Research to Reduce the Threat of Firearm-Related Violence.
                           Washington, DC: Natl. Acad. Press
                     Jacobs BA. 2000. Robbing Drug Dealers: Violence Beyond the Law. New York: Transaction Puhl.
                     Karlson TA, Hargarten SW 1 997. Reducing Firearm Injury and Death: A Public Health Sourcebook on Guns. New
                           Brunswick, NJ: Rutgers Univ. Press

              I 62   Braga et al.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 380
                                    of 396




     Kates DB, Mauser G. 2006. Would banning firearms reduce murder and suicide? A review of international
          and some domestic evidence. Harv. J. Law Public Policy 30:649-94
     Kellermann AL, Lee RK, Mercy JA, Banton J. 199 1 . The epidemiologic basis for the prevention of firearm
          injuries. Annu. Rev. Public Health 1 2 : 1 7-40
     Kennedy DM. 2 0 1 1 . Don 't Shoot. New York: Bloomsbury
     Kleck G. 1984. Handgun-only control: a policy disaster in the making. In Firearms and Violence: Issues ofPublic
          Policy , ed. DB Kates, pp. 167-99. Cambridge, MA: Ballinger
     Kleck G. 1997. Point Blank: Guns and Gun Violence in America. Hawthorn, NY: Aldine de Gruyter
     Kleck G. 2004. Measures of gun ownership levels for macro-level crime and violence research. ]. Res. Crime
          Delinq. 4 1 :3-3 6
     Kleck G . 2 0 1 5 . The impact of gun ownership rates on crime rates: a methodological review o f the evidence.
          J. Crim. Justice 43 :40-48
     Kleck G, DeLone MA. 1993 . Victim resistance and offender weapon effects in robbery. J. Quant. Criminol.
          9 : 5 5-8 1
     Kleck G, McElrath K. 199 1 . The effects of weaponry on human violence. Soc. Forces 69:669-92
     Kleck G, Patterson EB. 1993 . The impact of gun control and gun ownership levels on violence rates. J. Quant.
          Criminol. 9:249-87
     Klinger DA, Rosenfeld R, Isom D, Deckard M. 2 0 1 6 . Race, crime, and the micro-ecology of deadly force.
          Criminol. Public Policy 1 5 : 193-222
     Langhinrichsen-Rohling J, McCullars A, Misra TA. 2 0 1 2 . Motivations for men and women's intimate partner
          violence perpetration: a comprehensive review. Partner Abuse 3 :429-68
     Leovy J. 2 0 1 5 . Ghettoside: A True Story ofMurder in America. New York: Spiegel & Grau
     Libby NE. 2 009. Predictors offirearm use and effects ofweaponry on victim injury in violent crime: a criminal events
          approach. PhD Thesis, Univ. Cent. Fla., Orlando. 1 3 7 pp.
     Libby NE, Corzine J. 2007. Lethal weapons: effects of firearm types on the outcome of violent encounters.
          Justice Res. Policy 9: 1 1 3-3 7
     Livingston DH, Lavery RF, Lopreiato MC, Lavery DF, Passannante MR. 20 14. Unrelenting violence: an
          analysis of 6,322 gunshot wound patients at a Level I trauma center. Trauma Acute Care Surg. 76:2-1 1
     Lott JR. 2 0 1 0 . More Guns, Less Crime: Understanding Crime and Gun Control Laws. Chicago: Univ. Chicago
          Press
     Ludwig J, Cook PJ. 2000. Homicide and suicide rates associated with implementation of the Brady Handgun
          Violence Prevention Act. JAMA 284: 5 8 5-9 1
     Marvell T, Moody C. 1995. The impact of enhanced prison terms for felonies committed with guns.
          Criminology 3 3 :247-8 1
     McDowall D, Loftin C, Wiersema B. 1992. A comparative study of the preventive effects of mandatory sen­
          tencing laws for gun crimes. ]. Crim. Law Criminol. 8 3 : 3 7 8-94
     McGarrell E, Chermak S, Weiss A, Wilson J. 200 1 . Reducing firearms violence through directed police patrol.
          Criminol. Public Policy l : 1 19-148
     McGonigal MD, Cole J, Schwab CW, Kauder DR, Rotondo MF, Angood PB. 1993 . Urban firearm deaths: a
          five-year perspective. ]. Trauma 3 5 : 5 3 2-3 7
     Miller M, Azrael D, Hemenway D. 2002. Rates of household firearm ownership and homicide across US
          regions and states, 1988-1997. Am. J. Public Health 92 : 1988-93
     Moore MH. 1980. Police and weapons offenses. Ann. Am. Acad. Political Soc. Sci. 452 :22-3 2
     Morral AR, Schell TL, Tankard M. 2 0 1 8 . The magnitude and sources of disagreement among gnn policy experts.
          Rep. 1 977400302, Rand Corp., Santa Monica, CA
     Nagin DS. 2020. Firearm availability and fatal police shootings. Ann. Am. Acad. Political Soc. Sci. 687 :49-57
     Natl. Res. Counc. 2005. Firearms and Violence: A Critical Review. Washington, DC: Natl. Acad. Press
     Pierce GL, Bowers vVJ. 1 98 1 . The Bartley-Fox gun law's short-term impact on crime in Boston. Ann. Am.
          Acad. Political Soc. Sci. 45 5 : 120-3 7
     Planty M, Truman JL. 20 1 3 . Firearm violence, 1993-201 1 . Bur. Justice Stat. Rep. NCJ 24 1 7 3 0, Dep. Justice,
          Washington, DC
     RAND. 2010. Cost of crime calculator. RAND. https://www.rand.org/well-being/justice-policy/centers/
          quality-policing/cost-of- crime.html

                                                                         www.annualreviews.org • Firearm Instrumentality     1 63
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 381
                                    of 396




                     Reid JA, Beauregard E. 2 0 1 7 . A mixed methods exploratory examination of victim injury and death: effect of
                          weapon type and victim resistance during sexual assaults by strangers. Viet. Offenders 12:253-76
                     Saltzman LE, Mercy JA, O'Carroll PW, Rosenberg ML, Rhodes PH. 1992 . Weapon involvement and injury
                          outcomes in family and intimate assaults. JAMA 267:3 043-47
                     Sarvesvaran R, Jayewardene C. 1985. The role of the weapon in the homicide drama. Med. Law 4:3 1 5-26
                     Sauaia A, Gonzalez E, Moore HB, Bo! K, Moore EE. 2 0 1 6. Fatality and severity of firearm injuries in a Denver
                          trauma center, 2000-2 0 1 3 . JAMA 3 1 5:2465-67
                     Sherman L. 2000. Gun carrying and homicide prevention. JAJ1,L4 2 8 3 : 1 193-95
                     Sherman L, Rogan D. 1995. Effects of gun seizures on gun violence: hot spots patrol in Kansas City. Justice
                           Q. 1 2 :673-94
                     Siegel M, Ross CS, King C Ill. 2 0 1 3 . The relationship between gun ownership and firearm homicide rates in
                          the United States, 198 1-2 0 1 0. Am. J. Public Health 103 :2098-105
                     Spitzer RJ. 1995. The Politics of Gun Control. Chatham, NJ: Chatham House
                     Swedler DI, Simmons MM, Dominici F, Hemenway D. 2 0 1 5 . Firearm prevalence and homicides of law en­
                          forcement officers in the United States. Am. ]. Public Health 105:2042-48
                     Swersey A, Enloe E. 1975. Homicide in Harlem. New York: Rand Institute
                     Tark J, Kleck G. 2004. Resisting crime: the effects of victim action on the outcomes of crimes. Criminology
                          42 :861-9 1 0
                     Tillyer MS, Tillyer R . 20 14. Violence in context: a multilevel analysis o f victim injury in robbery incidents.
                          Justice Q. 3 1 :767-9 1
                     VernickJS, Hepburn LM. 2003 . State and federal gun laws: trends for 1970-99. In Evaluating Gun Policy : Effects
                          on Crime and Violence, ed. J Ludwig, PJ Cook, pp. 3 92-95. Washington, DC: Brookings Inst. Press
                     Vmson T. 1 974. Gun and knife attacks. Aust. ]. Forensic Sci. 7:76-83
                     Weaver GS, Wittekind JEC, Huff-Corzine L, Corzine J, Petee TA, Jarvis JP. 2004. Violent encounters: a
                          criminal event analysis of lethal and nonlethal outcomes.]. Contemp. Crim. Justice 20:348-68
                     Webster DW, Champion HR, Gainer PS, Sykes L. 1992. Epidemiologic changes in gunshot wounds in
                          Washington, DC, 1983-1990. Arch. Surg. 1 2 7 :694-98
                     Wells W, Horney J. 2002 . Weapon effects and individual intent to do harm: influences on the excalation of
                          violence. Criminology 40:265-96
                     Wmtemute GJ. 1 996. The relationship between firearm design and firearm violence: handguns in the 1990s.
                          JAMA 2 7 5 : 1 749-53
                     Wintemute GJ. 2 0 1 0 . Guns and gun violence. In The Crime Drop in America, ed. A Blumstein, J Wallman,
                          pp. 45-96. New York: Cambridge Univ. Press
                     Wmtemute GJ, Wright MA, Parham CA, Drake CM, Beaumont JJ. 1999. Denial of handgun purchase: a
                          description of the affected population and a controlled study of their handgun preferences. J. Crim.
                          Justice 27:2 1-3 1
                     Wolfgang ME. 1958. Patterns in Criminal Homicide. Philadelphia: Univ. Pa. Press
                     Wright JD, Rossi PH. 1 994. Armed and Considered Dangerous: A Survey ofFelons and Their Firearms. New York:
                          Aldine de Gruyter
                     WrightJD, Rossi PH, Daly K. 198 3 . Under the Gun: Weapons, Crime, and Violence in America. Hawthorne, NY:
                          Aldine de Gruyter
                     Wright MA, Wintemute GJ , Rivara FP. 1999. Effectiveness of denial of handgun purchase to persons believed
                          to be at high risk for firearm violence. Am. J. Public Health 89:88-90
                     Wright RT, Decker SH. 1997. Armed Robbers in Action: Stickups and Street Culture. Lebanon, NH: Univ. Press
                          N. Engl.
                     Zimring FE. 1968. Is gun control likely to reduce violent killings? Univ. Chicago Law Rev. 3 5 :72 1-3 7
                     Zimring FE. 1972. The medium is the message: firearm caliber as a determinant of death from assault. J. Leg.
                          Stud. 1 :97-123
                     Zimring FE. 2 0 1 7 . When Police Kill. Cambridge, MA: Harv. Univ. Press
                     Zimring FE, Hawkins G. 1 997. Crime Is Not the Problem: Lethal Violence in America. Oxford, UK: Oxford Univ.
                          Press



              I 64   Braga et al.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 382
                                    of 396




                                                                                                                                                                                             Annual Review
                                                                                                                                                                                             of Criminology

      Contents                                                                                                                                                                               Volume 4, 202 1




     The Discipline

     On Becoming "A Teacher or Something": An Autobiographical Review
       Ruth D. Peterson . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1


     Perspectives

     Perspectives on Policing: Cynthia Lum
       Cynthia Lum . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1 9
     Perspectives on Policing: Phillip Atiba Goff
       Phillip Atiba Goff. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2 7


     Theory and Method in Criminolo gy

     Toward a Criminology of Sexual Harassment
       Christopher Uggen, Rachael A. Powers, Heather McLaughlin,
         and Amy Blackstone . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3 3
     The Causes and Conse quences of Urban Riot and Unrest
       Tim Newburn . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5 3
     Genocide, Mass Atrocity, and Theories of Crime: Unlocking
      Criminology's Potential
       Susanne Karstedt, Hollie Nyseth Brehm, and Laura C. Frizzell . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7 5
     Human Mobility and Crime: Theoretical Approaches and Novel
      Data Collection Strategies
       Christopher R. Browning, Nicolo P Pinchak, and Catherine A. Calder . . . . . . . . . . . . . . . . . . . . 99
     Where Is This Story Going? A Critical Analysis of the Emerging Field
      of Narrative Criminology
      Shadd Maruna and Marieke Liem . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1 2 5
     Firearms Instrumentality: D o Guns Make Violent Situations
       More Lethal?
        Anthony A. Braga, Elizabeth Griffiths, Keller Sheppard, and Stephen Douglas . . . . . . . . . 14 7
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 383
                                    of 396




                 Uses and Abuses of Criminal Records

                 A Poli cy Review of Employers' Open Access to Conviction Records
                   Shawn D. Bushway and Nidhi Katra . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1 65
                 The Intended and Unintended Consequences of Ban the Box
                   Steven Raphael . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1 9 1
                 Artificial Intelligence, Predictive Policing, and Risk Assessment for
                   Law Enforcement
                   Richard A. Berk . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2 09


                 Criminalization and Criminal Legal Institutions

                 Decarceration Problems and Prospects
                   Todd R. Clear . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2 3 9
                 The Mass Criminalization of Black Americans: A Historical Overview
                   Elizabeth Hinton and DeAnza Cook . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2 6 1
                 Life Sentences and Perpetual Confinement
                    Christopher Seeds . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2 87
                 Local Government Dependence on Criminal ]ustice Revenue and
                   Emerging Constraints
                   Shannon R. Graham and Michael D. Makowsky . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3 1 1
                 Models of Prosecutor-Led Diversion Programs in the
                  United States and Beyond
                  Ronald F Wright and Kay L. Levine . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3 3 1
                 Opioids and the Criminal Justice System: New Challenges Posed by
                  the Modern Opioid Epidemic
                  Jonathan P. Caulkins, Anne Gould, Bryce Pardo, Peter Reuter,
                     and Bradley D. Stein . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3 5 3
                 Plea Bargaining, Conviction Without Trial, and the Global
                   Administratization of Criminal Convictions
                   Maximo Langer . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3 77


                 Errata

                 An online log of corrections to Annual Review of Criminology articles may be found at
                 http://www.annualreviews.org/errata/criminol
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 384
                                    of 396




                      EXHIBIT S
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 385
                                    of 396


                                                          Original Article




               Epidemiologic Changes in Gunshot Wounds in
                       Washington, DC, 1 983-1 990
     Daniel W. Webster, ScD, MPH; Howard R. Champion, FRCS(Edin); Patricia S. Gainer, JD, MPA; Leon Sykes, MD

 • The purpose of this study was to examine temporal pat•            capital. The homicide rate in Washington, DC, per 100000
 terns in gunshot wound admission rales and wound profiles           population increased threefold, from 24 in 1985 to 78 in
 from 1983 through 1990 at a level I trauma center in                1990,5 during which time the city earned the appellation
 Washington, DC. Data on trauma admissions were col­                 "murder capital of the nation" for having the highest rate
 lected at the time of admission. �ecords were reviewed to           of homicide of any US city. This dramatic increase has
 identify patients admitted for gunshot wounds from as•              been largely attributed to violence surrounding the trade
 saults. Data on the number and location of entrance gunshot         of crack-cocaine and has been most pronounced for gun
 wounds, survival, complications, length of stay in the              homicides of young black males.5
 intensive care unit, and total Inpatient days were recorded,           Data collected by hospitals on fatal and nonfatal gun­
 Admissions due to gunshot wounds grew at an exponential             shot wounds (GSWs) can provide a more complete picture
 rate beginning In 1 987 and reached a level from 1 989              of gun violence than homicide statistics alone. Every fire­
 through 1 990 three times higher than the preepldemic rate,         arm death represents an estimated 7.5 nonfatal shootings,
 The mean number of entrance gunshot wounds per patient              28% of which require hospitalization. 3 Hospital surveil­
 grew from 1 .44 before the epidemic to 2.04 from 1988               lance of injuries owing to firearm assaults indicate that
 through 1 990. Multiple thoracic wounds became relatively           many of these injuries do not show up in police statistics.�
 more common from 1 988 through 1 990. This increase was                Using medical records data, it is possible to study tem­
 partially responsible for reversing a downward trend in pa­         poral changes in GSW profiles (ie, the number and loca­
 tient mortality. Temporal changes In admission rates and            tion of entrance GSWs), which may be indicative of shifts
 wound profiles were consistent with the city's epidemic 01          in the prominence of particular types of gun attacks, the
 drug-related violence and with a shift in weaponry toward           type of guns used, and the lethality of these attacks. For
 high-capacity, semiautomatic handguns.                              example, a study of violent crime in New York City
    (Arch Surg. 1 992;1 27:694·698)                                  revealed that homicide rates changed over time due to
                                                                     changes in the lethality of gun attacks, the lethality of at­
  I nterpersonal violence has grown to epidemic propor­              tacks being largely determined by an assailant's intent to
      tions in many US cities, Homicide is the 12th leading          kill during assaults. 7 Drug-related assaults characteristi­
 cause of death in the United States overall, and is the             cally had a higher degree of intent to kill than assaults re­
 leading cause of death among black males aged 15 to 34              sulting from spontaneous arguments. Execution-style
 years. 1 Homicide rates for black males aged 15 to 24 years         GSWs to the head or high numbers of GSWs to the chest
 have nearly doubled between 1984 and 1988, and virtually            are wound profiles indicative of a clear intent to kill.
 all of the increase was attributable to gun-related homi­
 cides,2 ln 1985, even before the Incidence of gun-related                            MATERIALS AND METHODS
 violence began to soar, direct medical care costs for treat•                              Data Collection
 ing patients with firearm Injuries were estimated to be
                                                                        We used data collected at the Washington (DC) Hospital Center,
 $863 million nationally, 3 Recent escalations in violence           a level I trauma center located in the north central part of Washing­
 have placed considerable financial strain on urban trauma           ton. The hospital treats 30% to 40% of all adult patients with GSWs
 centers and have forced some to dose. 4                             who are treated at trauma centers in the city. Most of these patients
    The increase in violence during the late 1980s in many           are transported from high-crime sections of Washington,
 US cities has been perhaps most dramatic in the nation's               Data collected for each GSW victim admitted included exter­
                                                                     nal cause of injuries, nature and severity of injuries, treatments
  Accepted for publication March 24, 1992.                           and procedures, length of stay, complications, and patient dis·
  From the Trauma, Surgical Critical Care, and Emergency Services,   charge status. These data are reviewed and edited monthly for
Washington (DC) Hospital Center. Dr Webster is now affiliated with   every trauma inpatient.
The Johns Hopkins University Injury Prevention Center, Baltimore,       Patients admitted for GSWs were identified through a retro­
Md,                                                                  spective review of trauma admission records from January 1983
  Reprint requests to Trauma, Surgical Critical Care, and Emer­      through December 1990. Cases were excluded if the GSWs were
gency Services, Washington Hospital Center, Room 48-46, 110 Irv­     noted to be self-inflicted or unintentional. These exclusions left
ing St NW, Washington, DC 20010 (Dr Champion),                       1781 patients eligible for the study. For analyses of length of in•
 694 Arch Surg-Vol 127, June 1992                                                                      Gunshot Wounds-Webster et al
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 386
                                    of 396



       Description of Population of Patients Admitted for Gunshot Wounds From January 1 983 Through December 1 990
                                                                                                Age, y
                                                    I                                                                                    I
                                           Total         <20       20·24            25•29     30•34      35.39      40        Unknown
    Admissions, No.                        1781          273        492              401       253        141       166          55
    Deaths in hospital, No. (%}          379 (21)       58 (21)    87 (18)          77 (19)   55 (22)    25 (18)   37 (22)     40 (73)
    Treated in intensive care unit,
      No. (%)                            504 (28)       n (26>    136 (28)         137 (34)   89 (35)    51 (36)   59 (36)      8 (15)

 patient stay and number of days in the intensive care unit (ICU),
 the following categories of patients were excluded: patients who
 died in the hospital, patients who were discharged to another                     35
 acute care facllity, and patients who had significant injuries other
 than GSWs (eg, injuries associated with a motor vehicle crash
 that occurred after the shooting),
                           Data Analysis
                                                                             -�
    BasC?d on published homicide statistics, news reports of
 incrcasC!d drug-related violence, and data from the firearms
                                                                             ·e 20
                                                                             ,(
 identification unit of the DC Metropolitan Police Department,               'o
 we anticipated that there would be differences in GSW patterns               ci
 between 1983 and 1986 and 1988 and 1990, with 1987 being the                z 15
 year of transition, Trends in GSW patterns were described using
 plots of monthly, quarterly, and annual time-series data. Five­                    11)
 month moving averages were calculated and plotted to smooth
 monthly plots. When appropriate, patients admitted for stab                         s
 wounds due to assaults were used as a comparison group. For
 mortality and morbidity analyses, patients were assigned to one
 of four categories based on the location of wounds: (1) any head
 wound, (2) thoracic wound with no head wound, (3) wound to                           1 983 1984 1 985 1986 1987 1968 1 989 1990
 the face, neck, abdomen, or pelvic region and no head or tho­               Fig 1,-F/ve-month movlns average of monthly admissions for gun­
 racic wound, or (4) wounds confined to extremities,                         sho1 wounds (squares) and stab wounds (asterisks) from 1983
    Most of the analyses were descriptive in nature, and in some             thtough 1990 (calculated using monthly, quarterly, and annual
 instances, statistical tests were unnecessary to detennine that a           time-series data).
 temporal shift had occurred. The statistical significance of
 differences in proportions was assessed using Pearson's x1 anal­            From January 1983 through June 1987, the mean ± SD
 ysis with Yates' correction, Annual medians were calculated to              number of GSW assault admissions was 10.2:t:3.4 per
 examine changes in length of inpatient stays since means are                month, with no apparent trend. Despite some normal
 highly affected by extreme values,                                          monthly fluctuations, GSW admissions rose steadily from
    Annual population estimates for the hospital's catchment area            the last half of 1987 through January 1989. After having 46
 for trauma admissions were not available. Therefore, trends in              admissions in January 1989, monthly GSW admission
 the number of GSW admissions were analyzed without the ben•                 dropped off to 33.2±8.2 for the remainder of the study
 efit of data on the population located in the catchment area, It            period, with considerable month-to-month variation.
 is unlikely that shifts in the population would have a substantial             Monthly admissions for stab wounds also began to in­
 effect on GSW admission during the 8-year observation period,
 Neither the estimated 3.3% decline in the city's population from            crease in 1987, and from 1988 through 1990 (20.6±4.8)
 1983 to 1990 nor the District of Columbia's emergency mcdicill              levels were double those from 1983 through 1986
 services system procedures for transporting patients to trauma              (9.9±3.0). The less dramatic increase in admissions for
 centers are believed to have had a substantial effect on the vol­           stab wounds compared with GSWs altered the ratio of
 ume of patients transported to any specific trauma center.                  GSW to stab wound admissions from 1:1 from 1983
                                                                             through 1986 to 1 .5:1 from 1988 through 1990.
                             RESULTS                                            Consistent with the pattern of homicide increases in
                Description of Study Population                              Washington, DC/ increases in GSW admissions were
    From January 1983 through December 1990, 1781 pa­                        most pronounced among males younger than age 20
 tients were admitted to Washington Hospital Center's                        years. Admissions of teenagers for GSW assaults in­
 level I traitma center for GSWs that were not believed to                   creased from an annual average of 7.5 admissions (6.4%)
 be self-inflicted or unintentional (Table). Overall, 21.3%                  in 1983 and 1984 beginning in 1985 before leveling out to
 (379 of 1781) died in the hospital and 28.3% (n =504) were                  76 admissions (19.3%) per year in 1989 and 1990, (Most
 admitted to the ICU. Patients aged 20 to 24 years had the                   serious injuries to children and adolescents younger than
 highest number of admissions (27.6% ), and patients older                   18 years are treated at nearby Children's Hospital Na­
 than age 40 years had the highest risk of in-hospital mor­                  tional Medical Center.) With the exception of those
 tality {22.3% ), Only 8.5% (150 of 1755) of the patients were               younger than 20 years, the general temporal pattern in
 female (data not shown).                                                    GSW admissions did not vary substantially among age
                                                                             groups. The proportion of patients with GSWs who were
             Gunshot Wound Admission Trends                                  female ranged from 5.0% in 1988 to 11 .8% in 1990; how­
   Figure 1 shows a sharp increase in the number of GSW                      ever, no clear temporal pattern in the gender of patients
 assault admissions that began during the last half of 1987.                 with GSWs was evident.
Arch Surg-Vol 127, June 1992                                                                             Gunshot Wounds -Websler et al 695
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 387
                                    of 396


        2.6

                              ......... .. - ... .....
  -g 2.4
  :,

  �
   0
   .,. 2.0
  .i=
   C
   :,
  Q
  �
  C
  �
  C:
  u.J
        1 .6
  0
  d
  z
  C:
  al
  � 1 .2


               1983   1-984   1985          1986         1 987   1988   1989   1990
  Fig 2,-Mean number of entrance gunshot wounds per patient by                        Fig 3.-Percentage of all admissions for patients with two or more
  month from 1983 through 1990. Squares Indicate moving average;                      entrance gunshot wounds (shaded bars) and percentage of those
  bars, observed value.                                                               with five or more entrance wounds (solid bars) from 1983 through
                                                                                      1990.
               Number of Wounds per Patient                                                    45 ....-----r--------------�
    The mean number of entrance GSWs per patient is dis­
 played by month in Fig 2. From January 1983 through June                                      40                             .............. · · · · • ·

 1987, the mean number of entrance GSWs per patient                                    <I>
 fluctuated around I ,44±0.28. After a 13-month ascent                                 C
                                                                                       0       35
 that leveled off in August 1988, the mean number of                                  -�
 GSWs per patient fell off somewhat to 2.04±0.28 for the                              .E
                                                                                      "O
                                                                                               30
 remaining study period,                                                              <(
                                                                                      "O
    Figure 3 depicts the temporal change in the percentage                             C:
                                                                                       :,
                                                                                               25
 of patients with multiple entrance wounds. The propor­                               � 20
 tion of patients with two or more entrance wounds grew                               0
                                                                                      .c
 from 25,9% (123 of 475) before 1987 to 43.0% (487 of 1132)                            <I>
                                                                                       C
                                                                                       :,
 from 1988 through 1990 (x1, 40.95; df, 1; P<.001). After                             lJ
 1987, the large number of entrance wounds also became                                0
                                                                                               10
 more common. The proportion of patients with five or                                 '/J'..
 more entrance GSWs nearly quadrupled from 1. 7% (eight
 of 475) from 1983 through 1986 to 7.9% (89 of 1132) from
 1988 through 1990 (x2, 21.44; df, 1; P< .001).
                                                                                                    198] 1 984 1985 1 986 1987 1988 1 989 1990
              Body Region and Patient Mortality
                                                                                      Fig 4.-Patient mortality and the percentage of patients with gun­
    Patients with GSWs to the head and/or thorax made up                              shot wounds who have the most lethal wound profiles from 1983
 85.2% (323 of 379) of in-hospital deaths. As expected, pa­                           through 1990. Triangles indicate one or more thoracic wound(s);
 tient mortality trends from 1983 through 1986 mirrored                               solid squares, mortality; open squares, head wound(s); and open
 changes in the percentage of patients with head or                                   circles, multiple thoracic wound(s).
 thoracic wounds (Fig 4), The 1984 peak in mortality rate
 coincided with proportionate annual highs in patients                                compared with 30.5% (164 of 538) among patients with a sin­
 with head wounds and/or thoracic wounds (58.3%, 67 of                                gle thoracic wound (x2, 11.94; df, 1; P = .0005).
  115). The mortality rate declined from 1984 to 1986 as                                 The temporal pattern for GSW patient mortality was also
 fewer patients presented with head or thoracic wounds.                               a function of shifts in mortality from wounds to body regions
 Patient mortality continued to decrease from 1986 to                                 with vital organs (Fig 5). For example, the rise in overall mor­
  13.6% (23 of 169) in 1987, even though the percentage of                            tality from 1987 to 1988 and 1990 was driven by increases in
 patients with head or chest wounds increased slightly                                mortality among patients with head wounds, from 45.0%
 between the two years,                                                               (nine of 20) in 1987 to 62.0% (88 of 142) from 1988 through
    Patient mortality increased from 1987 through 1990, even                          1990 (x2, 1.45; df, 1; P = .23). Mortality among patients with
 though the percentage of patients with head or chest                                 thoracic wounds and no head wounds also grew from 15.3%
 wounds remained relatively constant until the percentage of                          (nine of 59) in 1987 to 35.1 % (133 of 379) from 1988 through
 admissions due to head wounds fell to 10.8% (42 of 390) in                           1990 (x2, 8.29; df, 1; P = .004).
 1990. The increase in patient mortality during the last 3 years
 of the study was partially attributable to increases in the pro­                                            Morbidity
 portion of patients with multiple thoracic wounds, from                                Annual median length of inpatient stay for patients
 3.0% in 1987 to 7.6% in 1990. In-hospital mortality was49.0%                         with GSWs dropped from 5.5 days in 1985 to 3 days in
 (48 of 98) among patients with multiple thoracic wounds                              1987, then increased to 6 days in 1989 and 1990 (Fig 6).
 696 Arch Surg-Vol 127, June 1992                                                                                     Gunshot Wounds -Webster et al
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 388
                                    of 396


                                                                        patients with thoracic wounds, as the mean number of
                                                                        ICU days went from 0.44 in 1987 to 2.22 in 1990.
                                                                                                  COMMENT
                                                                           The threefold increase in GSW admissions to Washing·
                                                                        ton Hospital Center beginning with the last quarter of
                                                                        1987 was consistent with the rate at which homicides in­
                                                                        creased in the District of Columbia. 5 Gunshot wounds
                                                                        also became more severe, which may have been partially
                                                                        responsible for the city's increase in homicides. The
                                                                        in-hospital mortality rate had declined steadily from 1984
                                                                        to 1987, before shifting markedly upward from 1988
                                                                        through 1990. This reversal in mortality trend was a !unc­
                                                                        tion of higher mortality within body regions and an
                                                                        increase in the proportion of patients with multiple tho­
                                                                        racic wounds. Trends in inpatient length of stay also sug­
                                                                        gest that GSWs became more severe.
                                                                           Assessments of temporal changes in the lethality of
                                                                        gunshot injuries may be biased when relying solely on
Fig 5.-Percentage ofpatients with gunshot wounds who died in the        hospital data if the proportion of homicides in which the
hospital by body region of entrance wound(s) from 1983 through          victim dies at the scene changes over time, Unfortunately,
1990. Hatched bars indicate head wound(s); shaded bars, thoracic        data on the site of death for homicides were not available
wound(s); and solid bars, total of all gunshot wounds.
                                                                        from the city medical examiner. Police data indicating a
     1 2 ,------------------------.                                     51 % increase in the ratio of gun-related homicides to as­
                                                                        saults between 1983 through 1987 and 1988 through 1990
                                                                        support the hypothesis that gun attacks in Washington,
                                                                        DC, have become more lethal. 5
 �                                                                         The epidemic of gun violence in our nation's capital has
a<11                                                                    led to substantial increases in medical care costs that have
 c<II   8
                                                                        been borne primarily by taxpayers and trauma centers.
-�a.                                                                    Hospital costs associated with treating victims of criminal
 £                                                                      violence in the District of Columbia were estimated to be
        6
0                                                                       $20.4 million in 1989. 8 Washington Hospital Center's costs
z
 ci                                                                     of treating patients with GSWs were not available
-�
 C
        4
                                                                        throughout the study period; however, increases in

1
                                                                        patient volume alone resulted in a dramatic rise in costs,
                                                                        Using financial data from patients with GSWs in fiscal
        2                                                               1990 (July 1, 1989 through June 30, 1990), the mean cost
                                                                        for hospital care per patient with GSWs was estimated to
                                                                        be $14 757, excluding physician fees. (This estimate is
                                                                        based on an estimated Medicare cost-to-charge ratio of
            1983 1 984 1985 1986 1987 1988 1 989 1990                   0,57.) During the preepidemic period, admissions for
Fig 6.-Median number of Inpatient days for all patients with GSWs       GSW assaults averaged 10.24 per month or 123 per year.
(squares), patients with GSWs to the thorax (triangles), and patients   The 385 GSW admissions in fiscal 1990, therefore, repre­
with stab wounds (circles) from 1983 through 1990.                      sent 262 more than would have been expected if the ep­
                                                                        idemic of gun violence had not occurred. This increase in
Although the temporal pattern of inpatient stay was                     GSW admissions translates into an additional $3. 9 million
partly attributable to proportional changes in the body                 in hospital costs for fiscal 1990; however, the increased fi­
regions wounded, the V-shaped pattern for median                        nancial burden of treating patients with GSWs is likely to
length of stay for all patients with GSWs from 1985 to 1990             have been greater because the severity of wounds in­
follows the same pattern as trends for patients with tho­               creased concomitantly with patient volume. Only half of
racic wounds. Temporal patterns in median length of in­                 the hospital's costs for treating patients with GSWs were
patient stay were similar for patients with wounds to the               reimbursed in fiscal 1990 because 37% of patients with
abdomen, face, or neck (data not shown). Trends in                      GSWs were uninsured and 35% were covered by govern­
length of stay were not studied for patients with GSWs to               ment programs that do not reimburse payments for the
the head who survived because such cases were relatively                full cost of care.
rare in the early and mid-1980s. Length of stay for patients               Despite the unfortunate consequences for the victim,
with stab wounds varied little during the study period,                 the increasing number and severity of GSWs treated at
suggesting that discharge practices for patients with pen­              Washington Hospital Center has made for excellent
etrating trauma were unlikely to have affected the ob­                  training opportunities for surgeons, especially military
served changes for patients with GSWs.                                  surgeons who rotate through the trauma service, Al­
  Temporal changes in average ICU stays for patients                    though differences between GSWs of civilian and military
with GSWs followed virtually the same pattern as that of                patients have been documented,9,LU the increasing inci­
total inpatient stays (data not shown). Aggregate ICU stay              dence of multiple GSWs from military-style street weap­
averages were also propelled by dramatic increases for                  ons is closing this gap (Am Med News. April 14, 1989:3).
Arch Surg-Vol 127, June 1992                                                                      Gunshot Wounds-Webster et al 697
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 389
                                    of 396


 Despite differences in surgical treatment of many wounds        be partly attributable to a disproportionate increase in gun
 of civilian and military patients, skills in basic assessment   attacks that were very deliberate attempts to kill the vic­
 and resuscitation are largely transferrable.                    tims.
    Police data on homicide motives suggest that the                Although there has most likely been some increase in
 violence associated with the trade of crack-cocaine played      the intent lo kill during gun attacks due to the increasing
 a key role in the onset of the city's epidemic of gun-related   prominence of drug-related violence, the observed in­
 homicides and assaults, Drug-related homicides grew             crease in wounds per victim is likely to have been facili­
 from 14% in 1986 to 53% in 1988, and accounted for 80%          tated by the availability of semiautomatic guns with
 of the increase in homicides du ring that period. s Although    high-capacity ammunition dips. Uzis and Tech-9s, orig·
 the proportion of homicides considered to be drug-related       inally designed for military use, can hold more than 30
 declined in 1990, and other Indexes suggest that the rel­       rounds and can fire u p to eight rounds per second.
 ative importance of drugs in violent crime has begun to            Epidemiologic studies that provide good estimates of
 diminish in Washington, DC, the legacy of sophisticated         the harm attributable to high-capacity semiautomatic
 weaponry is very much in evidence. 1 1                          weapons, while taking into account confounding effects
    More and more assailants have switched from revolv·          related to assailant intentions, would be important con­
 ers to high-capacity semiautomatic pistols. In 1987, re­        tributions to the policy debate concerning the banning or
 volvers outm1mbered semiautomatic pistols by a ratio of         regulation of the sale of this class of weapon. While well·
 2: 1 among the handguns seized by the DC Metropolitan           controlled epidemiologic studies could provide more
 Police Department. From 1987 to 1990, the number of             precise estimates of the degree to which high-capacity
 semiautomatic pistols confiscated doubled, while the            semiautomatic guns are more harmful than other hand­
 number of revolvers seized did not change. By 1991,             guns, the design of these guns may be so inherently dan­
 semiautomatic pistols outnumbered revolvers 1011 to 799         gerous to public safety that immediate legislative action is
 among guns confiscated by the police (The W11shingto11          warranted. The American Medical Association and the
 Post. February 2, 1992:Al). Earlier research indicated that     American College of Surgeons have called for legislative
 the types of guns confiscated by police are likely to be        efforts to restrict civilian access to high-capacity, high­
 representative of those used in all assaults and homi­          rate-of-fire automatic or semiautomatic firearms. 13• The         14


 cides. •i Data collected by the Federal Bureau of Alcohol,      enactment and enforcement of such restrictions should
 Tobacco, and Firearms indicate that the shift toward            reduce the number and the severity of firearm injuries.
 semiautomatic pistols during the late 1980s was not
 unique to the nation's capital (Atla11ta /oumal and Co11sti­                                     References
 t11fion. May 21, 1989).                                           1 , National Center for Health Statlslics. Vital S/atistics of the United
    Although little research has been done in this area, the     States, 1987, II: Mortality: part A. Hyattsville, Md: US Dept of Health and
 increased popularity of high-capacity semiautomatic pis­        Human Services, Publtc Health Service, Centers for Disease Control;
 tols could have significant effect on public safety. High­      1969.
                                                                   2. Fingerhut LA, Kleinman JC, Godfrey E, Rosenberg H. Firearm Mor­
 capacity semiautomatic handguns enable assailants to fire       tality Among Children, Youth, and Young Adults 1-34 Years of Age:
 more bullets at their victims more quickly than do revolv­      Trends and Current Status: United Stares, 1979-1988. Hyattsville, Md:
 ers, both increasing the likelihood of hitting one or more      National Center for Heallh Statistics; 1991 ;39(suppll:1•6, Monthly Vital
                                                                 Statistics Report.
 victims and increasing the number of wounds to any par­            3. Rice DP, MacKenzie El, el al. Cosl of lnjur; in the United States:
 ticular victim. Our data do not allow us to assess any in­      Report to Congress. San Francisco, Calif: University of California, Insti­
 crease in the likelihood of one or more victims being           tute for Health and Aging and The Johns Hopkins University, lnjury
                                                                 Prevention Center; 1989.
 wounded in gun assaults. Trauma surgeons in Los Ange­              4. US General Accounting Office. Trwma Care: Lifesaving System
 les (Calif) have noted an increase in multiple-victim ind·      Threatened by Unrelmbursed Costs and Other Factors. Washington,
 dents involving assault-style weapons (Am Med News.             DC: General Accounting Office; 1991. Publication GAO/HRD,91-57.
                                                                    5. Office of Criminal fustice Plans and Anal sls. Crime and Justice
 April 14, 1989:3). Although it is difficult to quantify such    Report: 1990. Washington, DC: Government orthe District of Colum•
 incidents, using existing medical or police data, we            bia; 1991.
 observed increases ln the percentage of patients with two          6. Barancik JI, Chatterjee BF, Greene YC, Michenzi EM, Fite D.
 or more GSWs, the mean number of entrance wounds per            Northeastern Ohio trauma study, I : magnitude of the problem. Am J
                                                                 Public Heallh. 1983;73:744•751.
 patient, and the proportion of patients with five or more          7. Swersey AJ. Patterns of Clim Ina/ Homicide In Harlem and New York
 entrance wounds.                                                City. New Haven, Conn: Yale School of Organization and Management;
    The available data preclude us from directly attributing     1981.
                                                                    8. BIiiings I, Teicholz N. The CoMs of Criminal Violence in the District
 changes in the number of wounds per patient to changes          of Columbia Hospitals. Washington, DC: District of Columbia Hospital
 in gun type. Information about the type of weapon used          Association; October 1991.
 in an attack usually is not available from medical records,        9. Smith AM, Hazen SJ. What makes war surgery di(ferentl MIi Med.
                                                                 1991; 156:33-35.
 and even if such information was available, correlations           10. Rignault DP. Is war surgery a specially! Mi/ Med. 1990;1S5(pl
 between the type of gun and the number of wounds may            1) :91-97.
 be confounded by the degree of the assailant's intent to           11, Office of criminal Justice Plans and Analysis. Drug Abuse lndica·
                                                                 tors Trend Report for the District of Columbia. Washington, DC: Gov.
 kill. That is, assailants who are more deliberate in their      ernment of the District of CohJmbla; 1991.
 attempts to kill their victims by shooting them multiple           12. Zimring F. The medium is the message: firearm calibre as a de.
 times (eg, drug enforcers) may be more likely to use            terminant of death from assaults. J Leg Stud. 1972;1:97•124.
                                                                    13. American Medical Association. Substitute Resolution 264. June
 high-capacity, rapid-fire guns. If that is the case, the ob­    1989;A-89:385.
 served increase in the number of wounds per patient may            14. Statement on gun control. Am Coif Surg Bull. 1991 ;76:2.




 698   Arch Surg- Vol 127, June 1992                                                                  Gunshot Wounds-Webster et al
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 390
                                    of 396




                      EXHIBIT T
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 391
                                    of 396




    Letters

    RESEARCH LETTER                                                                for data on injuries, cause, and severity for all patients who
                                                                                   died in the hospital, were hospitalized, or required more than
    Fatality and Severity of Firearm Injuries In a Denver                          12-hour observation from 2000 to 2013. Throughout this
    Trauma Center, 2000-2013                                                       period, the DHMC catchment area was Denver County. To
    Death rates provide an incomplete picture of the effect of fire­               assess injury deaths at the scene (vs in-hospital), we obtained
    arm injuries. To devise appropriate prevention efforts, investi­               all Denver County records of trauma deaths during the same
    gations ofthe severity and prognosis ofboth fatal and nonfatal                 period. The Colorado Multiple Institutional Review Board
    gunshot wounds (GSW) are pivotal, yet they remain scarce.1·3 We                approved the study with a waiver of consent.
    studied temporal patterns ofGSW-associated severity and mor­                        Injury severity was quantified by the Injury Severity
    tality in a Colorado urban traumacenter and ofall trauma deaths                Score (ISS; range, 1-75), a score for multiple injuries.1 Each
    occurring in its catchment area from 2000 to 2013.                             single injury was assigned an Abbreviated Injury Scale (AIS;
                                                                                   1 = minor injury to 6 = lethal injury) score, with severe
    Methods I We queried the state-mandated trauma registry ofa                    defined as a score higher than 2. The maximum AIS score
    level 1 trauma center (Denver Health Medical Center, DHMC)                     from the 3 most severely injured body regions was squared


    Figure 1 . Case-Fatality Rates and Trauma and Injury Severity Score (TRISS) Observed Probabilities of Survival
    by Mechanism per Biennium

                � In-hospital case-fatality rate
                   30
                                                                                       Gunshot wound




                                                                                       Pcdr:sbi.111 cucidcnl




                        L_ _::::::::::;::: __:_ .:.===::::::::::::=====.
                    0
                                       :__     .:..:_:                                 s1ahbit19
                                                                                       Motor vehfdc cr,1sh
                                                                                       r,u
                                                                                       An;iult
                        2000-     2002-        2004•    2006-    2008-     2010-    2012-
                        2001      2003         2005     2007     2009      2011     lOB

                                                        Years
               � TRIS� Obse1ved Probabilities of Survival
                  100                                                                   Assault
                                                                         ------ Fall
                           ,=:;::__➔ ;....::::::=;;:,,1t,.,,==*-:==�==��=-:;:::Ji,... Stabbing
                                                                                        Motor vehicle crash


                                                                                        Pedestrian accident



                                                                                                                       Error bars indicate 95% confidence
                                                                                                                       intervals. Gunshot wound was the
                                                                                        Gunshot wound                  only mechanism with a significant
                                                                                                                       increase in case-fatality rates and a
                                                                                                                       significant decrease in TRISS·derived
                                                                                                                       survival probabilities. A, Unadjusted
                                                                                                                       rates are the solid lines and adjusted
                   60-'----�--�--�---�--�--�
                      2000- 2002- 2004- 2005- 2008· 2010- 2012·                                                        rates are the dashed lines. B, Dashed
                      2001  2003  2005  2007  2009  2011  2013                                                         lines represent simple linear trends.
                                        Years                                                                          Linear trends shown only for selected
                                                                                                                       mechanisms.


    jama.com                                                                                                   JAMA June 14, 2016 Volume 315, Number 22         2465

                                             Copyright 2016 American Mecllcal Association. All rights reserved.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 392
                                    of 396

       Letters




       Figure 2. Relative Risk per Biennium for a n Injury Severity Score Higher Than 25 and for Having More Than 2 Severe Injuries
       (Abbreviated Injury Scale [AIS] Score >2) by Mechanism

       0 Relative risk per biennium for Injury Severity Score >25                                     [f) Relative risk per biennium for having >2 severe injuries (AIS score >2)
                                 Adjusted Relative                                                                                 Adjusted Relative
       Mechanism of injmy        Risk {95% Cl)                                                        Mechanism of injury          Risk (95% Cl)
       Gunshot wound             1.07 (1.04-1.09)                                                     Gunshot wound                1.05 (1.03-1.07)                         ---
       stabiiin!i                1.06 ci..02:Tii>                                                     Stabbing                     l..03(0.996-1.07)                   -;-ti-
       i>eilesirian mictent ..  i:02 co.iJ9j:i.04)                                                    Pedestrian accident .... ·1:02 (0.999:J-:Ci":i)                  ;- -
                                                                                                                                   i:rio io:ils-L02)                      .
       i'aii               · ·· i.oci fo_gs:1:03)                                                                                                                     -•-
       Motor vehicle crash      o:!is fo,97:0:998)                ---:                                Fall
                                                                                                      Motor vellicli c,ash         o.98 {0.97-0.99)                  --- :
       Assault                  0.98 (0.-94:i.Ol) .           --------+                               Assault              · ··· --o:ii98 (0.97-(03)
                                                                                                                                                         -       -   ---
                                                                                                                                                                     -;.---         -      �
                                                                                                                                                                                           -
                                                      0.9            1.0                       1.2                                                      0.9            1.0                      t.2
                                                            Adjusted Relative Risi< (95% CI)                                                                  Adjusted Relative Risk (95% Cl}

       For each mechanism ofInjury, the relative risk comparator Is all other                        B, After adjustment for age and sex. gunshot wounds was the only mechanism
       mechanisms ofInjury shown in the graphs. A, After adjustment for age and sex,                 forwhich the risk of having more than 2 severe injuries (AIS score >2)
       the risk of having severe injuries over time significantly increased for gunshot              sign\ficantly increased over time (4.8% per biennium}.
       wounds (6.5% per biennium) and stabbings (6.0% per biennium).


       and added to produce the ISS. Patients with TSS higher than                                   vehicle crashes, 19.9%; pedestrian accidents, 4.0%; stab­
       25 were considered severely injured.                                                          bings, 2.4%). Of these, 64.1% occurred in-hospital (50.9% at
           Poisson regression models with robust standard errors were                                the DHMC) and 35.9% were pronounced outside a health
       used to estimate relative risks (RR) and risk differences (RD) of                             care facility. Of the 1092 GSW deaths, 47.3% were in-hospital
       in-hospital mortality, anISS higher than 25, and having morethan                              (81% at the DHMC), and this proportion did not vary signifi­
       2 severe injuries (AlS score >2), by mechanism and biennium (to                               cantly over time (P = .62). Only for falls was a decrease in the
       produce more stable estimates), adjusting for age and sex. Tem­                               proportion of in-hospital deaths detected (from 81.0% to
       poral trends by injury mechanismwere assessed by including an                                 41.6%, P = .006).
       interaction between mechanism and biennium. Linear regres­
       sion was used to model temporal trends ofproportion ofdeaths                                  Discussion I Firearm in-hospital case-fatality rates increased,
       at the scene and survival probabilities derived through the                                   contrary to every other trauma mechanism, attributable to the
       Trauma and Injury Severity Score (TRISS), a benchmarking tool                                 rising severity and number of injuries. The differential in se­
       widely used to estimate trauma survival probabilities based on                                verity and mortality is unlikely due to improved emergency
       age, mechanism; admission vital signs, and injury severity.5                                  medical services (ie, more severely injured patients arriving
           There were less than 6% of missing values. SAS (SAS Insti­                                alive to the hospital vs dying in the field), as there were no
       tute), version 9.4, wasused for all analyses. All testswere 2-tailed                          changes in deaths at the scene over time. This single trauma
       with significance set at less than .OS. The institutional review                              center study has limited generalizability. A renewed atten­
       board approved the study with a waiver of consent.                                            tion to research and policy are needed to decrease the mor­
                                                                                                     bidity and mortality of GSWs.6
       Results I From 2000 to 2013, 28 948 patients presented to the
       DHMC with injuries due to GSWs (5.8%), stabbings (6.3%), pe­                                  Angela Sauaia, MD, PhD
       destrian accidents (6.9%), assaults (8.7%), falls (23.9%), motor                              Eduardo Gonzalez, MD
       vehicle crashes (26.2%), andother mechanisms (22.1%). Ofthese,                                Hunter B. Moore, MD
       5.4% died. The proportions ofDHMC injury admissions due to                                    Kirk Bo!, MSPH
       GSWs, stabbings, and assaults remained stable from 2000 to2013,                               Ernest E. Moore, MD
       whereas falls increased (from 16.8% to 27.8%) and motor vehicle
       crashes decreased (from 37.0% to 19.7%) over time. Adjusted in­                               Author Affiliations, School of Public Health, University of Colorado, Aurora
       hospital case-fatality rates for GSWs at the DHMC significantly                               (Sauaia), University of Colorado School of Medicine, Aurora (Gonzalez,
                                                                                                     H. B. Moore): Colorado Department of Public Health and Environment,
       increased (RR per biennium, 1.06 [95% CI, 1.03-1.08]; RD, 0.51%                               Denver (Bol): Denver Health Medical Center, Denver. Colorado (E. E. Moore).
       [95% CI, 0.01%-1,02%]) (Figure lA) and the TRISS-derived sur­                                 Corresponding Author: Angela Sauaia, MD, PhD, University of Colorado
       vival probabilities decreased (P = ,002) (Figure lB). All other                               Denver, 13011 E 17th Pl, Room E-3360-C, Aurora, CO 80045 (angela.sauaia
       mechanisms presented stable or opposite temporal trends for                                   @ucdenver.edu).
       deaths and survival probability, Over time, more GSW patients                                 Author Contributions: OrSauaia had full access to all of the data in the study
       had an rss higher than 25 (RR per biennium, 1.06 [95% CI, 1.04-                               and takes responsibility for the Integrity or the data and the accuracy of the data
                                                                                                     analysis.
       1.08]; RD, 1.16% [95% CI, 0.68%-1.65%]). In addition, the num­                                Study concept onddesign, Sauala, Gonzalez, E. Moore.
       ber ofsevere GSWs per patient increased significantly(RR perbi­                               Acquisition. analysis, or interpretation ofdata, All authors.
       ennium of>2 severe injuries, 1.04 [95% CI, 1.02-I.06];RD, 1.22%                               Drafting ofthe manuscript: Sauaia, E. Moore.
                                                                                                     Critical revision ofthe manuscript for important Intellectual content: All authors.
       [95% Cl, 0.66%-1.79%]) (Figure 2),                                                            Statistical analysis: Sauaia, H. Moore. Bol.
           In Denver County during this same period, there were                                      Administrative, technical, or material support: Sauaia. Gonzalez, E. Moore.
       4762 trauma deaths (falls, 28.4%; GSWs, 22.9%; motor                                          Study supervision: Sauaia, E. Moore.


2466   JAMA June 14, 2016 Volume 315, Number 22                                                                                                                                         jama.com

                                                      Copyright 2016 Amerlcao Medical Asaoclatlon. All rights reserved.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 393
                                    of 396

                                                                                                                                                                  Letters



    Conflict of Interest Disclosures: All authors have completed and submitted the     be necessary. The paradigm of sacrificing sensitivity for PPV
    ICMJE Form for Disclosure of Potential Conflicts of Interest and none were         was part of the original ACMG recommendations, and it may
    reported.
                                                                                       be worth pursuing that approach further for genes that are dif­
    1. Annest Jl, Mercy JA, Gll>son DR, Ryan GW. National estimates of nonfatal
    firearm-related injuries: l>eyond the tip of the iceberg. JAMA. 1995;273(22):
                                                                                       ficult for clinical laboratories to interpret. KCNH2 and SCNSA
    1749-1754.                                                                         may be examples where this approach has merit, although
     2. Kellermann Al RFP. Silencing the science on gun research. JAMA. 2013;309(6):   more data would be needed before adoption.
     549-550.
    3. Rubin R. Tale of 2 agencies: CDC avoids gun violence research but NIH funds     Leslie G. Biesecker, MD
    It.JAMA. 2016;315(16):1689-1691.
     4. Baker SP. O'Neill 8, Haddon W Jr, Long WB. The injury severity score:          Author Affiliation: National Human Genome Research Institute, National
     a method for describing patients with multiple injuries and evaluating            Institutes of Health, Bethesda. Maryland.
     emergency care. J Trauma. 1974:14(3):187·196.                                     Corresponding Author: Leslie G. Biesecker, MD, National Human Genome
    5. Schluter PJ, Nathens A, Neal ML, et al. Trauma and Injury Severity Score        Research Institute, National Institutes of Health, Bldg 49 4A56, Bethesda, MD
    (TRISS) coefficients 2009 revision. J Trauma. 2010;68(4):761-770.                  20892 (lesb@mail.nih.gov).
     6. Webster DW. Vernick JS. Redvcing Gun Violencein America, Informing Policy      Conflict of Interest Disclosures: The author has completed and submitted the
     With Evidence and Analysis. Baltimore, Maryland: JHU Pcess; 2013.                 ICMJE Form for Disclosure of Potential Conflicts of Interest and reported
                                                                                       receiving a grant from the National Institutes of Health Intramural Research
                                                                                       Program, editing honorarium from Wiley•Blackwell, and royalties from
     COMMENT & RESPONSE                                                                Genentech and serving as an uncompensated consultant to lllumina Corp.
                                                                                       1. Van DciestSL, Wells QS, Stallings S. et al. Association of arrhythmia•related
     Long QT Syndrome and Potentially Pathogenic                                       genetic variants with phenotypes documented in electronic medical records.
     Genetic Variants                                                                  JAMA. 2016:315(1}:47•57.
    To the Editor Dr Van Driest and colleagues' presented a nega­                      2. Ng D, Johnston JJ, Teer JK, et al; NIH Intramural Sequencing Center (NISC)
     tive study on novel criteria for secondary variants for long QT                   Comparative Sequencing Program. Interpreting secondary cardiac disease
                                                                                       variants in an exome cohort. Circ Cordiovosc Genet. 2013;6(4):337-346.
     syndrome. They identified 127 candidate SCN5A or KCNH2vari­
                                                                                       3. Green RC, Berg JS, Grody WW, et al; American College of Medical Genetics
     ants and considered 63 potentially pathogenic, using unspeci­                     and Genomics. ACMG recommendations for reporting of incidental findings in
     fied review criteria in 3 clinical laboratories. This number                      clinical exome and genome sequencing. Genet Med. 2013:15(7):565-574.
     reflects an overall rate of3.1%, which, as they noted, is unex­
     pectedly high and biologically implausible, because the up­
     per estimate oflong QT syndrome prevalence is 1 in 2500 (or                       In Reply When health care clinicians are notified ofan inciden­
     minor allele frequency [MAF) of0.02%). As expected, by using                      tal "pathogenic" variant, they must determine the best course
     such liberal criteria, they found that these variants were not                    of action with respect to return ofthe result to the patient, fur­
     associated with an abnormal phenotype.                                            ther workup, and any therapeutic measures. In our study, to most
          Previously, criteria for reporting secondary variants in these               closely simulate "real-world" results, variants identified inSCN5A
     genes were developed that required a MAF no higher than that                      and KCNH2 were classified as pathogenic or nonpathogenic by
     for the disease overall and either 3 independent reports ofpatho­                 expert laboratories, thesame laboratories that generate clinical
     genicity or 2 such reports and supporting evidence (typically                     reports and provide variant calls to databases like the Human
     functional data) with no conflicting benign data.2 Applying more                  Gene Mutation Database and ClinVar. As noted by Dr Biesecker,
     restrictive criteria to the 127 variants identified by Van Driest and             this approach resulted in a much higher frequencyofpathogenic
     colleagues would likely identify few as pathogenic. Van Driest                    variants than the associated diseases, long QT syndrome and
     and colleagues1 overinterpreted their data in concluding, "These                  Brugada syndrome. Not surprisingly, owing to the low prevalence
     findings raise questions about the implications ofnotifying pa­                   of these syndromes, review of the electronic health records of
     tients ofincidental genetic findings." The most appropriate con·                  the research participants with these variants showed that they
     dusionis that the thresholds ofthe3 clinicallaboratoriesinvolved                  had not manifested disease.
     are less stringent and have lower positive predictive values (PPVs)                    Our data, together with others, 1•4 are a call for action, con­
     than current standards and that further filtering is required prior               cern, and reassurance. As Biesecker suggests, variant classifica­
     to reporting. Had these data been analyzed according to the                       tion thresholds require recalibration and harmonization, in par­
     American College of Medical Genetics and Genornics (ACMG)                         ticular when transitioning from evaluation ofvariants found in
     recommendations3 and previously published recommendations                         symptomatic individuals to incidental findings, for whichthe pre­
     for Jong QTsyndrome,2 no variants would have been reported,                       test probability ofdisease is very low. Guidelines from the ACMG,
     which is a superior outcome compared with that reached by                         published after variant classification was complete for our study,
     Van Driest and colleagues.                                                        include criteria that echo the MAF and prior evidence thresholds
          It is inevitable and desirable that the ACMG incidental find-                proposed byBiesecker.4•5 It will take considerable continued en·
     ings gene list3 should evolve by the removal of genes that can                    ergyto adapt and interpret these guidelines for specific genes and
     be demonstrated to have poor PPV and the addition of genes                        diseases such as long QT syndrome and even more to align
     that canbe shown to have good PPV. Ifthefindings ofVan Driest                     diagnostic and research laboratories around a common variant
     and colleagues are generalizable and clinical laboratories can­                   classification rubric. We propose that electronichealth record co­
     not effectively identify secondary variants in these genes,                       horts may be 1 source ofvaluable data to define the PPVof these
     change to a model of only reporting secondary variants from                       rubrics, a goal of the studies in phase 3 of the Electronic Medi­
     a robust!y vetted list ofunarnbiguously pathogenic alleles may                    cal Records and Genomics project.

    jama.com                                                                                                            JAMA June 14, 2016 Volume 315, Number 22            2467

                                             Copyright 2016 American Medical Association. All rights reserved.
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 394
                                    of 396




                     EXHIBIT U
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 395
                                    of 396
                                                                              

                                                                    !!"  #




 $%&    '    ( ( )!
Case No. 1:22-cv-02680-NYW-SKC Document 78-11 filed 10/20/23 USDC Colorado pg 396
                                    of 396
                                                                               

                                                                     !""#  $




 %&'    (   !!) ) *"
